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MENTAL HEALTH SERVICES
   DELIVERY SYSTEM

     PROGRAM GUIDE
                 2021 REVISION




     Division of Health Care Services

Department of Corrections & Rehabilitation
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Program Guide Overview                          Mental Health Services Delivery System


CHAPTER 1
Program Guide Overview

The California Department of Corrections and Rehabilitation (CDCR) Mental Health Services
Delivery System (MHSDS) provides inmates access to mental health services. The MHSDS is
designed to provide an appropriate level of treatment and to promote individual functioning
within the clinically least restrictive environment consistent with the safety and security needs of
both the inmate-patient and the institution.

The intent of the MHSDS is to advance the CDCR’s mission to protect the public by providing
timely, cost-effective mental health services that optimize the level of individual functioning of
seriously mentally disordered inmates and parolees in the least restrictive environment. The
MHSDS has been functioning in CDCR since 1994. The MHSDS utilizes a variety of
professional clinical, custody, and support staff to provide the best available quality of care to
seriously mentally disordered inmates.

Outpatient care is provided in an array of treatment levels and modalities including a day
treatment program and an outpatient clinic level of care. The MHSDS is a decentralized, system-
wide concept using standardized evaluation and treatment. The MHSDS provides universal
screening for all incoming inmates at Reception Centers and direct transfer from the Reception
Center to the treatment facility for further evaluation and/or treatment if needed. The MHSDS
utilizes case management techniques to manage the majority of mentally disordered inmates in
the general population and provides for their access to care as needed. The MHSDS provides a
continuum of inpatient care from a contractual relationship with Department of Mental Health
(DMH) for acute and intermediate and a short-term crisis inpatient care program within CDCR
institutions. The goal is to provide constitutionally appropriate levels of mental health treatment
to the incarcerated serious mentally ill inmate in the least restrictive environment. The MHSDS
continues to develop a standardized, automated system of records management and case tracking.

Some key concepts are inherent in the design and administration of these services.           These
concepts are:

1. To deliver services that promote mental health, by developing and reinforcing individual
   responsibility. A mental disorder does not necessarily excuse individual responsibility and
   accountability. The inmate-patient’s ability to achieve their clinical goals is enhanced by a
   therapeutic emphasis on responsibility for one’s own behavior.




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2. To promote understanding that mental health treatment is a sensible administrative approach
   to managing inmate-patients when behavioral expressions of their mental disorder disrupt
   their ability to adequately function and program during confinement.

3. To provide all services with strict observance of Utilization Management guidelines, as a
   reminder to fiscal responsibility regarding the use of taxpayer funds, which are a limited
   resource.

The MHSDS uses a variety of therapeutic strategies. The goals of treatment in MHSDS are to
help inmates adjust to the prison environment, to optimize appropriate personal functioning, and
to help inmates accept responsibility for their behavior. An inmate’s offense and institutional
behavior, rather than the need for treatment, determine the level of custody placement.

At each institution, the MHSDS operates under the management of the Chief of Mental Health or
the Clinical Director. This individual is typically the Chief Psychiatrist, Chief Psychologist, or
Senior Psychologist. Mental Health staff are under the supervision of the institution’s Health
Care Manager. Success of the MHSDS requires that the mental health staff work cooperatively
with other Health Care units in the institution, including Health Records, Pharmacy, Lab, and
Nursing. It also requires that mental health staff work cooperatively with the institution’s
correctional and institution support staff.

A. REASONABLE ACCOMMODATIONS FOR INMATES

   The CDCR provides access to its programs and services to inmates with disabilities, with or
   without reasonable accommodation, consistent with legitimate penological interests. No
   qualified inmate with a disability as defined in Title 42 of the United States Code,
   Section 12102 shall, because of that disability, be excluded from participation in or denied the
   benefits of services, programs, or activities of the CDCR or be subjected to discrimination.
   All institutions housing inmates with disabilities will ensure that housing and programming
   are reasonable and appropriate in a manner consistent with their mission and CDCR policy.

   Reasonable accommodations shall be afforded to inmate-patients with disabilities, e.g.,
   visually impaired, hearing impaired, speech impaired, learning disabled, and developmentally
   disabled, to ensure equally effective communication during contacts of any kind that occur
   within the MHSDS. Auxiliary aids that are reasonable, effective, and appropriate to the needs
   of the inmate-patient shall be provided when simple written or oral communication is not
   effective. Such aids may include qualified sign language interpreters, readers, sound
   amplification devices, captioned television/video text displays, Telecommunication Devices
   for the Deaf (TDD), audio taped texts, Braille materials, large print materials, and signage.
   For developmentally disabled inmate-patients, equally effective communication may require
   reviewing the CDCR 128C-2, Developmental Disability Program Screening Results, that
   documents the adaptive support services required by the inmate-patient.
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Program Guide Overview                         Mental Health Services Delivery System

   It is the obligation of CDCR staff, including mental health clinicians, to provide effective
   communication under all circumstances. The degree of accommodation that is required shall
   be determined on a case-by-case basis.

   In any case in which a question may arise as to the inmate’s ability to comprehend, staff shall
   document the determination that the inmate understood the process during all clinical contacts
   and shall record the basis for that determination and how the determination was made. This
   shall be recorded on the documentation of the clinical contact, such as the CDCR Form 7230-
   MH, Interdisciplinary Progress Note.            Examples of documentation of effective
   communication include, "the responsive written notes generated by a hearing impaired inmate
   indicated that he/she understood the process,” "the sign language interpreter appeared to
   communicate effectively with the hearing impaired inmate as indicated by the inmate's
   substantive response via sign language,” or, "the inmate was able to summarize instructions
   given to him/her." To the extent that written notes are used to effectively communicate with
   an inmate-patient, those notes shall be attached to the documentation of that clinical contact
   and filed in the Unit Health Record (UHR).

B. PRIMARY COMPONENTS

   Crisis Intervention A crisis is defined as a sudden or rapid onset or exacerbation of symptoms
   of mental illness, which may include suicidality or other aberrant behavior which requires
   immediate intervention. Crisis intervention is provided at all institutions to inmate suffering
   from a situational crisis or an acute episode of mental disorder. The first step in providing
   crisis intervention is adequate training for all institutional staff in the recognition of mental
   health crisis symptoms, a plan for immediate staff response, and procedures for referral to
   clinical staff. Custody and clinical staff cooperation is critical to ensure that an inmate in a
   mental health crisis is treated as soon as possible.

   Comprehensive Services The MHSDS offers comprehensive services and a continuum of
   treatment for all required levels of care. In addition to standardized screening and evaluation,
   all levels of care found in a county mental health system are represented in the CDCR
   MHSDS programs. All levels of care include treatment services provided by multiple clinical
   disciplines, and development and update of treatment plans by an Interdisciplinary Treatment
   Team (IDTT), which includes appropriate custody staff involvement.

   Decentralized Services Mental health services are geographically decentralized by making
   basic services widely available. All levels of care, except inpatient hospitalization, are
   available at most geographically-defined Service Areas (see Section E). Case management
   and crisis intervention are provided at all institutions.

   Clinical and Administrative Oversight In coordination with each institution, the CDCR
   Division of Correctional Health Care Services (DCHCS) and Division of Adult Institutions
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        will continue to update standardized program policy and develop a system for monitoring
        delivery of program services. The CDCR shall develop an annual review schedule of the
    U   MHSDS Program Guide, according to the Inmate Medical Services Policies and Procedures,
                                           U             U                                                        U




        Chapter 8, Implementation and Review of Health Care Policies and Procedures. A system-
        wide automated tracking and records system continues to evolve to support administrative and
        clinical oversight.

        Standardized Screening Access to mental health services is enhanced for all inmates through
        U                              U




        standardized screening of all admissions at Reception Centers. Standardized screening
        ensures that all inmates have equal and reliable access to services. The data generated by
        standardized screening provides the CDCR with necessary information to improve the
        assessment of mental health service needs. If screening reveals indicators of mental disorder,
        such as prior psychiatric hospitalization, current psychotropic medication, suicidality or
        seriously maladaptive behaviors, follow-up evaluation by a clinician shall determine the
        immediate treatment needs of the inmate. Early identification of an inmate’s mental health
        needs will provide an appropriate level of treatment and promote individual functioning
        within the clinically least restrictive environment consistent with the safety and security needs
        of both the inmate-patient and the institution. Avoiding the utilization of more expensive
        services will aid in budget containment.

            Pre-Release Planning This component of service, in conjunction with the Correctional
            U                      U




            Counselor’s preparation of the CDCR 611, Release Program Study, focuses on preparing the
            seriously mentally disordered inmate-patient for parole. Its objective is to maximize the
            individual's potential for successful linkage and transition to the Parole Outpatient Clinic, or,
            if required, to inpatient services in the community or the Mentally Disordered Offender
            Program operated at the DMH facilities. In the case of paroling inmate-patients, this includes
            facilitating the work of the Parole and Community Services Division’s Transitional Case
            Management Program.

C. REFERRALS TO MENTAL HEALTH
            U




        Any inmate can be referred for mental health services at any time. Inmates who are not
        identified at Reception or upon arrival at an institution as needing mental health services,
        may develop such needs later. Any staff members that have concerns about an inmate’s
        mental stability are encouraged to refer that inmate for evaluation by a qualified mental
        health clinician (psychiatrist1, psychologist, or clinical social worker). Under certain
        circumstances, referral to mental health may be mandatory. A referral to mental health
        should be made whenever:

            •   An inmate demonstrates possible symptoms of mental illness or a worsening of
                symptoms.

1 CDCR also provides services to patients via Psychiatric Nurse Practitioners (PNP) in lieu of psychiatrists.
References to services provided by psychiatrists within the Program Guide also apply to PNPs.
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   •     An inmate verbalizes thoughts of suicide or self-harm behavior.

   •     Upon return from court when an inmate has received bad news such as a new sentence
         that may extend their time.

   •     An inmate has been identified as a possible victim per the Prison Rape Elimination Act.

   •     An inmate demonstrates sexually inappropriate behavior as per the Exhibitionism policy.

   •     An inmate who is written up for a disciplinary infraction was demonstrating bizarre,
         unusual, or uncharacteristic behavior when committing the infraction.

   •     An inmate placed into Administrative Segregation indicates suicidal potential on the pre-
         screening, or rates positive on the mental health screening, or gives staff any reason to be
         concerned about the inmate’s mental stability, such as displaying excessive anxiety.

   •     Upon arrival to an institution when the inmate indicates prior mental health treatment and
         medications, especially if not previously documented.

   Referrals to mental health may be made on an Emergent, Urgent, or Routine Basis. An
   inmate deemed to require an Emergent (immediate) referral shall be maintained under
   continuous staff observation until evaluated by a licensed mental health clinician. An Urgent
   referral is to be seen within 24 hours. A Routine referral should be seen within five working
   days.

   Referrals are made on the CDCR-MH5, Mental Health Referral Chrono, and forwarded to
   the mental health office. Emergent and Urgent referrals should also be made by phone to
   facilitate a timely response. The referral chronos, when received at the mental health office,
   are logged, entered into the data tracking system, and scheduled for follow-up with the
   appropriate clinician.

   Inmates may also self-refer for a clinical interview to discuss their mental health needs.
   Inmate self-referrals shall be collected daily from each housing unit, and processed the same
   way as staff referrals.

D. TREATMENT CRITERIA FOR THE LEVELS OF CARE
   U




   Overall Treatment Criteria
   8BU




   Overall treatment criteria have been developed for the MHSDS. An inmate must meet the
   criteria in 1, 2, or 3 below, in order to receive MHSDS treatment at any level of care:

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   1. Treatment and monitoring are provided to any inmate who has current symptoms and/or
      requires treatment for the current Diagnostic and Statistical Manual diagnosed (may be
      provisional) Axis I serious mental disorders listed below:

         Schizophrenia (all subtypes)
         Delusional Disorder
         Schizophreniform Disorder
         10B




         Schizoaffective Disorder
         Brief Psychotic Disorder
         Substance-Induced Psychotic Disorder (exclude intoxication and withdrawal)
         Psychotic Disorder Due To A General Medical Condition
         Psychotic Disorder Not Otherwise Specified
         Major Depressive Disorders
         Bipolar Disorders I and II

   2. Medical Necessity Mental health treatment shall be provided as needed. Treatment is
         U                       U




      continued as needed, after review by an IDTT, for all cases in which:

         Mental health intervention is necessary to protect life and/or treat significant
         disability/dysfunction in an individual diagnosed with or suspected of having a
         mental disorder. Treatment is continued for these cases only upon reassessment and
         determination by the IDTT that the significant or life threatening
         disability/dysfunction continues or regularly recurs.

   3. Exhibitionism Treatment is required when an inmate has had at least one episode of
         U                  U




      indecent exposure in the six-month period prior to the IDTT that considers the need for
      exhibitionism treatment and the inmate patient is either:

               •   Diagnosed with Exhibitionism, or

               •   Meets the alternate criteria. (Alternate Criteria: An inmate who meets all criteria for
                   the diagnosis of Exhibitionism, except that the victim was not an “unsuspecting
                   stranger” but was a staff member or inmate who did not consent to or encourage the
                   behavior.)

         (A diagnosis of Exhibitionism is not required for inmates who meet the alternate criteria.)

   Specific Treatment Criteria
   9BU




   In addition to the overall treatment criteria above, an inmate must meet the following specific
   treatment criteria to receive treatment at a specific level of care:

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Program Guide Overview                         Mental Health Services Delivery System


   1. Correctional Clinical Case Management System
      U




      •   Stable functioning in the general population, Administrative Segregation Unit (ASU)
          or Security Housing Unit (SHU); and

      •   Criteria not met for higher levels of care; and

      •   Exhibits symptom control, or is in partial remission as a result of treatment.

      •   These conditions usually result in Global Assessment of Functioning (GAF) scores of
          50 and above.

      Correctional Clinical Case Management System (CCCMS) is located at all institutions
      [except California Conservation Center (CCC), Calipatria State Prison (CAL), Centinela
      State Prison (CEN), Chuckwalla Valley State Prison (CVSP), and Ironwood State
      Prison (ISP). These prisons provide necessary care until the inmate-patient can be
      transferred] to provide care, monitoring and follow-up services to inmate-patients whose
      condition is relatively stable and whose symptoms are largely controlled. This may
      include a response to symptoms that require only a brief intervention, such as a
      psychotherapy session or an adjustment in medications. While mentally disordered, these
      inmate-patients can function in the general population and do not require a clinically
      structured, therapeutic environment.

      All inmates, including those in SHU or ASU, needing crisis intervention and/or continued
      treatment also receive services from CCCMS staff. Details for provision of services in
      ASU and SHU are found in their respective chapters of the Program Guide.

   2. Enhanced Outpatient Program
      U




      •   Acute Onset or Significant Decompensation of a serious mental disorder characterized
          by increased delusional thinking, hallucinatory experiences, marked changes in affect,
          and vegetative signs with definitive impairment of reality testing and/or judgment;
          and/or

      •   Inability to function in General Population based upon:

          a. A demonstrated inability to program in work or educational assignments, or other
             correctional activities such as religious services, self-help programming, canteen,
             recreational activities, visiting, etc. as a consequence of a serious mental disorder;
             or

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              b. The presence of dysfunctional or disruptive social interaction including
                 withdrawal, bizarre or disruptive behavior, extreme argumentativeness, inability to
                 respond to staff directions, provocative behavior toward others, inappropriate
                 sexual behavior, etc., as a consequence of serious mental disorder; or

              c. An impairment in the activities of daily living including eating, grooming and
                 personal hygiene, maintenance of housing area, and ambulation, as a consequence
                 of serious mental disorder.

      •       These conditions usually result in a GAF of less than 50.

      Enhanced Outpatient Program (EOP) provides care to mentally disordered inmate-patients
      who would benefit from the structure of a therapeutic environment that is less restrictive
      than inpatient settings. This may include response to crisis symptoms which require
      extensive treatment, but can be managed as outpatient therapy with several psychotherapy
      sessions or medication adjustment with follow-up visits.

      These inmate-patients do not require continuous nursing care. Often, they are
      transitioning from inpatient care in a DMH hospital or the Mental Health Crisis
      Bed (MHCB). They may also have a serious mental illness that is of long duration with
      moderate to severe and persistent functional impairments. The EOP's structured program
      of treatment and supportive activities will, in many cases, build on therapeutic
      improvements made in a hospital program or MHCB. EOP will release cases which have
      successfully completed treatment to CCCMS. The EOP is located in a designated living
      unit at the hub institution.

   3. Mental Health Crisis Bed Placement
      U




      •       Marked Impairment and Dysfunction in most areas (daily living activities,
              communication and social interaction) requiring 24-hour nursing care; and/or:

          •   Dangerousness to others as a consequence of a serious mental disorder, and/or
              dangerousness to self for any reason.

          •   These conditions usually result in a GAF score of less than 30.

          All inmate-patients admitted to a MHCB are discharged within ten days, with scheduled
          appropriate clinical follow-up, to outpatient care or the general population or are
          transferred to DMH inpatient care. Stays of over ten days must be approved by the Chief
          of Mental Health, or designee. The MHCB also provides short-term inpatient care for
          seriously mentally disordered inmate-patients awaiting transfer to a hospital program or
          being stabilized on medication prior to transfer to a less restrictive level of care. The
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      MHCB is a part of a licensed General Acute Care Hospital (GACH), Skilled Nursing
      Facility (SNF), or a Correctional Treatment Center (CTC) offering 24-hour basic medical,
      nursing, and other health services. A Central Health Services building which houses CTC
      services houses the MHCB beds, staff offices and therapy space. In the CTC, the MHCB
      runs its short-term crisis care program under the CTC “optional mental health treatment
      program” regulations. In a GACH or SNF, the MHCB are under the “distinct part
      Psychiatric” licensing regulations.

   4. DMH Inpatient Hospital Care

      Referral to inpatient programs provided via contract with the DMH is available for
      inmate-patients whose conditions cannot be successfully treated in the outpatient setting
      or in short-term MHCB placements. Both acute and intermediate care programs are
      offered in facilities for both male and female inmate-patients. Specific criteria are noted
      in
      Chapter 6, Department of Mental Health Inpatient Program.

   The IDTT shall generally be responsible for developing and updating treatment plans. This
   process shall include input from the inmate-patient and other pertinent clinical information
   that may indicate the need for a different level of care. Referrals to higher levels of care shall
   be considered when the inmate-patient’s clinical condition has worsened or the inmate-patient
   is not benefiting from treatment services available at the current level of care. Consideration
   of appropriate level of care shall be documented by the IDTT on a
   CDCR 7230-MH, Interdisciplinary Progress Notes, and shall include the justification for
   maintaining the current level of care or referral to a different level of care.

E. SERVICE AREAS

   The principal infrastructure for service delivery is the Service Area. A mental health Service
   Area assumes responsibility for mental health services; a medical Service Area, while it
   generally overlaps with that for mental health, is responsible for medical services. Several
   Service Areas report to a Regional Administrator.

   Each Service Area consists of a group of two or more institutions in relative geographic
   proximity that share the full complement of services directly provided by CDCR. These
   services include all levels of care, except the Acute and Intermediate inpatient care provided
   through DMH. Each mental health Service Area has from one to three MHCB locations and
   one EOP located at its hub institution. CCCMS completes the delivery system within a
   Service Area. Staff handling CCCMS caseloads are at every institution.




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F. CLINICAL PROGRAM GUIDE

   MHSDS Program Guide chapters have been developed for the MHCB, EOP, and CCCMS
   levels of care. Each chapter is organized into the following sections: Program Objectives,
   Population Served, Treatment Modalities, Staffing, and Patient Assessment and Case Review
   Procedures. Although these chapters define essential program content and delineate system-
   wide policies, each Service Area is expected to have written policies and specific operational
   procedures (derived from the Program Guide) articulated in ways that best address the unique
   needs of the specific Service Area and its institutions. Written policies and procedures are
   especially necessary for the MHCB to meet health facility licensing requirements.

G. STANDARD PROGRAM STAFFING

   Staffing for all programs is based on the Mental Health Staffing Workload Study, completed
   June 2007, which allocates both clinical and clerical support staff whom perform duties
   related to the provision of mental health services. CDCR may utilize contract staff as
   necessary to fulfill staffing requirements. Use of unlicensed psychologists and clinical social
   workers during the period they are gaining qualifying experience for licensure is governed by
   Section 1277 of the Health and Safety Code, and Section 5068.5 of the Penal Code.

   Institutions may use pre-doctoral psychology interns who are trained and supervised by a
   licensed psychologist according to regulations in Sections 1287, 1287.1, and 1287.2 of
   Title 16, Division 13.1 of the California Code of Regulations. Institutions may also use
   social work interns who are currently enrolled in a master’s program in social work
   according to regulations in Section 4996.15 of the California Business and Professions Code.

   All newly hired psychiatrists must meet minimum credentialing criteria as follows:

      1.   Current board certification from the American Board of Psychiatry and Neurology or
           the American Osteopathic Board of Neurology and Psychiatry.

      OR

      2. Satisfactorily completed specialized training requirements in psychiatry in programs
         that, for a psychiatrist, are accredited by the Accreditation Council for Graduate
         Medical Education (ACGME) or Bureau of Osteopathic Education of the American
         Osteopathic Association (AOA) or certified by the Royal College of Physicians and
         Surgeons of Canada.




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      a) Two patterns of training are acceptable:

         (i). Training Pattern One: A Three-Year Psychiatry Residency Program
         U




         •        A broad-based clinical year of ACGME or Bureau of Osteopathic Education of
                  the AOA-accredited training in internal medicine, family practice, or pediatrics;
                  or

         •        An ACGME or Bureau of Osteopathic Education of the AOA-accredited
                  transitional year program that included a minimum of four months of primary
                  care; or

         •        An AGCME or Bureau of Osteopathic Education of the AOA-accredited
                  residency in a clinical specialty requiring comprehensive and continuous patient
                  care.

                  AND
                  U




                  Three full years of postgraduate, specialized residency training in a psychiatry
                  program accredited by the ACGME or Bureau of Osteopathic Education of the
                  AOA.

             OR

         (ii) Training Pattern Two: A Four-Year Psychiatry Residency Program
         U




         Four years of training in an ACGME or Bureau of Osteopathic Education of the
         AOA-accredited program in psychiatry is acceptable. A psychiatry PGY-1 must
         include at least four months of internal medicine, family practice, and/or pediatrics.
         This training must be in a clinical setting that provides comprehensive and continuous
         patient care. No more than one month of this requirement may be fulfilled by an
         emergency medicine rotation, as long as the experience predominantly involves
         medical evaluation and treatment, rather than surgical procedure. Neurology
         rotations may NOT be used to fulfill this four-month requirement.

         (Exception: Any applicant who completed a residency program in psychiatry that was
         accredited by the ACGME or Bureau of Osteopathic Education of the AOA or
         certified by the Royal College of Physicians and Surgeons of Canada at the time the
         applicant completed the residency will qualify under this pattern of training upon
         CDCR verification that all residency requirements were successfully completed and if
         all other requirements are met.)

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          If the candidate’s training program(s) is not currently accredited by the ACGME or
          the Bureau of Osteopathic Education of the AOA, CDCR shall research the history of
          the program(s) to determine if it was accredited at the time the candidate attended and
          completed the training.

   All osteopaths hired in the classification of psychiatrist before January, 2006, and presently
   in that classification must meet the above criteria or must undergo a court-mandated
   evaluation of their clinical competency for employment in the position of psychiatrist with
   the CDCR.

H. PARAMETERS   OF     CONFIDENTIALITY     OF                                INMATE-PATIENT
   COMMUNICATIONS AND GUIDELINES FOR DISCLOSURE

   CDCR has developed a detailed policy to ensure that confidentiality of inmate-patient
   communications with mental health clinicians is protected. This policy, issued in a
   memorandum dated April 18, 2007, is Attachment A to the MHSDS Program Guide. The
   policy is accompanied by examples for the purpose of staff training. Clinicians, including
   psychiatrists, physicians, psychologists, clinical social workers, nurse practitioners,
   registered nurses, licensed vocational nurses, licensed psychiatric technicians, and
   recreational therapists, shall be trained in this policy. In addition, all staff members who
   intentionally, accidentally, or inadvertently overhear confidential communications (arising
   from clinical contacts such as cell front visits) are responsible for maintaining confidentiality
   of the communication. Custody officers, correctional counselors, and other staff who are
   members of an IDTT are bound to not discuss health-related inmate-patient information with
   anyone other than the team members.

   Clinicians are responsible for informing inmate-patients of the limits of confidentiality, or
   ensuring that prior documentation in the UHR indicates that this disclosure has occurred
   prior to commencement of a clinical encounter. CDCR 7448, Informed Consent for Mental
   Health Care, shall be used for this purpose.

I. CLINICAL INPUT INTO THE DISCIPLINARY PROCESS

   Inmate-patients in the Mental Health program or any inmate showing signs of possible mental
   illness may require a CDCR 115-MH, Rules Violation Report – Mental Health Assessment,
   when they are charged with a disciplinary action.

   All inmates in the EOP, MHCB, and DMH programs who receive a CDCR 115-MH, Rules
   Violation Report – Mental Health Assessment, shall be referred by the Reviewing Custody
   Supervisor to Mental Health Services for a Mental Health Assessment. All inmates in
   CCCMS or non-MHSDS inmates who receive a CDCR 115-MH, Rules Violation Report and
   who exhibit bizarre, unusual, or uncharacteristic behavior shall be referred for a CDCR 115-
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   MH Rules Violation Report: Mental Health Assessment.       Inmates who receive a
   CDCR 115, Rules Violation Report for Indecent Exposure or Intentionally Sustained
   Masturbation Without Exposure shall be referred for a CDCR 115-MH Rules Violation
   Report: Mental Health Assessment.

   A mental health clinician who is not the inmate’s Primary Clinician shall review the relevant
   portions of the inmate’s UHR and any other records deemed appropriate and shall evaluate the
   inmate in a non-confidential interview in a private setting. The findings shall be reported on a
   CDCR 115-MH, Rules Violation Report: Mental Health Assessment. The report must be
   returned to the Reviewing Custody Supervisor within 5 working days for non-MHSDS and
   CCCMS inmates (to allow time to assign a Staff Assistant) and within 15 calendar days for
   EOP, MHCB and DMH patients. The clinician shall determine the following:

   1. Are there any mental health factors that would cause the inmate to experience difficulty in
      understanding the disciplinary process and representing his/her interests in the hearing
      that would indicate the need for the assignment of a Staff Assistant? Note: All inmates
      in the EOP, MHCB, and DMH programs automatically have a Staff Assistant
      assigned.

   2. Did the inmate’s mental disorder appear to contribute to the behavior that led to the Rules
      Violation Report?

   3. If the inmate is found guilty of the offense, are there any mental health factors that the
      hearing officer should consider in assessing the penalty?

   Refer to the “Inmate Disciplinary Process, Mental Health Assessment” manual (See
   Attachment B) and CDCR 115-MH, Rules Violation Report: Mental Health Assessment, for
   detailed instructions on completing this assessment and utilizing the information in the
   hearing process.

J. AUTOMATED TRACKING SYSTEM

   The Inmate Mental Health Identifier System (IMHIS) has been designed to track the
   movement of all inmate-patients receiving care in the MHSDS. The data entered into the
   system will be processed daily, so the system will maintain information regarding MHSDS
   inmate-patients current level of care as well as MHSDS inmate-patients transfers, discharges,
   and new cases. All institutions are to conduct a reconciliation of the inmate-patients housed
   in ASUs who require mental health treatment with the IMHIS codes for this specific
   population. It is very important that IMHIS information be as up to date as possible and daily
   updates to the IMHIS are mandatory.



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K. MENTAL HEALTH TRACKING SYSTEM
3BU




        The Mental Health Tracking System (MHTS) is an automated program designed to track and
        record all pertinent mental health information for inmate-patients from the time they enter the
        MHSDS until they are released, paroled, or transferred out of the MHSDS and return to the
        general population. This institutional information management program is capable of tracking
        an inmate-patient’s medication history, level of care changes, mental health staff contacts,
        current and previous DSM psychiatric diagnoses, latest Abnormal Involuntary Movement
        Scale score, status and information regarding current or past Keyhea orders, as well as other
        key data related to an inmate-patient’s mental health treatment history. In addition, the
        MHTS is used to produce the Inmate Profile which documents suicide risk data and
        accompanies inmates whenever they are transferred between institutions to provide the
        receiving institution with suicide risk data and other initial MHTS input data. The MHTS is
        designed to track and aggregate data which serves as a basis for quality assurance and
        improvement activities at the Institutional and Departmental levels.

L. MENTAL HEALTH PLACEMENT CHRONO
4B      U




        Each inmate who is assessed as having a serious mental disorder and is accepted into the
        MHSDS will have a CDCR 128-MH3, Mental Health Placement Chrono (MHPC) completed
        and entered into their UHR and Central File. This chrono indicates the inmate-patient’s LOC,
        medication status, any behavioral alerts, and their GAF score. This information is entered
        daily into the IMHIS and the MHTS and is a critical component in the overall management of
        inmate-patients in the MHSDS. As long as an inmate-patient is in the MHSDS, they shall
        have a MHPC that reflects the inmate-patient’s current status.

        •      At the RC, the MHPC shall be dated within 90 days of the Classification Staff
               Representative placement action. As inmate-patients usually spend less than 90 days in
               the RC, updates will not normally be required.

        •      In all other housing situations, no updates of the MHPC will be required unless there is a
               change in the level of care, or when the inmate-patient is being referred for transfer to
               another institution.

M. LEVEL OF CARE CHANGE /TRANSFER TIMELINES
5BU




            The following table summarizes the time frames which CDCR must meet for the transfer of
            MHSDS inmate-patients between levels of care, whether within the same institution or to
            another institution. More detail on the level of care change/transfer process is provided in the
            individual level of care sections of the Program Guide.
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   The following definitions apply to the Transfer Timelines Table:

   •   “Identification:” The date that the inmate-patient is identified as requiring a higher LOC.
       The IDTT is responsible for identifying inmate-patients who are appropriate for discharge
       to a lower LOC, an increase from CCCMS to EOP LOC, or DMH intermediate care. An
       individual clinician may identify an inmate-patient as requiring initial admission into
       MHSDS at CCCMS or EOP LOC. A credentialed clinician may admit an inmate-patient
       to MHCB care. An individual clinician may refer an inmate-patient for DMH acute
       inpatient care.

   •   “Referral” within CDCR: The date the LOC change is documented on a Mental Health
       Placement Chrono, or the time the physician or clinical psychologist orders admission into
       a CTC.

   •   “Referral” to DMH: The date the completed referral packet is received by DMH by
       facsimile or overnight mail.

   •   “Acceptance” at DMH: The date the Clinical Assessment Team at DMH accepts the
       inmate-patient for placement at a DMH facility. Some inmate-patients may be placed on a
       waitlist pending bed availability after acceptance.

   •   “Transfer:” The date the inmate-patient is placed into the LOC and program to which
       s/he was referred.




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From:                   To:

Setting/Level of care   Setting/Level of Care    Timeline for Transfer
RC/CCCMS                Mainline/ CCCMS          Within 90 days of referral; 60 days of
                                                 referral if clinically indicated
RC/EOP                  Mainline/EOP             Within 60 days of referral; 30 days of
                                                 referral if clinically indicated
Any setting/level of MHCB                        Within 24 hours of referral
care
Any institution/ level Any     Acute     DMH Within ten days of referral, if accepted to
of care                placement                DMH.        (Referral must be completed
                                                within two working days of identification.
                                                Transport must be completed within 72
                                                hours of bed assignment)
Any institution/level Any Intermediate Care Within 30 days of referral, if accepted to
of care                DMH placement            DMH.        (Referral must be completed
                                                within five working days of identification
                                                by IDTT if inmate-patient consent is
                                                obtained, and within ten working days of
                                                identification if due process hearing is
                                                required. Transport must be completed
                                                within 72 hours of bed assignment).
Mainline     (General Mainline         (General Within 60 days of referral; 30 days of
Population)/           Population) /EOP         referral if clinically indicated
CCCMS
Desert    institutions CCCMS                    Within 30 days if inappropriately
(CAL, CEN, ISP,                                 transferred; otherwise 90 days of referral
CVSP,                                           or 60 days of referral if clinically
CCC)/CCCMS                                      indicated
Desert    institutions EOP                      Within 21 days if inappropriately
(CAL, CEN, ISP,                                 transferred; otherwise 60 days of referral
CVSP, CCC)/EOP                                  or 30 days of referral if clinically
                                                indicated
EOP ASU                EOP ASU Hub              Within 30 days of ASU placement or
                                                referral to EOP level of care.
EOP ASU/ EOP ASU PSU                            Within 60 days of endorsement to PSU
Hub
Outpatient Housing EOP                          Within 30 days of endorsement to EOP
Unit

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N. PROGRAM GUIDE REVISION POLICY AND PROCEDURE
   U




   The MHSDS Program Guide revisions shall occur annually. The revisions shall be presented
   to the Mental Health Program Subcommittee (MHPS) by January 31 of each year. The
   MHPS shall forward revisions to the appropriate authorities for approval.

   All proposed revisions to the MHSDS Program Guide shall be submitted to the DCHCS
   Program Guide Coordinator (PGC). The PGC shall be designated by the DCHCS Chief of
   the Mental Health Program.

   The PGC shall distribute proposed revisions to the Program Guide Focused Improvement
   Team (PG-FIT). The PG-FIT shall include at minimum:

       •   Program Guide Coordinator

       •   Chief Psychiatrist, Clinical Policy and Programs, DCHCS

       •   Chief Psychologist, Clinical Policy and Programs, DCHCS

       •   Assistant Deputy Director, or designee, DAI

       •   Supervising Attorney, or designee, Office of Legal Affairs

   The PG-FIT shall be responsible for involving appropriate representatives from other CDCR
   Divisions and other appropriate consultants (e.g. representatives from field institutions) in
   decisions regarding any proposed revisions.

   Where revisions may impact resources, the PG-FIT shall initiate evaluation of resource
   impact and/or request submission of a budget change proposal.

   The PG-FIT shall meet as needed with the MHPS to make recommendations regarding
   revisions. The MHPS shall present the proposed revisions to the Quality Management
   Committee (QMC). The QMC will approve or disapprove each proposed revision.
   Approvals will be forwarded to the DCHCS Governing Body (GB). The PGC will record all
   changes approved by the GB.

   Memoranda signed by the Deputy Director, DCHCS, shall implement emergent or court-
   ordered substantive changes to the MHSDS Program Guide throughout the year. These
   memoranda shall be integrated into the annual revision of the MHSDS Program Guide
   document.


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   The PGC shall maintain a project file to include original input submitted by those persons
   who provided review and or revisions of the MHSDS Program Guide, along with a tracking
   log of approved revisions of the MHSDS Program Guide. Revised portions of the MHSDS
   Program Guide shall be marked “SUPERCEDED” with the date it was superceded, and
   revised portions shall be filed by revision date.

   This tracking log of approved revisions, along with revised MHSDS Program Guide pages
   shall be distributed to the Warden, Health Care Manager, Chief of Mental Health, and
   Correctional Health Services Administrator and/or Standards Compliance Coordinator at
   each institution no later than 30 days after final approval. The distribution shall include
   direction that copies of relevant sections are to be shared with appropriate staff. The Chief of
   the Mental Health Program at each institution shall ensure that the revisions are integrated
   into ALL existing copies of the MHSDS Program Guide according to Inmate Medical
   Services Policies and Procedures Chapter 8 “Implementation and Review of Health Care
   Policies and Procedures” section regarding Proof of Practice Documentation. Current
   DCHCS Policies and Procedures manuals shall be readily available to all mental health staff
   in each program and work area. The Chief of Mental Health shall be responsible to ensure
   that all staff are trained regarding revised Program Guide requirements.




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CHAPTER 2
Reception Center Mental Health Assessment

A. INTRODUCTION

   The Reception Center (RC) program provides mental health assessment for all inmates
   committed to the California Department of Corrections and Rehabilitation (CDCR) and basic
   treatment for those inmates identified as having a serious mental disorder while awaiting
   transfer.

   By enhancing and standardizing screening and evaluation efforts at the entry point into the
   institution system, the CDCR can best ensure that all inmates in need of mental health
   treatment are identified and provided necessary services at the earliest possible time. Early
   and easy access to care has been shown to have both therapeutic as well as fiscal benefits in
   managing mental illness at its lowest level of acuity. This is particularly true in the high
   stress environment of an institution setting.

   This program utilizes clinical and clerical positions to achieve the following objectives:

   1.   Provide a standardized system for universal screening of all inmates received in the
        CDCR for possible symptoms of mental disorder or suicide risk.

   2.   Conduct in-depth clinical evaluations of individuals identified in the screening process
        for diagnosis of serious mental disorder, level of functioning, and necessary level of
        care.

   3.   Through the Inmate Mental Health Identifier System, CDCR is able to track inmate-
        patients who have been identified as seriously mentally disordered and enrolled in one
        of the Mental Health Services Delivery System (MHSDS) levels of care. This
        information provides a management tool and is utilized in program planning.

   It is important to emphasize that the population this program seeks to identify is defined as
   those inmates who are dysfunctional in the prison environment as a result of a serious mental
   disorder. Specifically, these are inmates with a Diagnostic and Statistical Manual (DSM)
   Axis I diagnosis, with current symptoms, or evidence of medical necessity. Inmates who are
   prescribed psychotropic medications are also included in MHSDS. Inmates suffering suicidal



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   ideation shall also receive crisis care to protect life. Mental health intervention is also
   provided to treat significant disability/dysfunction in an individual diagnosed with or
   suspected of having a mental disorder.

   Mental health issues which may be identified in the screening process, but which are not
   included in the treatment services provided by the CDCR’s mental health treatment programs,
   are sexual and substance abuse disorders and personality disorders. However, if these mental
   health issues are also accompanied by an Axis I serious mental disorder or meet the
   requirements of medical necessity, treatment is provided by the CDCR’s mental health
   treatment programs. While all inmates are screened in the RC for developmental disabilities,
   services for inmates with developmental disabilities, although provided by mental health staff
   in numerous institutions, are not addressed in this Program Guide, as they fall under the
   oversight of the Clark Remedial Plan. Inmates with developmental disabilities who also have
   an Axis I serious mental disorder are, of course, included in the MHSDS, and some inmates
   with developmental disabilities may be included in MHSDS programs under medical
   necessity criteria.

B. POLICIES AND PROCEDURES FOR ASSESSMENT OF MENTAL HEALTH
   NEEDS

   Goal and Target Population

   To identify and assign an appropriate level of care to inmates who are suicidal or are
   experiencing impaired functioning as a result of serious mental disorder.

   Policies to Achieve Goal

   1.   All inmates shall receive an Initial Health Screening by nursing staff within 24 hours of
        arrival to determine need for continuation of currently prescribed and used psychotropic
        medications, need for crisis psychiatric care, or other mental health intervention.

   2.   All inmates shall receive a Mental Health screening within the first seven calendar days
        of arrival to identify mental health concerns that may indicate a need for treatment.

   3.   All inmates with possible mental health treatment needs shall receive a standardized
        mental health evaluation within 18 calendar days of arrival, and prior to any placement
        decision.

   4.   All inmates who request a clinical interview shall receive one.

   5.   Any RC Staff may refer any inmate for clinical interview at any time.
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   6.   All mental health screening and evaluation interviews shall be conducted in a private
        setting.

   7.   All psychological evaluations shall conclude with a provisional diagnosis, level of
        functioning, and recommended level of care placement, if required.

   8.   Mental health services shall be provided to inmates while awaiting transfer.

   9.   In order to facilitate long range planning, each RC shall accumulate and regularly report
        data on all inmates screened, evaluated, and determined to be in need of particular levels
        of treatment.

C. PROCEDURES TO IMPLEMENT POLICIES

   1.   Initial Health Screening of Inmates at Receiving and Release

        All inmates arriving at a RC shall be interviewed utilizing a standard set of questions
        (CDCR 7277, Initial Health Screening) regarding their medication needs or need for
        immediate referral for crisis care under the supervision of a Registered Nurse (RN).
        Medical staff or equivalent staff trained in the procedures for the standardized health
        screening and mental health referrals, shall review available documentation from
        committing jurisdictions regarding mental health treatment. This includes a review of
        medications provided at County facilities or observed behavior that may indicate a need
        for mental health treatment.

        This interview shall be conducted in an environment which is sufficiently private and
        confidential to encourage full disclosure and open, candid responses. Inmates who are
        unable to speak English shall be provided with necessary interpreters. Where a need for
        emergency or urgent psychiatric review is identified, a direct referral to a psychiatrist
        shall take place, utilizing a standard CDCR 128-MH5, Mental Health Referral Chrono.
        The original 128-MH5, Mental Health Referral Chrono, shall be sent to the psychiatrist
        and a copy to the mental health office for data entry and filing. These Chronos should be
        hand delivered or this information relayed by telephone, if necessary. Emergency
        referrals shall be made and responded to immediately. Urgent referrals, including
        medication assessment or review, shall be responded to within 24 hours. Observation of
        possible mental health symptoms not requiring emergency attention may also be
        documented on a staff referral chrono and forwarded to the mental health office within
        the next working day. Clinical evaluation and health transfer information from
        committing counties relating to a need for medical or mental health care or assessment
        are to be placed in the inmate’s Unit Health Record (UHR).
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   2.   Physical Exam

        Within three working days of arrival, all inmates shall undergo a physical examination
        and evaluation of medical history. Any mental health issues that become apparent in the
        interviews by the physician, RN, or Licensed Vocational Nurse (LVN) conducting the
        reviews, shall be documented on staff referral chronos for subsequent mental health
        evaluation. Emergency or urgent cases requiring crisis care or medication review shall
        be immediately referred for psychiatric evaluation.

   3.   Mental Health Screening

        Within seven calendar days of arrival at the RC, all inmates (new commitments and
        parole violators) shall receive a screening for possible mental health needs. They shall
        be individually interviewed by a psychologist or Clinical Social Worker using the
        standardized Mental Health Screening questionnaire. The screening clinician shall
        explain the purpose of the screening process, and assess the inmate's ability to complete
        the interview. Inmates who are unable to speak English shall be provided with
        necessary interpreters. Inmates who refuse to participate in the mental health screening
        interview shall be referred for a psychological evaluation to determine if they have a
        mental disorder. Individuals who are unable to participate in the screening interview
        due to possible acute psychiatric distress shall be immediately referred for crisis care.
        This will normally include a referral for an emergency psychiatric evaluation (see
        Section 5, Psychiatric Evaluations, below).

        If a returning Parole Violator identifies himself or herself as a former MHSDS inmate-
        patient, the file review indicates such designation, or Distributed Data Processing
        System (DDPS) indicates such designation, he or she shall be automatically referred for
        further psychological evaluation.

        Following completion of the screening interview, the completed screening form shall be
        forwarded to the mental health data processing station for analysis. The results of this
        screening shall be documented by mental health staff on a CDCR 128-MH1, Mental
        Health Screening Chrono. Refusals to participate and any need for an interpreter shall
        also be documented on this Chrono. Each case shall be either cleared for general
        population placement, scheduled for a full psychological evaluation within 18 calendar
        days, or immediately referred for crisis care, as needed.

        Information from the standardized Mental Health Screening shall be retained in the
        automated system for future reference and data compilation.

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   4.   Psychological Evaluations

        Inmates referred for psychological evaluation who have been identified in the initial
        mental health screening as having a possible mental health need or who refused the
        screening, shall be scheduled for a full psychological evaluation to be completed by the
        18 calendar day evaluation period after arrival. Preparatory to the evaluation, the
        inmate's UHR and Central Files shall be reviewed when available, by the clinician. The
        results of the clinical screening assessment, including working diagnosis, shall be
        reviewed, as will any information generated from staff or self-referrals to that point.

        If the inmate states that he or she had significant prior treatment or the file review
        indicates history of such treatment, the clinician shall request that the inmate sign a
        Release of Information in an attempt to obtain previous records. The clinician shall
        immediately forward the signed Release of Information form to the Health Record
        Services staff. Health Record Services staff shall process all requests for information
        from external sources, and shall monitor the receipt of the requested information. All
        received health information shall be immediately incorporated into the appropriate UHR
        with simultaneous notification to the requesting health care personnel, consistent with
        the Health Record Services Policies and Procedures. If the inmate has been moved to
        another institution, the Health Record Services staff shall check the Offender Based
        Information System/DDPS to determine the inmate’s current location and forward the
        information immediately to the Health Record Services supervisor at the current
        location.

        The psychologist or psychiatrist shall conduct an individual interview with the inmate in
        a private and confidential setting. Where possible, the psychologist or psychiatrist will
        utilize a computer terminal for reference and input in completing the evaluation.
        Identifying information already available in the computer will be verified in the file
        review and inmate interview.

        The psychological evaluation shall be recorded on the CDCR 7386, Mental Health
        Evaluation. The psychologist or psychiatrist shall obtain and input a brief narrative of
        the presenting problem and historical information of relevance from the files and
        interview. A mental status examination and assessment of level of functioning will be
        completed, with the results directly entered into the computer on pre-programmed
        screens (or hard copy forms, where automated systems are not available). A provisional
        diagnosis shall be noted and, where this includes an Axis I condition, a level of
        functioning assessment shall also be provided.




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        After arriving at a diagnosis and functioning assessment, the psychologist or psychiatrist
        shall determine need for treatment and recommend a level of care, based upon the level
        of acuity and treatment program criteria. The psychologist’s findings shall be
        documented on a CDCR 128-MH3, Mental Health Placement Chrono. Where possible
        needs for psychotropic medication are present, and no current prescription has been
        made, a referral to the psychiatrist shall be made, utilizing a standard CDCR 128 MH5,
        Mental Health Referral Chrono. A copy of the completed chrono requesting medication
        assessment shall be immediately provided to the psychiatrist. The psychiatrist’s
        decision regarding the medication needs shall be documented in CDCR 128-MH6,
        Psychiatric Evaluation Chrono and the CDCR 7230-MH, Interdisciplinary Progress
        Notes in the inmate’s UHR. Pending transfer of the inmate-patient to an appropriate
        level of care, an initial treatment plan shall also be provided by the psychologist or
        psychiatrist on a CDCR 7386, Mental Health Evaluation, and by the psychiatrist where
        medication or crisis care is necessary. Inmates who are acutely psychotic or suicidal
        shall be referred for placement in a mental health crisis bed (MHCB) or emergency
        transfer to the Department of Mental Health facility at the California Medical Facility or
        to Patton State Hospital for female inmates.

        All inmates in a RC who are identified as requiring mental health services shall receive
        basic treatment as specified in the initial treatment plan. The initial treatment plan is an
        integral part of the psychological evaluation and formulated to meet individual inmate-
        patient’s clinical needs while housed in the RC. The level of treatment provided during
        the transition period for these inmate-patients varies depending on the clinical needs and
        the length of stay in the RC as determined by the commitment status. The initial
        treatment plan is tailored to meet individual inmate-patient’s clinical needs on a short-
        term basis and specifies the type of services, including orientation, medication needs
        assessment, or regular monitoring, crisis intervention as needed, and individual contact
        with a treating clinician as often as necessary.

        Inmates who have no diagnosed mental illness, or whose current level of functioning is
        adequate without need for treatment (including psychotropic medications), shall be
        cleared for general population placement.

        Inmates who are seen by the psychologist as a result of a staff or self-referral after the
        completed evaluation, shall be assessed for necessary adjustments to the original
        evaluation or treatment plan. Where such adjustments are indicated, new documentation
        will be generated.

        Following entry of all elements of the psychological evaluation into the automated
        system, a CDCR 128-MH3, Mental Health Placement Chrono, shall be generated for the
        inmate’s UHR. The chrono shall be provided for the Central File with copies to the
        Correctional Counselor (CC) and inmate. The 128-MH3, Mental Health Placement
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        Chrono, shall be completed whether the inmate requires treatment or is cleared for
        general population placement. The original document shall be dated and signed by the
        clinician completing the evaluation.

        If an inmate refuses to participate in the psychological evaluation interview, the
        clinician shall review the Central File, UHR, and reports from housing officers and/or
        other staff, and make clinical observation of the inmate. Clinicians shall make an effort
        to resolve refusal cases by the end of the 18 calendar day evaluation period. In those
        rare situations where these cases cannot be resolved during the 18 calendar day
        evaluation period, the clinician shall document this on the inmate’s CDCR 128-MH3,
        Mental Health Placement Chrono. The clinician shall include in a CDCR 7230-MH,
        Interdisciplinary Progress Note, a description of what efforts were made to complete the
        evaluation (e.g., review Central File and UHR, consult with housing officers, etc.) and a
        recommendation of how to proceed with the case. The Chief of Mental Health at the
        institution reviews all refusals and approves the clinician’s recommendations. The
        results of the psychological evaluation shall be documented on a CDCR 128-MH3,
        Mental Health Placement Chrono. If the inmate is not transferred out of the RC within
        90 days, a new CDCR 128-MH3, Mental Health Placement Chrono, shall be completed.

   5.   Psychiatric Evaluations

        Psychiatric Evaluations will primarily address the issues of need for acute care and
        initiation or continuation of psychotropic medications. Review of need for continuation
        of medications prescribed prior to commitment to an institution will normally occur
        within 24 hours of intake. A medication specific informed consent with signatures of
        psychiatrist, inmate-patient, and a witness (health care staff) will be completed
        whenever a new medication is ordered. Psychiatric evaluations will be documented on a
        CDCR 7230, Interdisciplinary Progress Note, or CDCR 7386, Mental Health
        Evaluation, which will be placed in the inmate’s UHR, and completion of a 128-MH6,
        Psychiatric Evaluation Chrono, for entry into the Central File. Inmate-patients
        requiring follow-up psychiatric care while awaiting transfer will be scheduled for that
        purpose, with documentation of clinical contacts recorded in the inmate-patient’s UHR
        progress notes. Changes in mental status which impact placement decisions will also be
        documented on CDCR 128-MH6, Psychiatric Evaluation Chrono.

        Psychiatrists are also responsible to review an inmate-patient’s response to and side
        effects of psychiatric medications and to order and review appropriate laboratory testing.
        Where staffing permits, psychiatrists may also serve Primary Clinician (PC) functions.




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   6.   Initial Treatment Planning and Treatment

        Initial treatment planning must be developed and regular treatment must be provided for
        all inmate-patients who are identified as requiring mental health services. Mental
        Health needs of inmate-patients housed in a RC are often greater than those of inmate-
        patients in a general population setting, due to a variety of problems related to
        incarceration which often precipitate dysfunctional behavior or exacerbate pre-existing
        mental conditions. Treatment plans must address basic issues of adjustment, access to
        care, monitoring of medication continuity, and clinical pre-release or parole planning.

        Without exception, mental health services are extended to all MHSDS designated
        inmate-patients while awaiting transfer to a mainline institution. Services include case
        management contacts, medication management, and monitoring pertinent to the level of
        functionality based on clinical judgment. In addition, crisis intervention, clinical pre-
        release or parole planning, and other case management services shall be provided
        consistent with the inmate’s clinical needs. Services are provided through staff assigned
        to the RC.

        Inmate-patients who require Correctional Clinical Case Management System (CCCMS)
        level of care shall be seen by the PC within 30 days of placement in CCCMS and at least
        every 90 days thereafter while at the RC, or more often if clinically indicated. These
        inmate-patients shall also be evaluated by a psychiatrist a minimum of every 90 days
        regarding psychiatric medication issues.

        Inmate-patients who require Enhanced Outpatient Program (EOP) level of care shall be
        seen by the PC weekly and shall be evaluated by a psychiatrist at least monthly
        regarding psychiatric medication issues. Institutions that have both a RC and an
        established EOP may temporarily house and treat these inmate-patients in their regular
        EOP housing units until transfer.

        Reception Centers housing inmate-patients requiring EOP level of care shall provide
        structured therapeutic activities. At the five reception centers with the preponderance of
        inmates (California Institution for Men, Richard J. Donovan Correctional Facility, North
        Kern State Prison, Wasco State Prison, and San Quentin State Prison), regularly
        scheduled therapy groups will be held on a daily basis. The remaining seven RCs with
        smaller populations will provide a less structured treatment array, but all sites will
        provide opportunities for a minimum of one hour per day, five days per week, of
        out-of-cell therapeutic activities. Inmate-patients will be enrolled into various group
        activities based upon PC assessment of individual needs, related to both individual
        symptoms as well as commitment status. The treatment activities delineated in the
        Program Guide will be augmented with the following options:
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         •   Orientation to institution living – Individuals with impaired mental abilities who are
             placed into the institution environment require assistance in understanding and
             adapting to institutional rules and gaining access to available services. These
             individuals are also susceptible to being preyed upon by more aggressive inmates.
             This therapy group provides an orientation to prison life, offers coping mechanisms
             for personal safety, and allows for patients to ask questions and vent frustrations
             involved in their adaptation to their new environment.

         •   Assertiveness Training – Teaches ways to communicate assertively but non-
             aggressively. Didactic teaching techniques and practice sessions are utilized.

         In addition to providing the above therapeutic activities (and the current provisions
         outlined in the EOP Clinical Pre-Release Program in 12-4-13 of the MHSDS Program
         Guide), additional clinical staff will provide individuals with imminent (60 to 120 days)
         release dates the following pre-release planning:

         •   Application for federal and state benefit entitlements, such as: Medi-Cal, Medi-
             Care, Supplemental Security Income, and Veterans Benefits. This will be
             accomplished by referring potentially eligible inmates to the Transitional Case
             Management Program under the rubric of the Division of Adult Parole Operations.

         •   Initiation of Conservatorship proceedings where the inmate-patient meets criteria.

         •   Liaison with Parole Outpatient Program staff with reporting instructions and
             planning for continuity of care.

         •   Liaison with family members and significant others who may provide living options
             to the individual upon release.

         •   Screening for need for inpatient placement per Penal Code 2962 (Mentally
             Disordered Offender).

   7.    Transfer Timelines

        Once an inmate-patient is evaluated and placed in the MHSDS program, the inmate-
        patient shall be processed by classification staff on a priority basis to ensure timely
        transfer to a treatment setting. All EOP designated inmate-patients shall be transferred
        to a treatment setting within 60 days of level of care designation, or 30 days of such
        designation, if clinically indicated. All CCCMS designated inmate-patients, with the
        exception of parole violators with 90 days or fewer to parole, shall be transferred to a
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        mainline institution within 90 days of level of care designation or 60 days of such
        designation, if clinically indicated. Inmate-patients with fewer than 30 days to parole
        shall receive mental health services as described above, consistent with their clinical
        needs. Refer to transfer timeline table in MHSDS Program Guide, Chapter 1, Program
        Guide Overview.

   8.   Staff and Self Referrals

        At any time during the RC process, an inmate may self-refer, or be referred by any staff
        member for a review by a mental health clinician. Referrals will be made on
        standardized forms and forwarded to the mental health office. All referrals will be
        entered into the data system to ensure responses and facilitate scheduling.

        Crisis cases identified by clinical and custody staff will be immediately referred to a
        psychologist or psychiatrist. Medication issues identified by clinical staff will be
        immediately referred to the psychiatrist.

        a)   Staff referral: Any staff member who observes possible signs or symptoms of a
             serious mental disorder may refer an inmate for clinical evaluation by completing a
             CDCR 128-MH5, Mental Health Referral Chrono, and handle as self-referral
             process below. Any inmate who is observed to be a suicide risk, or in any other
             condition that requires crisis care, shall be immediately screened by a PC to assess
             the potential for suicide and, if appropriate, referral to the Mental Health Crisis
             Bed (MHCB) for admission. On weekends and holidays, refer to self-referral
             process below.

        b)   Self referral: Inmates may request a clinical interview to discuss their mental
             health needs. These requests are made on a CDCR 7362, Health Care Services
             Request.

        Mondays through Fridays, the following shall occur:

        a)   A health care staff member shall collect all the CDCR 7362, Health Care Services
             Request, and CDCR 128-MH5, Mental Health Referral Chrono, each day from the
             designated areas.

        b)   Upon receipt of the collected forms, nursing staff shall initial and date each
             CDCR 7362, Health Care Services Request, and CDCR 128-MH5, Mental Health
             Referral Chrono.



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        c)   The CDCR 7362, Health Care Services Request, and CDCR 128-MH5, Mental
             Health Referral Chrono, shall be delivered to the designated program
             representative in mental health services, dental services, or pharmacy services for
             same-day processing.

        On weekends and holidays, the following shall occur:

        a)   The Triage and Treatment Area RN shall review each mental health staff referral
             form and CDCR 7362, Health Care Services Request, for medical, dental, and
             mental health services, shall establish priorities on an emergent and non-emergent
             basis, and shall refer accordingly.

        b)   If a mental health clinician is not available, the Medical Officer of the Day
             (MOD), physician on call or psychiatrist on call shall be contacted.

        Inmates will be seen by a mental health clinician or on weekends by the MOD,
        physician or psychiatrist on call within the clinically determined time frame.

        a)   Emergent – Emergency cases will be seen immediately or escorted to the Triage
             and Treatment Area

        b)   Urgent – Urgent cases shall be seen within 24 hours

        c)   Other cases will be seen within five working days. Copies of staff referral forms
             shall be placed in both the Central File and UHR for future reference. Staff
             members initiating referrals may be contacted directly, as necessary. Inmate self-
             referral forms shall be kept confidential, and the results of these interviews
             documented as deemed appropriate by the clinician.

   9.   Classification File Review

        Correctional Counselors shall conduct a comprehensive Central File review for all
        inmates received into the CDCR. This shall include a review of current commitment
        offense records and parole violation reports. Other documentation (e.g., Mental Health
        Placement Chronos or Probation Officer’s Reports) containing information about prior
        mental health issues, placement in mental health treatment programs, or criminal history
        shall also be reviewed for indications of mental health needs, if applicable. A face-to-
        face interview shall also be conducted. The CC shall complete a staff referral when
        there are indications of a need for a mental health evaluation. The specific reason(s) for
        the mental health evaluation shall be noted on the CDCR 128-MH5, Mental Health

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         Referral Chrono. Clinical recommendations for treatment shall be utilized in
         determining institutional placement.

   10.   Placement Decisions

         The completed case file with results of mental health evaluations will be reviewed by
         Classification Staff Representatives for final placement decisions. Where treatment is
         required, the decision will necessitate placement in an institution with the availability of
         the recommended level of care (inpatient, MHCB, EOP, or CCCMS), consistent with the
         CDCR’s policy on placements, based on security requirements.

   11.   Data Processing

         A data processing station within mental health services at each RC will process
         screenings and assessments, receive all referrals for evaluation, schedule clinicians to
         conduct evaluations, process (type, record, distribute) completed evaluations, track
         inmates through the stages of assessment, and submit periodic summaries of required
         data to institutional administrative staff and headquarters. It is important to emphasize
         that, in order to ensure the accurate collection of data the system will be utilized by
         appropriately trained CDCR staff and will provide adequate safeguards to protect the
         security and confidentiality of the data. Inmate clerks are banned from having access to
         documents or records containing other inmates’ mental health information (California
         Codes of Regulations, Title 15, Section 3354, (b), (6)).




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     CHAPTER 3
     Correctional Clinical Case Management System
A.      INTRODUCTION

        The California Department of Corrections and Rehabilitation’s (CDCR) Mental Health
        Services Delivery System (MHSDS) serves the majority of inmates with serious mental
        disorders through the Correctional Clinical Case Management System (CCCMS) available at
        all institutions. For General Population (GP) outpatient services to be effective (e.g., sustain
        improved functioning and minimize the use of more intensive levels of care), inmates must
        know what services are available and how to access them. An effective clinical case
        management system ensures timely access to mental health care. Outpatient services
        delivered through a well-designed clinical case management system is the most cost-effective
        means of maintaining adequate institutional functioning among inmates with serious mental
        disorders.

        1. The strength of well-coordinated clinical case management is its ability to systematically
           monitor the clinical needs and movement of MHSDS inmate-patients within and between
           CDCR institutions. With this service delivery mode, CDCR provides the best possible
           means of ensuring continuity of care while optimizing the use of available resources.

        2. Clinical case management improves the quality of mental health services offered through
           timely therapeutic intervention, utilizing the CDCR-approved Mental Health Tracking
           System (MHTS). The MHTS fosters information sharing among staff who provide
           service to inmate-patients and the optimal utilization of professional time.

        The Correctional Clinical Case Management System

        Clinical case management facilitates care by linking inmate-patients to needed services and
        providing sustained support while accessing such services. Clinical case management adds
        to the usual functions of traditional case management a clinical component based on a
        therapeutic working relationship between inmate-patient and Primary Clinician (PC). This
        therapeutic relationship makes the PC a more effective agent in helping the inmate-patient
        achieve individualized treatment goals. The PC provides therapeutic intervention and
        coordinates other mental health treatment services required by the inmate-patient. This
        relationship ensures continuity of care.

        The CCCMS services in CDCR are provided as outpatient services within the GP setting to
        promote inmate-patient integration and normalization. Inmate-patients requiring more
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   intensive services are referred to a higher level of care and are transferred to an appropriate
   institution/facility.

   1. Through its universal availability and as the least restrictive level of care, CCCMS forms
      the foundation of the CDCR’s MHSDS.

   2. Ready access to treatment intervention increases the safety and security of the institution,
      and may also contribute to lowering the recidivism rate of inmate-patients released on
      parole or discharged to the community.

   The CCCMS within the prison system is a different type of case management than one would
   find in the community. Within the CDCR, the fact that basic needs of inmate-patients are
   already provided allows PCs to concentrate on helping resolve mental health problems.
   Adjunct services which help maintain or improve functioning (e.g., education, substance
   abuse groups, and work training assignments), are available within the perimeter of the
   institution and are thus relatively easy for inmate-patients to physically access.

   While the structure of correctional settings is conducive to facilitating clinical case
   management responsibilities, other factors including penological concerns that are inherent
   in correctional settings pose special problems for clinical practice. Institution inmates
   represent a specialized clientele in whom treatment of serious mental disorders are often
   complicated by dual diagnoses and behavior problems. Further, security considerations have
   to be appropriately considered in treatment plans and service delivery methods.

   Psychiatrists, Clinical Social Workers (CSW), and psychologists can function as PCs. All
   institutions have clinical case management staff available to inmate-patients.

   Using Correctional Counselors (CC), CDCR provides case management for institutional
   programming with which CCCMS shall interface. In effect, each CCCMS inmate-patient
   shall have both a PC and a CC working within the scope of their designated duties, as
   members of an Interdisciplinary Treatment Team (IDTT) to coordinate and deliver services.

   CCCMS inmate-patients are a highly diversified population representing a broad spectrum of
   functional abilities. Treatment services must be tailored to adequately meet the clinical
   needs of each individual inmate-patient considering the functional level, readiness for
   treatment, insight into mental illness, and motivation for treatment. Individualized treatment
   plans specify measurable treatment goals and objectives, address problems, prescribe
   intervention modalities including treatment frequency/duration, and identify the staff
   member responsible for providing services. The treatment services are individualized by
   clinical need as described below:


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        1. For high-functioning inmate-patients, tracking and monitoring is often sufficient to meet
           this group’s clinical needs. They are the most likely group to benefit from active
           involvement in institutional programming and require minimal contact with the PC. The
           primary treatment focus is on symptom management and medication monitoring.

        2. For inmate-patients with significant psychological impairment, CCCMS provides, in
           addition to regular monitoring, more focused monitoring contacts with the PC, treating
           psychiatrist, and custody and correctional counseling staff to promote symptom
           management and prevent decompensation. Individual and group psychotherapy and
           other supportive services are provided as clinically indicated.

        3. Although scheduled at different intervals according to clinical needs, CCCMS inmate-
           patient monitoring entails regular assessments and treatment plan updates.

B.      PROGRAM OBJECTIVES

        The goal of the CCCMS is to maintain and/or improve adequate functioning of mentally
        disordered inmate-patients in the least restrictive treatment setting possible within each
        correctional setting. Doing so enables CCCMS to prevent the use of more expensive,
        intensive level of care treatment services. The array of CCCMS services available to GP
        inmates extends to inmates in segregated housing units [Administrative Segregation
        Unit (ASU), Security Housing Units (SHU), and Condemned inmates]. The CCCMS also
        helps maintain adequate functioning among “nonpatients” by providing crisis intervention to
        those experiencing situational crises. To accomplish this goal the program provides:

        1. Prompt access to mental health professionals for diagnostic evaluation and treatment.

        2. Continuity of care by tracking inmate-patients' progress and by timely referral to
           appropriate level of care.

        3. Linkage to available adjunct services when clinically and custodially appropriate (e.g.,
           work assignments, academic and vocational education programs).

        4. Linkage to existing prerelease programs and parole outpatient treatment services for
           inmate-patients about to parole.

        Treatment in CCCMS

        1. Ensures that inmate-patients participating in treatment address the following areas:

           a. Orientation and adjustment to the day-to-day requirements of institutional living.
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      b. The offense or crime itself and what, for the individual inmate, were precursors or
         contributing factors (including cognitive, behavioral, and emotional indicators).

      c. The nature of the diagnosed mental disorder including symptom identification, coping
         strategies, medication compliance issues, and identification of high-risk situations
         that may lead to decompensation.

   2. Minimizes crisis episodes and inpatient hospitalization through timely therapeutic
      intervention, regular assessments and treatment plan updates.

   3. Helps reduce recidivism upon release from CCCMS by providing clinical pre-release
      planning and coordinating the follow-up of mental health services with CCs and Parole
      Outpatient Clinic (POC Clinic) staff.

C. POPULATION SERVED

   Overall Treatment Criteria

   Overall treatment criteria have been developed for the MHSDS. An inmate must meet the
   criteria of 1, 2, or 3 below in order to receive MHSDS treatment at any level of care:

   1. Treatment and monitoring are provided to any inmate who has current symptoms and/or
      requires treatment for the current Diagnostic and Statistical Manual diagnosed (may be
      provisional) Axis I serious mental disorders listed below:

      Schizophrenia (all subtypes)
      Delusional Disorder
      Schizophreniform Disorder
      Schizoaffective Disorder
      Brief Psychotic Disorder
      Substance-Induced Psychotic Disorder (exclude intoxication and withdrawal)
      Psychotic Disorder Due To A General Medical Condition
      Psychotic Disorder Not Otherwise Specified
      Major Depressive Disorders
      Bipolar Disorders I and II
   2. Medical Necessity: Mental health treatment shall be provided as needed. Treatment is
      continued as needed, after review by an IDTT, for all cases in which:

      Mental health intervention is necessary to protect life and/or treat significant
      disability/dysfunction in an individual diagnosed with or suspected of having a
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       mental disorder. Treatment is continued for these cases only upon reassessment
       and determination by the IDTT that the significant or life threatening
       disability/dysfunction continues or regularly recurs.

   3. Exhibitionism: Treatment is required when an inmate has had at least one episode of
      indecent exposure in the six month period prior to the IDTT consideration of the need for
      exhibitionism treatment, and the inmate-patient is either:

       •   Diagnosed with Exhibitionism, or

       •   Meets the alternate criteria. (Alternate Criteria: An inmate who meets all criteria for
           the diagnosis of Exhibitionism, except that the victim was not an “unsuspecting
           stranger” but was a staff member or inmate who did not consent to or encourage the
           behavior.)

       (A diagnosis of Exhibitionism is not required for inmates who meet the alternate criteria.)

   Specific Treatment Criteria for CCCMS

   In addition to the overall treatment criteria above, an inmate must meet the following specific
   treatment criteria to receive treatment at the CCCMS level of care:

   •   Stable functioning in the GP, ASU, or SHU

   •   Criteria not met for higher levels of care

   •   Exhibits symptom control, or is in partial remission as a result of treatment

   •   These conditions usually result in Global Assessment Functioning scores of 50 and
       above.

       All inmates, including those in SHU or ASU, needing crisis intervention and/or continued
       treatment also receive services from CCCMS staff. Details for provision of services in
       ASU and SHU are found in their respective chapters of the Program Guide.

       Once entered in CCCMS, inmate-patients are tracked using the MHTS.

D. TREATMENT AND ASSESSMENT SERVICES

   The CDCR’s CCCMS relies on both mental health staff and custody staff, as members of an
   IDTT working within the scope of their credentials and job descriptions, to provide the
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   prescribed services to an inmate-patient suffering from a serious mental disorder. The basic
   MHSDS treatment philosophy embraces the concept that mentally disordered inmate-patients
   need comprehensive services to maintain adequate functioning in the GP, ASU, or SHU. In
   addition to mental health treatment, institutional services such as academic and vocational
   education programs are therapeutic and integral elements in a comprehensive treatment plan
   for GP inmate-patients. For SHU inmate-patients, treatment plans are modified to take into
   account inmate security concerns and status. As noted, this correctional-clinical model of
   case management requires custody and clinical staff to work in tandem, from the beginning,
   to assess the treatment and programming needs of seriously mentally disordered inmate-
   patients and to ensure they receive the mental health and institutional services specified in
   their treatment plans.

   Referral to CCCMS

   Inmates are referred to the program from a variety of sources. A large percentage come from
   Reception Centers (RC), identified as having a serious mental disorder in the routine process
   of screening and evaluation. Others are referred from Enhanced Outpatient Program (EOP),
   Mental Health Crisis Beds (MHCB) or, less frequently, Department of Mental Health (DMH)
   Inpatient Programs. Some may be identified at the time of inter-institutional transfer. Others
   are referred by institutional staff or through self-referrals. All referrals to CCCMS are
   processed in a timely manner and entered into the MHTS by clerical staff.

   Inmates who receive a CDCR 115, Rules Violation Report for Indecent Exposure or
   Intentionally Sustained Masturbation Without Exposure shall be referred for all of the
   following:

   •   CDCR 115-MH, Rules Violation Report: Mental Health Assessment;

   •   A mental health assessment shall be completed within 24 hours to rule-out
       decompensation and/or intoxication. The referral shall be made by telephone to the local
       Chief of Mental Health who shall arrange this assessment; and,

   •   For inmate-patients included in the MHSDS, to the inmate-patient’s PC.

   1. Referrals are made on one of several forms, depending on referral source:

       •   Inmate Request for Interview

       •   CDCR 7362, Health Care Services Request Form

       •   Staff Referral on CDCR 128-MH5, Mental Health Referral Chrono
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      •   From RCs and other levels of care on a CDCR 7386, Mental Health Evaluation, and a
          corresponding CDCR 128-MH3, Mental Health Placement Chrono

   NOTE: When an IDTT determines that an inmate-patient requires treatment of
   exhibitionism, that inmate-patient’s level of care shall be changed to CCCMS, Medical
   Necessity (or higher if appropriate), bypassing the standard referral process.

   2. The CCCMS Clinical Director shall appoint a staff member to coordinate and track
      referrals. A Clinical Intake Assessment shall be completed within ten working days of
      referral/arrival. If there is an adequate CDCR 7386, Mental Health Evaluation, available
      in the Unit Health Record (UHR) the PC may update it with documentation on a CDCR
      7230, Interdisciplinary Progress Note, or on a CDCR 7389, Brief Mental Health
      Evaluation. If there is no CDCR 7386, Mental Health Evaluation, in the UHR, a new
      CDCR 7386, Mental Health Evaluation, must be done. The coordinator shall then
      arrange for the inmate to be seen immediately by a Staff Psychiatrist if an emergency
      psychiatric evaluation is needed. When disagreement exists between the evaluator at a
      reception center and the receiving institution IDTT regarding the need for the CCCMS
      services, the receiving institution clinician shall document the justification for removal
      from the program and complete a CDCR 128-MH4, Mental Health Removal Chrono,
      within 90 days of inmate transfer from that reception center. The CDCR 128-MH4,
      Mental Health Removal Chrono, requires approval from the Chief of Mental Health or
      designee.

   3. Inmate-patients are continued on the same medication(s) without interruption pending
      further evaluation of psychotropic medications by a receiving psychiatrist.

   4. Clinical case management staff are available for the initial screening of inmates referred
      for crisis episodes. In this initial screen the level of required clinical intervention is
      assessed and proper action taken.

   Clinical Intake Assessment

   While the CDCR’s MHSDS provides screening and assessment upon reception, a more
   comprehensive assessment is critical in formulating a treatment plan after placement in
   CCCMS. The assessment includes the inmate-patient's personal strengths, achievements and
   goals, and past responses to intervention. Inmate-patients placed in CCCMS directly from
   RCs have a psychological evaluation (CDCR 7386, Mental Health Evaluation) with at least a
   provisional diagnosis and an initial treatment plan. In all cases, assessments and treatment
   plans are updated to include an evaluation of the inmate-patient’s current readiness for


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   institutional programming (e.g., work, substance abuse counseling, school, prerelease
   transition).

   The PC completes a clinical intake assessment within ten working days of referral/arrival. If
   there is an adequate CDCR 7386, Mental Health Evaluation, available in the UHR the PC
   may update it with using page 13 of CDCR 7386, Mental Health Evaluation (Add-A-Page),
   or documentation on the CDCR 7230, Progress Note. If there is no CDCR 7386, Mental
   Health Evaluation, a new CDCR 7386, Mental Health Evaluation must be done. The clinical
   intake assessment shall include:

   1. A review of the inmate-patient’s Central File and UHR, a face-to-face interview with the
      inmate-patient, and interviews with other institutional staff when possible.

   2. A review of previous mental health records. If the inmate-patient states that he or she
      had significant prior treatment or if the file review indicates history of such treatment, the
      clinician shall request that the inmate-patient sign a Release of Information form to
      obtain previous records. The clinician shall forward the signed Release of Information
      form to Health Records for immediate processing, in accordance with Health Record
      policies and procedures.

   3. Evaluation of an inmate-patient’s ability to program based on appropriate educational
      and vocational testing instruments that take into account the degree of psychiatric
      impairment, physical (medical) limitations, and custody and housing restrictions.
   4. Multiaxial diagnoses (Axis I through V) from the current Diagnostic and Statistical
      Manual.

   5. Evaluation of suicide and violence potential.

   Treatment Planning

   Interdisciplinary Treatment Team

   The responsibilities of overall treatment planning within the CCCMS program rests with an
   IDTT.

   1. These responsibilities include:

      •   Admission decisions for individual cases

      •   Formulation and approval of individualized treatment plans


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      •   Annual and special case reviews for the continuation or termination of services

      •   Review of current treatment needs and response to past intervention efforts

   2. The IDTT is composed of, at a minimum:

      •   Assigned Primary Clinician

      •   Assigned Psychiatrist

      •   Correctional Counselor

      •   Inmate-patient

   3. Other staff who have direct knowledge of the inmate-patient are encouraged to attend or
   provide information:

      •   Licensed Psychiatric Technicians

      •   Custody Officers

   The IDTT shall generally be responsible for developing and updating treatment plans. This
   process shall include input from the inmate-patient and other pertinent clinical information
   that may indicate the need for a different level of care. Referrals to higher levels of care
   shall be considered when the inmate-patient’s clinical condition has worsened or the inmate-
   patient is not benefiting from treatment services available at the current level of care.
   Consideration of appropriate level of care shall be documented by the IDTT on a
   CDCR 7230-MH, Interdisciplinary Progress Notes, and shall include the justification for
   maintaining the current level of care or referral to a different level of care.

   In consultation with the IDTT, the PC develops an individualized treatment plan for all
   CCCMS inmate-patients. Treatment plans are based on current assessments from all
   disciplines and with as much participation from the inmate-patient as possible. The inmate-
   patient shall be included in the IDTT, unless the inmate-patient refuses to participate. If the
   inmate-patient refuses to participate in the IDTT, the inmate-patient shall indicate the refusal,
   the reason for the refusal, and shall sign on the backside of the ducat. Inmate-patients shall
   not be disciplined for not participating in IDTT. If the inmate-patient refuses to
   participate, the PC documents the reason for refusal in the CDCR 7230, Interdisciplinary
   Progress Notes.


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   The Treatment Plan specifies mental health and other institutional services that can facilitate
   the resolution of identified problems listed in the problem list. All activities including work,
   education, and recreation are potentially therapeutic and must be included in the total
   treatment plan. When activities are prescribed in the treatment plan, specific target behaviors
   that are expected to benefit from these activities must also be identified. The individualized
   treatment plan must be completed within 14 working days of referral/arrival by the PC in
   consultation with the other IDTT members. CDCR Form 7388, Mental Health Treatment
   Plan, is used for this purpose.

   1. Selected information from the intake assessment and the treatment plan are shared with
      the CCs during IDTT for inclusion in the Classification Committee review.

   2. The treatment plan includes:

      a. Basic identifying data about the inmate-patient (age, race, committing county,
         commitment offense, current Earliest Possible Release Date or Minimum Eligible
         Parole Date, classification score/custody level, education, and work history);

      b. A diagnosis, identified problems, and treatment objectives measurable in behavioral
         terms;

      c. Treatment services and other institutional services designed to impact the identified
         problems and achieve individual treatment objectives;

      d. Frequency and duration of services to be provided;

      e. Documentation regarding the completion of appropriate forms such as a signed
         Release of Information necessary to obtain prior medical/mental health records,
         signed Medication Informed Consent to medicate, and heat warning forms for those
         inmate-patients prescribed psychotropic medication; and

       f. Aftercare and clinical pre-release plans.

   3. The date of the treatment plan approval shall be entered into the MHTS.

   4. At the conclusion of the initial IDTT, if an inmate-patient is determined to be appropriate
      for inclusion in the CCCMS program, the PC shall send a CDCR-128 MH3, Mental
      Health Placement Chrono, to the appropriate staff to be entered in the Priority Level of
      Care List for inputting into the MHTS. That staff person forwards the CDCR 128-MH3,
      Mental Health Placement Chrono, to the Classification and Parole Representative.


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   5. Treatment plans are updated at least annually, whenever a change in level of care occurs,
      or when clinical judgment indicates the need for an update.

   6. All services to inmate-patients shall be reflected in treatment plan updates.

   7. All updates shall be entered in the MHTS and a CDCR 128 MH3, Mental Health
      Placement Chrono, shall be produced with every change in level of care (see “Patient
      Monitoring and Clinical Case Review” in this section for more details).

   Treatment Modalities

   Institutional programming is an essential component of the treatment regimen of most
   clinical case management participants. The PCs shall make specific recommendations for
   programs such as education, work, and substance abuse counseling and coordinate with CCs
   to ensure appropriate linkages to these programs. As noted earlier, a therapeutic working
   relationship between the inmate-patient and the PC is essential to the success of the treatment
   outcome.

   Based on identified needs, treatment modalities may include:

   •   Orientation and supportive counseling for institutional adjustment

   •   Medication review and monitoring

   •   Individual counseling and crisis intervention

   •   Group therapy such as anger management and relapse prevention

   •   Social skills training

   •   Consultation services, such as to education and work programs

   •   Clinical discharge or clinical pre-release planning

   Medication Evaluation and Management

   1. Each CCCMS inmate-patient on psychiatric medication shall be reevaluated by a
      psychiatrist a minimum of every 90 days regarding psychiatric medication issues. The
      psychiatrist shall respond to inmate requests and staff referrals for medication issues
      according to the time frames established for inmate and staff responses (i.e., Emergent
      [immediately], Urgent [within 24 hours], or Routine [5 working days]).
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   2. Refer to Heath Care Department Operations Manual, Medication Management and
      Pharmacy regarding procedures for administration of medication, medication
      refusals, Directly Observed Therapy (DOT), medication adherence, and other aspects of
      medication administration.

   3. Refer to Chapter 5, Mental Health Crisis Bed, for information on involuntary medication
      administration.
   Transfer and Clinical Discharge

   Important functions of PC include:

      •   Making the clinical determination as to when and how to transfer inmate-patients to
          more intensive levels of care,

      •   Discharging those inmate–patients who no longer need services, and

      •   Coordinating pre-release planning for inmate-patients being paroled.

   Clear and measurable criteria for both transfer to more intensive levels of care and clinical
   discharge are important (Chapter 1, Program Guide Overview, Section D). Equally
   important is coordination with units or programs which shall take over the care and/or
   monitoring of the inmate-patient and coordination of pre-release planning with correctional
   counseling staff, Parole and Community Services Division Transitional Case Management
   staff, and Parole Outpatient Clinic staff.

   1. Prior to CCCMS termination (clinical discharge or program transfer), the PC must
      complete a CDCR 128-MH3, Mental Health Placement Chrono, or CDCR 128-MH4,
      Mental Health Removal Chrono, to notify custody.

   2. Clinical discharges and/or program transfers shall be documented in the MHTS.

   3. The PC shall present a recommendation for transfer to an EOP or clinical discharge in a
      clinical case review with the IDTT. If, after consultation, the IDTT approves
      recommendation for transfer to an EOP, the PC shall complete a CDCR 7386, Mental
      Health Evaluation, and a corresponding CDCR 128 MH3, Mental Health Placement
      Chrono. If the team approves recommendation for clinical discharge, the PC shall
      complete a CDCR 128 MH4, Mental Health Removal Chrono.




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   4. Inmate-patients requiring more intensive outpatient services within a structured setting
      shall be transferred to an EOP within 60 days of the EOP designation, or within 30 days
      if clinically indicated.

   5. Inmate-patients awaiting EOP transfer shall have updated treatment plans, (CDCR 7388,
      Mental Health Treatment Plan). While awaiting EOP transfer, inmate-patients shall be
      seen on a weekly basis by the PC.

   6. If a transfer occurs within the same institution, immediately before transfer to EOP the
      CCCMS PC shall contact the EOP Clinical Director or designee to ensure continuity of
      care and provide the most recent, relevant clinical information regarding the inmate-
      patient’s clinical needs.

   7. Inmate-patients shall be transferred to MHCB for crisis episodes requiring 24-hour
      nursing care. The transfer to a MHCB shall be accomplished within 24 hours of referral.
      While awaiting transfer, the inmate-patient shall be housed in a medical facility with at
      least an Outpatient Housing Unit (OHU) level of care. A psychiatrist, psychologist, or
      CSW shall provide clinically appropriate care, while the inmate-patient is awaiting
      transfer. This may include suicide observation, one to one counseling, medication
      management, and/or nursing care.

   8. Inmate-patients with multiple admissions to MHCB (three or more within a six month
      period) shall be evaluated for referral to DMH or EOP.

   9. Inmate-patients who:

      •   attempt suicide,

      •   currently have significant suicidal ideation or potential, or

      •   pose a moderate to serious risk for suicide,

      shall be admitted to MHCB and considered for referral to DMH. If an inmate-patient is
      accepted to DMH, the inmate-patient shall be transferred to DMH within 72 hours of bed
      assignment.

   10. Inmate-patients may be clinically discharged from CCCMS if they have been in
       continuous remission and are functioning adequately in the mainline without treatment
       (including medication) for six-months. Inmates shall be seen for 90-day clinical contacts
       throughout the six-month period.

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   11. Inmate-patients admitted on the basis of medical necessity shall be discharged when the
       crisis or problem necessitating treatment is resolved. Discharge of inmate-patients, who
       were placed in the CCCMS program on a medical necessity, shall be determined by the
       IDTT and shall be approved by the Chief Psychiatrist, Chief Psychologist, Senior
       Psychologist or designee.

   12. Clinical pre-release plans included as part of the Treatment Plan shall be updated as
       appropriate but at least at every annual clinical case review.

   13. The Discharge/Transfer Summary shall include the diagnoses (current Diagnostic and
       Statistical Manual version), Axis I through Axis V, a brief summary of the inmate-
       patient’s course of treatment in CCCMS, recommendations for follow-up care, and
       discharge medications (Pre-release planning).

   14. The PC shall coordinate with the CC, staff from the Transitional Case Management
       program, and clinical staff from the POC Clinic regarding plans for release and follow-up
       of the inmate-patient to be paroled. Discharge/Transfer Summaries shall be forwarded to
       the POC Clinic or other pertinent clinical pre-release program providers after signed
       Releases of Information have been obtained. While necessary for record transactions
       with other agencies, a signed release is not needed within CDCR. Patients currently
       receiving medication, upon a physician's order, shall be provided a 30-day supply of
       essential medications when released on parole or discharged unless clinically
       contraindicated.

   15. CCCMS inmate-patients who are inappropriately transferred to a non-CCCMS mainline
       institution shall be transferred to a defined treatment setting within 30 days of arrival at
       the non-CCCMS institution.

   16. Inmate-patients who are determined to require CCCMS level of care while in a non-
       CCCMS institution shall be transferred to a treatment setting within 90 days of the level
       of care designation or 60 days of the level of care designation, if clinically indicated.

E. INMATE-PATIENT MONITORING AND CLINICAL CASE REVIEW

   Monitoring Contacts

   Inmate-patient progress is assessed by the PC during regularly scheduled contacts. The
   frequency of these contacts shall vary based on clinical needs. The majority of CCCMS
   inmate-patients who have been stabilized are capable of functioning adequately in the
   mainline while receiving maintenance care. Usually, they can manage the symptoms of their
   mental illness and report with little prompting for renewal of medication prescriptions. A
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   certain percentage of inmate-patients will manifest greater needs and thus require more
   frequent contact.

   1. Face-to-face individual contacts between the PC and the CCCMS inmate-patients in a GP
      setting shall occur as often as clinical needs dictate but at least once every 90 days.

   2. Inmate-patients recently released from more intensive levels of care, admitted directly
      from RCs, or recently released from segregated housing units may initially require daily
      to weekly contacts.

   3. Inmate-patients who were admitted to the MHCB for a suicide attempt or ideation, upon
      discharge from that program, shall be seen by the PC, or designee, daily for the first five
      calendar days following discharge, and as often as required thereafter. Custody staff
      shall also observe these inmate-patients a minimum of every hour for the first 24 hours
      after the discharge from the MHCB. At the end of the first 24 hours after discharge, the
      CCCMS clinical staff shall evaluate an inmate-patient to determine the need for
      extending the observation period (not to exceed 24 hours at a time). If the
      recommendation for an extension is justified, the inmate-patient shall be observed every
      two hours for the following 48 hours and every 4 hours thereafter. If, after a second
      evaluation, a mental health clinician feels additional hourly checks are required, the
      inmate-patient shall be returned to the MHCB for further stabilization. Custody staff
      shall maintain a log of their rounds on inmate-patients. Inmate-patients housed in OHUs
      for suicide observation, who do not require MHCB level of care and who were
      discharged from the OHU before 24-hours, may be seen by clinicians and custody staff
      for follow-up care. The process and timeframes for follow up care may be the same as is
      described for MHCB suicide dischargees.

   4. Monitoring contacts and attendance at treatment activities shall be entered into the
      inmate-patient contact file of the MHTS.

   5. Significant inmate-patient contacts shall be documented on CDCR 7230,
      Interdisciplinary Progress Notes, in the UHR on the same day of occurrence. Group
      therapy sessions must be recorded in a monthly summary note and include the inmate-
      patient’s attendance, behavior in the group, and the progress toward achieving treatment
      goals.

   Clinical Case Review

   In consultation with the IDTT, a full review of outpatient progress, which includes clinical
   status and performance in work, educational and vocational training, social, and daily-living


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        activities, shall be done to ascertain the appropriateness of current level of care placement.
        This review may or may not result in modifications of the Treatment Plan.

        1. Clinical case reviews shall be done at least annually, prepared prior to, and included as
           applicable in Classification Committee hearings reviewing inmate-patient status. The
           first annual clinical review shall be scheduled in the month prior to a classification
           hearing and annually thereafter.

        2. The annual review culminates in a CDCR 7388, Mental Health Treatment Plan,
           rejustification. This report shall include a description of current clinical status,
           participation in treatment and institutional programming, and reasons for continuation or
           termination of CCCMS services.

        3. Clinical case reviews shall also be done every time placement in more intensive levels of
           care or change to nonpatient status is indicated. These case reviews are documented in
           the CDCR 7230, Interdisciplinary Progress Notes, CDCR 7386, Mental Health
           Evaluation Form, CDCR 7388, Mental Health Treatment Plan, a CDCR 128-MH-3,
           Mental Health Placement Chrono, or a CDCR 128-MH, Mental Health Removal Chrono.
           Clinical case review documentation shall include the printed names and signatures or
           initials of the clinical and custody staff present in the IDTT. The custody staff who
           manages the inmate-patient’s day-to-day routine shall be included whenever possible in
           the IDTT. The PCs shall document the presence of the inmate-patient during the review
           and indicate reasons for the inmate-patient’s absence.

F.      STAFFING

        Staffing for CCCMS includes psychologists, CSWs, psychiatrists, and clerical support.
        CDCR may utilize contract staff as necessary to fulfill staffing requirements.
        Staff training is crucial to the successful operation of the CCCMS. Training is essential
        because CCCMS, as a formalized systemwide approach to outpatient treatment in inmate-
        patients’ regularly assigned living units, is relatively new, not only to CDCR, but to
        correctional settings in general. Many clinical staff hired to work in CCCMS programs are
        new, not only to the institution setting, but also to forensic mental health. Training facilitates
        standardizing basic elements of CCCMS service delivery.

        Clinical Director

        A Clinical Director is critical to the success of CCCMS. In addition to direct care
        responsibility, the Director takes the lead in developing and implementing local policies and
        procedures for clinical case management, oversees the MHTS, makes PC assignments,
        facilitates training, provides clinical and administrative supervision, and coordinates system
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   monitoring functions contained in quality assessment and improvement activities. The
   Clinical Director can be any licensed mental health professional with experience running a
   complex case management system. In the standard staffing pattern, a Senior Psychologist is
   provided to serve as the CCCMS Clinical Director, although in some institutions this role is
   performed by the Chief of Mental Health or designee (see description in Chapter 1, Program
   Guide Overview).

   Primary Clinician

   Under the direction of the Clinical Director, the PC performs the necessary case management
   functions for all outpatients in their caseloads. This includes assessment, treatment planning
   and treatment, clinical monitoring, and clinical case reviews. They coordinate with
   institutional services that are considered helpful in maintaining or improving inmate-patient
   functioning. The PCs shall screen institution referrals to the CCCMS, including those for
   crisis episodes. If an inmate-patient is referred for evaluation of medication related issues,
   the referral shall be routed directly to a psychiatrist for evaluation. CSWs, psychologists,
   and psychiatrists shall be assigned as PCs.

   Clerical Support

   Medical Transcribers or Office Technicians shall provide clerical support to clinicians.
   Clerical support includes: record keeping; assisting with scheduling; transcribing and typing
   reports and forms used in referral, assessment, treatment planning, patient contacts, and
   clinical case reviews. Responsibilities of this position also include computer data entry, e.g.
   MATS.


G. MENTAL HEALTH QUALITY MANAGEMENT SYSTEM

   Ongoing assessment of the quality of clinical services shall follow the Mental Health Quality
   Management System procedures.




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CHAPTER 4
Enhanced Outpatient Program

A. INTRODUCTION

   The Enhanced Outpatient Program (EOP) provides the most intensive level of outpatient
   mental health care within the Mental Health Services Delivery System (MHSDS). The
   program is characterized by a separate housing unit and structured activities for mentally ill
   inmate-patients who, because of their illness, experience adjustment difficulties in a General
   Population (GP) setting, yet are not so impaired as to require 24-hour inpatient care. Inmate-
   patients who, because of a mental disorder, do not function well in EOP may be referred for
   higher levels of care including: Mental Health Crisis Bed (MHCB); or Department of Mental
   Health (DMH) Day Treatment Program, Intermediate Care Program, or Acute Psychiatric
   Program.

   Critical components include:

   1. A comprehensive array of mental health services delivered within the framework of an
      Interdisciplinary Treatment Team (IDTT), which is composed of representatives from a
      cross-section of clinical disciplines as well as prison custodial and counseling staff.
      Treatment is focused on resolution of institutional adjustment problems which impede
      functioning within the GP. Services include management of activities of daily living,
      group and individual psychotherapy, medication management, recreational therapy, and
      clinical pre-release planning.

   2. A designated housing unit with restricted access and alternative educational, work, and
      recreational opportunities specifically provided for inmate-patients whose mental illness
      precludes their placement and participation in the GP programs.

   3. Active interface with custodial staff, including Correctional Counselors (CC), which
      enhances the assessment and treatment process and optimizes the inmate-patient
      functioning within the prison environment.

B. PROGRAM OBJECTIVES

   The goal of the EOP is to provide focused evaluation and treatment of mental health
   conditions which are limiting an inmate's ability to adjust to a GP placement. The overall
   objective is to provide clinical intervention to return the individual to the least restrictive
   clinical and custodial environment.
   More specific objectives include:
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   1. Provide short to intermediate term (a range of 3 to 12 months for most cases) focused
      care for inmate-patients who do not require 24-hour inpatient care. Short term treatment
      goals are primarily directed at developing constructive coping mechanisms, achieving
      treatment compliance, and further stabilization of psychiatric symptoms that are
      necessary for transition to the Correctional Clinical Case Management System (CCCMS)
      level of care.

   2. Provide longer-term placement for inmate-patients with chronic mental illness whose
      symptoms have stabilized but whose level of functioning is insufficient to allow GP
      placement. Supportive care, assistance with activities of daily living, recreational
      therapy, anger management, reality therapy, and programs related to symptom
      management and clinical pre-release planning are offered.

   3. Provide short-term secure custodial placements with clinical resources which address
      behavioral problems for mentally ill EOP inmate-patients who are transitioning from
      Security Housing Units or Psychiatric Services Units (PSU). Treatment for these inmate-
      patients focuses on achieving behavioral control and the development of socially
      acceptable behavior within the institution.

C. POPULATION SERVED

   Overall Treatment Criteria

   Overall treatment criteria have been developed for the MHSDS. An inmate must meet the
   criteria in 1, 2, or 3 below in order to receive MHSDS treatment at any level of care:

   1. Treatment and monitoring are provided to any inmate-patient who has current symptoms
      and/or requires treatment for the current Diagnostic and Statistical Manual diagnosed
      (may be provisional) Axis I serious mental disorders listed below:

      Schizophrenia (all subtypes)
      Delusional Disorder
      Schizophreniform Disorder
      Schizoaffective Disorder
      Brief Psychotic Disorder
      Substance-Induced Psychotic Disorder (exclude intoxication and withdrawal)
      Psychotic Disorder Due To A General Medical Condition
      Psychotic Disorder Not Otherwise Specified
      Major Depressive Disorders
      Bipolar Disorders I and II


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   2. Medical Necessity: Mental health treatment shall be provided as needed. Treatment is
      continued as needed, after review by an IDTT, for all cases in which:

      Mental health intervention is necessary to protect life and/or treat significant
      disability/dysfunction in an individual diagnosed with or suspected of having a
      mental disorder. Treatment is continued for these cases only upon reassessment
      and determination by the IDTT committee that the significant or life threatening
      disability/dysfunction continues or regularly recurs.

   3. Exhibitionism: Treatment is required when an inmate has had at least one episode of
      indecent exposure in the six-month period prior to the IDTT that considers the need for
      exhibitionism treatment, and the inmate-patient is either:

             •   Diagnosed with Exhibitionism, or

             •   Meets the alternate criteria (Alternate Criteria: An inmate who meets all criteria for
                 the diagnosis of Exhibitionism, except that the victim was not an “unsuspecting
                 stranger” but was a staff member or inmate who did not consent to or encourage the
                 behavior.)

             (A diagnosis of Exhibitionism is not required for inmates who meet the alternate criteria.)

      Specific Treatment Criteria for EOP
      16BU




      In addition to the overall treatment criteria above, an inmate must meet the following
      specific treatment criteria to receive treatment at the EOP level of care:

      •          Acute Onset or Significant Decompensation of a serious mental disorder
                 characterized by symptoms such as increased delusional thinking, hallucinatory
                 experiences, marked changes in affect, and vegetative signs with definitive
                 impairment of reality testing and/or judgment; and/or

      •          Inability to Function in General Population Based Upon:

                 a.   A demonstrated inability to program in work or educational assignments, or
                      other correctional activities such as religious services, self-help programming,
                      canteen, recreational activities, visiting, etc. as a consequence of a serious
                      mental disorder; or

                 b.   The presence of dysfunctional or disruptive social interaction including
                      withdrawal, bizarre or disruptive behavior, extreme argumentativeness, inability

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                       to respond to staff directions, provocative behavior toward others, inappropriate
                       sexual behavior, etc., as a consequence of a serious mental disorder; or

                  c.   An impairment in the activities of daily living including eating, grooming and
                       personal hygiene, maintenance of housing area, and ambulation, as a
                       consequence of a serious mental disorder.

             •   These conditions usually result in Global Assessment Functioning (GAF) Scores of
                 less than 50.

      Enhanced Outpatient Care (Designated Housing Unit)
      U




      Participants in the MHSDS EOP are placed in designated housing units that provide
      increased clinical and custodial support and limit contact with members of the institution’s
      GP inmates.

D. ADMISSION TO PROGRAM
  U




      Referral Process
      U




          1. Mental Health clinicians may initiate an EOP referral. This referral decision is
             documented on a CDCR 128-MH3, Mental Health Placement Chrono, and clinically
             supported in an original or updated CDCR 7386, Mental Health Evaluation. Both forms
             are placed in the Unit Health Record (UHR) and the CDCR 128-MH-3, Mental Health
             Placement Chrono, is placed in the Central File.

          2. If the referral is generated for an inmate-patient at a GP institution without an EOP, the
             clinician at the referring institution may consult with the Chief of Mental Health at the
             closest EOP site regarding the need for EOP level of care, prior to initiating the referral
             process. In situations where there is a disagreement between the conferring clinicians,
             the inmate-patient will be referred to an EOP treatment setting for further onsite
             evaluation.

          3. EOP placements do not require prior clinical approval from the receiving institution.

          4. Referral documentation is prepared by the referring clinician. The documentation
             includes the chronological CDCR 7230, Interdisciplinary Progress Note, containing
             circumstances, symptoms, and behaviors justifying the need for EOP level of care. This
             document is placed in the UHR. The documentation also includes a CDCR 128-MH3,
             Mental Health Placement Chrono, containing a brief description of behavioral alerts.
             The original of this document is forwarded to classification staff for processing and


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      Classification Staff Representative (CSR) endorsement for institutional placement. A
      copy of the CDCR 128-MH3, Mental Health Placement Chrono, is placed in the UHR.
   5. EOP placements from within the same institution are accomplished with the approval of
      the IDTT, placed in an available EOP bed, and documented on a CDCR 128-MH3,
      Mental Health Placement Chrono. For inmates not currently participating in the
      MHSDS program, the classification committee will refer the case to the CSR for EOP
      endorsement. For those currently participating in the MHSDS program, the classification
      committee will refer the case to the Classification and Parole Representative (C&PR) for
      EOP endorsement. Subsequent placements of the same individual into the EOP require
      only C&PR approval. A weekly count of filled and vacant EOP beds is provided to
      Division of Correctional Health Care Services (DCHCS) and Division of Adult
      Institutions to facilitate the use of available beds by population management staff.

   6. The classification and transportation systems are designed to ensure placement within 60
      days of level of care designation, or 30 days of level of care designation, if clinically
      indicated. Transfers within the same institution of inmate-patients previously identified
      and treated as EOP or from the institution’s MHCB should occur on the same day, or
      within 24 hours of referral.

   7. EOP inmate-patients who are inappropriately transferred via CSR endorsement action to
      a non-EOP institution shall be transferred to an EOP institution within 21 days of arrival.

   8. Inmate-patients who are determined to require EOP level of care while in a non-EOP
      institution, shall be transferred to an appropriate EOP treatment setting within 60 days of
      the EOP designation, or 30 days of the designation, if clinically indicated.

   9. Inmates who receive a CDCR 115, Rules Violation Report for Indecent Exposure or
      Intentionally Sustained Masturbation Without Exposure shall be referred for all of the
      following:

      •   CDCR 115-MH Rules Violation Report: Mental Health Assessment;

      •   A mental health assessment shall be completed within 24 hours to rule-out
          decompensation and/or intoxication. The referral shall be made by telephone to the
          local Chief of Mental Health who shall arrange this assessment; and,

      •   For inmate-patients included in the MHSDS, to the inmate-patient’s Primary
          Clinician (PC)

      NOTE: When an IDTT determines that an inmate requires treatment of exhibitionism,
      that inmate’s level of care shall be changed to CCCMS, Medical Necessity (or higher if
      appropriate), bypassing the standard referral process.
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       Interdisciplinary Treatment Team
       9BU




       The responsibilities for overall treatment planning within the EOP rest with the IDTT.
       These responsibilities include:

             •   Program admission decisions for individual case

             •   Formulation and approval of initial and updated individual treatment plans

             •   Periodic case reviews and re-justifications of treatment

             •   Discharge decisions

             •   Overall utilization review of available beds

             •   Overall program quality improvement

       The IDTT is composed of, at a minimum:

             •   Assigned Primary Clinician (PC)

             •   Assigned Psychiatrist

             •   Correctional Counselor

             •   Inmate-patient

       Other staff who have direct knowledge of the inmate-patient are encouraged to attend or
       provide information:

             •   Licensed Psychiatric Technicians (LPT)

             •   Custody Officers

      Recreation Therapists (RT), Registered Nurses (RN), Licensed Vocational Nurses, LPT,
      and the housing custody officer will also normally participate. Each member of the team
      will provide input into the overall treatment plan. Input from additional staff, including
      vocational and educational personnel, is strongly encouraged. A representative from the
      IDTT (the assigned PC or designee) should be present in all classification hearings
      regarding inmate-patients in treatment to provide mental health input into the
      classification decision-making process. The inmate-patient shall be included in the
      IDTT, unless the inmate-patient refuses to participate. If the inmate-patient refuses to
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      participate in the IDTT, the inmate-patient shall indicate the refusal and the reason for the
      refusal. The PC shall document this information on the treatment plan, CDCR 7388,
      Mental Health Treatment Plan, and in the progress notes, CDCR 7230-MH, Mental
      Health Progress Note. Inmate-patients shall not be disciplined for not participating in
      IDTT. The PC is responsible for presenting the inmate-patient’s concerns to the IDTT.

      The Chief of Mental Health shall designate the IDTT leader.

      Initial Evaluation Process

      The initial clinical assessment involves an interview with the inmate-patient and a review
      of available clinical records, the Central File, the evaluation of the referring clinician, and
      records from prior institutional placements. A review of these evaluations and an
      observation period are utilized to establish a functional baseline and working clinical
      diagnosis. This process shall be completed within 14 calendar days from arrival at the
      EOP.

      If the inmate-patient states that he or she had significant prior treatment or the file review
      indicates history of such treatment, the clinician shall obtain a signed Release of
      Information and forward it to the Institutional Health Record Services to obtain previous
      records. The referring clinician, custodial staff, work supervisors, teachers, chaplains,
      and family members are excellent sources of patient collateral information and should be
      utilized whenever possible (with appropriate release of information when required).

      At the conclusion of the evaluation process and within 14 calendar days from arrival at
      the EOP, the IDTT will review all relevant clinical, institutional, and criminal history
      data, interview the inmate-patient and make one of the following determinations:

      1. Admit to the program and develop a treatment plan on the CDCR 7388, Mental
         Health Treatment Plan.

      2. Decline admission (indicate clinical options).

      3. Extend evaluation process for an additional 14 calendar days.

      All decisions regarding change of treatment level made by the IDTT shall be documented
      with a CDCR 128-MH3, Mental Health Placement Chrono. This chrono shall be
      forwarded to classification for review and central file update. One copy of the chrono is
      placed in the UHR and another copy forwarded for entry into the MHTS. An
      individualized treatment plan, CDCR 7388, Mental Health Treatment Plan, shall include
      the recommendations of the IDTT and specifics such as type of therapeutic activities
      (schedule, duration, outcome expectations) and anticipated length of stay. The
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      prescription of treatment activities should consider the commitment offenses and current
      institutional maladjustment.

      Inmate-patients who are released from Administrative Segregation Unit (ASU) or the
      PSU to a GP EOP for continuing mental health treatment may require mental health
      services related to adjustment to the GP environment. The ASU or PSU PC shall
      document recommendations regarding the inmate-patient’s specific treatment needs,
      including any concerns about facilitating the inmate-patient’s successful transition to GP.
      The receiving EOP IDTT will consider documentation by the ASU or PSU clinician in
      developing the inmate-patient’s treatment plan. The treatment plan for inmate-patients
      transferred from ASU or PSU to GP-EOP shall include services provided to aid in the
      transition to the GP environment. Inmate-patients referred from the ASU or PSU to a
      GP-EOP Unit shall be retained at EOP level of care for a minimum of 90 days.

      Release after Initial Evaluation

      If, at the conclusion of the initial evaluation process, the IDTT determines that EOP
      placement is inappropriate, documentation to this effect is placed in the UHR using
      CDCR 7388, Mental Health Treatment Plan. A CDCR 128-MH3, Mental Health
      Placement Chrono, noting the decision and recommending more appropriate placement
      shall be prepared for classification processing and transfer (if appropriate). If inpatient
      care is indicated, the assigned PC is responsible for initiating and completing the
      placement process.

E. EOP INMATE-PATIENT TREATMENT SERVICES

   Each EOP inmate-patient will have an individualized treatment plan that provides for
   treatment consistent with the inmate-patient’s clinical needs. The treatment plan shall be
   documented on a CDCR 7388, Mental Health Treatment Plan. Each inmate-patient shall be
   offered at least ten hours per week of scheduled structured therapeutic activities as approved
   by the IDTT. It is recognized that not all inmate-patients can participate in and/or benefit
   from ten hours per week of treatment services. For some inmate-patients, ten hours per week
   may be clinically contraindicated. For those inmate-patients scheduled for less than ten
   hours per week of treatment services, the PC shall present the case and recommended
   treatment program to the IDTT for approval. The CDCR 7388, Mental Health Treatment
   Plan, must include a detailed description of the diagnosis, problems, level of functioning,
   medication compliance, and rationale for scheduling less than ten hours. For inmate-patients
   who are scheduled for less than ten hours of treatment activities per week, the IDTT shall
   meet at least monthly and be responsible to review and increase the treatment activities or
   refer to a higher level of care as clinically indicated.



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   Categories of Treatment Services

   REQUIRED TREATMENT

   1. Individual Treatment Planning involves a meeting of the IDTT and the inmate-patient at
      least every 90 days for the purpose of identifying treatment needs, developing treatment
      plans, assessing treatment progress, and updating/revising individual treatment plans in
      accordance with the inmate-patient’s needs and progress.

   2. Weekly clinical contact with PC either individually or in group psychotherapy; individual
      clinical contact at least every other week.

   3. Medication Evaluation and Management

      a) A psychiatrist shall evaluate each EOP inmate-patient at least monthly to address
         psychiatric medication issues.

      b) Refer to Heath Care Department Operations Manual, Medication Management
         and Pharmacy, regarding procedures for administration of medication,
         medication refusals, Directly Observed Therapy, medication adherence, and other
         aspects of medication administration.

      c) Refer to MHSDS Program Guide, Chapter 5, Mental Health Crisis Bed, for
         information on involuntary medication administration.

   4. Ten hours per week of scheduled structured therapeutic activities. See below for list of
      treatment activities.
   OTHER TREATMENT ACTIVITIES

   1. Group therapy and psycho-educational groups provide inmate-patients with an
      opportunity to express, explore, and resolve issues with the assistance of clinical staff and
      other inmate-patient group participants who have similar problems or experiences.
      Psycho-educational groups focus on cognitive/behavioral skill building as a means of
      improving inmate-patient interpersonal skills and problem solving abilities.

   2. Individual therapy provides inmate-patients with the opportunity to discuss personal
      problems that may not be adequately addressed in a group setting.

   3. Recreational and occupational therapies provide inmate-patients with supervised
      recreational activities or exercise programs designed to reduce stress, improve self-
      esteem and physical health, foster positive interpersonal interactions, and promote the
      constructive use of leisure time. Occupational or recreational therapy is counted as

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      structured activity only if an appropriate clinician (an occupational therapist, recreational
      therapist, LPT, or other qualified professional) is present and supervising the activity.
      Unsupervised routine exercise is available for all inmate-patients and is not counted as a
      therapeutic activity.

   4. Work and educational programs may provide rehabilitative services through institutional
      programming designed to help inmate-patients improve vocational and educational
      functioning. Work and education assignments can constitute up to four hours of
      structured activity per week if they are identified as such in the inmate-patient’s
      treatment plan. The treatment plan must indicate how it is believed the inmate-patient
      benefits from particular vocational and/or educational activities.

   Examples of Treatment Activities

   The EOP may offer some or all of the following treatment activities, depending on the needs
   of the inmate-patient population and the resources available.

   1. Daily Living Skills - train and assist inmate-patients in developing or improving skills in
      maintaining appropriate personal hygiene and grooming habits. These activities include
      demonstrating and prompting inmate-patients in bathing, dressing, and the maintenance
      of a clean living environment. These activities promote personal responsibility and
      initiative for self-care, enhance self-esteem, and provide a predictable daily routine.

   2. Medication Education - educate inmate-patients regarding the importance and benefits of
      regularly taking their prescribed medications. It discusses medication, interaction with
      alcohol and drugs, and teaches how to correctly take medication. It explains side effects
      and when they need to be brought to the attention of clinical staff. It stresses the
      importance of effective doctor/patient communication in obtaining and maintaining
      medication compliance.

   3. Symptom Management - help inmate-patients with chronic mental disorders become
      more effective in managing their psychiatric symptoms by teaching them how to identify
      warning signs of relapse, persistent symptoms, and medication side effects. Inmates
      learn how to cope with symptoms and seek professional help.

   4. Specific Mental Health Issues - provides focused clinical support for inmate-patients
      experiencing specific mental health issues, such as depression, or who have a history of
      being a victim.

   5. Social Skills/Communication - focus on activities which allow inmate-patients to interact
      in a positive manner with other individuals, both staff and inmates. It promotes the
      development of communication skills that are appropriate and socially acceptable.
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   6. Anger Management - teaches inmate-patients the socially acceptable and appropriate
      ways of handling anger and expressing feelings. This module is geared towards reducing
      aggressive/assaultive behavior toward self or others or by developing self-control skills.
      It teaches inmate-patients processes that can be used within the institution setting to
      resolve conflicts and handle problems appropriately without resorting to violence.

   7. Stress Management - teaches inmate-patients how to identify recurring prison stressors
      and provides specific stress reduction techniques to minimize the negative effects of
      stress on their behavior and mental health.

   8. Substance Abuse Group - teaches inmate-patients about the relationship between
      substance abuse and criminality and emphasizes the effects of chemical abuse on inmate-
      patients with mental illness. The group offers supportive interactions and explores issues
      of chronic abuse and the development of alternatives.

   9. Health Issues - provides education regarding basic physical, emotional, and mental health
      issues, including human sexuality and sexually transmitted diseases.

   10. Offense Specific Therapy - provides clinical support for insight-oriented treatment
       related to causative factors in criminal behavior, emphasizing the development of
       alternative courses of conduct.

   11. Rational Behavior/Reality and Decision-making - emphasizes the assumption of
       responsibility for one's actions, accepting the reality of their living environment, the
       development of more productive and pragmatic life scripts, as well as developing
       strategies to identify and achieve attainable goals.

   12. Family Issues - focus on stressful experiences associated with spousal abuse, childhood
       physical and sexual abuse, separation from offspring and loved ones, dysfunctional
       relationships, pregnancy issues, etc.

   13. Therapeutic Community Meeting - all inmate-patients in the program are involved in
       regularly scheduled community meetings to discuss issues that commonly affect their
       treatment and living environment. Inmate-patients learn through active interaction with
       peers and staff how to build a therapeutic community.

   14. Clinical Pre-Release group - inmate-patients nearing parole to the community are seen
       weekly in group and discuss issues related to community living arrangements, continued
       outpatient care, financial, educational, and vocational needs. The skills necessary to
       successfully meet the general conditions of parole in the community are discussed.
       Clinical Pre-Release groups involve coordination with the Parole and Community

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             Services Division Transitional Case Management Program (TCMP) staff and Parole
             Outpatient Clinic (POC) clinical staff.

   Daily Activity Schedules

   Utilizing the above treatment descriptions (and additional optional activities as may be
   developed at the institutional level), each inmate-patient has a weekly activity schedule
   incorporated into the individual treatment plan drawn from a schedule of treatment activities
   available on the unit. Development of, and adherence to, the schedule is the joint
   responsibility of the inmate-patient and PC. The establishment of additional unit activities,
   available to all inmate-patients, is the responsibility of EOP staff.

   Nursing and Supportive Care
   1B




   Although 24-hour nursing care is not required for inmate-patients within the EOP, services
   expanded from those offered to GP inmate-patients are provided by RNs and/or LPTs. These
   services include:

   1. Administration of all medications. Refer to the Health Care Department Operations
      Manual, Medication Management and Pharmacy .

   2. Regular monitoring of medication compliance, and notification of medication non-
      compliance to treating psychiatrist, consistent with DCHCS policy.

   3. Provision of nursing services as ordered by a physician.

   4. Supervision and assistance in the activities of daily living, including maintenance of
      living quarters, personal hygiene, and eating habits.

   5. Coordination and support of out-of-cell activities with program staff.

   Documentation
   12B




   Clinical staff shall document the progress of an inmate-patient on a CDCR 7230,
   Interdisciplinary Progress Note, at least monthly. Additionally, individual clinical contacts
   and significant changes in the inmate-patient’s level of functioning shall be documented.
   The monthly progress note shall include:

         •   Record of attendance at treatment activities.

         •   Description of participation in treatment activities.


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   •    Progress in resolving identified problems and symptoms.

   •    Current mental status.

   Aftercare Planning and Referral
   3B




   Planning for follow-up services is a critical component of care that inmate-patients need
   upon release from the EOP. The PC or the IDTT leader is responsible for ensuring that this
   is accomplished prior to an inmate-patient's discharge from the program. Such planning
   includes referrals to other levels of care, other programs, or other appropriate therapeutic
   placement to ensure continuity of care. Inmate-patients whose level of functioning has
   improved shall be referred to the CCCMS. Inmate-patients who require a higher level of
   care are referred to the MHCB or the DMH Inpatient Program.

   Aftercare plans should describe:

   1. The inmate-patient’s diagnosis and the psychiatric problems continuing to require
      treatment.

   2. Any other pertinent mental health or medical conditions (e.g., allergies, special dietary
      needs, chronic diseases), criminal and legal history, and cognitive or functional
      impairment (e.g., developmental problems, insufficient education and/or language
      barriers) that could affect adjustment and treatment.

   3. Recommendations for follow-up treatment, including medications and recommendations
      for specific scheduled structured therapeutic activities.

   4. Referrals to appropriate programs and other institutional services, including chaplain
      services, substance abuse programs, education, and job programs.

   Clinical Pre-Release Program
   4B




   This is designed to provide systematic planning, support and education to inmate-patients
   who are approaching their date of release/parole to the community and who are not expected
   to transition to another level of care before departure. This service is designed to maximize
   the inmate-patient's opportunities for successful transition into community living. The
   service coordinates its activities with the TCMP and POC staff to facilitate community
   outpatient care and support services. The PC shall prepare a discharge summary, which
   includes a diagnosis, current medications, and placement needs. The discharge summary
   shall be sent to the regional POC office prior to release.



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F. STAFFING AND CASE MANAGEMENT
  U




           The EOP staffing structure is based on clinical needs for this level of care and the staffing
           ratios developed to meet these needs. EOP staff includes psychiatrists, psychologists,
           clinical social workers (CSW), RNs, LPTs, and RTs. In addition to interdisciplinary clinical
           staff, the EOP staffing provides enhanced correctional officer support.

      Chief of Mental Health
      5B




      The Chief of Mental Health (or designee) assigns the IDTT leaders and PCs, and reviews the
      overall quality of assessment and treatment plans, including aftercare plans for each inmate-
      patient.

      Primary Clinician
      7B




      One clinical staff member of the team (a psychiatrist, a psychologist, or a CSW) is identified
      as the PC for each inmate-patient. This individual assumes overall responsibilities for the
      treatment services provided to inmate-patients by maintaining active therapeutic involvement
      with the inmate-patient and coordinating services provided by other treatment providers
      involved in implementing the treatment plan. Specific responsibilities of the PC include:

      1. Completion of initial clinical intake assessment (CDCR 7386, Mental Health
         Evaluation).

      2. Documentation of:

              •   All individual PC contacts;

              •   Initial and updated treatment plans (CDCR 7388, Mental Health Treatment Plan);

              •   Treatment progress or lack thereof, at least monthly (CDCR 7230-MH, Mental
                  Health Progress Note);

              •   Specific reasons when the inmate-patient is unable to attend or participate in group
                  therapy;

              •   Reasons for weekly individual PC contact when indicated;

              •   Degree of participation in treatment activities;

              •   Contact log for MHTS input.

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   3. Weekly clinical contacts (either individual or group psychotherapy) with assigned
      inmate-patients. Individual clinical contacts must occur at least every other week.
      Individual clinical contacts shall be held in a private setting out of cell, or cell-front if an
      inmate-patient refuses.

   4. Provision of group therapy.

   5. Scheduling for regular and special IDTT reviews. (Special IDTT reviews are held for
      inmate-patients who require a change in level of care or if otherwise clinically indicated.)

   6. Response to inquiries regarding clinical status of inmate-patient.

   7. When an inmate-patient is discharged to the CCCMS, notification to the PC at the
      receiving program/institution.

G. CASE REVIEW

   The IDTT is responsible for conducting a structured process of case review. The review
   occurs quarterly or more often if clinically indicated. The purpose of the review is to ensure
   optimal progress toward achieving resolution of symptomatology sufficient for placement in
   the least restrictive clinical and custodial environment. Proper case review maximizes the
   utilization of the limited beds available for EOP placements.

   The IDTT shall generally be responsible for developing and updating treatment plans. This
   process shall include input from the inmate-patient and other pertinent clinical information
   that may indicate the need for a different level of care. Referrals to higher levels of care
   shall be considered when the inmate-patient’s clinical condition has worsened or the inmate-
   patient is not benefiting from treatment services available at the current level of care.
   Consideration of appropriate level of care shall be documented by the IDTT on a
   CDCR 7230-MH, Interdisciplinary Progress Note, and shall include the justification for
   maintaining the current level of care or referral to a different level of care.

   The PC for each inmate-patient shall prepare a case summary on a CDCR 7230-MH, Mental
   Health Progress Note, for quarterly IDTT review, which will consist of the following:

   1. Clinical diagnosis and brief history of previous clinical interventions with emphasis on
      interventions implemented since the last team review.

   2. Current length of stay in EOP.

   3. Assessment of current status and progress or lack of progress in achieving treatment
      goals.
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   4. Assessment of willingness and ability to participate in the program and description of
      attempts to improve treatment participation.

   5. Recommendations for modifications to treatment plan, including diagnosis, level of care,
      problems, medications, and treatment intervention.

   6. If applicable, input from the previous CCCMS PC when a reduction in level of care is
      considered.

   7. Discharge planning, including a tentative discharge date, anticipated level of care,
      specific follow-up recommendations, and perceived impediments to discharge.

   Pertinent information from IDTT reviews shall be documented on a CDCR 7230-MH,
   Mental Health Progress Note, and filed in the UHR. Any modifications to the individualized
   treatment plan shall be documented on an updated CDCR Form 7388, Mental Health
   Treatment Plan, and also filed in the UHR. A full case summary, with a recommendation for
   either continued placement or transfer to an alternative level of care, shall be completed on
   an annual basis, for placement in the UHR. If there is a change in the level of care, formal
   notification will be provided to the inmate-patient’s Correctional Counselor via a CDCR
   128-MH3, Mental Health Placement Chrono.

H. DISCHARGE

   Discharge from the EOP will be based upon a decision utilizing the IDTT process when the
   inmate-patient satisfies any of the following conditions:

   1. Is able to function in a GP setting with CCCMS support.

   2. Has clinically decompensated to the extent that placement into 24-hour inpatient care
      (either MHCB or DMH hospitalization) is required.

   3. Has reached his/her parole date, and clinical services will be transferred to a POC.

   Note: Inmate-patients who are placed in ASU or SHU and continue to require EOP level of
   care shall not be discharged, but shall be transferred to the appropriate setting (see Chapters
   7 and 9).




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I. ENHANCED OUTPATIENT PROGRAM FOR CONDEMNED INMATE-PATIENTS

   1. EOP Housing for Condemned Inmate-Patients

      Per Penal Code Section 3600, male inmates who have received a death sentence are
      incarcerated at California State Prison - San Quentin (SQ). Female inmates who have
      received a death sentence are incarcerated at Central California Women’s Facility
      (CCWF). Therefore, these two institutions are charged with the responsibility to provide
      mental health treatment services at the EOP level of care to condemned inmate-patients
      identified as needing this level of care.

      Housing for condemned inmates is determined by the inmate’s behavioral adaptation to
      the correctional setting. Upon arrival, each condemned inmate completes an orientation
      period. At SQ, the orientation period is generally completed in the Adjustment Center
      housing unit. During the orientation period, inmate-patients are identified as either a
      Grade A Condemned (housing and program closely related to a GP setting), or Grade B
      Condemned (housing and program closely related to an administrative segregation
      setting). Additionally, the initial medical evaluation identifies the inmate-patient’s
      medical needs including any serious mental health needs that require treatment.
      Therefore, Grade A or Grade B Condemned inmates identified as requiring EOP level of
      care are housed according to institutional custody determination, and appropriate mental
      health treatment services are then provided. A condemned inmate’s grade level
      determination is subject to review and change on an annual basis or more often if
      determined appropriate.

      At CCWF, due to the few female inmates sentenced to the death penalty, all female
      condemned inmates are housed and programmed in a designated housing unit, separate
      from other GP inmates. The female condemned program at CCWF does currently
      classify condemned inmates into “grades” as referenced above. All programs including
      any required mental health treatment services for EOP female condemned inmate-
      patients are provided within this housing unit.

   2. Condemned EOP Inmate-Patient Treatment Plan

      All condemned EOP inmate-patients housed at SQ or CCWF shall have an individual
      treatment plan documented on a CDCR 7388, Mental Health Treatment Plan, that
      provides for treatment consistent with the inmate-patient’s clinical needs.

      The development of the individual treatment plan by the assigned IDTT must take into
      account the unique security operations and procedures necessary to effectively manage
      this condemned population during a period when the institution is locked down for an
      execution. At SQ, programs and services (excluding delivery of medication and
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      emergency services) are curtailed prior to, during, and after the actual execution of a
      condemned inmate, as determined by the Warden. Out-of-cell activities do not occur
      during the period that the institution is locked down pending or following an execution;
      however, LPTs shall continue daily rounds. These procedures are mandatory and are
      required due to the sensitive and potentially volatile atmosphere at the institution when
      carrying out an imposed death penalty.

      Additionally, the recommended individualized treatment plan for Grade B Condemned
      EOP inmate-patients at SQ may require modification due to the heightened safety
      concerns associated with this population’s required placement in the Adjustment Center.
      Out-of-cell activities for this population specifically require intensive staff resources to
      ensure the safety and security for all involved: inmates, clinical staff, as well as,
      correctional staff.

      The individualized treatment plan for the condemned EOP inmate-patient, as for all EOP
      inmate-patients, provides the “blue print” for the course of mental health treatment that is
      intended to address the diagnosed condition. The initial plan provides the treatment
      foundation by prescribing services, activities, and medication that will be attempted and
      monitored. Frequent clinical and custody staff involvement provide ongoing assessment
      of progress and effectiveness of the applied plan. The ongoing assessment provides the
      impetus for the modification and/or change for the treatment services contained in the
      individualized treatment plan.

   3. EOP Condemned Inmate-Patient Treatment Services

      The Condemned EOP Inmate-patient will receive treatment services commensurate with
      their demonstrated ability to safely participate in the offered services. All condemned
      EOP inmate-patients will be offered ten hours per week of scheduled structured
      therapeutic activities identified and approved by the IDTT as part of the individualized
      treatment plan. It is recognized that not all condemned EOP inmate-patients can or will
      participate in and/or would benefit from this amount of treatment time. The ten hours per
      week for certain diagnosed condemned EOP inmate-patients may be clinically
      contraindicated. However, for condemned EOP inmate-patients scheduled for less than
      ten hours, the PC shall present the case to the IDTT for approval. The CDCR 7388,
      Mental Health Treatment Plan, shall include a detailed description of the diagnoses,
      inmate-patient’s problem list, level of functioning, medication compliance, and clinical
      reasons for scheduling less than ten hours. For inmate-patients who are scheduled for
      less than ten hours of treatment activities per week, the IDTT shall meet at least monthly
      to review and increase the treatment activities or refer to a higher level of care, as
      clinically indicated.



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REQUIRED TREATMENT ACTIVITIES

   The Condemned EOP inmate-patient shall be offered the following treatment services:

   1. Individual Treatment Planning involves a meeting of the IDTT and the inmate-patient for
      the purpose of identifying treatment needs, developing treatment plans, assessing
      treatment progress, and updating/revising individual treatment plans in accordance with
      the inmate-patient’s needs and progress. Refer to Section D. Admission to Program,
      Interdisciplinary Treatment Team, of this document for a complete description of the
      functions of the EOP IDTT and membership.

   2. Weekly PC contact (either individual or group psychotherapy) with assigned inmate-
      patients. Individual clinical contacts must occur at least every other week.

   3. Daily LPT contact for Grade B Condemned EOP inmate-patients.

   4. Medication Evaluation and Management

       a)   A psychiatrist shall evaluate each Condemned EOP inmate-patient at least monthly
            to address psychiatric medication issues.

       b)   Refer to Heath Care Department Operations Manual, Medication Management
            and Pharmacy, regarding procedures for administration of medication,
            medication refusals, Directly Observed Therapy, medication adherence, and other
            aspects of medication administration.

       c)   Refer to MHSDS Program Guides, Chapter 5, Mental Health Crisis Bed, for
            information on involuntary medication administration.

   5. Crisis Intervention

   6. Ten hours per week of scheduled structured therapeutic activities. See below for list of
      treatment activities.

TREATMENT ACTIVITIES

Specific treatment services offered include the following:

   1. Group Therapy provides inmate-patients with an opportunity to express, explore, and
      resolve issues with the assistance of clinical staff, as well as supportive interactions with
      inmate-patients who have similar problems or experiences.


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   2. Individual Therapy provides inmate-patients with the opportunity to discuss personal
      problems that may not be adequately addressed in a group setting.

   3. Recreational Therapy provides inmate-patients with supervised recreational activities or
      exercise programs designed to reduce stress, improve self-esteem and physical health,
      foster positive interpersonal interactions, and promote constructive use of leisure time.
      Recreational therapy is counted as structured activity only if a recreational therapist is
      present and supervising the activity. Unsupervised routine exercise is available for all
      inmate-patients and is not counted as a therapeutic activity. No inmate-patient in SQ's
      Adjustment Center will be permitted out of his cell for the purposes of recreational
      therapy, but in-cell treatment activities (therapy) may be permitted, subject to the
      heightened safety and security concerns present in the Adjustment Center.

   4. Monitoring and Assistance with daily living skills.

   5. Nursing and Supportive Care: Although 24-hour nursing care is not required for inmate-
      patients within the EOP, expanded services from those offered to non-EOP Condemned
      inmate-patients are provided by RN and/or LPTs. These services include:

      a) Administration of all medications. Refer to the Heath Care Department Operations
         Manual, Medication Management and Pharmacy.

      b) Regular monitoring of medication compliance and notification of medication non-
         compliance to treating psychiatrist, consistent with DCHCS policy.

      c) Provision of nursing procedures as ordered by a physician.

      d) Supervision and assistance of activities of daily living, including maintenance of
         living quarters, personal hygiene, and eating habits.

      e) Coordination and support of activities with recreational therapy staff.

      f) Provision of clinical escorts, when needed.

   6. Aftercare Planning and Referral: Planning for follow-up services is a critical component
      of care that inmate-patients need upon release from the EOP. The PC or the IDTT
      Leader is responsible for ensuring that this is accomplished prior to an inmate-patient’s
      discharge from the program. It includes referrals to other levels of care, programs, or
      other appropriate therapeutic placement to ensure continuity of care. Inmate-patients
      whose level of functioning has improved significantly to the point where the structure of
      the EOP therapeutic and housing environment is no longer needed shall be referred to the
      CCCMS services available in Condemned Housing. Condemned male inmate-patients
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      who experience decompensation in the form of crisis shall be referred to the DMH
      Inpatient Program at CMF for a MHCB level of care or DMH inpatient level of care.
      Female inmate-patients shall be referred to Patton State Hospital.

J. MENTAL HEALTH QUALITY MANAGEMENT SYSTEM

   Ongoing assessment of the quality of clinical services will follow the Mental Health Quality
   Management System procedures.

K. TRACKING ATTENDANCE AT TREATMENT ACTIVITIES

   Attendance at treatment activities, psychiatrist and PC appointments, and scheduling of
   IDTTs, among other information, will be tracked by the MHTS.

L. GROUP/PRIVILEGE GROUP A1A DESIGNATION

   All EOP inmate-patients who are actively participating in structured therapeutic activities as
   determined by the IDTT shall be assigned to work Group/Privilege Group A-1-A.

   EOP inmates-patients may be assigned to established work or education programs if
   participation will be therapeutically beneficial. In these situations, a job description and
   timekeeping log shall be maintained by the work supervisor.

   Inmates-patients not assigned to a credit qualifying work or education assignment, who
   refuse to participate in therapeutic activities and are returned to CCCMS level of care, shall
   be reassigned to Work Group/Privilege Group A-2-B.




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CHAPTER 5
Mental Health Crisis Bed

A. INTRODUCTION

   The goal of the Mental Health Crisis Bed (MHCB) program is to provide services for
   conditions which require an inpatient setting to ameliorate mental health symptoms in the
   least restrictive environment. MHCB programs are located in California Department of
   Corrections and Rehabilitation (CDCR) institutions with facilities licensed as a Correctional
   Treatment Center (CTC) [California Code of Regulations (CCR), Title XXII, Division 5,
   Chapter 12, Article 4, Section 79739, Mental Health Treatment Program], General Acute
   Care Hospital (GACH), or Skilled Nursing Facility (SNF). The MHCB program operates 24
   hours a day, 7 days a week. An inmate-patient admitted to the MHCB for mental health
   treatment may have acute symptoms of a serious mental disorder or may be suffering from a
   significant or life threatening disability. Refer also to the Correctional Treatment Center
   Policy and Procedure Manual, Volume VIII, Mental Health, for more detailed procedures.

   Many conditions may precipitate a mental health crisis during institution confinement. At
   reception, the loss of the existing support system the individual had on the outside and/or the
   stress of initial imprisonment may lead to suicidal behavior, self-harm, or other symptoms.
   In mainline settings within institutions, stress factors unique to imprisonment may cause a
   pronounced degree of emotional strain and/or physical and interactive tension, and often
   compound existing stress factors inherent in everyday life. Such factors as the restrictions of
   confinement, pressures to conform to the prison lifestyle, and fear of more predatory inmates
   may disrupt an inmate's coping abilities. An inmate with no known mental health history
   may suffer acute symptoms, while another with mental illness in remission may have
   recurring symptoms. Prior to release, fears of delayed release or inability to cope with the
   outside world or loss of the institution support system of food, shelter, clothing, and structure
   of time may lead to crisis reactions.

   The MHCB has a length of stay of up to ten days. The Chief Psychiatrist or designee, must
   approve exceptions to the length of stay. Not all crises require admission to the MHCB.
   Crisis episodes for some inmate-patients may be handled on an outpatient basis. Other
   inmate-patients, even if stabilized on medications, may require placement in a structured
   therapeutic environment for ongoing treatment and monitoring. This may necessitate a
   referral to an Enhanced Outpatient Program (EOP), or if longer-term intensive care is
   needed, to an inpatient facility operated by the Department of Mental Health (DMH).

   Presenting problems may require continuous observation or monitoring before an inmate-
   patient's treatment needs can be fully assessed or the crisis brought under control. Where 24-
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   hour care is needed, an inmate-patient shall be placed in a MHCB for continuous nursing
   care.

B. PROGRAM OBJECTIVES

   The primary objective of the MHCB is to evaluate the symptoms associated with the crisis
   and provide initial stabilization and recommendations for follow-up care, post discharge.
   More specific objectives include:

   1. To observe, monitor, and provide continuous nursing assistance to inmate-patients whose
      condition requires 24 hours or more to achieve stabilization.

   2. To assess the inmate-patient’s symptoms, formulate a provisional or differential
      diagnosis, and develop an initial treatment plan.                  This may include a
      medical/neurological evaluation or an initiation of referral for such.

   3. To control symptoms of serious mental illness, using emergency medication when
      necessary.

   4. To alleviate psychiatric distress with appropriate therapy or counseling.

   5. To refer the inmate-patient for placement in an appropriate level of care.

   6. To provide an alternative to hospitalization for inmate-patients whose condition allows
      placement within ten calendar days to a less intensive level of care.

C. POPULATION SERVED

   Overall Treatment Criteria

   Overall treatment criteria have been developed for the Mental Health Services Delivery
   System (MHSDS). An inmate must meet the criteria in either 1 or 2 below in order to
   receive MHSDS treatment at any level of care:

   1. Treatment and monitoring are provided to any inmate who has current symptoms and/or
      requires treatment for the current Diagnostic and Statistical Manual (DSM) diagnosed
      (may be provisional) Axis I serious mental disorders listed below:

      Schizophrenia (all subtypes)
      Delusional Disorder
      Schizophreniform Disorder
      Schizoaffective Disorder

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       Brief Psychotic Disorder
       Substance-Induced Psychotic Disorder (exclude intoxication and withdrawal)
       Psychotic Disorder Due To A General Medical Condition
       Psychotic Disorder Not Otherwise Specified
       Major Depressive Disorders
       Bipolar Disorders I and II

   2. Medical Necessity: Mental health treatment shall be provided as needed. Treatment is
      continued as needed, after review by the Interdisciplinary Treatment Team (IDTT), for
      all cases in which:

       Mental health intervention is necessary to protect life and/or treat significant
       disability/dysfunction in an individual diagnosed with, or suspected of having, a
       mental disorder. Treatment is continued for these cases only upon reassessment
       and determination by the IDTT that the significant or life threatening
       disability/dysfunction continues or regularly recurs.

   Specific Treatment Criteria for MHCB

   In addition to the overall treatment criteria above, an inmate must meet the following specific
   criteria to receive treatment at the MHCB level of care:

   •   Marked impairment and dysfunction in most areas (daily living activities, communication
       and social interaction) requiring 24-hour nursing care; and/or

   •   Dangerousness to Others as a consequence of a serious mental disorder/Dangerousness to
       Self.

   •   These conditions usually result in a Global Assessment of Functioning (GAF) score of
       less than 30.

D. REFERRAL AND TRANSFER

   Referrals

   An inmate-patient suffering from an acute, serious mental disorder resulting in serious
   functional disabilities, or who is dangerous to self or others, shall be referred to a MHCB.

   MHCB Transfer

   If the institution does not have a MHCB or there are no MHCB beds available in the
   institution where the inmate-patient is currently housed, the inmate-patient shall be
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   transferred to a designated MHCB institution. The inmate-patient shall be transferred within
   24 hours of referral.

   (See Inmate Medical Services Policies and Procedures, Volume 4, Chapter 3, Health Care
   Transfer Process and Volume 6, Chapter 18, Transfer of Patient Health Records Within
   CDCR; Institution to Institution, for specific requirements concerning transfers and Unit
   Health Records)

   If the MHCB beds are not available at the designated hub institution, the inmate-patient shall
   be taken to an available MHCB bed that is able to provide MHCB care while simultaneously
   providing the commensurate level of custody and security. In most cases, movement from an
   institution to a MHCB bed shall be completed by institutional transportation staff via special
   transport within 24 hours. On weekends and after normal business hours, the mental health
   clinician on call or the physician on call at the referring institution shall contact the mental
   health clinician on call or the physician on call at other institutions to locate a vacant MHCB
   bed. The Health Care Placement Oversight Program (HCPOP) may be contacted seven
   days a week to assist in locating a vacant MHCB bed.

   MHCB transfers shall be done under authority as “Emergency Medical Transfers”
   (Department Operations Manual [DOM] 62080.17). Since MHCB transfers are typically
   viewed as emergency moves, they do not require classification committee action or
   Classification Staff Representative (CSR) endorsement. MHCB transfers shall be done on a
   “Psychiatric and Return” basis.

   Generally, the transfer process shall be initiated by the inmate-patient's psychiatrist,
   psychologist, or the Chief of Mental Health.

   The transferring psychiatrist, psychologist, or Chief of Mental Health shall determine
   whether the inmate-patient is "medically cleared" to transfer. State law provides that, before
   a patient may be transferred to a health facility, the patient must be sufficiently stabilized to
   be safely transported. The transferring physician is responsible for determining whether the
   inmate-patient's condition will allow transfer. The CCR provides, in part, that a transfer or
   discharge may not be carried out if, in the opinion of the inmate-patient's physician, such
   transfer or discharge would create a medical hazard. The transferring physician must
   initially evaluate the relative benefits and risks associated with transporting the inmate-
   patient. The determination of whether the transfer creates an unacceptable risk or a "medical
   hazard" will depend upon the inmate-patient's condition, the expected benefits to the inmate-
   patient if he or she is transferred, and whether the risks to the inmate-patient's health are
   outweighed by the benefits.

   The receiving facility must consent to the transfer. CCR, Title XXII, licensing standards
   provide that a patient shall not be transferred unless and until the receiving facility has

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   consented to accept the patient. Specifically, the CCR provides, in part, that no patient shall
   be transferred, or discharged for purposes of transferring, unless arrangements have been
   made in advance for admission to a health facility. Therefore, the transferring clinician must
   secure the receiving health facility's approval in advance for the inmate-patient's admission.
   The transferring clinician shall document in the inmate-patient's Unit Health Record (UHR)
   that approval was obtained and from whom.

   Appropriate housing of inmate-patients pending MHCB transfer shall be determined by the
   sending institution and in the following order of preferred locations:

   1.   Inpatient beds

   2.   Outpatient Housing Unit

   3.   Outpatient Housing Unit overflow cells

   4.   Large holding cells with water/toilets including, but not limited to, “ZZ cells,” “wet
        cells,” and/or “clinic cells.” Many CTC buildings have holding cells located outside of
        the entrance to the licensed bed area. These are typically located in the Specialty Care
        Clinic area. These cells are permissible for temporary housing pending transfer without
        violating licensing restrictions of the licensed bed area of the CTC building.

   5.   Large holding cells without water/toilets such as “Contraband Cells” (not in a CTC
        licensed area)

   6.   Triage and Treatment Area or other clinic physical examining room

   7.   Other unit-housing where complete and constant visibility can be maintained

   8.   When none of the above are available, small holding cells (not in a CTC licensed bed
        area) that are designed for the inmate-patient to sit or stand may be used for up to four
        hours by which time consideration of a rotation to one of the above listed options shall
        have been considered and the outcome of such consideration documented. Inmate-
        patients shall be retained in sit/stand cells only with approval of the watch commander
        and notification of on-call clinical staff.

   9.   Holding cells within the licensed bed area of the CTC building (notification to
        Department of Health Services of an unusual occurrence is required)

   All inmates-patients housed in one of the above sites while pending transfer to a MHCB shall
   be provided, at minimum, with a safety (no-tear) mattress, safety (no-tear) blanket, and safety
   (no-tear) smock. If the inmate-patient subsequently attempts to use any or all of these items

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   to harm him or herself, a clinician may then order that one or more of these items be
   removed. Inmate-patients who are subsequently returned to their housing units shall receive
   appropriate clinical follow-up, which may include five-day custody and clinical wellness
   checks.

   When an inmate-patient, identified as requiring MHCB care, is housed in an Outpatient
   Housing Unit, Administrative Segregation Unit, or any of the above sites, the HCPOP shall
   be notified of the need for MHCB placement.

   Procedure

   The Chief of Mental Health or designee at the sending institution shall contact the MHCB
   Clinical Director or designee at the receiving institution to obtain approval for the transfer.

   In cases where the Clinical Director or designee at the receiving institution does not agree to
   the transfer, and the Chief of Mental Health at the sending institution believes the clinical
   need for transfer remains, the case shall be referred to the HCPOP and/or Mental Health
   Services at headquarters central office for assistance. If an agreement cannot be reached, the
   inmate shall be admitted and evaluated.

   Upon receipt of approval to transfer, from the MHCB Clinical Director or designee at the
   receiving institution, the Chief of Mental Health or designee at the sending institution shall
   complete a CDCR 128-C, Chrono – Medical/Psychiatric/Dental, indicating acceptance.
   Copies of the completed CDCR 128-C, Chrono – Medical/Psychiatric/Dental, shall be
   forwarded to the MHCB Clinical Director or designee at the receiving institution and the
   Classification & Parole Representative (C&PR) at the sending institution.

   The C&PR at the sending institution shall forward a copy of the completed CDCR 128-C,
   Chrono – Medical/Psychiatric/Dental, to the C&PR at the receiving institution.

   The Chief of Mental Health or designee, MHCB Clinical Director or designee, and the
   C&PRs at both the sending and receiving institutions shall communicate to ensure all health
   care/classification/transportation aspects are addressed. The escort needs for each transport
   are different given the variation of custody and health care concerns that may arise. At
   times, the transportation may be accomplished with just custody staff. However, occasions
   do arise when a combination of custody and clinical staff are needed to accompany an escort.
   This may occur when the inmate-patient has highly sensitive and varying medication needs
   or when the presence of a clinical staff member may substantially reduce decompensating or
   disruptive inmate-patient behavior during transportation.




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   The C&PR at the receiving institution shall contact the Classification Services Unit (CSU)
   for teletype transfer approval. The transfer approval shall be obtained from a CSR if
   available on site.

   Documentation and classification of inmate-patients accepted for transfer to another
   institution shall be consistent with procedures outlined in the DOM. The sending institution
   shall clearly indicate on CDCR 135, Inmate Transfer Record, that the purpose of the transfer
   is for psychiatric treatment.
   The inmate-patient shall be informed of the reasons for and destination of the transfer.

   The Receiving and Release sergeant at the receiving institution shall notify the MHCB when
   the inmate-patient arrives. An inmate-patient who arrives by special transport because of
   urgent acuity shall be screened by a physician. If immediate admission is not possible, an
   inmate-patient shall be housed in an appropriate medical setting until a bed is available
   (CCR, Title XXII, Section 79789).

E. ADMISSION

   Pre-admission Screening

   All inmate-patients referred to the MHCB shall receive a pre-admission screening for the
   purpose of determining the appropriateness of the admission to the MHCB program. During
   regular working hours, the screening shall be performed by a psychiatrist or a licensed
   psychologist privileged to practice in the MHCB, and documented in the Progress Notes.
   During weekends, holidays, and after normal business hours, the screening shall be
   performed by an on-site physician on duty or any other licensed health care staff. The pre-
   admission screening may be performed via telephone prior to transfer when the inmate-
   patient is at an institution without an available MHCB. An inmate-patient in crisis may be
   screened where the crisis occurs (such as in the cell), or in the emergency service area of the
   CTC/GACH/SNF, prior to admission to the MHCB.

   All inmates attempting suicide and those having suicidal ideation or showing signs and
   symptoms of suicide potential will be evaluated by a mental health clinician (psychiatrist,
   psychologist, or Clinical Social Worker) on an emergency basis. Inmates referred to health
   care by custody because of suicide concerns, shall be immediately evaluated for suicide risk
   by a mental health clinician, which shall include a Suicide Risk Assessment Checklist
   (SRAC). On weekends, evenings, and holidays, the SRAC shall be performed by the
   Physician on Call (POC), Medical Officer of the Day (MOD), or Registered Nurse (RN)
   trained to administer the SRAC if mental health clinicians are not available. It is the
   responsibility of the Health Care Manager to establish procedures for suicide risk assessment
   by clinical staff outside of normal work hours. All SRACs shall be filed in the inmate-
   patient’s UHR whether or not the inmate-patient is admitted to the MHCB. An inmate

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   showing suicidal potential cannot be refused admission until there is a face-to-face
   evaluation and SRAC completed by a clinician trained to conduct suicide risk assessments.

   All inmates who are screened positive for possible admission to the MHCB on a weekend,
   holiday, or after normal business hours shall be referred to a MHCB psychiatrist or
   psychologist with admitting privileges (On Call or On Duty) for admission. The clinician
   facilitates the admission based on the admission criteria indicated in Section C above. The
   actual admission may be done by the MOD or POC in consultation with the psychiatrist or
   psychologist (On Call or On Duty). For all inmates not admitted, the psychiatrist or
   psychologist (On Call or On Duty) shall prepare a detailed Progress Note explaining the
   reason for the decision. A log shall be kept by the referring institution, and shall include the
   following information for all inmates referred to the MHCB and evaluated but not admitted:

   •   Date of referral

   •   Inmate-patient identification

   •   Reason for referral

   •   Reason for not being admitted

   •   Referring clinician

   Admission/Transfer Log

   Each mental health program with a MHCB unit shall develop and maintain a log of all
   MHCB admissions/transfers. This log shall include at least the following information:

   •   Date of referral

   •   Inmate identification

   •   Reason for referral to MHCB

   •   Current level of care

   •   Date of Admission to MHCB

   •   Whether a suicide risk assessment (including a SRAC) was performed upon admission
       (for suicidal inmates)

   • Discharge diagnosis
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   •   Whether a suicide risk assessment (including a SRAC) was performed upon discharge
       (for suicidal inmates)

   •   Date of clinical discharge from the MHCB

   •   Date of physical discharge from the MHCB

   •   Date of referral to new location/program

   •   Date of transfer to new location/program

   •   Location/program to which the inmate-patient has been transferred

   All inmate-patients who receive a pre-admission evaluation for suicide potential, but who are
   not admitted, will be tracked in a separate log. The log shall be kept by the MHCB that did
   not admit the inmate-patient, and will include at least the following information:

   •   Date of referral

   •   Inmate-patient identification

   •   Reason for referral

   •   Reason for not being admitted

   •   Deciding clinician

   Procedure

   The MHCB shall accept inmates who meet the criteria for care and treatment and shall
   continue to house only those inmates for whom care is appropriate. No inmate shall be
   admitted to the MHCB until a provisional diagnosis or valid reason for admission has been
   stated and the appropriateness determined. When clinical differences of opinion exist
   regarding the appropriateness for admission and the clinicians involved cannot reach an
   agreement at the institutional level, the cases shall be referred to the HCPOP and/or Mental
   Health Services at headquarters central office for assistance.
   Admissions to the MHCB shall be made on a “Psychiatric and Return” basis. A psychiatrist
   or a psychologist with admitting privileges in the MHCB may admit an inmate to the MHCB.
   Inmates shall be admitted only upon the written or verbal order of a MHCB psychiatrist or a
   psychologist.

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   Occasionally, crisis referrals require emergency and involuntary admission to the MHCB.
   An inmate-patient may, because of a psychotic episode, be confused, disoriented,
   disorganized and/or gravely disabled, or because of acute depression, may be dangerously
   suicidal. An inmate-patient in crisis who is explosive and assaultive may also be admitted
   involuntarily if a serious mental disorder also exists. Assaultiveness that is assessed by the
   clinician as resulting from an antisocial behavior, and not as a result of a serious mental
   disorder, is more appropriately dealt with by custody staff, per general institution policies.

   Any inmate-patient admitted to the MHCB program because of suicidal threats or behavior
   shall receive a suicide risk assessment (including a SRAC) from a clinician, upon admission
   and prior to discharge.

   After hours, weekends, and holidays, the Administrative Officers of the Day, MODs, POCs,
   and Watch Commanders shall be notified of an inmate who makes a serious suicide attempt
   or engages in self-injurious behavior requiring medical treatment.

   Inmate-patients with multiple admissions to MHCB (three or more within a six-month
   period) shall be evaluated for referral to DMH.

   An admission note shall be completed within 24 hours of admission to the MHCB by the
   admitting clinician and shall include the inmate-patient’s condition at the time of admission,
   provisional diagnosis, and an initial treatment plan. This shall be documented on a
   CDCR 7230, Interdisciplinary Progress Notes, and filed in the UHR.

   MHCB Nursing Evaluation

   The nurse shall:

   a. Interview and give an orientation to the inmate-patient.

   b. Assess the inmate-patient and take vital signs.

   c. Notify the physician of admission status including any admission problems.

   d. Assemble the chart.

   e. Initiate the Patient Care Plan.

   f. Note and implement any admission orders, such as laboratory tests (for details refer to
      the Correctional Treatment Center Policy and Procedure Manual, Volume VIII, Mental
      Health), X-rays, medications, etc.


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   Physical Examination

   For immediate care planning, a history and physical examination, including neurological
   screening, shall be completed, to the extent clinically possible, immediately before or within
   24 hours of admission. If the inmate-patient is uncooperative or otherwise cannot be fully
   examined, a description of all possible observations and findings of the physical examination
   shall be documented. The complete physical examination shall be conducted as soon as
   clinically possible and documented in the UHR.

F. ASSESSMENT AND TREATMENT SERVICES

   Intake Assessment

   Upon admission to the MHCB unit, an assessment shall immediately be made on how best to
   meet the critical needs of the seriously mentally disordered inmate-patient. This is
   accomplished by reviewing and updating the CDCR 7386, Mental Health Evaluation,
   completed by the referring clinician at the time of referral. At a minimum, a provisional
   diagnosis is determined and an initial plan in the “Recommended Follow Up/Initial
   Treatment Plan” section of the CDCR 7386, Mental Health Evaluation, shall be formulated
   within 24 hours for immediate care planning and to rule out medical conditions that may be a
   cause of presenting symptoms. Serious medical conditions that are a significant cause of the
   crisis may warrant acute care medical hospitalization.

   Interdisciplinary Treatment Team and Individualized Treatment Planning

   The IDTT is composed of, at a minimum:

   •   Assigned MHCB psychiatrist

   •   Assigned MHCB Primary Clinician (PC)

   •   Nursing staff

   •   Correctional Counselor

   •   Inmate-patient (if clinically and custodially appropriate)

   Other staff who have direct knowledge of the inmate-patient are encouraged to attend or
   provide information, such as:

   •   Custody officers
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   •   RNs

   •   Licensed Vocational Nurses (LVN)

   •   Recreational Therapists

   The IDTT is chaired by a licensed mental health clinician. The inmate-patient shall be
   included in the IDTT, if clinically and custodially appropriate as determined by the IDTT,
   unless the inmate-patient refuses to participate. If the inmate-patient refuses to participate,
   the PC shall document the reason for refusal on the CDCR 7230, Interdisciplinary Progress
   Notes. Inmate-patients shall not be disciplined for refusing to participate in IDTT. Attempts
   shall be made to gather input from the inmate-patient, such as talking to and observing the
   inmate-patient at the cell door.

   The IDTT shall meet within 72 hours of an inmate-patient’s admission and at least weekly
   thereafter. The IDTT shall begin discharge planning at the initial IDTT meeting.

   An individual treatment plan shall be developed and implemented at the initial IDTT
   meeting. The treatment plan, which is to be filed in the inmate-patient's UHR, shall be
   individualized and based on a comprehensive assessment, including, at a minimum, a mental
   status exam and the inmate-patient's legal, criminal, psychiatric, medical, and developmental
   history, and psychosocial evaluations. Psychosocial evaluations shall include personal and
   family history, inmate-patient’s strengths and weaknesses, and evaluation of support system.

   The individualized treatment plan shall:

   1. Provide a primary diagnosis and identify the main presenting problems targeted for
      treatment. The diagnosis may be provisional.

   2. For every identified target problem, document the goals, interventions, and measurable
      objectives of treatment.

   3. Specify the types, frequencies and providers of prescribed therapies and adjunct
      activities.

   4. Document the success or failure in achieving stated objectives

   5. Evaluate the factors contributing to the inmate-patient’s progress or lack of progress
      toward recovery.



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   6. Document prescribed medication, dosage, and frequency of administration, as well as
      medication compliance.

   7. Be reviewed at each IDTT meeting, at least weekly, and updated accordingly.

   8. Designate appropriate medications, therapies, and custody follow-up in an aftercare plan
      to be followed after the inmate-patient's release from the MHCB. See MHSDS Program
      Guide, Chapter 10, Suicide Prevention and Response, for specific follow-up
      requirements for inmate-patients admitted for suicide prevention.

   Case Reviews And Treatment Plan Update (CCR, Title XXII, Section 79747)

   An inmate-patient's condition shall be assessed and monitored daily by the treating clinician,
   either a psychiatrist or psychologist. On weekends or holidays, a mental health clinician on
   call or the MOD shall make daily rounds. The Chief of Mental Health is responsible to
   ensure that all physicians serving as MOD or POC are trained in the use of the SRAC.

   Documentation of daily contacts shall be made within 24 hours in the UHR by the updating
   clinician.

   The IDTT shall review each crisis case as often as necessary, but at least every seven days,
   and update the treatment plan accordingly. Each treatment plan update shall include the
   following:

   1. Documentation of the inmate-patient's response to treatment and his/her progress or lack
      of progress towards the goals of treatment.

   2. Evaluation of factors that hinder progress and the interventions planned by the team to
      facilitate progress.

   3. The most recent diagnoses and descriptions of the main presenting problems.

   4. Evaluation of risk factors.

   5. Review of release or discharge plans.

   Treatment Services

   The MHCB Clinical Director or designee shall be responsible for the prompt care and
   treatment of each inmate-patient admitted to the MHCB, development and implementation of
   a treatment plan, completeness and accuracy of the UHR, necessary special instructions, and
   transmitting reports of the inmate-patient's condition. Whenever these responsibilities are

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   delegated to another staff member, continuity shall be ensured [CCR, Title XXII, Section
   79741 (b)] by the MHCB Clinical Director.

   An inmate-patient admitted to the MHCB shall be provided the following services and
   treatment:

   Medication Evaluation and Management

   The assigned psychiatrist shall evaluate each MHCB inmate-patient individually at least
   twice weekly to address psychiatric medication issues.

   Refer to Heath Care Department Operations Manual, Medication Management and
   Pharmacy, regarding procedures for administration of medication, medication refusals,
   Directly Observed Therapy, and other aspects of medication administration.

   Nursing Care

   Twenty-four hour nursing care is provided in the MHCB to administer and supervise
   medication, provide assistance for activities of daily living, observe and monitor
   inmate-patients, obtain all physician-ordered laboratory studies, and provide counseling or
   inmate-patient supervision as needed.

   Therapy and Counseling

   One-to-one intervention is often necessary in a crisis case. Usually, brief, intensive therapy
   is helpful if it focuses on issues that precipitated the admission and explores changes
   in behaviors, perceptions and expectations that facilitate coping with the crisis. Group
   therapy may be provided to MHCB inmate-patients, consistent with clinical needs.

   Rehabilitation Therapy

   Inmate-patients may participate in rehabilitation therapy activities, consistent with
   clinical needs. Rehabilitation therapy may include activities such as indoor or outdoor
   recreation. These activities provide a setting for additional observation of inmate-patients,
   allowing for the evaluation of exaggerated symptoms or severe symptoms that are masked
   [see CCR, Title XXII, Section 79749 (c) (1) for Rehabilitation Treatment Plan requirements].

   Inmate-patients who are awaiting transfer to DMH and remain in a MHCB beyond ten days,
   shall be offered additional rehabilitation therapy and other treatment activities, as
   clinically indicated.



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   Aftercare Planning and Referral

   Planning for follow-up services is a critical component of the care an inmate-patient needs
   upon release from the MHCB. This planning may lead to a referral to a program or other
   appropriate placement to ensure continuity of care. An inmate-patient who clearly requires
   longer-term hospital care may be referred and transferred to an inpatient hospital program
   operated by the DMH. Aftercare plans shall include:

   1. The diagnosis and psychiatric problems continuing to require treatment.

   2. Any other unique mental health or physical conditions that could affect treatment (e.g.,
      allergies, special dietary needs, chronic diseases).

   3. Recommendations for follow-up treatment, including medications and specific
      psychotherapies.

   4. Referrals to other treatment programs and institutional services, including vocational or
      educational programs, substance abuse programs and job programs (CCR, Title XXII,
      Section 79749 [d]).

   5. The aftercare plan shall consider the inmate-patient’s potential in-custody housing,
      proximity to release from incarceration, probable need for community treatment and
      social services, and the need for continued mental health care. If an inmate-patient
      requires continued care upon paroling, the Parole Outpatient Clinic shall be contacted.

G. INVOLUNTARY TREATMENT

   An inmate-patient in crisis who does not consent for treatment with medication may be
   involuntarily treated to control symptoms which constitute:

   •   A danger to self, or

   •   A danger to others, or

   •   Grave disability on the basis of a serious mental disorder.

   Involuntary medication administration refers to the administration of any psychotropic or
   antipsychotic medication or drug by use of force, or restraint.
   The reasoning for the determination that an inmate-patient is a danger to self or others, or is
   gravely disabled, and is incompetent to render an informed consent shall be documented in
   the inmate-patient’s UHR.


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   If in the clinical judgment of a psychiatrist or other physician, an emergency exists, the
   physician or psychiatrist may order involuntary medication for a period not to exceed 72
   hours. An emergency exists when there is a sudden marked change in the inmate-patient's
   condition so that action is immediately necessary for the preservation of life or the
   prevention of serious bodily harm to the inmate-patient or others and it is impractical to first
   obtain consent.
   An inmate-patient shall be afforded due process rights if involuntary treatment is necessary
   beyond 72 hours.

   Refer to Correctional Treatment Center Policy Manual, Volume VIII, Section 16,
   Involuntary Treatment, for detailed procedures.

H. CLINICAL RESTRAINT AND SECLUSION

   Restraint and/or seclusion are special treatment procedures used to protect the safety of
   inmate-patients who pose an immediate danger to themselves or others, by restricting their
   ability to inflict injury by limiting body movement or by containing them in a safe
   environment. While utilization of restraint and/or seclusion is clearly effective in saving
   lives and preventing serious injury, it is also a procedure with inherent risks. In rare cases
   inmate-patients who have been restrained or secluded have suffered injury or death as a
   result of improper procedure or monitoring.

   Restraints and/or seclusion shall be used only as a last resort and in response to an
   emergency to protect the inmate-patient and/or others from imminent harm, after less-
   intrusive and non-physical interventions have been attempted or ruled out. Staff shall strive
   to minimize or eliminate the use of seclusion or restraint whenever possible, through proper
   training, thorough assessment, effective treatment planning, and continuous quality
   improvement efforts. This policy restricts the use of restraints for mental health purposes
   generally to MHCBs. The use of restraints, for mental health purposes, in areas other than a
   MHCB unit shall be restricted to the amount of time required for transfer to a MHCB unit.
   Inmate-patients in need of restraints shall be transferred, in an expedited timeframe, to a
   MHCB unit.

   The form of restraint and/or seclusion selected shall be the least restrictive level necessary to
   contain the emerging crisis/dangerous behavior. The determination of the presence of an
   emergent situation rests upon the clinical judgment of staff. It does not require the staff to
   defer restraint or seclusion until dangerous behavior occurs but may be based upon
   knowledge of the inmate-patient and its predictive value.

   Restraint and/or seclusion shall never be used as punishment or for the convenience of staff.
   Threatening inmate-patients with restraint and/or seclusion is considered psychological abuse


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   and is prohibited. It may be appropriate to inform an inmate-patient when behavior may
   necessitate the use of restraints or placement into seclusion.

   This policy expressly prohibits any form of as needed (PRN) or standing order for restraint
   or seclusion.
   For the purpose of this policy, authorized clinician means a psychiatrist, licensed
   psychologist, (and at Pelican Bay State Prison only, a psychiatric nurse practitioner) or (on
   weekends or after normal business hours) the POC or psychiatrist on call, or the POD or
   MOD.

   Per Title 22 Regulations, a “qualified RN” is a RN who has received training in the
   administration of restraints and placement into seclusion, and who has passed a competency
   examination, which includes assessment of clinical issues relevant to the use of restraint
   and/or seclusion.

   RESTRAINT

   Initial and Subsequent Orders

   Restraints shall only be used on a written or verbal order of an authorized clinician. When an
   authorized clinician is present, the authorized clinician shall evaluate the need for restraints,
   and if appropriate, write an order and provide sufficient and adequate justification in the
   inmate-patient’s UHR.

   In an emergency circumstance, when no authorized clinician is available, a qualified RN may
   authorize initiation of restraints. An emergency circumstance exists when there is a sudden
   marked change in the inmate-patient’s behavior so that action is immediately necessary for
   the preservation of life or the prevention of serious bodily harm to self or others, and it is
   impractical to first obtain an order from an authorized clinician.

   When no authorized clinician is present, a qualified RN shall evaluate the need for restraints
   and implement restraints if appropriate. If a RN is not present, a RN shall be notified
   immediately and shall respond within 15 minutes of notification to evaluate the need for
   restraints and initiate restraints, if appropriate. When a RN initiates restraints, an authorized
   clinician shall immediately be notified. Within one hour of notification, an authorized
   clinician shall give a verbal or written orders (with justification) to either continue or
   discontinue restraints.

   If the authorized clinician is not available for the initial assessment, a phone order will be
   secured to cover the restraint use and the nurse will do an initial assessment within one hour.



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   The initial order for restraint shall not exceed four hours. Subsequent orders for continuation
   of restraint shall not exceed four hours. Each order must specify the behavioral conduct
   requiring restraint and the type of restraint used. While a restraint order is valid for four
   hours, no inmate-patient shall be in restraint for longer than the time necessary to contain the
   dangerous behavior. Removal from restraints is an authorized clinician or RN determination,
   and does not require a physician’s order unless otherwise specified.

   Assessment by Authorized Clinicians and Qualified RNs

   Prior to expiration of the initial order, an authorized clinician or qualified RN shall conduct a
   face-to-face evaluation to determine whether continued placement into restraints is clinically
   justified. If the clinician performing the initial face-to-face assessment is not a
   psychiatrist/physician, within four hours of the initial order a psychiatrist/physician shall be
   contacted/consulted by the RN to review current medications and any contraindications to
   continued restraint.

   An authorized clinician or a qualified RN shall conduct a face-to-face evaluation at least
   every 8 hours during the period an inmate-patient is in restraints. An authorized clinician
   shall evaluate the inmate-patient face-to-face at least every 24 after the first four hours. If
   the authorized clinician is not a physician, the authorized clinician should consult with a
   physician after the face-to-face assessment. A psychiatrist shall conduct a face-to face
   evaluation at least every 24 hours while the inmate-patient is in clinical restraint.

   A physician or nurse practitioner shall perform a brief physical examination of the inmate-
   patient as soon as possible but no more than four hours after the initiation of restraint use and
   document the evaluation on a progress note in the UHR. The physician/nurse practitioner’s
   assessment will include inquiring into any history of physical disability or any other
   condition which would place the inmate-patient at greater physical or psychological risk
   during the restraint procedure. If the use of restraints is discontinued prior to the physician’s
   arrival, the physician shall conduct a brief physical examination no more than 24 hours after
   the episode of restraint use.

   Documentation

   Documentation of an order for the use of restraints shall include the name of the authorized
   clinician giving the order, the time the order was received, the duration of the order, which is
   not to exceed four hours, the type of restraint to be used, and the name and signature of the
   RN receiving the order.

   The Initial Telephone orders for restraint shall be received only by licensed nursing staff,
   who shall record them immediately. The ordering authorized clinician shall sign them within


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   24 hours. Likewise, subsequent telephone orders for restraint shall be signed within 24 hours
   of the time the orders were given.

   This policy requires the clinician ordering the restraint to provide a written order authorizing
   the use of restraint even if such use is discontinued prior to the authorized clinician’s arrival.

   Each time a verbal order for restraint is written, the nurse shall complete a CDCR 7230,
   Interdisciplinary Progress Note, documenting the need for initiation/continuation of restraint
   and shall specify the elements for the emergency that necessitated the use of restraint and
   behavior changes that may indicate the inmate-patient no longer presents a danger to self or
   others. The note shall describe any less restrictive measures that were implemented prior to
   this order.

   Results of face-to-face evaluations shall be documented on CDCR 7316, Restraints/Seclusion
   Record.

   When a qualified RN initiates restraint, the RN shall document the need for the initiation of
   restraint on a CDCR 7316, Restraint/Seclusion Record. The documentation shall include a
   description of the inmate-patient’s behavior including any precursor/antecedent behaviors
   and other relevant factors upon which the inmate-patient was determined to be a danger to
   self or others, staff actions taken to utilize alternatives to restraint, information given to the
   inmate-patient about the reasons for restraint, the conditions of release, the inmate-patient’s
   response, and injuries to the inmate-patient.

   The use of restraints requires the inmate-patient’s treatment plan be modified to include a
   sufficiently detailed description of the emergency and the rationale for the use of the specific
   degree of restraint. The inmate-patient’s nursing care plan shall be modified to provide for
   the special needs of the inmate-patient while in restraint and/or seclusion. The criteria for
   establishing termination should be described in operational, objective terms comprehensible
   to the inmate-patient.

   Types of Restraint

   •   Five-point: All four extremities and waist (note below on use of five-point restraints)

   •   Four-point: All four extremities

   •   Two-point: Upper extremities only




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   Application

   The inmate-patient shall be protected from injury during restraint application and use. Staff
   shall use the least physical force necessary to protect inmate-patient and yet exercise
   sufficient force to control the inmate-patient.

   The dignity and well-being of the inmate-patient shall be preserved at all times during the
   period of restraint.

   Inmate-patients shall be placed on their backs when restraints are applied unless clinically
   contraindicated. When an inmate-patient is medically compromised or disabled, all
   necessary steps to safeguard the inmate-patient during the procedure need to be taken.
   Inmate-patients who are considered medically compromised/disabled consist of, but are not
   limited to, the following: morbidly obese, known history of cardiac or respiratory disease,
   history of spinal injury, amputee, fractured or injured extremity, recent history of emesis,
   pregnancy, or seizure disorder. RNs must contact a physician either prior to, or immediately
   after, the placement of a medically compromised inmate-patient in restraints to notify the
   physician of the restraint and the inmate-patient’s medical condition. Upon notification of
   the restraint of a medically compromised/disabled inmate-patient, the physician will either
   order the RN to discontinue the restraint or order the restraint as well as any special
   measures/treatments that need to be taken to safeguard the inmate-patient’s medical
   condition. If the inmate-patient is an amputee or otherwise lacks one or more limbs, two or
   three point restraints should be used. Generally, restraints should be applied to the upper
   extremities first.

   Four-, five-, or two-point leather restraints shall be used by clinical staff when ordered by an
   authorized clinician. Inmate-patients shall only be restrained with the least amount of
   restraints necessary to contain the unsafe behavior. Each period of restraint must be assessed
   individually to determine the level of restraint required at the time of the application of the
   restraint. Five-point restraints will only be used after the inmate-patient has been
   unsuccessfully restrained in four-point restraints or a determination is made by the RN that a
   fifth restraint is needed to ensure the safety of the inmate-patient. The physician on-call and
   the Nursing Supervisor must be notified anytime five-point restraints are utilized. The
   restraint key shall be carried by nursing staff after restraints have been applied to an inmate-
   patient until the procedure is discontinued.

   Generally, four-point restraints should be used unless there are compelling reasons to the
   contrary.

   A soft cloth or bandage shall be applied to the extremity before applying the leather restraints
   to protect the skin.


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   Nursing staff shall notify the watch commander and Chief Psychiatrist or designee of an
   order to place an inmate-patient in restraints. When restraints are applied to an inmate-
   patient, CTC staff shall have at least three custody personnel present for the application of
   these restraints, but the RN shall be in charge of the actual application of restraints. The RN
   is responsible to ensure that the restraints are applied properly, and are not restricting the
   inmate-patient’s circulation.

   In emergency situations, custody staff may use metal restraints (handcuffs) on inmates in
   order to gain control. Metal restraints shall be replaced with leather restraints by the RN as
   soon as possible.

   Monitoring and Evaluation by Nursing Staff

   All inmate-patients placed into restraint shall remain under constant direct, in-person visual
   observation by trained nursing staff (CNA, psychiatric technician, LVN, or RN) until
   restraint is discontinued.

   Immediate Nursing Evaluation

   A RN shall perform a mental status and physical assessment of the inmate-patient
   immediately upon the initiation of restraint use. The RN assessment will include the
   identification of techniques, methods and tools which can help the inmate-patient control
   their behavior, and will identify pre-existing medical conditions and physical disabilities that
   place the inmate-patient at greater risk during the restraint procedure.

   Assessment at 15 minute Intervals

   In order to continue adequate circulation, nursing staff monitoring the inmate-patient shall
   physically check each extremity every 15 minutes. Each 15 minute assessment period shall
   be documented on the CDCR 7316, Restraint/Seclusion Record.

   The nursing staff shall provide fluids and nourishments every 15 minutes as needed and as
   practicable except during hours of sleep. The inmate-patient’s head and shoulders shall be
   elevated, if needed, while being fed or receiving fluids to reduce the risk of aspiration. The
   nurse shall document meals and fluids on CDCR 7316, Restrain/Seclusion Record.

   Hourly Assessments

   The RN will conduct hourly assessments of the inmate-patient during the entire period of
   restraints. Subsequent to the initial assessment conducted by the RN, the hourly assessments
   will document current physical, mental, and behavioral status of the inmate-patient, any
   indicated interventions performed, and the inmate-patient’s readiness for release from

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   restraints. The assessment includes noting the condition of skin and circulation, need for
   toileting, personal hygiene procedures, and proper application of restraint. Documentation of
   the one hour evaluations shall summarize the inmate-patient’s overall physical condition,
   general behavior, and response to counseling/interviews.

   Every hour the nursing staff, with the assistance of custody staff, shall perform 2 minute
   range of motion exercises on each limb unless the inmate-patient is too agitated or assaultive
   to safely remove the restraints. For range of motion exercises, restraints on each extremity
   shall be removed, one at a time. Performance of range of motion exercises shall be clearly
   documented on the CDCR 7316, Restraint/Seclusion Record, and shall include the inmate-
   patient’s behavior, respiration, and responsiveness. If range of motion exercises are not
   performed, nursing staff shall clearly document the reason on the CDCR 7316,
   Restraint/Seclusion Record.

   A RN may suspend restraints for short periods of time in order to transfer inmate-patients
   from place to place to attend to necessary or personal needs (i.e., feeding, bathing, or other
   treatment needs as necessary). A RN shall decide whether release from restraint is necessary
   in order to attend to necessary nursing or personal needs. Custody staff shall provide
   adequate security to prevent assaults or self-injurious behavior during suspension of
   restraints. If an inmate-patient has been released from restraints for more than one hour, a
   new order shall be obtained. Inmate-patients shall not be returned to the previous, or any
   state of restraint without continuing evidence of dangerousness to self or others.

   Restraint Renewal

   The RN shall contact an authorized clinician and provide a description of current behavior,
   attitudes, or other indicators of present dangerousness; PRN/emergency medication usage;
   change in vital signs, including pain assessment; changes in mental or physical status; and
   side effects (e.g., confusion, akathisia, or extrapyramidal) at least every four hours. The
   authorized clinician shall then either give an order to discontinue restraint or give an order to
   continue or modify restraint for a period not to exceed four hours.

   Termination

   Restraint shall be terminated when:

   1. The emergency or dangerous behavior no longer exists based on previously established
      criteria for release; or

   2. The inmate-patient’s identified precursor behaviors indicating imminent danger to self or
      others are not longer present; or


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   3. Due to the presence of medical contraindications, it would be harmful for the inmate-
      patient to remain in restraints.

   Removal from restraints is an authorized clinician or RN determination that the inmate-
   patient has reached the behavioral criteria for release and no longer presents an imminent
   danger. Release does not require a physician’s order unless otherwise specified.

   Upon termination of the restraint use, an entry shall be made in the CDCR 7230,
   Interdisciplinary Progress Note, describing the condition and response of the inmate-patient.

   In accordance with Health and Safety Code 1180, a clinical and quality review shall be
   conducted for each episode of the use of restraints.

   Seclusion

   Seclusion is a behavioral treatment procedure used to prevent injury to self or others by
   containment of the inmate-patient in a specially designed room. Seclusion will typically take
   place in safety cells in a MHCB facility. Seclusion rooms shall be designed or modified to:
   provide for sufficient space for freedom of movement of staff; be free from hazardous objects
   or fixtures; have adequate light and ventilation; be maintained at an appropriate temperature;
   have secure, lockable doors; and have windows that permit visual observation of the inmate-
   patient by staff. Each MHCB facility shall set aside and equip a specific room to be used for
   the purpose of seclusion.

   Placement of inmate-patients in single cells located in housing units, CTC’s, or MHCB’s for
   custodial reasons does not constitute seclusion for the purposes of this section.

   Initial and Subsequent Orders

   Seclusion shall only be used on a written or verbal order of an authorized clinician. When an
   authorized clinician is present, the authorized clinician shall evaluate the need for seclusion
   and if appropriate, write an order and provide sufficient and adequate justification in the
   inmate-patient’s UHR. The initial order for seclusion shall not exceed four hours.

   In an emergency circumstance when there is no authorized clinician present, a qualified RN
   may authorize initiation of seclusion after evaluating the need for seclusion. An emergency
   circumstance exists when there is a sudden marked change in the inmate-patient’s behavior
   so that action is immediately necessary for the preservation of life or the prevention of
   serious bodily harm to self or others, and it is impractical to first obtain an order from an
   authorized clinician. If a RN is not present, a RN shall be notified immediately and shall
   respond within 15 minutes of notification to evaluate the need for seclusion and initiate
   seclusion, if appropriate. When a RN initiates seclusion, an authorized clinician shall

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   immediately be notified, and within one hour of notification write or give a verbal order with
   justification to either continue or discontinue seclusion.

   Subsequent orders for continuation of seclusion shall not exceed four hours.

   Documentation

   Documentation of an order for seclusion shall include the name of the authorized clinician
   giving the order, the time the order was received, the duration of the order, and the name and
   signature of the RN receiving the order.
   Telephone orders for seclusion shall be received only by licensed nursing staff, shall be
   recorded immediately, and shall be signed within 24 hours. Initial telephone orders for
   seclusion shall be followed with written orders within 24 hours of the time the seclusion was
   first ordered. The ordering clinician will follow subsequent telephone orders for seclusion
   with written orders within 24 hours.

   A written order authorizing the use of seclusion is required even if such use is discontinued
   prior to the authorized clinician’s arrival.

   Each time an order for seclusion is written, the authorized clinician or RN shall complete a
   CDCR 7230, Interdisciplinary Progress Note, documenting the need for
   initiation/continuation of seclusion and shall specify the elements of the emergency that
   necessitated the use of seclusion and behavior changes that may indicate the inmate-patient
   no longer presents a danger to self or others. The note shall describe what least restrictive
   measures were tried prior to this order.

   Results of face-to-face evaluations shall be documented on CDCR 7316, Restraint/Seclusion
   Record.

   When a qualified RN initiates seclusion, the RN shall document the need for the initiation of
   seclusion on a CDCR 7316, Restraint/Seclusion Record. The documentation shall include a
   description of the inmate-patient’s behavior including any precursor/antecedent behaviors
   and other relevant factors upon which the inmate-patient was determined to be a danger to
   self or others, staff actions taken to utilize alternatives to seclusion, information given to the
   inmate-patient about the reasons for seclusion, the conditions of release, the inmate-patient’s
   response, and injuries to the inmate-patient.

   The inmate-patient’s treatment plan must be modified to include a sufficiently detailed
   description of the emergency and the rationale for the use of seclusion. The inmate-patient’s
   nursing care plan shall be modified to provide for the special needs of the inmate-patient
   while in seclusion. The criteria for establishing termination should be described in
   operational, objective terms comprehensible to the inmate-patient.

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   Monitoring and Evaluation by Nursing Staff

   During the entire period of seclusion, the inmate-patient shall remain on direct one on one
   nursing observation. Nursing staff will document their observations at least every 15
   minutes on a CDCR 7316, Restraints/Seclusion Record. Nursing staff shall ensure that the
   inmate-patient is safely secluded. The direct one on one nursing observation shall also
   include verbal interaction when the inmate-patient is awake.

   A RN shall perform a mental status and physical assessment of the inmate-patient
   within 15 minutes of the initiation of seclusion. A physician or nurse practitioner shall
   perform a brief physical examination of the inmate-patient as soon as possible but no more
   than four hours after the initiation of seclusion and document the evaluation in the patient’s
   UHR. If seclusion is discontinued prior to the physician’s arrival, the physician shall
   conduct a brief physical examination no more than 24 hours after the episode of seclusion.

   Prior to the expiration of the initial order an authorized clinician or qualified RN shall
   conduct a face-to-face evaluation to determine whether continued placement in seclusion is
   clinically justified. If the clinician performing the initial face-to-face assessment is not a
   psychiatrist/physician, within four hours of the initial order a psychiatrist/physician shall be
   consulted by the RN to review current medications and any contraindications to continued
   seclusion. The authorized clinician shall either give an order to discontinue seclusion or give
   an order to continue seclusion for a period not to exceed four hours.

   After the initial face-to-face evaluation, an authorized clinician or a qualified RN shall
   conduct a face-to-face evaluation at least every eight hours during the period an inmate-
   patient is in seclusion and evaluated for continued dangerousness by an authorized clinician
   at least daily. The authorized clinician shall then either give an order to discontinue
   seclusion or give an order to continue seclusion for a period not to exceed four hours.

   An authorized clinician shall evaluate the inmate-patient face-to-face at least every 24 after
   the first four hours. If the authorized clinician is not a physician, the authorized clinician
   should consult with a physician after the face-to-face assessment. A psychiatrist shall
   conduct a face-to-face evaluation at least every 24 hours while the inmate-patient is in
   clinical seclusion.

   Every hour the RN will perform an assessment of the inmate-patient including need for
   toileting; exercise; personal hygiene procedures; and room environment, temperature, and
   cleanliness. Fluids and nourishment shall be offered every 15 minutes by the nursing staff
   assigned to the direct observation of the inmate-patient, except during hours of sleep. In
   documentation of hourly evaluations, the nurse shall summarize the inmate-patient’s overall
   physical condition, general behavior, and response to counseling/interviews.

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   A RN may suspend seclusion for short periods of time in order to transfer inmate-patients
   from place to place to attend to necessary nursing or personal needs (i.e., feeding, bathing, or
   other treatment needs as necessary). A RN shall decide whether release from seclusion is
   necessary in order to attend to necessary nursing or personal needs. Custody staff shall
   provide adequate security to prevent assaults or self-injurious behavior during suspension of
   seclusion. If an inmate-patient has been released from seclusion for more than one hour, a
   new order shall be obtained. Inmate-patients shall not be returned to the previous, or any
   state of seclusion without continuing evidence of dangerousness to self or others.

   Termination

   Seclusion shall be terminated when:

   1. The emergency or dangerous behavior no longer exists based on previously established
      criteria for release; or

   2. The inmate-patient’s identified precursor behaviors indicating imminent danger to self or
      others are no longer present; or

   3. Due to the presence of medical contraindications, it would be harmful for the inmate-
      patient to remain in restraints.

   Removal from the seclusion is an authorized clinician or RN determination that the inmate-
   patient has reached the behavioral criteria for release and no longer presents an imminent
   danger. Release does not require a physician’s order unless otherwise specified.

   Upon termination of the seclusion use, an entry shall be made on a CDCR 7230,
   Interdisciplinary Progress Note, describing the condition and response of the inmate-patient.

   In accordance with Health and Safety Code 1180, a clinical and quality review shall be
   conducted for each episode of the use of seclusion.

I. DISCHARGE

   It is the responsibility of the MHCB to provide for continuity of inmate-patient care upon
   discharge to another level of care, another facility, or self-care.

   The inmate-patient has a right to information regarding discharge on an ongoing basis during
   his or her stay in the MHCB.

   Discharge Plan

   a. The discharge plan is initiated at the time of admission.
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   b. The IDTT shall assess the inmate-patient’s need for further medical, psychiatric,
      psychological, social work, and rehabilitative services; nursing services; education
      services; and transportation when developing the discharge plan. The plan ensures that
      needed services are available at the appropriate level of care.

   c. The plan shall include participation by the inmate-patient to facilitate inmate-patient
      responsibility for his or her care and treatment.

   d. The plan reflects appropriate coordination with and utilization of MHCB custody staff.

   e. The plan includes documentation of contact with the Chief of Mental Health at the
      institution where the inmate-patient is being transferred.

   f. Once the discharge plan is completed, referrals for appropriate aftercare placement shall
      be documented by an MHCB clinical staff member in the inmate-patient's treatment plan.

   g. The assigned CCM or PC at the institution where the inmate-patient is being transferred
      is responsible for implementing the discharge plan.

   h. Treatment shall continue for all inmate-patients clinically discharged until transferred.

   Discharge Criteria

   Criteria for discharge from the MHCB to an EOP or CCCMS program include:

   •   stabilization of the crisis behavior; and

   •   the ability to function in a less clinically structured environment.

   Discharge criteria do not necessarily include complete resolution of symptoms but a
   resolution sufficient to allow continuation of treatment at a less intensive level of care.

   Discharge to DMH inpatient care requires the clinical need for inpatient services of a
   duration greater than ten days.

   Procedure

   a. Upon completion of MHCB inpatient treatment, cases transferred to the MHCB as
      “Psychiatric and Return” shall be returned to the sending institution, unless the sending
      institution does not provide the level of care that the inmate-patient currently requires or
      the inmate-patient has any other case factor(s) that preclude return to the sending


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      institution. In those cases, the MHCB will transfer the inmate-patient to an institution
      that provides the appropriate level of care and security.

   b. The MHCB discharge summary shall be completed by the attending psychiatrist or
      psychologist prior to release from the MHCB.           This should include specific
      recommendations regarding follow-up visits with the CCM or PC and custody staff. The
      discharge summary, either handwritten or dictated, includes, but is not limited to, the
      MHCB course of treatment, current medications, response to treatment, condition at time
      of discharge, and detailed information regarding follow-up care needs. The inmate-
      patient’s participation, which supports inmate-patient responsibility, shall also be
      included.

   c. An inmate-patient shall be discharged only on the written order of the MHCB
      psychiatrist or psychologist.

   d. Each institution with an MHCB shall appoint a Discharge Coordinator who is responsible
      for notifying the Chief of Mental Health or designee at the institution where the inmate-
      patient is being transferred of the pending discharge. The notification shall occur prior to
      discharge and shall include the inmate-patient’s discharge summary, custody level,
      treatment needs, and any significant medical conditions. The Discharge Coordinator
      shall document the notification in the inmate-patient’s discharge plan.

   e. The Chief of Mental Health or designee at the institution where the inmate-patient is
      being transferred shall notify the assigned CCM or PC. If the inmate-patient does not
      have an assigned CCM or PC, one shall be assigned. If the inmate-patient was admitted
      to the MHCB for Suicide Precaution or Watch, the Chief of Mental Health shall also
      notify the mental health clerical staff responsible for the tracking system, clinical staff
      responsible for weekend or holiday coverage, and the Facility Captain of the housing unit
      to which the inmate-patient is being transferred so that the required clinical and custody
      evaluation can be scheduled.

   f. No inmate-patient shall be discharged from the MHCB without an IDTT review, or in the
      event a new IDTT cannot be convened, a consultation with an IDTT member, such as a
      nurse.

   g. At the time of discharge, the original inpatient record is retained at the MHCB institution.
      The inmate-patient's UHR shall be transferred to the receiving institution at the time of
      discharge. Certain documents from the Inpatient Record are copied and filed in the
      Inpatient section of the UHR. This includes copies of the Admission Record, History and
      Physical, Operative Reports, Physician Orders, Discharge Summary, Consultations,
      Progress Notes, and Diagnostic Reports.


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    h. Prior to discharge from the MHCB, a nurse shall advise the inmate-patient regarding
       medications and follow-up visits, and clear the inmate-patient for MHCB discharge.

    i. Any inmate-patient admitted to the MHCB program because of suicidal threats or
       behavior shall not be discharged to their housing unit until a Suicide Risk Assessment
       Checklist has been completed and a follow-up plan developed.

      •   The PC shall provide follow-up treatment on an outpatient basis. This shall include
          daily contact with the inmate-patient for five consecutive days following discharge.
          On weekends and holidays, a Licensed Psychiatric Technician or mental health
          clinician other than the PC may conduct the daily contact; however, the PC is
          responsible for ensuring the contacts occur. The daily contact shall be documented
          on a CDCR 7230, Interdisciplinary Progress Note, or a CDCR 7230B-MH, Follow
          Up to MHCB/MH-OHU Discharge for Suicidal Issues template. The note shall
          include the inmate-patient’s current mental status and suicide risk.

      •   The contact shall occur in the inmate-patient’s regular housing unit.

      •   Custody staff shall conduct an hourly check of inmate-patients admitted to the
          MHCB for suicidality for the first 24 hours after discharge. A mental health clinician
          shall then discuss the inmate-patient’s behavior with the custody staff and evaluate
          the inmate-patient to determine if the custody checks should be continued or
          discontinued. If the custody checks are retained, the mental health clinician shall
          determine whether the checks are to be every hour, every 2 hours, or every 4 hours
          for the next 24 - 48 hours. Custody staff shall maintain a log of checks on inmates.

      •   If after any evaluation the mental health clinician believes the inmate-patient has not
          stabilized, the inmate-patient shall be returned to the MHCB for further treatment.
          Careful consideration by the IDTT should be given to releasing inmates on a Friday,
          during the weekend, or the day before a holiday. The mental status and stability of
          the inmate-patient should be documented in detail on a CDCR 7230, Interdisciplinary
          Progress Note. A mental health clinician must be available every day (including
          weekends and holidays), either on duty or on call, to monitor inmate-patients who are
          discharged from a MHCB.

   Quality Management for Implementation of Discharge Planning

   Concurrent with the implementation of the discharge plan or within 21 days of the
   inmate-patient’s discharge from the MHCB, the Chief of Mental Health at the institution
   where the inmate-patient was transferred will audit the implementation of the discharge plan
   and follow-up care.


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     For inmate-patients who were admitted to the MHCB for Suicide Precaution or Watch, the
     Chief of Mental Health shall review the SRAC that was completed prior to discharge from
     the MHCB to ensure the discharge plan is appropriate. The Chief of Mental Health shall
     document the review in the UHR and forward a copy of the SRAC to the local Suicide
     Prevention Committee. A copy will also be retained by the mental health clerical staff.

J.   MENTAL HEALTH PATIENTS IN OUTPATIENT HOUSING UNITS

     When an inmate-patient requires observation and evaluation of behaviors that may be
     indicative of mental illness, a licensed mental health professional may document the need for
     placement of the inmate-patient into an Outpatient Housing Unit (OHU).

     A physician, psychiatrist, or licensed psychologist shall order placement and release
     of inmate-patients into and out of the OHU for mental health care and shall be in charge of
     the inmate-patients’ care while housed there. The placement into the OHU shall be made
     using the CDCR 7221, Physician’s Order.

     Psychologists ordering placement of inmate-patients into the OHU shall refer the inmate-
     patient to a physician for a physical examination and to a psychiatrist for a medication
     evaluation.

     The physician’s or psychologist’s placement orders may be transmitted verbally or by
     telephone to the RN or LVN. The ordering physician or psychologist shall sign all verbal
     placement orders within 24 hours.

     A physician or psychologist shall document the need for placement on a CDCR 7230,
     Interdisciplinary Progress Note, within 24 hours of placement. Within 24 hours after
     placement each inmate-patient shall have an evaluation, including admission history and
     physical examination, for immediate care planning. The Mental Health Evaluation shall be
     documented on a CDCR 7386, Mental Heath Evaluation.

     The patient shall receive an additional face-to-face evaluation by a mental health clinician or
     other qualified medical staff within 48 hours. This contact shall be documented on a
     CDCR 7230, Interdisciplinary Progress Note.                 If at any time during this
     observation/evaluation period it is determined that the inmate-patient requires inpatient care,
     arrangements shall be made to transfer the inmate-patient within 24 hours of the
     determination to a MHCB. If evaluation of the inmate-patient’s mental health need
     continues beyond 48 hours, arrangements shall be made to transfer the inmate-patient to a
     MHCB or inpatient facility. Inmate-patients shall not remain in OHU for more than 72
     hours.



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   The only exception to this 72-hour limit shall occur, on a case-by-case basis, only if both of
   the following criteria are met:

   1. The inmate-patient has been determined to need EOP level of care and is awaiting
      placement, and

   2. An IDTT determines that the inmate-patient may be at risk if returned to any of the
      housing units available at that institution while awaiting transfer.

   When both of the above criteria are met, the inmate-patient may be held in OHU until
   transferred to an EOP level of care program. The timeline for transfer from OHU to EOP
   shall not exceed 30 days from EOP endorsement. This timeline for transfer shall include
   any days that the inmate-patient is in a MHCB following endorsement, and shall not be
   restarted if the inmate-patient returns to the OHU.
   When it is determined that inpatient care is necessary and the institution staff are unable to
   expeditiously find a MHCB, they will contact the HCPOP for assistance to ensure placement
   within the required timelines. If it is determined that an order for Suicide Precaution or
   Watch is necessary, observation by clinical and/or custody staff, consistent with the MHSDS
   Suicide Prevention policy (see Chapter 10 for details), shall be provided.

   When an inmate is placed in the OHU for being potentially suicidal, a mental health clinician
   shall administer a SRAC at the times of placement and release. On weekends, holidays, or
   after hours, the SRAC shall be administered by the MOD, POD, or RN trained on
   administration of the SRAC. Inmate-patients housed in OHU for suicide observation, who
   do not require MHCB level of care and who were discharged from the OHU before 24-hours,
   may be seen by clinicians and custody staff for follow-up care utilizing the process and
   timeframes described for MHCB suicide discharges, if clinically indicated.

   When emergency circumstances exist, clinical restraint or clinical seclusion may be applied
   in OHU, subject to the requirements for clinical restraint or clinical seclusion in the MHCB.
   Emergency circumstances exist when there is a sudden marked change in the inmate-patient's
   condition so that action is immediately necessary for the preservation of life or the
   prevention of serious bodily harm to the inmate-patient or others, and it is impractical to first
   transfer the inmate-patient to a MHCB. The MHCB transfer process (See Section D,
   Referral and Transfer, MHCB Transfer) shall be immediately initiated upon determination
   that an inmate-patient requires clinical restraint or clinical seclusion, and transported when
   clinically safe to do so.

   HCPOP shall be notified when an inmate-patient has been placed in clinical restraint or
   clinical seclusion. HCPOP shall expedite MHCB placement of inmate-patients in clinical
   restraint or clinical seclusion.


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   Mental Health Conditions Appropriate for Placement into an OHU

   1.   Observation for Suicide Precaution or Suicide Watch consistent with the CDCR
        Suicide Prevention and Response Project.

   2.   Inmates who engage in behaviors that might be indicative of a mental disorder that
        interferes with daily living and requires further observation and evaluation.

   3.   Inmate-patients who have been referred to an EOP or MHCB who are too ill or too
        vulnerable to be placed in the general population while waiting for transfer.

   If at any time the mental health clinician determines that the inmate-patient has improved and
   does not require a higher level of care, the clinician may discharge the inmate-patient back to
   the General Population at the appropriate level of care.

K. STAFFING

   The MHCB is designed to provide 24-hour care and is subject to State licensing requirements
   (CCR, Title XXII, Section 79739). Consequently, it must comply with the staffing standards
   of the CTC license under which it operates. MHCB staff shall provide acute mental health
   services for inmate-patients admitted to MHCB. In programs with six or fewer beds, acute
   mental health services may be provided by the MHCB Clinical Director. Through contracts
   or temporary reassignment of mental health staff from other program areas, staffing shall be
   augmented as needed.

   The MHCB shall have a Clinical Director who shall direct the clinical program and be
   responsible for the quality of clinical services (CCR, Title XXII, Section 79741 (b)). The
   Clinical Director shall be a psychiatrist, licensed clinical psychologist, licensed clinical
   social worker, or a psychiatric mental health nurse operating within his or her scope of
   licensure with at least three years of direct clinical experience with seriously mentally
   disordered individuals after completion of his or her last year of graduate education (CCR,
   Title XXII, Section 79755 (a)). Each inmate-patient admitted as a patient to the MHCB is
   under the treatment of Staff Psychiatrists, Psychologists and/or Licensed Clinical Social
   Workers. Nursing services are provided by RN, LVN, Recreational or Occupational
   Therapists or Licensed Psychiatric Technicians. Clerical services are provided by an Office
   Technician and a Medical Transcriber.

   Administrative Staff

   The MHCB is subject to the same medical staff organization, bylaws, and policies and
   procedures that govern the other licensed beds of the facility (CCR, Title XXII,
   Sections 79775, 79777). Staff serving in these positions shall meet the minimum

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   qualifications specified in the CCR, Title XXII. All MHCB staff are responsible to the
   Clinical Director.

   Clinical Staff

   Individual therapy or counseling, aftercare planning and referral services, and the clinical
   lead role in treatment plan development and modification shall be performed by the Staff
   Psychiatrist, Staff Psychologist, or Licensed Clinical Social Worker. A Chief or Senior
   Psychiatrist or a Chief or Senior Psychologist may also provide these clinical services in
   addition to his or her other supervisory or management responsibilities, as directed.
   Supervising clinical staff may assist in these services if required by workload, staffing
   considerations or unusual complexity of an individual case. Staff Psychiatrists, Staff
   Psychologists, Licensed Clinical Social Workers, Senior Psychiatrists and Senior
   Psychologists serve as PCs and report to the Clinical Director.

   Nursing Staff (CCR, Title XXII, Section 79629)

   Two Supervising RNs positions oversee all nursing services delivered in the CTC: one for
   medical services and one for mental health services (CCR, Title XXII, Section 79755 (d)).
   Although the latter includes the MHCB, the use of one Supervising RN per shift may mean
   that MHCB nursing functions may be supervised by the medical Supervising RN for part of
   each 24-hour day.

   Supervising RN are responsible for functional supervision of CTC line nursing staff and
   nursing administration, which includes the MHCB. Twenty-four hour registered nursing
   coverage and availability of a Supervising Psychiatric RN forty hours a week are necessary
   in the MHCB. There are sufficient nurses within a 24-hour period to provide at least 2.5
   hours per inmate-patient (CCR, Title XXII, Section 79759). An inmate-patient with higher
   acuity needs receives additional nursing and professional care as symptoms require. RNs
   may co-manage selected inmate-patients assisting PCs with group therapies but will not
   function independently as PCs.

   Mental Health Rehabilitation Services Staff

   Mental health rehabilitation therapy services shall evaluate social, recreational, and
   vocational needs in accordance with the interests, abilities and needs of the inmate-patient;
   shall develop and prepare related therapies; and shall include such evaluation, and
   documentation of therapy development and preparation, in the inmate-patient's treatment
   plan (CCR, Title XXII, Section 79749).




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   Mental health rehabilitation therapy services shall be designed by and provided under the
   direction of a licensed mental health professional, a Recreational Therapist, an Occupational
   Therapist, or a Licensed Psychiatric Technician (CCR, Title XXII, Section 79749 (c) (2)).

   In the Department, appropriately trained Correctional Officers (COs) and Correctional
   Counselors may be counted to meet licensing ratios. COs also assist in managing, observing
   and escorting the assaultive or suicidal inmate-patients.

   Clerical Staff

   Clerical support in the MHCB is provided by an Office Technician, who reports to the
   Clinical Director, and a Medical Transcriber, who is placed in the institutional transcriber
   pool and reports to the pool's Supervising Medical Transcriber.

L. UNIT HEALTH RECORDS

   1. Confidentiality

      Mental health records generally have a higher standard of confidentiality than other
      medical records. All staff with possible access to such records shall sign an oath of
      confidentiality to keep any information they learn from the records strictly confidential
      (CCR, Title XXII, Section 79807).

   2. Access

      All MHCB clinicians and nursing staff must have access to the inmate-patient's records
      24 hours per day. Records shall be brought as needed from the records storage area, kept
      in the MHCB treatment area or clinician offices while needed, and returned to the storage
      area when no longer needed. If records are required outside the MHCB treatment area or
      clinician's offices, the records shall be hand carried by escorting staff and returned to the
      MHCB with escorting staff as soon as the outside business is completed (CCR, Title
      XXII, Section 79807).

   3. The Clinical Director shall:

      a. Ensure the History and Physical is transcribed and delivered to the MHCB as soon as
         possible.

      b. Ensure that previous medical records are provided to the MHCB [Title XXII,
         Section 79803 (d)].



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M. MENTAL HEALTH QUALITY MANAGEMENT SYSTEM

   Ongoing assessment of the quality of clinical services will follow the Mental Health Quality
   Management System procedures.




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Inpatient Program

CHAPTER 6
Department of Mental Health Inpatient Program
A. INTRODUCTION

   The California Department of Corrections and Rehabilitation (CDCR) is responsible for
   providing acute and intermediate inpatient care, in a timely manner, to those CDCR inmates
   clinically determined to be in need of such care. CDCR currently maintains a contract with
   the California Department of Mental Health (DMH) to provide acute and long-term
   intermediate inpatient mental health care to inmate-patients. Referrals to a DMH facility
   may be made by CDCR clinicians for inmate-patients who are so severely disturbed or
   suicidal that their treatment needs cannot be met in a CDCR treatment program or who may
   require a comprehensive psychiatric assessment.

   1. Inmate-patients who have had repeated admissions to a CDCR Mental Health Crisis Bed
      (MHCB) or have been in an MHCB for longer than ten days shall be considered for such
      a referral.

   2. The following DMH institutions are available for referrals for the indicated level of care:

      Acute Psychiatric Care: Vacaville Psychiatric Program (VPP), Acute Psychiatric
      Program (APP) (males only);

      Emergency Acute Psychiatric care: (Mental Health Crisis Beds) ASH and VPP under the
      conditions prescribed in the acute Memorandum of Understanding (MOU);

      Intermediate Care: Atascadero State Hospital (ASH) (males only); Coalinga State
      Hospital (CSH) (males only); Patton State Hospital (PSH), (females only); Salinas Valley
      Psychiatric Program (SVPP), (high security males only); Vacaville Psychiatric Program
      (VPP); and

      Day Treatment: Vacaville Psychiatric Program, Day Treatment Program (DTP) (males
      only).




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B. OVERALL TREATMENT CRITERIA

   Inpatient Placement General Requirements

   The inmate-patient to be referred must have a Serious Mental Disorder (See Mental Health
   Services Delivery System [MHSDS] Program Guides, Chapter 1, Program Guide Overview)
   and:

   1. Have marked impairment and dysfunction in most areas (daily living activities,
      communication and social interaction) requiring 24-hour inpatient care, or

   2. Is a danger to self or others as a consequence of a serious mental disorder, or

   3. Meets admission criteria for any of the DMH programs.

C. DMH ACUTE PSYCHIATRIC PROGRAM (APP)

   The APP is a short-term, intensive-treatment program with stays usually up to 30 calendar
   days to 45 calendar days provided. Actual length of stay shall be determined by the
   Interdisciplinary Treatment Team on a case-by-case basis. Inmate-patients in the APP who
   are determined to need long-term mental health inpatient care shall be referred to an
   appropriate DMH intermediate care program.

   Referral to the APP is considered when, in the judgment of the CDCR treating clinician, the
   inmate-patient meets the following DMH admission criteria:

   Admission Criteria

   1. Any inmate-patient (age 18 or older) who suffers impairment of functioning with signs
      and symptoms that may be attributed to either an acute major mental disorder or an acute
      exacerbation of a chronic major mental illness, as defined by the current Diagnostic and
      Statistical Manual of Mental Disorders (DSM). Such signs and symptoms of illness may
      render the inmate-patient:

      •   Unable to carry out adequately the normal routines of the institution,

      •   Unable to provide for his basic needs or use the supportive treatment resources
          available to him, or

      •   A significant risk of harming himself or others.


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   2. Any inmate-patient who has been assessed as a severe suicidal risk.

   3. Additional factors that justify consideration for referring an inmate to the APP include:

      •   The inmate-patient has symptoms or secondary conditions that require inpatient
          mental health treatment.

      •   The inmate-patient engages in self-injurious behavior that has not responded to
          treatment in a CDCR facility. Without mental health treatment, the inmate is likely to
          develop serious medical complications or present a threat to his life.

   4. Each inmate-patient referred from another CDCR institution who is not accepted for
      direct placement-evaluation to the APP due to lack of an available bed shall be retained
      at the sending institution until a bed is available.

   5. Inmate-patients admitted to the APP shall be inmates anticipated to be stabilized
      sufficiently for release from DMH within 30 to 45 days.

   Referral Procedure

   1. Each referral to the APP is the responsibility of CDCR clinical staff. Referrals shall be
      made     whenever      in    the    judgment      of  the    treating   clinician     the
      inmate-patient’s condition warrants inpatient care and meets the admission criteria for
      APP. Referrals generally are made by a clinician working in a CDCR MHCB Program
      or Enhanced Outpatient Program (EOP). Referrals must be completed within two
      working days of identification.

   2. CDCR shall transmit standardized referral information to the appropriate DMH program
      on the DMH Referral Form/Acute Psychiatric Care. The referral packet shall be sent to
      the APP Admission and Discharge Coordinator.

   3. DMH shall review the referral packet within one working day of receipt. DMH staff
      shall immediately notify the referring institution on the DMH Referral Decision Form by
      fax of their decision. The decision shall provide the detailed reasons for any rejections.

   4. An inmate-patient considered for transfer to the APP must sign a consent to treatment at
      DMH or is entitled to a hearing in accordance with Title 15, Section 3369.1 (a) unless the
      inmate waives the hearing. Documentation of the hearing shall be processed in
      accordance with Department Operations Manual Section 62030.4.2. Written consent
      shall be obtained, or the hearing shall be conducted by the prison prior to transfer.


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   5. The referral packet shall be completed fully and include all required information as
      follows:

      •   If the inmate-patient is referred from a Mental Health Crisis Bed (MHCB), then the
          referral packet shall only include the following three items with their sub-
          components:

          a. Written consent OR documentation of the required due process hearing, or a valid
             waiver of the due process hearing if the inmate-patient refuses to sign consent to
             transfer;

          b. Custody Case Factor Sheet; and

          c. Mental Health Crisis Bed Inpatient Record including but not limited to:

              Admission summary
              Progress Notes
              Orders and lab orders
              Interdisciplinary treatment plan
              Interdisciplinary Treatment Team notes
              Discharge summary

      •   If the inmate-patient is referred from any other level of care (EOP, Correctional
          Clinical Case Management System [CCCMS]) or other location, then the referral
          packet shall include:

          a. Written consent OR documentation of the required due process hearing
             (CDCR 128-MH6), or a valid waiver of the due process hearing if the inmate-
             patient refuses to sign consent to transfer;

          b. Custody Case Factor Sheet;

          c. CDCR suicide risk assessment including a Suicide Risk Assessment Checklist
             (SRAC);

          d. Current Treatment Plan – CDCR 7388-MH, Mental Health Treatment Plan

          e. Transfer Medical Summary or Health and Physical (H&P);

          f. Pharmacy Profile or Medication Administration Record (MAR);


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          g. Supporting Keyhea documentation or Keyhea Order (when relevant for
             involuntary medications); and

          h. TB chrono from the referring institution.

   Admission Procedure

   1. The APP shall notify the referring institution in writing of the decision on a referral
      (accept, deny, defer) within one (1) calendar day of the referral including, if accepted, the
      APP bed number. Inter-institutional endorsements for transfer of inmate-patients
      accepted into the APP are processed by the Classification and Parole Representative
      (C&PR) at California Medical Facility (CMF).

   2. Inmate-patients who have been accepted shall be moved via special transport to DMH
      within 72 hours of bed assignment. In any event all transfers shall be accomplished
      within 10 days of the date of the referral.

   3. Referred inmate-patients who are accepted into the APP are transferred from the referring
      institution as “psych and return” cases (i.e., in most circumstances the inmate-patient will
      be returned to the referring institution provided that institution can provide appropriate
      treatment and custody). Inmate-patients referred to the APP, who are accepted but are
      deferred for lack of bed availability, are retained at the referring institution pending a bed
      assignment.

   4. APP staff and the CMF Chief Deputy, Clinical Services, or designees, shall prioritize, on
      a daily basis, any inmate-patient awaiting transfer into the APP. Prioritization for
      admission is based upon the clinical acuity of the inmate-patient, the length of time the
      inmate-patient has been on the waiting list, and the availability of mental health staff at
      the referring institution. APP staff shall separately review, on a weekly basis, APP
      inmate-patients who are clinically ready to be discharged to a CDCR institution.

   5. DMH is responsible for completing any referral of an APP inmate-patient to any other
      DMH program.

   Discharge Procedures

   1. The APP will contact the receiving institution’s designated “DMH Contact” and fax the
      clinical discharge summary with continuing care recommendations to the designated
      clinician at the institution. The discharging clinician shall also telephone the designated
      clinician at the receiving institution to notify that institution of the impending discharge
      of the inmate-patient and describe the inmate-patient’s recommended aftercare plan.

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   2. For each inmate-patient returning to CDCR from the APP the following documents shall
      be transferred with the inmate-patient to the respective CDCR institution:

      •   Psychiatric Discharge Summary or Recommended Continuing Care Plan (RCCP);

      •   Nursing Assessment or Discharge Summary;

      •   Current physician’s orders and/or MAR;

      •   Current Treatment Plan; and

      •   Keyhea Order (if applicable).

      The inmate-patient shall not be placed in the transport vehicle without the above
      documents.

      In addition, a discharge packet will be faxed by DMH within two weeks of discharge.
      The discharge packet shall include:

      •   Interdisciplinary Notes for past 15 days;

      •   Physician Progress Notes for past 15 days;

      •   Relevant Consults; and

      •   If applicable, forms specific to psych and return, mental health placement and transfer
          information for parolees.

      All DMH programs shall provide written copies of the aforementioned cited materials.
      Due to its proximity to CMF, VPP shall provide the entire Inpatient Medical Record for
      review by the CMF Chief of Mental Health instead of the materials cited above.

D. DMH INTERMEDIATE CARE FACILITIES: ASH, CSH, PSH, SVPP, and VPP

   The Intermediate Care Programs (ICF) at ASH, CSH, SVPP and VPP are for male inmate-
   patients; the program at PSH is for female inmate-patients. These programs provide longer-
   term mental health intermediate and non-acute inpatient treatment for inmate-patients who
   have a serious mental disorder requiring treatment that is not available within CDCR. There
   will not be direct admissions from CDCR to CSH at this time.

   Male inmate-patients who require close or high custody shall be referred only to SVPP.
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   Custody Level IV male inmates that do not require close or high custody may be referred to
   ASH or VPP.

   The ICF programs have a full complement of mental health staff including psychiatrists,
   psychologists, clinical social workers, rehabilitation therapists, psychiatric technicians, and
   registered nurses. Most housing is dormitory-type rooms. The inmate-patients have access
   to the day room, supervised yard access and are fed in a dining room. The inmate-patients
   receive a multidisciplinary assessment. From this information an individualized treatment
   program is developed from a wide variety of treatment modalities including group and
   individual psychotherapy, medication management, depression and crisis management,
   training in daily living skills and interpersonal skills, substance abuse, management of
   assaultive behavior, supportive counseling, modification of maladaptive behaviors, and
   educational and vocational programs.

   Admission Criteria

   Referral to an ICF is considered when in the judgment of the CDCR treating clinician the
   inmate-patient meets the following DMH admission criteria:

   1. An Axis I major (serious) mental disorder with active symptoms and any one of the
      following:

      • As a result of the major mental disorder, the inmate-patient is unable to adequately
          function within the structure of the CDCR EOP level of care.

      • The inmate-patient requires highly structured inpatient psychiatric care with 24-hour
          nursing supervision due to a major mental disorder, serious to major impairment of
          functioning in most life areas, stabilization or elimination of ritualistic or repetitive
          self-injurious/suicidal behavior, or stabilization of refractory psychiatric symptoms.

      • The inmate-patient requires a neurological/neuropsychological consultation.

      • The inmate-patient requires an inpatient diagnostic evaluation.

      • The inmate-patient would benefit from a comprehensive treatment program with an
          emphasis on skill (i.e., coping, daily living, medication compliance) development
          with increased programming and structured treatment environment.

      • The inmate-patient’s psychiatric medication history indicates that a clozapine trial
          might be useful.
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      • Inmate-patients, who are deemed a significant assault risk, have a history of
          victimizing other inmate-patients (including inciting others to act in a dangerous
          manner) or present a high escape risk, shall be referred to the SVPP Intermediate
          Program. CDCR refers to these inmate-patients as high custody inmate-patients.

      • The inmate-patient’s Global Assessment of Functioning indicates behavior that is
          considerably influenced by psychotic symptoms; OR serious impairment in
          communication or judgment; OR inability to function in almost all areas.

      • For SVPP only, the inmate-patient is medically appropriate as determined by the
          receiving prison medical staff. The program psychiatrist will determine mental health
          suitability. If agreement is not reached refer to the Coordinated Clinical Assessment
          Team (CCAT) process in Section VI. Any denial for medical reasons will be
          immediately referred to the, Assistant Deputy Director, CDCR, Division of
          Correctional Health Care Services (DCHCS).

   2. In addition to a primary Axis I disorder, admission to VPP and SVPP shall be considered
      when:

      • The patient engages in ritualistic or repetitive self-injurious/suicidal behavior that has
          not responded to treatment in a CDCR facility. Without inpatient mental health
          treatment, the inmate-patient is likely to develop serious medical complications or
          present a threat to his life.

      • The patient is chronically suicidal and has had repeated admissions to a Mental
          Health Crisis Bed (MHCB).

   3. Inmate-patient committed to DMH by the courts as being incompetent to stand trial per
      Penal Code, Section 1370.

      Inmate-patients who commit an offense while in CDCR, are referred to the District
      Attorney for prosecution, and are found by the court to be incompetent to stand trial per
      Penal Code, Section 1370 will first be considered for the SVPP. If there are no custodial
      or clinical reasons for admission to SVPP, they will then be considered for other DMH
      programs.

   4. Whenever the CDCR institution referring clinician is in doubt concerning the
      appropriateness of referring a particular patient, or the appropriate DMH program to meet
      the inmate-patient’s custody needs, the referring clinician will discuss the case with the

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      interdisciplinary treatment team (IDTT). If the IDTT does not reach consensus, or does
      not agree regarding the appropriate DMH program, a case conference shall be scheduled
      with a clinical facilitator from the headquarters DCHCS office. Case conference calls
      can be requested by calling the Mental Health Program Specialist at DCHCS
      headquarters.

   5. Inmate-patients shall be eligible for admission to a DMH program regardless of parole
      date. CDCR will provide all discharge and community planning. CDCR will transfer the
      inmate-patient from the DMH program to a CDCR institution for release at least one
      calendar day prior to the release date.

   6. Inmate-patients who are serving a Security Housing Unit (SHU) term and are clinically
      appropriate for placement in an ICF, shall be referred to the sending institution’s
      Institutional Classification Committee (ICC). The IDTT/ICC shall consider suspension
      of the SHU term.

      •   When the sending institution’s IDTT/ICC decides to suspended the SHU term, the
          inmate-patient shall be eligible to participate in the entire ICF program upon arrival at
          the receiving institution.

      •   It is not necessary for the sending institution’s ICC to suspend a determinate or
          indeterminate SHU term prior to transferring the inmate-patient if the ICC is
          disinclined to take such action due to safety and/or security concerns. The
          inmate-patient shall be transferred to DMH with the SHU term in place

      •   In cases where the sending institution’s IDTT/ICC elects not to suspend the SHU
          term, the inmate-patient may participate in only Phase I of the ICF program. The
          inmate-patient will be evaluated in Phase I and a decision regarding suspension of the
          SHU term will be made by the receiving institution’s IDTT/ICC.

   Referral Procedure

   Referrals must be completed within five working days of identification by IDTT if inmate-
   patient consent is obtained and within ten working days of identification if due process
   hearing is required.

   The following CDCR institutions retain Unit Health Records (UHR) for inmate-patients
   referred to ASH/PSH. California Men’s Colony (CMC) shall retain records of inmate-
   patients referred to ASH. California Institution for Women (CIW) shall retain records for
   female inmate-patients referred to PSH.


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   1. All referrals shall be made on the required referral form – Department of Mental Health
      Referral Form-Intermediate Care Program. The referral packet shall be sent to the DMH
      Forensic Coordinator or the Admission and Discharge Coordinator. The form shall be
      fully completed and include all required information as follows:

      • Transfer Medical Summary or History & Physical for Transfer to DMH. The H&P is
          required for SVPP and must have been completed within the last 30 days;

          Current Treatment Plan – CDCR 7388-MH, Mental Health Treatment Plan;

      • Due Process documentation of the hearing OR Written consent (Use CDCR 128C
          until CDCR 128-MH6 is implemented), or a valid waiver of the due process hearing
          is required for referral if the patient refuses to sign consent to transfer;

          Pharmacy Profile;
          Supporting Keyhea documentation or a Keyhea Order (when relevant);
          Interdisciplinary Progress Notes for past 15 days (May be less for new arrival to
          reception center);
          TB chrono from the referring institution;
          Abstract of Judgment (For State Hospitals only);
          Legal Status Summary (For State Hospitals only);
          Chrono History (For State Hospitals only);
          Custody Case Factor Sheet;
          CDCR Suicide Risk Assessment.

   2. Any CDCR clinical concerns regarding the referral shall be discussed with the Chief of
      Mental Health, or designee, at DCHCS, prior to completion of the referral form.
      Questions regarding the transfer process shall be discussed with Health Care Placement
      Oversight Program (HCPOP), or designated Central Office Staff. (See also CCAT
      below).

   3. DMH shall review the referral packet within three working days of receipt, and shall
      immediately notify the referring institution by fax of the decision to accept or reject. The
      decision shall provide detailed reasons for any rejections.

Transfer Procedure

   1. The CDCR institution shall provide for transportation of a patient between a DMH
      program and a CDCR institution or DMH psychiatric program. The parole unit or region
      shall provide for transportation of a parolee between a DMH program and a local

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      detention facility or community placement. Transfer must take place within 30 days of
      referral if accepted at DMH.

   2. A transfer schedule shall be established by the CDCR referring institution and the
      respective DMH program.

   3. Inmate-patients who have been accepted shall be transported to DMH within 72 hours of
      bed assignment.

   4. Each patient or parolee admitted to a DMH program shall have with him/her, unless
      already sent, all documentation listed in Section V. B. 4. If, following the patient's
      admission, it is determined by assessments of the DMH staff that the patient does not
      meet admission criteria for the inpatient mental health program CDCR will transport the
      inmate-patient back to an institution on expedited basis but no more than 72 hours.

      If the admission was based on a 5150 evaluation by the state hospital and the patient does
      not meet criteria for continued hospitalization or conservatorship. CDCR/Parole will
      transport the patient back to prison or the inmate-patients county of residence
      within 24 hours. The state hospital cannot retain a patient beyond 24 hours and if the
      inmate-patient is not picked up within this time period, it may become necessary for the
      state hospital to discharge the inmate-patient to the street.

   5. A patient who has been found to pose an unusual and severe security risk to the DMH
      program in which he/she is housed shall be transferred by CDCR to a CDCR institution
      within 24 hours. However, if the security risk is on the basis of mental disorder rather
      than criminality or personality disorder, DMH shall make every effort to retain and treat
      the patient or parolee in the DMH hospital.

   6. A patient or parolee's personal property and funds are to accompany him/her at the time
      of delivery to and from the DMH hospital.

      •   Property, other than legal materials, shall be limited to no more than can be stored
          within six cubic feet.

      •   The property box from CDCR shall be inventoried and sealed. Any Board of Control
          Claim resulting from items missing from a patient or parolee's property upon
          admission to the DMH hospital is the responsibility of CDCR.

      •   CDCR shall ensure that items on the DMH Hospital Contraband List (see Attachment
          # 1-Contraband List) are not transferred to a DMH hospital with the patient or
          parolee's personal property.
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   7. Each patient or parolee shall be subject to TB evaluation by DMH upon admittance.

   Utilization Management (UM)

   1. CDCR reserves the right to inspect, monitor, and perform utilization reviews
      prospectively, concurrently, or retrospectively regarding the courses of treatment or
      inpatient care provided to CDCR’s inmate-patient. Such reviews shall be undertaken to
      determine whether the course of treatment or services was prior authorized, medically
      necessary and performed in accordance with CDCR rules and guidelines. DMH agrees to
      make available, upon request by CDCR, for purposes of utilization review, an individual
      patient’s medical record and any committee reviews and recommendations related to a
      CDCR patient.

   2. DMH acknowledges and agrees that concurrent utilization management review shall not
      operate to prevent or delay the delivery of emergency treatment.

   3. DMH acknowledges that the care of a patient at DMH shall be reviewed by CDCR
      Utilization Management (UM) nurses or designated party and by a Joint CDCR/DMH
      Review Process.

   4. CDCR UM nurses or designated party will gather data and review cases of CDCR
      inmate-patients in DMH programs. CDCR UM nurses or designated party will report
      their findings and make recommendations to the CDCR Health Care Manager and CDCR
      Chief Psychiatrist or their designee(s). CDCR and DMH managers or their designees
      will meet monthly to review the data. Each DMH program also will have a joint
      CDCR/DMH UM process that will review individual cases.

       If there is a disagreement about discharge, the UM nurse will review the patient’s record
       and forward a recommendation to the Joint CDCR/DMH UM Review Process. If there
       continues to be disagreement, the recommendation will be conveyed to the CCAT.

   Discharge Criteria

  1.   The inmate-patient has improved to a degree that further hospitalization is unnecessary,
       or the primary illness or problem for which hospitalization was required is in substantial
       remission, and the remaining symptoms are those of a disorder for which continued
       DMH inpatient care is not necessary, the inmate-patient will be returned to CDCR for
       ongoing treatment; or

  2.   Evaluation during hospitalization has resulted in a change of diagnoses such that
       continued hospitalization is not appropriate or necessary.

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  3.   If requested by DMH, an inmate-patient who has withdrawn informed consent for mental
       health treatment or psychiatric medication, but for whom continued treatment is
       otherwise recommended, may be returned to CDCR after all other clinical and legal
       avenues to obtain authorization to treat have been exhausted, if the following two criteria
       have been met:

       •   Withdrawal of informed consent shall be demonstrated by seven calendar days of
           continuous refusal to take oral medication or 30 calendar days of continuous refusal
           to accept scheduled depo-injectable medication, and documentation of discussions
           between treating DMH psychiatrists and other team members and the patient
           regarding the risks and benefits of continuing medication.

       •   Documentation that the patient has not met criteria for involuntary treatment for at
           least the last seven calendar days.

   Discharge Procedure

   1. Inmate-patients will be returned to the institution from which they came per the “psych
      and return” policy provided that institution can meet the level of care and security needs
      of the inmate-patient. Generally most inmate-patients will be returned to an institution
      that has an EOP. The EOP IDTT may decide to discharge the inmate-patient to a lower
      level of care after the initial 14-28 day evaluation period.

   2. Inmates who are paroling and require ongoing treatment will be referred to the Parole and
      Community Services Division (P&CSD) Transition Case Management Program and to a
      Parole Outpatient Clinic or to a State hospital per Penal Code 2974.

   3. DMH shall fax a copy of the Discharge Summary to the designated “DMH contact”, of
      the receiving institution at the time of notification of discharge. DMH shall also call the
      receiving institution. The inmate-patient shall then be returned to the CDCR institution
      within five working days after the time of notification, or resolution of any appeal,
      whichever occurs later.

   4. Appeals for denial of return to CDCR will be reviewed by the Coordinated Clinical
      Assessment Team (CCAT), Part V of this document.

   5. Emergency returns to CDCR, shall be accomplished within twenty-four hours. Such
      returns will be with prior notification and approval by telephone of the CDCR
      institution’s C&PR staff and Mental Health Program Director, or designee. DMH shall
      call the receiving institution to provide continuity of care including medication.


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      A dictated, typed discharge summary shall follow as soon as practicable, but not more
      than fourteen days after return.

   6. Discharge Information: For each inmate-patient returning to CDCR from a DMH
      program, DMH shall ensure that the following documents be shall be transferred with the
      inmate-patient to the respective CDCR institution:

      •   Psychiatric Discharge Summary;

      •   Nursing Assessment or Discharge Summary;

      •   Current Physicians orders and/or MAR;

      •   Current Treatment Plan;

      •   Keyhea Order (if applicable).

      The inmate-patient shall not be placed in the transport vehicle without the above
      documents. For each parolee returning to (P&CSD) supervision, DMH shall ensure that
      the parolee’s documents shall be forwarded to the Chief Psychiatrist of the respective
      Parole Region.

      In addition, a DMH discharge packet will be faxed within two weeks of discharge. The
      discharge packet shall include but not be limited to (see Attachment #2-DMH Discharge
      Checklist:

      •   Interdisciplinary Notes for past 15 days;

      •   Physician Progress Notes for past 15 days;

      •   Relevant Consults;

      •   If applicable, forms specific to psych and return, mental health placement and transfer
          information for parolees.

      The DMH psychiatric programs will include in their discharge packets, the forms specific
      to psych and return, mental health placement and transfer information for parolees.

      All DMH programs shall provide written copies of the aforementioned cited materials.
      For VPP and SVPP, due to their close proximity to CMF and SVSP, shall provide the

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      entire UHR for review by the CMF and SVSP Chief of Mental Health instead of the
      above.

   7. When an inmate returns to a prison from DMH, the Receiving & Release nurse shall
   notify Mental Health Service upon arrival. The inmate shall be evaluated by a mental
   health clinician within 24 hours of arrival. Medications shall be continued according to
   Heath Care Department Operations Manual, Medication Management and Pharmacy


E. DMH DAY TREATMENT PROGRAM (DTP) at CMF

   The DTP is a comprehensive treatment program with an emphasis on skill development.
   This program provides treatment for inmate-patients who require a higher LEVEL OF CARE
   than is provided in EOP but do not require 24-hour nursing care. The program includes
   increased programming and supervision to improve level-of-functioning, reduce further need
   for inpatient treatment and promote successful adjustment to the EOP, CCCMS, GP or parole
   environment.

   Admission Criteria

   To be accepted the inmate-patient:

   1. Has an Axis I major (serious) mental disorder with active symptoms.

   2. Does not require 24-hour nursing supervision.

   3. Suffers from mild to moderate impairment of functioning in most life areas that would
      benefit from focused and comprehensive skill development to improve functioning
      within the prison setting or in preparation for parole, and/or requires continuing
      stabilization of psychiatric symptoms in a more structured setting.

   4. Is able to function in a structured therapeutic setting with minimal staff prompting.

   5. Is able to participate in own treatment planning.

   6. Has had no serious suicide attempts in the past 30 days.

   7. Has no acute medical issues.




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   Referral Process

   All referrals shall include a completed DTP referral form and a referral packet, which
   consists of:

   1. Medical H&P for Transfer to DMH;

   2. Current Treatment Plan – CDCR 7388;

   3. Due process or written consent;

   4. Pharmacy profile;

   5. Interdisciplinary Progress Notes for past 15 days;

   6. TB chrono from the referring institution;

   7. Custody Case Factor Sheet; and

   8. CDCR Suicide Risk Assessment (including a SRAC).

   DMH psychiatric programs (VPP and SVPP) shall require only a transfer form
   (see Attachment #3-DMH Referral/Transfer Form) and case factor sheet for DMH-to-DMH
   transfers.

   All male CDCR institutions shall provide written copies of the aforementioned
   cited materials except for CMF where due to their proximity they shall provide the entire
   UHR for review by the DTP Admission and Discharge Coordinator or designee.

   Discharge Process

   DTP options for return to CDCR:

   1. Return to the sending institution provided that institution can meet the treatment needs.

   2. If the inmate-patient requires continued mental health care, transfer to an appropriate
      LEVEL OF CARE (see Chapter 3, CCCMS, and Chapter 4, EOP, for inclusion criteria).

   3. Discharge to parole with a referral to a Parole Outpatient Clinic as needed.



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   4. The inmate-patient shall be returned to the CDCR institution on an expedited basis but no
      later than 5 working days after the time of notification.

   Discharge Procedure

   1. For each inmate-patient returning to CDCR from the DTP, the DTP shall ensure that the
      following documents be shall be transferred with the inmate-patient to the CDCR
      institution (see Attachment #2-DMH Discharge Checklist):

      •   Psychiatric Discharge Summary;

      •   Nursing Assessment or Discharge Summary;

      •   Current Physicians orders and/or MAR;

      •   Current Treatment Plan; and

      •   Keyhea Order (if applicable).

      The inmate-patient shall not be placed in the transport vehicle without the above
      documents. For each parolee returning to P&CSD supervision, the DTP shall ensure that
      the parolee’s documents shall be forwarded to the Chief Psychiatrist of the Parole
      Region.

      In addition, a discharge packet will be faxed within two weeks of discharge. The
      discharge packet shall include but not be limited to:

      •   Interdisciplinary Notes for past 15 days;

      •   Physician Progress Notes for past 15 days;
      •   Relevant Consults;

      •   If applicable, forms specific to psych and return, mental health placement and transfer
          information for parolees.

      The DTP shall provide written copies of the aforementioned cited materials except for
      CMF where due to their proximity; they shall provide the entire UHR for review by the
      CMF Chief of Mental Health or designee.




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F. PROCESS FOR CENTRALIZED DECISION MAKING FOR REJECTIONS AND
   INCOMPLETE PACKETS-CCAT

   The Coordinated Clinical Assessment Team (CCAT) shall review referrals of CDCR inmate-
   patients that were rejected by DMH, and referrals where incomplete items were not resolved
   within two working days. Conducted by members of both the DMH and CDCR DCHCS,
   CCAT provides a centralized approach to expedite the review and decision making process
   for inmate-patients referred to DMH.
   When any DMH program rejects an inmate-patient for admission, or is unable to resolve
   incomplete referral items within two days after referral, a designee from DMH Long Term
   Care shall contact a designee from CDCR DCHCS to initiate the CCAT process. The
   CDCR, DCHCS designee shall facilitate a telephone or videoconference to discuss the case
   with involved clinical and custody staff.

   The CCAT shall include (but not be limited to):

   •   Senior mental health clinician(s) from DCHCS

   •   CDCR HCPOP representative(s)

   •   CDCR Classifications Services Unit representative(s)

   •   The referring clinician and supervising clinician(s) from the referring CDCR institution,
       and

   •   Senior clinician(s) from the relevant DMH programs.

   When reviewing a rejection, a senior clinician from each potentially relevant DMH program
   shall participate in the review. When reviewing an incomplete packet, only the DMH senior
   clinician from the affected state hospital or psychiatric program shall be required to
   participate.

   Case Conferences: The CDCR, DCHCS designee shall schedule case conferences upon
   request by DMH and/or CDCR clinicians regarding a difficult or perplexing inmate-patient
   case, including repeated admissions of the same inmate-patient in a short time frame.

G. HEALTH CARE PLACEMENT OVERSIGHT PROGRAM

   The HCPOP shall assist institution staff in referring and placing an inmate-patient in a DMH
   facility in the following ways:


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   1. Assist field staff with DMH intermediate or acute LEVEL OF CARE referrals

      •   Coordinate with mental health staff at DCHCS headquarters for proper determination
          of appropriate DMH LEVEL OF CARE and subsequent placement determination.

      •   Assist field staff concerning the referral process for the different DMH placement
          settings.
      •   Assist field staff regarding Program Guide and MOU placement requirements such as
          timelines and means of transportation.

   2. HCPOP staff shall assist field staff with appeals of referrals denied by DMH for clinical
      and custody reasons

      •   Assist field staff regarding the DMH appeal process as appropriate (e.g., DMH
          contact persons, obtain written denial).

      •   Coordinate with headquarters DCHCS mental health staff for determination of
          appealing referrals denied by DMH for clinical and/or custody reasons.




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CHAPTER 7
Administrative Segregation

A. INTRODUCTION

   The Administrative Segregation Unit (ASU) Mental Health Services (MHS) program is part
   of the California Department of Corrections and Rehabilitation (CDCR) Mental Health
   Services Delivery System (MHSDS). This Program Guide outlines program policies and
   provides basic institutional operational procedures to ensure the effective delivery of clinical
   services to inmates with serious mental disorders who, for custodial reasons, require housing
   in ASU.

B. RESPONSIBILITY

   1. Overall institutional responsibility for the program shall rest jointly with the Health Care
      Manager and the Warden.

   2. Institutional operational oversight of the ASU MHS shall be the responsibility of the
      Chief of Mental Health at each institution.

   3. Custodial responsibilities, including initial placement, disciplinary actions, correctional
      counseling services, classification, inmate-patient movement, and daily management
      shall rest with the Warden or designee. The assigned psychiatrist or Primary Clinician
      (PC) shall attend all Institutional Classification Committee (ICC) meetings to provide
      mental health input.

   4. Individual clinical case management, including treatment planning, level of care
      determination and placement recommendations, are performed by the assigned PC and
      approved by the institution Interdisciplinary Treatment Team (IDTT).

C. PROGRAM GOALS AND OBJECTIVES

   The goal of the ASU MHS program is to provide necessary mental health services for the
   population of seriously mentally disordered inmates who, for custodial reasons outlined in
   California Code of Regulations Title 15, Section 3335, require placement in ASU.




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   Specific program objectives include:

   1. Continuation of care for inmate-patients with identified mental health treatment needs
      through regular case management activities and medication monitoring to enable
      inmate-patients to maintain adequate levels of functioning and avoid decompensation.

   2. Daily clinical rounds of ALL inmates.

   3. Mental Health screening of inmates who are not currently in the MHSDS caseload to
      identify mental health needs, and referral for further mental health evaluation as
      indicated.

   4. Referral to a more intensive level of care for inmate-patients whose mental health needs
      cannot be met in the ASU, including expeditious placement into Mental Health Crisis
      Beds (MHCB) for inmate-patients requiring inpatient mental health care.

   5. Mental health assessments and input into the classification decision-making process
      during ICC meetings, including the inmate-patient’s current participation in treatment,
      medication compliance, suitability of single celling or double celling, risk assessment of
      self-injurious or assaultive behavior, status of Activities of Daily Living (ADL), ability to
      understand Due Process proceedings, likelihood of decompensation if retained in ASU,
      recommendations for alternative placement, and any other custodial and clinical issues
      that have impact on inmate-patients’ mental health treatment.

   6. Mental health assessments and input into the adjudication of Rules Violation Report
      (RVR) hearing proceedings involving MHSDS inmate-patients.                 Mental health
      information includes the quality of the inmate-patients’ participation in their current
      MHSDS treatment plan, mental condition that may have been a contributing factor in the
      alleged misbehavior, and the ability to comprehend the nature of the charges or
      participate meaningfully in the disciplinary process. Final housing decisions are made by
      the ICC after considering all relevant clinical and custody factors.

D. TREATMENT POPULATION

   Refer to the Treatment Criteria for the level of care in the MHSDS, Chapter 1, Overview
   Program Guide.

   Referral for Mental Health Services

   1. Pre-placement mental health screening: All inmates are screened by medical personnel
      for possible suicide risk, safety concerns, and mental health problems before placement
      in ASU (see Inmate Medical Services Policy and Procedure, Volume 4, Chapter 16:
      CDCR 7219). If an inmate screens positive on the CDCR 128-MH7, ASU Pre-Placement
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      Chrono, they are referred for a mental health evaluation on an Emergent, Urgent, or
      Routine basis, depending on their answers to the screening questions. After completion,
      the CDCR Form 128-MH7, ASU Pre-Placement Chrono, shall be placed in the mental
      health chrono section of the Unit Health Record (UHR). For Urgent and Routine
      referrals, the medical staff conducting the screening shall complete a CDCR 128-MH5,
      Mental Health Referral Chrono, and follow the referral process below.

   2. Current MHSDS inmate-patients: All inmates placed into ASU shall be reviewed for
      identification of current MHSDS treatment status by the time of the initial CDCR-114D,
      Order and Hearing on Segregated Housing, review. This shall occur on the first work
      day following an inmate's placement. Current MHSDS inmate-patients are identified by
      checking the ASU placements reported on the Institutional Daily Movement Sheet with
      the treatment identifier code in the Distributed Data Processing System (DDPS) or the
      Mental Health Tracking System (MHTS) for inmate-patient treatment cases. During the
      initial review, mental health staff will ensure the continuity of mental health care,
      including the delivery of prescribed medications. Upon inmate's placement into ASU,
      nursing staff shall transfer the inmate's Medication Administration Record to ASU,
      consistent with the post orders.

   3. Staff referral: Any staff member who observes possible signs or symptoms of a serious
      mental disorder shall refer an inmate for clinical evaluation by completing a CDCR 128-
      MH5, Mental Health Referral Chrono. The Referral Chrono shall be processed by
      following the referral process below. Any inmate who is observed to be a suicide risk, or
      in any other condition that requires crisis care, shall be immediately screened by the PC
      to assess the potential for suicide and, if appropriate, referral to the MHCB for admission.

   4. Inmates who receive a CDCR 115, Rules Violation Report, for Indecent Exposure or
      Intentionally Sustained Masturbation Without Exposure shall be referred for all of the
      following:

              •   CDCR 115-MH Rules Violation Report: Mental Health Assessment;

              •   A mental health assessment shall be completed within 24 hours to rule-out
                  decompensation and/or intoxication. The referral shall be made by telephone
                  to the local Chief of Mental Health who shall arrange this assessment; and,

              •   For inmate-patients included in the MHSDS, to the inmate-patient’s Primary
                  Clinician

   5. Self referral: Inmates in ASU may request a clinical interview to discuss their mental
      health needs. These requests are made on a CDCR 7362, Health Care Services Request.
      Inmates shall receive the attached pamphlet, “Administrative Segregation Inmate

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      Orientation Mental Health Guide” (available in Spanish), within 24 hours of placement
      into ASU.

   NOTE: When an IDTT determines that an inmate-patient requires treatment of
   exhibitionism, that inmate-patient’s level of care shall be changed to CCCMS, Medical
   Necessity (or higher if appropriate), bypassing the standard referral process.

   Referral process

   Mondays through Fridays, the following shall occur:

   1. A health care staff member shall collect the CDCR 7362, Health Care Services Request,
      and staff referral forms each day from the designated areas.

   2. Upon receipt of the collected forms, a Registered Nurse (RN)/Licensed Vocational Nurse
      shall initial and date each CDCR 7362, Health Care Services Request, and the CDCR
      128-MH5, Mental Health Referral Chrono.

   3. The CDCR 7362, Health Care Services Request, and the CDCR 128-MH5, Mental
      Health Staff Referral, shall be delivered to the designated program representative in
      mental health services, dental services, or pharmacy services for same-day processing.

   On weekends and holidays, the following shall occur:

   1. The Triage and Treatment Area RN shall review each CDCR 128-MH5, Mental Health
      Staff Referral, and CDCR 7362, Health Care Services Request, for medical, dental, and
      mental health services, shall establish priorities on an emergent and non-emergent basis,
      and shall refer accordingly.

   2. If a mental health clinician is not available, the medical officer of the day (MOD),
      physician on call or psychiatrist on call shall be contacted.

   Inmates will be seen by a mental health clinician, or on weekends, by the MOD, physician,
   or psychiatrist on-call within the clinically determined time frame.

      •   Emergent: Emergency cases will be seen immediately or escorted to the Triage and
          Treatment area

      •   Urgent: Urgent cases will be seen within 24 hours

      •   Routine: Other cases will be seen within five working days


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E. CLINICAL ROUNDS AND SCREENING

   Clinical rounds

   A mental health staff member, usually a Licensed Psychiatric Technician (LPT), shall
   conduct rounds seven days per week in all ASUs to attend to the mental health needs of all
   inmates. The LPT shall make initial contact with each inmate placed into ASU within 24
   hours of placement.

   A morning “check-in” meeting between custody and clinical staff shall be held each day. At
   minimum, an ASU Sergeant and an assigned ASU Mental Health clinician (psychologist or
   social worker) shall attend the morning meeting. During the meeting, involved personnel
   shall identify new arrivals, discuss current behavioral issues and concerns, and share any
   pertinent information regarding new arrivals and/or at-risk inmates. Pertinent suicide risk
   information from the MHTS Suicide Tracking Report will be discussed. This meeting shall
   be documented in the ASU Log book and salient clinical information shall be documented in
   the UHR and, if necessary, a referral for mental health services shall be made at the
   appropriate level of urgency.

   In order to establish contact and provide information, mental health staff shall attend to
   developing rapport with new inmates on the first day of mental health rounds.

   Each institution is to ensure that effective communication is observed when inmates have
   limited ability to speak English or are hearing impaired. Interpreter services information
   shall be posted in all areas where phones may be used for that purpose, and all staff assigned
   to ASU shall be provided documented training regarding access and use of services and
   available translation equipment.

   Those inmates not previously identified as having mental health treatment needs who exhibit
   possible signs and symptoms of serious mental disorders are referred, via CDCR 128-MH5,
   Mental Health Staff Referral, for clinical evaluation. Interaction shall be sufficient to
   ascertain the inmate’s mental condition particularly during the first ten days. The LPT shall
   maintain an individual record of clinical rounds on both MHSDS and non-patients by
   initialing next to the inmate's name on the CDCR 114, Isolation Log Book, each time the
   inmate is seen. Any unusual findings that may require closer observation by custody shall be
   documented on the CDCR 114-A, Daily Log, on the same day of occurrence. For identified
   MHSDS inmate-patients, the LPT shall document a summary of daily clinical rounds on a
   CDCR 7230, Interdisciplinary Progress Notes, in the UHR on a weekly basis. Notes will be

   clearly labeled as “Weekly Summary of LPT Clinical Rounds.” If clinically indicated, the
   LPT may provide additional documentation.


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   Screening Questionnaire

   All inmates who are not in the MHSDS and who are retained in ASU shall receive, within 72
   hours of placement in ASU, a mental health screening interview utilizing the 31-question
   mental health screening questionnaire also used in the Reception Centers. The interview
   shall be conducted by a mental health clinician or trained nursing staff in private and
   confidential settings that afford confidentiality of sight and sound from other inmates, and
   confidentiality of sound from staff. Screening interview appointments shall be announced by
   custody staff as “health appointments” to avoid stigmatization and possible retribution by
   other inmates. Every effort shall be made to encourage inmates to attend these appointments.

   The results of the questionnaire are evaluated either by hand-scoring or on an approved
   automated scoring system to determine the need for further evaluation. The scoring sheet
   shall be filed in the UHR. All inmates scoring positive on the questionnaire shall be referred
   to a mental health clinician to be seen within the clinically appropriate time frame. Emergent
   cases shall be seen immediately, Urgent cases shall be seen within 24 hours, all others shall
   be seen within 5 working days.

   All referrals and results of evaluations are documented in individual inmates’ UHR on
   approved forms and entered into the institutional MHTS. Decisions to provide treatment via
   placement into an outpatient program or MHCB shall be entered into DDPS.

F. CLINICAL EVALUATION

   Referral evaluations will be completed within the time frames listed above and consist of the
   following:

   1. A review of the UHR and, if necessary, the Central File, shall be completed and
      documented on approved forms as a part of the assessment process. Past treatment
      needs, medications, and program placements shall be noted.

   2. An individual clinical interview to determine the nature of the problem and a full mental
      status examination. The examination is documented on a CDCR 7386, Mental Health
      Evaluation, and placed into the UHR.

   3. When necessary, as determined by the evaluating clinician in consultation with the IDTT,
      psychological and neuropsychological testing may be conducted as a part of the
      diagnostic assessment of all cases not previously identified as having mental health
      treatment needs (testing is discretionary for inmate-patients currently receiving care who
      have not previously undergone such testing). When suicidality is an issue, a suicide risk
      assessment shall be conducted using the Suicide Risk Assessment Checklist (SRAC).


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   4. All assessments shall conclude with a five axis Diagnostic and Statistical Manual clinical
      diagnosis, be documented on CDCR approved forms, and placed in the inmate’s UHR.

   5. Inmates who are identified as a result of the above process as meeting the clinical criteria
      for MHSDS placement may be referred to a psychiatrist for possible medication needs
      and other interventions as deemed appropriate (including placement into a MHCB for
      initiation of involuntary medication). These referrals shall be made on a CDCR 128-
      MH5, Mental Health Referral.

G. CORRECTIONAL CLINICAL CASE MANAGEMENT SYSTEM (CCCMS) CARE

   Inmate-patients who were receiving treatment at the CCCMS level of care prior to ASU
   placement and those who are newly identified as requiring treatment at this level of care are
   assigned a PC. The IDTT shall include the inmate-patient’s Correctional Counselor who
   shall present case factors of the ASU placement for consideration in development of the
   treatment plan and initiation of an aftercare plan.

   The treatment intervention shall meet the guidelines set forth in the MHSDS Program Guide,
   CCCMS, Chapter 3, and may include the following:

   Required Treatment

   1. Regular monitoring of symptoms by LPTs through daily rounds.

   2. Individual contact every week by the PC, or more frequently as clinically indicated.

   3. Medication treatment and monitoring of compliance by psychiatric and nursing staff

   Other Treatment Activities

   1. Group therapy when deemed clinically appropriate

   2. Self-help therapeutic activities such as reading and writing

   3. When necessary, supportive care for Activities of Daily Living.

H. ENHANCED OUTPATIENT PROGRAM CARE

   1. The Chief of Mental Health or designee, or the Health Care Manager or designee, shall
      present the IDTT's recommendation for the Enhanced Outpatient Program (EOP) level of
      care to the ICC and provide clinical input regarding mental health placement options
      based on the inmate-patient’s clinical needs. Placement options include:

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      a. Referral to an EOP for inmate-patients who are involved in non-violent incidents and
         determined to not be a risk to others.

      b. Transfer to an appropriate ASU EOP hub institution treatment setting within 30 days
         of placement at the EOP level of care designation. Inmate-patients who are involved
         in serious rule violations and whose propensity for threat to others and/or the security
         of the institution is so high that no other alternative placement is considered
         appropriate shall be retained in ASU. These inmate-patients shall receive the EOP
         level of care as described below.

      c. Referral to a Psychiatric Services Unit for inmate-patients who are serving an
         established and endorsed SHU term (placement of these cases requires ICC referral
         and Classification Staff Representative endorsement).

   2. Once identified as requiring EOP level of care, an inmate-patient shall be processed
      through investigations and disciplinary hearings on a priority basis. Where court
      proceedings are required, staff will make every effort to expeditiously support the
      Court’s adjudicative process. In no event shall a pending CDCR 115, Rules Violation
      Report, impede or delay the transfer of these inmate-patients to a hub ASU institution.

   3. Intake Assessment

      a. Within a maximum of five calendar days of the time of placement, an ASU Primary
         Clinician (PC) will be assigned who shall complete a brief evaluation of the inmate-
         patient including a review of the inmate-patient’s mental health history and interview.

      b. A comprehensive mental health clinical assessment shall be done by the PC and other
         IDTT members prior to the initial IDTT. If this evaluation is completed within five
         days, the brief evaluation referenced above need not be completed. This assessment
         shall include at minimum:

          •   Comprehensive review of Central File and UHR of mental health treatment needs,
              including prior placements and medications.

          •   Current mental status examination, including diagnosis and level of functioning.

          •   Daily observation by mental health and custody staff to assess ADL and social
              interactions.

          •   Review of medication history and adjustments to current prescriptions (including
              involuntary medications as necessary) by staff psychiatrist.


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         •   The assigned Correctional Counselor shall be prepared to discuss significant
             disciplinary history and custodial placements.

         •   Review with inmate-patient specific risk factors for violence toward self and
             others.

   4. Interdisciplinary Treatment Team

      a. All EOP inmate-patients will appear at the initial IDTT.

      b. All inmate-patients referred for EOP will be seen by the IDTT prior to the initial ICC
         or within 14 calendar days.

      c. The IDTT will develop a treatment plan on CDCR 7388, Mental Health Treatment
         Plan.

   5. Length of Stay More Than 90 Days

      a. Inmate-patients housed in ASU for more than 90 days shall be reviewed every 30
         days outside of the ICC process, by the Facility Captain and Correctional Counselor
         II. The status of each case, with detailed information regarding reasons for delays in
         the referral, disciplinary, classification, and/or transfer process, shall be compiled and
         reviewed by the Warden or designee (Chief Deputy Warden, or Associate Warden for
         Health Care). The Warden shall ensure that reviewers take action to resolve any
         issues that impact length of stay in ASU.

      b. Inmate-patients housed in ASU for more than 90 days who postpone a RVR hearing
         pending referral to the District Attorney, shall be reviewed for alternate housing. If
         the time housed in ASU is equivalent to the projected SHU term (if the inmate-patient
         has been found guilty of the RVR), the inmate-patient shall be released to a general
         population setting. The Warden or designee shall contact the District Attorney to
         discuss expediting pending cases.

   6. EOP Treatment in ASU Hubs

      To avoid premature returns of inmate-patients and provide adequate time for observation
      and evaluation, inmate-patients transferred to EOP ASU hub institutions for treatment
      shall be held at the hub institution for no less than 60 days from the date of reception.
      Inmate-patients placed into general population housing during the initial 60-days after
      transfer to an ASU EOP hub shall be maintained at the EOP level of care for the duration
      of the 60-day period.


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      Inmate-patients housed in ASU EOP hubs hall be provided care consistent with their
      clinical needs. Each inmate-patient shall have an individualized treatment plan for ten
      hours per week of scheduled structured therapeutic activities, using standardized
      therapeutic materials, with the following services:

      REQUIRED TREATMENT

      a. Medication Management including a psychiatric evaluation by the psychiatrist at
         least every 30 days

      b. Daily LPT rounds seven days per week

      c. Weekly PC contact

      d. Crisis intervention

      OTHER TREATMENT ACTIVITIES

      a. Medication Education

      b. Group Therapy including Anger Management, Stress Management, Substance Abuse
         (where clinically appropriate)

      c. Monitoring and assistance with daily living skills

      d. Recreation therapy both within cell and out of cell; this may include music therapy,
         art therapy, current events

   Inmate-patients who are released from ASU to a general population EOP for continuing
   mental health treatment may require mental health services related to adjustment to
   the general population environment.        The ASU primary clinician shall document
   recommendations regarding the inmate-patient’s specific treatment needs, including any
   concerns about facilitating the inmate-patient’s successful transition to general population.
   The receiving EOP IDTT will consider documentation by the ASU clinician in developing
   the inmate-patient’s treatment plan. The treatment plan for inmate-patients transferred from
   ASU to general population-EOP shall include services provided to aid in the transition to the
   general population environment.

   7. Treatment Refusals

      For inmate-patients who refuse more than 50% of offered treatment during a one-week
      period, the PC shall:

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      •   Interact with these inmate-patients daily on scheduled work days (instead of weekly)

      •   Include in the treatment plan efforts to reduce resistance to participation in group
          therapy

      •   Discuss these inmate-patients during the ASU morning meeting with custody

      •   Consider referral of inmate-patients to higher levels of care and document the results
          of this consideration.

I. INPATIENT PLACEMENT

   Inmates who are found to meet the clinical criteria for referral to the MHCB for inpatient
   care shall immediately be transferred for such treatment, upon authorization by the Chief of
   Mental Health of the sending institution. (Refer to Section 5, Mental Health Crisis Bed, for
   transfer procedure)

   If an ASU inmate-patient in an MHCB is determined to meet the clinical criteria for referral
   to the Department of Mental Health (DMH) program, the Chief of Mental Health or
   designee, of the sending institution shall initiate the referral process following established
   procedures to facilitate the admission to a DMH program.

J. STAND-ALONE ADMINISTRATIVE SEGREGATION UNITS

   1. No participant in the MHSDS shall be housed in a stand-alone ASU. Any inmate-patient
      included in the MHSDS, who is inadvertently placed in a stand-alone ASU, shall be
      transferred out within 24 hours.

   2. LPTs shall make rounds seven days a week.

   3. A mental health clinician shall conduct an assessment of any inmate in a stand-alone
      ASU identified and referred by the LPT or any staff immediately or within 24 hours,
      depending on urgency of the referral. Any inmate who meets criteria for MHSDS shall
      be transferred to another ASU as soon as possible but no longer than 24 hours following
      identification.

K. PLACEMENT         REVIEW        AND     CLINICAL        INPUT     IN    CLASSIFICATION
   COMMITTEE

   1. The initial IDTT is held prior to the initial ICC and as often as needed thereafter, at a
      minimum, once every 90 days. The PC and the Correctional Counselor assigned to the
      case shall present relevant clinical and custody case factors with recommendations

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      concerning treatment and placement needs. The PC shall document the results of the
      IDTT reviews and decisions on the CDCR 7388, Mental Health Treatment Plan.

      A CDCR 128-MH3, Mental Health Placement Chrono, shall be completed by the PC and
      forwarded to correctional counseling staff for necessary classification actions when there
      is a change in the level of care.

   2. The Chief of Mental Health or designee, or in institutions without such a position, the
      Health Care Manager or designee, shall attend the ICC to provide clinical input at the
      committee meeting.

L. INTERDISCIPLINARY TREATMENT TEAM

   The responsibilities for overall treatment planning within the ASU rest with the IDTT.
   These responsibilities include:

   1. Placement decisions for individual cases.

   2. Review of relevant clinical data for diagnostic formulation.

   3. Review of relevant case factors.

   4. Formulation and approval of treatment plans.

   5. Annual and special reviews for continuation or termination of services

   6. Review of treatment response.

   7. Discharge planning.

   The IDTT shall generally be responsible for developing and updating treatment plans. This
   process shall include input from the inmate-patient and other pertinent clinical information that
   may indicate the need for a different level of care. Referrals to higher levels of care shall be
   considered when the inmate-patient’s clinical condition has worsened or the inmate-patient is
   not benefiting from treatment services available at the current level of care. Consideration of
   appropriate level of care shall be documented by the IDTT on a
   CDCR 7230-MH, Interdisciplinary Progress Note, and shall include the justification for
   maintaining the current level of care or referral to a different level of care

   The ASU MHS IDTT is composed of, at a minimum:

      The assigned PC

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      The assigned psychiatrist

      The LPT

      The assigned Correctional Counselor

   Correctional housing officer or any other mental health and custodial staff members who
   have specific information or knowledge relevant to cases under review are encouraged to
   attend. The inmate-patient shall be included in the IDTT, if clinically and custodially
   appropriate, unless the inmate-patient refuses to participate. If the inmate-patient refuses to
   participate, the clinician must document the reason for refusal on a CDCR 7230-MH, Mental
   Health Progress Notes.

M. DUTIES OF CLINICAL CASE MANAGER OR PRIMARY CLINICIAN

   Each inmate-patient within the treatment component of the ASU MHS shall be assigned a PC
   or PC, typically a Clinical Social Worker (CSW) or psychologist. This individual shall
   maintain clinical involvement with the inmate-patient, as well as performing casework
   functions, including the following:

   1. Documentation of initial and updates to the Mental Health Assessment.

   2. In consultation with the IDTT, develop and document initial and updated treatment plans
      that also address security concerns and status.

   3. Weekly individual contact for CCCMS and EOP inmate-patients.

   4. Scheduling for regular or special IDTT reviews.

   5. Response to inquiries regarding clinical status of the inmate-patient.

   6. Attendance at initial IDTT reviews of the inmate-patient, prior to the initial ICC, and at
      subsequent IDTTs, at least every 90 days.

   7. Participation in ICC to provide mental health input.

   8. Liaison with custody and correctional counseling staff regarding overall management of
      inmate-patients.

   9. Group therapy as defined in the inmate-patient’s treatment plan.

   10. Crisis intervention and referral for inpatient care as needed.

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   11. Review of the weekly summary of clinical rounds and documentation of this review in the
       UHR.

N. UNIT HEALTH RECORD

   1. A current record of all treatment plans and progress notes shall be maintained on
      departmentally approved forms within the individual UHR. Only designated staff shall
      have access to this record. All staff shall adhere to the confidentiality requirements.

   2. There are many legitimate exceptions to confidentiality requirements (e.g., institutional
      security). However, every member of the ASU MHS, including correctional staff, shall
      treat all clinical information with professional discretion. No information shall be
      divulged without clinical or correctional necessity.

O. AUTOMATED TRACKING SYSTEM

   The Inmate Mental Health Identifier System (IMHIS) has been designed to track the
   movement of all inmate-patients receiving care in the MHSDS. The data entered into the
   system will be processed daily, so the system will maintain current information regarding
   MHSDS inmate-patients’ current level of care, as well as MHSDS transfers, discharges and
   new cases. All institutions are to conduct a reconciliation of the inmate-patients housed in
   ASU who require mental health treatment with the IMHIS codes for this specific
   population. Daily updates to the IMHIS are mandatory for every ASU.

   All mental health contacts shall be tracked in the MHTS.

P. CUSTODIAL OPERATIONS

   Inmate-patients within the ASU MHS are subject to all rules, custodial requirements,
   activities, and privileges of other ASU inmates.
Q. PHYSICAL PLANT

   Interviews of inmates will be held in a private setting unless the security of the institution or
   the safety of staff will be compromised. Screening and evaluation interviews and treatment
   activities are accomplished in existing interview rooms and exercise areas within
   current ASU units.         The IDTT interviews may require inmate-patient escorts to
   classification/interview rooms. Clinical monitoring and routine interviews, including clinical
   staff daily rounds, may be provided through cell-front contacts as clinically appropriate and
   depending on the cooperation of the inmate. While some therapeutic activities may take
   place within the cell, whenever possible treatment activities should take place out of cell.

   Mental health treatment in ASU may be provided using mental health programming booths.
   All mental health programming booths procured after March 2007, shall conform to design
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   specifications available through the Prison Industry Authority. Booths are available through
   the Prison Industry Authority’s online product catalog at: http://catalog.pia.ca.gov/ using the
   search term “Mental Health Programming Booth.”.




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Security Housing Unit                          Mental Health Services Delivery System


CHAPTER 8
Security Housing Unit
A. INTRODUCTION

   It is the policy of the Department of Corrections and Rehabilitation (CDCR) to provide
   inmates in a prison setting with prompt access to mental health services, regardless of their
   housing designation. Provision of mental health services within a Security Housing Unit
   (SHU) is part of the Mental Health Services Delivery System (MHSDS). Mental health
   services within a SHU are provided to all SHU inmate-patients in accordance with the
   inmate-patient’s treatment needs and level of care. Services are designed to achieve
   symptom management through regular case management activities, medication
   administration and monitoring, crisis intervention, continuous monitoring for signs or
   symptoms of a serious mental disorder, and referral to a more intensive as needed.

   The CDCR currently has four SHUs located at the institutions listed below. Inmates in the
   MHSDS receive services as indicated.

   •   Valley State Prison for Women (females only) – Inmates in this unit receive mental
       health services in conjunction with inmates in the Administrative Segregation Unit
       (ASU).

   •   California Correctional Institution – Inmates are provided Correctional Clinical Case
       Management Services (CCCMS). Inmates requiring the Enhanced Outpatient Program
       (EOP) are referred to a Psychiatric Services Unit (PSU) and transferred to an ASU EOP
       hub while awaiting PSU placement.

   •   California State Prison, Corcoran – Inmates are provided CCCMS in the SHU. Inmates
       requiring EOP services are referred to a PSU and transferred to the ASU EOP hub while
       awaiting PSU placement.

   •   California State Prison, Sacramento – Inmates are provided CCCMS in the SHU.
       Inmates requiring EOP services are referred to a PSU.

   •   Pelican Bay State Prison (PBSP) – Per exclusionary criteria from the federal court,
       inmates with one of the conditions listed below shall not be admitted to the PBSP SHU.




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      1. Documented diagnosis or evidence of any of the following Diagnostic and Statistical
         Manual IV – Axis 1 conditions currently in existence or within the preceding three
         months:

             Schizophrenia (all sub-types);
             Delusional Disorder;
             Schizophreniform Disorder;
             Schizoaffective Disorder;
             Brief Psychotic Disorder
             Substance-Induced Psychotic Disorder (excluding                  intoxication   and
             withdrawal);
             Psychotic Disorder Not Otherwise Specified;
             Major Depressive Disorders;
             Bipolar Disorder I and II

      2. A diagnosed mental disorder that includes being actively suicidal.

      3. A diagnosis of a serious mental illness that is frequently characterized by breaks with
         reality, or perceptions of reality that leads to significant functional impairment.

      4. A diagnosis of “organic brain syndrome” that results in a significant functional
         impairment if not treated.

      5. A diagnosis of a severe personality disorder that is manifested by frequent episodes
         of psychosis or depression and results in significant functional impairment.

      6. A diagnosis of mental retardation.

      7. A prior history, which suggests that the inmate will do poorly in the SHU. This
         includes inmates who have experienced psychotic symptoms that appear to be
         attributable to incarcerations in a SHU environment. These inmates are those for
         whom evidence exists of a deterioration in mental health which correlates with
         placement in SHU or SHU-like environments. Such diagnoses as “Brief Psychotic
         Episode,” “Psychosis NOS,” and “Major Depression” which have been assigned
         during periods of placement in SHU may, for example, be indicative of deterioration
         of mental health which accompanies SHU placement. Inmates whose history
         suggests such a causal relationship should be excluded from SHU.

      8. A history which includes any of the following within the preceding three months:

         a. Medication prescribed to address any of the “at risk” mental health categories
            listed above.
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          b. Therapy and/or supportive services to address any of the “at risk” mental health
             categories listed above.

          c. Frequent (e.g. at least weekly) monitoring for deterioration in mental health
             condition. This does not include situations in which repeated visits by mental
             health staff are attributable to repeated referral from the inmate or from custody
             staff but where no mental health condition is noted.

          d. A history which includes a recurrent or “cyclic” mental health condition (e.g.
             Bipolar Disorder) where the inmate has not currently been symptom free for a
             period of time that is at least twice as long as the longest known period of active
             symptoms or known to demonstrate recurrent symptoms at intervals of
             approximately 6 months, would be considered as “positive” on this indicator until
             they had been symptom free for a continuous period of at least 12 months.

      Where the results of the Unit Health Record (UHR) review reveal that any of the above
      conditions exist, the inmate must be removed from SHU within 96 hours of his arrival on
      that unit.

      Where the results of the UHR review do not reveal the existence of any of the above
      conditions and there is evidence that the inmate has been evaluated with the existing 31
      item mental health screen or other evaluation (documented on a CDCR 7386, Mental
      Health Evaluation) within the preceding 12 month period, the inmate may be housed in
      SHU.

      Where the results of the UHR are equivocal (as where no clear diagnosis is established
      but where mental health contact and observations have suggested that symptoms
      consistent with one or more of the above conditions have been observed) or when no
      mental health evaluation (a 31 item mental health screen or completion of an evaluation
      documented on a CDCR 7386, Mental Health Evaluation) has occurred the preceding 12
      month period, a mental health evaluation shall be conducted.

B. PURPOSE

   This chapter outlines program policies and provides institutional operational procedures to
   assure the effective delivery of mental health services to inmate-patients with serious mental
   disorders who, for custodial reasons, require housing in a SHU, according to California Code
   of Regulations, Title 15.




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C. RESPONSIBILITY

   1. Overall institutional responsibility for the program shall rest jointly with the Health Care
      Manager and the Warden.

   2. Institutional operational oversight of the Mental Health Services in a SHU shall be the
      responsibility of the Chief of Mental Health. The assigned Psychiatrist or Primary
      Clinician (PC) shall attend all Institutional Classification Committee (ICC) meetings in
      the SHU to provide mental health input.

   3. Custodial responsibilities, including initial placement, correctional counseling services,
      classification, inmate movement, and daily management shall rest with the Warden or
      designee.

   4. Clinical case management, including treatment planning and placement
      recommendations, shall be performed by an assigned PC and approved by the SHU
      Interdisciplinary Treatment Team (IDTT).

D. PROGRAM GOALS AND OBJECTIVES

   The goal of the mental health services in the SHU is to provide evaluation and treatment of
   serious mental disorders that are limiting the ability of inmates with high security needs to
   adjust to appropriate institutional placements. Inmate-patients with clinical needs that cannot
   be met within the SHU mental health program, as determined by the IDTT, shall be referred
   to the SHU ICC for consideration of alternative treatment programs.

   The program objectives are to:

   1. Provide regular case management, treatment activities, and medication monitoring, to
      enable inmate-patients to maintain their current level of functioning and avoid
      decompensation.

   2. Ensure that inmate-patients whose clinical mental health needs cannot be met in SHU and
      require a change in level of care are referred for alternative treatment programs by mental
      health clinicians.

   3. Provide clinical rounds every other week by Licensed Psychiatric Technicians (LPT) or
      other clinicians to identify mental health needs for all inmates who are not currently in
      MHSDS. Rounds are provided by PCs at PBSP and by LPTs in other SHUs.

   4. Provide weekly clinical rounds by LPTs or other clinicians of inmates in the MHSDS.


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   5. Conduct mental health assessments to provide input into ICC proceedings concerning the
      inmate-patients’ current participation in the MHSDS program. This includes medication
      compliance, suitability for single or double celling, risk assessment for self injurious or
      assaultive behavior, status of Activities of Daily Living (ADL), ability to understand Due
      Process, likelihood of decompensation if retained in SHU, and recommendations for
      alternative placement.

   6. Conduct mental health assessments to provide input into the adjudication of Rules
      Violation Reports (RVR) hearing proceedings on MHSDS caseload inmate-patients
      according to current policy. Mental health information includes the inmate-patient’s
      participation in the current MHSDS level of care, any mental condition that may have
      been a contributing factor in the alleged behavior, the inmate-patient’s ability to
      comprehend the nature of the charges or the disciplinary process, and any mental health
      factor that the hearing officer should consider in assessing the penalty. Final decisions
      are made in ICC meetings or hearings after considering all relevant clinical and custody
      factors, consistent with Department Operations Manual, Section 62050.13.23
      (ICC/Suspension of SHU terms).

E. TREATMENT POPULATION

   Refer to the Treatment Criteria for the levels of care in the MHSDS Program Guide,
   Chapter 1, Program Guide Overview .

F. SOURCES OF REFERRAL FOR MENTAL HEALTH SERVICES

   1. Current MHSDS treatment cases: Current MHSDS inmate-patients are identified by
      checking the SHU placements reported on the Institutional Daily Movement Sheet to
      ensure the continuity of mental health care including prescribed medications. Upon an
      inmate-patient’s placement into the SHU, the nursing staff from the originating unit shall
      transfer the inmate-patient’s Medication Administration Record (MAR) to the SHU,
      consistent with their post orders.

   2. Staff referral: Any staff member who observes possible signs or symptoms of a serious
      mental disorder may refer an inmate for clinical evaluation by completing a CDCR 128-
      MH5, Mental Health Referral Chrono, and follow the self-referral process below. Any
      inmate who is observed to be a suicide risk, or in any other condition that requires crisis
      care, shall be immediately screened by a PC to assess their potential for suicide and, if
      appropriate, referred to the MHCB for admission. On weekends and holidays, follow the
      self-referral process below.




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   3. Inmates who receive a CDCR 115, Rules Violation Report, for Indecent Exposure or
      Intentionally Sustained Masturbation Without Exposure shall be referred for all of the
      following:

      •   CDCR 115-MH Rules Violation Report: Mental Health Assessment;

      •   A mental health assessment shall be completed within 24 hours to rule-out
          decompensation and/or intoxication. The referral shall be made by telephone to the
          local Chief of Mental Health who shall arrange this assessment; and,

      •   For inmate-patients included in the MHSDS, to the inmate-patient’s PC.

   4. Self referral: Inmates in SHU may request a clinical interview to discuss their mental
      health needs. These requests are made on a CDCR 7362, Health Care Services Request.
      Mondays through Fridays, the following shall occur:

      a. A health care staff member shall collect the CDCR 7362, Health Care Services
         Request, and staff referral forms, 128-MH5, Mental Health Referral Chrono, each
         day from the designated areas.

      b. Upon receipt of the collected forms, an nursing staff shall initial and date each CDCR
         Form 7362, Health Care Services Request, and/or staff referral forms, 128-MH5,
         Mental Health Referral Chrono.

      c. The CDCR Forms 7362, Health Care Services Request, and/or mental health staff
         referrals forms, 128-MH5, Mental Health Referral Chrono, shall be delivered to the
         designated program representative in mental health services for same-day processing.

      On weekends and holidays, the following shall occur:

       a. The Treatment and Triage Area (TTA) registered nurse (RN) shall review each
          mental health staff referral form, 128-MH5, Mental Health Referral Chrono, and
          each CDCR 7362, Health Care Services Request, for the need for medical, dental,
          and mental health services, establish priorities on an emergent and non-emergent
          basis, and refer accordingly.

       b. If a mental health clinician is not available, the medical officer of the day (MOD),
          physician on call or psychiatrist on call shall be contacted.

   5. Inmates will be seen by a mental health clinician, or on weekends by the physician or
      psychiatrist on call within the clinically determined time frame.

         • Emergent: Emergency cases will be seen immediately or escorted to the TTA
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          •   Urgent: Urgent cases will be seen within 24 hours

          •   Other: Other cases will be seen within five working days

    6. Clinical rounds: A mental health staff member, usually a LPT or at PBSP, a PC, shall
       conduct rounds weekly unless clinically needed more often in the SHU to attend to the
       mental health needs of all MHSDS inmates. The LPT shall make rounds of non-
       MHSDS inmates every other week. If an inmate refuses to talk to the LPTs, the LPT
       will discuss the inmate’s functioning with custody staff. The LPT shall maintain an
       individual record of clinical rounds by making a check mark next to the inmate’s name
       on the SHU Inmate Roster each time they are checked. Those inmates who have not
       been previously identified as having mental health treatment needs but exhibit possible
       signs and symptoms of a serious mental disorder shall be referred, via CDCR 128-MH5,
       Mental Health Referral Chrono, to a PC for clinical evaluation. Any unusual findings
       that may require closer observation by custody shall be documented on the 114-A,
       Isolation Log, on the same day of occurrence. The LPT shall document a summary of
       the status of MHSDS inmate-patients in a weekly progress note in the UHR.

    7. All referrals and evaluations shall be documented on approved forms, filed in individual
       inmate UHR, and entered into the Mental Health Tracking System.

    NOTE: When an IDTT determines that an inmate-patient requires treatment of
    exhibitionism, that inmate-patient’s level of care shall be changed to CCCMS (or higher if
    appropriate), bypassing the standard referral process.

G. CORRECTIONAL CLINICAL CASE MANAGEMENT SYSTEM (CCCMS)

   The mental health staff shall continue to provide mental health services to inmate-patients
   with the CCCMS level of care designation after they are placed in SHU. Inmate-patients
   who meet the clinical criteria of MHSDS resulting from staff referrals, self-referrals, or
   clinical rounds shall also receive mental health evaluation and ongoing services, if
   determined appropriate. Each MHSDS inmate-patient is assigned a PC.

   1. Interdisciplinary Treatment Team

      a. The responsibilities for overall treatment planning within the CCCMS program rest
         with an IDTT. These responsibilities include:

          •   Placement decisions for individual cases

          •   Review of relevant clinical data for diagnostic formulation
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           •   Review of relevant case factors

           •   Formulation and approval of treatment plans

           •   Annual and special reviews for continuation or termination of services

           •   Review of treatment response

           •   Discharge planning

       b. The IDTT is composed of, at a minimum:

           •   The assigned PC (either a psychologist or a Clinical Social Worker).

           •   The LPT

           •   The SHU Senior Psychologist or designee

           •   The assigned psychiatrist

           •   The assigned Correctional Counselor

           •   The inmate-patient (if clinically and custodially appropriate). The inmate-patient
               shall be included in the IDTT, unless the inmate-patient refuses to participate. If
               the inmate-patient refuses to participate, the clinician must document the reason
               for refusal in the CDCR 7230, Mental Health Progress Notes. Inmate-patients
               shall not be disciplined for not participating in IDTT.

           •   The housing custody officer or any other staff member who has direct knowledge
               of the inmate-patient under review is encouraged to attend. As the staff involved
               in day-to-day interactions with inmate-patients, custody officers can provide input
               in assessing clinical status and continuing needs, and support in implementing
               treatment programs.

      c. All CCCMS inmate-patients are seen in the initial IDTT that is held prior to the initial
         ICC hearing (within 14 calendar days of arrival in SHU) and quarterly thereafter.
         Some inmate-patients may be seen more frequently by the IDTT in special reviews at
         the request of the assigned PC or psychiatrist whenever changes in the level of care or
         treatment plans are indicated. The results of the IDTT reviews and decisions shall be
         documented by the PC in the interdisciplinary progress notes and filed in the UHR.
         These notes shall include the following:
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          •   Names of all IDTT members present

          •   Inmate-patient’s participation

          •   Inmate-patient’s suitability for single or double celling

          •   Risk assessment for self injurious or assaultive behavior

          •   Current medication regimen

          •   Compliance with treatment, including medication

          •   Status of ADL

          •   Treatment goals and objectives, progress or lack of progress in treatment

          •   Recommendations for placement options

          •   Need for staff assistance

          •   ICC action

      d. CDCR 128-MH3, Mental Health Placement Chrono, shall be completed by the PC
         and forwarded to correctional counseling staff for necessary classification actions
         when there is a change in the level of care.

   2. Functions of the PC in SHU may include the following:

      a. Complete mental health evaluation on new cases. If an inmate-patient is an active
         CCCMS case and the Mental Health Assessment has been completed by a previous
         clinician, the PC shall update the assessment.

      b. In consultation with the IDTT, develop and document initial and updated
         CDCR 7388, Treatment Plans, that also address security concerns and status.

      c. Provide individual monitoring contact once every 30 days at a minimum for CCCMS
         inmate-patients, or more frequently as clinically indicated.

      d. Participate in IDTT meetings.

      e. Participate in ICC to provide mental health input.
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      f. Provide crisis intervention and referral for a more intensive level of care as needed.

      g. Perform as liaison with custody and correctional counseling staff regarding overall
         management of inmates.

   3. Treatment Modalities: Based on identified needs, the following treatment modalities are
      available:

      REQUIRED TREATMENT

      •   Individual meeting with PC at least every 30 days or more frequently as clinically
          indicated.

      •   Quarterly IDTT update of treatment plan.

      •   Medication evaluation, review, and monitoring of compliance by psychiatric and
          nursing staff for those inmate-patients receiving medication.

      •   Regular monitoring of symptoms by LPTs through weekly rounds of all MHSDS
          inmate-patients and rounds every other week of all non-MHSDS inmates.

      OTHER TREATMENT ACTIVITIES

      •   Orientation and supportive counseling for institutional adjustment

      •   Individual counseling and crisis intervention

      •   Group therapy such as anger management and relapse prevention

      •   Social skills training

      •   Consultation services, such as to education and work programs

      •   Clinical discharge or clinical pre-release planning


H. ENHANCED OUTPATIENT PROGRAM

   Inmate-patients who are serving an established and approved SHU term and require an EOP
   level of care shall be referred to a PSU. While awaiting placement for a PSU, these inmate-

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   patients shall be transferred to an EOP ASU hub within 30 days of being designated as
   requiring EOP care. EOP mental health services shall be provided in the EOP ASU Hubs.

I. PLACEMENT REVIEW AND CLINICAL INPUT INTO ICC

   1. The appropriateness of an inmate-patient’s placement in SHU shall be reviewed in
      regularly scheduled ICC meetings. The Chief of Mental Health or designee, is a member
      of the ICC. In that capacity, he/she shall present the IDTT's recommendations regarding
      placement recommendations, based on the inmate-patient’s clinical needs. Designees
      shall be a psychiatrist, a licensed psychologist, or a Licensed Clinical Social Worker.

   2. All identified CCCMS and EOP inmate-patients in SHU shall receive continued mental
      health services managed by the assigned PC. An exception to this policy will occur at
      PBSP when an inmate-patient meets the exclusionary criteria at which time the inmate-
      patient shall be transferred to an appropriate treatment setting such as the PSU for EOPs
      or a SHU with CCCMS care. Any inmate in the PBSP SHU who is identified as having
      one of these diagnoses and requiring EOP level of care shall be transferred within 96
      hours out of the PBSP SHU to the PSU, EOP or Correctional Treatment Center (CTC).

   3. Inmate-patients in the PBSP PSU recommended by the IDTT for CCCMS are scheduled
      for the next available ICC and referred for transfer to the COR SHU. They are housed in
      ASU pending transfer.

   4. An inmate-patient whose clinical needs cannot be adequately met through regular case
      management activities shall be referred to ICC for consideration of alternative clinical
      placement, including placement in a Level IV EOP. Inmate-patients who are determined
      to meet the clinical criteria for referral to the MHCB shall immediately be transferred to
      MHCB. Upon approval by the Chief of Mental Health, or designee, the PC shall initiate
      such referrals, based on the direct observation and assessment.

   5. The ICC shall review all referrals for alternative placement and may recommend one of
      the following placement options, based on the clinician’s input and Correctional
      Counselor review of case factors:

      a. Transfer to the MHCB program. This option is for inmate-patients who require 24-
         hour crisis care and do not require ICC review.

      b. Transfer to an appropriate inpatient program through Department of Mental Health
         (DMH).

      c. Transfer to a PSU. This option is for male inmate-patients who require both
         maximum custodial controls and EOP level of care. Female inmate-patients will
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          continue to be treated in SHU, consistent with updated individualized treatment plans
          and LOC, until a PSU for female inmate-patients is established.

      d. Suspension of SHU term and placement in the Level IV EOP: This option is for
         inmate-patients who are determined by the ICC to no longer require the maximum
         custodial controls of SHU.

      e. All inmate-patients requiring EOP care shall be transferred to either a PSU or EOP,
         as determined by the ICC, within 60 days or 30 days, if clinically indicated.

J. UNIT HEALTH RECORD

   A current record of all CDCR 7386, Mental Health Evaluations, CDCR 7388, Treatment
   Plans, and CDCR 7230, Interdisciplinary Progress Notes, shall be maintained in the UHR.
   Records shall include documentation regarding modifications to an inmate-patient’s
   treatment plan for developmental and other disabilities. Only designated staff shall have
   access to this record. All staff shall adhere to the confidentiality requirements. No
   information shall be divulged without clinical or correctional necessity.

K. AUTOMATED TRACKING SYSTEM

   The Inmate Mental Health Identifier System (IMHIS) has been designed to track the
   movement of all inmate-patients receiving care in the MHSDS. The data entered into the
   system shall be processed daily, so the system will maintain current information regarding
   MHSDS inmate-patients’ current level of care as well as MHSDS inmate-patient transfers,
   discharges, and new cases. All institutions shall conduct a reconciliation of the inmate-
   patients housed in ASU and SHU who require mental health treatment with the IMHIS codes
   for this specific population. Daily updates to the IMHIS are mandatory for every SHU.

   Inmate-patients clinical contacts shall be tracked in the Mental Health Tracking System .

L. CUSTODIAL OPERATIONS

   Inmate-patients with a serious mental disorder within the SHU are subject to all rules,
   custodial requirements, activities, and privileges of other SHU inmates.

M. PHYSICAL PLANT

   Screening and evaluation interviews and treatment of inmates shall be held in a private
   setting unless the security of the institution or the safety of staff will be compromised. The
   IDTT interviews may require inmate-patient escorts to classification/interview rooms.
   Clinical monitoring and routine interviews, including clinical staff rounds, may be provided
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   through cell-front contacts as clinically appropriate and depending on the cooperation of the
   inmate. While some therapeutic activities may take place within the cell, whenever possible
   treatment activities should take place out of cell.

   Mental health treatment in SHU may be provided using mental health programming booths.
   All mental health programming booths procured after March 2007, shall conform to design
   specifications available through the Prison Industry Authority. Booths are available through
   the Prison Industry Authority’s online product catalog at: http://catalog.pia.ca.gov/ using the
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Psychiatric Services Unit                       Mental Health Services Delivery System


CHAPTER 9
Psychiatric Services Unit
A. INTRODUCTION

   The Psychiatric Services Units (PSU) were developed to deliver mental health services to
   inmates who have been diagnosed as having a serious mental disorder and are serving a
   Security Housing Unit (SHU) term. The purpose of the PSU is to assure the effective
   delivery of Enhanced Outpatient Program (EOP) services to inmate-patients in a maximum-
   security setting. The PSUs are currently located at the Pelican Bay State Prison, California
   State Prison, Sacramento, and for female inmates at the California Institute for Women.

B. PROGRAM GOALS AND OBJECTIVES

   1. The goal of the PSU is to provide evaluation and treatment of serious mental disorders
      that are limiting the ability of inmates with high security needs to adjust to appropriate
      institutional placements. The overall objective is to provide clinical intervention to
      return the individual to the least restrictive clinical and custodial environment.

   2. More specific program objectives for individual cases may include:

      a. Providing comprehensive mental health assessment of inmates to determine their
         need for treatment and appropriate clinical placement.

      b. Providing alternative housing for inmate-patients whose mental health needs limit
         their ability to adjust to placement within the SHU.

      c. Providing clinical interventions that reduce the inmate-patients’ behavioral problems
         and allow re-integration into less restrictive clinical and custodial placements, or, for
         inmate-patients approaching release dates, transition to parole status.

      d. Assisting inmate-patients in acquiring skills to function more appropriately and
         successfully in an institutional setting.




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C. PROGRAM RESPONSIBILITY

   1. The overall institutional responsibility for the program rests jointly with the Health Care
      Manager (HCM) and the Warden.

   2. The coordination of clinical activities within the PSU is the responsibility of the PSU
      Senior Psychologist. The PSU Senior Psychologist is responsible for ensuring that the
      PSU Mental Health Program is in compliance with the Mental Health Services Delivery
      System (MHSDS).

   3. The PSU Facility Captain will oversee custodial responsibilities, correctional counseling
      services, and classification actions.

   4. Decisions on inmate-patient treatment plans, individual inmate-patient program activities,
      and level of care are made by the Interdisciplinary Treatment Team (IDTT).

D. POPULATION TO BE SERVED

   Any California Department of Corrections and Rehabilitation (CDCR) inmate-patient with a
   SHU classification who requires an EOP level of care will be housed in the PSU. Refer to
   the Treatment Criteria for the levels of care in the MHSDS Program Guide, Chapter 1,
   Overview Program Guide.

E. REFERRAL AND ENDORSEMENT

   SHU inmates shall be placed into PSU when a mental health evaluation determines that EOP
   level of care is indicated or when an EOP inmate receives an established and approved SHU
   term. Staff shall not postpone a referral to the Classification Services Representative (CSR)
   for any unresolved disciplinary infractions or District Attorney referral determinations. In
   cases where restrictions may apply (e.g., parole violators returned to custody who are
   awaiting a parole revocation extension hearing), the inmate-patient will be referred to the
   CSR for PSU endorsement and retained at the ASU hub until the revocation process is
   complete, then transferred to the PSU if still appropriate.

   1. When an inmate-patient has both an active SHU Term and EOP level of care, he will be
      referred for placement in a PSU. The referring source must complete a CDCR 128-MH3,
      MHSDS Placement Chrono, outlining the need for PSU placement. This CDCR 128-
      MH3, MHSDS Placement Chrono, must be signed by the referring institution’s Chief of
      Mental Health or designee.

   2. The Institutional Classification Committee (ICC) at the referring institution shall make a
      referral to the CSR for endorsement.
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   3. Once endorsement is obtained, the inmate-patient shall be transferred to a PSU.

   4. EOP inmate-patients with an established and approved SHU term shall be transferred
      within 30 days of designation to an EOP ASU hub and will be provided EOP care while
      awaiting PSU placement.

   5. Per exclusionary criteria from the federal court, inmate-patients with one of the diagnoses
      listed below shall not be admitted to the PBSP SHU. SHU EOP inmate-patients with one
      of the diagnoses shall be placed in a PSU. Any inmate already in a SHU who is
      identified as having one of these diagnoses and requiring EOP level of care shall be
      transferred within 96 hours out of the PBSP SHU to the PSU, EOP or Correctional
      Treatment Center (CTC).

   6. If an inmate in the PBSP SHU is diagnosed with one of the exclusionary diagnoses and
      requires Correctional Clinical Case Management System (CCCMS) level of care, he shall
      be moved within 96 hours to ASU, the PSU, or the CTC. The inmate shall be reviewed
      by the ICC and referred for transfer to the California State Prison, Corcoran SHU. If the
      inmate-patient’s diagnosis does not meet exclusion criteria, he shall be retained in the
      SHU and reviewed weekly by clinical staff. The exclusionary diagnostic criteria are:

      •   Schizophrenia (any subtype)           •   Major Depressive Disorder
      •   Delusional Disorder                   •   Bipolar Disorder I or II
      •   Schizophreniform Disorder             •   Brief Psychotic Disorder
      •   Schizoaffective Disorder              •   Mental retardation
      •   Substance Induced Psychotic           •   Any mental disorder which
          Disorder (excluding intoxication          includes inmate being
          and withdrawal)                           actively suicidal
      •   Psychotic Disorder Not Otherwise      •   Organic Brain Syndrome
          Specified                                 consistent with significant
                                                    functional impairment
      •   Any mental illness characterized by •     Severe personality disorder
          breaks with reality or perceptions        manifested by frequent episodes of
          of reality leading to significant         psychosis or depression and
          functional impairment                     resulting in significant functional
                                                    impairment

F. CLINICAL SERVICES

   Intake Assessment

   1. The Senior Psychologist or designee shall appoint a Primary Clinician (PC) for each
      inmate-patient admitted to the PSU. The PC shall complete a brief evaluation of the
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      inmate-patient including a review of the inmate-patient’s mental health history and an
      interview in a timeframe clinically determined appropriate but not more than five
      calendar days after arrival in the PSU.

   2. All inmate-patients will be evaluated by the IDTT prior to the initial ICC but not later
      than 14 calendar days after arrival in the PSU.

   3. A comprehensive mental health clinical assessment shall be done by the PC and other
      IDTT members prior to the initial IDTT. This assessment shall include at minimum:

      a. Comprehensive review of the central file and unit health record (UHR) of mental
         health treatment needs, including prior placements and medications.

      b. Current mental status examination, including diagnosis and level of functioning.

      c. Daily observation by mental health and custody staff to assess Activities of Daily
         Living and social interactions.

      d. Review of medication history and adjustments to current prescriptions (including
         involuntary medications as necessary) by staff psychiatrist.

      e. Review of disciplinary history and custodial placements by the assigned Correctional
         Counselor or Lieutenant.

      f. Review specific risk factors for violence toward self and others. This includes a
         suicide risk assessment if indicated.

   4. The IDTT will make a decision regarding appropriate placement. This decision includes
      the following options:

      a. Retention for an additional 14 calendar days to determine the inmate-patient’s
         appropriateness for PSU placement.

      b. Referral to the Department of Mental Health (DMH) for inpatient care.
         Inmate-patients shall be referred to the DMH Acute Psychiatric Program (APP) at the
         California Medical Facility (CMF) for acute care. Inmate-patients requiring
         intermediate care shall be referred to the DMH Salinas Valley Psychiatric Program.
         All female inmate-patients requiring Department of Mental Health level of care shall
         be referred to Patton State Hospital.

      c. Placement in Mental Health Crisis Beds (short term crisis stabilization, including
         initiation of involuntary medications when required).

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      d. Retention in the PSU Treatment Program if the inmate-patient requires EOP level of
         care.

      e. Referral to classification committee recommending SHU placement if the inmate
         qualifies for CCCMS care or has been discharged from the MHSDS. Inmate-patients
         with any of the exclusionary diagnoses listed in Section E, Referral and
         Endorsement, Paragraph 6 above, shall not be placed in the PBSP SHU.

      f. If the SHU term has been served, general population placement at the appropriate
         level of care including EOP.

   Interdisciplinary Treatment Team

   1. The PSU IDTT shall be chaired by the PSU Senior Psychologist. All clinical decisions
      regarding intake, treatment planning, re-justification of level of care, and discharge, are
      made by the PSU IDTT. The IDTT is composed of, at minimum:

      •    Senior Psychologist

      •    Assigned Psychiatrist

      •    PSU Facility Captain

      •    Correctional Counselor II

      •    Assigned Primary Clinician

      •    Inmate-patient

      Other PSU staff such as a Recreation Therapist (RT), Nursing staff, Licensed Psychiatric
      Technician (LPT), Sergeant and Correctional Officers, and/or custody representatives
      may attend. A representative from the IDTT (the assigned PC or designee) shall be
      present in all classification hearings regarding inmate-patients to provide mental health
      input into the classification decision-making process. The inmate-patient shall be
      included in the IDTT, unless the inmate-patient refuses to participate. Inmate-patients
      shall not receive a CDCR 115, Rules Violation Report, for not participating in IDTT.
      The PC documents the reason for refusal on the CDCR 7230-MH, Mental Health
      Progress Notes, in the UHR. The PC is responsible for presenting the inmate-patient’s
      concerns to the IDTT.


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   2. After the initial IDTT, inmate-patients will be evaluated by the IDTT minimally at 60
      and 120 days after admission and at least every 90 days thereafter or sooner, whenever
      there is a significant change in level of functioning. The IDTT will evaluate treatment
      progress, update the treatment plan and review the discharge goals. The PC assigned to
      the case will present a case summary with recommendations for continued treatment or
      discharge. The results of all IDTT reviews, decisions and recommendations will be
      documented in the UHR. Initial and level of care changes are documented on a
      CDCR 128-MH-3, Mental Health Placement Chrono, and forwarded to the Correctional
      Counselor II.

   3. The responsibility for mental health treatment planning for inmate-patients in the PSU
      rests with the IDTT. These responsibilities include:

       a. Admission decisions

       b. Treatment planning

       c. Periodic case reviews and re-justifications of treatment at 60, 120 and at least
          every 90 days thereafter, or whenever there is a significant change in the inmate-
          patient’s functioning that requires a change in the treatment plan.

       d. Discharge recommendations – The initial treatment plan and all subsequent treatment
          plans shall include a discharge plan and behavioral goals to discharge the inmate-
          patient from the PSU to a less intensive level of care.

   Primary Clinician

   Each inmate-patient in the PSU shall be assigned a PC, usually a Clinical Social Worker
   (CSW) or psychologist, although other clinicians may be assigned to cases with special
   needs. The PC will maintain active clinical involvement with the inmate-patient, as well as
   performing casework functions, including the following:

   •   Documentation of initial treatment plan and updates

   •   Regular clinical contacts with assigned inmate-patients

   •   Ensuring scheduling of periodic IDTT reviews

   •   Attendance at IDTT reviews of the inmate-patient

   •   Referral to, and coordination with, the assigned staff psychiatrist

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   •   Response to CDCR inquiries regarding clinical status of the inmate-patient

G. TREATMENT PROGRAM

   1. Each PSU shall have an Operational Plan that describes its treatment program. Each PSU
      shall have a behavioral incentive program with criteria for achieving and retaining each
      level. Every level has certain privileges. See the Operational Plan at each institution for
      a complete description.

   2. Treatment Plan

       a. Each inmate-patient in the PSU shall have a current individual treatment plan on
          CDCR 7388, Mental Health Treatment Plan.

       b. The treatment plan shall be reviewed by the IDTT at 60 and 120 days after admission,
          at least every 90 days thereafter, or whenever there is a significant change in the
          inmate-patient’s functioning requiring a change in the treatment plan.

       c. There shall be a CDCR 7230-MH, Mental Health Progress Note, documenting the
          IDTT meeting that includes a list of members in attendance.

       d. Each treatment intervention shall be directed to a problem on the inmate-patient’s
          Problem List.

       e. Each treatment intervention shall indicate the provider, type of intervention (e.g.
          individual or group therapy), frequency of intervention, outcome objectives, and
          specific measurable behavioral goals.

       f. Discharge from the EOP or transfer to another level of care will be documented on a
          CDCR 128-MH3, Mental Health Placement Chrono.

   3. Within the PSU, each inmate-patient shall have an individualized treatment plan that
      provides for treatment consistent with the inmate-patient’s clinical needs. Each inmate-
      patient will be offered at least ten hours per week of scheduled structured therapeutic
      activities as approved by the IDTT. It is recognized that not all inmate-patients can
      participate in and/or benefit from ten hours per week of treatment services. For some
      inmate-patients, ten hours per week may be clinically contraindicated. For those inmate-
      patients scheduled for fewer than ten hours per week of treatment services, the PC shall
      present the case and recommended treatment program to the IDTT for approval. The
      CDCR 7388, Mental Health Treatment Plan ,must include a detailed description of the
      diagnosis, problems, level of functioning, medication compliance, and rationale for
      scheduling fewer than ten hours. For inmate-patients who are scheduled for fewer than
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       ten hours of treatment activities per week, the IDTT shall meet at least monthly and be
       responsible to review and increase the treatment activities, and consider higher level of
       care as appropriate.

   REQUIRED TREATMENT

   •   Individual treatment planning involves a meeting of the IDTT and the
       inmate-patient at least every 90 days for the purpose of identifying treatment needs,
       developing treatment plans, assessing treatment progress, and updating/revising
       individual treatment plans in accordance with the inmate-patient’s needs and progress.

   •   Weekly PC contact (either individually or in group psychotherapy) with assigned inmate-
       patients. Individual clinical contacts shall occur at least every other week.

   •   Medication evaluation and management

   •   A psychiatrist shall evaluate each EOP inmate-patient at least monthly to address
       psychiatric medication issues.

   •   Refer to Heath Care Department Operations Manual, Medication Management
       and Pharmacy, regarding procedures for administration of medication,
       medication refusals, Directly Observed Therapy, medication adherence, and other
       aspects of medication administration.

   •   Refer to MHSDS Program Guide, Chapter 5, Mental Health Crisis Bed, for information
       on involuntary medication administration (Keyhea).

   OTHER TREATMENT ACTIVITIES

   •   Individual psychotherapy

   •   Group therapy such as Anger Management, Stress Management, Offense-related Issues,
        Current Events

   •   Medication education

   •   Crisis intervention

   •   Pre-release planning

   •   Monitoring and assistance with daily living skills

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   •   Cognitive Behavioral Therapy directed to specific behaviors or symptoms

   •   Recreational activities

   •   Vocational and pre-vocational training as available

   •   Education as available

   •   12-Step Program and other substance abuse treatment

   4. CCCMS – Pelican Bay State Prison

       PSU inmate-patients identified as requiring CCCMS level of care shall be transferred as
       soon as possible to a SHU that provides CCCMS care. Inmate-patients with any of the
       exclusionary diagnoses listed in Section E, Referral and Endorsement, Paragraph 6
       above, shall not be placed in the PBSP SHU. Pending transfer, inmate-patients will
       receive the following services within the PSU:

       a. Assignment of a PC for the purposes of regular monitoring and program review. The
          PC shall see the inmate-patient at least every other week or more often if clinically
          indicated.

       b. Monitoring of symptoms by clinical staff

       c. Development or review of an individualized treatment plan

       d. Medication, treatment and monitoring

       e. Monitoring of daily living skills

       f. Pre-release planning

       g. Consultation regarding behavior deterioration or other contingency management
          procedures

H. DOCUMENTATION

   1. Clinical documentation will occur as required. This includes but is not limited to:

       a. Initial assessment on CDCR 7386, Mental Health Evaluation, and initial treatment
          plan and updates on CDCR 7388, Mental Health Treatment Plan, by the PC.

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      b. CDCR 7230-MH, Mental Health Progress Notes, documenting weekly contacts and
         any other treatment interventions done by all staff. Group therapy shall be
         documented monthly. This documentation shall include time attended and a
         description of the inmate-patient’s level of participation.

      c. Completion of CDCR 128 MH3, Mental Health Placement Chrono, whenever there
         is a change in level of care.

   Documentation on CDCR 114-A, Detention/Segregation Record

   The CDCR 114-A, Detention/Segregation Record (commonly referred to as the Isolation
   Log), is a daily record of the inmate-patient’s activities and is used to note the inmate-
   patient’s behavior as well as to document services provided. The activities report shall
   record the inmate-patient’s daily activities such as showers, yard, meals, visits, clothing/linen
   exchange and supplies. This form shall be used to record attendance at treatment activities
   such as individual and group therapy, and recreational therapy. The CDCR 114-A,
   Detention/Segregation Record, shall also include a list of approved scheduled structured
   therapeutic activities. All relevant chronos shall be attached. Staff may also document their
   observations and comments regarding the inmate-patient and his program. Significant events
   affecting the inmate-patient’s treatment program should be recorded on this form such as
   those listed below.

   1. Unit staff shall initiate a CDCR 114-A, Detention/Segregation Record, for all inmate-
      patients housed in the unit.

   2. Unit officers on every shift shall fill out the CDCR 114A, Detention/Segregation Record,
      noting the inmate-patient’s activities during their shift. The correct date and time are
      critical factors. When a CDCR 114-A, Detention/Segregation Record, is completely
      filled out, the last officer making the entry will prepare and begin a new form.

   3. A daily chronological report of each PSU inmate-patient will be kept on the CDCR 114A
      Detention/Segregation Record, which will include meals, showers, yard, visits, law
      library, supplies, clothing and linen issue, or other pertinent information.

   4. When an inmate-patient is escorted to a CDCR 115, Rules Violation Report disciplinary
      hearing, the CDCR 114-A, Detention/Segregation Record, will be taken to the hearing.
      The Hearing Officer or Senior Hearing Officer, will note the CDCR 115, Rules Violation
      Report log number, findings, and disposition on the CDCR 114-A, Detention/Segregation
      Record.

   5. When an inmate-patient is seen or his/her case is heard by ICC, the CDCR 114-A Form
      will be taken with the inmate-patient and given to the Committee. The Correctional

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      Counselor II will note on the CDCR 114-A, Detention/Segregation Record, whether the
      inmate-patient attended or refused to attend the Classification meeting and the action
      taken.

   6. A classification disposition such as “Confined to Quarters”, loss of privileges, or a
      restriction, will be noted on the CDCR 114-A, Detention/Segregation Record, and
      continued on successive CDCR 114-A, Detention/Segregation Record, until the action
      has expired.

   7. Other possible entries may include canteen, legal mail, packages, and issuance of
      property or cell moves/searches.

   8. Staff making the entry on the CDCR 114-A, Detention/Segregation Record, will clearly
      and legibly sign their first initial and last name.

   9. All of the CDCR 114-A, Detention/Segregation Record, are to be kept in a folder(s) that
      are maintained within the housing unit and are available to all staff who interact with the
      inmate-patient. On Sunday of each week, First Watch staff will perform an audit of each
      inmate-patient’s CDCR 114-A, Detention/Segregation Record, and prepare a unit
      compliance report. These reports will be forwarded to the PSU Facility Captain for
      review and retention.

   Unit Activity Log

   Custody staff must record and share with the clinical staff any observations that may impact
   an inmate-patient’s treatment plan or provide insight into the success or ineffectiveness of
   the current treatment plan. This is particularly critical for First Watch staff. Each housing
   unit shall maintain a logbook reflecting daily activities and information of interest to all staff.
   All unusual activities will be recorded in the logbook. Observations of unusual or aberrant
   behavior shall be recorded via a CDCR 128-B, Informational Chrono. Behavior that
   constitutes an infraction of institutional rules or policies may be recorded via a CDCR 115,
   Rules Violation Report.

I. CUSTODIAL OPERATIONS

   Classification

   The Operational Plan of each PSU will contain a detailed description of applicable custody
   procedures. These procedures shall be in compliance with relevant California Code of
   Regulations, Title 15, and Department Operational Manual requirements.



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   Removal from a Cell

   1. Escorts – Inmate-patients housed in the PSU shall be assigned escorts and program status
      at the ICC review. All inmate-patients shall be escorted at all times when they are
      outside their respective housing unit sections. Individual escorts shall be performed by a
      minimum of two custody officers, and the inmate-patient shall be secured with
      mechanical wrist restraints at all times during the escort.

   2. The inmate-patient may be recommended for additional escort status by the IDTT or
      through the disciplinary process. This shall be approved by the PSU Facility Captain.

   Out-of-Cell Exercise

   All inmate-patients assigned to the PSU shall be offered a minimum of ten hours of out-of-
   cell exercise each week, which may include supervised recreational therapy. An inmate-
   patient’s yard designation shall be established by the ICC with input from the IDTT as part
   of the individual treatment plan.

J. PHYSICAL PLANT

   Mental health treatment in Psychiatric Services Units may be provided using mental health
   programming booths. All mental health programming booths procured after March 2007,
   shall conform to design specifications available through the Prison Industry Authority.
   Booths are available through the Prison Industry Authority’s online product catalog at:
   http://catalog.pia.ca.gov/ using the search term “Mental Health Programming Booth.”

K. SICK AND DENTAL CALL AND MENTAL HEALTH REFERRALS

   1. The PSU shall have mental health staff on duty during Second Watch. Each day, the
      assigned physician, Registered Nurse (RN) or LPT will tour the unit and assess any
      inmate-patient with medical/dental needs.

   2. During Second Watch, inmate-patients requiring medical attention will be referred to the
      PSU RN.

   3. Staff Referral: Referrals may be made on CDCR 128 MH5, Mental Health Referral
      Chrono.

   4. Inmates who receive a CDCR 115, Rules Violation Report for Indecent Exposure or
      Intentionally Sustained Masturbation Without Exposure shall be referred for all of the
      following:


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      •   CDCR 115-MH Rules Violation Report: Mental Health Assessment;

      •   A mental health assessment shall be completed within 24 hours to rule-out
          decompensation and/or intoxication. The referral shall be made by telephone to the
          local Chief of Mental Health who shall arrange this assessment; and,

      •   To the inmate-patient’s PC.

   5. Self referral: These requests are made on a CDCR 7362, Health Care Services Request.
      Mondays through Fridays, the following shall occur:

      a. A health care staff member shall collect all the CDCR 7362, Health Care Services
         Request, each day from the designated areas.

      b. Upon receipt of the collected forms, nursing staff shall initial and date each
         CDCR 7362, Health Care Services Request.

      c. The CDCR 7362, Health Care Services Requests, shall be delivered to the designated
         program representative in mental health services, dental services, or pharmacy
         services for same-day processing.

   6. On weekends and holidays, the following shall occur:

      a. The Triage and Treatment Area (TTA) RN shall review each CDCR 7362, Health
         Care Services Request, for medical, dental, and mental health services, shall establish
         priorities on an emergent and non-emergent basis, and shall refer accordingly.

      b. If a physician, mental health clinician, or dentist is not available, the physician on call
         or psychiatrist on call shall be contacted.

   7. Inmates shall be seen by a mental health clinician or on weekends by the physician or
      psychiatrist on call within the clinically determined time frame.

      •   Emergent: Emergency cases shall be seen immediately or escorted to TTA.

      •   Urgent: Urgent cases shall be seen within 24 hours.

      •   Routine: Other cases shall be seen within five calendar days.

    NOTE: When an IDTT determines that an inmate-patient requires treatment of
    exhibitionism, that inmate-patient’s level of care shall be changed to CCCMS (or higher if
    appropriate), bypassing the standard referral process.
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L. DISCHARGE PROCEDURES

   1. At the time of admission to the PSU, a preliminary discharge plan shall be developed
      based on the clinical and security needs of the inmate-patient as well as the
      inmate-patient’s SHU term.
   2. Inmate-patients admitted to the PSU may be discharged to the SHU to complete their
      term when they no longer require an EOP level of care. They will be transferred to a
      CCCMS level of care in a SHU for at least six months if they no longer require EOP
      level of care. Inmate-patients with one of the exclusionary diagnoses listed in Section E,
      Referral and Endorsement, Paragraph 6 above, shall not be placed in the PBSP SHU.
      Inmate-patients in the PBSP PSU recommended by the IDTT for CCCMS are scheduled
      for the next available ICC and referred for transfer to the COR SHU. Pending transfer,
      inmate-patients are housed in the ASU.

   3. Inmate-patients who complete their SHU term and still require EOP care will be
      discharged to a general population EOP for continuing mental health treatment. The PSU
      primary clinician will document recommendations regarding the inmate-patient’s specific
      treatment needs, including any concerns about facilitating the inmate-patient’s successful
      transition to general population. The receiving EOP IDTT will consider documentation
      by the PSU clinician in developing the inmate-patient’s treatment plan. The treatment
      plan for inmate-patients transferred from PSU to GP-EOP shall include services provided
      to aid in the transition to the general population environment.

   4. Inmate-patients may be referred to a DMH program as clinically indicated. Generally,
      given the security requirements of PSU inmate-patients, this will be to the Salinas Valley
      Psychiatric Program for intermediate inpatient care for inmate-patients with a history of
      being highly assaultive, predatory, or a high escape risk. Inmate-patients who do not
      present these security risks may be referred to Atascadero State Hospital. Inmate-
      patients requiring acute inpatient care should be referred to the DMH APP at CMF.

   5. Treatment recommendations upon discharge from the PSU shall be made by the IDTT
      and documented on a CDCR 128 MH3, Mental Health Placement Chrono.

   6. The ICC shall review the discharge recommendations of the IDTT with the PSU Senior
      Psychologist or designee present considering both the clinical and custody needs of the
      inmate-patient. The decision of the ICC shall be documented on a CDCR 128-G Chrono.




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Suicide Prevention and Response                  Mental Health Services Delivery System

CHAPTER 10
Suicide Prevention and Response
A. INTRODUCTION

  It is the goal of the California Department of Corrections and Rehabilitation (CDCR) Suicide
  Prevention and Response Focused Improvement Team (SPR FIT) to prevent inmate deaths
  due to suicide. Suicide is defined as an intentional self-injurious behavior that causes or leads
  to one’s own death. CDCR recognizes that prevention of suicide involves a team effort by
  every employee regardless of professional discipline or job title.

  To accomplish this goal, each institution shall implement CDCR Division of Correctional
  Health Care Services (DCHCS) policies, described herein, regarding suicide prevention and
  response, via written operating procedures. The purpose of the policies is to:

   •   Establish standards of intervention and care

   •   Establish ongoing education and training for clinical, custodial, and administrative staff.

   •   Provide instructions and guidance for establishment and maintenance of the SPR FIT.

   •   Review suicide deaths regarding systems issues, clinical care issues, and custody
       response.

   •   Ensure that quality improvement (also known as corrective action) plans are drafted and
       implemented, when indicated, to reduce the incidence of preventable suicides, improve
       the delivery of quality care, improve the involvement of non-healthcare staff, and
       contribute to the ongoing education and training.

  This chapter of the Mental Health Services Delivery System (MHSDS) Program Guide is
  divided into the following subsections:

  B. Suicide Prevention and Response Project

  C. Training for Staff

  D. Clinical Care Services

       1. Suicide Risk Assessment


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       2. Interventions for Suicidal Ideation and Threats, Self-Injurious Behaviors and Suicide
          Attempts

           a. Procedures for Suicide Precautions

           b. Procedures for Suicide Watch

           c. Response to Self-Injurious Behaviors and Suicide Attempts

   E. Suicide Reporting

   F. Suicide Death Review

   G. Mental Health Evaluation Component for a Rules Violation Report

B. SUICIDE PREVENTION AND RESPONSE PROJECT

  Policy

  CDCR DCHCS

  The CDCR DCHCS Quality Management Committee (QMC) shall maintain a DCHCS
  Mental Health Program (MHP) Subcommittee that provides oversight to and coordination of
  the statewide mental health program to achieve statewide strategic objectives. The DCHCS
  MHP Subcommittee shall plan, develop, manage and improve timely access to and
  effectiveness of clinical services related to the mental health program. The DCHCS MHP
  Subcommittee shall also cooperate with, and respond in a timely manner to, any requests from
  the DCHCS Emergency Response & Death Review (ERDR) Subcommittee following a
  suicide.

  The DCHCS MHP Subcommittee shall establish and maintain a statewide SPR FIT. The
  DCHCS MHP Subcommittee shall appoint a DCHCS SPR FIT Coordinator. The Coordinator
  shall be a licensed physician, psychologist, social worker, nurse practitioner, or registered
  nurse (RN).

  Local Institutions

  Each Local QMC shall maintain a Local MHP Subcommittee that provides oversight to and
  coordination of the local mental health program to achieve statewide strategic objectives.
  Each Local MHP Subcommittee shall plan, develop, manage and improve timely access to
  and effectiveness of clinical services related to the mental health program. Each Local MHP
  Subcommittee shall also cooperate with, and respond in a timely manner to, any requests from
  the Local ERDR Subcommittee following a suicide.
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  Each Local MHP Subcommittee shall establish and maintain a Local SPR FIT. Each Local
  MHP Subcommittee shall appoint a Local SPR FIT Coordinator. The Coordinator shall be a
  licensed physician, psychologist, social worker, nurse practitioner, or RN.

  Purpose

  The DCHCS SPR FIT and each Local SPR FIT shall provide employees with training and
  guidance with regard to suicide prevention, response, reporting, and review for the purpose of
  reducing the risk of inmate suicides.

  Procedure

  1.   Reporting Relationships

       The DCHCS SPR FIT shall:

       •    Send a management report, at least once a month, to the DCHCS MHP
            Subcommittee.
       •    Receive formal communication, at least once a month, from the DCHCS MHP
            Subcommittee.
       •    Each local SPR FIT shall:
       •    Send a management report, at least once a month, to the local MHP Subcommittee.
       •    Receive formal communication, at least once a month, from the local MHP
            Subcommittee.

  2.   Responsibilities

       a. The DCHCS SPR FIT shall:

           1).   Provide oversight and guidance for each Local SPR FIT regarding time
                 sensitive due dates.
           2).   Monitor implementation and compliance with all CDCR policies and
                 procedures relating to suicide prevention and response.
           3).   Provide for the planning, development, and implementation of statewide
                 training, in collaboration with the DCHCS Training Department, regarding the
                 issue of suicide prevention and response.
           4).   Monitor and track all suicides statewide.
           5).   Provide for the selection and dispatch of a mental health suicide reviewer
                 (MHSR) after a suicide occurs.

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         6).   Provide oversight, assistance, coordination, and supervision of MHSR activities
               and reports.
         7).   Track and analyze demographic and clinical information received from the
               DCHCS ERDR Subcommittee for improving suicide prevention and response
               processes.
      b. Each Local SPR FIT shall:

         1).   Ensure implementation and compliance with all CDCR policies and procedures,
               relating to suicide prevention and response, at their institution.
         2).   Be responsible for updating local operating procedures (LOP) to ensure
               consistency with DCHCS policies regarding suicide prevention and response.
               The institution’s Suicide Prevention and Response LOP shall be updated at least
               annually and sent to the DCHCS through the standard Quality Management
               process for review and approval.
         3).   Implement training, in collaboration with the local In-Service Training (IST)
               unit, regarding the issue of suicide prevention and response.
         4).   Review Suicide Watch and precaution procedures, including use of video
               cameras (used as a supplement to direct visual observation), to ensure they are
               being carried out consistent with operating procedures.
         5).   Work with the Local ERDR Subcommittee to review all suicides and those
               suicide attempts, in which Cardiopulmonary Resuscitation (CPR) and/or other
               medical procedures were performed, as well as custody cell entry and cut-down
               procedures.
         6).   Monitor and track all suicide gestures, suicide attempts, self-mutilations, and
               deaths. Monitoring and tracking of suicide attempts should include a review of
               the appropriateness of treatment plans and five-day follow-ups.
         7).   Review and track all 5-day clinical follow-up treatment plans and custody
               wellness check procedures. The Mental Health Tracking System (MHTS) shall
               be used to track all clinical five-day follow-ups.
         8).   Ensure all required documentation for suicide death reporting is forwarded to
               DCHCS in adherence with time-sensitive due dates.
         9).   Provide assistance for the activities of the visiting MHSR.
         10). Provide oversight for the implementation of DCHCS-issued quality
              improvement plans (QIP) with input and assistance from the Local MHP and
              Local ERDR Subcommittees.




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  3. SPR FIT Membership

       DCHCS shall include:                      Local shall include:
        • SPR FIT Coordinator (Chairperson)       • SPR FIT Coordinator (Chairperson)
        • Chief Psychiatrist                      • Chief Psychiatrist*
        • Chief Psychologist                      • Chief Psychologist*
        • Nurse Consultant                        • Supervising RN
        • Designated Facility Captain             • Sr. Licensed Psychiatric Technician
                                                     (LPT) or LPT (preferably from
                                                     Administrative Segregated Unit (ASU)
                                                  • Health Program Coordinator
                                                  • Correctional       Health      Services
                                                     Administrator
                                                  • DMH Coordinator

        DCHCS may also include, but is not         Local may also include, but is not
          limited to:                              limited to:
        • Senior Psychiatrist                      • Senior Psychiatrist
        • Senior Psychologist                      • Senior Psychologists
        • Administrative/Clerical Support          • Staff Psychiatrist: Mental Health Crisis
                                                      Bed (MHCB)/Outpatient Housing Unit
                                                      (OHU)
        • Analyst Support                          • Staff Psychologist: MHCB/OHU
                                                   • Standards and Compliance Coordinator
                                                   • Litigation Coordinator
                                                   • Facility Captain
                                                   • ASU Lieutenant/Sergeant
                                                   • Reception Center Lieutenant/Sergeant
                                                   • Classification        and        Parole
                                                      Representative
                                                   • In Service Training Lieutenant
                                                   • Administrative/Clerical Support
                                                   • Keyhea Coordinator

      *Senior Psychiatrist/Senior Psychologist attendance shall meet quorum requirement in
      institutions without Chief Psychiatrist/Chief Psychologist positions.

  4. Frequency of Meetings

     The DCHCS SPR FIT shall meet at least, but is not limited to, once a month.


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      Each Local SPR FIT shall meet at least, but is not limited to, once a month.

  5. Attendance Requirements

      A quorum consists of the above listed mandatory members.

  6. Management Reports

      The DCHCS SPR FIT shall submit a complete, standardized management report to the
      DCHCS MHP Subcommittee by the 5th day of each month.

      Each Local SPR FIT shall submit a complete, standardized management report to the
      Local MHP Subcommittee by the 5th day of each month.

C. TRAINING FOR STAFF

   Definitions

    Suicidal ideation:   Thoughts of suicide or death, which can be specific or vague, and can
                         include active thoughts of committing suicide or the passive desire to
                         be dead.
    Suicidal intent:     The intention to deliberately end one’s own life.
    Self-injurious       A behavior that causes, or is likely to cause, physical self-injury.
    behavior:
    Self-mutilation:     An intentional self-injurious behavior without suicidal intent. The
                         purpose of the behavior may be to gain attention, relieve stress, or
                         experience pain. Self-mutilation can result in serious injury or
                         accidental death.
    Suicide gesture:     An intentional self-injurious behavior, accompanied by suicidal
                         ideation and/or intent, which is unlikely to cause death. The purpose
                         of the behavior may be to gain attention and/or experiment with the
                         possibility of suicide. Suicide gestures may indicate increased suicide
                         risk.
    Suicide attempt:     An intentional self-injurious behavior, which is apparently designed to
                         deliberately end one’s life, and may require medical and/or custody
                         intervention to reduce the likelihood of death or serious injury.
    Suicide:             An intentional self-injurious behavior that causes or leads to one’s
                         own death.
  All CDCR health care and custodial employees at the local institutions shall attend updated
  training on suicide prevention and response at least once annually. Suicide Prevention and
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  Response training shall be part of the new employee orientation provided by mental health
  staff in collaboration with the IST unit at each local institution. New correctional officers
  shall receive this training at the Basic Correctional Officer Academy.

  The suicide prevention and response training shall include the following elements:

  •   Suicide risk assessment
  •   Suicide methods awareness
  •   Interventions for suicidal ideation, threats, gestures, and attempts
  •   Suicide reporting and reviews
  •   Mental health evaluations for rules violation reports
  Clinical and custody staff shall receive specialized training with respect to their particular
  roles in responding to self-injurious behaviors, suicide attempts, and suicides.

D. CLINICAL CARE SERVICES

  This subsection addresses the various clinical care services for inmates regarding suicide
  prevention and response. Included are the assessment of risk for suicide, the utilization of a
  form for documenting the risk factors, and clinical interventions such as procedures for
  Suicide Precaution and Suicide Watch, and responses to suicide attempts and to suicide.
  Education regarding the methods utilized by inmates when attempting suicide shall be taught
  as part of the suicide prevention and response training.

  Employee strategies for maintaining a safe environment, and for ensuring that other policies
  and procedures relative to suicide prevention and response, such as regarding medication
  distribution and inmate-patient compliance, are detailed in the relevant chapters and sections
  of the complete Health Care Department Operations Manual.

  Any CDCR employee who becomes aware of an inmate’s current suicidal ideation,
  threats, gestures, self-injurious behaviors or suicide attempts shall immediately notify a
  member of the health care staff. The inmate shall be placed under direct observation,
  per local custody operating procedure, until a clinician trained to perform a suicide risk
  assessment (psychiatrist, psychologist, clinical social worker, primary care physician,
  nurse practitioner, or RN) conducts a face-to-face evaluation.
  1. Suicide Risk Assessment

      All inmates are observed for suicide risk. Suicide risk assessment is critical to successful
      suicide prevention. Inmate-patients enrolled in the MHSDS shall be regularly monitored


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     for risk of suicide as clinically appropriate. When an inmate expresses current suicidal
     ideation, or makes threats or attempts, a suicide risk assessment shall be made by
     collecting, analyzing, and documenting data. Documentation is achieved by utilizing the
     CDCR standardized Suicide Risk Assessment Checklist (SRAC) and by clinician notation
     in the Unit Health Record (UHR). When an inmate expresses chronic suicidal ideation
     without intent or plan, the clinician may document that no change in suicide risk has
     occurred since completion of the prior SRAC, instead of completing a new SRAC.

     These clinicians shall be trained to perform a suicide risk assessment and complete
     the SRAC:

     •   psychiatrists                               •   primary care physicians
     •   psychologists                               •   nurse practitioners
     •   clinical social workers                     •   RNs

     This shall occur during the specialized training provided for clinical staff who are
     receiving either the new employee orientation or completing the required annual training
     module, or when determined necessary by supervisory and/or management staff.

     When a primary clinician is scheduled to be available on-site, he or she shall be
     responsible for completing a SRAC. When a mental health clinician is not available, any
     other staff member who has been trained by CDCR in suicide risk assessment may
     complete the SRAC.

     A RN completing the SRAC shall collect data related to suicide risk and protective factors
     and refer the patient and data collected to a mental health clinician for further evaluation
     to determine level of risk.

     At a minimum, a written suicide risk assessment using a SRAC shall be completed:

     •   Every time an inmate has an initial face-to-face evaluation for suicidal ideation,
         gestures, threats, or attempts, by a clinician trained to complete the SRAC.
     •   By the referring clinician prior to placement of an inmate-patient into an OHU for
         continued suicide risk assessment or into a MHCB for suicidal ideation, threats, or
         attempt.
     •   After hours, on weekends and holidays, on call clinicians shall conduct a
         face-to-face assessment of suicide risk prior to releasing an inmate to any housing
         without suicide watch or precaution.



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     •    After hours, on weekends and holidays, when the referring clinician has not completed
          an SRAC, by the clinician providing coverage, by the next day, for those inmate-
          patients placed into an OHU or MHCB.
     •    By the associated Interdisciplinary Treatment Team (IDTT) and/or clinician for all
          inmate-patients placed into an OHU, for mental health reasons, or MHCB, for any
          reason, upon decision to release or discharge.
     •    Subsequent to release from an OHU placement that was for the purpose of continued
          suicide risk assessment, or a MHCB placement for the reason of suicidal ideation,
          threats, or attempts, at a minimum of every 90 days for a twelve month period, by a
          mental health clinician.
     •    Within 72 hours of return from a Department of Mental Health (DMH) facility, or
          within 24 hours if clinically indicated based on new arrival screening.
     •    Any time the medical and mental health screening of a new arrival to an institution
          indicates a current or significant history, over the past year, of suicide risk factors,
          ideation, threats, or attempts.
     •    Pursuant to Department Operating Manual (DOM), Article 41, Prison Rape
          Elimination Act Policy, for victims of sexual assault, within four hours after the
          required sexual assault forensic examination.

     The clinician shall use the SRAC when documenting a suicide risk assessment, in
     addition to making a notation in the UHR. At a minimum, the following categories
     shall be used to assess potential risk:

     a.   Static Risk Factors (unchanging, historical):

          •   Ethnicity
          •   History of lewd and lascivious acts with a child and/or killed a child
          •   History of violence
          •   History of substance abuse
          •   Suicide ideation and/or threats in past (when and method)
          •   Previous suicide attempts (when and method)
          •   Family history of suicide
          •   History of mental illness with Axis I diagnosis
          •   High profile case



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     b.   Slowly Changing Risk Factors (long-term risk factors):

          •   First prison term
          •   Long or life sentence; three strikes
          •   History of poor impulse control and/or poor coping skills
          •   Early in prison term
          •   Known new court proceedings and/or disciplinary actions
          •   Current term in ASU, Security Housing Unit, or Psychiatric Services Unit
          •   Level IV custody score
          •   Chronic, serious or terminal illness

     c.   Dynamic Risk Factors (short-term risk factors that require ongoing assessment):

          •   Recent suicidal ideation - acute or •        Recent rejection and/or loss
              chronic
          •   Recent release       from   psychiatric •    Single-cell placement
              hospital
          •   Sudden calm following ideation or •          Significant current impulsivity
              attempt
          •   Anxious and/or agitated and/or fearful •     Recent suicide attempt or self-injury
          •   Disturbance of mood (depression or •         Well-planned, highly lethal, attempt
              mania)                                       or ideation
          •   Unstable or labile affect                •   Hoarding        and/or         cheeking
                                                           medication
          •   Current insomnia and/or poor appetite    •   Poor compliance      with      treatment
                                                           and/or medication
          •   Lack of perceived support system         •   Recent trauma and/or threat to self-
                                                           esteem
          •   Hopelessness and/or helplessness         •   Recently assaultive or violent
          •   Feelings of guilt and/or worthlessness   •   Pre-death behavior:      note,    gives
                                                           things away
          •   Fearful for safety                       •   Disclosure of adverse court hearings
          •   Anniversary of important loss


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     d.   Protective Factors:

           •   Family support                           •   Adequate insight

           •   Children at home                         •   Realistic life plan
           •   Religious support                        •   Exercises regularly
           •   Spousal support                          •   Group activities
           •   Supportive friends                       •   Job assignment
           •   Helping others                           •   Other noted protective factors

     Clinicians shall utilize their best clinical judgment and make a summary of the relative
     risk for suicide via an appropriate descriptor, such as “No apparent significant risk, Low
     Risk, Moderate Risk, High Risk, or Conditional Risk” based on a combination of the
     above factors, an interview of the inmate, and all other relevant information available to
     them. Peer consultation is encouraged when information collected for making a suicide
     risk assessment is ambiguous. The clinician shall then make a recommendation regarding
     the appropriate level of care required.           They shall document their summary,
     recommendations, and plan on the SRAC and with appropriate notation in UHR.
     Treatment recommendations should be as specific as possible, leaving as little room as
     possible for misinterpretation or confusion. A brief rationale for each recommendation
     shall be provided. They shall also address how the treatment plan will be implemented
     and any required follow-up procedures.

     Peer Consultation

     Peer consultation can be one of the most important clinical and legal safeguards a
     practitioner has at his or her disposal, especially when dealing with ambiguous cases.

     Sources of peer consultation include, but are not limited to:

     •    Other clinical members of an IDTT
     •    Other colleagues working at the institution
     •    Clinical supervisors

     When evaluating for suicide risk, peer consultation is not always necessary. However, in
     those cases where there is clinical uncertainty about ambiguous issues, it can be of benefit
     for validating or challenging ideas and assumptions. Another clinician’s opinion may also
     uncover important additional information. Peer consultation does not absolve a clinician
     of responsibility for any decision that he or she ultimately makes, nor does it require the

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     clinician to change his or her initial opinion. It is to the clinician’s advantage to consult
     with peers. It demonstrates that the clinician cared enough about the case to seek another
     opinion and that he or she utilized prudent and reasonable judgment.

     Suicide History Tracking

     In order to ensure quality and continuity of care for high-risk mental health inmate-
     patients, all institutions shall track the suicidal history of inmate-patients using MHTS.

   2. Interventions for Suicidal Ideation, Threats, and Attempts

     Any CDCR employee who becomes aware of inmate suicidal ideation, threats, or attempt
     shall immediately notify a member of the health care staff. The inmate shall be placed
     under direct observation, per local custody operating procedure, until a clinician trained to
     perform a suicide risk assessment (psychiatrist, psychologist, clinical social worker,
     primary care physician, nurse practitioner, or RN) conducts a face-to-face evaluation.

     Recommendation for placement or admission

     Health care staff who assess a patient as a significant suicide risk shall initiate procedures
     to admit the patient into a MHCB.

     A physician, licensed psychologist, or nurse practitioner may place an inmate-patient into
     an OHU for continued suicide risk assessment. Custody staff shall inspect the cell to
     ensure that there are no known or obvious safety hazards present. When an inmate-patient
     in the OHU is determined to require MHCB level of care, including Suicide Precaution
     and/or Watch, he or she shall be recommended for admission to that higher level of care.
     The established timeframe for MHCB transfers is 24 hours from the time a physician or
     licensed psychologist determines the need for a MHCB.

     When an inmate-patient verbalizes suicidal ideation without other signs and symptoms of
     increased risk of suicide, the mental health clinician is responsible for evaluating any
     contributing environmental stressors and communicating with custody staff and
     supervisors regarding any potentially solvable custody issues.

     Pending transfer out of the OHU direct observation by clinical and/or custody staff shall
     be provided, consistent with requirements for Suicide Precaution or Watch, until the
     inmate-patient is transferred.

     If there is a difference of opinion, between the clinician who makes the recommendation
     and the receiving/admitting clinician, regarding admission into a MHCB or placement into
     an OHU, then

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     a.   A third opinion and final decision shall be obtained by consultation with a Chief or
          Senior Psychiatrist, or a Chief or Senior Psychologist.

     b.   When a Chief or Senior Psychiatrist, or a Chief or Senior Psychologist is not
          available, the third opinion and final decision shall be obtained from Chief Medical
          Officer or Chief Physician and Surgeon.

     c.   The default shall be to place the inmate into the MHCB or OHU in the event that
          there is not a Chief, Senior, or Chief Medical Officer (CMO) available to supply the
          third opinion and final decision.

     Required Documentation

     The clinician who recommends an inmate for placement into an OHU for continued
     suicide risk assessment or into a MHCB for active suicidal ideation, or suicide threats or
     attempts, shall provide to the accepting clinician both a completed SRAC, the patient’s
     medication administration record, and a written transfer summary that contains:

     •    Date and time of referral
     •    Identifying information: inmate name, CDCR number, date of birth, age, and race
     •    Current level of care and housing location
     •    Current diagnosis: all five Diagnostic and Statistical Manual (DSM) axes
     •    Reason for referral: suicidal ideation and/or threat and/or attempt
     •    History of present illness
     •    Mental status examination
     •    Brief psychiatric history including previous OHU, MHCB, or DMH placements
     •    History of previous suicidal ideation, threats, and/or attempts
     •    Treatment recommendations
     •    Contact information for the referring clinician
     After hours and on weekends and holidays, the clinician providing coverage shall
     complete the required documentation by the next day.

     Health Care Cost and Utilization Program

     As an integral part of the DCHCS, the Health Care Cost and Utilization Program provides
     timely and accurate information, and analysis of health care service delivery data to assist
     in the provision of cost effective, quality health care. To facilitate this effort, the clinician
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     who admits an inmate-patient to a MHCB shall record two codes for the diagnosis on the
     CDCR 7388, Mental Health Treatment Plan. One code shall be from the most current
     edition of the Diagnostic and Statistical Manual of Mental Disorders and the other shall to
     be from the most current edition of the World Health Organization's International
     Classification of Diseases Code.

     Additional Treatment Options

     In addition to inpatient care, the clinician may recommend another type of treatment such
     as daily or weekly contact by a mental health clinician, intensive individual
     psychotherapy, resolution of a stressful environmental issue or interpersonal conflict, or
     other clinically appropriate intervention. Other interventions may be considered such as
     notifying a correctional counselor of the inmate-patient’s desire or need to contact a
     family member. Alternative interventions, such as a housing change, may be considered
     in consultation with custody staff. Clinical and custody staff shall work together to
     develop an intervention to address the inmate’s concerns and reduce the risk of suicide.

     Physical Restraints and Seclusion

     Physical restraints or placement in seclusion may be utilized to protect an inmate-patient
     from imminent self-harm, if clinically indicated, and other treatment measures are
     ineffective. A staff member shall be assigned to provide one-on-one direct visual
     observation of all inmate-patients in physical restraints. Refer to MHSDS Program Guide,
     Chapter 5, Mental Health Crisis Bed, for complete descriptions of procedures. In
     accordance with Health and Safety Code 1180, a clinical and quality review shall be
     conducted for each episode of the use of seclusion or restraints.

     Inmate and Cell Search

     Before placing an inmate-patient in a room for Suicide Precaution or watch, a custody
     officer shall conduct a complete body search.

     Call-light cords, nightstands, bed frames, and sheets shall be removed, by order of a
     clinician, from the room unless the inmate is in physical restraints. Only a safety (no-tear)
     mattress, a safety (no-tear) blanket, and a safety (no-tear) smock/gown shall be provided
     and placed directly on the floor.

     Additional inmate-patient clothing and furnishing items, while on Suicide Watch or
     Precaution, shall be allowable by a clinician’s order.

     Custody staff shall conduct a complete cell search before placing an inmate in a cell.


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     Suicide Precaution and Suicide Watch

     When clinically indicated, an inmate with active suicidal ideation, threats, or attempt shall
     be placed in an MHCB on Suicide Precaution or Suicide Watch. These are methods used
     to provide a safe environment and prevent the inmate from harming him or herself or
     others. Suicide Watch and Suicide Precaution procedures shall be a joint responsibility of
     custody and health care staff. A close working relationship shall be maintained between
     custody and health care staff to ensure the safety and security of the inmate.

     The preferred location to place an inmate on Suicide Precaution or Watch status is in the
     MHCB, or in the OHU pending transfer to MHCB. The use of Suicide Precaution or
     Suicide Watch in any non-medical location shall be a temporary, short-term approach
     until an inmate can be moved to an OHU or MHCB, and shall require constant direct
     visual observation.

     A psychiatrist, licensed psychologist, physician, or nurse practitioner shall review,
     modify, and/or renew the order for Suicide Precaution and/or Watch at a minimum of
     every 24 hours with input from at least one other member of the IDTT, such as the RN on
     duty.

     Inmate-patients that are placed in an OHU for continued assessment of suicide risk, or in
     an MHCB for active suicidal ideation, threats, or attempt, shall have a note regarding
     progress toward the treatment plan goals and objectives recorded daily by a treating
     clinician in the Interdisciplinary Progress Notes section of the UHR.

     a.   Suicide Precaution

          When an inmate is in an MHCB because of high risk of attempting self-injurious
          behavior, but is not in immediate danger, he or she shall be placed on Suicide
          Precaution.
          These inmate-patient management procedures require an order from a psychiatrist,
          licensed psychologist, physician or nurse practitioner. Additional details of
          requirements and procedures are located in Chapter 5, Mental Health Crisis Bed.




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          Guidelines for clinician-ordered Suicide Precaution:


              STATUS            CLOTHING              FURNITURE             BEHAVIORAL
                                                      AND OTHER               CHECKS
                                                      MATERIALS
           SAFE CELL          Safety (no-tear)      Remove all            Staggered intervals
           STATUS             smock/gown, no        furniture. Safety     not to exceed 15-
                              ID band on wrist      (no-tear) mattress,   minute staff checks
                                                    safety (no-tear)
                                                    blanket
           PARTIAL            Shorts, t-shirt,      Remove all            Staggered intervals
           ISSUE              socks                 furniture. Safety     not to exceed 15-
                                                    (no-tear) mattress,   minute staff checks
                                                    safety (no-tear)
                                                    blanket, one book
           FULL ISSUE         Shorts, t-shirt,      Safety (no-tear)      Staggered intervals
                              socks                 mattress or           not to exceed 15-
                                                    furniture. Reading    minute staff checks
                                                    and writing
                                                    materials.
                                                    Toiletries.


          A clinician, when writing orders, can utilize these guidelines for furniture and
          clothing and/or make modifications based on clinical judgment, with documentation
          of justification. The IDTT shall review all decisions regarding furniture, clothing,
          and other materials. No modification is allowed for the interval of staff checks for
          Suicide Precaution.

     b.   Suicide Watch
          When an inmate is in an MHCB because of suicide risk and is in immediate danger of
          self-injurious behavior, he or she shall be placed on Suicide Watch.

          These inmate-patient management procedures require an order from a psychiatrist,
          licensed psychologist, physician or nurse practitioner. Additional details of
          requirements and procedures are located in Chapter 5, Mental Health Crisis Bed.




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         Guidelines for clinician-ordered Suicide Watch:

              STATUS             CLOTHING             FURNITURE             BEHAVIORAL
                                                      AND OTHER               CHECKS
                                                      MATERIALS
          SUICIDE             Safety (no-tear)      Remove all            Continuous
          WATCH               smock/gown, no        furniture. Safety     observation
                              ID band on wrist      (no-tear) mattress,   15 minute nursing
                                                    safety (no-tear)      checks
                                                    blanket

         All institutions shall conduct Suicide Watch observation by direct visual observation.
         The staff member shall be stationed at the cell door with direct line-of-sight from the
         observer to the patient. One observer may be responsible for observation of two
         inmate-patients on Suicide Watch when the staff member can maintain direct line-of-
         sight observation of both inmate-patients. The staff-observer to inmate-patient ratio
         shall not exceed one-to-two. Video-monitoring shall never be used as the sole
         method for observation of any inmate-patient housed on Suicide Watch status, but
         may be used to supplement direct visual observation.

         Some institutions have been approved via memoranda signed by the Directors of the
         Division of Adult Institutions (DAI) and the DCHCS, to provide one-on-two direct
         cell-front observation of inmate-patients on Suicide Watch, when the staff member
         can maintain direct line-of-sight observation of both inmate-patients, unless one-on-
         one monitoring is ordered by the psychiatrist or psychologist. All other institutions
         shall provide one-on-one direct cell-front observation.

         The assigned observer shall assume a position where continuous direct visual contact
         with the inmate-patient can be maintained, including when the inmate uses the
         shower, sink, or toilet.

         Suicide Watch posts will be filled using the following order of job classifications:

            1.   Hospital Aide
            2.   Certified Nursing Assistant
            3.   Licensed Psychiatric Technician
            4.   Licensed Vocational Nurse
            5.   RN
            6.   Correctional Officer

         It is the responsibility of the Health Care Manager and Warden to ensure that all
         hiring efforts be exhausted, including offering voluntary overtime and assigning
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         involuntary overtime of the medical classifications on the list above, prior to filling
         these positions with a Correctional Officer.

         The employee assigned to provide direct observation shall be appropriately trained
         regarding this post and the performance of duties related to Suicide Watch.

         Observation Documentation

         The custody and/or health care staff employee assigned to provide continuous
         observation during Suicide Watch shall document such observation every 15 minutes
         on a log sheet.

         Custody and health care staff shall document behaviors and activities on a
         CDCR 114A, Detention/Segregation Record.
         Nursing staff shall document behavioral checks and the inmate-patients’ affect at
         least every 15 minutes during both Suicide Precaution and Suicide Watch. Nursing
         checks shall always include visual observation and, when the inmate-patient is
         awake, shall also include verbal interaction. Nursing staff shall document using
         CDCR 7212, Nursing Care Record (for non-acute care settings), or CDCR 7212A,
         Nursing Care Record-Acute Hospital, (for acute care settings) in the UHR.

         Leaving a Post Assignment

         •   The observer assigned to Suicide Watch shall only vacate the post if immediate
             attention or assistance is needed in a life-threatening situation, and no other
             alternative exists.
         •   A life-threatening situation is defined as a situation in which staff’s failure to
             immediately respond will likely result in serious morbidity or mortality.
         •   In the event of a life-threatening situation, the staff shall activate a personal alarm
             in order to summon additional staff to the MHCB area.
         •   If it becomes necessary for staff assigned to Suicide Watch to leave their post due
             to a life-threatening situation, they shall request other staff in the vicinity,
             whenever possible, to provide direct observation coverage of the inmate-patients
             while away. If no other staff is available, and there is sufficient time, the officer
             shall contact the Watch Office before responding to the life-threatening situation.
         •   Any vacating of the post under these circumstances shall be for the minimal time
             necessary. Once the life-threatening situation has been contained, or there is
             sufficient staff at the scene to handle the situation, the officer shall immediately
             return to the Suicide Watch post.


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         •   Upon return to post, the staff shall document his or her departure and return on
             the CDCR 114A, Detention/Segregation Record. The officer shall also ensure
             that the staff that covered the post in his or her absence also documents that on the
             CDCR 114A, Detention/Segregation Record.
         •   For the purpose of this procedure, a minimum of one custody officer and one
             health care professional shall respond to a life-threatening situation involving a
             general population or reception center inmate.
         •   For the purpose of this procedure, a minimum of one peace officer and one
             nursing staff member shall respond to a life-threatening situation involving an
             ASU inmate. Responding staff shall obtain and wear a protective vest while
             responding in the ASU areas. The ASU Sergeant shall also be notified as soon as
             possible.
         •   Staff will use universal precautions when responding to medical emergencies and
             utilize Personal Protective Equipment kits, available in the MHCB unit.

         Discharge or Return

         Inmates sent to a MHCB because of active suicidal ideation, threats, or attempt shall
         be returned to their housing unit only after the IDTT and/or a clinician has completed
         a SRAC and has determined that the inmate-patient is no longer at imminent risk.
         The inmate-patient shall be placed on the 5-day clinical follow-up treatment plan and
         custody wellness check procedure as detailed below.

         Inmates sent to an OHU for continued suicide risk assessment shall be returned to
         their housing unit only after the IDTT and/or a clinician has completed a SRAC and
         has determined that the inmate-patient is not at significant risk. The inmate-patient
         may, depending on clinical determination, be placed on the 5-day clinical follow-up
         treatment plan and custody wellness check procedure as detailed below.

         MHCB Discharge

         •   A psychiatrist or licensed psychologist, in consultation with the IDTT, shall write
             the order to discontinue an inmate-patient from Suicide Precaution or Suicide
             Watch when the inmate is no longer in imminent danger of self-harm. After
             hours, on weekends and holidays, the Medical Officer of the Day (MOD) or
             psychiatrist, licensed psychologist, or primary care physician on call may write an
             order to discontinue Suicide Precaution or Suicide Watch.
         •   A psychiatrist or licensed psychologist shall complete the MHCB discharge
             summary.


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         •   Before discharge, the IDTT shall develop a detailed and complete follow-up
             treatment plan, which shall be documented in the inmate's UHR on CDCR 7221,
             Physician’s Orders. The plan shall include prescribed housing, medication, type
             and frequency of outpatient therapy, and an explicit recommendation on 5-day
             clinical follow-up treatment plan and custody wellness check procedure.
         •   The primary clinician (PC) (or in their absence, the senior mental health clinician)
             shall be notified person-to-person of the pending discharge of the inmate-patient
             and the discharge plan.
         •   Inmates with multiple MHCB admissions (three or more within a six-month
             period) shall be evaluated by the IDTT for referral to the DMH. The results of
             this evaluation, decision of the IDTT, and outcome of the referral shall be
             documented on a CDCR 7230-MH, Mental Health Progress Note, in the UHR.
         •   Careful consideration should be given by the IDTT when discharging from an
             MHCB an inmate-patient who was admitted for reasons of suicidal ideation,
             threats, or attempt, on a Friday, over the weekend, or the day before a holiday.
             Inmate-patients will only be released over a weekend if the IDTT has determined
             such and only after an updated face-to-face evaluation by a mental health
             clinician. That clinician will establish the 5-day clinical follow-up treatment plan
             and custody wellness check procedure. The mental status, stability, and risk
             factors of the inmate-patient should be documented in detail on a
             CDCR 7230-MH, Mental Health Progress Note. A mental health clinician must
             be available on weekends and holidays, either on duty or on call. In the event
             that there is no mental health clinician on call in an institution, no discharges
             shall be accepted by that institution on, or the day before, a weekend or
             holiday.
         •   A mental health clinician, usually the inmate-patient’s PC, shall provide follow
             up treatment on an outpatient basis. This shall include daily contact with the
             inmate in their housing unit for five consecutive days following discharge. A
             psychiatric technician or other mental health clinician may conduct the contacts
             on weekends and holidays. The PC is responsible for ensuring that the contacts
             occur. The frequency of visits may then be reassessed. Housing unit custody
             officers and mental health staff shall communicate regarding the inmate-patient’s
             status.
         •   Custody shall conduct an hourly check of inmate-patients discharged from the
             MHCB (admitted for suicidal ideations, threats, or attempt) for the first 24 hours
             after discharge. A mental health clinician shall then discuss the inmate-patient’s
             behavior with the custody staff and evaluate the inmate-patient to determine if the
             custody checks should be continued or discontinued. If the custody checks are
             continued, the mental health clinician shall determine whether the checks are to
             be every hour, every two hours, or every four hours for the next 24-48 hours. If
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              after a second evaluation, mental health clinical staff feel additional hourly checks
              are required, the inmate shall be readmitted to the MHCB for further stabilization.
              Custody staff shall maintain a log on CDCR 114A, Detention/Segregation
              Record, of rounds on inmate-patients.
          •   The local SPR FIT shall regularly audit compliance with the 5-day clinical
              follow-up and custody wellness check procedure. Audit findings shall be
              forwarded monthly to the Local MHP Subcommittee.

     c.   Response to Self-Injurious Behaviors and Suicide Attempts

          Self-injurious behaviors cause, or are likely to cause, physical self-injury. A suicide
          attempt is an intentional act that is deliberately designed to end one’s own life. Both
          are medical emergencies that require immediate and appropriate responses.

          Custody Protocol

          In medical emergencies, the primary objective is to preserve life. All peace
          officers who respond to a medical emergency are mandated, pursuant to court order,
          to provide immediate life support, if trained to do so, until medical staff arrives to
          continue life support measures. All peace officers must carry a personal CPR mouth
          shield at all times.

          The officer must assess and ensure it is reasonably safe to perform life support by
          effecting the following actions:

          •   Sound an alarm (a personal alarm or, if one is not issued, an alarm based on local
              procedures must be used) to summon necessary personnel and/or additional
              custody personnel.
          •   Determine and respond appropriately to any exposed bloodborne pathogens.
          •   Determine and neutralize any significant security threats to self or others
              including any circumstances causing harm to the involved inmate.
          •   Initiate life saving measures consistent with training.

          The responding peace officer will be required to articulate the decision made
          regarding immediate life support and actions taken or not taken, including cases
          where life support is not initiated consistent with training and/or situations which
          pose a significant threat to the officer or others.




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         Clinical and Custody Combined Efforts

         Upon arrival, responding medical personnel shall relieve the correctional peace
         officer and assume primary responsibility for the provision of medical attention
         and life saving efforts. Custody and medical personnel together are responsible
         for the continuance of life saving efforts for as long as necessary.

                                     -----------------------------------
             Preservation of life shall take priority over preservation of a crime scene.
                                     -----------------------------------

         Emergency Response

         The following first aid procedures shall be implemented when an inmate attempts
         suicide by hanging, laceration, or other methods:

         Hanging

         Medical and custodial staff shall be informed of the nature of the emergency by the
         most expedient method available. The cut-down kit shall be transported to the
         location immediately by custody staff. Clearing the obstruction to the airway as
         quickly as possible is critical to saving the life of the inmate who has attempted
         suicide by hanging. When it appears safe, a minimum of two staff shall enter the area
         where the inmate is located, relieve pressure on the airway by using a stable object
         for support of the inmate’s body or by physically lifting the inmate's weight off the
         noose. The inmate shall be cut down by cutting above the knot and then loosening
         the noose. Custody staff shall preserve any item of evidentiary value.
         Once the inmate is cut down, custody staff shall provide immediate life support, if
         trained to do so, until medical staff arrives to continue life support measures.

         Medical staff, upon arrival, shall assume responsibility for medical care, as outlined
         in the institution’s local operating procedures for emergencies, including any
         decisions regarding initiating or continuing CPR.
         If possible, the inmate shall also be transported to a triage and treatment area.

         Laceration

         General guidelines:

         •    Use impervious latex gloves and/or appropriate, personal protective equipment

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          •   Utilize whatever clean material is available to apply pressure to the wound site
          •   Elevate extremities if they are bleeding
          •   Transport to a triage and treatment area or an emergency room

           Other Methods (overdosing, trauma, swallowing dangerous objects):

          •   Provide assistance to medical staff and obtain as much information as possible.
          •   Staff shall perform the Heimlich maneuver if choking is evident.

          Cut-down Kit Availability

          Each warden shall ensure that cut-down kits:

          •   Are maintained within each housing unit
          •   Are inventoried and inspected on a daily basis with problems immediately
              reported to a supervisor
          •   Consist of a lockable metal box containing:
              a. One inventory list affixed to the inside of the box door
              b. One emergency cut-down tool
              c. One single-patient-use      resuscitator   (e.g.,   AMBU     Single-Patient-Use
                 Resuscitator)
              d. One CPR mask (e.g., Lardell CPR Mask, for use by CPR-certified staff only)
              e. Minimum of ten latex gloves
              f. Disposable oral airway

E. SUICIDE REPORTING

  All reports of death shall be in accordance with DOM, Section 51070, Deaths.

  If at any point during the review of the case, questions arise regarding any circumstances
  surrounding or leading up to the suicide that may be attributed to employee misconduct, the
  MHSR, the Health Care Manager (HCM), or other responsible individuals may request a
  misconduct investigation. In this event, the MHSR shall immediately consult with the
  DCHCS SPR FIT Coordinator to determine further action. Requests for further misconduct
  inquiry and/or investigation shall be referred in accordance with DOM, Chapter 3, Article 14,
  Employee Misconduct Investigations/Inquiries. Even if the matter is referred, all other
  aspects of the suicide review shall continue.

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  Local Institution Responsibilities

  •   In the case of an inmate suicide death, the watch commander or senior custody officer
      shall be notified immediately, and shall subsequently notify the Warden, or evenings,
      weekends and holidays, the Administrative Officer of the Day. Upon notification of a
      possible death, the senior custody officer or the watch commander shall determine the
      need to secure the death scene and initiate investigation or other custody measures as
      indicated in accordance with DOM, Section 51070.7.
  •   The institution’s CMO or physician designee shall have primary responsibility for
      reporting the death within eight hours to the DCHCS Death Notification Coordinator
      (DNC).
  •   The initial reporting procedures and submission of the CDCR 7229 A, Initial Inmate
      Death Report, shall be completed and submitted in accordance with the procedures set
      forth in DOM, 51070.9, Deaths. The CDCR 7229 B, Initial Inmate Suicide Report, shall
      be completed by the Local SPR FIT Coordinator or designee, and shall be reviewed,
      signed and dated by the HCM/CMO. It shall be submitted to the DNC at Central Office
      by the close of the second business day following the date of death. This form shall
      contain relevant information including the method of suicide, mental health level of care,
      psychiatric diagnoses (if applicable), behavioral problems observed, recent history of
      suicidal ideations or attempts, medication, and recent stressors.

F. SUICIDE DEATH REVIEW

  •   Within one business day of receipt of the initial data including CDCR 7229 A, Initial
      Inmate Death Report, and 7229 B, Initial Inmate Suicide Report, the DCHCS Death
      Notification Coordinator (DNC) shall forward the death review folder to the DCHCS SPR
      FIT Coordinator.
  •   Within two business days of receipt of the death review folder, the DCHCS SPR FIT
      Coordinator shall appoint a MHSR from a pool of qualified mental health staff at
      DCHCS, or regionally from an institution other than where the suicide occurred.
  •   Within one week, seven calendar days, of being appointed, the MHSR shall begin
      reviewing the suicide case for compliance with the CDCR SPR FIT policies and
      procedures. The MHSR shall also review all related documentation including the UHR;
      Central File; Inmate Death Reports, CDCR 7229 A, Initial Inmate Death Report, 7229 B,
      Initial Inmate Suicide Report; CDCR 837 A and B, Crime/Incident Report; and any other
      appropriate documentation. The MHSR shall have access to the inmate’s cell, visiting
      log, recorded telephone conversations, and other information as required. The
      institution’s SPR FIT Coordinator may assist the MHSR in his or her efforts. The
      assistance may include making available the UHR, the Central File, and any other
      appropriate information as well as arranging interviews if required. The MHSR may
      conduct interviews with clinical staff, custody staff, and inmates. However, should there
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      be any indication an employee misconduct investigation may be warranted, the MHSR
      shall immediately consult with the DCHCS SPR FIT Coordinator, who shall provide
      guidance in proceeding with the review. Generally, the MHSR shall discontinue
      interviews with any employees who may be associated with or implicated in the employee
      misconduct investigation, but shall continue with all other aspects of the suicide review
      process.
  •   In cases where there are concerns with clinical care, the case shall be referred to the local
      Clinical Performance Enhancement and Review Subcommittee.
  •   Within 30 calendar days of the inmate suicide, the MHSR shall complete a preliminary
      Suicide Report containing the following information: Inmate name, CDCR number, age,
      date and time of discovery, time of death, institution, housing, mental health level of care
      (if applicable), method, cause of death, findings of coroner (if available), brief summary
      and preliminary findings including recommendations for quality improvement. The report
      shall also indicate whether further investigation/inquiry is recommended (if one has not
      already been initiated). This report shall be immediately forwarded to the DCHCS SPR
      FIT Coordinator who will then schedule discussion of the report at the DCHCS Suicide
      Case Review (SCR) Subcommittee. The MHSR will present the case to the SCR
      Subcommittee.
  •   The DCHCS SCR Subcommittee is the body that reviews the documentation and reports
      submitted by the institution and MHSR, determines compliance with the statewide SPR
      FIT policies and procedures, reviews the QIP (also known as corrective action), and
      continues its review, in collaboration with the DCHCS MHP Subcommittee, until the
      QIPs are completed and the cases are closed.
  •   Within 45 days from the date of death, the DCHCS ERDR Subcommittee shall complete
      its review of the preliminary suicide report, review the QIP on the preliminary suicide
      report, and forward the report to the MHSR for completion of the Suicide Report and the
      accompanying Executive Summary.

  Quality Improvement Plan

  When warranted, the MHSR shall recommend a QIP (also known as corrective action), based
  on the findings from the review of the case, which shall address and make recommendations
  to improve identified problems with clinical care and compliance with policy and procedure.
  The QIP shall address problems identified, recommended actions, due dates for recommended
  actions, and supporting documents required from the institution.
  The DCHCS SCR Subcommittee shall review the QIP and may take the following actions:

  • Ensure consistency with policy and procedure
  • Recommend remedial action, documentation, and monitoring


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  • Refer for further action in accordance with DOM, Chapter 3, Article 14, Employee
    Misconduct Investigations/Inquiries, when appropriate. When individual conduct of
    custody staff requires further investigation, a memorandum shall be forwarded to the
    Director, Adult Institutions Division, who shall initiate a CDCR 989, Request for
    Investigation, to the Office of Internal Affairs.
  • Prepare a memorandum to refer the case to the DCHCS Professional Practice Executive
    Committee (PPEC) for review of individual practice of licensed psychologists, psychiatrist,
    and/or physicians when appropriate. The DCHCS PPEC shall report to the appropriate
    professional licensing board for investigation, when appropriate

  When approved by the DCHCS SCR Subcommittee, the Suicide Report shall be signed by the
  Director, DCHCS, or designee.

  The Suicide Report by the MHSR shall incorporate the QIP approved by the DCHCS SCR
  Subcommittee. The DCHCS SPR FIT Coordinator shall include with this report the Inmate
  Death Reports, CDCR 7229 A, Initial Inmate Death Report, and CDCR 7229 B, Initial
  Inmate Suicide Report, CDCR 837 A and B, Crime/Incident Report , Movement History and
  Offense History, and the Executive Summary serving as the cover page to complete the Final
  Suicide Report. The report shall then be forwarded to the Director of the CDCR DCHCS and
  the Director, DAI. The report shall be signed by both Directors, and copied to Regional
  Administrators of DCHCS and DAI; Legal Affairs Division; and to the reporting institutions’
  Warden; Health Care Manager/Chief Medical Officer; Mental Health Program Manager,
  Chief/Senior Psychiatrist and Chief/Senior Psychologist; and, other appropriate interested and
  legally designated persons within 60 days of date of death.

  When an investigation is required, the Office of Internal Affairs (OIA) shall track progress
  until the investigation is complete. The OIA shall forward a memorandum with a summary
  description of the methods and outcome of the investigation to the DCHCS SPR FIT
  Coordinator, who shall forward the results to the Coleman Special Master through DCHCS
  routing procedures.

  For QIP items focused on institutional compliance, the Warden and HCM/CMO are
  responsible for ensuring the implementation of the QIP within the specified time frame, which
  is not greater than 60 days of receipt of the finalized Executive Summary of the Suicide
  Report with signature approval from the Director, DCHCS (120 days following the date of
  death). QIP items focused on system-wide policy or training shall be referred to the SPR FIT
  at DCHCS. The SPR FIT Coordinator shall maintain a master list of QIP problems, corrective
  action, supporting documentation required, and completion dates. A proof-of-practice binder
  shall be maintained by the SPR FIT coordinator in order to track and record the progress of
  policy revisions and system-wide training.



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  The QIP shall be monitored by the Warden, HCM/CMO, Mental Health Program Manager,
  Chief Psychiatrist, Chief Psychologist, and SPR FIT Coordinator at the institution of
  occurrence. DCHCS may require ongoing documentation of compliance.

  The Local SPR FIT Coordinator shall prepare a follow up report of implementation
  addressing action taken on the recommendations of the QIP. All appropriate supporting
  documentation confirming that these actions have been taken shall be attached to this report.
  See table below for list of suggested supporting documentation. The Warden and
  HCM/CMO, or institution Mental Health Program Manager shall sign this report. The
  institution shall retain a copy of the report and forward the original to the DCHCS ERDR for
  review. The report is due within 30 days following the implementation of the QIP (90 days
  following receipt of the Executive Suicide Report). Additional follow up monitoring shall
  occur as necessary as dictated in the QIP.

  Action, Documentation, & Monitoring for Suicide Quality Improvement Plans

                       ACTION                     DOCUMENTATION/MONITORING
       Training                                  Copy of training agenda and sign-in sheet
       Required appointments with clinicians are List of appointments from MHTS
       held
       Changes in operating procedure            Copy of procedure or memos
       Develop Quality Improvement Team          Copy of recommendations or change in
                                                 procedures
       Missing medication due to transfer to a Ongoing monitoring of Medication
       different housing unit                    Administration Records in the UHR
                                                 Provide sample audit
       Proper Documentation                      Provide plan to audit UHR and a sample
                                                 audit
       Five Day Follow-up of suicidal inmates Audit of documentation in UHR; provide
       released from MHCB                        a sample audit
       Rounds and evaluations done in ASU by Audit UHR, CDCR 114 Isolation log and
       psychiatric technicians                   CDCR 114-A, Daily Log; provide sample
                                                 audit
       Inmates on Keyhea are identified          Review UHR
       Conduct suicide risk assessment           Review UHR
       Statewide policy issues                   Review new policy
       Investigation of individual practitioners Provide status or completion date of
                                                 investigation
       Audit of records per specified length of Periodic reports of audit findings to
       time to be sure that quality improvement DCHCS SPR FIT and DCHCS MHP
       is being consistently followed


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  The DCHCS SCR Subcommittee shall continue to review all open suicide cases until the QIP
  is approved and each case is closed. The QIP shall be incorporated into the final Suicide
  Report. All decisions made by the DCHCS SPR FIT regarding compliance and quality
  improvement shall be documented in the final Suicide Report.

  The follow-up report on implementation of the QIP shall be reviewed by the DCHCS SPR
  FIT Coordinator. In cases where the QIP is not sufficiently completed by the institution
  within the required time frame, the SPR FIT coordinator shall send a memorandum indicating
  non-compliance to the institution and to the Regional Administrator at DCHCS and DAI.
  Appropriate follow-up shall be conducted by the Regional Administrator in order to ensure
  the completion of the QIP item. In cases where a system-wide QIP is not sufficiently
  completed by the SPR FIT within the required time frame, a report of progress and any
  barriers to completion shall be forwarded from the SPR FIT to the Director of the appropriate
  CDCR division. The CDCR Division Director shall take appropriate action to ensure
  completion of the QIP. When complete, the QIP shall be distributed by the SPR FIT
  Coordinator according to legal mandates.

  If, during the suicide review process, other death related information arrives, such as
  CDCR 837 C, CDCR 7229 C, or Coroner’s report, the DNC will locate the death review
  folder and place these documents inside. The DNC shall update the routing sheet and notify
  the SPR FIT Coordinator of the new information. Upon completion of the suicide review, the
  death review folder containing the Suicide Report and other related information shall be
  returned to the DNC for final data entry. The DNC shall ensure that all documentation is
  complete and then return the folder for final storage in a designated locked cabinet at DCHCS.

  The DCHCS SPR FIT Coordinator appointed to oversee suicide-related activities shall
  coordinate analysis and review of each suicide, and compile and forward annual suicide
  statistics to: Secretary, Youth and Adult Correctional Agency; Director, DAI; Director,
  DCHCS; Deputy Director, DCHCS; Chief of Clinical Policies and Programs, DCHCS;
  Institution Wardens; Institution HCM/CMOs; and, other appropriate senior DCHCS staff.

G. MENTAL HEALTH EVALUATION COMPONENT FOR A RULES VIOLATION
   REPORT

  Per California Code of Regulations, Title 15, Section 3317 “An inmate shall be referred for a
  mental health evaluation prior to documenting misbehavior on a CDCR 115, in any case
  where the inmate is suspected of self-mutilation or attempted suicide.”

  Staff are to utilize the Request for CDCR 128B, when requesting this mental health
  evaluation.



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Suicide Prevention and Response                 Mental Health Services Delivery System

  Subsequent to the mental health evaluation, the mental health clinician’s determination will be
  documented on a CDCR 128C. A copy of this CDCR 128C shall be forwarded to the custody
  staff who requested the mental health evaluation.

  In order to preserve an inmate’s due process rights, any decision that a suicide attempt was
  not genuine must be supported by the following:

  1.   A thorough review of the UHR and Central File
  2.   A complete mental health evaluation including a complete history, current mental status
       examination, and current Diagnostic and Statistical Manual diagnosis
  3.   Appropriate psychological testing to include both objective and projective testing
  4.   A detailed summary supporting the conclusion that the suicide attempt was not genuine
  5.   The clinician’s summary must be approved and co-signed by the institution’s Chief of
       Mental Health before issuance of a CDCR 115.

  If the mental health clinician determines the inmate’s actions were an attempt to manipulate
  staff, the inmate may be charged under CCR Section 3005(a) for the specific act of
  “Attempted Manipulation of Staff.” The specific act of “Attempted Suicide” or “Self
  Mutilation” is not an appropriate charge for a CDCR 115 and shall not be used. In cases
  where a self-injurious behavior is found to be intended to manipulate staff, a copy of the
  completed mental health evaluation shall be sent to the local SPR FIT coordinator and the
  mental health program director.

  If a mental health clinician determines that, the inmate’s action was an “actual suicide
  attempt,” or cannot make a clear determination that the inmate’s action was an actual suicide
  attempt, a CDCR 115 shall not be written. In both these instances the behavior and/or the
  inability of mental health staff to make a clear determination shall be documented by custody
  staff on a CDCR 128B, Mental Health Services Staff Referral, General Chrono, for inclusion
  in the inmate’s Central File and UHR.




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Glossary of Terms                              Mental Health Services Delivery System


Appendix A
Glossary of Terms
ADL – Activities of daily living

AMBU bag – Ambulatory bag, used for Cardiopulmonary Resuscitation -

APP – Acute Psychiatric Program

ASH – Atascadero State Hospital

ASU – Administrative Segregation Unit

AS MHS – Administrative Segregation Mental Health Services

C&PR – Classification and Parole Representative

CC – Correctional Counselor

CCCMS - Correctional Clinical Case Management System- The system utilized by the
California Department of Corrections and Rehabilitation (CDCR) that facilitates mental health
care by linking inmates to needed services. The system provides care through a Clinical Case
Manager (CCM), Correctional Counselor (CC), Psychiatrist, and a Psychiatric Technician (in Ad
Seg and SHU) by monitoring CDCR’s mentally disordered population, assessing their needs and
providing medically necessary mental health care.

CCM – Clinical Case Manager - A mental health clinician, typically a psychologist or
Psychiatric Social Worker, who provides functions such as assessment, intervention, treatment
planning, treatment, and case review.

CCWF – Central California Women’s Facility

CDC – California Department of Corrections, (organizational name change to California
Department of Corrections and Rehabilitation on July 1, 2005)

CDCR – California Department of Corrections and Rehabilitation, (organization’s name
effective beginning July 1, 2005. Prior to July 1, 2005, organization’s name was the California
Department of Corrections)




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Glossary of Terms                            Mental Health Services Delivery System

Chief of Mental Health – The lead management position in an institution’s mental health
program. The individual in this position may be a Chief Psychiatrist, Chief Psychologist, or
Senior Psychologist.

CIW – California Institution for Women

CMC – California Men’s Colony

CMF – California Medical Facility

CMO – Chief Medical Officer

COR – California State Prison, Corcoran

C&PP – Clinical Policy and Programs

CPER – Clinical Performance Enhancement and Review Subcommittee

CPR – Cardiopulmonary Resuscitation

Crisis- A term to describe a sudden onset or worsening of psychiatric symptoms including
suicidality or other abnormal behavior necessitating immediate intervention.

Crisis Intervention- A term to describe the process of recognizing a mental health emergency
and initiating steps to immediately treat the symptoms.

CTC – Correctional Treatment Center

CTQ – Confined to Quarters

DCHCS – Division of Correctional Health Care Services, (division’s name effective beginning
July 1, 2005. Prior to July 1, 2005, division’s name was Health Care Services Division)

DDPS – Distributed Data Processing System

DMH – Department of Mental Health

DNC – Death Notification Coordinator

DOT – Directly Observed Therapy

DSM – Diagnostic and Statistical Manual


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Glossary of Terms                                Mental Health Services Delivery System


Emergency- For the purpose of this document, an emergency is defined as a mental health
condition for which evaluation is immediately necessary.

EOP – Enhanced Outpatient Program

ERDR – Emergency Response and Death Review Committee

GACH – General Acute Care Hospital

GAF - Global Assessment of Functioning - A system by which mental health staff can measure
the functioning of inmates using a standardized clinical ranking system as outlined in the DSM.

GP – General Population

HCCUP – Health Care Cost and Utilization Program

HCM – Health Care Manager

HCPU – Health Care Placement Unit

HCSD – Health Care Services Division, (division’s name changed to Division of Correctional
Health Care Services on 7/1/2005)

HS – hora somni; hour of sleep

ICC - Institutional Classification Committee- A committee made up of custody and health
care staff whose primary function is to review the housing, custody, or classification issues of an
inmate receiving mental health care within the Department.

ICD – World Health Organization’s International Classification of Diseases

IDTT – Interdisciplinary Treatment Team

IMHIS – Inmate Mental Health Identifier System

IST – In-service Training

Level of Care (LOC)- The designated placement of an inmate into the clinically appropriate
mental health program.

LPT - Licensed Psychiatric Technician


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Glossary of Terms                                Mental Health Services Delivery System


LTCS – Long-Term Care Services

LVN - Licensed Vocational Nurse

MAR – Medication Administration Record

Medical Necessity- Mental health intervention is necessary to protect life and/or treat significant
disability/dysfunction in an individual diagnosed with or suspected of having a mental disorder.
Treatment is continued for these cases only upon reassessment and determination by the IDTT
that the significant or life threatening disability/dysfunction continues or regularly recurs.

Mental Health Clinician- An individual who is a psychiatrist, psychologist, or a psychiatric
social worker.

MHCB – Mental Health Crisis Bed

MHP – Mental Health Program

MHQMS – Mental Health Quality Management System

MHSDS – Mental Health Services Delivery System

MHSR – Mental Health Suicide Reviewer

MHTS – Mental Health Tracking System - A standardized, automated system of record
management and case tracking. The data collected by the MHTS includes historical heat
medication, LOC changes, mental health staff contacts, mental health statistics such as Global
Assessment Functioning (GAF) scores, current diagnosis, and transfer history.

MOD – Medical Officer of the Day

MOU - Memorandum of Understanding - An agreement between the Department of
Corrections and the Department of Mental Health to provide acute and intermediate inpatient
care to SMD inmates who may exhibit marked impairment and dysfunction or are believed to be
a danger to him or herself and/or to others.

MTA - Medical Technical Assistant - An individual who possesses a valid license from the
State of California to practice as a Licensed Vocational Nurse or Registered Nurse, and who is a
peace officer pursuant to Penal Code Section 830.5 (b).

OHU – Outpatient Housing Unit


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Glossary of Terms                              Mental Health Services Delivery System


OP – Operating procedure

Parole Outpatient Clinic (POC) A clinic that provides psychiatric diagnosis, evaluation, and
treatment for parolees referred by staff. Many parolees receive medication from POCs.

PBSP – Pelican Bay State Prison

POC – Physician or Psychiatrist on call (see also POD)

POC Clinic – Parole Outpatient Clinic

Primary Clinician (PC)- A psychiatrist, a psychologist, or a psychiatric social worker, assigned
to each patient, who assumes overall responsibilities for the treatment services provided to a
patient by maintaining active therapeutic involvement with the patient and coordinating services
provided according to the treatment plan.

PRN – as needed

PSH – Patton State Hospital

PSU – Psychiatric Services Unit

PT - Psychiatric Technician

PSW - Psychiatric Social Worker

Psychiatrist on Duty (POD)- A psychiatrist who is available to provide emergency assessment
to inmate/patients who may require immediate psychiatric intervention including admission into
an acute psychiatric program.

QIP – Quality Improvement Plan

QMT – Quality Management Team

RT – Recreational Therapist

RN - Registered Nurse

RVR – Rules Violation Report

SAC – California State Prison, Sacramento


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Glossary of Terms                               Mental Health Services Delivery System


SHU – Security Housing Unit

SNF – Skilled Nursing Facility

SPR FIT – Suicide Prevention and Response Focused Improvement Team

SQ – San Quentin State Prison

SRAC – Suicide Risk Assessment Checklist

SVPP – Salinas Valley Psychiatric Program

TB - Tuberculosis

Treatment Plan - A set of individualized recommendations based upon clinical and custody
staff input for an inmate with identified mental health care needs.

UM – Utilization Management

Unit Health Record (UHR) - A hard cover, multi-sectioned record that contains essential
medical and mental health data collected and generated during the inmate's stay at CDCR.

Urgent- For the purpose of this document, urgent is defined as a mental health condition for
which evaluation is necessary within 24 hours.

VSPW – Valley State Prison for Women




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          ATTACHMENT A

      CONFIDENTIALITY
        GUIDELINES
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                                                                           Department of Corrections and Rehabilitation


 Memorandum

 Date:     April 18, 2007


  To:      Executive Staff
           Associate Directors-Division of Adult Institutions
           Regional Parole Administrators (Juvenile and Adult)
           Regional Administrators-Division of Correctional Health Care Services
           Superintendents
           Wardens
           Health Care Managers (Juvenile and Adult)

subject:   THE PARAMETERS OF CONFIDENTIALITY OF INMATE-PATIENT
           COMMUNICATIONS AND GUIDELINES FOR DISCLOSURE
           The purpose of this memorandum is to ensure that confidentiality of inmate-patient
           communications with mental health clinicians is protected.
           Overview

           Health care delivered in prison is constitutionally adequate when it meets community
           standards, or those established for cmrectional settings by national correctional health
           care organizations. One area where there is significant and recognized differences
           between community and correctional standards is that of confidentiality.
           Confidentiality of the inmate-clinician relationship is based on ethical and legal
           principles. One example of a well-known limitation to confidentiality, in the community
           and in prisons, is the Tarasoff ruling: Where a patient tells a clinician that he or she
           intends to harm a readily identifiable person, then the clinician has a duty to protect,
           which may at times be discharged by warning the identified person and/or law
           enforcement. For additional information, reference Attachment A, Assembly Bill 733,
           amendment to Section 43.92 of the California Civil Code.

           In prisons, confidentiality is further limited by the interests of people (staff and inmates)
           and property (the institution's physical plant and its environment), which together
           constitute a concept commonly referred to as "the safety and security of the institution."

           All staff that intentionally, accidentally or inadvertently overhears confidential
           communications (arising from clinical contacts such as cell front visits) is also
           responsible for maintaining confidentiality of the communication.
           There are many familiar situations where strict and traditional healthcare confidentiality
           is compromised, such as during pill lines, during Interdisciplinary Treatment
           Teams (IDTT) meetings because the team composition includes custody officers, and
           during cell front visits. Custody officers, correctional counselors, and other staff who arc
           members of an IDTT arc bound to not discuss health-related inmate-patient information
           with anyone other than the team members.
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    In general, written clinical records, which often include documentation of conversations
    conducted in a private clinical setting, are entitled to the same protections as in the
    community. Clinicians should familiarize themselves with relevant State and federal
    laws (such as Health Insurance Portability and Accountability Act - HIPAA), which
    basically require written consent from patients for release of medical information outside
    of the treatment team. Exceptions arise, however, when information obtained by a
    clinician in the course of a therapeutic encounter, creates a set of security concerns that
    are much broader than those in the community. For example, if an inmate tells a
    clinician that he or she possesses a weapon, the clinician must report it to custody in the
    interest of protecting the safety and security of the institution. In a private practice
    setting, as an example, such a disclosure would not ordinarily be reported to the police.

    To date, there are no nationally accepted guidelines/laws that govern all instances of
    limitations to confidentiality in a correctional setting. Therefore, the California
    Department of Corrections and Rehabilitation (CDCR) has developed guidelines
    regarding the handling of information disclosed in the context of an inmate clinician
    relationship, and during a clinical encounter.

    Definitions

    •   For purposes of this policy, the general term of "clinician" is used when referring to
        psychiatrists, physicians, psychologists, clinical social workers, nurse practitioners,
        registered nurses, licensed vocational nurses, licensed psychiatric technicians, and
        recreational therapists.

    •   A "clinician-patient relationship" is established in the correctional setting when a
        clinician is engaged in the evaluation/assessment/diagnosis and/or treatment of a
        mental or emotional condition. A communication by an inmate, within the clinician
        patient relationship, to a clinician, is considered confidential if the inmate does not
        intend it to be disclosed to third persons.

    •   The location where a confidential communication occurs 1s referred to, m this
        memorandum, as the "clinical setting."

    •   A "clinical encounter" occurs when a clinician communicates with an inmate-patient
        in a clinical setting.

    •   The "safety and security of the institution" refers to and involves people (self, others,
        the community) and property (the institution's physical plant and environment).
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    •    The adjective "acute," in reference to intoxication, is a medical term that means "of
         abrupt onset," in reference to a disease or condition. Acute often also connotes a
         condition that is of short duration and in need of urgent attention. Further, for the
         purpose and clarification of this policy, "acute" essentially means signs and
         symptoms of being under the influence in the here-and-now.
    Guidelines

    These guidelines apply to all clinicians working within, or on behalf of, the CDCR as
    well as any nonclinical staff who overhear confidential communications.
    A. Disclosure
    The disclosure of confidential information to nonclinical staff is permissible when:
    1.     The inmate is suicidal and it is clinically necessary to inform others in order to
           protect the inmate-patient.
    2.     The inmate is:
            a. Receiving psychotropic medication: as an example, custody may need to
               know (without disclosing specifics) that an inmate is on a medication that
               causes side-effects that may interfere with the ability to follow orders or
               participate in programming.
            b. Being noncompliant with medication: as an example, custody may need to be
               informed that an inmate is medication noncompliant and needs to be
               restrained for the administration of such, pursuant to a Keyhea order.
    3.     The inmate requires movement to a special unit for observation, evaluation, or
           treatment of acute episodes.
    4.      The inmate requires transfer to a treatment facility outside the prison.

    The disclosure of confidential information to appropriate nonclinical staff is mandatory
    when:

    1.      The inmate is homicidal, by virtue of either conduct or oral statements, and there
            is a reasonably identifiable victim.
    2.      The inmate specifically admits to, or leads the clinician to a reasonable suspicion
            of, child or elder abuse (clinicians are trained to recognize those situations
            requiring a report).
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    3.     The psychotherapist has reasonable cause to believe that the patient is in such
           mental or emotional condition as to be a danger to him/herself or to the person or
           property of another and that disclosure of the communication is necessary to
           prevent the threatened danger, by virtue of any of the following:

           a. An inmate's conduct/behavior, including possession of a weapon.

           b. An inmate's oral statements, including communications such as those that
              indicate a plan for drug trafficking or a plan for sexual misconduct.

           e. Signs and symptoms that an inmate is in a state of acute intoxication,
              secondary to either illegal substances or prescribed medications
              (nonphysicians shall seek immediate consultation with a physician when they
              suspect acute intoxication). Refer to Page 6 of this memorandum for
              additional details.

    4.     The inmate presents a reasonably clear risk of escape or the creation of internal
           disorder or riot.

    Clinicians shall not use the CDCR counseling or disciplinary process to report
    confidential communications such as thoughts, feelings, fantasies, or behaviors of
    inmate-patients which do not indicate any of the risks detailed in the above guidelines.

    B. Scope of Disclosure
    Only limited and relevant healthcare information should be shared, and only with those
    nonclinical staff who have a need to know. In situations where disclosure of confidential
    communication is deemed permissible, the clinician has the responsibility to weigh the
    potential harm and benefit of both maintaining confidentiality and of disclosing the
    information, in order to determine if disclosure is necessary.

    In certain instances (such as, for example, matters involving communications that
    indicate a plan for drug trafficking or a plan for sexual misconduct) the clinician,
    exercising clinical judgment, may elect to report the inmate's behaviors and statements in
    general terms to custody staff, without identifying the specific inmate by name.
    Whenever a clinician elects to provide notification in this manner, they shall first seek
    consultation with a supervisor, and the two shall engage in the custody notification
    together.

    More often than not, disclosure/non - disclosure issues cannot wait for presentation at a
    scheduled IDTT meeting. Therefore, when the clinician needs guidance regarding
    disclosure versus nondisclosure, the clinician should consult with a supervisor or
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    colleague and document the consultation in the Unit Health Record. If a consensus
    cannot be reached between the clinician and a supervisor/colleague, the issue/case should
    be elevated up the local chain of command, first within the healthcare structure, and then,
    if indicated, with the custody management structure.
    Discussions beyond the level of the clinician and a supervisor/colleague should contain
    as little revelation of identifying infom1ation as possible until a consensus is reached. If
    necessary, the Warden and Health Care Manager can elevate the issue/case to Regional
    Administrators and Regional Mental Health/Medical Directors for guidance. If
    necessary, these regional managers can elevate the matter for further guidance.

    Duty To Disclose Limits Of Confidentiality

    Clinicians are responsible for informing the inmate-patient of the above limits of
    confidentiality, or ensuring that prior documentation in the Unit Health Record (UHR)
    indicates that this disclosure has occurred prior to commencement of a clinical encounter.
    CDCR Form 7448 Informed Consent For Mental Health Care shall be used for this
    purpose (see Attachment B).
    Inmates should be informed that communication disclosed to a clinician, within the limits
    described in the guidelines above, and documented in the UHR, is generally confidential,
    but that information obtained in the context of a court ordered evaluation (such as for a
    Board of Prison Hearings determination, competency to stand trial, parole/probation
    reports, etc.) is not.

    Illegal Substance Use and Sexual Misconduct

    Illegal substance use (including alcohol and inmate manufactured "pruno") and sexual
    misconduct warrant special consideration for the clinician working in a CDCR
    environment.

    In regard to illegal substance use, clinicians commonly solicit information about such in
    the course of formulating an accurate diagnosis and the development of an appropriate
    treatment plan. Inmates need to feel confident that they can openly and honestly discuss
    use/abuse/addiction issues with their clinician without fear of rules violation reporting or
    criminal prosecution. Inability to have this type of confidential communication with a
    health care provider could pose a limitation in terms of access to care, which is
    potentially an 8th Amendment violation.
    Scenarios involving acute intoxication or disclosure of planned use of illegal substances
    requires careful clinical judgment, utilizing the guidelines above (particularly in tenns of
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    danger to self or others), in determining whether or not to disclose the information to
    custody. If an inmate solicits and is granted confirmation of confidentiality from the
    clinician prior to disclosing information about illegal substance use, it is incumbent upon
    the clinician to stop the inmate and warn of the potential need to disclose if the course of
    the conversation shifts in a direction that raises the issue of potential dangerousness. The
    guiding principle is to be helpful to the inmate seeking assistance with a problem that
    affects his or her health (and conceivably would thereby benefit the safety and security of
    the institution) within the confines of the limits of confidentiality outlined in this policy.
    Issues surrounding the trafficking (buying, selling, possession, illegal trade, movement,
    transporting) of illegal substances are reportable. If, during a private communication in a
    clinical setting, an inmate starts to disclose information regarding the trafficking of
    illegal substances, the clinician should stop the inmate and warn of the duty to disclose,
    thereby allowing the inmate the opportunity to stop or proceed with full disclosure.
    Sexual misconduct within the confines of a clinical setting, such as indecent exposure,
    intentionally sustained masturbation without exposure (such as under the clothing), or
    verbal/written epithets, sometimes occur in a therapeutic context. An inmate should be
    encouraged to discuss the feelings, motivations, fantasies, compulsions, etc., behind these
    behaviors, but also be warned that the actual behaviors themselves are violations of
    institutional policy, and sometimes State law. The clinician shall instruct the inmate-
    patient to cease the illegal behaviors immediately, and shall inform them that a
    continuation of such behaviors shall result in termination of the therapeutic session and a
    reporting of the incident(s). The clinician is permitted to exercise clinical judgment in
    determining how to best handle these clinical situations, and, when in doubt, the clinician
    should seek consultation with a supervisor or colleague. The reporting of sexual
    misconduct behaviors that occur in a private clinical setting is not always mandatory. As
    an example, the reporting of an initial incident is left to the discretion of the clinician.
    The clinician shall, however, instruct the inmate-patient to immediately cease the
    behavior and shall review the Department's policy regarding sexual misconduct with the
    inmate-patient, but may elect not to report the incident. Once the clinician has provided
    this instruction and reviewed the rules with the inmate-patient, all subsequent incidents of
    sexual misconduct shall be reported via the rules violation reporting process.
    When in doubt about issues related to illegal substance use and/or sexual misconduct,
    seek consultation utilizing the above guidelines. These types of decisions are often
    difficult and involve multiple complex moral, ethical, legal, humanistic and practical
    dilemmas and issues that include the inmate's access to care, the safety and security of
    the inmate, the safety and security of coworkers, as well as the general safety and
    security of the institution.
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    The conscientious clinician will never go wrong in seeking consultation and documenting
    the outcome of such.

    Procedure For Disclosure Of Confidential Information

    When a decision is made to disclose confidential information, the clinician shall
    document, in the progress notes and treatment plan, consideration of:
    1. The best way to limit the extent of disclosure while still preventing the threatened
       harm.

    2. The potential strain to the therapeutic relationship with the clinician.
    3. Any other relevant issues in regard to the therapeutic relationship and treatment
       goals, such as the potential need to reassign the inmate-patient's care to another
       clinician for the purpose of continued proper and sufficient access to care.

    Psychiatric Services Unit Considerations

    Inmates who are receiving Enhanced Outpatient Program (EOP) level-of-care and are
    serving a Secure Housing Unit (SHU) term are housed in the Psychiatric Services
    Unit (PSU). These PSU programs utilize "Behavioral Incentive Programs" in granting
    privileges and property. Clinicians may continue to use the CDCR counseling or
    disciplinary process to document ONLY inmate misconducts that occur outside a clinical
    setting, and/or when the exceptions listed in the guidelines above are applicable.
    Use of the Disciplinary Process

    When a clinician documents an inmate-patient's behavior using the CDCR disciplinary
    process, the clinician shall use a draft report worksheet. It is the responsibility of the
    custody-classifying official to designate the seriousness of the reported behavior, and
    whether it is categorized as a 128A Counseling Chrono or a CDCR Form 115 Rules
    Violation Report.
    Training

    Attachment C includes scenarios to be used for training purposes. A schedule for staff
    training on this topic will be distributed under separate cover.
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    Questions

    If you have any questions regarding this memorandum, you may contact Shama Chaiken,
    Ph.D., Chief Psychologist, Mental Health Program, Division of Correctional Health Care
    Services (DCHCS), at (916) 445-4114 or Michael Stone, J.D., Staff Counsel, Coleman
    Case, Office of Legal Affairs (OLA), at (916) 324-1421.




    BRIGID HANSON
    Director (A)                                       trector (A)
    Division of Correctional Health Care Services     Division of Adult Institutions

    Attachment

    cc: Michael Stone, General Counsel, OLA
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        Joseph Moss, Correctional Captain, DAI
        Mary Neade, Correctional Counselor II, DAI
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    bee:   Helen Steenrnan, Ph.D., Senior Psychologist, Mental Health Program, DCHCS
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           Nola Grannis, Chief, Inmate Appeals
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                             ATTACHMENT A
                             Assembly Bill 733
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                AMENDED IN SENATE JUNE 5, 2006
             AMENDED IN ASSEMBLY MAY 10, 2005
           CALIFORNIA LEGISLATURE-2005-06 REGULAR SESSION


ASSEMBLY BILL                                                       No. 733


              Introduced by Assembly Member Nation


                            February 17, 2005



  An act to amend Section 43.92 of the Civil Code, relating to
personal rights.

                       LEGISLATIVE COUNSEL'S DIGEST

   AB 733, as amended, Nation. Psychotherapists: duty to warn.
  Existing law provides that no monetary liability and no cause of
action shall atise against a psychotherapist, as defined, for failing to
warn and protect from a patient's threatened violent behavior except
where the patient has communicated to the psychotherapist a setious
threat of physical violence against a reasonably identifiable victim or
victims. Existing law also specifies that if there is a duty to wam and
protect under the limited circumstances specified above, that duty is
discharged by the psychotherapist making reasonable efforts to
communicate the threat to the victim or victims and to a law
enforcement agency.
  This bill would revise thttt provision to 8pecify thttt it applies 'vvhere
the patiet1t himself or herself has communicated the threttt to the
psychotherapist. The bill would also encourage a therapist, if a
paticHt's threttt has been eommunica:ted to the therapist by a: third
pa:rty, to conta:et the pa:tient to the extent tha:t the therapist rea:sot1ably
believes is t1eeessa:ry to a:ssess ·whether the pa:tient poses a: serious
threa:t of physical ·violence a:ga:inst a: rea:sonably identifiable victim or


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victims. The bill would specify that the amendments apply only to
actions filed on or after Jttnuttry 1, 2006.
  This bill would revise that latter provision to instead specify that
there is no monetary liability and no cause of action shall arise
against a psychotherapist who, under the limited circumstances
described above, discharges his or her duty to warn and protect by
making reasonable efforts to communicate the threat to the victim or
victims and to a law enforcement agency.
  Vote: majority. Appropriation: no. Fiscal committee: no.
State-mandated local program: no.

      The people of the State of California do enact as follows:

 1     SECTION 1. Section 43.92 of the Civil Code is amended to
 2   ~
 3    43.92. (a) There shall be no monctttry liability on the part of,
 4 a:nd no eaursc of action shall ttrise against, ttny person ·who is a
 5 psychotherapist as defined in Sectimi 1010 of the Evidence Code
 6 in failing to warn of ttnd protect from a patient's threatened
 7 violent behavior or failing to predict ttnd Vv'ftffl of and protect
 8 from a patient's violent behavior except vthere the patient
 9 himself or herself has communicated to the psychotherapist a
10 serious threat of physical violence against a reasonably
11 idcfltifiable victim or victims.
12    (b) If there is a duty to warn and protect under the limited
13 circumstttnccs specified abm,·e, the duty shall be dischttrgcd by
14 the psychotherapist making reasonable efforts to communicate
15 the threat to the victim or victims ttnd to a law enforcement
16 agency.
17    (c) Not'vvithstttnding subdivision (a), if a patient's threat has
18 been communicated to the therapist by a third party, the therapist
19 is encouraged, but not required, to contact the patient to the
20 extent that the therapist reasonably believes is neeessar,· to assess
21 whether the patieHt poses a serious threat of physical violence
22 agaiHst a reasonably identifiable victim or victims.
23    (d) The amendments made to this section by the act adding
24 this subdivision shall apply oHly to actioms filed on or after
25 January 1, 2006.
26     SECTION 1. Section 43.92 of the Civil Code is amended to
27   read:

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 1      43.92. (a) There shall be no monetary liability on the part of,
 2   and no cause of action shall arise against, any person who is a
 3   psychotherapist as defined in Section 1010 of the Evidence Code
 4   in failing to warn of and protect from a patient's threatened
 5   violent behavior or failing to predict and warn of and protect
 6   from a patient's violent behavior except where the patient has
 7   communicated to the psychotherapist a serious threat of physical
 8   violence against a reasonably identifiable victim or victims.
 9     (b) If there is a duty to wam attd protect under the limited
10   circumstances specified ab0'¢C, the duty shall be discharged by
11   the psychotherapist making reasonable effurts to communicate
12   the threat to the victim or •¢ietims and to a law enforcement
13   agency. There shall be no monetary liability on the part of, and
14   no cause of action shall arise against, a psychotherapist who,
15   under the limited circumstances spec(fied above, discharges his
16   or her duty to warn and protect by making reasonable efforts to
17   communicate the threat to the victim or victims and to a law
18   enforcement agency.




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                             ATTACHMENT B
               Informed Consent For Mental Health Care
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STATE OF CALIFORNIA                                                                DEPARTMENT OF CORRECTIONS AND REHABILITATION
INFORMED CONSENT FOR MENTAL HEALTH CARE
CDCR 7448 (06/06)                                                                                                     Page 1 of 2
                                  INFORMED CONSENT FOR MENTAL HEALTH CARE

Date: _ _ _ _ _ _ _ _ _ __                                                              Time: _ _ _ _ _ _ _ _ __


 _ _ _ _ _ _ _ _ _ _ _ _ _ _ met with me and discussed the mental health care services offered in the
         Print Provider's Name

California Department of Corrections and Rehabilitation.
I understand that:
 • I do not have a choice about my housing, but I can decide whether or not to participate in mental health treatment.
 • In some mental health programs, I can earn privileges by participating in my mental health treatment plan.
 • Information I discuss with my mental health clinician may be discussed with custody staff, nursing staff, and
   other staff who are part of my treatment team.
 • The team will usually keep my personal information private, unless they decide it is necessary to share
   information with others in order to protect my safety, or the safety or property of other people. For example, if I talk to
   a mental health clinician and I am under the influence of alcohol or illegal drugs, the clinician will decide if this needs to
   be reported to custody staff. My clinician might write a report that could lead to a Rules Violation Report (115).
 • If I expose my genitals or masturbate during a confidential individual or group clinical session, my clinician might write
   a report that could lead to a Rules Violation Report (115).
 • I may receive involuntary treatment if, as a result of my mental or emotional state, I pose a danger to others, or
   myself, or I am unable to care for myself.
 • Mental health clinicians keep notes in my medical record, also called the Unit Health Record. If I am scheduled
   to appear before the Board of Parole Hearings for possible parole, this record may be reviewed by staff writing
   reports to the Board of Parole Hearings.
 • If I receive a Rules Violation Report (115), a mental health clinician who is not my regular case manager may ask to
   talk to me about my behavior and the situation that led to the 115. If I talk to this mental health clinician, the things I
   say are not confidential, and might be written down on a form that goes into my Central File.
My clinician offered to answer questions about mental health treatment in the prison setting, and the information above.
Inmate's Signature _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


I have discussed limits to confidentiality with the inmate patient:
     It is my opinion that s/he has the capacity to understand the potential risks and benefits of participation in mental
     health services.
     It is my opinion that although the inmate meets criteria for inclusion in the Mental Health Services Delivery System,
     s/he may have difficulty understanding the risks and benefits of participation. Clinicians treating this inmate-patient
     should continue to clarify the limits to confidentiality.

Additional Information:




Clinician's Signature                                                 Clinician's Classification
                                                             CDC NUMBER, NAME (LAST, FIRST, Ml), INSTITUTION AND DATE OF BIRTH
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STATE OF CALIFORNIA                                                         DEPARTMENT OF CORRECTIONS AND REHABILITATION
INFORMED CONSENT FOR MENTAL HEALTH CARE
CDCR 7448 (06/06)                                                                                                 2 of 2
                                                       INSTRUCTIONS


Prior to commencement of a clinical encounter, clinicians are responsible for informing the inmate-patient of the limits
to confidentiality, or ensuring that prior documentation on this form is in the Unit Health Record, indicating that this
disclosure has occurred.
Document the date and time of the discussion with the inmate-patient.

Print the provider's name.

Discuss limits to confidentiality with the inmate-patient.

Ask the inmate-patient to consent by signing the form. Document in "Additional Information" if the inmate-patient is unable
or unwilling to sign the form.

Check one of the boxes in the bottom section of the form.

Add any other relevant information regarding the inmate-patient's ability to give informed consent.

Sign the form, and indicate the classification of the clinician signing the form (e.g. Psychiatrist, Psychologist, Clinical
Social Worker, and Senior Psychologist).
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                             ATTACHMENT C
                  Examples for Confidentiality Training
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                  EXAMPLES FOR CONFIDENTIALITY TRAINING

  Scenerio A - Substance Use
  A custody officer overhears a mental health clinician talking to an imnate-patient at cell
  front. The inmate admits that she used marijuana one week ago. She is not currently
  under the influence, and claims that she does not have any more marijuana.

  Appropriate Response
  The information was disclosed in the context of a clinician-patient relationship, during a
  clinical encounter. All staff who intentionally, accidentally, or inadvertently overhear
  confidential communication are responsible for maintaining confidentiality of the
  communication.

  Neither the clinician, nor the custody officer should use the disciplinary process to report
  this information. The officer should not disclose the identity of the inmate to other
  officers. If it is deemed necessary to protect the safety and security of the institution, the
  officer may notify custody supervisors of the need to be alert for illegal substances during
  cell and unit search, without disclosing the identity of the specific inmate who was
  overheard talking to the clinician



  Scenerio B - Escape Plan
  An inmate discloses, during a confidential individual session, a credible plan to escape
  from prison. The clinician assesses that the inmate presents a reasonably clear risk of
  escape.

  Appropriate Response
  The clinician should have already discussed limits of confidentiality with the inmate-
  patient before this conversation begins. At the point that the inmate begins to disclose the
  escape plan, the clinician should remind the inmate-patient that disclosure will be
  necessary (unless this reminder could pose an immediate danger to the clinician). The
  clinician should tell the inmate-patient that discussing fantasies about escape is better
  than acting on them, and should encourage the inmate-patient to make the disclosure
  himself. Statements such as :"I believe you told me because you wanted help stopping
  yourself from acting on this plan," could be helpful. If the inmate-patient refuses to
  disclose the information to custody, the clinician -shall disclose the information by
  documenting what the inmate-patient said, and providing this documentation to custody
  staff. The clinician should not determine whether this documentation should or should
  not lead to a Rules Violation Report.



  Scenerio C - Danger to Self/Possession of Dangerous Contraband
  A custody officer overhears a clinician talking to an inmate-patient at cell front. The
  inmate reports that he has taken his safety razor apart, because he was thinking about



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  harming himself, but has decided not to cut himself with it. He gives the razor blade, in a
  paper bag, to the clinician.

  Appropriate Response
  The information was disclosed in the context of a clinician-patient relationship, during a
  clinical encounter. All staff who intentionally, accidentally, or inadvertently overhear
  confidential communication are responsible for maintaining confidentiality of the
  communication.

  Neither the clinician, nor the custody officer should use the disciplinary process to report
  this information. The officer should not disclose the identity of the inmate to other
  officers.

  The clinician has reasonable cause to believe that the patient is in such a mental or
  emotional condition as to be dangerous to himself. Disclosure that the inmate had the
  razor blade may, or may not be necessary to prevent the threatened danger. The clinician
  may give the razor blade to custody staff for safe disposal without disclosing the name of
  the inmate. The clinician should only disclose the name of the inmate if it is deemed
  necessary to prevent the inmate from harming himself or others. For example, if the
  clinician suspects that the inmate may have additional razor blades in the cell, or in
  possession, the clinician may request that a search be conducted.

  The clinician    required to see the inmate-patient in a confidential setting, and conduct
  a complete suicide risk assessment. The clinician may indicate that the inmate-patient
  needs to be evaluated on an emergency basis, due to suicidal ideation. Based on the
  clinician's information about the inmate-patient's history of suicide risk, and the
  assessment of current risk, the clinician may refer the inmate to a psychiatrist, place the
  inmate in an Outpatient Housing Unit for further evaluation/observation, order suicide
  observation (watch or precautions), and/or refer the inmate-patient to a Mental Health
  Crisis Bed.



  Scenerio D Sexual Fantasies in Individual Sessions
  An inmate-patient discloses in an individual session that he has sexual fantasies about his
  clinician. He gives his clinician a letter detailing the fantasies.

  Appropriate Response
  Clinicians shall not use the CDCR counseling or disciplinary process to report
  confidential communications such as thoughts, feelings, or fantasies.

  The clinician should tell the inmate-patient that it is common for patients to have sexual
  feelings about their therapist. The clinician should indicate that sex is never part of
  professional therapy, and may use literature designed to educate mental health patients
  regarding this topic. The clinician should indicate that the therapeutic relationship can be
  confused with an intimate or romantic relationship, and explain the difference between



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  these types of relationships. The clinician should indicate that the inmate's feelings
  expressed in the correctional setting could be considered "overfamiliarity," and the
  clinician should explain the reasons for these rules. Taking into account the mental
  health treatment plan, the clinician response can vary. In many cases, it is appropriate to
  set a limit that further discussion of sexual fantasies will not be tolerated. In limited
  cases, where the inmate has enough impulse control, and is able to process the feelings as
  part of the therapeutic process, further discussion may be allowed after discussion and
  approval of clinical supervisor including documentation in the UHR . Inmate-patients
  should NOT be encouraged to sexually stimulate themselves by relaying fantasies to a
  mental health clinician.

  If the clinician sets a limit restricting further discussion of sexual fantasies, and the
  inmate-patient does not stop writing or relaying fantasies, the clinician should discuss this
  with a supervisor or peer review group. The inmate-patient may need to be assigned to a
  different clinician.



  Scenerio E- Sexual Fantasies in the Group Setting
  An inmate-patient participates in group therapy for survivors of sexual abuse. She writes
  detailed sexual fantasies about a licensed psychiatric technician (LPT) who facilitates
  group therapy, and gives the writing to the LPT at the end of a group therapy session.

  Appropriate Response
  For the purpose of the confidentiality policy, the LPT is a mental health "clinician." The
  information was disclosed within the context of a "clinician-patient relationship" and did
  not intend that the information be disclosed to third persons.

  The LPT should discuss the situation with the inmate-patient's primary clinician. In
  many cases, a meeting between the clinician, LPT, and inmate-patient would be
  appropriate. The clinician should tell the inmate-patient that it is common for patients to
  have sexual feelings about their mental health providers. The clinician should indicate
  that sex is never part of professional therapy, and may use literature designed to educate
  mental health patients regarding this topic. The clinician should indicate that the
  therapeutic relationship can be confused with an intimate or romantic relationship, and
  explain the difference between these types of relationships. The clinician should indicate
  that the inmate's feelings expressed in the correctional setting could be considered
  "overfamiliarity," and the clinician should explain the reasons for these rules. The
  inmate-patient should be told that the feelings about the LPT can be discussed in
  individual therapy, after provisions and parameters of the therapy are agreed upon by the
  clinical supervisor and assigned clinician, but should not be disclosed directly to the LPT
  in written or verbal form, in the future.

  Based on the inmate-patients response to counseling about the issue, the LPT and primary
  clinician should make a joint decision about whether the inmate-patient should continue
  to participate in the assigned group. If the communication regarding sexual fantasies



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  continues despite setting limits, the inmate-patient should be removed from the group
  therapy situation with that specific LPT. If inappropriate communication continues, and
  poses a danger to the mental or emotional health of the LPT, the clinician should discuss
  the situation with a supervisor or peer review group and weigh the potential harm and
  benefit of both maintaining confidentiality and of disclosing the information, in order to
  determine if disclosure is necessary. Actions taken may be to elicit help from custody
  staff to reduce or eliminate contact between the LPT and the inmate-patient. The inmate
  counseling or disciplinary process should be utilized only as a last resort.



  Scenerio F - Fantasies about harming others
  An inmate-patient reveals to a therapist that he has a persistent intrusive fantasy about
  killing correctional officers. His thoughts about killing correctional officers occur every
  day, and intensify when he is being escorted by officers. He has a past history of violent
  behavior. He reports that he believes he will one day act on this fantasy, if he gets the
  chance. He is not focused on harming any particular officer, but states, "When an officer
  puts his hands on me, I feel like killing him."

  Appropriate Response
  The clinician should have already discussed the limits of confidentiality with the inmate-
  patient before beginning this discussion. At the onset of this content, the clinician should
  tell the inmate that talking about these fantasies in therapy is better than acting on them.
  The clinician should be clear that if disclosing the information could keep officers safe, it
  will be disclosed. The clinician should elicit as much information about the fantasy as
  possible, and assess the inmate-patients current intent and means to harm or kill an
  officer, including the past history of impulsive violent behavior. The clinician should
  consider placement in a Mental Health Crisis Bed if the risk could be imminent. The
  clinician should encourage the inmate to talk to a custody supervisor about the thoughts,
  in order to make custody staff aware of the situation. This may require, especially for
  inmates in a general population setting, a discussion of the potential consequences of
  disclosure, including placement into Administrative Segregation. If the inmate discloses
  the information to custody staff, the content is no longer confidential. However, the
  inmate's mental health condition should be considered in any decision about whether to
  use the disciplinary process to document the information disclosed.

  If the inmate decides not to disclose the information, the clinician must balance the cost
  and benefit of disclosing the information. In this case, because the inmate has a past
  history of violence, has expressed a belief that the violence will occur, and has provided
  information that could reasonably identify potential victims, the clinician is required to
  take action to prevent harm. Disclosure to custody staff is necessary to prevent the
  threatened danger, and it should be documented in the form of an informational chrono.
  The treatment plan should clearly indicate that reduction of homicidal ideation is a target
  goal. This goal will be discussed in the interdisciplinary treatment team process, with
  officers and custody supervisors present.




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  Scenerio G
  An inmate in a Level 1 setting requests to see a mental health clinician. He comes to the
  session and his breath smells strongly like alcohol. The clinician reminds the inmate
  about the limits of confidentiality, indicating that if an inmate is intoxicated and thereby a
  danger to himself or others, the clinician may need to report the intoxication. The
  clinician then asks the inmate-patient if he has been drinking alcohol, and he denies it.
  His speech is slurred and his gait is unsteady. The clinician does not have immediate
  access to the Central File, and cannot determine if the inmate has a history of violent
  behavior, however, understands that inmates in a Level 1 setting are not generally serving
  prison time for violent behavior.

  Appropriate Response
  This inmate-patient demonstrates signs and symptoms of acute intoxication, or another
  serious medical condition. If the clinician is not a psychiatrist, the clinician should
  request immediate consultation with a physician. The inmate-patient should be held in a
  safe location until appropriate medical care can be administered. If intoxication is
  determined to be the most likely cause of the symptoms, the physician and mental health
  clinician shall assess the harm and benefit of both maintaining confidentiality and of
  disclosing the information to custody, in order to determine if disclosure is necessary.
  Review of the central file may be a key element in the dete1mination of whether this
  inmate-patient is at risk of harming others. The level of intoxication and any other
  statements made by the inmate-patient should be considered in the decision.

  The mental health clinician and physician may disclose the acute intoxication if
  disclosure is necessary to prevent harm to others or to the inmate patient. The inmate
  requires further medical observation and evaluation until the symptoms of slurred speech
  and unsteady gait remit or are definitively diagnosed.

  Because the presence of alcohol and other drugs in the corrections setting can pose a
  threat to the safety and security of the institution, custody staff need to be notified of the
  possible presence of alcohol or illegal substances in the facility. However, this may be
  accomplished without disclosing any specific information about the inmate-patient. The
  CDCR counseling or disciplinary process should not be used by clinical staff to
  document intoxication unless it is combined with other evidence of dangerousness to
  others, or to the person or property of another person, such as in the case of an inmate
  making specific threats to harm a reasonably identifiable victim or victims while
  intoxicated.



  Scenerio H - Indecent Exposure
  An inmate exposes his genitals and masturbates during an individual therapy session (or
  during group therapy).



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  Appropriate Response
  The clinician should immediately tell the inmate to stop the behavior. In most cases, it is
  not prudent to continue therapy while the inmate-patient is sexually aroused. The
  clinician should generally request that the inmate be returned to his housing unit.
  Exceptions to this rule include situations in which an inmate is being assessed for suicide
  risk or for decompensation of symptoms of mental illness that may require a higher level
  of care. In this case, the clinician can request that a supervisor or peer join the session,
  and may continue the evaluation.

  If this is the first time the inmate exhibited sexual misconduct, and the behavior is not
  related to severe decompensation of a mental illness, the clinician may choose to warn
  the inmate-patient that future incidents of sexual misconduct may be documented in a
  way that could lead to a Rules Violation Report and potential referral to the District
  Attorney for criminal prosecution. If the inmate-patient clearly understood the
  consequences, or had prior episodes of sexual misconduct, the clinician -will document
  the behavior and provide this documentation to custody staff. The clinician -shall -
  inform the interdisciplinary treatment team and reason(s) for the sexual misconduct will
  be addressed including whether the inmate-patient should be transferred to a new
  primary clinician. -, The treatment plan should include elimination of sexual misconduct
  and methods of treatment (e.g. identifying thoughts or situations that lead to the behavior;
  motivational interviewing; parole preparation and future planning ... etc.).



  Scenerio I Threat to Harm an Inmate
  Inmate Xis involved in mutual combat (fighting) with his cell mate, inmate Y. After the
  inmates are placed into an Administrative Segregation Unit, they both report that they
  have worked out the problem, and sign a form indicating that they are not enemies.
  Inmate X is included in CCCMS level of care. In a routine session with the therapist, the
  inmate states, "I'm not over it. If I get back out to the yard, I'll hurt inmate-Y as soon as
  I get a chance." Inmate-patient X has a history of mental health symptoms that have
  resulted in diagnoses of Depression Not Otherwise Specified, Post Traumatic Stress
  Disorder, and Anxiety Disorder.

  Appropriate Response
  The clinician should have already discussed the limits of confidentiality with the inmate-
  patient before beginning this discussion. At the onset of this content, the clinician should
  tell inmate-patient X that talking about the desire to harm the other inmate during therapy
  is better than acting on the thoughts. The clinician should be clear that if disclosing the
  information is necessary to prevent inmate X from harming inmate Y, it will be disclosed.
  The clinician should elicit as much information about the violent thoughts as possible,
  and assess the inmate-patients current intent and means to harm the other inmate,
  including the past history of impulsive violent behavior. The clinician could consider
  placement in a Mental Health Crisis Bed if the violent thoughts are related to a
  psychiatric decompensation. The clinician should encourage the inmate to talk to a



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  custody supervisor to request that inmate Y be considered an enemy. This should include
  a discussion of the potential consequences of the disclosure, including extension of time
  in Administrative Segregation and the possibility that a Rules Violation Report may be
  written if inmate-patient X makes a direct threat against Y when speaking to custody
  staff. If the inmate discloses the information to custody staff, the content is no longer
  confidential. However, the inmate's mental health condition should be considered in any
  decision about whether to use the disciplinary process to document the information
  disclosed.

  If this strategy works and inmate-patient X v,rill not be placed on the yard with inmate Y,
  further disclosure (e.g. to inmate Y) is generally not necessary. If inmate-patient Xis not
  willing to disclose the information, the clinician must take action that will protect inmate
  Y including notifying custody staff to place the inmates back on each other's enemy lists.
  If the clinician has reason to believe that inmate-patient X intends to harm inmate Y
  when they both leave prison (to discharge, parole, or civil commitment), and disclosure is
  necessary to prevent the threatened harm, the clinician must take appropriate action to
  notify custody, law enforcement, and inmate Y.

  The treatment plan should clearly indicate that reduction of violent ideation is a target
  goal. This goal will be discussed in the interdisciplinary treatment team (IDTT) process,
  with officers and custody supervisors present. Custody staff members are responsible for
  maintaining confidentiality of information presented in IDTT.

  If the inmate is not willing to speak to a custody supervisor, and the clinician determines
  that disclosure is necessary to prevent the threatened danger, the disclosure should be
  documented in the form of an informational chrono.




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             II              HEALTH CARE SERVICES
        MEMORANDUM
       Date:         1/15/2016
       To:           Jennifer Shaffer, Executive Officer
                     Board Commissioners and Deputy Commissioners
                     Chief Executive Officers
                     Chiefs of Mental Health
                     Suicide Prevention Coordinators
       From:
                             -           .,,.,
                         e,__.:.:cc~ . /..:..c-{~1.,_
                                                 - /


                          erine Tebrock, Esq.
                     Deputy Director, Statewide Mental Health Program
                     California Department of Corrections and Rehabilitation
       Subject:      MENTAL HEALTH REFERRALS FROM BOARD OF PAROLE HEARINGS STAFF

      The Suicide Prevention and Response Focused improvement Team (SPR FIT), Statewide Mental
      Health Program (SMHP), Division of Health Care Services (DHCS), California Department of
      Corrections and Rehabilitation (CDCR) is involved in ongoing efforts to improve suicide prevention
      strategies and enhance the mental health treatment of patients. This includes providing
      information to the Board of Parole Hearings (BPH) that allows staff to make direct mental health
      referrals to the SMHP.

      When a BPH staff member identifies an inmate who may require mental health services, a Mental
      Health Referral Chrono (CDCR 128-MHS) may be completed (see attached), scanned, and emailed
      to the following mailbox: UrgentResponse@cdcr.ca.gov.

      The Urgent Response mailbox is monitored Monday through Friday from 800 to 1600 hours. The
      referrals are received by DHCS headquarters mental health staff and immediately forwarded to
      the institution to complete.

      Reasons for mental health services referrals may include:

         •     An inmate exhibiting signs or symptoms of mental illness that warrant further evaluation.

         •     An inmate experiencing negative reactions or significant distress.

         •     Any other concerns about an inmate's mental health or emotional stability.




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       HEALTH CARE SERVICES i                                                                   ,. :. r, ''ii.




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       MEMORANDUM                                                                                   Page 2of2

       The CDCR 128-MHS distinguishes between three areas of response as follows:

           •     Emergency: These referrals are completed when there is any indication that an inmate
                 may be a danger to self or others. Upon receipt of this referral at the institution, the
                 inmate will be seen immediately.

           •     Urgent: These referrals are completed when there is significant concern about an inmate's
                 mental health that do not involve inmate or staff safety. Upon receipt of this referral at
                 the institution, the inmate will be seen within 24 hours.

           •     Routine: These referrals are for inmates who may present with mental health symptoms
                 or distress but who do not require immediate services. Upon receipt of this referral at the
                 institution, the inmate will be seen within five working days.

     If you have any additional questions please contact Robert Horen, Senior Psychologist, Specialist,
     Clinical Support, SMHP, DHCS via phone 916-691-6858 or via email: Robert.Horon@cdcr.ca.gov.

     Attachment

     cc!       Diana Toche
               Cliff Kusaj
               Russa Boyd
               Angela Ponciano
               Laura Ceba!ros, Ph.D.
               Amy Eargle, Ph.D.
               Michael Golding, M.D.
               Edward Kaftarian, M.D.
               John Rekart, Ph.D
               James Vess, Ph.D
               Jennifer Johnson
               Thomas Gilevich
               Nicholas Weber
               Regional Mental Health Administrators
               Regional Health Care Executives




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                          !
      HEALTH CARE SERVICES:




                                                                                                      APPENDIX PG. - 3
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 Stale of California                                                                                                        Department of corrections ana RehabiU\ation
 Mental Health Referral Chrono                                                                                                                       Form: Page 1 of 1
 COCR 128-MHS (Rev. 05114)                                                                                                                        Instructions: Page 2

 lnrn.ate•Patieni Name: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ (OCR Number: _ _ _ _ _ _ _ Housing: _ _ _ _ _ _ __                                    lnsti\ution: _ _ _ _ __

      D Routine (Within S WQ'rklng days)                   D Urgenl (Within 24 hours)                  O Emergency {Contacr Mental HC!.tlth Services imnudiatelyJ
      D Non English-speaking lan9u.:ige:
      REASON FOR REFERRAL: {Check the R!i.m.MxW.121!.W and 91ve an !!icamp1e or de1cnbe below ,mdet wOther.")
      D History of psychiatric c.:ire need re·.:IHeumenl                                D Needs psychotropic ~dicacion review
      D Expresses suicidal ideation or recent anenlpU {Emergency!                       O E:diibits bi2arre behav,or (Di:Knbe below}
      D lncapDble of caring for self I poor gt(lomlng                                   O Poor appetite I sad I fearlul; n,rvous
                                                                                        O Unpredictable/ bolher~ other'i
      B
      D
           Confused I disoriented I withdrawn
           Hostile/ anaultlve I poor se!f,control
           Taken .advan1age of by 01her lnrnatel
                                                                                        O Hears 1hln9t / ,ees thlngs / fmagin,, 1hlng~
                                                                                        D Insomnia I sleeps too much
      O    Poor ;1t1en1ion span/ difficulty following dtre~ions                         D DOP Consult/ re evalua1loii
      O 0ther/Addi1ion11I {Deicribe);

             fl.EFERRED BY !Print Namo.J                           mu                                                                                     om
 Received in Mental Health Services by: _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                           Pl-lONf / fUENSION
                                                                                Time: _ _ _ __         D11te: _ _ _ __          ""''
                                                                                                                            Assigned to: _ _ _ _ _ _ _ _ _ _ __


 For clinician cnly- lhis was a referral for O MHSDS      DOOP             1nmace•Pat1ent ,een:      lime:                     Date: _ _ _ _ _ __

 Once complete, submit Co mental he;,lth se1vices.
 Olmibutlon: Scan into the eUHR, copy In C-flle, copy ro Inmate.




                                                                                                                                                    APPENDIX PG. - 4
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   Stale of California                                                              Depanment al Correclions and Renabilila!ion
   Mental Health Referral Chrono
   CDCR 128-MH5 {Rev. 05/14)


                                                      Instructions

   Purpose of Chrono: This chrono is to be used by any custody, clinical. or nursing staff to refer and inmate-
   patient for a Mental Health Evaluation. Blank chronos should be available in all clinics and housing units.
   Once Complete, submit to mental health services.

       1. Complete the identifying inrormation at the top of the chrono. If applicable, enter the inmate-patienl's
          Non-English language.
       2. Check box for level of urgency: Routine - see within five working days: Urgent - see within one working
          day; Emergency - see immediately. Danger to self and/or others.
          Contact Mental Health Services immediately for and emergency evaluation if
          1)    the inmate-patient is currently a danger to self or
          2)    the inmate-patient is a danger to others and you suspect a mental illness is Involved. In all
                cases, immediately initiate safety precaution.
       3. Describe the observed behavior or problem.
       4. Print name, title, and phone ex1ension of the staff member making referral.
       5. Enter time and date referral was made; indicate the date and time contact was made with the
          Mental Health Services as well as the name of the staff person contacted.
       6. Mental Health Services shall enter the referral into the tracking system indicating time and date referral
             was made.
       7. The clinician should Indicate whether the referral was for MHSDS and/or DDP, and the time and the
          date the inmate-patient was seen.
       8. A copy shall be filed in the Mental Health section of the electronic Unit Health Record, a copy filed in
          the central file. and a copy is provided to the inmate. Copies distributed according to local operating
             procedure.




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                        HEALTH CARE SERVICES
       MEMORANDUM
       Date:       July 7, 2014
       To:         Chiefs of Mental Health
                   Chief Executive Officers

       F r o m : ~ ~ " ~-Ale:

                   Timothy G. Belavich, PH.D., MSHCA, CCHP
                   Director (A), Division of Health Care Services and
                   Deputy Director, Statewide Mental Health Program
       Subject:    NEW PROCEDURE REGARDING MENTAL HEALTH REFFERAL CHRONO FORM

       When clinical staff receive mental health referrals via phone or in person and a Mental Health
       Referral Chrono (CDCR 128-MHS) form has not been received, the clinician must complete the
       CDCR 128-MHS and submit it for entry into the Mental Health Tracking System (MHTS.net). The
       clinician should complete all sections of the CDCR 128-MHS, including:
           1. Document the date and time the referral was received.
          2. Briefly note the reason for referral.
          3. Document the date and time the inmate-patient was seen.

      This information must be entered into MHTS.net accurately and the record should be complete,
      as it is necessary to track and review:

          1. The number of urgent and emergent referrals in order to accurately capture workload.
          2. Timelines related to compliance with referrals.
          3. Response to urgent and emergent referrals.

      If you have questions or need additional information related to this policy, you may contact the
      Policy Unit by email: CDCR MHPolicyUnit@cdcr.

       cc: Angela Ponciano, Associate Director, Policy and Clinical Support, Statewide Mental Health
                 Program, Division of Health Care Services (DHCS)
           Nathan Stanley, Chief, Field Operations, Statewide Mental Health Program, DHCS
           Amy Eargle, Ph.D., Chief, Clinical Support, Statewide Mental Health Program, DHCS
           Laura Ceballos, Ph.D., Chief, Quality Management, Statewide Mental Health Program, DHCS
           Edward Kaftarian, M. D., Chief of Telepsychiatry, Statewide Mental Health Program, DHCS
           Regional Mental Health Administrators, Field Operations, Statewide Mental Health
                 Program, DHCS




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      HEALTH CARE SERVICES)




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   VOLUME 12:
                                                    Effective Date:                 January 2014
   MENTAL HEALTH SERVICES
   CHAPTER 01:                                      Revision
                                                                                    NA
   ACCESS TO CARE                                   Date(s):
   PROCEDURE 12.01.200P1
   INTERDISCIPLINARY TREATMENT TEAM - LEVEL OF CARE Attachments:                    YesC8J No □
   DECISION


       Mental Health Staff shall complete a CDCR MH-7388-B, Interdisciplinary Treatment Team -
       Level of Care Decision (attached), at all Interdisciplinary Treatment Team (IDTT) meetings
       required by the Mental Health Services Delivery System (MHSDS) Program Guide (2009
       Revision).


   Step     Procedure

   1.       Prior to IDTTs each day, the supervisor of the program or designee obtains the following
            information from MHTS.net
            A) A list of inmate-patients (IPs) scheduled for IDTT (Appointments Pending Report, filter
                for IDTT Appointments) or the IDTT Daily Log.
            B) A record of the IPs who have had three or more Mental Health Crisis Bed (MHCB)
                placement requests initiated in MHTS.net during the last six months, including all
                MHCB placements regardless of where the IP was housed when the request was
                initiated, e.g., Outpatient Housing Unit (OHU), alternative housing, or overflow beds
                (DMH Indicators-Management Report).
            C) Documentation of IPs who have had three or more CDCR 115-MH evaluations
                completed during the last three months (DMH Indicators-Management Report).
            D) A list of the Enhanced Outpatient Program (EOP) IPs on a modified treatment plan
                who participated on average in less than 50% of their scheduled weekly structured
                treatment in the last three months [Weekly Tx Hours Summary (High Refusers)J.
            E) For EOPs, a list of the IPs who participated on average in less than five hours of
                structured treatment per week within the last three months [Weekly Tx Hours Summary
                (High Refusers)].
            F) For Reception Center EOPs, a list of the IPs who participated on average in less than
                two and one-half hours of structured treatment per week within the last three months
                (Weekly Treatment Hours Summary Report- Management Report).


  2.        The treatment team discusses each IP seen during the IDTT process and decides, using
            the CDCR MH-7388-8 as a tool, if the IP is being treated at the appropriate level of care or
            if the IP requires a referral to a higher level of care.
             A) If an IP meets any one of the considerations from the CDCR MH-7388-8 and the IDTT
                 decides to refer the IP to a higher level of care:
                  i.   The primary clinician (PC) or designee is responsible for notifying the Department
                       of State Hospitals (DSH) Coordinator or designee of all IPs who are positive on
                       any consideration.
                 ii.   The staff responsible for closing out IDTT appointments will close out the
                       aooointment and on the "Update/Complete• screen will check the '7388-B" box.

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                        MHTS.net will create an electronic "7388-B" screen in the forms/chronos section
                        of MHTS.net. The value for the "Meets Consideration" will be automatically
                        defaulted to 'No."
                 iii.   The DSH Coordinator or designee will update the MHTS. net 7388-B as follows:
                        a) In the field "Meets Consideration' change the value from "No' to "Yes.'
                        b) In the field "Considerations,' check all of the considerations met by the
                           IP.
                        c) In the field "Disposition," make the appropriate selection from the drop down
                           menu.
                iv.    The DSH Coordinator or designee follows current CDCR referral procedures for
                        IPs who are referred to higher level of care.
             B) If an IP meets any one of the considerations from the CDCR MH-7388-B and the IDTT
                  decides not to refer the IP to a higher level of care:
                    i. The IDTT representative is responsible for notifying the DSH Coordinator or
                       designee of all IPs who are positive on any consideration.
                  ii.  The PC or designee shall document and provide justification for not making a
                       referral on the CDCR MH-7388-B, section 1-6A.
                iii.   Treatment modifications shall be summarized on the CDCR MH-7388-8.
                iv.    The staff responsible for closing out IDTT appointments will close out the
                       appointment and on the "Update/Complete" screen will check the '7388-B' box.
                       MHTS.net will create an electronic "7388-B" screen in the forms/chronos section
                       of MHTS.net. The value for the "Meets Consideration" wlll be automatically
                       defaulted to "No.'
                 v.    The DSH Coordinator or designee updates the MHTS.net electronic '7388-B"
                       form as follows:
                       a) In the field "Meets Consideration," change the "No' to a "Yes.'
                       b) In the field 'Considerations," check all considerations met by the IP.
                       c) In the field "Disposition,' make the appropriate selection from the drop down
                           menu.
             C) If an IP did not meet any of the considerations, and the IDTT does not refer to a higher
                 level of care:
                   i. The PC or designee documents on the CDCR MH-7388·8 that no considerations
                       were met.
                 ii. The PC updates the IDTT paperwork according to the MHSDS Program Guide
                       (2009 Revision) requirements.
               iii.    The staff responsible for closing out IDTT appointments will close out the
                       appointment and on the "Update/Complete" screen will check the '7388-B" box.
                       MHTS.net will create the electronic "7388-B" screen. The value for the "Meets
                       Consideration" will be automatically defaulted to 'No."


Forms:
CDCR MH-7388, Mental Health Treatment Plan
CDCR MH-7388-B, Interdisciplinary Treatment Team - Level of Care Decision




     12.01.200P1 Interdisciplinary Treatment Team - Level of Care Decision         Page 2 of2



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      VOLUME 12:
      MENTAL HEALTH SERVICES                                          i Effective Date:    10/21/2015                            !
                                                                                                                                 I
      CHAPTER 7:                                                           Revision
      SPECIAL MENTAL HEALTH NEEDS AND SERVICES                             Date/sl:       NA                                     ;
                                                                      \ Supersedes:                                              I
                                                                                            ---··
  [ 12.07.601                                                                                                                    I
  1                                                                        Attachments:   YesONo~
      RULES VIOLATION REPORT MENTAL HEALTH ASSESSMENT
                                                                           Director
                                                                           Approval:      . -:;? '. ~ ' ~::, \,·''J,2.,_.s::;i
                                                                      ..

      Policy               California Department of Corrections and Rehabilitation (CDCR) mental health providers
                           shall conduct an assessment and complete the Rules Violation Report: Mental Health
                           Assessment (CDCR 115-MH-A) for a patient or inmate who receives a Rules Violation
                           Report (RVR) (CDC 115) and meet the following criteria:

                           1. Placed in the following levels of mental health care:
                                • Enhanced Outpatient Program
                                • Mental Health Crisis Bed
                           2. Participants in the Developmental Disability Program.
                           3. Participants in the CCC MS program with Division A, 8 or C offenses or any offense
                              that may result in a Security Housing Unit term.
                           4. Inmates that display bizarre or unusual behavior which is uncharacteristic for the
                              inmate.
                           5. Inmates who engaged in indecent exposure or sexual disorderly conduct.

                          The assessing clinician shall obtain informed consent from the patient prior to completing
                          the assessment and advise the patient of the purpose and non-confidential nature of the
                          assessment process. If the patient declines the interview, the assessment will take place
                          based on record review. The clinician's responses lo each of the questions on the CDCR
                          115-MH-A shall be based on a review of relevant records, staff consultations, and
                          interview with the patient. Mental health staff shall consult with custody throughout the
                          assessment and ensure that all relevant mental health issues, cognitive and adaptive
                          functioning deficits are considered in the adjudication of the RVR. When clinically
                          indicated, adjustments to the patient's mental health treatment shall be made by the
                          clinician to ensure behavioral issues related to the issuance of the RVR are addressed.
                          Mental Health staff shall return the completed CDCR 115-MH-A to custody within eight
                          (8) calendar days.                                                        '


  Responsibilities        The Chief of Mental Health or designee at each institution is responsible for the
                          implementation of this policy.


  Purpose                 To promote compliance with the Rules Violation Report: Mental Health Assessment
                          process and provide guidance to mental health staff in completing the revised
                          CDCR 115-MH-A.


  Compliance              To be in compliance with this policy, clinicians shall:
  Indicators
                              •    Return the completed the CDCR 115-MH-A to custody within eight (8) calendar

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                                     days for all inmates who meet criteria for a mental health assessment.

                                •   Rely on multiple sources of information. including appropriate staff consultations,
                                    when completing the COCR 115-MH-A.

                                •    Obtain informed consent from the inmate prior to conducting the assessment.

                                •   Consult with custody throughout the adjudication process.

                                •   Provide appropriate follow-up care as indicated by the assessment.


   References                   •    Department Operations Manual

                                •   California Code of Regulations (CCR}, Tille 15, Division 3

                                •   Memorandum dated May 13, 2015, titled, "Training Announcement for Custody
                                    and Clinical Staff Regarding The Revised Rules Violation Report Mental Health
                                    Assessment Process."


  Questions                If you have any questions or need any additional information related to this policy, you
                           may contact the policy unit via e-mail at: CDCR MHPolicyUnit@cdcr.ca.gov.




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        i i               HEALTH CARE SERVICES
        MEMORANDUM
        Date:   7/5/2017
        To:    Wardens
               Chief Executive Officers
               Chiefs of Mental Health
        From:

                     ,e~-~                                      ,ij     ..
                     kATHERINE TEBROCK, ESQ.                JEFF]riAc'OMBER
                     Deputy Director                        Deputy Director, Facility Support
                     Statewide Mental Health Program        Division of Adult Institutions
             ,,--
            , __ G~,w~~---..,
                     Director
                     Corrections Services
        Subject:     MENTAL HEALTH APPOINTMENT REFUSALS

        This memo clarifies the Inmate Medical Services Policies and Procedures (IMSP&P), Volume 4,
        Chapter 1.3, Scheduling and Access to Care Procedure, Section VI, C, 3, b, 5 and 6 (Attached)
        which states, "The reason for the failure to report shall be documented by health care staff on
        an Interdisciplinary Progress Note· and filed In the health record. Custody staff shall be
        responsible to document the patient's refusal to report to the priority health care ducat on a
        CDC US, Rules Violation Report (RVR)," does not apply to mental health appointments.
        Patients in the Mental Health Services Delivery System shall not be written an RVR or a
        Counseling Only Rules Violation Report (formerly known as a CDCR 128A, Custodial Counseling
        Chrono), for refusing a mental health appointment in person.

        The priority ducat process must be used for all mental health appointments and mental health
        patients shall be encouraged to refuse In person.

        All mental health clinical staff are reminded that It Is a clinical responsibility to Inform mental
        health patients regarding the risks of refusing treatment. When a patient does not refuse a
        mental health appointment In person, it is preferred that the mental health clinician:
           1.   Go to the patient to encourage the patient to participate in a confidential contact.
           2.   Confirm the refusal.
           3.   Discuss risks associated with refusing treatment.
           4.   Discuss reasons for the refusal.

                                                                                                P.O. Bo,: 588500
       HEALTH CARE SERVICES                                                                El!< Grave, CA 95758




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        MEMORANDUM                                                                               P.Jse2of2

           This contact shall not interfere with any scheduled groups. All Mental Health Services
           Delivery System Program Guide (2009 Revision) requirements regarding refusals and timely
           appointments must be followed.

       If a visit with the patient is not feasible, at the next scheduled appointment the mental health
       clinician shall:
           l. Confirm the refusal with the patient,
           2. Discuss risks associated with refusing treatment.
           3. Discuss reasons for the refusal.

       Per current pollcy, when any staff observe decreased program participation, behaviors that are
       not typical of the patient, or other concerns are noted, this information shall be documented on
       a CDCR 128-MH-5, Mental Health Referral Chrono, and submitted to Mental Health per local
       operating procedure.

       If you have questions or require additional information related to this memorandum, you may
       contact the Mental Health Policy Unit by email: CDCR MHPolicyUnit@cdcr.


       Attachment

       cc: Angela Ponciano
           Amy Eargle, Ph.D.
           Laura Ceballos, Ph.D.
           Michael Golding, M.D.
           Edward Kaftarlan, M.D.
           John Rekart, Ph.D.
           James Vess, Ph.D.
           Jennifer Johnson
           Regional Mental Health Administrators
           Regional Health Care Executives
           Kathleen Allison
           Connie Gipson
           Dawn Lorey
           Associate Directors, Division of Adult Institutions




                                                                                           P.O. 801.: 588S00
       HEALTH CARE SERVICES                                                            Elk Grove, C._ 95758




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                                      HEALTH CARE SERVICES
          VOLUME 4: MEDICAL SERVICES                                           Effective Date: 06/2016
          CHAPTER 1.3                                                          Revision Date: 06/2017
          4.1.3 SCHEDULING AND ACCESS TO CARE PROCEDURE                        Attachments: Yes IZJ No D

        I. PROCEDURE OVERVIEW
           This procedure describes lhe systems and processes which California Correctional Health Care
           Services (CCHCS) staff shall utilize to optimize access to care and maintain an effective and
           efficient scheduling system to reduce wait-times. This includes a flexible appointment system
           that accommodates various encounter appointment types, visit lengths, same-day visits, and
           scheduled follow-ups as well as strategies to increase efficiency, such as consolidated
           appointments. This procedure also specifies roles and responsibilities for key staff involved
           in the scheduling system.

        II. DEFINITIONS
           Backlog: An undesirable condition that occurs when today's work (both the planned work
           and work that is unplanned, but needs to be accomplished by today) is nol completed today.
           Bundling: When a patient has multiple pending appointments, setting appointments
           sequentially on the same day so that a patient need only be seen in one encounter for mulliplc
           purposes. Bundling helps increase clinic efficiency, meet mandated timeframes, and limit the
           need for custody escorts, lessening redundant work for custody and health care staff as well as
           making appointments more convenient for the patient.
           Care Team: An interdisciplinary group of health care professionals who combine their
           expertise and resources to provide care for a panel of patients.
           Ducat: A common term for a CDC 129, Inmate Pass. There are lwo types of ducats, "Priority"
           and uNon-Priority.n Priority ducats are embossed with the word "Priority" and are used fot
           scheduled health care appointments. Non-Priority ducats are printed on plain white paper and
           are used for unscheduled appointments and/or unescorted movement from one location to
           another.
           Interventions: Centers on the execution of the specific care management activities that are
           necessary for accomplishing the goals set forth in the patient's treatment plan, linking the
           patient to the services needed to optimize health.                                          ·
           Non-Business Days: Saturdays, Sundays and State holidays.
           Normal Business Hours: A minimum of eight hours per business day. These hours may vary
           by institution, but are generally between the hours of 0700 and 1800.
           Open Access: A scheduling strategy that involves "doing today's work today" and seeing
           patients as soon as possible after they request care, and on the same day if appropriate. Open
           access slots are appointment times or blocks that are left open and unscheduled until one to
           two days prior to that date, allowing the Care Team to accommodate walk-in patients, patients
           with urgent health needs, and patients with routine health needs that would benefit from
           expedited services.
           Scheduling Support Staff: The member of the Care Team who ensures that all patients are
           appropriately scheduled and that Care Team members have the information they need for
           planned patient encounters. This is usually administrative support staff.

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                                     SCHEDULING Ai'i'O ACCF.SS TO CARI! PROCEDURE




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         CALIFORNIA CORRECTIONAL HEALTH CARE SERVICES
           Su perusers: Individuals designated as superusers in the scheduling system have additional
           pennissions within the system, including the ability to add or change providers or locations.

        III.RESPONSIBILITIES
           A. Statewide
              California Department of Corrections and Rehabilitation (CDCR) and .CCHCS
              departmental leadership at all levels of the organization, within the scope of their authority,
              shall ensure administrative, custodial, and clinical systems are in place and appropriate
              tools, training, technical assistance, and levels of resources are· available to ensure the
              scheduling system is successfully implemented and maintained.
           B. Regional
              Regional Health Care Executives are responsible for implementation of this procedure at
              the subset ofinstitutions·within an assigned region.
           C. Institutional
              I. The Chief Executive Officer (CEO) has overall responsibility for implementation and
                  ongoing oversight of the scheduling system at the institution and patient panel level.
                  The CEO delegates decision-making authority to the Chief Nurse Executive (CNE) for
                  daily operations of the scheduling system and ensures adequate resources are deployed
                  to support the system including, but not limited to. the following:
                  a. Ensuring access to and utilization of equipment. supplies, health infonnation
                       systems, Master Registries, Patient Summaries, and evidence-based guidelines.
                  b. Assigning patients to a Care Team.
                  c. Maintaining a list of the core members of each Care Team, which shall be available
                       to all institutional staff. Patients shall be informed of their assigned Care Team
                       members at intake and/or upon request.
                  d. Ensuring consistent Care Team staffing with a back-up system for core members.
                  e. Providing Care Team members with the infonnation they need during huddles
                      (e.g., communication of on-call information).
                  f. Ensuring protected time for Care Teams to hold daily huddles.
                  g. Documenting and tracking huddle actions and attendance.
                  h. Ensuring that at least monthly, each Care Team conducts a Population Management
                      Working Session utilizing tools such as Dashboards, Master Registries, and Patient
                      Summaries to address concerns related to potential gaps in care and improved
                      patient outcomes including, but not limited to:
                      • High risk patients.
                      • Contract Management.
                      • Patient safety alert.
                      • Trends in access to care.
                      • Surveillance of communicable disease,
                      • Patient risk stratification.
                 i. Adequately preparing new Care Team members to assume team roles and
                      responsibilities.
                 j. Assessing <;ompetence of existing Care Team members.
                 k. Updating procedures, roles and responsibilities as new tools and technology
                      become available.

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                                     SCHEDULING AND ACCESS TO CARE PROCEDURE




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           CALIFORNIA CORRECTIONAL HEALTH CARE SERVICES
                    I. Reviewing/comparing institution Care Team performance, including the overall
                        quality of services, health outcomes, assignment of consistent and adequate
                        resources, utilization of Dashboards, Master Registries, Patient Summaries, and
                        decision support tools and address issues as necessaiy.
                    m. Providing Care Team members with adequate resources, including protected time,
                        stafflng, physical plant, information technology, and equipment/supplies to
                        accomplish daily tasks.
                    n. Working with custody staff to minimize UMecessary patient movement that results
                        in changes to a patient's panel assignment.
                    o. Ensuring, in collaboration with the Warden, that the institution establishes a Local
                        Operating Procedure by which priority health care ducats are issued and delivery
                       by custody staff is verified and documented.
                    p. Requiring institution leadership to establish a back-up system to ensure that
                       scheduling queues are managed when Scheduling Support staff are on leave or
                       otherwise unable to meet daily monitoring requirements.
                2. The CEO and all members of the institution leadership team are responsible for
                   establishing an organizational culture that promotes teamwork across disciplines.
                3. The CNE is responsible for:
                   a. The overall daily operations of the scheduling system for medical care.
                   b. The coordination of health care between health care scheduling systems.
                   c. Oversight and management of the scheduling processes and resources, including ·
                       personnel.
                   d. Ensuring that the institution has a designated lead scheduling supervisor to monitor
                       scheduling processes on a daily basis and identify and address or elevate barriers to
                       access.
                   e. Ensuring that Scheduling Support staff is available for all clinical areas.
                4. The Chief Medical Executive (CME) is responsible for the overall medical
                   management of patients and ensures resources are available to meet the needs of
                   the population.
                5. The Supervising Registered Nurse and Chief Physician and Surgeon shall meet to
                   review the Care Teams' perfonnance, including the overall quality of services, health
                   outcomes, level of care utilization and shall utilize Dashboards, Master Registries,
                   Patient Summaries, and decision support tools to address or elevate issues as necessary.

         JV.GENERAL SCHEDULING CONCEPTS
            A. Standardized Scheduling System
               All institutions shall use the standardized statewide scheduling system.
            B. Scope of the Scheduling Process
               The scheduling process shall begin upon a patient's arrival at CDCR and continue
               throughout the patient's stay.
            C. Scheduling System User Designations and Accessibility
               Institutions shall designate two to three staff members as superusers in the scheduling
               system. During clinic hours, at least one superuser shall be available to assist the scheduler
               to add a provider or location.



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         CALIFORNIA CORRECTIONAL HEALTH CARE SERVICES
        V. ACCESS TO HEALTH CARE SERVICES
           A. Hours of Access
              I. All CDCR inmates shall have access to medically necessary health care services seven
                 days per week, 24 hours per day.
                 a. RNs shall be onsite al the institution seven days per week, 24 hours per day.
                 b. Medical, mental health, and dental services shall be available at any time.
              2. Each institution shall establish hours of operation for Primary Care Clinics, generally
                 at least eight hours per day, Monday through Friday, excluding State holidays.
           B. Methods of Access
               !. Licensed Health Care Initiated Appointments.
                  a. Access to care includes planned health cai:e encounters, scheduled over time at
                       appropriate intervals and initiated by licensed healih care staff as part of ongoing
                      treatment planning and care management to address health care needs.
              2. Patient Request for Services:
                  a. Access to care also includes episodic encounters requested by patients either
                      through written request or verbal report or demonstration ofurgent/emergent health
                      care needs.
                  b. At any time, patients with health care needs may submit a CDC 7362, Health Care
                      Services Request Form. Patients with urgent health care needs may complete a
                      CDC 7362 or notify any correctional staff or any other institutional staff member
                      for assistance. Patients with life-threatening conditions shall receive immediate
                      medical attention.
                  c. ff a patient is unable to complete a CDC 7362, health care staff shall complete the
                      form on behalf of the patient. Health care staff shall document the complaint and
                      the reason the patient did not personally complete the CDC 7362 and shall sign
                      and date the CDC 7362.
                  d. Institutions shall ensure the CDC 7362 is available to patients in the housing units,
                      clinics and Reception Centers. Housing unit staff and health care staff shall make
                      the CDC 7362 available upon request. Each institution shall have at least one
                      locked box on each yard/facility designated for depositing the CDC 7362 by
                     patients.
              3. fnitial Review and Triage of a CDC 7362
                  a. On normal business days:
                      I) A designated health care staff member shall collect the CDC 7362s from the
                          designated areas, document the date and time of pickup and deliver the forms
                          to the Primary Care RN for review.
                     2) The Primary Care RN shall review each CDC 7362 and identify those that
                          describe symptoms of a medical, mental health, or dental condition. The
                          Primary Care RN shall determine whether the patient requires urgent/emergent
                          or routine care, The RN shall immediately refer urgent/emergent medical,
                          mental health, and dental needs to the appropriate clinician for evaluation
                          consistent with established program guidelines.
                     3) All CDC 7362s that describe symptoms shall be seen by the Primary Care RN
                          within one business day.



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         CALIFORNIA CORRECTIONAL HEALTH CARE SERVICES
                      4) The Primary Care RN shall separately address CDC 7362s that do not include
                          symptoms, such as requests for eyeglasses or medication renewals, routing
                         them to appropriate health care staff for follow up.
                      5) CDC 7362s that do not describe symptoms shall be delivered the same day to
                         the designated program representative on normal business days. A CDC 7362
                         requesting services from more than one area (e.g., medical and dental) shall
                         be copied and delivered to the requested service area by the RN reviewing the
                         CDC 7362.
                  b. On non-business days:
                      I) All CDC 7362s shall be sent to the Triage and Treatment Area (1TA) RN for
                         triage. Upon receipt of the collected forms, the TTA RN shall review, initial
                         and date each CDC 7362. The TTA RN shall ensure that the routine
                         CDC 7362s are delivered to the Primary Care RN that is assigned to that patient
                         by the beginning of the next business day.
                      2) The TTA RN shall determine whether the patient requires urgent/emergent or
                         routine care, and shall take direct action to coordinate care for patients with
                         emergency or urgent conditions. The TTA RN shall immediately refer
                         urgent/emergent medical, mental health, and dental needs to the appropriate
                         clinician for evaluation consistent with established program guidelines.
              4. Emergency Care Required
                 a. Patients with life-threatening medical symptoms shall receive immediate medical
                     attention (Refer to Inmate Medical Services Policies and Procedures (IMSP&P],
                      Volume 4, Chapter 12.1, Emergency Medical Response System Policy).
                 b. For patients with a potential mental health and/or dental urgent/emergent condition,
                     during normal business hours, the Primary Care RN shall immediately assess the
                     patient and communicate findings directly with designated mental health and/or
                     dental staff. ·
                 c. The Primary Care RN shall ensure immediate transportation of the patients to the
                     designated area for evaluation and treatment. When a patient is referred to the
                     mental health program, the CDC 7362 shall be accompanied by a
                     CDCR 128-MHS, Mental Health Referral Chrono.
                 d. Patients with a potential mental health emergency must remain under continuous
                     observation until the patient is evaluated by a mental health cliniciari or by TIA
                     medical staff.
              5. Urgent Care Required
                 a. Patients with urgent medical symptoms shall be scheduled for a same day facc-to-
                     face visit with the Primary Care RN and other members of the Care Team as
                     indicated by symptoms.        .
                 b. For patients with urgent symptoms involving more than one clinical discipline, the
                     Primary Care RN shall ensure any urgent medical, dental, and/or mental health
                     conditi_ons are evaluated as described above.
                 c. When the patient requests services from more than one clinical discipline (e.g.,
                     medical and dental) on the CDC 7362, health care staff shall copy and forward the
                     request to the other clinical discipline as soon as possible. The original shall be
                     forwarded to the first requested service area.


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         CALIFORNIA CORRECTIONAL HEALTH CARE SERVICES
        VI. SCHEDULING STRATEGIES
           CCHCS staff shall use strategies such as open access, bundling, co-consultation, and
           collaborative planning of the clinic schedule to optimize access to services.
          A. Services that Require Appointments
               I. All health care encounters shall be considered appointments and shall be entered into
                    the Scheduling System including, but not limited to, the following:
                    • Receiving and Release screenings and assessments.
                    • Episodic care encounters, including Primary Care RN visit and provider referrals.
                    • Well patient visits.
                    • · Chronic care encounters.
                    • ITA encounters.
                    • Laboratory and radiology services.
                    • High priority Specialty services.
                    • Other Specialty services as indicated.
                   • Care management encounters.
                    • Inter-disciplinary treatment planning sessions.
                   • Recurring patient monitoring or follow-up appointments, such as dressing changes
                        and blood pressure checks.
                   • Injection appointments.
                   • Public health screening and treatments.
                   • Patient education and non-adherence counseling.
                   • Special situations, such as hunger strike evaluations and monitoring.
                   • Follow up after return from higher level of care.
                   • Health care appeals.
              2. The Care Team shall ensure that existing health care appointments, including specialty
                   referrals, are rescheduled at the receiving institution, as indicated. All members of the
                   Care Team shall ensure that follow-up appointments are entered into the "To Be
                   Scheduled" queue within the Scheduling System including, but not limited to, the
                   following:
                   • ITA encounters.
                   • Receiving and Release intake.
                   • Discharge from a higher level of care:
          B. Translation Services
              Translation services (including sign language) shall be made available to patients as
              necessary, via certified bilingual health care staff, certified bilingual CDCR staff, or by
              utilizing a certified interpretation service. Each institution shall maintain a contract for
              certified interpretation services. (Refer to IMSP&P, Volume 1, Chapters 28.1 and 28.2,'
              Effective Communication Policy and Procedure).
          C. Scheduling
              1. General Requirements
                   a. Health care staff shall ensure that lists for scheduled appointments are
                       communicated to custody staff no later than one business day prior to the scheduled
                       visit.



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                   b. Each institution shall establish a procedure by which health care ducats shall be
                       issued as priority ducats and delivery by custody is verified/documented. This
                       procedure shall include the following:
                       • The method by which priority health care ducats are delivered to each patient.
                       • The individual responsible for issuing priority health care ducats.
                       • Verification by custody staff that the priority health care ducats were issued to
                           the patient.
                       • A method of re-routing priority health care ducats to patients.
                  c. The patient is responsible lo report to the health care appointment at the time
                       indicated on the priority health care ducat,
                  d. Developmental Disability Program/Disability Placement Program designated
                      patients shall be provided specific instruction regarding the time and location of
                      their scheduled appointment. The custody staff delivering the priority health care
                      ducats shall communicate effectively and appropriately based upon the patient's
                      ability to understand to ensure that the patient(s) arrives at the designated
                      appointment location.                                                             •
               2. Custody staff shall ensure delivery of priority health care ducats lo patients prior to
                  his/her scheduled appointment .
             . 3. Failure to Report for a Medical and/or Dental Appointment
                  a. If the patient (including patients who. are in the Mental Health Services Delivery
                      System) fails to report lo a scheduled Medical and/or Dental appointment, the
                      assigned health care access clinic officer shall immediately contact the designated
                      housing unit or work/program assignmenf to locate the patient and have him/her
                      escorted or have the patient report to the scheduled Medical and/or Dental
                      appointment.
                  b. Custody staff shall locate the patient and escort the patient lo the appointment or
                      direct the patient to report to the scheduled Medical and/or Dental appointment. If
                      necessary, custody staff shall order the p.atient to comply with tlie instructions on
                      the priority ducat.
                      I) If the patient continues to refuse, custody staff shall advise the patient that
                          he/she is in violation of Title 15, Section 3014, Calls and Passes, which states
                          "Inmates must respond promptly to notices given in writing, announced over
                          the public address system, or by any other authorized means."
                      2) If the reason the patient did not report as ducated was beyond the patient's
                          control (e.g., out to court), custody staff shall advise health care staff of this
                          fact.
                      3) If.the reason the patient did not report as ducated was due to the patient refusing
                          to report as directed, custody staff shall escort the patient lo the health care area
                          for health care staff to discuss the implications of refusing health care treatment.
                          Licensed health care.staff shall counserthe patient and have the patient sign the
                          CDC 7225, Refusal of Examination and/or Treatment, if he/she continues to
                          refuse treatment after the counseling. The CDC 7225 shall be filed in the health
                          record.
                      4) Patients who are insistent in their refusing to report shall not be subject to cell
                          extraction or use of force lo gain compliance with the priority health care ducat.
                          In these instances, licensed health care staff must respond to the patient's

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                           housing unit to provide the necessary patient education regarding the refusal.
                           Custody staff cannot accept refusals on behalf of the patient, nor can refusals
                           be taken over the phone.
                      5) The reason for the failure to report shall be documented by health care staff on
                           an Interdisciplinary Progress Note and tiled in the health record.
                      6) Custody staff shall be responsible to document the patient's refusal to report to
                           the priority health care ducat on a CDC 115, Rules Violation Report.
                  c. Medical and/or Dental appointments shall be rescheduled as clinically indicated.
              4. Failure to Report for a Mental Health Appointment
                  a. If a patient in the Mental Health Services Delivery System refuses to report for a
                      Mental Health appointment in person, custody staff shall not complete a CDC IIS
                      or a Counseling Only Rules Violation Report (formerly known as a CDCR 128A,
                      Custodial Counseling Chrono),
                  b. Refer to the CDCR Mental Health Services Delivery Systems Program Guide, 2009
                      Revision, for additional procedures regarding Mental Health appointment refusals.
          D. Lockdown and Other Security Concerns
              I. Health care services shall continue to be provided during alarms/incidents not occurring
                  on the clinic yard. For alarms/incide11ts occurring on the clinic yard, clinic services
                  shall resume as soon as safely possible during and following the alarms/incidents.
             2. During a facility or prison lockdown, health care staff shall coordinate with custody
                  staff to facilitate continuity of care. Custody personnel shall escort patients to
                 scheduled clinic appointments; Iockdown shall not prevent the completion of scheduled
                  medical appointments.
             3. In restricted housing units and facilities/housing units on lockdown status, a system
                 shall be maintained to provide patient access to health care services. Access to health
                 care services shall be accomplished vie daily cell front rounds by health care staff for
                 the collection of the CDC 7362. The rounds and collection of the CDC 7362 shall be
                 documented by nursing staff in the housing unit logbook.
          E. Clinic Closure/ Cancellation of Scheduled Appointments
             Any modification of clinic hours, clinic closure, and cancellation or rescheduling of
             scheduled appointments requires the approval of the CEO or a designated clinical
             executive.
          F. Timeframes
             I. Under the Complete Care Model, the goal of all Care Teams is to provide timely access
                 to care and whenever possible "complete today's work today" to allow immediate
                 access to necessary services.
                 a. To ensure that patients ere not exceeding acceptable thresholds for timely care, the
                     timeframes should be viewed as the latest possible time that a patient may be seen
                     and not as a guideline for scheduling.
                 b. Scheduling Support staff shall set appointments several days in advance of the
                     acceptable threshold.
             2. Attachment B, Access Timeframes, ,provides a list of all applicable scheduling
                 timeframes as well as suggested scheduling windows to ensure that appointments are
                 within the applicable timeframes.



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          G. Duration of Appointments
              Attachment C, Appointment Time Duration Template, shall be used as a guideline for
              appointment durations. Appointments shall be created with differing appointment lengths
              (in five minute increments) to accommodate the needs of the patient A "one size fits all"
              schedule where each patient is given the same 15, 20, or JO-minute appoinlment duration
              is not appropriate.
          H. Scheduling Queues and Building the Clinic Schedule
              Health care staff shall place appointments that need to be scheduled in the "to be
              scheduled" queue in the scheduling system. Scheduling Support staff are responsible for
              monitoring the "to be scheduled" queue for each Care Team and clinic location daily with
             particular focus on scheduling appointments for patients within several days of the relevant
              threshold date.
          I. Increasing Patient Show Rates and Clinic Efficiency
              When scheduling patients, health care staff shall consider patient preferences regarding
              access, such as providing appointment times that do not interfere with the patient's work
              shifts or classes.                             ·
          J. Recurring Appointments
              Scheduling Support staffshalJ.use the recurring appointment function when a provider or
             clinician's order will result in a series ofappoinlments with a specified frequency.
          K. Rescheduling
              Scheduled appoinbnents must be rescheduled if the appoinlment date or prfority of the
             appointment changes.
          L. Cancelling Appointments
             Health care staff are prohibited from deleting appointments from the scheduling system.
          M. Tracking "Reasons Nol Seen"
             Health care staff shall record and track reasons that patients are not seen as scheduled.
             Health care staff shall use the standard "Reasons Not Seen" as listed in the scheduling
             system.
          N. Closing Appointments
             Scheduling Support Staff shall obtain the required information from the Care Team to close
             out appointments. The Primary Care Scheduler, or designee, is responsible to contact
             members of the Cate Team to obtain any missing information or address discrepancies.
             Required information may include, but is not limited to, the following:
             • Clinic Log.
             • CDC 7362 review.
             • Physician's Orders Form.
             • lTALog.
             • Ducat List.
          O. Open Access
             I. Institutions shall use open access slots to ensure that patients are seen in an efficient
                  manner, in a clinically appropriate setting, and within all mandated timeframes.
                  Approximately 20 percent of Primary Care Clinic appoinlment slots shall remain open
                  and available for same-day or next-day urgent clinical issues or appointments with
                  short mandated timeframes. .
             2. Primary Care Clinics shall designate specific times each day as open access times for
                  the Care Team.

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               3. During daily huddles, t1le Care Team shall identify patients that need to be scheduled
                    into the same-day or next-day open access times and ensure that this information is
                    communicated to the Scheduling Support staff if he or she is not present at the huddle.
               4. Appointments that may be appropriate for open access slots include, but are not limited
                    to, the following:
                   • Follow-up on abnormal diagnostic results or other critical abnormal clinical
                         findings.
                   • Community hospital discharges.
                   • Urgent TIA follow-up.
                   • High priority specialty referral follow-up.
                   • High-risk/complex patients new to the Care Team.
                   • Patients whose condition has become clinically complex.
                   • Other urgent referrals.
               5. If open access slots remain available even after all urgent follow-ups are addressed,
                   these slots may be used to schedule other routine appointments.
              6. With the exception of certain clinics (e.g., Administrative Segregation) where need and
                   coverage may vary, clinic· schedules shall be booked at least three to seven calendar
                   days ahead of time (except for "Open Access" slots).              ·
           P. Bundling Appointments
              To increase clinic efficiency and timely access, the Scheduling Support staff shall review
              all pending appointments for possible bundling·and discuss with the Care Team at the daily
              huddle to determine the total time required for the patient.
           Q. Co-Consultation
              Throughout the day, the Care Team shall look for opportunities to collaborate using
              co-consultation strategies to resolve in one visit issues that would likely result in a referral
             -to another member of the Care Team, eliminating the need for the patient to return to the
              clinic for a second time.
           R. Chaperones
              Chaperones shall be present during all examinations of patients involving genitalia, rectal,
              or breast examinations. ·

      VD. MANAGEMENT AND SUSTAINABILITY
          A. CareTeam
             I. At least monthly, the Care Team shall evaluate the effectiveness and efficiency of
                scheduling processes and overall access to care. The Care Team shall consider trends
                in the following:                              ·
                a. Adherence to access limeframes.
                b. Proportion of appointments seen as scheduled and reasons patients were not seen
                    as scheduled.
                c. Episodic Care referral rates to the Primary Care Provider (PCP).
                d. Effectiveness of scheduling strategies, such as bundling and co-consultation.
                e. Design of clinic schedules (e.g., number ofopen access slots, allotting certain time
                    blocks for different appointment types).
                f. Productivity.
                g. Demand management, including episodic care, chronic care, chronos, medication
                    refusals and other types of non-adherence counseling, appeals, etc.
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                    h. Allocation of work across team members.
                    i. Clinic closures.
                   j. Specialty provider network issues.
                    k. Accuracy of scheduling data.
                    I. Security and construction impacts to access.
                   m. Population management health care alerts.
               2. Institution leadership shell designate a standing committee reporting to the local
                   Quality Management Committee for oversight of the scheduling monitoring activities.
               3. The Care Team shell take corrective action to resolve and/or elevate concerns identified
                   in the review. The Care Team shell review end corrective action shell be documented
                   and forwarded to the designated committee.
           B. The Scheduling Supervisor
               I. The Scheduling Supervisor shall review select information daily to identify and
                   immediately address scheduling system problems.
               2. The Scheduling Supervisor shall determine whether all Scheduling Support staff,
                   Primary Care RNs, and PCPs are in attendance at their respective clinics that day, and
                   shall verify that appropriate back-up has been provided if any of these staff are
                   unavailable.
               3. The Scheduling Supervisor shall review available scheduling management reports on
                  a daily basis, including, but not limited to, the following:
                   • Scheduling system data to identify data entry errors.
                  • · Scheduling queues not managed properly.
                  • Duplicate appointments.
                  • Unorthodox clinic scheduling practices and other scheduling system problems.
              4. The Scheduling Supervisor shall review clinic scheduling strategies to ensure that
                  clinics are optimizing strategies such as open access, bundling, and co-consultation.
              5. The Scheduling Supervisor shall work with the CNE to improve communication
                  processes within the Care Team and across health care settings that impact scheduling
                  and access, including daily huddles.
              6. The CNE and Scheduling Supervisor are responsible for providing frequent feedback
                  to health care staff involved in the scheduling system on their individual performance
                  based upon findings from daily observation of scheduling processes.
           C. System Monitoring
              I. The CEO and leadership team shall review institution-wide scheduling and access to
                  eare data monthly in the context of Quality Management Committee and subcommittee
                  meetings.
              2. To ensure accuracy of scheduling system data, the institutional leadership shall:
                  a. Periodically evaluate the reliability o(scheduling system data through methods
                       such as comparison with independent data sources, like movement ordueat reports
                       and progress notes, or audits for abnormal or incomplete entries.
                  b. Take effective action to remedy unreliable data, including creating or revising
                       decision support, updating desk procedures, and redesigning orientation and
                       training strategies.
                  c. Re-validate problematic data monthly until the data reliability issue is resolved.
              3. Quality committees shall take action as appropriate to investigate quality problems and
                  develop interventions to improve access.
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             D. Training and Decision Support
                 I. All institution health care staff shall be trained in scheduling and access to care. A
                    system for the orientation, mentoring, and cross-training of all critical positions in the
                    scheduling system shall be maintained.
                2. Institutions shall provide all Scheduling Support staff with a desk procedure with
                    guidance on how lo accurately and effectively employ the scheduling system, with
                    information tailored to different work locations and scheduling functions. The desk
                    procedure shall be updated as scheduling processes change.
                3. Institutions shall develop or adopt decision support tools (e.g., forms, checklists, cards
                    that can be taped to a computer monitor) to prompt health care staff in different roles
                    in the scheduling system to fulfill their roles and responsibilities (Refer to Attachment
                    A, Detailed Scheduling Roles and Responsibilities) including, but not limited to, the
                    following:
                    a. Prompting clinic staff to communicate clearly to Scheduling Support staff.
                    b. Giving tips on how to enter data in a way that is recognized by the scheduling
                        system.
                    c. Reminding Scheduling Support staff and clinic staff of new scheduling procedures.
                4. Ongoing Staff Development
                    a. Staff involved in the scheduling system shall receive training on changes to
                        scheduling processes and tools as they evolve and periodic refresher training on
                        their particular roles and responsibilities.
                    b. At least monthly, the CME and CNE shall review each Primary Care Clinic's
                        schedule plan, utilization of open access time, and the number of additional "add-
                        on" appointments to determine if adjustment needs to be made to the overall clinic
                        schedule plan to meet patient care needs.

      VIII.ATTACHMENTS
           • Attachment A, Detailed Scheduling Roles and Responsibilities
           • Attachment B, Access Time frames
           • Attachment C, Appointment Time Duration Template

      IX.   REFERENCES
            • California Code of Regulations, Title 15, Division 3, Chapter I, Article I, Section 3014,
              Calls and Passes
            • California Correctional Health Care Services, Inmate Medical Services Policies and
              Procedures, Volume l, Chapters 28.1 and 28.2, Effective Communication Policy and
              Procedure
            • California Correctional Health Care Services, Inmate Medical Services Policies and
              Procedures, Volume 4, Chapter 1.4, Population and Care Management Services Procedure
            • California Correctional Health Care Services, Inmate Medical Services Policies and
              Procedures, Volume 4, Chapter 12.1, Emergency Medical Response System Policy
            • California Department of Corrections and Rehabilitation, Mental Health Services Delivery
              System Program Guide, 2009 Revision
            • Agency for Healthcare Research and Quality- Patient Centered Medical Home Resource
              Center, http://www.ahrg.gov/

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           •   The       Joint       Commission          Primary      Care     Medical         Home         Certification,
               hup://\\ ,,.,, .jnintcumrnission.orn,-accri.!dit.ition/pchi.aspx
           •   National Committee for Quality Assurance- Patient-Centered Medical Home Recognition,
               http://\\-,, \\· .ncqu.urg/ Prol!r..m1si Reco,mition.:Pn:ictkcs/Pat icntC t:11t1.:red !vkd irn IHome- PCM
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                                                                                  ATTACHMENT A
                                                      Detailed Scheduling Roles and Res

            CEO          1. Coordinate with the Warden to ensure all scheduled health care appointments are considered a priority ducat. Priority health care ducats shall take
                            priority over all other scheduled instirutlon appointments.
                        2. Identify access and schedulin11 as a priority for the institution and communicate that on every level.
                        3. Monitor scheduling l)l!rformance on a regular baSis through the local QuaHty Management committee to help keep the focus on thls area and sustain
                            improvements.
                        4. Ensure that cllnlc schedules are determined at least 14 days in advance. or more, If po$sible.
                        5. Define eacl1 primary care clinic's operating hours.
                        6. Define the number of appointment slots on any giYen businen day, in any given pril11ilry care clinic, for each primary care member.
                        7. Ensure primary care clinics on main yard.5 tiave consistent providers with reliable schedules.
                        8. Ensure iln "Open Access" scheduling model and that there are mechanisms In place ro monitor supply and demand. and adjust short-term appointment
                            supply as needed (i.e., more on Mondays and Fridays or after holidays).
                        9. Ensure sufficient resources to atcompliSh the scheduling of care, Including trainln& designated and protected space, staffing; and proper equipment.
                        10. Ensure that rhe scheduling :system data input is occurring as designed In every location ilfld for all intended processes.
                        11. Set the e11pectation thilt all staff wilt work to update institution processes as needed to utilize the scliedullng synem as It was designed.
                        12. UtUize performance reporrs produced by the scheduling system for quality evaluation and Improvement activities.
            CNE         1. Be responsible ror the overall dally operations of the scheduling system for medical care.
                        2. Be responsible for the overall coordination of health care between liealth care scheduling systems.
                        3. Be responsible for the oveDight and m;inagementof the scheduling personnel.
                        4. Ensure there is an Institution contact list for each scheduler.
                        S. ensure there is a problem resolution process in place to identify and resolve any problems that occur in the scheduling function.
                        6. Ensure patlents are sclieduled efficiently without redundancies li.e., bundling appointments as indicated).
                        7. Ensure stratification of apPOintments (allowing s1.1fflcient time for certain types of patients, e.g .. hish r~k intake vetsus episodic care}.
                        8. Work with the Primarv Care Team to schedule appointments, antitipate the patient's needs in ildvance, and schedule to prevent lapses In care.
                        9. Ensure appointments are closed out daily.
          CLINICAL      1. Ensure that all Qire Teams participate in dally huddles, and that scheduling issues are Included in every huddle discussion.
                        2. Work with Clinical Staff to develop worli;able Kheduling an.lies" and "templatu" that are used consistently throughour the lnstituti011.
          LEADERS       3. EnsUfe AU staff demonstrate understanding of scheduling systems and are e11gaged in closing appointments correctly.
                        4.   Require all clinical providers to work with ghedulers to avoid duplicate or redundant appointments (PCP, PCRN, lVN, onsite specialists, ett.J
                         5. Review scheduling reports on a regular basis to identify and address scheduling system Inefficiencies.
                        (I.  1-'t1r 111urv details see Scheduling Progss Resormslbfflties - Cffnical Leadgrs
         SCHEDULING      1. Ensure appointments are closed within 24 houD.
                         2. Ensure schedulers look at each patient's upcoming MScheduledM or •ro Be Scheduled'" appointments before creating a new appointment of the sarne
         SUPERVISOR
                             type.
                         3. Ensure schedulers are entering appropriate and useful Information in the Problem/Symptom fleld and are editing thls fleld when needed for follow-up
                             appointments spawned,
                         4. Ensure staff understand and use the correct "Reason Not Seen" when dosing an appointment as nNOT Seen as Scheduled."
)>                       s. Review scheduling reports on a regular basis to identify and addr-ess scheduling system inefficlencie5.
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                                                       Detailed Schedulin Roles and Responsibilities

          SCHEDULER      1.   "Hard" schedule patients as much as possible. (i.e., Do not leave an appofntment "To Be Scheduled• for a long period of time.)
                         2.   Schedule patients prior to the compUance date.
                         3.   □ose appolntrnentswithin 24 hours.
                         4.   Review the "To Be Scheduled" and "Past Due" report several times a week.
                         5.   Maintain a single appointment "String/Tree" for each appofntmeAt type.




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                                                                       ATTACHMENT B
                                                                       Access. Timefr:ames

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                                                                               .
                                                                           T1meframe                     I                             .
                     Appointment Type                       I            f  C      t·                     ,
                                                                                                          1           Suggested Scheduling Window
                                                                          or omp Ie 10n                   1
                                                                                                              Suggested scheduling window: Three business days
     New Arrivals (Reception) - Initial Health Screening        Seven calendar days
                                                                                                              before compliance.

                                                                                                             Suggested scheduling window: Three business days
                                                                                                             before compliance. Clinically high risk within seven
     lnterfacillty Transfers                                    30 calendar days of arrival
                                                                                                             calendar days. MHSDS patients within timeframes
                                                                                                             listed in program guide.
     Registered Nurse (RN) face-to-face triage
     (California Deparrment of Corrections and
                                                                The next business day                         Same day if possible.
     Rehabilitation (CDC) 7362, Health Care Services
     Request Form)

     PCP Urgent Referrals (from RN FTF triage)                  Within 24 hours                               Same day if possible (add-on).

     PCP Routine Referrals (from RN FTF triage)                 14 calendar days                              Four business days before compliance.

                                                                Per provider orders, or at least
     Chronic Care Follow-Up                                                                                   Seven business days before compliance.
                                                                every 180 days

      High Priority/ Urgent Specialty Returns                   Three business days                           On day two.

      Routine Specialty Returns                                 14 calendar days                              Four business days before compliance.

      Return from Higher Level of Care (Hospitalization,
                                                                Five calendar days                            On day three or sooner if clinically indicated.
      ED Returns, and ITA Follow-Up}

      Lab Timeframes - Lab ordered "Stat"                       Same date ordered

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                                                               Access Timefnm,es


                                                     1
                                                                         Timeframe              i
                        Appointment Type            l1
                                                                    f     C       .
                                                                        or omp 1et,on
                                                                                                            Suggested Scheduling Window

          Lab Tlmeframes - Lab ordered •urgent"          Next day                                   Same day if possible.

           Lab Tlmeframes - Lab ordered "Routine•        14 days from date ordered                  Four days before compliance.




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                  CALIFORNIA CORRECTIONAL HEALTH CARE SERVICES
                                                   Attachment C
                                         Appointment Time Duration Template

        Appointment Type     !                             Patient Characteristic: Minutes
                                 • High Risk: 45 Minutes
      Chronic Care Patient
                                 • Medium Risk: 30 Minutes
      New Arrival
                                 • Low Risk: 15 minutes

                                 • High Risk: 30 minutes
      Chronic Care Patient
                                 • Medium Risk: 20 minutes
      Follow-Up
                                 • Low Risk: 15 minutes

                                 • Free-standing appointment with simple issue: 15 minutes (longer as
      CDCR 7362 Episodic
                                   requested by PCRN for more complex patient)
      Care PCP Follow-Up
                                 • lf added to related CCP appointment same day: five minutes


      High Priority              • Free-standing appointment: 25 minutes
      Specialty Follow-Up        • If added to related CCP appointment same day: ten minutes


      Routine Specialty          • Free-standing appointment: 15 minutes
      Follow-Up                  • If added to related CCP appointment same day: ten minutes

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 VOLUME 12:
                                                                  Effective Date:       10/21/2015
 MENTAL HEALTH SERVICES
 CHAPTER 7:                                                       Revision
 SPECIAL MENTAL HEAL TH NEEOS AND SERVICES                        Datelsl:
                                                                                        NA
                                                                  Supersedes:
 12.07.601(P1)
 RULES VIOLATJON REPORT MENTAL HEALTH ASSESSMENT
                                                                  Attachments:          Yes O No@
                                                                  Director
                                                                  Approval:
                                                                                    -        -
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        This Mental Health Assessment (MHA) procedure outlines the role of California Department
        of Corrections and Rehabilitation (CDCR) mental health providers in the Rules Violation
        Report (RVR) process.

         Procedure
   1.    Notifications
         Once the Rules Violation Report: Mental Health Assessment (CDCR 115-MH-A) is received from
         custody, mental health staff will:
             1. Complete the CDCR 115-MH-A in its entirety, including any required consultations.
            2. Return the completed CDCR 115-MH-A to custody within eight (8) calendar days.
   2.    Role of Assessing Clinician
         After receiving the CDCR 115-MH-A from custody the assessing clinician will:
                     • Review multiple sources of information, including, but not limited lo:
                              o     SOMS
                              o   ERMS
                              o   The health care record
                              o   The identified adaptive supports ff the patient is in the Developmenlal
                                  Disability Program (DDP).
                    •   Document all consultations with relevant clinical and custodial staff.
                    •   Inform the patient of the nature and purpose of the assessment and the information
                        shared during the interview is not confidential and will be used in adjudicating the
                        RVR.
                    •   Interview the patient who is the subject of the RVR in a private setting.
                            o If patient declines the interview the assessment will be based on record
                                  review.
                    •   Consult with custody throughout the adjudication process.
                    •   Provide appropriate follow up care as indicated by the assessment.

         If the clinician determines that the patient's behavior was so strongly influenced by symptoms of a
         mental illness·and/or deficits in cognitive or adaptive functioning, a recommendation will be made to
         document the behavior in an alternative manner. The assessing clinician will:
                      • Provide a rationale.
                      • Complete all sections of the CDCR 115-MH-A and forward to the Program Supervisor
                          and, if indicated, the Chief of Mental Health (CMH) for consultation.

         If the Program Supervisor agrees with the assessing clinician, the Program Supervisor will:
                     • Document the rationale on the CDCR 115-MH-A.
                     • Forward the completed CDCR 115-MH-A to custody.
        12.07.601(P1): Rules Violation Report Mental Health Assessment                         Page 1 of2




                                                                                                          APPENDIX PG. - 36
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         If the Program Supervisor disagrees with the accessing clinician, the Program Supervisor will:
                     • Document the rationale on the CDCR 115-MH·A.
                     • Forward the completed CDCR 115-MH-A to the CMH or designee for a final decision .
         The CMH will make the final determination for mental health regarding the recommendation to
         document the behavior in an alternative manner. The rationale of this determination will be
         documented on the CDCR 115-MH•A and will be forwarded to custodv.
   3.    Developmental Disability Program Patticipants
         If the clinician determines the patient exhibits on-going behavior leading to disciplinary infractions
         that appears related to developmental disability and/or cognitive or adaptive functioning deficits, the
         assessing clinician will:
                      • Consult w"rth the DDP clinician .
                    •    Provide a rationale on the CDCR 115-MH-A .
                    •    Refer to DDP clinician for a consult .
                      • Ensure the CDCR 115-MH-A is completed and returned to custody within eight (8)
                         calendar davs
  4.     Custody Response
         Within 30 calendar days the Facility Captain will:
                      • Determine and document whether the behavior will be considered a rules violation .
                      • Inform the Mental Health Program via memorandum .
  5.     Post Adiudication Mental Health Processes
             1) CMH or designee ensures the primary clinician is notified of the outcome of the RVR
                 (CDC 115).
             2) The primary clinician incorporates and documents any clinically relevant behavioral issues
                 into the oatient"s current treatment olan.




        12.07.601(P1): Rules ViolaUon Report Mental Health Assessment                      Page 2 ot 2




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  VOLUME 12:                                                       EffecUve Date:      July 23, 2013
  MENTAL HEALTH SERVICES
  CHAPTER 1:                                                       Revision Date(s):    NA
  GOVERNANCE AND LEADERSHIP
  12.01.100                                                        Attachments:        Yes O Nol8]
  MENTAL HEALTH PROGRAM SUBCOMMITTEE


  Policy            The statewide Mental Health Program (MHP) shall maintain a Mental Health
                    Program Subcommittee (MHPS) to monitor and direct quality improvement
                    activities, clinically by:

                    •    reviewing data integral to the management of each program's mission, goals,
                         and objectives;
                    •    maintaining and reviewing adherence to MHP policies and procedures as well
                         as laws and regulations;
                    •    establishing annual plans for priority areas of improvement;
                    •    providing training and clinical guidelines; and
                    •    communicating and coordinating with internal and external committees,
                         administrators and governing bodies.

                    The statewide MHPS shall plan, develop, and manage appropriate mental health
                    services.

                    Each California Department of Corrections and Rehabilitation (CDCR) institution
                    shall maintain a MHPS to provide oversight and direction at the institutional level
                    consistent with MHP policies and procedures.


  Purpose           To ensure that CDCR continues to provide quality mental health services
                    consistent with all applicable laws, regulations, policies, and procedures.


                   Program management reports: Reports that summarize program adherence to
                   current policies and that may be formatted as graphs, tables, charts, dashboard, or
  Definitions      other means of summarizing information.

                   Quorum: The minimum number of members to satisfy attendance requirements.
                   For the statewide MHPS, a quorum is met when 50% of the required members are
                   in attendance. For the institution MHPS, a quorum is met when the Chief of
                   Mental Health or designee, and 50% of the required members are in attendance.


                   Policy Requirements:

                    I.   Responsibilities
                         A. The statewide MHPS:

                              1. Reviews data integral to the management of each of the mental health
                                 missions (levels of care).

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                               2.Maintains program's goals and objectives.
                               3.Reviews and monitors the MHP policies and procedures.
                               4.Reviews and acts on program management reports.
                               5.Establishes annual plans that include priority areas for improvement of
                                 services.
                             6. Monitors adherence to applicable laws and regulations.
                             7. Approves training curricula, plans, and clinical guidelines.
                             B. Communicates and coordinates with other subcommittees, executive
                                 approval committees, regional administrators, and other administrative
                                and/or governing bodies as needed.
                         8. The institutional MHPS:
                            1. Establishes annual plans that include priority areas for improvement of
                                services.
                            2. Evaluates the timeliness, appropriateness, and quality of mental health
                                services in accordance with statewide and institution priority plans.
                            3. Develops, reviews, and implements current local operating procedures
                                for the MHP.
                            4. Monitors and analyzes relevant data trends and patterns related to the
                                Institution's MHP.
                            5. Charters Quality Improvement Teams to review, study, and/or audit
                                specific program performance issues, and to provide findings and
                                make recommendations for improvement of mental health services.
                            6. Ensures that statewide MHP mandated training is completed and
                                tracks all training actiVities.
                            7. Identifies any additional local resource needs related to mental health
                                services.
                            B. Reviews and recommends development or modification of statewide
                                mental health policies, protocols, training, and data management.
                            9. Communicates and coordinates with other subcommittees, executive
                                approval committees, regional administrators, and other administrative
                                and/or governing bodies as needed.
                  II.   Membership
                        A. The statewide MHPS:
                           1. The members of the statewide MHPS shall represent the program and
                              functional areas of the statewide MHP that are necessary for the
                              appropriate and coordinated delivery of mental health services.
                           2. The Deputy Director of the Statewide MHP, or designee, serves as
                              chairperson of the statewide MHPS.
                           3. The statewide MHPS shall include the following members:
                              a. Statewide MHP Deputy Director
                              b. Statewide MHP Associate Director
                              c. Statewide MHP Regional Administrators
                              d. Statewide MHP Chief Psychologist, Clinical Support
                              e. Statewide MHP Chief of Quality Management

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      12.01.100 Mental Heatth Program Subcommittee



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                                f. Statewide MHP Chief of Coleman Compliance
                                g. Statewide Nursing representative
                                h. Statewide Chief Quality Officer
                                i. Statewide MHP Chief Psychiatrist
                         B. The institutional MHPS:
                            1. The members of the institutional MHPS shall represent the program
                                and functional areas of the institution that are necessary for the
                                appropriate and coordinated delivery of mental health services.
                            2. The Chief of Mental Health, or designee, serves as chairperson of the
                               institutional MHPS.
                            3. The institutional MHPS includes, at a minimum, the following
                               members:
                               a. Associate Warden of Healthcare, or informed designee
                               b. Chief Psychiatrist (if different from the Chief of Mental Health), or
                                   informed designee
                               c. Chief Psychologist (if different from the Chief of Mental Health), or
                                   informed designee
                               d. Chief Nurse Executive, or informed designee
                               e. Standards and Compliance Coordinator
                               f. Suicide Prevention Response Focus Improvement Team (SPRFIT)
                                   coordinator
                               g. Health Records Technician 11, Supervisor
                               h. Department of State Hospitals (formerly Department of Mental
                                   Health) Coordinator
                               Other suggested attendees include but are not limited to:
                               a. Senior Psychiatrist for all program areas
                               b. Senior Psychologist for all major program areas
                               c. Health Program Specialist
                               d. Senior Psychiatric Technician



                 Ill.   Schedule, Quorum and Reporting Requirements
                        A. The statewide MHPS:
                           1. The statewide MHPS meets a minimum of once monthly.
                           2. A quorum is 50% of the members.
                           3. Each member has one vote.
                           4. Meeting minutes are recorded in writing and a draft is distributed to all
                              attendees within one week of the meeting for review and revision.
                           5. Meeting minutes are maintained for a period of at least three (3) years
                              by designated statewide headquarters staff.
                           6. The Deputy Director of Mental Health, or designee, reports quality
                              improvement and patient-inmate safety activities to the statewide
                              Quality Management Committee (QMC) annually or more often as
                              appropriate.

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      12.01.100 Mental Health P1ogram Subcommittee



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                          B.   The institutional MHPS:
                               1, The institutional MHPS shall meet once monthly.
                               2. A quorum consists of the Chief of Mental Health or designee and 50%
                                  of the members.
                               3, Each member has one vote.
                               4. The chairperson or designee issues a written agenda and distributes it
                                  to all attendees prior to each meeting. Requests to add items to the
                                  agenda must be submitted to the chairperson or designee before the
                                  regularly scheduled committee meeting.
                               5. Each action item is reviewed as part of old business at subsequent
                                  meetings and is monitored until resolved.
                               6. The chairperson or designee reports on the institution's MHPS
                                  meetings to the institutional QMC quarterly, through meeting minutes
                                  and verbal reporting.
                               7. A designated attendee shall record written minutes of all committee
                                  meetings. A draft of the minutes is distributed by the designated
                                  recorder to all attendees following each meeting and prior to the next
                                  meeting.
                               8. Meeting minutes are maintained for a period of at least three (3) years
                                  by the Chief of Mental Health or designee.



  References        Inmate Medical Services Policies and Procedures. Quality Management System
                    Policy and Procedure, Volume 3.


  Acronym Key The table below lists all acronyms induded in the above policy.

                     Acronym Complete Spelling
                     CDCR    California Department of Corrections and Rehabilitation
                     MHP     Mental Health Program
                    MHPS             Mental Health Program Subcommittee
                     QMC             Quality Management Committee




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                             HEALTH CARE SERVICES
      MEMORANDUM
      Date:           5/8/15
      To:            Chief Executive Officers
                     Chiefs of Mental Health
      From:


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                     Timothy G. Belavi~, Ph.D., MSHCA, CCHP-MH
                     Director (A), Division of Health Care Services and
                     Deputy Director, Statewide Mental Health Program
      Subject:       CONSULTING STAFF NAME DOCUMENTATION IN HEALTH CARE RECORDS

     All clinical and non-clinical staff (custody, educational, etc.) who are consulted regarding an
     inmate-patient's behavior, functioning, or health care status, shall be documented in health care
     records. Documentation of these consultations shall include the name and the title of the
     consulting staff, date, and time of consultation.

     This memorandum supersedes any previous directives on this topic.

     If you have any questions, please contact Amy Eargle, Ph.D., Chief, Clinical Support, Statewide
     Mental Health Program, at (916) 691-0279 or email: Amy.Eargle@cdcr.ca.gov

      cc:   Angela Ponciano
            Nathan Stanley
            Laura Ceballos, Ph.D.
            Amy Eargle, Ph.D
            Michael Golding, M.D.
            Edward Kaftarian, M.D.
            Jennifer Johnson
            Mental Health Regional Administrators




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     HEALTH CARE SERVICES:                                                                          -: 1:..   \lri:wl;', (,\ ;J'ii'JB




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     VOLUME 12:
                                                                                     i Effective Date:   4/4/2017
   __ MENTAL_HE_ALTH~S°'E"'A"-Vl~C=ES=---------
     CHAPTER 06:                                                                     . Revision         NA
     SEGREGATED INMATES                                                              . Date(s"',)'-:---+--
                                                                                       Supersedes:      NA

                                                                                                           Yes O No 181

                                                                                       Director                          ,, .
                                                                                       Approval:                    ,.   ~ ...   l,"   .:c -~


    Polley                     The Calttornia Department of Corrections and Rehabilitation, Statewide Mental Health
                               Program, shall provide a minimum of five hours of structured treatment to Reception Center
                               (RC) patients at the Enhanced Outpatient Program (EOP) level of care who are placed in
                               an Administrative Segregation Unit (ASU) non-hub while awaiting release from ASU or
                               transfer to an ASU EOP hub.


    Responsibilities           Responsibility for review: The Chief of Mental Health or designee at each institution is
                               responsible for implementation, monitoring and evaluation of this policy.


    Purpose                    To ensure patients in the RC at the EOP level of care, who are placed in an ASU non-hub,
                               receive mental health services appropriate with their level of care treatment requirements
                               while awaiting release or transfer.

                               The following action is required for your insUlution to be in compliance with the new policy.
    Action
    Required
                                 : If your institution ...... jti1~n...                            ......... _____,
                                 : has a local operating · amend the current LOP to meet the new policy via an
                                 j procedure (LOP)            : addendum within 30 days of the effective date valid until
                                 /~--~-                       ) the next LOP revision date.
                                 fdoes not have a··LOP             j ensure an LOP is completed within "3i5 days of the
                                 I                                 ! effective date that meets the new policy requirements.
                                 '                                 . Ensure the LOP is reviewed annually.
                                                                                                                                             ·''

    References                 O'ivision of Correctional Health Care Services. (2009 Revision). Mental Health Services
                               Delivery System Program Guide. Reception Center Mental Health Assesment, Chapter 5


                               Memorandum dated August 17, 2000, titled, Mental Health Services in Administrative
                               Segregation

    Questions                  If you have any questions or need any additional information related to this
                               policy, you may contact the policy unit via e-mail at: COCA MHPolicyUnit@cdcr.



  12.06.402: Treatmenl for Reception Canter Patients at Enhanced Ourpalienl Program Level ol Care in the                                 Page I ol 1
  Administrative Segregation Unit




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   Stale of California                                          Calffornfa Department of CorrecUons and Rehabllltation

   Memorandum
   Dale
                    APR 2 1 2011
   To               Chiefs of Mental Health




   Subject          STRUCTURED THERAPEUTIC ACTIVITY


                   The purpose of this memorandum is to clearly define treatment that meets criteria for
                   scheduled structured therapeutic activities according to the Mental Health Services
                   Delivery System Program Guide, 2009 Revision.

                   Currently, mental health staff count only prescheduled therapeutic activities towards
                   treatment requirements. Effective immediately, in addition to scheduled treatment
                   appointment, any documented treatment shall be counted toward weekly treatment
                   requirements for structured therapeutic activities.

                   Examples of structured therapeutic activities may include but are not limited to the
                   following activities. These must be documented in the Unit Health Record.

                       •   Celi front interactions                 •   Pre-release planning
                       •   Recreational interactions               •   Self-advocacy instructions
                       •   l;)aily living skills instructions      •   Social skills instructions

                   If you have any qu!:!stions or need any additional information, you may contact
                   Lorraine Donnelly, Staff Services Analyst, Quality Management, via e-mail at
                   iorraine.donnelly@cdcr.ca.gov.



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          ~~Es              SCARAMOZZINO, PH~ti",7
                   Director (A), Statewide Mental Health Program
                   Division of Correctional Health Care Services

                   cc: Chief Executive Officer's
                       Judy Burleson
                       Laura Ceballos, Ph.D.
                       Regional Chiefs of Mental Health
                       Lorraine Donnelly




 CDC 1817 {3/89)




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   State of Califom'ia
                                                                                    Department of Corrections and Rehablfltalion

   Memorandum
  Date
                March II, 2010

  To             Wardens
                 Regional Parole Administrators
                 Chiefs of Menial Health
                 Parole Outpatient Clinic Chiefs
  Subject:
                  RELEASE PLANNING FOR INMATES PARTICIPATING IN THE INSTITUTION'S
                  MENTAL HEALTH SERVICES DELIVERY SYSTEM


                 Planning and preparation for the release of inmates participating in the institution's Mental
                 Health Services Delivery System (MHSDS} is an essential part of successful transition to the
                 community.         With the recent passage of California Senate Bill I 8 (3X),
                 Provisions in the Budget Act, & Administrative Reforms, and adding of PeQal Code section
                 3000.03 as a result of this legislation, the California Department of Corrections and
                 Rehabilitation has instituted the non revocable parole (NRP} designation. In an .effort to ensure
                 coo~d.ination of commwiity-based care for ail mentally ill inmates, with immediate emphasis oa
                 inmates releasing to NRP and dischargii,g from prison, this memorandwn requires all
                 institutions and parole regions to develop Local Ope,ratirig Procedures (LOP) that comply with
                the processes outlined forthwith. LOP's must be developed and submitted to the respective
                Associate Directors for review by March 18, 2010 with a phased in implementation <late
                beginning April I, 2010 for inmates releasing to NRP and discharging, an<l implementation date
                of September I, 2010 for inmates releasing to supervised parole. The transportation upon
                release, Welfare and Institutions C.:,de section 5150 nee<led at time of release, and the resolution
                process for determination oftelease-<lestinati_on and transportation portions of this memorandum
                are to be implemented all release categories on April 1,. 2010. Challenges to implement due to
                limited staffing are to be addressed on a memorandWil with the submitted LOP's.

                MHSDS Levels of Care

                Inmates participating in the institution's MHSDS are designated into four categories, dependent
                on their diagnosis and/or symptoms related to mental illness. The four designations are:

                   I. CCCMS - This acronym represents the Correctional Clinical Case Management System.
                      Inmates designated as CCCMS require a lower level of mental health care and are
                      typically housed withil) the institution's general population.
                   2. EOP - This acronym represents the Enhanced Outpatient Program. Inmates designated
                      as EOP require increased mental health care and are typically housed separately from the
                      institution's general population.
                   3. MHCB • This acronym represents Mental Health Crisis Bed. MHCB is an a·cute level of
                      care that provides stabilization and treatment of inmates who are experiencing a severe
                      exacerbation or acute onset of symptoms. These symptoms may result in grave
                      disability, danger to self or others, or 0th.er psychiatric issues that require psychiatric
                      observation and initial stabilization for a brief time period.


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       Chiefs of Mental Health
       Parole Outpatient Clinic Chiefs
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          4. DMH - This acronym represents California Department of Mental Health level of care
             and is available for inmates requiring acute or intermediate inpatient mental health care.

      Parole Status upon Release

      Inmates releasing lo the community are released under three categories:

          1. Supervised Parole - Inmates released to supervised parole are assigned and required to
             report to a determined parole location, and abide by set conditi,ons of parole under the
             supervision of a Parole Agent (PA).
          2. Non Revocable Parole - lrunates released to non revocable parole (NRP) are nnt
             assigned or required to report fu a determined parole focation, are not ilticler the
             supervision of a PA, and are subject to search and seizure by a peace officer without a
             warrant. NRP offenders cannot be retwned fu prison for a parole violation. Some NRP
             offenders may be required to complete a batterers program pursuant to California Penal
             Code (PC) Section 3053.2.
          3. Discharge - !nmates discharged from the jurisdiction .of the California Department of
             Corrections and Rehabilitation (CDCR) and no longer subject to CDCR oversight.

      Inmates discharging or placed on NRP at time of release from prison do not fall under the
      PC Section 3060. 7 guidelines, and shall not have their release date modified.

      Pre-Release Planning Roles and Responsibilities

      Corrccrional Counselor and Institution Case Records Duties - Ensure that mental health
      staff are provided projected release dates. Additionally, the institution's ChiefofMental Health
      shall be provided a listing of inmates approved by the Board of Parole Hearings for placement
      on to NRP within two business days of receipt by institutional Case Records.

      Chief of Mental Health Duties - Upon receipt of information that an inmate has been
      approved by the BPH for NRP placement, the Chief of Mental Health shall advise the inmate's
      primary clinician of the release status.

      Mental Health Clinician· Duties - Additional positions have been requested to specifically
      address pre-release planning functions. Until these positions are established and filled, mental
      health program staff are expected to assist inmate-patients in planning for release as current
      resources permit, and to set priorities as clinically indicated.




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       Wardens
       Regional Parole Administrators
       Chiefs of Mental Health
       Parole Outpatient Clime Chiefs
       Page 3


       In consultation with the Interdisciplinary Treatment Team (IDT1), the mental health clinician
       has the primary role in the pre-release planning process and referral for community-based
       continuity of care. Specific.duties include:

           I. Determine and document expected level of care upon release.
          2, Determine and document expected needs upon release such as shelter, food, income.
          3. Refer to Transitional Case Management Program (TCMP) for public benefits
               entitl.ement application subrni~ as applicable. TCMP provides pre-release public
               benefits application assistance regardless of the parole status at time of release.
          4. Obtain information regarding col!Jlty of release and release date.
          5. When the inmate is discharging or placed onto NRP, communicate with cciUl\ty 1.iaison
              in an attempt to arrange care and address needs. Col\tact with county mental health
               should be made 30 day• prior to release date. In cases in which, due to unforeseen
               ciccumatances, mental health slaffbecomes aware of the need to contact county mental
               health for transitional planning less than 30 days prior to release date, notification should
               be made as soon as possible.
          6. Request a Parole Outpatient Clinic (POC) appointment when an inmate is releasing to
               supervised parole. Also request a POC appointment in order 10 provide bridge services
               when an inmate is releasing as NRP and either: I) Cl!te could not be arranged in the
              community due to no available services, 2) The wait time for an appointment with
               county mental health exceeds 21 days after release.and/or 3) There is insufficient time to
              arrange alternate care prior to release due to unforeseen circumstances.
          7. Work with county mental health to identify location of release when inmates discharging
              or releasing to NRP require continued inpatient care or California Welfare and
              Institutions Code (WIC) Section 5150 evaluation at time ofrelease.
          8. Work with POC to identify location of release when inmates releasing to supervised
              parole require continued inpatient care or WIC Section 5150 evaluation at time of
              release.
          9. When conservatorship is recommended for an inmate, notify the col!Jlty mental health
              department 90 days prior to release to allow the county mental health department to
              review the documentation and initiate the conservatorship process. If the inmate is
              discharging or releasing to NRP, contact should be made directly with the county mental
              health department in the county of last known residence. If the inmate is releasing to
              supervised parole, this process should occur in conjunction with the regioruil POC. If,
              due to unforeseen factors such as changes in release date, transfer of an inmate or abrupt
              changes in an inmate's clinical statu., the need for a conservatorship becomes known
              less than 90 days prior to release date, notify the county mental health department and/01
              the regional POC office as soon as possible.




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             When mental health staff believes that a conservatorship is indicated, schedtiHng a
             Coordinated Clinical Assessment Team (CCA1) teleconference with the Statewide
             Mental Health Program is strongly r.ecommended, The CCAT process will allow
             representatives from county mental health, the Department of Mental Health, the
             Division of Adult Parole Operations, Parole Outpatient Clinic, institutional mental health
             and the Statewide Mental Health Program to discuss the specifics of the case and to
             develop a feasible and appropriate release plan.
         10. Determine mode of transportation for return to the community upon release from prison,
             such as public transportatlon or special transport if the inmate lacks the ability to
             navigate public transportation as. a result of mental illness, and/or need for other
             assistance.
         11. Provide Mainline Classification and Pi!ct!le Representative (C&PR) or Recepti,:m Center
             Conectional Counselor III (CCIII} with determined mode: of transportation· and point of
             delivery when ananged by clinician. When the instillllion's mental health staff
             determine tha.t an inmate releasing from prison is unable to utilize public transportation
             at time of release due to mental illness and/or a releasing iwnate requires a WIC 5150
             evaluation upon release, the requirement shall be recorded on a CDCR 128-C and
             provided to the institution's C&PR/CCIII no less than 14 days prior to release or as soon
             as possible for cases in which, due to Uilforeseen factors s11ch as changes in release date,
             transfer of an inmate, or abrupt changes in an inmate's clinical status, the need is
             identified less then 14 days prior to release. The CDCR 128-C must be signed by no
             less than two clinicians.

      Parole Outpatient Clinic Staff Duties - The POC chief for each Parole ~gion shall establish
      and provide a centralized regional contact for the pwpose of pre-release, to 'include:

         I. Phone, fa>:, and e-mail for pre-release planning unit.
         2. Pre-release case conferencing with institution mental health staff as requested.
         3. Appointment scheduling for releasing inmates. NRP eligible inmates in need of POC
            treatment shall be scheduled to be seen for a POC appointment within 14 days of release
            from prison when requested by instililtion mental health staff.
         4. If ihe parolee fails to report to the scheduled appointmen~ the POC clinician will
            document the inability to evaluate the NRP offender in the Parole Automated Tracking
            System and clos.e the POC case.
         5. The POC appointment shall be utilized to assess the NRP offender's current status,
            treatment needs, develop a transition plan, and to prescribe necessary medications,




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          6. Once the NRP offender's ongoing treatment needs are evaluated, a transition plan
             developed, and medications prescribed, POC staff will contact County Mental Health,
             and/or other community-based me.ntal health providers and attempt to secure continuity
             of care,
          7. If County Menial Health, and/ox other community-based mental health services are not
             immediately available and the POC clinician determines that it is necessary to maintain
             continuity of care, follow-up POC appointments/care may be provided duting the fitst
             90 days of assignment lo NRP status.
          8. Upon request, inform institution staff of locations certified to conduct WIC 5150
             evaluations, and other county/community mental heaith services resoutces.

      Transportation upon. Release

      Institution and Parole transportation teams shall be comprised in accordance with existing
      operating procedures as it relaces to inmates/parolees released back to the comml!Dity.

      Released to Supervised Parole • When an inmate is xeleasing to supervised parole, and it has
      been determined by institution mental health staff that an inmate is unable to utilize public
      transportation at time of release due to mental illness, institution stair shall cooxdinate with the
      Division of Adult Parole Operations to aecomplish transportation plan. The assigned Parole
      Unit Supervisor (US) or designee shall be contaeced by C&PR/CCIII ox designce.

      When time permits, attempts shall be made to transfer inmates to institutions closer to the
      inmate's county of last legal residence if the inmate is housed in a distant location. If a transfer
      to a closer institution is not an option and the distance to travel for pickup is subslanlial (two or
      more hours driving time), the C&PR/CCJII or designee and US or designee shall work together
      to cootdinate a halfway point at which an institution transport brings the parolee to meet a PA.

      Placed on NRP at Time of Releatc - When an inmate is placed on NRP at time of release, and
      it has been deemed by institution mental health staff that, due to mental illness, an inmate is
      unable to utilize public transportation al time of release, institution staff shall coordinate and
      provide transportation for the releasing inmate when in need of caged transport due to danger to
      self or others. If the inmate does not require a caged transport, a PA shall provide transportation
      by way of the resolution ptocess described at the conclusion ohhis memorandwn.




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       Discharged at Time of Release - When an inmate is discharged at lime of release, and il has
       been deemed by institution mental healih staff that, due to mental illness, an inmate is unable to
       utilize public transportation at time of release, institution staff shall coordinate and provide
       transportation for the releasing inmate.

       WIC Section 5150 Needed at Time ofReleasc

       When an inmate releases from prison and mental health staff detennine the inmate requires
       further inpatient mental health care, and/or a WIC 5150 evaluation·, institution staff shall
       provide transportation.

       If the inmate is assigned to NRP or discharging at tirt1c of release, institution staff shall identify
       the location of the evaluation within the last legal county of residence, and institution peace
       officer staff shall transport the inmate to the evaluation location and ensure the safe and orderly
       transfer of the inmate to hospital staff or local law enforcement. It is advisable to contact local
       law enforcement to meet at location of delivery for transfer of resident to their custody for the
       WJC 5150.

       If the inmate is releasing to supervised parole, institution staff shall provide transportation to the
       evaluation location, and coordinate with parole staff to identify the location. A PA shall meet
       the institution transport team at the evaluation site and ensure the safe !llld orderly transfer of the
       inmate to parole.

      The releasing institution shall ensure that the inmate is delivered with a mental health evaluation
      indicating grave disability and/or danger to self or others relevant to serve as probable cause for
      the WIC 5150 placement .This evaluation should include the historical course of the inmate's
      mental disorder (WJC 5150.05). The documents shall be placed io a scaled envelope and
      provided to the community facility evaluation staff at time of delivery. The inmate shall be
      provided a plan for discharge from MHSDS and required supply of medica lions.

      Peace officer staff are not required to remain at the hospital once the initial contact and any
      necessary documentation is completed, per WIC sections 5150.1 and 5150.2. Dependent on
      potential risk to public safety, it is advised that CDCR peace officer staff remain at facility until
      released inmate is involuntarily detained or is cooperative and the risk to public safety is
      diminished.




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       Resolution Process for Determination of Release Destination and Transportation

       When a releasing institution is unable to detennine a safe location to transport a mentally ill
       inmate to at time of release as necessary, or is unable to transport upon release; contact to the
       respective Division 01 Adult Institution's (DAI) Associate Director (AD) shall be accomplished
       at ihe earliest opportunify. Upon .notice from the institution, the DAI-AD sba!i"contact a
       Division ofAdµlt Parole Operations' AD for case conference and resolution.

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                                                                               TERRI MCOOl:Jjjj'
      Chief Deputy Secretary                                                   Chief Deputy Secretary
      Division of Com:ctional Health Care Services                             A(!ult Operations




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      Memorandum
      Dme         January 25, 2016

     To           SEE DISTRIBUTION LIST




     Subject:     CORRECTIONAL CLINICAL CASE MANAGEMENT SYSTEM LEVEL OF CARE AND
                  MINIMUM SUPPORT FACILITIES
                                   .   '


                  The purpose of. this memorandum Is to announce the new policy to allow the placement
                 of Correctional Clinical Case Management System (CCCMS) Level of Care (LOC}
                 Inmate-patients (1Pa) participating In the Mental Health Servicet: Delivery System
                 (MHSDS) into a Minimum Support Faclltty (MSF). The Wardens and Chiefs of Mental
                 Health shall ensure training Is provided to all Classification staff, Records staff, and
                 Mental Health (MH) staff as determined necessary to ensure understanding and
                 Implementation of the policy.

                 POLICY

                 Effective immediately, IPs established a1 the CCCMS LOC for 6 months or more shall be
                 considered for placement In MSFs and may be referred end endorsed to an appropriate
                 MSF consistent with the MH clearance process Identified herein. All other existing
                 ellgiblllty and exclusionary criteria regarding MSF eligibility remains in force and shall be
                 applled lo the review of these cases. CCCMS IPs shall not be referred for endorsement,
                 endorsed, or transferred to Institutions where their mental health treatment needs cannot
                 be addressed.

                Corre9tlonsl Counselor Review and.Referral

                Reception Centers Housing

                During the regular correctional counselor (CC) assessment to determine appropriate
                housing/placement for !Ps et Reception Centers (RCs), fPs undergoing intake processing
                wlll be reviewed for endorsement according to current policy and procedure. To
                determine an IP's ellgiblfity for Minimum Custody and MSF placement, the assigned cc
                shall verify the IP's current status In the MHSDS from within the Strategic Offender
                Management System (SOMS).

                A CCCMS IP will be referred lo the appropriate level facility based on their current case
                factors. In the event the RC IP Is Identified as eligible for Minimum Custody/MSF
                placement end has been et the CCCMS LOC for 5.5 months or more al the time of
                referral, the assigned CC will review and update the documents noted on the following
                page to ensure accuracy and note the need for casework follow-up as needed by the




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                       recervmg insU!uUon per current policy.          If, at the time of Classification Slaff
                       Representative (CSR) review, !he IP has been al !he CCCMS LOC at !he RC for
                       5.5 months or more, with or without being Identified by !he CC in the Institution Staff
                       Recommendation Summary (ISRS) or Reception Center Readmission Summary (RCRS),
                      the CSR shall endorse the IP for MSF placement, If otherwise ellglble. Within the
                      endorsement chrono. the CSR shall direct that the IP be Immediately referred for
                      evaluation of MSF eliglbllfty by MH staff at the receiving Institution upon arrival to ensure
                      a determination is made regarding the IP's MSF eliglbilbv at; the receiving Institution.
                      In !he event a CCCMS IP has been al the CCCMS LOC for 6 months and Is eligible
                      for Minimum Custody/MSF placement, a referral is made for mental health clearance via
                      California Department of Corrections and Rehabilltatlon (CDCR) Mental Health Referral
                      Chrono, CDCR 128-MH5 {Attachment A).

                      The CC wlll also ensure the !P's ellglbillty for MSF placement is accurately reflected on
                      Iha Spec/al Programs Screening screen within SOMS. In these cases, the IP will
                      remain Ineligible for MSF on the Special Programs Screening screen, due to CCCMS
                      status, unless/untll cleared by MH staff for MSF placement, as recorded on
                      CDCR 128-MH8, Mentel Health lnterdlsclpl/nary Treatment Team Hovsing!Program
                      Recommendation (Attachment B).

                     General Population Housing

                     IPs al the CCCMS lever of care assigned to General Population (GP) housing
                     (including Sensitive Needs Yard) will be considered for MSF placement In accordance
                     with the followlng directions.

                     Prior lo the annual Unit Classification (UCC> review, and no later than the actual
                     established recurring annual review date, the assigned CC will review each CCCMS IP
                     for MSF ellglblllty, to allow for timely referral to MH staff for evaluation as required and
                     completion of the annual review. The annual review may be conducted by an Institution
                    Classification Committee (ICC) if other case factors require this level of review.
                    Additionally, an IP established at the CCCMS level of care for 5.6 months or more at !he
                    time of arrival from the RC. determined otherwise eligible for MSF placement as
                    described below, whether endorsed for MSF placement by the CSR or not, shall be
                    referred to MH staff for evaluation of MSF eligibility. In all cases, where detennined
                    eligible by lnterdlsclpllnary Treatment Team (IDTT), the IP shall be reviewed far MSF
                    placement by the classification committee. An IP received from the RC may have to be
                    reviewed by UCC after the lnttlal Classification Committee, If the IDTT results are no!
                    received prior to the lniHal Review. Where committee determines the IP Is eligible for
                    MSF placement, he/she shall be assigned Minimum 8 Custody and ba referred to the
                    CSR or Classification and Parole Representative (C&PR) for endorsement, unless
                    already appropriately endorsed.




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                         Ellglblllty Review by the Correctional Counselor and Classllicatlon Committee

                         Eligibility for MSF In all cases will be based upon:

                         • Custody case factors • An IP delennlned ineligible for Minimum Custody based on
                           custodial case factors will no! require referral to MH.
                         • Medical clearance per the Med/ca/ Classification Chronos screen within SOMS.
                         • IPs previously discharged from !he MHSDS remain eligible for MSF placemen! and do
                           no! require referral to MH.
                         • MH LO,C (GP or CCCMS, Including CCCMS_due lo 'Medical Necessity").
                         • Coocl Risk/Custody Classification Registry (Attachment C) to establish further medical .
                           and mental health el!glbllity and placement factors.

                             o This automated report will have a ''Y'' marked In the box If the IP meets lnlUal
                               mental health and medical criteria for MSF and may be referred to MH for
                               further review. per section II below.
                             o wtiere "N" Is marked In the box, the IP will not require referral to MH for
                               review of ellglblllty for MSF.

                      If the IP does not meet all criteria for placemen! in the MSF, the CC will ensure this is
                      eccuralely documented on the Special Programs Screening screen within SOMS. An
                      IP at the CCCMS LOC detennined eligible for MSF placement will require the CC .to
                      manually update !he MSF ellglblllty within !he Sper:/a/ Programs Sr:reenfng screen.

                     Referral for Mental Health Clearance

                     When an IP housed in the GP mee~ all criteria for placement in the MSF and has been
                     at the CCCMS LOC for 6 months or more by the anUcipaled annual review dale, or.
                     5.5 months for an IP received from the RC as described prevlously, Iha assigned CC will
                     complete a CDCR 128-MH5, requesllng MH clinical review.

                     •  In the description area at 1he bottom of the CDCR 128-MH5, !he CC shall Indicate the
                       IP is at 1he CCCMS LOC and is MSF eligible, and request the MH clinical review.
                     • The original CDCR 128-MH5 is submitted to Case Records to be scanned Into the
                       IP's Electronlc Records Management System (ERMS) file, and a copy submitted lo
                       the MH Program within one working day.




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                           Mental Health Review

                           Reception Centers Housing

                       If an additional re·ferral Is requested by staff at the RC for an IP at the CCCMS LOC for
                       over 6 months, the MH Primary Clinician (PC) shall conduct the review wtthin five working
                       days. This review Includes the following:

                       •      IP Interview.
                       •      Review of the health record.
                       •      Review of ERMS,
                       •     Review of any disability placement.
                       •     Consultation with other staff as necessary.
                       •     A written progress note that details purpose of the evaluation, findings, and rationale
                             for the decrslon. (NOTE: Progress note must ba co-signed for unlfcensed staff.)
                       •     Completion of a CDCR 128-MHB, lhdlcatlng If tP meats criteria for placement ih MSF.

                       Normally, the RC CC staff will refer the IP established af the CCCMS LOC for 5.5 months
                       or more, who is otherwise ellglble for MSF placement, to the CSR for endorsement to the
                       MSF, wtth follow-up mental health evaluation to occur at the receiving Institution.

                   General Population Housing

                   The IDTT shall be held within 14 calendar days of receipt of the CDCR 126-MH6
                   requesting an evaluatlon of MSF ellglblllty. This review includes the followfng;

                   •         IP Interview.
                   •         Review of the health record.
                   •         Review of ERMS.
                   •        Review of any dlsablllty placement.
                   •        Consultation with other staff as necessary.
                   •        An updated treatment plan that clearly states the purpose for the treatment
                            learn discussion and Includes the decision, rationale, and changes to the treatment
                            plan.
                   •        Completion of a CDCR 128-MHB, Indicating if IP meets criteria for placement in MSF.




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                    Mental Health Placement Criteria - All Housing Programs

                   The MH Clinical staff wfll assess whether en IP's mental health treatment needs can be
                   met In a minimum security housing program In which MH providers are not on site. In
                   addition, the clinical review must consider that features of the MSF differ from programs
                   within the secure perimeter. Speclflcally, MSF IPs. will be housed In dormitories outside
                   the secure perimeter, and most will have assignments end activities outside of the secure
                   perimeter. These _IPs have a minimal level of custodial supervision/oversight. •

                    IPs must be able to function adequately in the MSF with minimum services provided in
                    accordance with the MHSOS Program Gulde (2009 Revision). The potenllal for
                   victimization of an MH IP In a less .structured setting must always be considered.
                   Whether the IP may require more structured supervision and Increased oversight than Is
                   typically afforded et en MSF, or to an IP who is assigned minimum custody, must also be
                   considered.

                   At a minimum, the evaluation Includes:

                 • A review of pest behaviors end factors that have triggered symptom exacerbaUon in
                    the past.
                 • NotaUon of any past instances of victimization, and assessment of current
                    vulnerability, if the IP was functioning In an environment with limited supervision.
                • Determination of current mental health status,
                • A review of his/her ability to engage in safe behaviors.
                • Determination of his/her eblllty to make decisions and follow directions.
                • Information provided to the IP regarding consideration for minimum security facility
                   placement, which wlll likely Include minimum custody work assignment, and input from
                   the IP regarding his/her current mental state and functioning.
              · • A determination regarding the IP's capacities end Hmltations, which may be provided
                   to the CC {reception center) or classification commHtee {general population), as ij
                   Impacts the IP's placement and/or Job.                           ·

               Decision Documentation

               After the MH clinical decision, the MH PC completes the CDCR 128-MHB end forwards ij
               to the C&PR within two working days for dlstnbutlon to the assigned CC and Case
               Records. The CDCR 128-MHB shell be completed as follows:

               •     Eligible • The 'eligible" box wfll be marked to Indicate the MH Cllniclannorr
                     determined a_n IP's mental health needs can be met at an MSF,




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                       •     Temporarily Ineligible • The box "temporart!y Ineligible" will be marked to Indicate the
                            MH Clinlclan/lDTT determined an IP's mental health needs cannot be met at an MSF.
                            at the current time. These IPs shall be reassessed prior to their next UCC annual
                            review. If the IP's case factors Indicate continued eligibility for MSF, he/she will be
                            referred to IDTT by the assigned CC within the 46' days prior to the annual review date
                            for a follow-up evaluatlon and determination of ellglblllty.

                       Process If the Existing Mentai Health Approval for MSF Placement is No Longer
                       Valid

                   When MH staff determines an IP at the CCCMS LOC who Is housed at MSF or pending
                   MSF placement Is ·determined Inappropriate for MSF placement, the MH staff must
                   ensure the Custody staff at the MSF and the Institution's C&PR and/or Watch
                   Commander is immediately notified by telephone of the need to re-house the IP or
                   prevent the IP being moved to the MSF. The MH slaff notifying the C&PR and/or
                   Watch Comma.nder shall complete a CDC Form 126-C, Chrono-Medioal, Psych, Dental,
                   and ensure It is delivered to the C&PR's office within 24 hours of contact for Inclusion In
                   ERMS. An IP determined to require removal from the MSF based on mental health
                   concerns shall not be left unattended at any lime prior to being re-housed Within the
                   secure perimeter.       ·

                   Claselflcatlon Review

                   •       The C&PR, or deslgnee, Will ensure a completed copy of the CDCR 128-MHB
                           received from the MH Program is delivered to the assigned CC within one business
                           day, and the original is submitted to Case Records to be scanned Into ERMS.

                   •       Upon receipt of a completed CDCR 128-MHS, the assigned CC shall review the
                           detenninatlon by the PC/IDTT for MSF ellglbillty.

                  • MSF eligibility determination by classification committee.

                  Reception Centers Housing

                  If an IP Is referred by the RC CC staff for an MSF evaluation by MH staff and Is
                  determined to be ~SF eligible by the. PC, the CC and CC II wlll make a recommendation
                  for placement through the ISRS or RCRS after receipt of MH clearance.

                  General Popu(atlon Housing

                  If an IP is determined to be MSF elfglble by the PC/IDTT, and there are 110 exclusionary
                  case factors for MSF, the IP will be taken to committee for the annual review.




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                     An IP received with 5.5 months or more at the CCCMS LOC upon the date of arrival from
                     the RC who Is determined eligible by Classlfioalion and MH staff will be reviewed by the
                     Initial Classification Committee where possible, or at a subsequent UCC action within
                     14 days of the return of CDCR 128-MHB to the assigned CC. This review may be.
                     delayed only If additional information, police repor1s, District Attorney comments,
                     clearance of a potenllaf detainer, or other Information Is required. This review process
                     shall ba completed within 60 days of the lnltial Classification Committee. Where an IP Is
                    determined        ellglbfe   for   MSF       placement,    he/she   shall   be assigned
                    Minimum B Custody consistent with current policy. Where not already endorsed for MSF
                    placement, the IP shall be referred to lhe CSR for transfer lo a designated MSF. II MSF
                    placement is available locally and lhe recommendation Is for placement al the turrent
                    instilullon, the case shall be referred to the C&PR.

                    lnellglble per IDTT

                    If the PC/IDTT determines the IP Is temporarily Ineligible for MSF, the assigned CC shall
                    make no fur1her referrals lo IDTT until prior to the next scheduled UCC annual review
                    (if the IP continues to meet custodial MSF eligibility criteria).

                   MSF Eligibility In SOMS

                   A case being referred for endorsement will require the CC to take acl1on within SOMS if
                   the IP ls otherwise ellglble for MSF placement and determined eligible for MSF
                   placement by the PC/IDTT.

                   ff the IP is approved by MH for placement in MSF, the CC will remove
                   the 'MH Level of Care' from the Exclusionary Factor field of the Spacial
                   Programs Evaluation screen to reflect eligibillty for MSF placement. Otherwise,
                   SOMS will automatically default to 'ineligible for MSF' based on an established LOC
                   within the MHSDS.

                  For the purpose of clarlficalion only, the previous coding on the Minimum Custody
                  Screening Form, whether "ellgible" ('E' code) or 'temporar11y lnellglble' ("L• code), was
                  baaed on the criteria In place at the time, and the IP's ellglblllty within each of the
                  categories referenced. The IP must be evaluated based on the current eligibility criteria.

                  C&PR Responsfbflftfes

                  The C&PR al both the RCs and at the receiving Institutions wlll be responsible for
                  ensurtng staff Is adequately trained to Identify, document and, where appropriate, refer
                  IPs at the CCCMS LOC who may be eligible for MSF placement based on custody case
                  factors,   Coples of the policy and procedure and structured training shaD . be




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                   provided to staff. The C&PR ahalf be responsible to complete the endorsement of cases
                   appropriately referred for placement at the local MSF within SOMS, consistent with
                   current policy and procedure.

                   Additionally, the C&PR and/or Watch Commander shall ensure a CCCMS IP approved
                   for and placed at the MSF, who Is later determined Ineligible for placement based on
                   mental health concerns, Is re-housed within the Institution's secure perimeter
                   immediately, The following actions are taken by staff when this occurs:

                   •    The IP shall remain under direct observation by staff prior to being re-housed within
                        the secure perimeter.                                       ·
                    • The C&PR and/or Watch Commander shall ensure the IP's gate pass is pulled end
                        consideration of whether or not the IP's custody level must be raised, pending
                        committee.
                    • Subsequent to being re-housed within the secure perimeter, the IP shall be reviewed
                       by a classlflcation committee to determine appropriate custody, placement, and
                       program consistent wHh current policy.
                   • CCCMS IPs housed In an MSF and subsequently removed from the MSF due to
                       mental health concerns must be referred _to IDTT for evaluation by the assigned CC
                       prior to review by the cfasslficatlon committee for consideration of return to the MSF.
                       This is only required where the IP remains otherwise eligible for MSF placement.
                       Eligibility must be documented on a new CDCR 128-MHS prior to returning to en
                       MSF.
                   • An IP removed from the MSF for any other case factor, including, but not limited to,
                       death or serious illness or injury to a family member, or serious dlsclpllnary action,
                      !I!fil'. be referred to IDTT ff Classification staff determine it is necessary.
                       o Any IP who requires or Is referred to IDTT for review shall be reviewed by
                            olassllication committee once the CDCR 128-MHB is complete, to determine
                            whether return to the MSF is appropriate.
                  • Where not approved by IDTT for return to the MSF, committee shall refer !ha IP for
                      transfer to an appropriate level facility.
                  • Prior to each subsequent annual review, where the IP is otherwise eflglble for MSF
                      placement, the assigned CC shall refer the CCCMS LOC IP to IDTT for evaluation of
                      MSF eliglblllty within the 45 days prior to the annual review data.
                  • IDTT's determination of MSF ellglblllty must be documented on a new
                     CDCR 128-MHB.

                 CSR Resp_onslbllltleg

                 Consistent with current policy and procedure, the CSR will complete the endorsement of
                 IPs appropriately referred for transfer to an MSF at another institution .within SOMS.
                 Additionally, when an IP at the RC Is noted as being eligible for Minimum Custody/MSF
                 and has been established at the CCCMS LOC for 5,5 months or more, the CSR shall




                                                                                                    APPENDIX PG. - 65
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           SEE DISTRIBUTION UST
           CorrecUonal Clinical Case Manli\9~[!!'/_[IJ.§Y§tem Level of_ Care an!:f_M_inimum SuppQJt
           Facilities                                                                            ·---
           Page 9



           endorse lhe IP to an appropriate MSF and Include Iha following statement within the
           'Comments' section of the endorsement chrono: "IP appears eligible for Minimum
           Custody/MSF. The receMng Institution shall review and, where appropriate, refer lo
           MH staff for evaluation of MSF eligibility prior to the Initial Classification Committee.'

                                         Forms Used In This Process

           Qi;)CR 128-MH5         Currently used by any custody, clinical, or nursing staff to refer
           Manta/ tJ.t;tallh      an IP for mental health evaluation.
           Rafgrraf Chrono

           CDCR 128-.M!:!8         Used by the PC and/or IDTT to determine cllnical
           Mea~ !:J.gf!.lfh        appropriateness of MSF for IPs participating In the MHSDS at
           IDTT                    lhe CCCMS LOC, as weU as housing recommendations for all
           Housfng/Erogmm        . MHSOS participants ..
           Bag.0111.mang_~tion

           lnstftuliQna/ Staff    The Psychiatric/Psychological section of the ISRS will
           B.ef!Qmmeaa.at/2a      automatically       include   the     current-      LOC    within
           Summ~!Y. (JSRS/:       theMHSDS.
                                 The CC shall ensure the Spacial Programs Screenings
           New commitments        screen Is updated to reflect the IP's eligibility. Where an IP at
                                 the CCCMS LOC appears to be otheiwise eligible for
          OR                     consideration of MSF placement, the CC shall note In the
                                 •comments" of the Casework Follow-up section that the IP
          Rece1,_fiQn Geater     shall be reviewed for consideration of MSF placement during
          Readmtss/on            the annual review process.
          Summary                • If an IP at lhe CCCMS LOC Is being referred for MSF
          (RCRSI:                    placement, the "Comments" section of the Casework
                                     Follow-up section shall document the IP's poten11al
          Returned on the            ellglbliity for MSF placement based on IP being CCCMS for
          same COCR                  over 6 months while housed at the RC.
          number WITH A              0   The Special Programs Screenings screen In this case
          NEW TERM                        shall continue to reflect "ineligible" until the review
                                          process is completed at the receiving institution.
                                 Where an RCRS ·is being completed, the CC shall place the
                                 comments within the "Actfonu Summary of the CC section.

          Cfasslfl9.ation        Includes specific reference to a CCCMS IP's MSF ellglbllHy
          Chrono                 status and, where applicable, the IDTT's MSF ellglbllity
                                 determination.




                                                                                            APPENDIX PG. - 66
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             SEE DISTRIBUTION LIST
- - - _ _ _ _,CorrectlonaL_CJinlcaLCase_ManagemenLSystem.LeY.eJ..JlLC!lre and __ Minimum Support __
             Facflltles
             Page 10



                  Additional Information

                 This memorandum and the related attachments will be available on the
                 Classification Services · Unit (CSU) web page within the Mini Manual webpage,
                 http://intranet/ops/AO/ins/Pages/Mlnlrnanual.aspx. under the topics, 'Mental Health
                 Delivery System" and "Minimum."

                  If you have any questions or require additional infonnation regarding classification
                . processes, please contact Jonathan Stubbs, CC Ill, CSU, at (916) 322-0561 or
                  Jonathan.Stubbs@cdcr,ca.gov.      If you have any ques~ons or require· addttlonal
                  Information regarding the mental health policy issues, please contact Laura Ceballos,
                  Chief     Psychologist,   Quality     Management,      at    (916)    691-0308     or
                  Laura.Ceba!los@cdcr.ca.gov.

                                         _., ..



                      [
                                                              -~·~-<-
                                                               KA THERINE TEBROCK
                 Dire or                                       Deputy Director
                 Division of Adult Institutions                Statewide Mental Health Program

                 Attachments

                 DISTRIBUTION LIST:

                Associate Directors, Division of Adult Institutions
                Associate Directors, Statewide Mental Health Program
                Wardens
                Chiefs of Mental Health
                Chief Executive Officers
                Institutions Chief Executive Officers
                Institutions Chief Medical Officers
                Classification and Parole Representatives
                Correctlonal Counselors iii, Division of Rehabliltatlve Programs
                Classification Staff Representatives

                cc:       Ralph M. Diaz
                          Kathleen Alllson
                          Brantley Choate
                          Vincent S. Cullen
                          James Robertson
                          Laura Ceballos
                          Jonathan Stubbs




                                                                                                 APPENDIX PG. - 67
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             SlDte of Callfcmla                                                       Attachnent A                                        OepartnlO:nl of Coouctlons and Rehnbllltallon
             Mental Health Referral Chrono                                                                                                                          Fom,: Page 1of 1
-··---·····-···--CDCR-128,MH5.(AOY-,,06/.14J----·. ----·--··--··--.,-----·-·--------··-···-·•··----                                                   ----nst.rtJct1on1~ Pago.2.
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                                                          Attachment B
    STATE OF OOEO~A                                                                                    0EPARTMEN1 ~ CORRECTleflSANORl:l'V\BIIJTATIO
      Mentel Health lnterdlsclpllnary Treatment
      Team Housing/Program Recommendation                                                                                        Form: Pege 1 of
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                                                        ·-··     . - .       - ----···-· . ·- -•·-- --·--       .... - .. 111,!llucl!on~'.?._ege:
      I. This lnmare uenl (IPtJs currently Included In the followlng mental health level of care:
          OCCCMS    0      E0P        MHCB OICF □Acute              Date:                 lns!llullon:                 Housing:
   II. DetenTilnatlon by Primary Clinician (for RC only) or lnterdlsclplinery Treatment Team for cllnlcal appropriateness for placemen
       In a Minimum Support Facllily:
       QE!lglble        □Temporarily lnellglble
   Ill. Wor1< and Housing Considerations for Minimum Support Faclllty:




  IV.                                Pnnt Name and TIUe                                     Signature                                  Date
  Clinician's Name/
  Tille
  Chief of Mental
  Health or Deslgnee
  !OTT LeaderfTitle


  1, DlsabllJ!y cade:      2, Accommodations:          3. Effect)ya Communication;
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  ODPH O DPV O LO 0 Equipment O SLI                    D P/1 summed lnformadon
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                                                       O Not Reached' D Reached         Flrst.Ne:me:
  ODNS ODDP        □ Basic D Transcribe
                   □ Other"                                        "See chrono/notes    000:
  0 Not Applicable
  4. Comments;
  SCANNING LOCATION -OUTPATIENT: MHChrono/Mlsc- Chronos/Screenlng




                                                                                                                          APPENDIX PG. - 69
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                       STA.TE Of c-J.lfORNIA                                                                      OEPNI.YhlffiT Of OORR£CTIONS NIJ ftBi,1S_1JfAl10N
                       MmCal Health lntordleclpllnary Tteatrnont
------------ ·-·----~~'::~m:'ifs';"":f:v~:f._.,,~oru1,,.JJ.qn___ ------- --·---- ----·-· ----·------. -- ------
                                                                                     Instructions

                      Purpose of fonn: The Mental Health lnlerdlsc/pllnary Treatment Team Housing/Program
                      Reoommendallon shall _be used to document the detennlnaUon for Minimum Support Facllijy (MSF) by a
                      Prlmary Cllnlclan (In reception centers only) or lnterdlsclpllnary Treatment Team [IDTT) (general
                      population housing), This fonn Is not required for rouUne Inclusion In a Mental Health Services Delivery
                      System level of care and shall be used In accordance with mental health screening cnleria set folih In
                      mental health policy end procedure.

                          I.     Check lhe eppllceble box lo document the patient's mental health level of care. Enter the
                                 lnsfltuUon, end Current Housing,

                         II,    If the patient Is CCCMS level of care, symptoms have been stable for 6 months or the paUsnt Is
                                CCCMS medical necessity, end the patient meets criteria according to clinical evelueUon as
                                detailed In policy and procedure, mark "Elfglble." If eny of the criteria ere not met, check lhe
                                box marked "Temporarily Ineligible.•

                       Ill.     Enter all work and housing consideratrons that custody staff should oonalderfor Minimum Support
                                Facility placement in the space provided.

                       IV,      If conducted In a reception center, the Primary Cllnlc!an only may sfgn .. If conducted In a general
                                population housing facility, the IDTT leader shall efgn.

                     The following acronym deHnltlons are provided for reference:

                    Minimum Support Facility (MSF)
                    A Minimum Support FeclRty Is a sub-facility of en Institution that Is nonnelly located on the lnstltullonal
                    grounds and which may or may not have e secure perimeter. IPs housed at en MSF generally ore
                    assigned to Jobs that support lhe institution. Some work assignments ate on instltutlooal grounds and
                    olher work assignments are off grounds. IPs shall be seen by mainline CCCMS clinicians (e.g., for their
                    90--<lay appointment•, annual review end olher needs),

                    EflecUve Communication: The Effective Communication section must be completed any Ima there Is e
                    cllnlcally relevant encounter In which meaningful lnfonnation Is exchanged between the licensed cllnblen
                    end the IP. For further lnfonmetlon end examples of some encounters In which effectlve communication Is
                    required, aea IMSP&P, Volume 2, Ch. 4.
              1.~                                                 2. AooomfTK!lalkJn:                           3.1\ffec!lve Q!mmunloel!oo·
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                                                                                                                                                      APPENDIX PG. - 70
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                                               Attachment C




                             Cocci Risk/Custody Classlflcatlon Registry


         1.. Access: Request access by making a solution center request or directly emailing
             Anthony DelGavio at Anthony.Oelgaylo@cdcr.ca.gov.

         2. Follow the below link to access the registry. For convenience, save to your
           . Internet favorites.
             rg Cocci Risk - Report Manager .

         3. Select your institution.

         4. For MSF ellglbllity, view the 'Potentially MSF Efiglbla" column.

         5. All IPs with a "Y" in the "Potentially MSF Eligible" column meet medical and
            mental health criteria for ellglblllty.




                                                                                          APPENDIX PG. - 71
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     VOLUME 12:
     MENTAL HEAL TH SERVICES                                          Effective Dale:
                                                                                            ·1··----------------------
                                                                                                 Augusl 2014                            ,
                                                                                             l                                          \
     CHAPTER 01:                                                      Revision               ! NA
     ACCESS TO CARE                                                  __;:D:.::a:.::te0 ,(s"-')'-:____ , _________________________ ------~
                                                                      Supersedes:
   !L....----------·----·---·--·-·--------l--=--=--1----------
     12.01.400
    : CORRECTIONAL TREATMENT CENTER -             INMATE-PATIENT     Atlachmenls:                Yes   O No [8J
    - ACCl=_§_S__!O MENTAL HEAL TH SERVICES
                                                                                                                                        I
                                                                     Director                                                          .L
                                                                     Approval:


   Policy                Administrative Segregation, Security Housing, Outpatient Housing, and
                         Psychiatric Services Unit inmate-patients (IPs) housed in long-term California
                         Department of Corrections and Rehabilitation (CDCR), Correctional
                         Treatment Centers due to chronic medical conditions and who are placed at
                         the Correctional Clinical Case Management System (CCCMS) or Enhanced
                         Outpatient Program (EOP) level of care shall receive mental health treatment
                         consistent with the mainline treatment requirements corresponding to the IPs
                         level of care outlined in the Mental Health Delivery System (MHSDS)
                         Program Guide, chapters three and four.
                         Individual clinical contacts shall occur in the Correctional Treatment Center or
                         in clinic areas per the !P's physical requirements and available space. !Ps
                         who are unable to participate in out-of-cell structured therapeutic acitivites
                         shall receive a modified treatment plan and increased frequency of
                         Interdisciplinary Treatment Team meetings, per current policy.

  Responsibillties       Responsibility for review: Associate Director, Statewide Mental Health
                         Program

  Purpose                To ensure IPs housed in long term CDCR medical care facilities receive
                         mental health services appropriate with their level of care treatment
                         requirements.
                        -------------------------------------
  References            Mental Health Services Delivery System Program Guide (2009), Chapters
                        3: 12-3-1 through 12-3-17. Chapter 4: 12-4-1 through 12-4-21

  Questions              If you have any questions or need any additional information related to this
                         policy, you may contact the policy unit via e-mail at: CDCR
                         MHPolicyUnit@cdcr.




 12.01 .400: Correctional Treatment Center - Inmate-Patient Access to Mental Health Services                               Page 1 of 1




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                                                                    APPENDIX PG. - 74
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      Ill
      mi                HEALTH CARE SERVICES
       MEMORANDUM
      Date:        5/12/15
      To:          Chief Executive Officers
                   Chiefs of Mental Health
      From:

                     ·-- ---- j_;::;:..;.... \ ·. .~ . . - -.,. . . •.~·   ) . . . . ,~·~·1.
                  Timothy G. Belavich, PH.D., MSHCA, CCHP•MH
                  Director (A), Division of Health Care Services and
                  Deputy Director, Statewide Mental Health Program
      Subject:     DOCUMENTATION OF MENTAL HEALTH EVALUATIONS ANO TREATMENT PLANS

     This memorandum summarizes and clarifies documentation requirements for completing Mental
     Health Evaluations and Treatment Plans.

     Mental Health Evaluation


     The Mental Health Services Delivery System (MHSDS) Program Guide, 2009 edition, notes that if
     an adequate California Department of Corrections and Rehabilitation (CDCR) Form MH-7386,
     Mental Health Evaluation is contained in the health record, a CDCR MH-7386-B, Mental Health
     Evaluation Add·a·Page, may be used in lieu of a CDCR MH-7386. This memorandum clarifies that
     in order to substitute a CDCR MH-7386-B for a CDCR MH-7386, the full mental health evaluation
     must be less than three years old.


     Exception to the Three-Year Time Frame


     If an inmate-patient (IP) was discharged from the MHSDS, has been re-referred, and is receiving a
     new mental health evaluation, a full CDCR MH-7386 shall be completed even if there is an
     existing adequate CDCR MH-7386 that is less than three years old on record. This situation is
     considered a new intake and should be treated as such.


     Evaluation of Inmate-Patients in Crisis
     IPs who are in crisis may not have the ability to tolerate the full evaluation demanded by the
     CDCR MH-7386 and clinical needs may be better served by attending to crisis issues. In these
     cases, the CDCR MH-7389 may be completed for the Initial intake. However, the CDCR MH-7386
     must be completed within 72 hours.


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                                                                                                                     APPENDIX PG. - 75
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      MEMORANDUM
     Under the Evaluation and Formulation section of the COCA MH-7389, a recommended initial
     treatment plan and follow-up must be documented.


     Mental Health Treatment Plan


     It is not necessary for staff in Enhanced Outpatient Programs to complete a full Mental Health
     Treatment Plan CDCR MH-7388 at each quarterly review. Per the MHSDS Program Guide, 2009
     edition, "The Primary Clinician for each inmate-patient shall prepare a case summary on a CDCR
     MH-7230, Mental Health Progress Note, for quarterly Interdisciplinary Treatment Team (IDTT)
     revfew." 111

     Effective immediately, all quarterly reviews shall be completed on a COCA MH-7388 D, Mental
     Health Treatment Plan Addendum Add-A-Page rather than on a CDCR MH-7230. Use of the CDCR
     MH-7388 D, Mental Health Treatment Plan Addendum Add-A-Page will ensure all treatment
     planning documents are more easily accessible in the health record. A full CDCR MH-7388 may be
     used for a quarterly review if there are substantial changes to the treatment plan, but is not
     required.

     If you have questions or need additional information related to this policy, you may contact the
     Mental Health Policy Unit by email: COCA MHPolicyUnit@CDCR.

     cc: Nathan Stanley
         Angela Ponciano
         Laura Ceballos, Ph.D.
         Amy Eargle, Ph.D.
          Michael Golding, Ph.D.
         Jennifer Johnson
         Edward Kaftarian, M.D.
         Laurie Mazzola
         Andrew Greene
         Regional Mental Health Administrators




     lll The criteria for completing the quarter:y review may be found in Chapter 4 pages 12~4~15 and 12-4-16 of the
     Mental Health Services Delivery System {MHSDSI Program Guide.


     HEALTH CARE SERVICES          I
                                                                                                             APPENDIX PG. - 76
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  VOLUME 12:
                                                                       Effective Date:    January 2014
  MENTAL HEAL TH SERVICES
  CHAPTER 1:                                                           Revision
                                                                                          NA
  ACCESS TO CARE                                                       Date{s):
  12.01.200
  INTERDISCIPLINARY TREATMENT TEAM - LEVEL OF CARE Attachments:                           Yes0 NoO
  DECISION
                                                   Director
                                                   Annroval:                             ~--_;· ~.p-s:~-0·. -

  Policy                Mental Health Staff shall complete a CDCR MH-7388-B, Interdisciplinary
                        Treatment Team - Level of Care Decision (attached), at all Interdisciplinary
                        Treatment Team (IDTT) meetings required by the Mental Health Services
                        Delivery System (MHSDS) Program Guide (2009 Revision).


  Definitions           COCR MH-7388-B, Interdisciplinary Treatment Team • Level of Care
                        Decision: A tool utilized by the IDTT to guide the IDTT in determining an inmate-
                        patient's (IP's) level of care (LOG) based on an assessment of the !P's behaviors
                        and symptoms, and to determine whether the IP could benefit from a different
                        LOC.

                       IDTT: Composed of (at a minimum) the attending primary clinician (PC), the
                       attending psychiatrist, the correctional counselor, and the IP. It should be noted,
                       as per the MHSDS Program Guide (2009 Revision), the IP has a right to refuse
                       participation in the IDTT. Administrative Segregation Unit (ASU) IDTTs shall
                       include a Psychiatric Technician. Mental Health Crisis Bed (MHCB) IDTTs shall
                       include a member of the nursing staff. The IDTT has responsibility of overall
                       treatment planning within the MHSDS.

                       Primary Clinician: A psychiatrist, licensed psychologist, licensed clinical social
                       worker, or psychiatric nurse practitioner who assumes overall responsibilities for
                       the management and coordination of mental health treatment services provided
                       to an IP by maintaining active therapeutic involvement with an IP. Unlicensed
                       psychologists or clinical social workers supervised and gaining qualifying
                       experience for licensure as governed by California Health and Safety Code
                       Section 1277 and California Penal Code Section 5058.5 are also included in this
                       definition.


  Purpose              To ensure that IPs are placed and treated at the appropriate LOC or, if deemed
                       clinically necessary, referred to the least restrictive LOC that provides the most
                       benefit to the IP.




 12.01.200: Interdisciplinary Treatment Team• Level of Care Decision                                       Page 1 of 2




                                                                                                         APPENDIX PG.
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   Compliance            To be in compliance with this policy, the following requirements shall be met:
   Indicators
                         1. The CDCR MH-7388-B shall be completed during each IDTT required by the
                             MHSDS Program Guide (2009 Revision).
                         2. If a referral to a higher LOC is indicated, the Department of State Hospitals
                             (DSH) Coordinator or designee shall be notified and a referral made.
                         3. If the IP meets any of the seven considerations listed on the
                             CDCR MH-7388-8, but a referral to a higher LOC is NOT made, the
                             PC shall document the reason the referral was not made on the CDCR MH-
                             7388-8 (Item 1-6A).
                        4. If the       IP meets      any of the considerations           listed on the
                            CDCR MH-7388-8 and a referral to a higher LOC was NOT made or if the IP
                            was referred to an acute or intermediate care program and is on a pending-
                            admission list, the PC shall summarize the specific treatment modifications on
                            the CDCR MH-7388-B (Item 1-68).
                        5. For Enhanced Outpatient Program (EOP) and MHCB LOC ONLY: If the IP
                            meets consideration number seven on the CDCR MH-7388-B, the PC shall
                            document the reason the referral was not made and summarize treatment
                            modifications on CDCR MH-7388-B (item 7A and 78).
                        6. For all IPs meeting any of the seven considerations listed on the CDCR MH-
                            7388-8, the following information shall be entered into MHTS.net on the
                           "7388-8" screen:
                           • Completion date and time.
                           • "YES" will be selected next to "Meets Considerations"
                           • Each of the considerations met by the IP must be checked.
                           • Status must be selected from the "Disposition" drop down screen.
                       7. If none of the seven considerations listed on the CDCR MH-7388-B are met,
                          and the IP was NOT referred, confirm that "No" is selected next to "Meets
                          Considerations" on the "7388-B" screen (MHTS.net automatically creates the
                          7388-B data summary and defaults the "Meets Considerations" to a "No").


 References            1. CDCR MH-7388-8, Interdisciplinary Treatment Team - Level of Care Decision
                       (Form and Instructions).
                       2. Division of Health Care Services. Mental Health Delivery System Program
                       Guide (2009 Revision). Ch.6: 'Department of Mental Health Inpatient Program,"
                       pp.12-3-9, 12-6-1, 12-6-4, 12-6-5, and 12-6-6.




12.01.200: Interdisciplinary Treatment Team - Level of Care Decision                             Page 2 of 2




                                                                                              APPENDIX PG. - 79
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State of caurornra
                                                        Attachment                                        Department of Corrections 811d RehabftlleUon
INTERDISCIPLINARY TREATMENT TEAM • LEVEL OF CARE DECISION
COCR MH-7388-B (Rev. 2113)
                                                                                                                                      Page 1 of 2




    TypeoflDTT:                                     If other, reason for IDTT:                           LOC before IDTT:
    LOC after IDTT:                    Inmate referred to !CF/Acute LOCI O Yes O No              If yes, level referred to:
                                                   If refeued to DSH, is die lnmate-patlentdinlcally suitable for dormitory housing? QYes O No




    1. As a result of a major mental disorder, the Inmate-patient fs unable to adequately function at the current                   □ Yes   O No
       level of c.are.

   2. The Inmate-patient requires hlghly structured Inpatient psychiatric care with 24-hour nursing supervision
      due to a major mental disorder; serious to major Impairment of functioning In most life areas; rituaUstlc or                  Oves D No
      repetltJve self-lnjurioustsulddal behavior; or refractory psychiatric symptoms.

   3. The Inmate-patient demonstrates chronic psychiatric symptoms (e.g., disturbed emotions, perceptions,
      thought processe~ and/or Impaired cognitions) that have not responded sufficiently to at least 6 months of                    0'" D No
      treatment to a degree that facilitates adequate levels offunctlonlng,
   4. The Inmate-patient Is currently In a MHCB and has been In a MHCB for at least 10 ~•ys.                                        DY" 0 No
   5. The Inmate-patient has had 3 or more MHCB placement requests lnlUated du~ng the last 6 months (Includes
       all MHCB placement requests regardless of where the Inmate-patient was housed when the request was                           □Yes D No
      Initiated, e.g., OHU, alternative housing or overflow beds).
   6. The Inmate-patient has had 3 or more COCA 115·MH evaluations completed during the last 3 months.                              QYe:s   D No
   Reoson for Non-Referral to a Higher Level of Core:
   1·6 A. lf"Yes" was selected for any of the 1-6 considerations AND a referral to a higher level of care Is NDTmade, explalnwhythe
          referral was NOT made.




   1-6 B. If "Yes" was selected forany of the 1-6 considerations AND a referral to a higher level of care Is NOT made OR If the Inmate·
          patient was referred to a DSH program and Is on the DSH pending-admission list, summarize the specific treatment
          modlflcatlons that are documented In the treatment plan to improve the lntnate•patlent's ablllty to function.




                                                                                       UstName:
             INTERDISCIPLINARY TREATMENT TEAM •
                   LEVEL OF CARE DECISION                                                                                     Ml:

                                                                                       COCRI:

                      Confidenllal Inmate-Patient lnformaUon                           DOB:




                                                                                                                                    APPENDIX PG. - 80
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SIBie of Callfomla                                                                                 Department of Conectlons end Rehablfi1allon
INTERDISCIPLINARY TREATMENT TEAM - LEVEL OF CARE DECISION
COCR MH-73811-8 (Rev. 7113)
                                                                                                                           Page 2 of 2

                                                             .                                             .
   7. On average and In the last 3 months, has the Inmate-patient participated In less than the minimum □ Yes QNo
      number of structured treatment hours per week {minimums per week are 5 hours for EOP Inmate-patients,
      2.5 hours for RC-EOP inmate-patients, and 50% of scheduled hours for Inmate-patients on tnodified D NA
      treatment plans)?
   7~A. If 0 Yesn was selected for consideration 7 AND a referral to a higher level of care Is NOT made, explain why the referral Was
        NOT made,




   7-8. If "Yes" was selected for consideration 7 AND a referral to a higher level of care Is NOT made OR If the Inmate-patient has
        been referred to a·osH program and Is on the OSH pendlng~admlsslon list, summarize the specific treatment modifications
        that are documented In the treatment plan to Improve the Inmate-patient's ability to function.




    Treatment Team Members                              Name (Print)                                      Signature
   Prlma,y Clinician
  Psychiatrist
  Cori"ectlonal Counselor
  Other.
  Other:
  Date of IDTT:

  Inmate-patient attended IDTT: D Yes D No            If no, enter reason for not attending:

                                                                                   Last Name:
             INTERDISCIPLINARY TREATMENT TEAM •
                   LEVEL OF CARE DECISION                                          first Name:                     Mt:

                                                                                   COCRI:

                       ConndenUaJ lnmate-PaUent lnrormanon                         DOB:




                                                                                                                         APPENDIX PG. - 81
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 StaleofCalffomia                                             Attachment                                         Department of Corrections arxl RehabllllaUon
 INTERDISCIPLINARY TREATMENT TEMI - LEVEL OF CARE DECISION
 COCR MH-7388-B (Rev,2/13)
                                                                                                                                     Page 1 of2

                                                                     INSTRUCTIONS

     I. Generar:
        The CDCR MH-7388-8, INTERDISCIPLINARY TREATMENT PlAN- LEVEL OF CARE DECISION, is a componenl of lhe COCR MH-7388,
        Menial Heallh Trealment Plan.
        The MH-7388-8 ls: ·
        • Used lo guide lhe IDTT in delennining an lnmale-patienfs level or care based on an assessmenl of the Inmate-patient's be!,avion; and
           symptoms, and the potential benefit to the inmale-patlenl of a different level or care,
        • Completed eledronica0y.
        • Completed at a ~equency consislent v.ilh the Mental Health Se!Vlces Oenvery Syslem (MHSDS) Program Gulde (2009 RevisiOn)
           requiremenls.
        • Oisrussed during lhe IDTT process,
    II. Fonm CompleHon:
        Check aff boxes that apply by entering a "Yes," 'No" or"NA' response; and, as indicate<!, an explanation.
        Enter the inmate-patient's demograpliics in the bottom right hand comer of the fonn.

    Ill. Reference,:
         Mental Heallh Services Delivery System Program Gulde (2009 Re,islon).

    N. PART I: IDTT INFORMATION:
       • Enter the CDCR lnstilutlon.
       •·Enter the inmale-patient's rurrent housing.
       • Enter the date and lype oi !OTT (lnllial, weekly, etc.). II "Other• Is selected, enter the reason for the "Othe~ !OTT.
       • Enter the Inmate-patient's level of cere before and after the IDTT,
       • Enter "Yer/ or 'No' If the Inmate-patient was referred to an Intermediate Caro Facifily (!CF) or Acole level of care.
       • If "Yes." enlerlho level referred to (ICF or Acule).
       • II referred lo ICF or Acute, enterlhe dale of Ille referral. This dale should always be the Initial referral dale forth a rurrenl open referral.
       • If lhe inmale-patienl is referred lo the Departmenl or Slate Hospllels (DSH), slale v.ilether the inmate-palienl Is dlnlcaRy suitable for
         dormitory housing. Enter "Yes' or 'No",
         Indications for stating that the inmale-palient is not cfmlcally sullable for dormitory hou51ng may include, but are not Umiled to:
              ► Tendency toward mlence as a perpetrator.
              ► lnablrrty lo advocate for self resumng in ,iclimizallon.
              ► Severe mental heallh symptoms (e.g., delusions, halludnaUons) thal gmssly Interfere v.ith social functioning,
              ► cannot function amongst other inmates v.ilhout undue dlslress.
              ► Cannot cope with strong affect wilhoul resorting to aggression either toward sell or olhers.
         If donmitory housing Is not cflnlcally Indicated, pmvide Iha rationale for this decision. Document the rationale on lhe COCR MH-7368 or
         on a progress nole.

    V. PART R: LEVEL OF CARE CONSIDERATIONS
       Complele Sectioos A and B
       SECTION A: Complete for all level, of care.
       Select "Yes· or 'No" forconsidalatlons 1-li.

         Reason f~r Non,lleferral to a Higher Leval or Care:                                                  .
         1-6 A II "Yes' was selected for any of the 1-6 considerations AND a referral lo a higher level of care Is NOT made, explain why !he
         referral was NOT made.
         • For conslderaUon 1, the operational definition of ' ... unable lo adequaleo/ llmclfon •. .' may be, but is not limited lo:
                ► The severity or the Inmate-patient's symptoms and/or 1e,el or functioning suggest that the current level or care Is i>sulficient to
                   meet the Inmate-patient's b'ealmenl needs.
                ► Tha Inmate-patient is unable to attend or meaningfully pmpale in slructured activities at lhe cunenl level of care.
         • For oon~deration 5, the term, 'The lnmale-patlenl has had 3 or more MHCB placement requesls Initiated during the last 6 months,•
             means:
                ► A cllnlcal determination has been made that the Inmate-patient needs to be referred to a MHCB.
                ► lndudes all MHCB placement requests regardless of v.i1ere the Inmate-patient was housad when Iha request was Initialed,
                     e.g., OHU, alternative hou~ing or overflow beds.




                                                                                                                                            APPENDIX PG. - 82
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 Stele of CaHfomla                                                                                                  Oepartment of C01Tec.tions and RehabilllaUon
 INTERDISCIPUNARYTREATMENTTEAM - LEVEL OF CARE DECISION
 CDCR MH-7388-B (Rev.2113)
                                                                                                                                       Pege2of2
                                                                INSTRUCTIONS (Cont.)

          Examples of reasons for non-re renal may include but are not imRed to:
          • Existing Arute refenal                       • Medicalion mange                      • Inmate-patient won Vttek Hearing
          • Existing ICF referral                        • Modified Treatment Plan               • Inmate-patient moved to a kwler level of
          • lnmate-paUent level or care manged to a • Recent iniHation of Keyt,ea                  care, e.g., EOP to CCCMS or General
             higher level or care, e.g., from CCCMS lo • Recent return from DSH                    Populatloo
             EOP                                         • Recent enival to ctment level of care • Refened for diagnostic pS)tfiologlcal
          • Initiation of Oowil trial                                                              evaluation

          Reason for Non~R:eferraf lo a Higher Level of Care:
          1-6 B. II "Yes" was selected for any of the 1- 6 considerations AND a refenal to a higher level of care ts NOT made OR Uthe Inmate-
          patient was refened to a DSH program and Is on a DSH pending-admission list summanze the speaf,c lrealrnent modifications that are
          dorumenled in the lrealrnent plan to Improve the inmate-paUenl's ability to function.

       SECTION B: Complete onty If current level of care Is EOP or MHCB.
       Seled "Yes' or 'No" for consideration 7.

  7-A. If "Yes'was selected for consideratton 7 AND a refenal to a higher level of care Is NOT made, expleln v.!ly the refenal was NOT made. My
       EDP Inmate-patient, YotJo on average and In the last 3 months, has participated rn less than the minimum number of slructured llealrnent
       hours per week (e.g., minimums per week ere 5 hours for EDP Inmate pa6ents, 2.5 hOUfs for RC-1:0P lnmale-patients, and 50% of
       scheduled hours for inmate-patients on modified trealrnent plans), will trigger a "Yes' response. For an EOP Inmate-patient v.!lo Is currently
       In a MHCB, consider the lnmele-pellent's participallon kl structured trealrnenl hours in the last 3 months.

           Examples of reasons for noMeferral may Include but are not llmlled to:
         • Existing Arute relerra!                    • Medication change                       • Inmate-patient won Vitek Heanng
         • Existing ICF referral                      • Modified Trealrnent Plan                • Inmate-patient moved lo a lower level of
         • Inmate-patient level of care changed to a • Recent Initiation of Keyhea                care, e.g., EOP lo CCCMS or Generel
            higher level of care, e.g., from CCCMS to • Recent return from DSH                    Population
            EOP                                       • Recent arrival lo current level of care • Referred tor diagnostic psychological
         • lnltlaUon or Clozaril trial                                                            evaluation

  7-B. If "Ye•• was selected for consideration 7 AND a refenal to a higher level of care Is NOT made OR Uthe Inmate-patient has been referred to a
       DSH program end ls on the DSH pending admission ris~ summanze the specific lreelrnent modifications that ere rfoaJmented In the
       treatment plan lo lmpmve the inmate-patienrs ability to function.

   VI. PART UI: SIGNATURES:
       • Signatures from ell lDTT members are requ~ed.
       • The Primary Cfmidan wiD print, sign, and dale the MH-73B8-B prior to submitting for scanning and filing fnto the eUHR.
       • If a clinician Is participating In Iha tDTT bytelemedicine/psymiatry, type in the name and 6tie of lhe dinldan and note 1ele-ps)'dl~liy".

       Indicate v.!lether the inmale-pattent attended the IDTT and, If not, selecl the reason for non-attendance.

   VII: Dlotributlon: FIie In the COCR eUHR Mental Health Trealrnent Plan section.

  VIII: Report, for objective consideration numbers 5-7.
        • Consideration 5
          Use the MHTS.net report that Is In the On Demand Folder: DSH Indicators.
          Use the column labeled'# of MHCB Requests/Admits In prior 1B0 days'.
        • ConsldereUon 6: CDCR 115-MH Evaluation.
          Use lhe same report as above.
          Use the column labeled '# of 115 MH Evals In prior 90 days".
        • COnsldera6on 7: Program Participation:
          Use the On Demand report: Weekly Treatment Hours Sumrnary (High Refuser) report.




                                                                                                                                            APPENDIX PG. - 83
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                                17-0227




                                                                    APPENDIX PG. - 84
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                           HEALTH CARE SERVICES
        MEMORANDUM
       Date:            2/27/2017
                                 ---,----------
       To:             Chief Executive Officers
                       Chiefs of Mental Health

                       /?· ....;:.(•. /../4__ .,...,_z
       From:

                      KA THERINE TEBROCK, ESQ.
                      Deputy Director
                   __ Statewide Mental Health Program
       Subject:        RELEASE OF REVISED STATEWIDE PSYCHOTROPIC MEDICATION CONSENT FORM

       This memorandum informs staff of the revised CDCR MH- 7450 Statewide Psychotropic
       Medication Consent Form (Attached), released on December 19, 2016.

       Effective immediately, the following medication specific consent forms shall no longer be used
       as the consent information is now incorporated in the CDCR MH-7450:

             •   CDCR 7454 (07 /08) Consent to Take Heat Medication
             •   CDC 7276 (06/93) Statement of Informed Consent: Anti-Psychotic Agents
             •   CDC 7279 (06/93) Statement of Informed Consent: Anti-Anxiety Agents
             •   CDC 7280 (06/93) Statement of Informed Consent: Antidepressants
             •   CDC 7280 (06/93) Statement of Informed Consent: Lithium

       The revised CDCR MH-7450 also includes the text box "Other" in the "Rare Significant Side
       Effects" section of the form for entering additional side effects not listed. Relevant side effects
       such as breast enlargement, possible with many antipsychotic medications, shall be listed in
       this section.

       If you have questions or require additional information related to this memorandum, you may
       contact the Mental Health Policy Unit by email: CDCR MHPolicyUnit@CDCR.


       cc: Angela Ponciano                                       James Vess, Ph.D.
           Amy Eargle, Ph.D.                                     Jennifer Johnson
           Laura Ceballos, Ph.D.                                 Regional Mental Health Administrators
           Michael Golding, M.D.                                 Regional Health Care Executives
           Edward Kaftarian, M.D.
           John Rekart, Ph.D.

                                                                                              fl.0, 3oit SBllSOO
      HEALTH CAR~-~~RVICES ,----·------···---                                             Flk Grove, CA 957S8




                                                                                                     APPENDIX PG. - 85
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 STATE Of CALIFOR!llA                                                                                                     Of PARTMEIIT Of CORRECTIONS AND REHABU!ATION
 STATEWIDE PSYCHOTROPIC MEDICATION CONSENT FORM                                                                                                                    P&ge 1 of 1
 COCR MH-7450 (Rev. 12/16)


/ 1nterpre(er: OYes ONo       Language:
 My doctor has met with me and discussed my mental health condilion(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
 and has prescribed Iha loffowing medi<:alion(s) --...,.-,,--_...,....,._ _,....,._ _,~------------,--,-.,,.--,:,--,,--
 My doctor has also discussed with me: 1. The reasons why the medication(s) may be helpful, 2. The likelihood or my improving or not improving both with the
 medlcalion(s) and wilhout Iha medicalion(s), 3. Alternative medication choices and/or non-medication treatments such as psychotherapy, 4. That I have the
 right lo discuss discontinuing the medication t am being offered, and the starting dose and dosing range or the medicalion(s). As with any me<ficalion there
 may be side effects, and the possibirity of side affects was discussed with me, along with the fact that I should report any symptoms to staff members. I
 understand Iha! all possible side effecls cannot be predicled, and exaclly which side effects will occur cannot be predicted. Any laboratory 0< other monitoring
 Iha! may be needed for my medlcalion(s), and lhet the following are the most Important side effecls whi<:h might                occur,
                                                                                                                             either because lhey are frequent or
 because the



Metabolic/General: Increased fikellhood of developing diabeles, Increased llp!ds, Metabollc/Generat Severe rash, pulmona,y embolism, lhyrol<J dysfunollon, mduction
inaeased sweallng, weigh! loss, weigh! gain, aa,e, changes In body lemperatu"'.   In while blood oell count, h~r loss, decllaased blood sodium, bone marrow damage,
Cognttlve/Neurologlcal/Psychlalrlc: IOSO<Mla, restlessness/anxiety, fatigue, cataracts, allerg/o readlons, dealh.
drowslnesslseda!on, tinging of anns and legs, slowed reflw<es, llghl-lleadednes Cognttlve/Neurologlcal/Poychlatrlc: S~tllfes, Increased rtsk ol suicidal lhinldng and/
dlZZiness, headaches, 'Fuzzy Thinking,' confusion, blurred Ylsion, mania Of psychosis. Of behaYlor.
Mu&euloskeletaJ: Abno,mal musde movements, tremors, muscle stiffness.                    GastrolnlesUnal: Liver damage, acute panaeatitis, &eV'efe life4hreatenlng
Gaslrolnle1Hnal: Nausea, vomiting, consfipalion, dry rnoolh, drooling. heart bum, consUpal/on.
lhirsl, dlanhea.                                                                  Genitourinary: Priapism, birth defects, kidney damage or failure,     ••be!es insi>fdus.
Genttourtnary: Increased urlnallon, lrouble urinaUng; sexual dysfunction, breast  Can!lovmular. Increased hoan ~,e, decreased plalelel coon!, decreased n,d blood
disdiarge.                                                                        cell coon!, anhylhmia, stroke.
Cardiovascular. !naeased heart rale, eJevated blcxx:I pt'l!Ssure, decteased blood other~·_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
pressure.

 □ (IF PATIENTIS ON A HEAT RISK MEDICATION) l have been !old !hall am oo a med~allon Iha! Is con~de"'d a ~eat risk' medlcafion. This means lhal the medk;aUon
places ma at risk during ho! wealhef. MY DOCTOR DISCUSSED THE FOi.LOWiNG POSSIBLE IMPORTANT HOT WEATHER SYMPTOMS. Seeing spots before your eyes,
blu•ed vision, muscle aamps, slomach cramps, weakness, nausea, v0<nillng, headache, poor condition, lhe leeling of losing your belance, dinlnoss, f\lhl-lleadedness, things
spinning .wund IOU, feeling like you are buming up, and/or remaining thirsty even Blier drinking. My doclor has also DISCUSSED WHAT I NEED TO DO OR SHOULD NOT
DO WHEN IT IS HOT OUTSIDE. ll<lnk more liquid ike waler, avoid caffeine, don I drink coffee, lea, or caffeinated sodas, wash~°'" lhe sink otlen and lake cooing shower,
when offered, do not nm or exercise hard, slay CM of the sun as much as possible, wear light colored clolhing, keep your head covered, stay BNaY from areas wilh poor air
llow, find e breeze ii you can, and stay in conlad wilh olhors. Some outdoor actiYllles, including sweat lodge parlidpaooo may be res!ricted when lhe lemperalure ~ high. By
slgnklg al Iha bottom of lhls page, I ockOO\\iedge lhal I understand these ho! wealher symptoms and what I musl do when laking "heal risk' medlcalion vdien slgnVlcantiY hol
wealher occurs.
□ (IF PATIENT IS ON ANTIPSYCHOTIC MEDICATIONS) I have also been !old Iha! this medication may p,oduca persistent ln,otunta,y movement of dle lace or mouth and
al Umes similar movements in other parts of lhe bod 1. This condition~ called Tarolve Dyskinesia and In cerlain cases lhesa symptoms may be lneverslble and/or may appear
after Iha medication has been stopped. By signing below, I acl<nowfedge Iha! I am laking medication that carries these nsl<s l>led above.
D I understand that I may change my decision rega«flng !he use of !he medicalion(s) al any lime by 1emng any member of my lrealment team, thoogh cis<x>nlinuance of lhe
medicallon will need lo be discussed w,lh my doctor. ShOUld t decide to stop or decrease my psychialric mecllcai1on(s), I have been infonned 10 dQ lhls under lhe glidanoo of
slaff and absolute~ nol slop or decllaase med'icallon(s) suddenly or on mi own.
□ I am aware !hat !his original CONSENT wiP be In my eleclronic heallh record. I will be given aoopy of lh~ CONSENT lor my ov,n recoros.


PaUent Name {Print and Sign):                                                                                                    Dale:

Doctor Name {Ptlnl and Sign):                                                                                                    Dale:
1. D)sebllilv Code:             2. Ag:ommodaHons·                   3. Effective r.omrmmication:




                                                                                             _
                                                                                                                   COCR#:
   TABE saxe <4.0
  Ol'H
  OPS     §OPV Oto
              DNH
                                    Ad<mna!Tme
                                    Equipment
                                    Louder
                                                    §SLI
                                                       Slowef
                                                                    8  Pallenl asked questions
                                                                       Palie~"""""' Jnrom,,tloo                    last Name:                             Ml:
  DNS         00P                  Bask                Transcribe   Pieue thH~ one:
~ Not Appli:able                 ~ Otho~                            □ Nol Reache<i'   ....   OR.-<!
                                                                                                                   Ffrsl Name:

                                                                                                                   008:
4. Comments·
           lklau#lorind'CClldl,1. ettllion, I l l e , ~ ~ (lf~df'(,n(¥1ffrtido!n{,iW.,lo~MlatirP«Jtdrt/MIIJ!hbmltlcnlftlVaw~lh lo'dflllYiy~~l«Jffl(,n,/stJMl!Ms.
DISTRIBUTION: Original: Health Records Copies: Palieot
eUHR SCANNING LOCATION: Oulpatienl PO/MC-Medlcafion Consents/Refusals; 7450 SlatelVide Psychotropic Medication Consent F0<m
EHRS LOCATION: Menial Health Documentation· Consents; Slalewide Psychotropic Medicalion Consent



                                                                                                                                                  APPENDIX PG. - 86
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                                16-1115




                                                                    APPENDIX PG. - 87
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                          HEALTH CARE SERVICES
       MEMORANDUM
       Date:           ll/15/2016
                          -------
       To:            Chief Executive Officers
                      Chiefs of Mental Health
      -------------                       ------ - - -
       From:

                      /-~~- /..--?--~
                      KATHERINE TEBROCK, ESQ.
                      Deputy Director
                      Statewide Mental Health Program




      As of September 12, 2016, the California Department of Corrections and Rehabilitation (CDCR)
       had 36,238 patients in the mental health delivery system, 29,090 of whom are in the
      Correctional Clinical Case Management System (CCCMS). Of those CCCMS patients, the mental
      health (MH) program has identified 4,690 patients who have not been prescribed psychiatric
      medications for at least six months. Many of these patients may meet the CCCMS caseload ·
      discharge criteria per the Mental Health Services Delivery System Program Guide, which
      indicates "Inmate-patients may be clinically discharged from CCCMS if they have been in
      continuous remission and are functioning adequately in the mainline without treatment
      (including medication) for six-months." {MHPG 12-3-13).        If patients are not considered
      clinically appropriate for discharge, documentation should reflect meaningful psychosocial
      interventions targeting treatment goals are occurring. The treatment plan and progress shall be
      clearly noted.

      The Chief of Mental Health shall ensure a complete review of each CCCMS patient on the
      attached list occurs within 90 calendar days of this memorandum. These reviews shall occur at
      the patient's next scheduled appointment.

      If the review is completed during the Primary Clinician (PC) clinical encounter and the PC
      determines the discharge criteria have been met, the PC shall immediately schedule an IDTT to
      discuss discharge from the program. If the patient is scheduled for an IDTT before the next
      appointment, the PC shall meet with the patient prior to the IDTT; if the PC determines
      discharge criteria have been met, the IDTT will discuss the recommendation for discharge and
      discharge as appropriate. Justification and an individualized treatment plan for continued
      11.@~ent at the CCCMS level of care continues to be re uired for all        atients retained In
                                                                                         P.O. Box 588500
      HEALTH CARE SERVICES                                                            Elk Grove, CA 95758




                                                                                               APPENDIX PG. - 88
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      MEMORANDUM                                                                               flage2of2

      CCCMS. Patients who are adequately functioning in mainline programs and who are not
      receiving medication or individualiied treatment may be removed from MHSDS. Discharge is
      not required for patients receiving and benefitting from individualized treatment. However, if
      retained in MHSDS, treatment progress is expected and must be documented such that higher
      functioning patients are moved toward eventual discharge from CCCMS.

      A list of patients who have not been prescribed psychiatric medication for six months or longer
      will be distributed each quarter. Any patient who appears on the quarterly list and has not
      been reviewed for continued retention or discharge from CCCMS, shall be reviewed at the
      patient's next scheduled appointment.

      The Chief of Mental Health will ensure reviews are completed and provide a summary of the
      results to the respective Mental Health Regional Administrator upon completion. The summary
      will Include the justification for retaining I patients on the list as CCCMS. This should be
      accomplished by adding columns on the attached excel spreadsheet that indicate 1) if the
      patient was retained or removed and, 2) a brief clinical justification.

      If you have questions or require additional information related to this memorandum, you may
      contact the Mental Health Policy Unit by email: CDCR MHPolicyUnit@CDCR.

      Attachment

     cc: Angela Ponciano
         Amy Eargle, Ph.D.
         Laura Ceballos, Ph.D.
         Michael Golding, M.D.
         Edward Kaftarian, M.D.
         John Rekart, Ph.D.
         James Vess, Ph.D.
         Jennifer Johnson
         Kathleen Allison
         Jeff Macomber
         Regional Mental Health Administrators
         Regional Health Care Executives




     HEALTH CARE SERVICES        I                                                       P.0. Bo,: 588500
                                                                                     Elk Grove. CA 95758




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                                                                    APPENDIX PG. - 90
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                       HEALTH CARE SERVICES
       MEMORANDUM
      Date:        12/22/2014
      To:          Chief Executive Officers
                   Chiefs of Mental Health
      From:
                  :=~,-~_,5,.,..· k&:..C~ ~ ~\..- (? ~ -'~J
                  Timothy G. Belavich, Ph.D., MSHCA, CCHP·MH, Director (A), Division of Health Care
                  Services and Deputy Director, Statewide Mental Health Program
      Subject:    ACCURATE TRACKING OF MENTAL HEALTH TREATMENT HOURS

      Mental health treatment hours offered and received must be accurately recorded and tracked
      in the Mental Health Tracking System (MHTS.net). All clinicians, coordinators, schedulers, and
      support staff must be informed of the MHTS,net data entry requirement. When group
      appointments do not last the full amount of time scheduled, the actual length of the group
      appointment must be recorded in the primary clinician's documentation and added correctly in
      MHTS.net.

      Group appointments must not conflict with other mental health appointments. In addition, to
      the extent possible, group treatment hours should not conflict with other inmate-patient
      activities, such as yard time. When such conflict does occur, a refusal must be entered with the
      proper reason code, and close monitoring must occur to make sure that all major and ongoing
      scheduling conflicts are resolved.

      If you have any questions, or need additional information related to this directive, please
      contact the Mental Health Policy Unit via email: CDCR MHPolicyUnlt@CDCR.

      cc:   Angela Ponciano
            Nathan Stanley
            Laura Ceballos, Ph.D.
            Amy Eargle, Ph.D.
            Edward Kaftarian, MD.
            Jennifer Johnson
            Utilization Management Unit
            Mental Health Regional Administrators
            Regional Healthcare Executives




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      HEALTH CARE SERVICES i                                                           Hk: Lh.w--:, Cl\ fri),3




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                                        HEALTH CARE SERVICES
          MEMORANDUM
          Date:             IV/arch 3, 2014
          To:                Chief Executive Officers
                             Wardens
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      From;   /    )
                          ____ ----·--·-----------------
                             Chiefs. of Mental Health


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                             Division of Adult lnsti. tions
                                                    '            .
                                                .-.-=·-~"- .. ;~-::,. ...... \-., \)\ ,,_,1;..,,
                            Timothy G. Belavich, Ph.D .• MS HCA, CCHP, Director (A}, Division of Health Care Service~ and
     ____ ., ___ -·----~D.c•c.P.cut'-'y'-D'-i"-rec.ccctcco_,,r,"S"t"a"te:.:w.cic::d.ce..cM=•nc.t:.:ac.l.;.Hc::•.c•:.:lt:.:h,.cP..:,ro;cge:rc:a::;mc;.__ _ _ _ _ _ _ _ _ _ _ _ __
       Subject:                INTERDISCIPLINARY TREATMENT TEAM REVIEW OF INMATE-PATIENT'S ABILITY TO
                               PARTICIPATE IN PROGRAM ASSIGNMENTS

      This memorandum clarifies the "EOP Accessibility to General Population Prison Programs" policy dated
      March 30, 2007, and directs the roles of the Interdisciplinary Treatment Team {IOTT) and the Initial/Unit
      Classification Committee in assignment of Enhanced Outpatient Program {EOP) Inmate-Patients (IPs) Into
      the appropriate educational, vocational, and employment programs. !Ps shall not be excluded from any
      program solely on the basis of their mental health level of care, Both the 2007 memorandum and this
      memorandum provide specific direction on the CDCR policy that permits EOP inmates to be placed into
      assignments alongside non-EOP inmates.

      Interdisciplinary Treatment Team Responsibilities


      The !OTT shall complete a review of the IP's ability to participate in a program assignment. identify any
      functional limitations, and document any required reasonable accommodations. All EOP IPs are assumed
      to be eligible for appropriate assignment unless they are determined to be medically disabled
      (psychiatrically disabled) by the JOTT and have been reviewed by a Cfassificalion Committee. The
      Initial/Unit Classification Committee has the sole responsibility for making program assignment and work
      group de!tignations. Classification Committees determine the IP's work group based on information on the
      form Chrono-Medical, Psychiatric, Dental {CDC 128-C}, provided by the !OTT and feedback from staff from
      the affected work area, academic, vocational program. and the inmate assignment office.


      frequency of Reviews


      •     The IDTT shafl evaluate all lPs for program assignment eligibility at the initial IOTT.
      •     If an IP has already been accepted into the EOP program and has not been evaluated, evaluation shall
            occur at the next scheduled IDTT.
          --·-----..~---                                ··r--·
          HEALTH CARE SERVICES\




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         MEMORANDUM
         •   Following the initial evaluation of eligibility, IPs who do not yet have a program assignment shall
             continue to be evaluated at every subsequent IDTT.
         •   IPs who have been determined, through review by the IDTT and a Classification Committee, to be
             medically disabled (psychiatrically disabled), shall be re-evaluated by a mental health clinician and
             reviewed by the IDTT at intervals of no less than six months for changes to program eligibility.
     •       IDTT shall review the functional limitations of an IP at least every six months.


     Reasonable Accommodations


     When evaluating the IP's ability to perform an assignment, the IDTT must review the !P's history, current
     functioning, level of impairment, and performance in previous assignments. When an IP has been removed
     from an assignment, if the IP was removed due to performance issues, the IP's Primary Clinician shall
     review any available documentation (i.e., CDC 128-B Informational Chrono, CDC 128-G Classification
     Chrono, CDC 128-A Custodial Counseling Chrono, CDC 115 Rules Violation Report) resulting In removal from
     the assignment. The Primary Clinician will consult with the !P's supervisor/instructor prior to the !P's next
     IDTT, whenever possible. This consultation shall also include a discussion of the specific behaviors that led
     to the IP's removal from the assignment and the supervisor/instructor's overall evaluation of the IP's
     abilities.

     The IDTT shall specify if any reasonable accommodations may be needed. Some examples of work related
     activities or IP characteristics the IDTT may consider when evaluating the IP's functional limitations and
     need for reasonable accommodations are:

     •       Ability to work around machinery.
     •       Ability to work around sharp objects.
     •       Heat related pathologies, such as medications or health conditions.
     •       The IP's capacity to tolerate social interaction.
     •       The !P's ability to handle stress, particularly high stress assignments.
     •       The IP's level of restlessness.
     •       The !P's attention span.
     •       The !P's ability to work a half-time or full-time assignment.

     Light Duty Assignments

    When it is believed an inmate has a long-term psychiatric work limitation, he/she shall be evaluated by a
    mental health clinician to delineate the IP's capacity to perform work and/or training programs for either a
    full or partial workday. The results of this evaluation shall be reviewed by IDTT and a Classification
     Committee for a final determination.


     If the Classification Committee concurs with IDTT's recommendation:
             1. The case shall be referred to the Inmate Assignment Lieutenant who shall make an effort to provide
                 the IP an assignment within the institution's resources and the !P's capabilities.

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          MEMORANDUM
              2. The Classification Committee and /DTT shall review such cases every si• months for changes to
                 program eligibility.


          If the Classification Comminee disagrees with the evaluation conducted by IDTT:
              1. The case will be referred back to IDTT with the difference of opinion articulated on a
                   CDC 128-G, Classification Chrono.
              2.   Upon receipt of IDTT's second evaluation, the Classification Committee shall review the case again.
              3. If the Classification Committee still disagrees with the second IDTT evaluation, It shall refer the
                   matter to the Institutional Classification Committee for a final determination of the /P's work
                   group/credit earning status.


          Medical (Psychiatric) Disabilities Status Determination

      If the IDTT concludes that an IP cannot participate in a work, academic, or vocational program even with
      reasonable accommodations, then this conclusion shall be documented on the form CDC 128-C, Chrono-
      Medlcal, Psychiatric, Dental. The CDC 128-C, Chrono-Medical, Psychiatric, Dental shall be forwarded to the
      IP's assigned correctional counselor to schedule a Classification Committee review.


      Should the documented limitations prevent the IP from performing the essential functions of any work,
      academic, or vocational program even if reasonable accommodation(s) are provided; then he/she will be
      temporarily psychiatrically unassigned or considered medically disabled. Placement into one of these
      categories shall be approved by the appropriate Classification Committee.

      For custody questions regarding this memorandum, please contact Thomas Tyler, Captain, Adult
      Institutions, Audits and litigation Unit, Division of Adult Institutions (DAI), at (916) 324-7956. For clinical
      questions regarding this memorandum, please contact Amy Eargle, Chief Psychologist, Clinical Support,
      Statewide Mental Health Program, Division of Health Care Services (DHCS), at (916) 691-0279.

    Attachment


    cc:     Kelly Harrington, Deputy Director, Facility Operations, DAI
            Kathleen Dickinson, Deputy Director (A), Facility Support, DAI
            Kathleen Allison, Deputy Director, Special Project Liaison, DAI
            Associate Directors, DAI
            Natalie Fransham, Chief, Office of Policy Standardization, DAI
            Thomas Tyler, Correctional Captain, Audit and litigation Unit, DAI
            Nathan Stanley, Chief, Field Operations, Statewide Mental Health Program, DHCS
            Angela Ponciano, Associate Director, Policy and Clinical Support, Statewide Mental Health Program, DHCS
            Amy Eargle, Chief Psychologist, Clinical Support, Statewide Mental Health Program, DHCS
            Laura Ceballos, Chief Psychologist, Quality Management, Field Operations, Statewide Mental Health
                   Program, DHCS
            Regional Mental Health Administrators, Field Operations, Statewide Mental Health Program, DHCS


          HEALTH CARE SERVICES          I

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     Memorandum
     °'~ :       Harch JO, 2007


     To          Associate Dircc1ors, Division of Adufl bmitutiom
                 Warden!
                 Hcallh Care Managers
                 Chiofs of Mental Heallh
                 tla!siflcarlon and Parole Ropresen1a1ivcs
                 Conccriooal CoWl,efor Uls, Reception Ccnlers
                 Cla!sification Slaff Represenlatives
     Sohit<f:    EOP ACCESSIBILITY TO GENERAL POPULATION PRISON PROGRAMS


                Th• purposc of lhc 1ncmorandum is lo clarify lhc availabUil)' of prison program., lo
                 lrunale-patients (IPs) in Enhanced Outpatient (EOP) Level of Care. If olberwisc qualified,
                EOP IP• arc: eligibk for all prison progrllns and activities ,o long as lhe Interdiscip!illllly
                TrcalD\ent Team (IDTI) iildMdua!ly detennincs lhal lhc program or octivity is oonsl!!ent
                wilh !be lrunatc-patjenl's overall mcmal hcallh lrcabnont and the Menial Health Se,vicc,
                Delivery System Program Guide. l)iaing lhc C<Jllm of 11<atmenl planning, lbe IDIT shall
                assess the inmai...palicnt's menial health accds to decide lbe relative priori!)' of &clivitics
                included in lhe ttmlrnenl plan. Appropriate octMtios may include not only di=t mental
                heallh lreatmen~ but also educational, vocational, crnploymenl, and religious programs
                available to general population inmates,         lnm•te-patjcnts prescribed heat-sensitive
                IJICdications shall be ..eluded from Nafivc-Arnorican ,wcat lodge aclivities lhat involve
                c,q>oswc to hea1.

                I11dividualizcd assessment of JPs must occur, as no inmate may be excluded from a program
                because of his or her placement in EDP. In making their individualized assessment. each
                facility and the JDIT must continue to consider corr..:tional concern.,, including IP• 1111d s1aff
                safety.

                If you have question, regarding thi, policy and proe<dure, please contact
                Shamo Ctuulccn, Ph.D., Chief Psycliolosist, Menial Health Program, Divlsioo of Correctional
                Health Care Services (DCHCS) at (916) 445-4114.




                ~1~
                Director (A)
                                                                      0>--1.EA ANN CHROl'ffiS
                                                                          Director (A)
                Division of Corrections) Health Care Services             Division of Adull lrutirutions




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·- '

       EOP A«cssibility to General Population Prison Progr,,m,
       Pagc2



       cc: Sbama C'halken, Ph.D., Chief Psycbologis~ Mental Htal1h Program, DCHCS
           Doug McKcevcr, Director (A), Mental Heallh Program, DCHCS
           Andn:w Swan.ion, M.D., Chief P,ychiatris~ Mental Health Program, DCHCS
           Margan:! MeAloon, Ph.D., Chief Psycbo!ogisl, Clinical Opcnitions ond Forensic Unit,
              Mental Health Program, DCHCS
           Christine Mllrtio, Deputy Direc1or (A), Strategic Developmen~ DCHCS
           Brigid Hanson, Deputy Direotor, DCHCS
           Superv!sing and Senior Psychologists, Mental Health Program, DCHCS
           Michael Stone, SlalfCowuel, Olli« of Legal Affair>
           Lisa Tilllllan, Dcpuly Attorney Ocnc:ral, Ocpartmcnl of Justice




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                             HEALTH CARE SERVICES
             MEMORANDUM
             Date:        7/21/2017
             To;          Chief Executive Officers
                          Chiefs of Mental Health
             From:


                         ~
                     fiv'KATHERINETEBROCK, ESQ.                          Jk.:::
                           Deputy Director                     Deputy Director
                           Statewide Mental Health Program     Facility Support
                                                               Division of Adult Institutions
             Subject:     DIALECTICAL BEHAVIOR THERAPY ENHANCED OUTPATIENT PROGRAM POLICY
                          AND PROCEDURE

            This memorandum announces the re/ease of the Dlalectlcal Behavior Therapy (DBT) Enhanced
            Outpatient Program (EOP) po/Icy (12.04,100) and procedure (12.04.lOOPl) (attached) .

...- - ..   Patients placed in the EOP level of care shall be considered for placement In the DBT EOP as
            outlined in the attached policy. The DBT EOP Is flrst being implemented at the California Medical
            Facility. Headquarters will notify Institutions when additional units are activated.

            If you have questions or require additional Information related to this memorandum, please
            contact the Mental Health Polley Unit by email: CDCR MHPolicyUnlt@CDCR.

            Attachments

            cc: Kathleen Al/Ison
                Connie GIpson
                Brittany Brizendine
                Angela Ponciano
                Amy Eargle, Ph.D.
                Laura Ceballos, Ph.D.
                Michael Golding, M.D.
                Edward Kaftarian, M.D.
                John Rekart, Ph.D.
                James Vess, Ph.D.
                Jennifer Johnson
                Associate Directors, Division of Adult Institutions
                Regional Mental Health Administrators
                Regional Health Care Executives

                                       '
            HEALTH CARE SERVICES ,
                                                                                               P.O. 80)( 588SOO
                                                                                            Elk Grove, CA 9S758




                                                                                                          APPENDIX PG.   99
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    VOLUME 12:
   MENTAL HEALTH SERVICES
                                                                        Effective Date:    7/21/2017
    CHAPTER 4:                                                          Revision
   ENHANCED OlJTPATIENT PROGRAM                                         Dates:
                                                                                          NA
                                                                        Supersedes:
   12.04.100                                                           Attachments:       Yes D Noi8)
   DIALECTICAL BEHAVIOR THERAPY ENHANCED OUTPATIENT PROGRAM
                                                                       Director
                                                                       Approvat



   Policy               Patients at the · Enhanced Outpatient Program (EOP) level of care (LOC) shall be
                        considered for placement In the Dialectical Behavior Therapy (DBT) EOP which provides
                        intensive outpaUent mental health treatment to the EOP population in a designated housing
                        unit.

                        For patients at the EOP LOC to be accepted in the DBT EOP, all of the following criteria
                        are required. The patients:
                            1) Have at least one year left to serve in the California Department of Corrections and
                              . Rehabilitation (CDCR) in order to allow sufficient time to reap benefits from the
                                pr_ogram.
                           2) . Are amendable to treatment.
                            3) Are voluntarily seeking admission into the DBT program.
                           4). Are committed to DBT and complies with !he following Six Patient Agreements:
                                       a. To enter and stay In therapy
                                       b. To attend therapy
                                       c. To work on reducing suicidal behavior
                                       d. To work on reducing therapy-interfering behaviors
                                       e. To attend DBT skills training separate from therapy
                                       f. To abide by research agreements
                           5) Agree to measurably decrease one of the following treatment targets:
                                       a. Suicidal behavior
                                       b. Para-suicidal behavior
                                       c. Life-threatening behavior
                                       d. Therapy interfering behavior

                        Patients exhibiting the following criteria are prafemid:
                           1) Ch ronlcally suicidal patients .
                           2) Patients engaging In se"•harm behavior
                           3) Patients with readmissions to Mental .Health Crisis Bed (MHCBJ, Acute or
                               Intermediate inpatient care
                           4) Recent discharges from Psychiatric Services Unit and Administrative Segregation
                               Unit

                        Exclusion Criteria:
                        Patients who have a severe mental illness that interferes With !he patient's abifrty to
                        participate actively in treatment.




       12.04.100: Dialectical Behavior Therapy Enhanced Outpe6ent Program                              Page 1 of3




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    Compliance           To be In compliance with this policy, the following Indicators will be collected and provided
    Indicators           lo the Mental Health Quality Management Committee, monthly, by the DBT Program
                         Supervisor for review, discussion, and action:
                             1) Percentage of patients attending one hour of Individual DBT psycholherapy per
                                week
                            2) Percentage of patients attending required hours of the following:
                                      a. Two hours DBT skills group
                                      b. Two hours DBT skills implementation groups
                            3) Percentage of patients attending at least 80% of all other scheduled structured
                                therapeutic activities
                            4) Percentage or number of MHCB admissions

                         To be In compliance wtth this policy, the following requirements shall be met:
                             1) The Interdisciplinary Treatment Team (IDTT) refers patients meeting the Initial
                                 custodial, medical, and mental health screens for DBT.
                            2) A Primary Clinician (PC) from the DBT IDTT reviews the referral and contacts the
                                 referring PC. for a clinical case discussion.                        ·
                            3) Patients agree and commit to DBT treatment for a period of one year.
                            4) The DBT IDTT makes the final acceptance decision and documents the decision
                                 on a CDCR MH-7230D Interdisciplinary Progress Notes-lDTT Summary.
                            5) If patients are determined by th\3 DBT IDTT to not qualify for the program based on
                                 the acceptance criteria, the Justification shall be documented in the patients'
                                 medical records.
                            6) Patients accepted into the DBT EOP shall be offered:
                                        a. A minimum of one hour of individual DBT psychotherapy per week.
                                        b. 1O hours of structured therapeutic activities per week.
                                        c. Monthly psychiatry Individual treatment for medication evaluation and
                                            management.
                                        d. Face-to-face consultation by members of-the treatment team In between
                                            individual psychotherapy sessions.
                                        e. A scheduled IDTT every 90 days or sooner if needed.
                                        f.  Nursing and supportive care as provided In the MHSDS Program Guide.
                                        g. A monthly progress note by the PC to document DBT group therapy
                                            progress.
                                       h. Aftercare Planning.
                            7) If patients have four consecutive unexcused absences from scheduled DBT
                                individual psychotherapy sessions or DBT skills groups, the patient shall be
                                terminated from and transferred out of the DBT program.

   Responslbltllles     The Chief of Mental Health or designee at each institution is responsible for the
                        implementation of this policy.




       12.04.100: Dialectical Behavior Therapy Enhanced Outpatient Program                        Page 2 of 3




                                                                                                       APPENDIX PG. - 101
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                                                                    .




                         The following action is requ ired for your Institution to be_ in compliance with lhe new policy.
    Action
    Required
                            If our Institution...         then .••
                            has a local operating         amend the current LOP to meet the new policy via an
                            procedure (LOP)               addendum within 30 days of the effective date of this
                                                          policy valid until the next LOP revision date.
                            does not have an LOP          ensure that one Is completed within 30 days of the
                                                          effective date of this policy that meets the new policy
                                                          requirements. Ensure the LOP is reviewed annually.




    References          •   Linehan, M. (2014). DB T Ski/ls Training Manual, 2nd Edition. Guilford Press
                        •   Linehan, M. (1993). Cognitive Behavioral Treatment of Borderline Personality Disorder.
                            Guilford Press
                        •   DBT Skr1Is Training Han douts and worksheets, 2nd Edfflon. Guilford Press


    Questions           If you have any questions or need any additional Information related to this policy, you may
                        contact lhe policy unit via e- mail at: CDCB Ml::!Po!lc~Unl!@cdcr.c;i.gov.




       12.04.100: Dialectical Behavior Therapy Enhanced Outpatient Program                           Page 3of 3




                                                                                                          APPENDIX PG. - 102
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   VOLUME 12:
   MENTAL HEALTH SERVICES
                                                                                    Effective Date:    7/21/2017
   CHAPTER4:                                                                        Revision
   ENHANCED OUTPATIENT PROGRAM                                                      Datels\:          NA
                                                                                    Supersedes:
   12.04.100.P1
                                                                                    Attachments:      Yes ONoi81
   DIALECTICAL BEHAVIOR THERAPY ENHANCED OUTPATENT PROGRAM

                                                                                                      ~
                                                                                    Director
                                                                                    Approval:
                                                                                                                                        - I
                                                                                                      /-?Jr /{.":,.LL .... -' .. 1:11     ...
                    Procedure
     1.             Program Col/aborst/on
                         1) The Dialectlcal Behavior Therapy (DBT) Enhanced Outpatient Program (E0P) shall be
                            Jointly managed by the Senior Psychologist, Supervisor, Supervising Registered Nurse,
                             and the Untt Sergeant.
                         2) A morning "check-in" meeting between custody and clinical staff shall be held each
                            'business day. The meeting will include representatives from custody, nursing and mental
                             health. During the meeting, involved personnel shall identify new arrivals, discuss current
                             behavioral issues and concerns, and share any pertinent information regarding new
                             arrivals and/or at•risk inmates. This meeting shall be documented in the DBT Meeting
                             Minutes log by the DBT Supervisor and salient clinical information shall be documented
                             in the patient's medical record. If .necessary, any referrals for addlfional mental health
                             services shall be Identified and addressed.
                         3) The program managers (Senior Psychologls~ Supervisor, Supervising Registered Nurse,
                             and the Unit Sergeant) shall conduct .joint weekly leadership rounding of both staff and
                             patients.                          •
                         4) The Chief of Mental Health (CMH), Chief Nurse ExeculiVe and the Healthcare Access
                            Associate Warden shall conduct ioint DBT E0P rounds monthlv.
     2.             Admission to Program and Referral Process
                        1) Mental Health lnterdlsclpllnary Treatment Teams (IDTT) may initiate a referral to Iha DBT
                            E0P. When a patient potentially meets the admission criteria, the IDTT shall complete a
                            mental health assessment substantiating the referral.
                        2) A Primary Clinician (PC) from the DBT IDTT shall review the referral and contact the
                           referring PC for clinical case discussion.
                        3) The DBT Supervisor will provide patient's identifying Information to assigned counselor to
                            ensure the inmate's case factors allow referral to the receiving institution. Classlflcation
                           score in and of itself shall not make an inmate ineligible for a DBT program.
                        4) If the patient meets preliminary criteria for the program, the DBT PC shall meet with the
                           patient and the patient's referring PC either through video conference or telephonically to
                           determiRe appropriateness for program.
                        5) The DBT PC shall review the components of the DBT program with the prospective
                           patient, including the required treatment and patient and PC agreements, and the patient
                           must agree to the required treatment prior to consideration for acceptance into the
                           program.
                        6) If the patient Is determined by the DBT IDTT to not be appropriate for the program, the
                           justification shall be documented in the patient's medical record and notification sent to
                           the referring PC.


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                      1) After a patient is accepted into DBT, the DBT Program Supervisor, or deslgnee, will
                          generate an acceptance chrono to forward to the referring lnstltution's Classification and
                          Parole Representative (C&PR).
                              a. If the referring instilution has not gone live with Electronic Health Records System
                                   (EHRS), the chrono will be completed and faxed or emailed to the referring
                                   instilution's C&PR.
                              b. If the referring institution has gone live with EHRS, the acceptance chrono will be
                                   completed by the Program Supervisor or designee. The chrono Will then be
                                  forwarded to the referring Institutions Classification & Parole Represenlatlve
                                  (C&PR) via the EHRS system.
                     2) A Unit Classification Committee (UCC) at the referring lnstHution will convene after
                         receiving the acceptance chrono from the DBT EOP. If the UCC determines the patient
                         meets the custodial criteria for placement at the institution's EOP, the inmate shall be
                         referred and the case shall be presented to the Classification Slaff Representative (CSR)
                       . for endorsement and transfer purposes. The CSR shall endorse the patient to the EOP
                         with an override for 'PSY", if appropriate. The CSR will indicate In the endorsement that
                         placement is for the DBT EOP.
                     3) If the UCC determines the patient is inappropriate for transfer consistent with eXisUng
                         policy, the CDCR Form 128-G, Classification Chrono, shall clearly document the
                         decision/rational for denial.
                     4) The DBT Program Supervisor, or designee, will maintain a list of endorsed patients and
                         will notify the sending institution's C&PR when a bed Is available.
                     5) The C&PR at the sending institution will be responsible for Including 'Accepted to DBT
                         Program" on the weekly bus request to track patients accepted and transferring into the
                         DBT program.
    4.            Required Agreements
                  Patient Agreements
                      1) The patient must agree and comm~ to DBT treatment for a period of one year.
                             a. This one year period Is renewable when Indicated but must be justified, reviewed,
                                 and approved by the Utilization Management Comm~e.
                      2) Circumstances of Unilateral Termination
                             a. If the patient has four consecutive unexcused absences from scheduled DBT
                                individual psychotherapy sessions or DBT skllls groups, the patient shal be
                                terminated from the DBT program.
                                      I. This is a non-negotiable requirement of DBT, and under no circumstances
                                         shall this patient agreement be broken.
                                     ii. PCs may not provide approved reasons for patient absence.
                                    Ill. The Senior Psychologist, Supervisor shall be responsible for validating
                                         attendance dala.
                      3) Attendance Agreement
                             a. The patient must agree·to attend all scheduled DBT therapy.
                            b. The patient must agree to attend at least BO% of all other scheduled structured
                                therapeutic activities.
                      4) Suicidal Behaviors Agreement
                            a. The patient must agree to reduce suicidal and self-injurious behavior as a primary
                                treatment goal ..
                      5) Therapy-Interfering Behaviors Agreement
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                              a. The patient must agree to reduce non-compliant behaviors that interfere with the
                                  DBT therapy.
                        6) DBT Skills Training Agreement
                              a. The patient must agree to attend every DBT Skills Training group.
                        7) Program Evaluation
                              a. The patient must agree lo allow aggregate data to be used for the purposes of
                                 program evaluation.

                   Primary Cllnfclan Agreements
                        1) 'Every Reasonable Effort" Agreement
                              a. The PC shall review common misconceptions of therapy, and agree to make every
                                   reasonable effort to provide competent and ethical treatment. -
                        2) Personal Contact Agreement
                              a. The PC agrees to attend every scheduled session, provide in advance backup
                                  coverage when Indicated and reschedule nneeded.
                        3) Respect-for-Patient Agreement
                              a. The PC shall agree to respect the rights of the patient.
                        4) Confidentiality Agreement
                              a. The PC shall review the nmits of confidentiality, including those specific to a
                                  correctional environment, and describe the treatment team approach utilized in
                                  the program with the patient.
                        5) Consultation Agreement
                              a. -The PC shall agree and notify the patient that he/she will be participating in a
                                  weekly case consultation meeting that is standard in all DBT programs. If
                                  additional clinical consultation is needed, the PC shall consuH with a supervisor or
                                      peer.
    6.             Reguired Treatment
                   If the patient Is accepted into the DBT EOP, the following required treatment shall be provided:
                        1) Individualized DBT oriented treatment plan.
                        2) A minimum of one (1) hour of individual DBT psychotherapy per week.
                        3) 10 hours of structured therapeutic activities per week.
                               a. Four (4) hours_ of co-facilitated DBT group treatment per week consisting of:
                                           I. Two hours of DBT skills group
                                          ii. Twc hours of DBT skills Implementation groups
                               b. Six (6) hours of other scheduled structured therapeutic activities such as, but not
                                    limited to:
                                           i. Music therapy
                                         II. Art therapy
                                        iii. Recreation therapy
                                        Iv. Therapeuflc Community Meeting
                                         V. Clinical Pre-Release group
                                        vi. Substance Abuse Group
                                       vii. Daily Living Skills
                                       viii. Educational programs
                        4) Monthly psychiatry individual treatment for medication evaluation and management


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                              a. For patients with psychotic symptoms In the context of a severe Borderline
                                  Personafrty Disorder, the psychiatrist shall review for a history of two (2) different
                                  failed trials of anlipsychotic medications.
                              b. If the patient has had two different failed trials and no has contraindications, the
                                  DBT IDTT shall consult with the local Clozapine team.
                       5) Face-lo-face consultation (e.g., coaching) In between individual psychotherapy sessions
                          by members of the treatment team.
                       6) Weekly Case Consultation meeting with PCs.
                       7) IDTT will be scheduled every 90 days, or so.oner if clinically Indicated.
                       8) Nursing and supportive care as outlined in the MHSDS Program Guide.
                       9) The PC will complete a· monthly progress note to document DBT group therapy progress
                          and all notes shall be reviewed in IDTT.
                       10)Aftercare Planning
    6.            Utilization Management
                       1) The DBT EOP shall establish a local Utilization Management (UM) monthly meeting.
                      2) The DBT UM meeting shall include leadership from custody, nursing, and mental health
                          consisting of the following:
                               a. Institution Chief of Mental Health (Chairperson)
                               b. Chief or Senior Psychiatrist
                               c. DBT program Senior Psychologist, Supervisor
                               d. Supervising Registered Nurse
                               e. Healthcare Access Warden
                               f. PC to. present the case
                               g. DBT psychiatrist as necessary
                      3) Each patient who Is anticipated to be retained by the DBT IDTT beyond one year in the
                          program shall be presented at the DBT UM meeting for a concurrent review.
                      4) If the IDTT retains the patient in the program beyond one year, a quarterly DST UM
                          committee concurrent review shall occur.
                      5) The DBT UM committee shall make a recommendation lo the IDTT to retain the patient
                         ·in the treatment or refer lo another program as Indicated.
                      6) If the IDTT does not agree with the DBT UM committee's recommendation, the IDTT shall
                          appeal the decision In the following month's UM committee.
                              a. The DBT UM committee shall review and either accept or deny the IDTT's appeal.
                                       i. If the DBT UM committee denies the IDTT's appeal, the CMH or designee
                                           shall document the reason in the health record.
                                      Ii. The DBT IDTT must provide the patient with alternate treatment plan
                                           strategies during an IDTT.
                      7) The local DBT UM Chairperson will identify a DBT UM Committee member to document
                          DBT UM Committee meetings and track of continued stay reviews.
   7.            Hospitalization Protocol
                      1) A hospltalizalion protocol shall be developed tor each patient.
                            a. This protocol shall be discussed with the patient.
                            b. The patient must agree to the individualized protocol in order lo be accepted Into
                                the program.
                      2) The patient should not be automatically admitted for self-harm wtthout intent unless the
                         behavior demonstrates a danger lo the health and life of the patient.


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                              a. A comprehensive team approach is required for urgent SR Es and inpatient
                                  admission determination.                                        ·
                              b. The clinician should presume an intent to die (despite denial of intent by the
                                  patient) if the self-harm Is likely to or would have caused death if not for
                                  intervention; result In significant medical consequences, or significant planning
                                  and preparation is noted in the incident.
                   · 3) A comprehensive Suicide Risk Evaluation (SRE) must be completed on each patient prior
                        to the patient's Initial IDTT.
                             a. The SRE must outline the patient's history of self-harm with intent to die versus
                                  self-harm without intent to die.
                    4) Brief Mental Health Crisis Bed (MHCB) admissions shall be considered for DBT EOP
                        patients in the followfng circumstances:
                             a. Acutely psychotic or in an acute mood episode (e.g., manic or mixed episode).
                             b. The patient either indicates Increased suicidal desire or objective indications of
                                 heightened sulcidality are present.
                             c. The risk of suicide is higher than the risk of an inappropriate hospitalization.
                             d. The patient's current crisis is of such severity that It is not safe for the patient to
                                 remain in an outpatient setting.
                    5) Inpatient hosp'rtalization is avoided when patient is DBT qualified. If the patient requires
                        MHCB admission, then the following requirements shall be met:
                             a. The patient shall be admitted to a MHCB at the same institution where the DBT
                                 program is located after receiving authorization from HCP OP. The PC will notify
                                 HCPOP per the current procedure Identifying the patient as currently in the DBT
                                 program.
                             b. A MHCB referral lo the Health Care Placement Oversight Program shall be made
                                 in accordance with the current MHCB referral process and procedure via email.
                             c. The MHCB referral to HCPOP shall include language informing HCPOP that the
                                 patient fs a participant In the DBT and retention al the current fnstitulion is
                                 necessary.
                            d. The Mental Health Regional shall be Included in the HCPOP MHCB referral email.
                            e. The DBT IDTT shall be responsible for the patient's treabnent while in the MHCB.
                                        i. Required clinical staff shall have privileges as required by the license of
                                           the MHCB.
                                       ii. The DBT PC and DBT psychiatrist who are credentialed and privileged to
                                           provide treatment in MHCBs are responsible for providing the 1:1 dally
                                           treatment on normal business days, to reduce the amount of needed
                                           inpatient days for the patient.
                            f. if the patient is admitted overnight and determined to be no longer in need of
                                inpatient treatment upon evaluation, the patient shall be discharged back to the ·
                                DBT program immediately.
                                     iii. The DBT IDTT shall not be required to wait 72 hours for the lnllial IDTT.
                                     iv. The DBT IDTT shall conduct both an Initial IDTT and Discharge IDTT as
                                           soon as possible.
                            g. If the patient is not able to be admitted to the MHCB at the same institution as the
                                DBT program HCPOP will notify the DBT PC of any alternate placement, and will
                                consult with the receiving IDTT for continuity of care.

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                    6) All medication changes shall be made by the DBT psychiatrist, or designee, regardless of
                       level of care If admitted lo the same inslitll!ion's MHCB. The DBT psychiatrist, or
                       designee, shall be consulted regarding medication changes if the patient Is admitted to
                       another Institution's MHCB.
    8.         Discharge Process               -~~---------------------;
                   1) If the DBT IDTT determines that a patient no longer is clinically appropriate for the
                      program or has met treatment goals, a discharge chrono will be completed by the DBT
                      Program Supervisor, or designee, and forwarded to the Correctional Counselor on the
                      same day as IDTT.
                   2) The Correctional Counselor will convene the Unit Classification Committee to refer to CSR
                      for transfer.




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  VOLUME 12:
                                                               Effective Date:      November 2014
  MENTAL HEALTH SERVICES
  CHAPTER 05:                                                  Revision Date(s):    November 2014
  INPATIENT SERVICES                                           Supersedes Polley:   August2014
  POLICY 12.05.601
  DOCUMENTATION REQUIRED FOR REFERRAL            TO   MENTAL Attachments:           YesONolZ!
  HEALTH CRISIS BED
                                                               Dirl;!Clor           .-::::::..... .!·).;,,... \·:,. ,,.\. · :l'.~S-.
                                                               Approval:


Policy            For all Inmate-patient (IP) referrals to a Mental Health Crisis Bed (MHCB),
                  referring/sending institutions shall complete and submit a referral packet as
                  described In this policy.                             '

Purpose           To standardize MHCB referral documentation; clarify the expectations between the
                  sending and receiving Institutions; improve the efficiency in generating the
                  documentation to provide timely access to care; and ensure that the receiving
                  MHCB staff has the necessary paperwork to admit the IP.

Discussion        When IPs are referred for and prior to acceptance into an MHCB, the
                  referring/sending institution's mental health staff shall complete and make the
                  referral packet available to the receiving MHCB staff. While the receiving MHCB staff
                  may request additional documentation beyond what is required, the only
                  documentation required for the referral and acceptance Into the MHCB is listed in
                  this policy. Each document shall be dated within the specified period of time
                  indicated below for the purpose of the MHCB referral documentation.

Compliance        To be in compliance with this policy, the following documentation is required:
Indicators
                  1. CDCR 128C Transfer Chrono - Dated within· two (2) days of the documented
                     date of referral.
                  2. CDCR 128-C3 Medical Classification Chrono - The most current per the medical
                     classification policy (Inmate Medical Services Policies and Procedures
                     (IMSP&P), Volume 4, Chapters 29, Medical Classification System Policy, and
                     29.1, Medical Classification System Procedure).
                  3. CDCR 7221 Physician Order Form (written by a psychiatrist, who has
                     competence in performing medical assessments, or primary care physician),
                     must state on the form: "Medically cleared for transfer" with a corresponding
                     progress note - SOAPE format - Dated within 48 hours of the documented date
                     of referra I.
                  4. CDCR MH-7230A lnterdlsclplinary Progress Notes - General (Including but not
                     limited to PC 2602 history) - All CDCR MH-7230A's dated within seven (7) days
                     of the documented date of referral.
                  5. CDCR 7371 Confidential Medical/MH Information Transfer - Dated within seven
                     (7) days of the documented date of referral.
                  6. CDCR 7386 Mental Health Evaluation (or CDCR 7386 Mental Health Evaluation

12.05.601: Documentation Required for Referral to Mental Health Crisis Bed                            Peno. 1 nf?
                                                                                                          APPENDIX PG. - 110
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                        Add-a-Page)

                             •   If a CDCR 7386 or a CDCR 7386 Add-a-Page was completed more than
                                 seven (7) days prior to referral, a CDCR 7389 (Rev.06/06) Brief Mental
                                 Health Evaluation is to be completed by the referring clinician at the time
                                 of referral.

                             •   If a CDCR 7386 or a CDCR 7386 Add-a-Page is not available or the
                                 most recent document is available but is not complete or accurate, a full
                                 CDCR 7386 must be completed by the referring clinician or the Primary
                                 Clinician at the time of referral.
                        7. CDCR MH-7447 Suicide Risk Evaluation - Dated within seven (7) days of
                           the documented date of referral.

                            •    The referring clinician is to complete the CDCR MH-7447 if the IP is
                                 referred for suicidal ideation a suicide attempt, or any type of self-harm.
                            •    The receiving team may, upon clinical discretion, complete the CDCR
                                 MH-7447 if the IP is referred for any other reason.
                       8. Medication Profile (within last 30 days of the documented date of referral.) -
                          Current medication reconciliation.
                       9. CDCR 128C Acceptance Chrono.

References         Inmate Medical Services Policies and Procedures (IMSP&P), Volume 4, Chapters
                   29, Medical Classification System Policy, and 29.1, Medical Classification System
                   Procedure
                   Division of Health Care Services (DHCS), Mental Health Services Delivery System
                   (MHSDS) Program Guide, 2009 Revision, Chapter 5, Mental Health Crisis Bed,
                   p.12-5-11.

Questions          If you have any questions or need any additional information related to this policy,
                   you may contact the policy unit via e-mail at: CDCR MHPolicyUnit@CDCR




12.05.601: Documentation Required for Referral to Mental Health Crisis Bed
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                                HEALTH CARE SERVICES
      MEMORANDUM
      ------- ------------------------ --------
      Date:      9/4/2015

     To:         Associate Directors, Division of Adutt Institutions
                 Wardens
                 Chief Executive Officers
                 Chiefs of Mental Health
     From:

                _:=z: ..        5-eS~- ~ .~- cr-z-:::t>
                 TIMOTHY BELAVICH, Ph.D., MSHCA, CCHP-MH
                 Director (A), Division of Health Care Services, and
                 Deputy Director, Statewide Mental Health Program
                 California Department of Corrections and Rehabllltatlon


                ~ ·
                Director
                Division of Adult Institutions
                C.iifornia Department of Corrections and Rehabilitation

     Subject: MENTAL HEALTH CRISIS BED REFERRAL NOTIFICATION
                                                              ----------------
     1n preparation for the launch of the Electronic Health Record Systetn, the Health Care Placement
     Oversight Program (HCPOP) is transitioning from Mental Health Crisis Bed (MHCB) placement requests
     which are currently made via telephone to one which will use email. The use of email is more efficient,
     dates and times are more easily tracked, and the information is clearer.

     Effective September 18, 2015, reguest(sl for MHCB placements made to HCPOP and notification from
     HCPOP that an MHCB has been reserved shall be communicated via email, and will replace telephonic
     requests. This directive does not supersede the Mental Health Program Guide clinical-to-clinical contact
     requirements and is In conjunction with the December 23, 201~ memorandum "TRANSFER OF INMATES
     TO AND FROM MENTAL HEALTH CRISIS BEDS."

     MHCB Request
     Contact with HCPOP via email shall be made Within one hour of clinical determination an MHCB is
     required, pursuant to policy (December 23, 201~). Effective September 18, 2015, any request for an
     MHCB shall be emailed to the following address: mhcb.hcpop@cdcr.ca.gov. Please limit the emails sent
     to this address to only those directly pertaining to HCPOP, and do not include when engaging In
     Institution specific conversation via "reply to all." The sender of the email shall request an email "Read
     Receipt" to be used as confirmation the request was received by HCPOP. The sender shall also copy the

                    ..
                   ... ·•
     HEALTH CARE SERVICES
                            :     _
                                                                                                  P.O. Box588500
                                                                                              F.lk Grove, CA 9515-8




                                                                                                            APPENDIX PG. - 113
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      MEMORANDUM                                                                                                Page2of2

      requesting institution's Chief of Mental Health and Classification and Parole Representative on the email
      request.

      The subject line of the email shall include:
          •    Inmate's Name
          •    Inmate's Number
          •    Referring Institution's acronym
      Example: Smith A10101 SAC

     The following Information shall be contained within the body of the email:
         • Reason for MHCB placement.
                  Danger to self (OS)
                  Danger to others (DO}
                  Sulcldal ldeations (SI)
                  Gravely Disabled (GD)
        • Mental health level of care prior to requiring an MHCB, I.e., CCCMS, EOP, or GP.
        • Name, title, and contact information of the clinical staff making the MHCB determination.

     In the event the email system is temporarily down or unavailable, the following phone number can be
     used: (916) 204-0321.

     MHCB Reservation Notifications
     Once HCPOP secures and reserves an MHCB, the sending and receiving Institution shall be notified via
     email, using each Institution's new MHCB global distribution list as described below. Notification will
     include the clinician-to-clinician contact Information. Telephonic contact from HCPOP shall no longer be
     required, however may be used to verify an _MHCB Is vacant.

     Institution MHCB Email Distribution List
     All institution Chiefs of Mental Health (CMH) shall have a distribution list created in the global address
     book by September 11, 2015. The distribution list shall Include all pertinent clinical and custody staff
     involved In a MHCB placement, reservation, admittance, or transfer process. HCPOP shall "reply to all"
     when making the bed assignment to ensure all neceisary staff are made aware. The CMH shall ensure
     the distribution list remains current and un tn dr1fP.. Th11: m1mP. nf thP rii.i.trlhutfnn ltd i.h;1II rontt1ln the
     institutions' acronym and MHCB, e.g., SAC-MHCB. Provide the distribution list name and information to
     HCPDP once created.

     If you have any questions, please contact Judy Burleson, Chief, HCPOP, at (916) 691-0312 or via email at
     Judy.Burleson@cdcr.ca.gov.

     cc: Judy Burleson                  Ralph M. Diaz
         Jay Powell                     Kathleen Allison
         Angela Ponciano                Regional Mental Health Administrators
         Amy Eargle                     Regional Health Care Executives
         Laura Ceballos



                                                                                                         P.O. Box SBBSOO
                                                                                                      Elk Grove, CA 9575S




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 VOLUME 12:                                                                 Effective Date:
 MENTAL HEALTH SERVICES                                                                              5/20/2021
 CHAPTER 05:                                                                Revision Date(s):
 PROVISION OF CARE, TREATMENT, OR SERVICES
                                                                            Supersedes:
 POLICY 12.05.301:
                                                                            Attachments:           Yes □ No ~
 HOUSING OF PATIENTS PENDING MENTAL HEALTH CRISIS BED TRANSFER


                                                                                                      ~
                                                                            Director
                                                                            Approval:


 12.05.301
                            Housing of Patients Pending Mental Health Crisis Bed (MHCB) Transfer

                            Patients pending MHCB transfer shall be housed following the order of preferred
 Policy
                            locations as listed below. Alternative housing shall only be used for patients referred to
                            an MHCB.
 Order of
                            Housing of patients pending transfer to an MHCB shall be determined based on the
 Preferred
                            needs of the patient and bed availability in the following order of preferred locations:
 Locations
                                 1. Correctional Treatment Center (CTC) licensed medical beds
                                 2. Outpatient Housing Unit (OHU)
                                 3. OHU overflow cells
                                 4. Holding cells with access to water/toilets including, but not limited to, “wet cells,”
                                    and/or “clinic cells.” Many CTC buildings have holding cells located outside of the
                                    entrance to the licensed bed area. These are typically located in the Specialty
                                    Care Clinic area. These cells are permissible for temporary housing pending
                                    transfer without violating licensing restrictions of the licensed bed area of the CTC
                                    building.

                                 5. Holding cells without toilets
                                 6. Triage and Treatment Area (TTA) or other clinic exam room
                                 7. Other unit-housing where complete and constant visibility can be maintained

                            Holding cells that are designed for the patient to sit or stand shall be used as infrequently
                            as possible and only as a last option for temporarily housing patients in crisis. These
                            cells shall only be used to temporarily hold patients awaiting mental health emergent
                            evaluation, transfer to alternative housing, or awaiting immediate transfer to the MHCB.
                            These cells are NOT to be designated alternative housing, as placement is a last option
                            and is intended to be used for as little time as possible, not to exceed four hours. Use of
                            these cells shall be documented on the custody log for holding cells. Patients shall be
                            transferred out of these cells as soon as possible .

                            The Mental Health Services Delivery System Program Guide (2009 Revision) clearly lists
 Discussion
                            the order of priority for housing patients awaiting transfer to an MHCB. This policy serves
                            as a clarification and shall be considered the current directive. A licensed inpatient bed is
                            the preferred location for housing patients pending transfer to an MHCB.
                            Staff shall ensure that patients housed in alternative housing have reasonable access to
                            water and toilets. Patients shall be provided at minimum, with a safety (no-tear) mattress,
                            safety (no-tear) blanket, and safety (no-tear) smock while in alternative housing pending
                            transfer. A clinician may order that one or more of the items be removed only when a
                            patient attempts to use any or all of the issued items to harm him or herself.


12.05.301: Housing of Patients Pending Mental Health Crisis Bed Transfer
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                            When alternative housing cells are used pending MHCB transfer, a patient shall never be
                            placed in the cell without a suicide resistant bed (e.g. Norvix Stack-A-Bunk). However, if
                            a patient attempts to destroy or alter the bed, or uses the bed to obscure observation, the
                            bed shall be removed. If a bed or any other item is removed from the patient (e.g. safety
                            blanket):
                                     The removal shall be documented on a Physician’s Order Form.
                                     The rationale shall be documented on a corresponding progress note.
                                     A review of the bed removal shall be made and updated at intervals not to exceed
                                      24 hours.
                            When a bed used in alternative housing is removed or restored, a CDCR 128-B, General
                            Chrono, shall also be completed by the custody supervisor responsible for the area.
                            Use of licensed medical CTC beds for MHCB overflow shall be considered alternative
                            housing; however, because CTC is a licensed setting, all patients placed in CTC pending
                            transfer to a designated MHCB must be provided inpatient level of services in
                            accordance with California Code of Regulations, Title 22. OHU beds are considered
                            alternative housing when a patient is temporarily placed within them pending MHCB
                            placement. Patients shall not be placed in the OHU or CTC beds for mental health issues
                            unless a referral to the MHCB has been made. The alternative housing requirements as
                            set forth in this policy shall be followed when patients are placed into these beds.
 Compliance
                                 1. Prior to placement in alternative housing, the patient receives continuous and
 Indicators
                                    direct visual observation while pending a mental health evaluation. Once placed,
                                    all patients in alternative housing shall remain on continuous direct visual
                                    observation until the patient is transferred to an MHCB.
                                 2. Prior to placement in alternative housing, patients shall have a referral to an
                                    MHCB.
                                 3. Alternative housing length of stay may not exceed 24 hours.
                                 4. Alternative housing placements shall be tracked in the Alternative/Temporary
                                    Housing Log.
                                 5. When determining alternative housing placement, the order of preferred locations
                                    (as listed) is followed.
                                 6. Patient has reasonable access to water and toilets.
                                 7. Patients are provided, at minimum, a safety (no-tear) mattress, suicide resistant
                                    bed, safety (no-tear) blanket, and safety (no-tear) smock.
                                 8. Health Care Placement Oversight Program is contacted immediately when a
                                    patient is referred to an MHCB and before being placed in alternative housing.
                                 9. All placements into alternavite housing shall be logged in accordance with the
                                    February 4 2010 memorandum entitled “Implementation of Alternative/Temporary
                                    Housing Logs.”




12.05.301: Housing of Patients Pending Mental Health Crisis Bed Transfer
                                                                                                  APPENDIX PG.  - 117
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                            The following action is required for your institution to be in compliance with the new
 Action
                            policy.
 Required
                                If your institution…  then…
                                has a local operating amend the current LOP to meet the new policy via an
                                procedure (LOP)       addendum and submit it to
                                                      CDCR MHPolicyUnit@CDCR within 30 days of the
                                                      effective date valid until the next LOP revision date.
                                does not have an LOP ensure that one is created to meet the new policy
                                                      requirements and submitted to
                                                      CDCR MHPolicyUnit@CDCR within 30 days of the
                                                      effective date. Ensure the LOP is reviewed annually.

                            Coleman v. Brown (E.D. Cal. October 7, 2008, No. CIV S-90-0520 LKK JFM P)
 References
                            Coleman v.Brown (E.D. Cal. February 3, 2015, No. 2:90-cv-00520-KJM-DAD
                            Division of Correctional Health Care Services. (2009 Revision). Mental Health Services
                            Delivery System Program Guide. Mental Health Crisis Bed, Chapter 5.

                            If you have any questions or need any additional information related to this policy, you
 Questions                  may contact the policy unit via e-mail at: CDCR MHPolicyUnit@cdcr.




12.05.301: Housing of Patients Pending Mental Health Crisis Bed Transfer
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                               16-0729




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                                   At FOR                   O RECT
                              HEALTH CARE SERVf CES
      MEMORANDUM
       Date:
                       July 29, 2016
       To:            Chief Executive Officers
                      Statewide Mental Health Program Staff
                      Institution Wardens
                 (,     ·-   ...
                               __::::,   /'&·(
      From:           DONALD MEIER, D uty Director
                      Field Operations ,-
                      Corrections Services
      Subject:        MENTAL HEALTH CRISIS BED HOnlNE



     In an effort to provide to better customer service to our stakeholders the Health Care Placement Oversight
     Program (HCPOPI will be de-activating the MHCB "Hotline" number (9161 204-0321 effective
      August 1, 2016. We understand how frustrating It can be to leave a message and not have anyone
     acknowledge your message has been received


     Please remember to submit all MHCB correspondence, referrals, rescissions, general inquires, etc., to
     mhcb.hcooo@cdcr.ca.gov. This email address is monitored by a dedicated staff member during normal
     business hours, (0B00-1630 hrs. 7 days a weekl. If there is an imminent issue that requires immediate
     attention, please contact one of the staff listed below and they will ensure that your call is directed to the
     appropriate staff member.

     The following phone lines are monitored Monday through Friday during the hours indicated:
         • Rick McPhearson, (Office Technician) at (9161691-0339 from 0B00-1700 hrs. (primaryl
         • Kelllanne Westbrook, (AGPA) at (916) 691-0341 from 0730-1600 hrs. (secondary)
         • Elizabeth De Silva, Classification Staff Representative at (9161691-0329 on Saturday and Sunday
             between the hours of: 0B00·1630
        •      Jay Powell, Captain, at (9161691-0336 from 0730-1600 hrs.
        •      Joseph Williams, Chief, at (916} 691-2109 from 0B30-1700 hrs.

    After normal work hours, holidays, etc., should an emergency situation require HCPOPs assistance,
    institution staff should utilize the established escalation and notification protocols avaUable through the
    Administrative Officer of the Day. Should you have any questions regarding this announcement, please
    contact Joseph Williams at (916} 691-2109.




                                                                                                            P.O. no·~ 4031.1
    HEALTH CARE SERVICES                                                                 ~,1,:r~n,!!m•), CA .:i-;:i t ! -"10]3




                                                                                                                   APPENDIX PG. - 120
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      MEMORANDUM
      cc:   Ralph Diaz
            Diana Toche
            John Dovey
            Kathleen Allison
            Katherine Tebrock
            Connie Gipson
            Jeff Macomber
            Vincent Cullen
            Kelly Santoro
            Sandra Alfaro
            Felix Vasquez
            Amy Miller
            Chris Podratz
            Robert Herrick
            Michael Hutchinson
            Eureka Daye
            Ricki Barnett
            Cheryl Schutt
            Laura Ceballos
            Joseph WIiiiams
            Jay Powell




      HEALTH CARE SERVICES       I
                                                                            APPENDIX PG. - 121
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                                17-0214




                                                                    APPENDIX PG. - 122
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 State of California                                                         Depa~ment of Corrections and Rehabilitation


 Memorandum
 Data          February 14,       2017


 To            Associate Directors, Division of Adult Institutions
               Wardens
               Chief Executive Officers
               Chiefs of Mental Health
               In-Service Training Managers


 Subject:      MENTAL HEALTH CRISIS BED PRIVILEGES REVISION

               This memorandum supersedes the memorandum dated June 23, 2016, titled 'Mental
              Health Crisis Bed Privileges· (attached). The purpose of this memorandum is to ensure
              privileges are provided to all inmate-patients (IPs) admitted to the Mental Health Crisis
              Bed (MHCB) units only. Privileges shall not apply to Alternative Housing settings. Effective
              immediately, all MHCB units shall provide the privileges, as documented below, to IPs
              admitted to the MHCB unit. The Interdisciplinary Treatment Team (IDTT) shall review and
              update privileges at every IDTT meeting. Following the initial IDTT, the primary clinician in
              conjunction with the psychiatrist and recreational therapist may consider additional
              privileges or removal of privileges based on changes to the IPs treatment goals and mental
              health status. Any restrictions of privileges shall be specifically noted by the MHCB IDTT
              and the rationale for restriction shall be documented on the treatment plan. Within one
              business day of the decision, restrictions shall be communicated to custody and nursing
              staff. For institutions not yet using the Electronic Health Records System (EHRS), mental
              health staff shall complete a CDC Form 128-C, Chrono Medical, Psych., Dental, also known
              as an 'Informational Chrono." For institutions using the EHRS, staff will complete the
              Mental Health Inpatient Issue Order which is configured to print a requisition in the MHCB
              for custody and nursing review.

              Out-of-Cell Activity

              IPs admitted to the MHCB shall attend out-of-cell activities consistent with their custody
              designation unless specifically restricted by the MHCB IDTT. Any restrictions of out-of-cell
              activities shall be determined by the MHCB IDTT, ordered in the healthcare record, and the
              rationale for restriction documented on the treatment plan.         Restrictions shall be
              communicated to custody and nursing staff via a CDC Form 128-C or a printed requisition
              from the EHRS within one business day of the decision.

              The recreational therapist will assess each IP and develop therapeutic recreational goals
              involving out-of-cell activity as part of the treatment plan. Out-of-cell activity may include
              access to dayroom, recreational activities, yard, and any additional recreational therapy
              deemed appropriate by the MHCB IDTT.

              Due to variances between each institution's physical plant and mission, each Warden and
              Chief Executive Officer (CEO) shall be responsible for amending or creating a Local
              Operating Procedure (LOP) for his/her particular institution. All LOPs should also specify
              the maximum number of inmates who can participate in out-of-cell activities at one time in a
              group setting, ensure periodic checks by custody staff during out-of-cell activities, and
              allowable equipment and therapeutic materials for out-of-cell activities.




                                                                                                    APPENDIX PG. - 123
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        Associate Directors, Division of Adult Institutions
        Wardens
        Chief Executive Officers
        Chiefs of Mental Health
        In-Service Training Managers
        Page 2


        Out-of-cell activity shall be assigned according to the IP's designated custody level.
        Maximum custody IPs admitted to the MHCB program shall be allowed to participate in
        recreational activities outside of their cell while secured in a Therapeutic Treatment Module.
        All maximum custody IPs approved for yard privileges shall be assigned Walk-Alone status
        or to a Small Management Yard if the MHCB has access. The recreational therapist shall
        be responsible for facilitating all structured out-of-cell activity, and is expected to remain with
        the IP during these activities. Custody staff may provide supervision for unstructured
        out-of-cell activity to include yard and dayroom.

        Each area used to provide out-of-cell activity shall be searched by custody staff, both before
        and after the activity takes place. Unclothed body searches are to be conducted for
        maximum custody inmates. JPs returning to the unit who have been under constant staff
        supervision shall not be subject to an unclothed body search, but shall be subject to a
        clothed body search and scanned with a metal detector.

        Telephone Access

       IPs housed in the MHCB Program shall be entitled to utilize the JP telephone, in accordance
       with his/her assigned privilege group unless specifically restricted by the MHCB IDTT.
       Any restrictions on phone calls shall be determined by the MHCB IDTT, ordered in the
       healthcare record, and the rationale for restriction documented on the treatment
       plan.    Restrictions shall be communicated to custody and nursing staff via a
       CDC Form 128-C or a printed requisition from the EHRS within one business day of the
       decision. Otherwise, pursuant to regulations in the California Code of Regulations, TIiie 15,
       Sections 3044 (g)(3)(C), (h)(2)(C), and (i)(2)(A)4, telephone calls shall only be allowed on
       an emergency basis as determined by Institution/facility staff. All phone calls and their
       offerings shall be documented on the CDC Form 114-A, Inmate Segregation
       Record (Rev.10/99).

       Visiting Privileges

       IPs assigned to the MHCB Program shall be eligible for non-contact visits, unless
       specifically restricted by the MHCB IDTT. If non-contact visiting cannot be accommodated
       because of physical plant limitations, the Warden shall take such limitations into account in
       establishing an alternative visiting plan. Non-contact visits shall be scheduled in one-hour
       increments, and may be extended based on space availability.

       For those inmates not on suicide watch/precaution or maximum custody, contact visits shall
       be considered by the IDTT on a case-by-case basis. The Correctional Counselor shall
       review custody level, enemy concerns, whether the inmate is general population on a
       sensitive need yard facility or vice versa, and existing visiting exclusions based on
       commitment offense and present case factors during the IDTT.




                                                                                                APPENDIX PG. - 124
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        Associate Directors, Division of Adult Institutions
        Wardens
        Chief Executive Officers
        Chiefs of Mental Health
        In-Service Training Managers
        Page 3


        Inmates who are terminally ill shall receive visits in the MHCB unit consistent with the
        institution's existing visiting protocols and any existing visiting exclusions based on
        commitment offense.

        Any restrictions on visiting shall be determined by the MHCB IDTT, ordered in the
        healthcare record, and the rationale for restriction documented on the treatment plan.
        Restrictions shall be communicated to custody and nursing staff via a CDC Form 128-C or
        a printed requisition from the EHRS within one business day of the decision.

        Documentation of Privileges Received

        Each time an IP receives or participates in out-of-cell activities and/or receives an
        identified privilege, custody staff shall be responsible for notating the occurrence on the
        CDC Form 114-A, Inmate Segregation Record to provide proof of practice. All offerings of
        out-of-cell activities and/or privileges refused by an IP shall be notated on the
        CDC Form 114-A as well.

        To ensure consistency, Wardens and CEO's or deslgnees shall provide training for
        applicable staff and shall update their institution's LOP to reflect these changes. The
        Business Event Type training code is 11053757. Each institution shall provide a proof of
        practice memorandum to their respective Mission Associate Director within 30 days of the
        date of this memorandum.

        If you have any custody questions, please contact the Mental Health Compliance Team,
        DiVision of Adult Institutions, at DAI-MHCompliance@cdcr.ca.gov. If you have any clinical
        questions, please contact the Statewide Mental Health Program, Division of Health Care
        Services, at m MHPolicvUnit@cdcr ca.aov.



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                                                                                                         --~ .. -::._

        JE     MACOMBER                                   KATHERINE TEBROCK, Esq.
        De uty Director                                   Deputy Director
        Facility Support                                  Statewide Mental Health Program
        Division of Adult lnsmutions                      Division of Health Care Services

        Attachment

        cc: Kathleen Allison                              Michael Golding
            Connie Gipson                                 Amy Eargle
            Dawn Lorey                                    Regional Mental Health Administrators
            Angela Ponciano                               Regional Health Care Executives
            Laura Ceballos




                                                                                                                             APPENDIX PG. - 125
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  Stale of California                                                        Department of Corrections end Rehebflllation


  Memorandum
  Date          June 23,     2016


  To            Associate Directors, Division of Adult Institutions
                Wardens
                Chief Executive Officers
                Chiefs of Mental Health
                In-Service Training Managers


  Subject :    MENTAL HEAL TH CRISIS BED PRIVILEGES

               The purpose of this memorandum Is to ensure privileges are provided to all
               inmate-patients (IPs) admitted to the Mental Health Crisis Bed (MHCB) Program.
               Effective immediately, all MHCB facilities shall provide the following privileges to
               IPs admitted to the MHCB Program when approved and ordered by the MHCB
               lnterdls.ciplinary Treatment Team (IDTT).

               Out-of-Cell Activity

               IPs admitted to the MHCB may be authorized for out-of-cell activities when
               specifically approved by the MHCB IDTT. The Recreational Therapist will assess
               each IP and develop rehabilitation goals involving out-of-cell activity as part of the
               treatment plan. Out-of-cell activity may include access to dayroom, recreational
               activities, yard, and any additional rehabilitation therapy deemed appropriate by the
               MHCB IDTT. The severity of the mental health crisis causing the IP to be admitted
               to the MHCB Program should be carefully considered when determining the type
               and length of time for each out-of-cell activity.

               Due to variances between each institution's physical plant and mission, each
               Warden shall be responsible for amending or creating a Local Operating
               Procedure (LOP) for his/her particular institution.

               Out-of-cell activity shall be assigned according to the IP's designated custody level.
               Maximum level custody IPs admitted to the MHCB program shall not be allowed to
               participate In dayroom activities, due to safety and security concerns. However,
               they will be allowed to participate In recreational activities outside of their cell while
               secured in a Therapeutic Treatment Module. All maximum level custody IPs
               approved for yard privileges shall be assigned Walk-Alone status or to a Small
               Management Yard, when available.

               The Recreational Therapist shall be responsible for facilitating all out-of-cell activity,
               and is expected to remain with the IP during these activities.

               Each area used to provide out-of-cell activity shall be searched by custody staff,
               both before and after the activity takes place. Additionally, custody staff shall
               conduct an unclothed body search and metal detector scan of each IP prior to all




                                                                                                           APPENDIX PG. - 126
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         Associate Directors, Division of Adult Institutions
         Wardens
         Chief Executive Officers
         Chiefs of Mental Health
         In-Service Training Managers
         Page 2


         out-of-cell activities. IPs returning to the unit who have been under constant staff
         supervision shall not be subject to an unclothed body search, but shall be subject to
         a clothed body search and scanned with a metal detector.

         Telephone Access

         IPs housed in the MHCB Program may be entitled to utilize the IP telephone,
         in accordance with his/her assigned privilege group, when approved by the MHCB
         IDTT.

         Visiting Privileges

         IPs assigned to the MHCB Program may be eligible for non-contact visits, when
         approved by the MHCB IDTT. If non-contact visiting cannot be accommodated
         because of physical plant limitations, the Warden shall take such llmitatlons into
         account In establishing an alternative visiting plan. Non-contact visits shall be
         scheduled in one-hour increments, and · may be extended based on space
         availability. When overcrowding occurs, those who have visited at least one hour
         and have been visiting for the longest time may have their visits terminated, as
         outlined in California Code of Regulatlons,.Title 15, Sections 3176{a)(9) and (10),
         Denial, Restriction, Suspension, Termination or Revocation of Visits and Exclusion
         of a Person.

         IDTT Clinical Criteria

         The IDTT shall consider the risk for symptom exacerbation directly related to the
         activity when making the determination regarding clinical appropriateness for
         MHCB privileges. For example, visits from family members may be destabilizing If
         the IP has tumultuous familial relationships.

        Clinical reviews shall be conducted at every IDTT meeting. Decisions shall be
        ordered in the health record and communicated to custody via CDC Form 128-C,
        Mental Health Placement Chrono (paper process prior to Electronic Health Records
        System [EHRSI), or printed requisition from the EHRS, within one business day of
        the decision.

        To ensure consistency, Wardens and Chief Executive Officers or deslgnees shall
        provide training for applicable staff and shall update their institution's LOP to reflect
        these changes. The Business Event Type training code is 11053757. Each
        institution shall provide a proof of practice memorandum to their respective Mission
        Associate Director within 30 days of the date of this memorandum.




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          Associate Directors, Division of Adult lnstllutlons
          Wardens
          Chief Executive Officers
          Chiefs of Mental Health
          In-Service Training Managers
          Page 3




          If you have any custody-related questions, please contact the Mental Health Compliance
          Team, Division of Adult Institutions, via email: DAI-MHCompliance@cdcr.ca.gov.

          If you have any clinical questions, please contact the Statewide Mental Health Program,
          Division of Health Care Services, via email: m MHPollcyUnlt@cdcr.ca.gov.




                                                            /t:.,:._,.~· /-e... ...,_.t.__
          JE F MACOMBER                                     KATHERINE TEBROCK, ESQ.
          Deputy Director                                   Deputy Director
          Facility Support                                  Statewide Mental Health Program
          Division of Adult Institutions                    Division of Health Care Services


          cc:   Kathleen Allison
                Connie Gipson
                Dawn Lorey
                Angela Ponciano
                Michael Golding
                Amy Eargle
                Laura Ceballos
                Regional Mental Health Administrators




                                                                                                 APPENDIX PG. - 128
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                                                                   APPENDIX PG. - 129
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  ··-·-·--=---
   VOLUME 12:                                                                                                    --                                 ---
   MENTAL HEAL TH SERVICES
                                                                                           :' Effective Date·               i
                                                                                                                            [ April 9, 2015
   CHAPTER 05:                                                                            I
                                                                                          ! Revision Dale(s)
                                                                                                                                February 13. 2015
   PROVISION OF CARE, mEATMENT, OR SERVICCS
   POLICY 12.05.501:              --····-
                                                                                          i ..   _.   - ~·. -                                 ··---··----·•
                                                                                                                                12.05.501
                                                                                             Supersedes Policy:
   CLINICAL  FOLLOW-UP REQUIREMENTS     FOR  INM!sTE•PATIENT                                                                    (2126/20141
   DISCHARGE AND TRANSFER FROM MENTI\L HEAL TH CRISIS BED,
   ALTERNATIVE HOUSING, OR MENTAL HEALTH·OUTPATIEIH HOUSING                                  Attachments:                       YesO Noi81
   UNIT MENTAL HEAL TH CRISIS FOLLOW-UP
                                                                                                          ··----·---·
                                                                                            Director
                                                                                            Approval:                   ~
                                                                                                                                     --- .' ::~ ., -
                                                                                                                                     _9
                                                                                                                        I



    Policy                  When an inmate-patient (IP) who was admitted or placed for danger to self is
                            discharged or released from a Mental Health Crisis Bed {MHCB), alternative
                            housing, or a Mental Health-Outpatient Housing Unit (OHU), a mental health
                            clinician shall conduct daily clinical follow-up for five consecutive days following
                            physical discharge. Clinical follow-up shall be initiated within 24 hours of the new
                            placement. If a mental health clinician is unavailable, a psychiatric technician or
                           other qualified clinical staff may provide clinical follow-up on weekends or
                           holidays (Mental Health Services Delivery System Program Guide [MHSDS],
                           2009 Revision, Suicide Prevention and Response, Chapter 10, p. 20). The final
                           day of a clinical follow-up shall be completed by a mental health clinician. When
                           the final day is on a weekend or holiday, and there is no mental health clinician
                           on site to conduct the follow-up, the follow-up shall be extended until the next
                           business day.


   Definitions             A mental health crisis clinical follow-up is defined as daily contact with an IP
                           for a minimum of five consecutive days following his or her physical discharge
                           from intermediate or acute level of care, MHCB, or MH-OHU.

                          Mental Health Clinician: A psychiatrist, licensed psychologist, licensed clinical
                          social worker, or psychiatric nurse practitioner who assumes overall
                          responsibilities for the mental health treatment services provided to an IP by
                          maintaining active therapeutic involvement with an IP. Unlicensed psychologists
                          or clinical social workers supervised and gaining qualifying experience for
                          licensure as governed by California Health and Safety Code are also included in
                          this definition .
                                               .   -·-·-······--······-------------
  Purpose                 The purpose of the mental health crisis clinical follow-up is to monitor the IP in
                          his or her new level of care, document any significant clinical information, and
                          ensure that immediate and appropriate care is provided if the IP's condition
                          deteriorates.

                          Every IP who was admitted or placed for danger to self, and subsequently
                          discharged from a MHCB, alternative housing, or transferred from a MH-OHU,
                          shall be seen by a mental health clinician within 24 hours of arrival to their new
 12.05,501: Clinical Follow-Up Requiremel"lts for lnmate-Patil;!nl Discharge and Transfer from MHCB or MH-OHU (5.Qay                     Page 1 of3
 Follow-Up}




                                                                                                                                   APPENDIX PG. - 130
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                            program. Follow up shall occur for a minimum of five consecutive days.

                            Discharged IPs awaiting transfer out of the MHCB or MH-OHU shall continue to
                            receive mental health services pending transfer. Once the IP has transferred to
                            the new level of care, clinical follow-up shall be conducted for at least five
                            consecutive days after arrival.


    Compliance                  1. Every IP admitted/placed in MHCB, OHU, or alternative housing for
    Indicators                     danger to self and arriving to any level of care from an MHCB, alternative
                                   housing, or MH-OHU, , is seen daily for five consecutive days.
                                2. Monthly monitoring for implementation of this policy is conducted.
                                3. Findings from the monitoring of this policy are submitted to the institution
                                   SPR-FIT committee monthly.        ·
                                4. Clinical contacts are documented on a CDCR MH-7230-8,
                                   Interdisciplinary Progress Note - 5-Day Follow-Up.


    Additional             Weekends and Holidays
    Information            The mental health crisis clinical follow-up contacts on weekends and holidays
                           shall be conducted consistent with MHSDS Program Guide, 2009 Revision, p.
                           12-10-20 requirements for mental health crisis clinical follow-ups.

                           Custody Welfare Checks
                           This policy does not address or change custody welfare checks.


   Action                  The following action is required for your institution to be in compliance with the
   Required                new policy.

                            If vour institution ...               then ...
                            has a local operating procedure (LOP) amend what you currently have in
                            that is reviewed annually             place to meet the new policy via an
                                                                  addendum until the next LOP revision
                                                                  date.

                            does not have a LOP for IP mental ensure that one is completed within
                            health crisis follow ups          30 days and create an LOP to meet
                                                              the new policy requirements. Ensure
                                                              the LOP is reviewed annually.




  References              Division of Correctional Health Care Services, Mental Health Services Delivery
                          System Program Guide (2009 Revision), Chap. 10, "Suicide Prevention and
                          Response," p. 20.


                         California Health and Safety Code Section 1277 and California Penal Code
 12.05.501: Cllnfcal Follow~Up Requirements for Inmate-Patient Discharge arld Tr.msfer rrom MHCB or MH-OHU (5-0ay         Page 2 or3
 Follow-Up)




                                                                                                                       APPENDIX PG. - 131
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                            Section 5058.5.

                            Division of Correctional Health Care Services, Mental Health Services Delivery
                            System Program Guide. (2009 Revision). Chap. 5, "Mental Health Crisis Bed,"
                            pp. 1-35.

                            Coleman v. Brown (ED. Cal. Oct. 7, 2008, No. CIV S-90-0520 LKK JFM P,
                            0kt. 3072).

                           Division of Correctional Health Care Services, "Implementation                                              of
                           Alternative/Temporary Housing Logs," Memorandum, February 2, 2010.


    Questions              If you have any questions or need any additional information related to this
                           Policy, you may contact the policy unit by email:
                           CDCR MHPolicyUnit@cdcr.ca.gov.




  12.05.S01: Clinical Follow-Up Requiremenl'.i lor Inmate-Patient ()ischarge and TrMsfAr from MHCB or MH-OHU (5-Day           Page 3 of 3
  Follow-Up)




                                                                                                                          APPENDIX PG. - 132
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                                16-0531




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                          HEALTH CARE SERVICES
        MEMORANDUM
         Date:        5/31/16
         To:          Chief Executive Officers
                      Chiefs of Mental Health
                      Chief Nurse Executives
         From:
                      ;:..~ ~~,r/4_
                      KATHERINE TEBROCK, ESQ.
                      Deputy Director
                      Statewide Mental Health Program

                       /4~---.r:'0~
                      C~HUTT,RN,BSN
                      Statewide Chief Nurse Executive
        __ _ _ .      Nursin~S-~r~ices                         __ ·-·------
       . Subject:__   RELEASE OF REVJSEO 5-DAY FO~~_l)_\'\l·UP FORM

       This memorandum informs staff of the revised Interdisciplinary Progress Note 5-Day Follow-Up
       (CDCR MH-7230-B} (Attached) released on May 25, 2016. Implementation of the revised CDCR
       MH-7230-B shall occur no later than June 10, 2016.

       Five-Day Follow-Up evaluations are required for any patient who was referred to a Mental Health
       Crisis Bed, a Department of State Hospital facility, a Psychiatric Inpatient Program, an Outpatient
       Housing Unit, or Alternative Housing for suicidal ideation or behavior.

      Once discharged from any of these settings, the CDCR MH-7230-B shall be used to document the
      required daily contact with the patient. The form shall be completed by a primary mental health
      clinician, a covering clinician, or by a licensed psychiatric technician when a clinician is not
      available.

      The revised CDCR MH-7230-B reflects the prioritization of suicide prevention efforts within the
      California Correctional Health Care Services and the Division of Health Care Services (DHCS)
      Statewide Mental Health Program and contains a narrative text box for recording the patient's
      safety plan. Mental health clinicians shall complete the safety planning section on each day of
      the follow-up.

      Specific form requirements are included on the instruction page of the form.



      - - - - - - - - - ~ - ·-·······.
      HEALTH CARE SERVICES        I                                                           P.O. Bax 5B8500
                                                                                          ~lk Grove, CA 95758




                                                                                                APPENDIX PG. · 134
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        MEMORANDUM                                                                                 Page2of2

       If you have any questions, or require additional information related to this memorandum, you
       may contact Robert Horan, Ph.D., Senior Psychologist, Specialist, Clinical Support, Statewide
       Mental Health Program, DHCS, via email: Robert.Horon@cdcr.ca.gov.

       Attachments

       cc: Angela Ponciano
           Amy Eargle, Ph.D.
           Laura Ceballos, Ph.D.
           Robert Horon, Ph.D.
           Amber Carda, Ph.D.
           Michael Golding, M.D.
           Edward Kaftarian, M.D.
           John Rekart, Ph.D.
           James Vess, Ph.D.
           Marcie Flores
           Jennifer Johnson
           Regional Mental Health Administrators
           Regional Health Care Executives
           Regional Nurse Executives




      - - - - - - - - - ~ - - - - - - - - - ---·-·--·--·-···--- . --·-··--·--- ...... --·--· ·--------
      H~AL~~"CAFIE SERVICES     I                                                              0
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                                                                                                                                                                      :1
  .STATi OF CAUFORrflA                                                                                                          DE~ARTUEtfT OF CORRECTJO~ ANO REHAB~•ATION
  INTERDISCIPLINARY PROGRESS NOTE • 5 DAY FOLLOW-UP                                                                                                      Form: Page          of 2
  CDCR MH-7230-8 (Rev. 03/16)                                                                                                                       fn&Wctfons: Pa · 3 - .f


 MMrlitiiiiiMP-
 ,1 1s the last day fyllow-up, this form must be completed a mental b••Ub clfnfcfan.
      this                       pf                                                           by                                                                   .'11,.I
 A. Staff comoletina follow-up:
 0 Mental Health                                                 B. Day
  0 Nursing
 C. Are any warning signs of imminent suicide present? (Circle/mark all that apply)                                   I S           P A T H              W A
 D. Since we saw you last, have you had any thoughts or killing yourself?
 D 1 (notat alij             O 2 (ra~)            0 3 (sometimes)         0    4 (frequenlly)        0 5 (conatanUy)
 E. If you have had thoughts of killing yourseff, how strong were they?                                                                                               I
 D 1 (not soong at alijO 2 (mHd, not very skong) 0 3 (moderate, someWhat skong O 4 (severe, quite ohono)O5 (V,ornt possible, very strong) d N/A
 F. How long did the thoughts last?
 01 (bnefly)        D 2 (14> to a l'ew minutes al e Um<) 0          3 (up to a haff hour at• time)          0     4 (up to an hour at a time)   0 5 (constant)   d NIA I

 G. Can you stop thinking about killing yoursetrifyou want to?
 OYes               ONo
• H. How likely Is It that you will harm yourself in the next week?
 0 1 (not at all}        0    2 (very unDkei;,)     0 3 (soreeWhal likely)·       0       4 (very IB<ely)       0 5 (exiremely Ukely)
 I. What Is your main reason(s) for not harming yourself in the future?




                                                                                      aw
 A. Include condttlon of cen, mood, overall behavior, level of consciousness, assessment of AOL's, etc.




1. Dli•!llltt~ Code;              2. A,c2mm2dail2os·               3. fffeg!){g CQmmimltiM1Qn:
OTASE scores 4.0                  D Additional Time                O PatJent.asked questions
                                                                                                                      CDCR#;
 □ DPH ODPV              OLD      D Equipment           0 SU       □ Patient summed Information
                                                                                                                      Last Name:                          Ml;
□ DPS □ DNH                       D Louder          □ Slower       Please iehtcck Dhfl:

                                                  □ Transcribe
                                                                   -0 Not Reached' D Reached                          Firsl Name:
DONS ODDP                         D Basic
                                                                                 •See chrono/notes                    DOB:
D Not Applicable                  □ Other'
 4.   Comments:
Distribution of Coples: Health Records
eUHR Scanning Location: Outpatient; MHNt/TxPln • Progress Note; 7230B lnterdiscipfinary Progress Nole-5 Day Follow•
EHRS Location: Mentel Health Documentation - 5 Day Follow-up


                                                                                                                                                                      'i

                                                                                                                                                   APPENDIX PG. - 136
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                                                                                                                                        :1
  STf\TE Of CALIFORNIA
                                                                                                                                         /
                                                                                                  DEPARTMENT OF CORRECTION3Ai-lO REHA.81UfATION
  INTERDISCIPLINARY PROGRESS NOTE • 5 DAY FOLLOW-UP
  CDCR MH-7230-B fRov. 03/16)
                                                                                                                       lnstrucUons:   P1
                                                                                                                            Fonn: Page~ or 2
                                                                                                                                             3•◄

  d                                                              iiiiWWW
  A. Safety Plan: (This section is completed by a mental health clinician only).
                                                                                                                                        II


  B. Plan:
  Nursing (W nursing Is completing form):
  0 No action raqulred, 5-day follow-up will continue
  0 Forward Information to On-Call mental health provider
 D Referred for emergent mental health consult
 0 Other.
 Mental Health Qf mental health provider is compleling fonn):
 D No action required, 5-day follow-up will continue or, If last day, is discontinued
 0 Referred to MHCB
 D Other:
 C. Did the interview lake place in a private seHing? O Yes       n  No
 If no1 note effor1s to encourage the palJent to be seen ma privafirsetting.




 D. Has custody staff been consulted?          D Yes D No          If no, provide an explanaHon why this consultation did not         Ju,.

E. Additional Comments:




Print name of person filling out form                                                   Classification
. Signature of person filling out fonn
                                         --------------                                 Date/Time
                                                                                                         ---------t-
                                                                                        CDCR#:
                 lnterdtsclpllnary Progress Note. 5 Day Follow-up
                           CDCR MH-7230-B (Rev. 03/16)                                  last Name:                          Ml:
                                                                                        Flrsl Name:
                              ConfldenUal Patfenl: Information
                                                                                        DOB:


Distribution of Coples: Health Records
eUHR Scanning Location: OutpaUent; MHNVTxPln - Progress Note; 7230B lnterdisclpUnery Progress Note-5 Day Follow-u
EHRS Location: Mental Health Documentation - 5 Day Follow-up




                                                                                                                    APPENDIX PG. - 137
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                                                                                                                                        1j

      STATE OF Ct.LIFOfltM.                                                                    . DEPARTMENT OF CORRECTIONS AWRl:HA8UAJ
  INTERDISCIPLINARY PROGRESS NOTE - 5 DAV FOLLOW-UP
  COCR MH-7230-B (Rav. 03/16)
                                                                  Instructions
  Purpose o! the COCA MH-7230-B (Rev. 03/16) lnterdlsclpllnary Progress Note-5 Day Follow-Up: Document                              11:'~i
                                                                                 a
  required daily conlact for any patient who has been discharged from Menlal Health Crisis Bed or released from ""i
  Outpatient Housing Unit or alternative housing after receiving evaluation and/or treatment for suicidal ideation or behavior;i
  Patients should be offered a confidential out of cell conlact each day of the follow-<ip period. This note Is used each daYi
  o! the 5-Day Follow-Up period. Complete all areas. If the primary clinician is not available. such as on weekends o~
  holidays, a licensed psychiatric technician may conduct and document these dally contacts.                                   !
  1, Print or type if necessary. Handwritten notes must be legible.
  2. All notes should be timely. Delayed entries should be documented by noting "late entry.•
  3. Enter the patient's CDCR number, name, and date of birth In the bottom right.                                          :
  4. Indicate the day of foUow-up atthe lop of the fonm. Complete the Effective Communication area In the bottom left of thel
     first page as described below.                                                                                         1
          .                                                                                                                              '
  Effective Communication: The Effective Communication section must be completed any time there Is a clinically re levan
  encounter in which meaningful inlonmation is exchanged between the licensed clinician and the patient. For further
  lnfonmalion and examples of some encounters In which effective communication is required, see IMSP&P, Volume 2, Ch. 4.
      1. DisabTijll!:                          2. ,!\!1&QD]!lJ0!l!ltion:                   3. ~ffective Qo!!l.!lJYDl£lili2a;
      a. Check all boxes that apply a. Check all boxes that apply to the a. Check all boxes that apply that
       regarding the patient's dlsablllty. special accommodations made · to                summarize how It was verified that
      Disability Codes:                    facilitate effective corrvnunication:           effective communication was reached.
      TABE score s 4.0                     Additional lime - Patient was given             Ellliftal ll.!iked gue!!liQ!JS - The patient
      .Qel:I - Permanent Hearing Impaired  additional time to respond or complete a        asked questions              regarding   thej
      QfY - Permanent Vision Impaired      task.                                           lnteracti□ n.
      !J! - Leaming Dlsablf,ty             Equipment - Special equipment was               falient §ymmeg ln!Qtl!l§tiQ!I - The!
      ~ - Penmanent Speech Impaired        used        to       facllitate    effective    patient    summarized       inlonmatlon
      J2t!Jj - Panmanent Hearing Impaired; communication.         Note the type of         regarding the Interaction.               '
      Improved with hearing aids.          equipment used In Iha comments                  b. Check one box to Indicate tt effective/
      mil, - Penmanent Speech Impaired; section.                                           communfcadon was or was noti
      can communicate In wrlUng.           ~ - Sign Language Interpreter.                  reached. ONE of these boxes must be;
      DDP - Developmenlal DisabHity ~ - The provider spoke louder.                         checked.                                 '
      Program                              ~ - The provider spoke slower.                                                               !
                                           ~ c.. The provider used basic
                                                                                                                                        '
      J::j/l, - Not applicable
                                               language.
                                                                                                                                        I
                                               Transcribe-Communication was written                                                     i
                                               down.
                                                                                                                                        I
                                               &llb!!! - Any other tool that was used to
                                               facilitate effective communication.
                                                                                                                                        I
                                                                                                                                        '
      4. Comme!J!li:
      Provide anv additional information reaardina effective communication.

         5-Day Follow-up Fonm:

         Be sure to lndleate which day of the follow-up period Is being documented

 I.      STATUS AND CURRENT CONDITION

        A, Indicate discipline complatlng the form (Mental Health Clinician or Psychiatric Technician). As noted on Iha fonm, only!
           a mental health clinician can complete the last day of follow-up. tt the fifth day falls on a weekend or holiday,         il/
           psychiatric technician Is to complete the clinical conlacl and the follow-up period is extended untH the cfiniclan can,
           see the patient                                                                                                         ·
        B. Indicate the day of the 5-day follow up from the drop down.
        C. Indicate tt any warning signs for imminent sulclde present by c~cllng or marking the corresponding letter for Ideation,
           Substance Abuse, Purposelessness, Anxiety, Trapped, Hopelessness, Wlthdrawal, Anger, Recklessness, or Mood
           Change (IS PATH WARM),




                                                                                                                                        I
                                                                                                                                        I
                                                                                                                                        ;
                                                                                                                       APPENDIX PG. - 138
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                                                                                                                                         ·1
                                                                                                                                           !
   STATE OF CALIFORNIA                                                                                                                     '
                                                                                                 DEPAATMEHT OF CORRECTlONS ANOAEHABlllATION;
   INTERDISCIPLINARY PROGRESS NOTE· 5 DAY FOLLOW-UP                                                                                            !


  CDCA MH•723D-B (Ae11. 03/16}



        D-1 Ask the patient:

          D. Since we saw you last, have you had any thoughts of killing yourself? Record the rating best matching the response,
             using the checkboxes, from 1 (not at all) to 5 (constantly).
          E. If you have had thoughts of killing yourself, how strong were they? Record the rating bast matching the responB<l,j
             using the checkboxes, from 1 (not strong et alQ lo 5 (worst possible, very strong).                                  ·
         F. How long did the thoughts last? Record the rating best matching the response, using the checkboxes, from 1 (briefly)j
             to 5 (conslanl),                                                                                                ·
         G. <::an you stop thinking about killing yourself it you want to? Reci,rd yes or no in I/le provided check-box.         '
         H. How likely is it that you will harm yoursett In the next week? Record the rating using the checkboxes, from 1 (not at:
             all) to 5 (extremely likely).                                                                                        '
         I. Whal is your main reason(s) for not harming yourself in the future? Encourage the patient to describe how strong!
             (or weak) each reason is. In the text box, record a brief summary of the patient's response.                        i

  II,     OBSERVATIONS

         Use the provided text box to record obseryalions
          A. Observations: ( Indicate in Iha /ext box)
           • Level of consciousness.
          ·• Assessment of ADLs.
           • Dascriba the patient's mood.                                                                                                 i
           • Describe speech.                                                                                                             I
           • Indicate the patient's cell condition (e.g., clean, messy, dirty, etc).
           • What other concerns or issues did the patient raise?                                                                         '
           • Describe overall behavior (cooperative, slumped and barely responsive, ate.)

 111. SAFETY PLAN                                                                                                                          !



         .A. Safety plan summary: Safety plans are completed by mental health clinicians. Write a summary of the patlent'sj
             safety plan. If th. e patient is currently suicidal or exhibiting serious mental health symptoms, the plan to manage this.I
             status Is written In sufficient detail wilh corresponding boxes In section B checked (e.g., refer for an emergency;
             mental health consult, refer for a higher level of care placement or to phone the on-call mental health provider).!
             Discuss/review wllh !he patient the efficacy of various strategies. Note what strategies the patient has US<ld oved
             the past 24 hours, if any, and Indicate H new strategies are needed, If the safety plan Is no longer appropriate or!
             unavailable, formulate and document an updated safety plan. Articulate specific coping strategies for !he patien~
             and review with the patient. If the first day of the follow-up period falls on a weekend or holiday, a psychlatrlc 1
             technician can complete all sections of the follow-up form but should not complete Iha safety plan.                    . ;·
          B. Safety Plan actions: Nursing/psychiatric technicians and mental health clinicians should check the appropriate!
             boxes as to actions taken In service of protecting Iha patient's weHare.                                                  I
          C. Indicate if the patient was seen in a prlvale setting (yes/no).                                                           ,
          D. Note efforts to encoumge !he patient to be seen in a private salting.                                                     ,
          E. Indicate if custody staff was consulted about Iha patient (yes/no). If custody was not consulted, provide anj
             explanation of why this consultation did not occur in the text box provided.                                              i
          F. Use the taxt box to Indicate any ad<frtional findings or comments on Iha case.                                            :

               Conclude with:
                • SlgnaturetTrtle: Sign and Include professional credentials or job title.
                • Enter the date and time of the note. This.ls required tor each entry.




                                                                                                                        APPENDIX PG. - 139
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                                12-0509




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 State of Calffomla                                             Caliromfe Department of Corrections and Rehabilitation


 Memorandum
Date        t.1AY     9 2012
To           Chiefs of Mental Hea Ith
             Department of Mental Health Coordinators
             Local SPR-FIT Committee Chairs

Subject    : POLICY 12.06.501: INTERMEDIATE AND ACUTE DISCHARGE FOLLOW-UP

             The purpose of this memorandum is to announce Policy 12.06.501, Intermediate and
             Acute Disctiarge Five-Day Follow-up.

            Effective 30 calendar days from the date of this memorandum, each Institution's
            Mental Health Program shall institute the attached Mental Health Policy. This policy
            requires a five-day follow-up to be initiated for all inmate-patients retumi11g from
            Acute and Intermediate Care. The policy also requires that each institution ge11erate
            a Local Operating Procedure releva11t to this policy.

            This policy is part of the Mental Health Program's ongoi11g suicide prevention efforts.
            As described in the .Mental Health Services Delivery System Program Guide, 2009
            Revision, the Mental Health Program continues to actively address the issue of
            su.icide prevention.




                                                                                                    APPENDIX PG. - 141
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  VOLUME 12:                                                                                Effective Date: May 1, 2012

  CHAPTER 06: PROVISION OF CARE, TREATMENT, OR
                                                                                            Revision Dale{s}: NIA
  SERVICES
  POLICY 12.06.501:
  CLINICAl FOLLOW-UP REQUIREMENTS FOR INMATE•PATIENT DISCHARGE AND TRANSFER FROM           Attachments: Yes □ No~
  INTERMEDIATE AND ACUTE. CARE (5-DAY FOLLOW-UP)




   12.06.501               Clinical Follow-Up Requirements for Inmate-Patient Discharge and Transfer
                           from Intermediate and Acute Care.


   Policy                  When an inmate-patient arrives from an intermediate or acute hospital, a mental
                           health clinician shall issue a consecutive five-day clinical follow-up order
                           within 24 hours of their arrival at the institution.

                           Every inmate-patient discharged from an intermediate or acute hospital shall be
                           seen by a mental health clinician or designee (in accordance with Mental Health
                           Services Delivery System [MHSDS] Program Guide, 2009 Revision,
                           requirements for five day follow-ups) within 24 hours of arrival and for a
                           minimum of five consecutive days unless the order was discontinued as
                           indicated below.

                          The Primary Clinician may determine that the five-day clinical follow up is no
                          longer clinically indicated and can be discontinued sooner than five days.


   Definition             A five-day clinical follow-up is defined as daily contact with an inmate-patient
                          for five consecutive days following his or her discharge from intermediate or
                          acute level of care, or discharge from MHCB or OHU if the placement was for
                          suicidality.


  Compliance                   1. Every inmate-patient arriving from Acute and Intermediate beds are seen
  Indicators                      daily for five consecutive days.
                               2. A monthly audit is performed to monitor implementation of this policy.
                               3. Findings from the audit of this policy are submitted to the institution SPR-
                                  FIT committee monthly.
                               4. Clinical contacts are documented on a CDCR MH-7230-8,
                                  Interdisciplinary Progress Note - Follow-Up to MHCBIMH-OHU discharge
                                  for Suicidal Issues.
                               5. The decision to discontinue the five-day clinical follow-up contact is
                                  documented on a CDCR MH-7230, Interdisciplinary Progress Note.


  Weekends                The five-day clinical follow-up contacts on weekends and holidays shall be
  and holidays            conducted consistent with MHSDS Program Guide, 2009 Revision,
                          requirements for MHCB five-day clinical follow-ups.

 12.06.501: Cfin!cal Fonow-Up Requirements for lnmate-PaUent Discharge and Transfer from lntennediate and Acute Care         Page 1 of2
 (5-0ay Follow-Up)




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   Custody                  This Policy is independent of and does not affect current Custody Welfare
   Welfare                  Check requirements.
   Checks


   Action                  The following action is required for your institution to be in compliance with the
   required                new policy.

                             If vour institution .••                                   Then •.•
                             has a local operating procedure (LOP)                     amend what you currently have in
                             for      inmate-patient     discharge                     place to meet the new policy via an
                             requirements for Intermediate and                         addendum until the next LOP revision
                             Acute Care that is reviewed annuallv.                     date.
                             does not have a LOP for inmate-                           ensure that one is completed
                             patient discharged from Intermediate                      promptly and create a LOP to meet
                             and Acute Care.                                           the new policy requirements. Ensure
                                                                                       the LOP is reviewed annually.



   References              California Prison Health Care Services, Inmate Medical Services Policies and
                           Procedures. Volume 4, Chapter 3.

                           Division of Correctional Health Care Services. (2009 Revision). Mental Health
                           Services Delivery System Program Guide. Mental Health Crisi Bed, Chap. 5,
                           p. 12-5-29.

                           Division of Correctional Health Care Services. (2009 Revision). Mental Health
                           Services Delivery System Program Guide. Suicide Prevention and Response,
                           Chap. 10, p. 12-10-3.

                           National Commission on Correctional Health Care. (2008). Standards for Mental
                           Health Services in Correctional Facilities. Policies and Procedures (MH-A-05),
                           p. 8

                           National Commission on Correctional Health Care. (2008). Standards for Mental
                           Health Services in Correctional Facilities. Nonemergrncy Mental Health Care
                           Requests an Services (MH-E-05), p. 57

  Questions
                          If you have any questions or need any additional information related to this
                          Policy, you may contact Kim Cornish, Ph.D., Senior Psychologist, Specialist,
                          Policy Development, Statewide Mental Health Program, at (916) 323-6146 or via
                          e-mail at Kim.Cornish@cdcr.ca.gov.




 12,06.501: CDnlcal Follow-Up Requirements- for lnmale-?alienl Discharge and Transfer from ln!ermediale and Acute Care      Page 2 of2
 (5-0ay Follow-Up)




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                  Kim Comish, Ph.D., Senior Psychologist, Specialist, Statewide Mental Health
                  Program (MHP) at (916) 323-6146 or e-mail at Kim.Cornish@CDCR.ca.gov.




             --=      ~ - /l 'o'i-@1..~
                  1IM<f ~ . Ph.D., MSHCA, CCHP
                  Deputy Director (A), Statewide Menta.1 Health Program
                  Division of Correctional Health Care Services

              Attachments

              cc:        Chief Executive Officers
                         Steven Tharratt, M.D., Statewide Chief Medical Executive
                         Karen Rea, PHN, MSN, FNP, Statewide Chief Nurse Executive
                         Diana Toche, D.D.S., Deputy Director, Dental Services
                         Judy Burleson, Associate Director, MHP
                         Regional Directors of Mental Health
                         Kim Cornish, Ph.D., Senior Psychologist




CDC 1817 {3/69)




                                                                                                                                APPENDIX PG. - 144
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     Stele of Csnfomia                                                       Department of Corrections end Rehabllllallon


     Memorandum
     Date        March 1, 2016

     To         Associate Directors, Division of Adult Institutions
                Wardens
                Chief Executive Officers
                Chiefs of Mental Health




    Sub/act:    USE OF MECHANICAL RESTRAINTS IN A MENTAL HEALTH CRISIS BED UNIT

                The purpose of this memorandum is to clarify guidelines. regarding the
                use of mechanical restraints within a Mental Health Crisis Bed (MHCB) unit.
                Inmate-patients (IPs) shall not be placed In mechanical restraints as part of rouline
                practice In MHCBs. Unless other custodial factors are present (i.e., the IP was
               designated as Max Custody prior to being housed in the MHCB or as outlined in
               -California Code of Regulations (CCR), Title 15, Section 3268.2, Subdivisions [bl[2]
               or [bl[3J), IPs who are placed in MHCBs shall not be placed in mechanical restraints.

               Any IP who Is not designated Max Custody may be placed In mechanical restraints
               while in the MHCB If they meet the criteria in CCR, Title 15, Section 3268.2(b)(2),
               which states, "When a person's history, present behavior, apparent emotional state,
               or other conditions present a reasonable likelihood that he or she may become
               violent or attempt to escape."

                IPs not designated Max Custody may also be placed in mechanical restraints while
                In the MHCB pursuant to CCR, Titte 15, Section 3268.2(b)(3), which states, "When
                directed by licensed health care clinicians. to prevent a person from attempting
                suicide or Inflicting Injury to himself or herself." The MHCB clinician may initiate a
                request for use of mechanical restraints to the MHCB custody supervisor when, in
               the MHCB clinician's opinion, an emergent situation exists, and the use of
               mechanical restraints is the most efficient and effective means to prevent the
               IP from causing Immediate injury to self. This request may be Initiated verbally
               or In writing on a CDCR Form 128-8, General Chrono, to the custody supervisor.
               Verbal requests shall be subsequently memorialized on a CDCR Form 128-B
               by the custody supervisor, noting the date, time, and reason for the emergent
               request The authorization to place an IP in mechanical restraints pursuant to
               Section 3268.2(b)(3) may only be made by direction from an MHCB custody
               supervisor. This request shall not be misconstrued as a long term request for use
               of mechanical restraints.                                       ·

               To ensure consistency, Wardens and Chief Executive Officers or deslgnees shall
               provide training for MHCB and Correctional Treatment Center custody supervisors
               and Mental Health clinicians, and shall update their institution's Local Operating




                                                                                                       APPENDIX PG. - 146
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         Associate Directors, Division of Adult Institutions
         Wardens
         Chief Executive Officers
         Chiefs of Mental Health
         Page 2



         Procedures to renect these changes. Training code (BET) information will be
         provided on distribution of this memorandum. Each institution shall provide proof of
         practice to their respective Mission Associate Director within 30 days of the date of
         this memorandum.

         If you have any questions, please contact Trent Allen, Captain, Mental Health
         Compliance Team, Division of Adult Institutions, at (916) 324-7956 or
         DAI-MHCompllance@cdcr.ca.gov.


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         j! -~__;,r:_. ~-C- ·a. ..(..___                 ,< ~"-"'--
         KATHERINE TEBROCK, Esq.                          KATHLEEN ALLISON
         Deputy Director                                  Deputy Director
         Statewide Mental Health Program                  Faclflty Support
         Division of Health Care Services                 Division of Adult Institutions

         cc: Kelly Harrington
             Ralph M. Diaz
             Mental Health Regional Administrators
             Chief Medical Executives
             Health Care Managers
             Angela Ponciano
             Amy Eargle
             Laura Ceballos
             Edward Kaftarian
             Robert L. Davis
             Trent Allen
             Jennifer Johnson
             Classification and Parole Representatives
             Correctional Counselors Ill, Reception Centers




                                                                                               APPENDIX PG. - 147
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  Gaines, Thomas@CDCR

 Subject:                          FW: Use of Mechanical Restraints in a Mental Health Cris'IS Bed Unit
 Attachments:                      USE OF MECHANfCAL RESTRAINTS IN A MENTAL HEALTH CRfSIS BED UNIT.pd!




 From: Andersson, Dyann@CDCR
 Sent: Tuesday, March 01, 2016 11:09 AM
 To: CDCR Institutions DAI Associate Directors; CDCR Institutions Wardens; CDCR CCHCS CEOs; CDCR DL-DCHCS-Chiefs
 of Mental Health
 Cc: Allison, Kathleen@CDCR; Tebrock, Katherine@CDCR; Harrington, Kelly@CDCR; Diaz, Ralph M.@CDCR; O'Meara,
 Kathleen@CDCR; Force, Elalne@CDCR; Cornell, Christopher@CDCR; McAloon, Margaret@COCR; CDCR CCHCS Chief
 Medical Executives; Ponciano, Angela@CDCR; Eargle, Amy@CDCR; Ceballos, Laura@CDCR; Kaftarlan, Edward@CDCR;
 Allen, Trent G@CDCR; CDCR Institutions DAI CSU C and PRs
 Subject: Use of Mechanical Restraints In a Mental Health Crisis Bed Unit

 On behalf a f·


 Kc.tf!.1!111111 Aeeiso11
 Dap,.ty Ditoetor
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 K&1tf!.11titt11 Taarodl,, esq.
 Dap11ty Director
 Si&ltewido Ma11foO HaaOtf!o PtD(JtaHt
 Divisiott o/ llo'10tf. <!,are Services

 The following Business Event ID has been provided to !rack training through the Business Information Systems (BIS)
 Training and Events (T&E) system:

 Business Event Type: 11053757 - Training by Memorandum

 When entering the completed training in BIS T&E, lhe In-Service Training Manager shall ensure the following
 information is included in !he 'Notes" portion of the Business Event as depicted below. This will identify training
 specific lo this memorandum has been completed.

USE OF MECHANICAL RESTRAINTS IN A MENTAL HEALTH CRISIS BED UNIT
Authored by: Kathleen Allison, Deputy Director, Division of Adult Institutions
Date af/ssuance: March 1, 2016
Date Due: April 1, 2016



If you have any questions regarding the attached memorandum, please contact Captain Trent Allen at (916) 324-7956 or
DAI-MHCompliance@cdcr.ca.gov.
                                                            l.




                                                                                                        APPENDIX PG. - 148
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 Kindest regards,


 Dyann Andersson
 Executive Assistant to the
 Deputy Director, Facility Support
 Division of Adult lnstitutiOrJS
 California Department of Corrections and Rehabilitation
 (916) 445-7688
 (916) 327-2877 Fax
 dyann.andersson@cdcr.ca.gov




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                                                                                    APPENDIX PG. · 149
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  Mc1norandum
  Dote        September 1, 2017

  Tn          Associate Directors, Division of Adult lnstltulions
              Wardens
              Regional Health Care Executives
              Chief Executive Officers
              Chiefs of Mental Health

  Subject,    ADDENDUM • REVISION OF MENTAL HEAL TH CRISIS BED DISCHARGE CUSTODY
              CHECKS POLICY

              The memorandum tltled, "Revision of Mental Health Crisis Bed Discharge Custody
              Checks Policy," dated January 27, 2016, revised the Mental Health Services Delivery
              System (MHSDS) Program Gulde, 2009 revision, and required 30-minute custody checks
              be conducted on inmate-patients discharged from a Mental Health Crisis Bed (MHCB)
              who were admitted for suicidal Ideation, threats, or attempts.
              Effective immediately, 30-minute custody checks shall be completed on all
              Inmate-patients discharged from Alternallve Housing when clinically indicated. This
              Is consistent with the MHSDS Program Guide, 2009 revision, which authorizes custody
              checks on Inmate-patients returned from Outpatient Housing Units (now ldenllfled
              as Alternative Housing).
              If you have any custody-related questions, please contact Eric Hobbs, Captain,
              Mental Health Compliance Team, at (916) 324-7956 or Eric,Hobbs@cdcr.ca.gov. If
              you have any questions regarding mental health policies, please contact Robert Horen,
              Senior Psychologist, Specialist, Clinical Support, Division of Health Care Services, at
              (916) 691-6858 or Robert Horon@cdcr.ca.gov.
                    J


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              KATHLEEN ALLISON
                                                                    /:~' ,,-u..,-~
                                                                    KATHERINE TEBROCK, Esq.
              Director .                                            Deputy Director
              Dl~l~'ri°r Adult Institutions                         Statewide Mental Health Program


                ~
              JANE ROBINSON
              Deputy Director (A)
              Statewide Chief Nurse Executive (A)
              Nursing Services Branch

              Attachments

              cc:       Jeff Macomber    Eric Hobbs             Michael Golding
                        Connie Gipson    Laura Ceballos         Robert Horon
                        Kelly Mltchell   Amy Eargle             Marcie Flores
                        Dawn Lorey       Angela Ponciano        Mental Health Regional Administrators




                                                                                                               APPENDIX PG. - 151
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    Slalo of CaRfornla                                                       Deparlmant of Corroctlono ond Rohobllltatlan


    Memorandum
    Date
                 January 27 1 2016

    To          Associate Directors, Division of Adult Institutions
                Wardens
                Regional Health Care Executives
                Chief Executive Officers
                Chiefs of Menteil Health


    Subject:    REVISION OF MENTAL HEALTH CRISIS                       BED DISCHARGE             CUSTODY
                CHECKS POLICY ·


                In an effort to Improve the contlnu,W of clinical care for Inmate-patients (1Pa)
                discharged from a Mental Health Crisis Bed (MHCB), .several revisions to. the
                MHCB discharge process as olitllned In the Mental Health Services Delivery
                System (MHSDS) Program Guider (2009 Revision) are belhg Implemented. The
                followlng are staff responsibilities regarding IPe who have been discharged from a
                MHCB to a general population housing or segregated housing unit:

                IP MHCB DISCHARGE TO GENERAL POPULATION HOUSING UNITS

                 Upon the discharge of an IP admitted to the MHCB for sulclda!lty, the MHCB
                 discharging clinician shall Initiate ttie newly created California Department of
                 Corrections ani;t Rehabllltatlori (CDCR) MH-7497, Mental Health Crisis Bed (MHCBJ
                Discharge Custody Chae/< Sheet prior to physloal dlsoharge, The discharging
                ·cllnlclan shall ensure the form Is provided to transporting/escorting staff who will
                deliver the form to the receiving Institution's Central Control stllff. Cenfral Conbol
                staff at the receiving Institution shall document the IP'a new housing Information on
                the form and ensure the form ls sent with the IP to the ·housing unit.

                  Once the IP has physically arrived at .the receiving housing unit, staff shall conduct
                  a personal observation within the housing unit on the IP every 30 minutes during
                 tile Initial 24 homs of plac(!ment. Housing unit etaf.f shall document all custody
                 checks on the MHCB Dl~charge Custody Check Sheet using the observations
                 legend listed on tl1e CDCR MH-7497. When 1Pa are released from the housing unit
                 to participate In programs outside of the housing unit, staff shall note the IP Is 'Out
                 to Program" on the MHCB Discharge· Custody Checl< Sheet until his/her return to
                 the. housing unit. Housing unit staff la not required to have ttie IP return to the
                 housing unit to conduct the MHCB· discharge custody checks. When an IP returns
               · to the housing unit from program ·activities, housing unit staff shall note the arr/val
                 time on the MHCB Discharge c·ustody Cheak Sheet, and continua the MHCB
                 discharge custody checks .as dlret::ted above.




                                                                                                     APPENDIX PG. - 152
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        Associate Directors, Dtvlslon of Adult Institutions
        Wardens
        Regional Health Care Executives
        Chief Executive Officers
        Chiefs of Mental Health
        Page 2


        Upon completion of the Initial 24 hours after arriving to the unit, a mental ·health
       cllnlclan shall report to the !P's housing unit, discuss the /P's observed behavior
       with custody staff; and conduct a confidential cllnlcal evaluation with the IP. The
       evaluation wlU determine whether to continue or discontinue the MHCB discharge
       custody chei;:ks or refer the IP for admission back to an MHCB based upon suicide
       risk, The mental health clinician shall document this decision on the MHCB
       Discharge Custody Check Sheet. Should the checks be continued, a mental health
       clfnlclan Is required to reevaluate the IP every 24 hours until cheoks are
       discontinued. The custody- checks shall not be extended beyond 72 hours after
       discharge from a MHCB. If an IP requires checks beyond 72 hours, the IP shall be
       readmitted to the MHCB. Institutions shall retain all original MHCB D'lscharge
       Custody Check Sheets for a minimum of three years at the Institution, and
       additional four years In departmental records retention.

       Weekends and Holldiiys

                                                          a
       When MHCB discharge custody checks end on weel1end or holiday, a designated
       mental health. clinician shall conduct the evaluation when avallable. If a mental
       health cllnlclan Is unavailable, the eval,uatlon may be conducted by a psychiatric
       technician. The psychiatric technician will see the patient and contact the on call
       use of force mental health clinician for a decision regarding continuation of checks.
       The on call provider shall determine If the MHCB discharge custody checks may be
       discontinued and Is responsible for <;locumentlng the basis of this decision on a
       progress note. The psychiatric technician shall document the continuation or
       discontinuation of checks on the MHCl3 Dlscharg!=l Custody Check Sheet, noting
       the date, time, and name of on call provider consulted.

       IP MHCB DISCHARGE TO SEGREGATf:D.HOUSING UNITS.

       On May 9, 2014, the California Department Corrections· a.nd Rahab/lllatlon
       Implemented the Security/Welfare Check Procedure In all Administrative
       Segregation, Condemned, Psychiatric Services, and SecLlrlty Housing Units. This
       procedure directs staff to conduct El security/welfare check at staggered Intervals on
       all Inmates assigned to segregated housing units twice an hour (not ,to exceed
       35 minutes between checks) durlhg their entlra length of stay. The lmplemantatlon
       of the SecurltyNVelfare Check Procedure has rendered the MHCB discharge
       custody checl<s redundant when the IP Is discharged to a segregated .housing unit.

       With this revision to the MHCB discharge policy, segregated ho1:1slng units that
       have Implemented the Security/Welfare Check. Procedure shall no longer conduct
       MMCB discharge custody ohecl,<s of IPs solely due to discharge from an MHCB.




                                                                                        APPENDIX PG. - 153
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        Associate Dlreotors, Division of Adult Institutions
        Wardens          ·
        Reglonal Health Care Executives
        Chief Executive Officers
        Chiefs of Mental Health
        Page 3

        The Security/Welfare Check by definition ensures custody staff Is eocountlng for
        1Pa at established Intervals. However, this revision does not apply to Segregated
        Housing UnHs that do not conduct Security/Welfare Cl1eoks on all three watches.
        Housing units meeting these criteria shall be required to log Iha MHCB tllsoharga
        custody ohecks as Indicated above during times when the security/Welfare checks
        are not required per existing po!loy.
        Plea;a ensure all impacted        Post   c5raers aiid ioc;a'l"o1fe'iafftfg 'ptbcedi.ir~s'ttOP)'.-~re
        J1nmedlaWly llpdatl'.icf'!O l'ijf/act\lh6llle'pha-ng!)a.'.T~1frevlsl6n(e) may be lnolui:led.es !i
        supplement to be· Included In the next sclleduled ravlslon of the :1ni)!,ifcle~·
         document. Addltlonally, each Institution sh~ll•pr0.111de,.ve:rf.tlql;j!Jp1f'of· completlon to
         your lnatllutlon's · LOP -:ta memora_n,,d!Jm _)o your reepectl'{f MJe~IQn .. f\~,sg9t!!_ta
         0Jrector 11nd a copy. to Ell!f':l'fob6s, Correctional Lieutenant; .Division ot i>ioiilf'
        .lnst/tullons, Mental Health Compliance Team · wltl'ifif "3@:'\'iclili:iY-id~r-··ders,:Jr.em
        .1ssui1Mcfof tfi1s niamiiranffu1t1: .

        If you have eny oustody. related queatlona regarding this directive, please contact
        lieutenant Hobbs al (916) 322-1726.



       Ii~;
        Director
        Division of Ad ult Inslitutlons
                                                             ~.,e,t..: ,,::Z',.c:...ae,4_
                                                             KATHERINE TEBROCK
                                                             Deputy Director
                                                             Statewide Mental Health Program


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        c ~ : r ; ; N , BSN
        Statewide Chief Nurse Executive
        Nursing Services
        Calftornla Correctional Health Care Services

        AUaohmenls
        cc: Kathleen Allison                Laura Ceballos
            Ralph M. Diaz                   Amy Eargle
            ErloHobbe                       Ma role Flores




                                                                                                         APPENDIX PG. - 154
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 .'                                                                                                                                                     DEPARTMENT OF COflRECT10NS />.HO REHABILITATION
      &TATl:.OFc,.t.lFORNIA
      Mental Health Crisis Bed (MHC B)
      Discharge custody Check Sheet                                                                                                                                                      Form: Page 1 of2
      CDCR MH-7497 (01/16)                                                                                                                                                  lnstruotlona: Paga 3 end 4
                                                                 ,.,,
                                                                         ·,. ·.·\·:Y~·.:·.' .;:······.               .
                                                                                                                  . •:         ..        .. <.' ·.•:; ;:·. ,.; ·'.·,',':-{.!.;,• :;·.:··                          .. ~r
      I.' Discharging Information                                                                            -.                         •.                               . . ·,;•

      lnmala Noma:                                                                 CDCR#:                                       Data of Discharge from MHCB:
      Discharging LOC:                             MHCB Discharging lnstllutlon:
      MHCB Discharging Clinician:
                                                                                                                                                                       ··-· ~:I;_..,·
      II, Receiving lnatltutlon lnliirn:\Jiil,oh · :· ' .   ..                                                                                                                                       . .. · .},·. _:'-:·
                                                            ·                                                                                                ,::··..                    . __ ;:•
                                                                                                                                         :,·;:
                                                                                                    ....     . ,·.            ; ·:.
      Receiving lnstuutlon:                                             Assigned Housing Unit:
      DatefTlme of Arrival to Housing Unit:
      Uli C::1.l!iloal Evaluation                                               ...         . '.   :;_ : )           .   ·;: : :.t.~>'·. . '           :~,
                                                                                                                                                 .• ' -·.                 ·-. ·-:·'· ... ..- ·:,.,           ·;-: ..;_:.:,_.:

      'When MHCB discharge custody checks end on a weekend or holiday, a designated mental heallh cllnlclan shall conduct the
      evaluallon when available. If a mental heallh cllnlclan Is unavailable, the evaluation may be conducted by a psychiatric technician.
      The psychiatric tachnlclan wlll see the pattant and contact the on call use of force mental heallh clinician for a decision regarding
      continuation of checks. The on cell provider shell determine If the MHCB discharge custody checks may be discontinued and Is
      responsible for documenting the basis of this decision on a progress note.
      Day 1 (Initial 24 Hours after Discharge from MHCB)
      Mental Health Clinician:                                                                                                        DatefTlme of Evaluation:
      Weekencf/Hollday:
      Psychiatric Technician:                                                                                                         DatefTlme of Evaluation:
      Consulting MH Clinician:                                                                                                        Datemme of Consul!:
      0 Disconllnua Cuslody Checks
      D Continua Custody Checks
      0 Refer to MHCB            Date and Time of Referral:

      Day2
      Mental Haallh Cllniclan:                                                                                                        Detefflme of Evaluation;
  Weekend/Holiday:
      Psychiatric Technician:                                                                                                       Datemme ol Evaluation:
      Consulting MH Clinician:                                                                                                        DatafTlme of Consul!:
      D Discontinue Custody Checks
      0 Continue Custody Checks
      D Refer to MHCB            Date end Time of Referral:

  Day3
      Mental Health Cllnlclan:                                                                                                      DatefTlme of Evaluation:
  Weekend/Hollday:
      Psychiatric Technician:                                                                                                       DatefTlme of Evaluation:
      Consulting MH Cllniclan:                                                                                                      DatefTlme of Consult:
      D Discontinue Custody Checks
      0 Refer to MHCB            Date and Time of Referral:
  DISTRIBUTION - Coples: Heallh Records, Health Care Access Unll Captain
  5,CANNING LOCATION • Outpatient; MHNtfTxPln • Progresa Note




                                                                                                                                                                                    APPENDIX PG. - 155
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                                                                                                                    DEPARTMENT Of CQftREOllOll8 Nit> RC:H,f.DIUTATIOff
 STATE OF CAI.JFORHI,\
 Mental Health Crisis Bed (MHCB)
                                                                                                                                                 Finm: Page 2 of 2
 Discharge Custody Check Sheet
 CDCR MH-7497 (01116)                                                                                                               lnotructlons: Page 3 end 4
                                                                                                               ·~!··: .-,         .. ~. :,: .::~ :,.-·   .. '!·•:.•·•.·
 IV. Cuslody Checks                               f".
                                                        ... ·,/ :·/. ·..~:i>•-:.:/:' ·\ ~ :/:_;_._ .- ..
 Inmate Name:                                                CDCR#:                                        Assigned Housing Unit:
 Observation legend:
   1 • Arrival lo Uni!                    5 • In Cell - Talking lo Call Mate                 8 - out to Program
   2 • In Cell-Sleaplngll.aylng Down      6 • In Cell-Eating                                 10 Return from Program
                                                                                                  a


   3 • In Cell Misc.                      7 - Dey Room-Actlv!Uas                             11 - Supervisor Revfew or MHCB Custody Discharge Checks
   4 • In Coll-Watching TV/Reading        8. Showerlng                                        12 • Emergency

        Data                 Time      Observation                     Prlnl Name                                             Comments




                         -
  DISTRIBUTION Coples, Heallh Records, Health Cara Access Unit Captain
. SCANNING LOCATION • Outpatient; MHNtrTxPln - Proar••• Noto




                                                                                                                                             APPENDIX PG. - 156
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• "STATE bF <lAUFORtfl.\                                                                         OEPA!lTMENT OF CORf\ECTIOHS ANO REHABlllTATION
 MENTAL HEALTH CRISIS BED (MHCB)
 DISCHARGE CUSTODY CHECK SHEET
 CDCR MH-7497 (01116)


                                                               Instructions

    Purpose of Form: The CDCR MH•7497 (8/15), Mental Health Crisis Bed (MHCB) Discharge Custody Check Is used for
    patients who were admitted to a MHCB for sulcldal!ty and have subsequently been discharged. It Is used to document the
    following:

          1.    All custody checks are being conducted at least every 30 minutes, ensuring the patient Is not engaging In any
                self-Injurious behavior.
          2.    Clinical evaluations should determine If the patient requires continued 30 minute checks or ff custody checks can
                be discontinued. If It is determined the patient cannot be safely removed from custody checks 72 hours afler
                being discharged, he/she will be referred back to MHCB.

    I,    Discharging Information
          This section Is to be completed by a mental health cllnlclan.

          1. Enter the patient's name
          2. Enter.the patient's CDCR nµmber.
          3, Enter the date of discharge from MHCB.
          4. Enter the patients discharging level of care using the dropdown box.
          5. -Enter the Institution from which the patient Is being discharged.
          6. Enter the name of the discharging cllnlclan.

     II. Receiving Institution Information

           1.   Receiving lnslllution Section: The discharging clinician shall enter the Institution location to which the patient Is
                being discharged.                                     .
                e) · Once the receiving Institution section Is complete and the name of the receiving Institution Is entered, MHCB
                     staff shall print the CDCR MH-7497 Mental Health Crisis Bed (MHCB) Discharge Custody Check Sheet and
                     provide to transporting/escorting custody staff, The CDCR MH-7497 Mental Health Crisis Bed (MHCB)
                     Discharge Custody Check Sheet shall accompany the patient to the receiving lnslllutlon and housing unit.
                b) Transporting/escorting staff shall provide the form to Central Control at the receiving Institution wherein the
                     assigned housing portion shall be completed by Central Control staff.
                c) Assigned Housing Unit Central Control staff at the receiving Institution shall write the patient's housing unit
                     and cell number.
                d) Upon the patient's arrival Into the unit, housing unit staff will write In the date and time.
    Ill, Cllnlcal Evaluation
         This section Is lo be completed by Mental Health Clinician or Psychiatric Technician,

          1. On each day, check the relevant box that establishes If checks shall be discontinued, continued, or if the patient
             shall be referred to the MHCB.
          2. Date, lime, and sign In the section for each day.
          3. Document cllnfcal Information regarding the patient encounter on the CDCR MH-7230-B, lnterdisclpllnary
             Progress Note • Five Day Follow-Up form. Supplemental Information may be documented on a mental health
             progress note.
          4. On day 3, If the cllnlclan believes ongoing custody checks are required, the "refer to MHCB' box shall be checked
             and the patient referred to MHCB.

    IV, Custody Checks
        To be completed by custody staff conducting checks. One entry por check Is required,

          1.     Enter the patient's name
          2.     Enter Iha patient's CDCR #
          3.     Enter the patient's aeslgned housing unit
          4.     Date: Write date of each check conducted
          5.     Time: Write the time the check was conducted and do not write times In advance.
          6.     Observation: Write the number(s) from the legend bast describing the behavior or activity that was observed
                 during the check.




                                                                                                                      APPENDIX PG. - 157
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-~rArd:tF 'ci'.LIFORNIA                                                                          DEPARTMENT OF CORREGTIOH&mo REHMILJTATION
 MENTAL HEAL TH CRISIS BED (MHCB)
 DISCHARGE CUSTODY CHECK SHEET
 CDCR MH-7497 (01/16)


     7. Prlnl'Nama·: bnce ttie lnformiillon is wr1tta'ri--In; th~'staii:memtier·coriductlh'g· tfie• cuii'tcidy check s!alf p~nt his/her
        name legibly._

     8. Comments: Complete thl~ section to provide any addlllonal Information that needs to be communicated to the
        mental health cllnlclan or psychiatric technician. If based on what staff observes during the custody check, he/she
        believes the patient Is a danger to self or others or Is exhibiting unusual and/or bizarre behavior, custody staff
        shall Immediately contact Mental Health Services and submit a CDCR 128-MH5 Mental Health Referral Chrono.
        This section shall be utilized to document the date and time the patient was referred to Mental Health Services. In
        the event an emergency occurs within or outside of the housing unit requiring custody staff to respond that
        prevents them from conducting the custody check, the date, time and nature of the emergency shall be
        documented In the comment section at the bottom of page two. In the event this occurs, custody staff shall
        resume the custody checke es soon as possible.

  V. Additional Information

     1. When custody supervisors are conducting reviews of the form during tours of the unit, the custody supervisor
        shall fill in the date and time, and note the appropriate observation code. Once the Information Is filled In, the
        custody supervisor reviewing the form shall print and sign his/her name legibly.
     2. Ir at any time custody start discovers the patient has not been evaluated by Mantel Health Services within
        establlshed tlmeframes, staff shall notify their custody supervisor, who will contact Mental Health Services,
     3, lf the patients housing assignment changes, print the new housing unit Information on page two of Iha form.
     4, When all the custody check Information on page two has been filled In, Initiate an addltlonal page two of the form,
        print the patlent'e current Information and continue documenting the custody checks. All additional pages printed
        lo document the custody checks shall be kept together with page one of the form.




                                                                                                                  APPENDIX PG. - 158
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                               16-0104




                                                                   APPENDIX PG. - 159
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 State ofCelifornin                                                        Department of Corrcellons and Rehs.bi(itation



Memorandum
Daio            January 4, 2016

To              SEE DISTRIBUTION LIST




Subject:        REITERATION OF EXPECTATIONS RELATIVE TO               MENTAL HEAL TH CRISIS
                BEDS AND RETURN CASES

             The purpose of this memorandum ls to reiterate expectations set forth in the
             December 23, 2014, memorandum titled, Transfer of lnmatss To and From Mental
             Health Crisis Beds (Attachment A), and to provide step-by-step instructions to assist
             with the process necessary for retention of vacant beds utilizing the Strategic
             Offender Management System (SOMS).

             Specifically, upon an Inmate-patient's (IP's) transfer to a Mental Health Crisis
            ·sed (MHCB), the sending institution is required to retain the !P's bed for a minimum
             of ten days. The sending institution's Control Sergeant is responsible for ensuring
             the vacated bed is reserved, and shall not house any inmate in that bed unless
            directed to do so by the Warden or his/her designee. This directive applies to
            internal placement made by an institution with a vacant MHCB, as well as an IP that
            is transferred to an alternative institution for the purpose of MHCB treatment and
            return.

            Due to the limited amount of MHCBs statewide and to ensure timely access to care,
            effective management of MHCBs is vital. Therefore, upon an IP's discharge from an
            MHCB and return to the originating institution, there must be an appropriate bed
            retained to facilitate return within the· allotted 72-hour lime frame. The following
            attachments are provided as a guide to assist with the process of reserving a bed via
            SOMS:

            •    Reserving a Bed in SOMS (Attachment B)
            •    Assigning a Bed Without Using a Batch (Attachment C)

            Wardens are directed to provide training to their Control Sergeants and Officers.
            Please provide a proof of practice memorandum to your Associate Director within
            30 days of the date of this memorandum.




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       SEE DISTRIBUTION LIST
       Reiteration of Expectations Relative· to Mental Health Crisis Beds and Return Cases
       Page2


       If you have any questions or require additional information, please contact
       Robert L. Davis, Correctional Administrator, Mental Health Compliance Team,
       Division of Adult Institutions, at (916) 323-2450 or Roberl.Davis@cdcr.ca.gov.



       K/d~N
       Director
       Division of Adult Institutions

       Attachments

       DISTRIBUTION UST:

      ✓ Associate Directors, Division of Adult Institutions
         Associate Directors, Statewide Mental Health Program
      ./Wardens
      ✓ Chiefs of Mental Health
      / Chief Executive Officers
      ...,Classification Staff Representatives
      ✓ Correclional Counselors Ill, Reception Centers

       cc:✓ Katherine Tebrock
           ✓ Kathleen Allison
           , Ralph M. Diaz
          .1 Judy Burleson
          ✓ Amy Eargle
          ✓ Vincent s. Cullen
          ✓John Herrera
          ✓James Robertson
          /Robert L. Davis




                                                                                      APPENDIX PG. - 161
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         B!a!e of ColSl01tdli                                                           01partm11n1 of CortlctlOl'II .111\d A.1hull!1:1l,:m


         Memorandum
         Dalo          12/13/2014

         To            See Distribution Us!



         SubJo,I: TRANSFER OF INMATl:S 1'0 ANO FROM M6NTAL HloALiH CRISIS 81:08

                     The purp1>Se of this meI11orandum le to provide clarlflcatlon of the lnterdbclpllnary
                     coordinated actions necessary, eepeclelly as It reJalee lo custody· $laff, ror tranerer of
                     lnmate•patlente. (IP) who are cllnlcelly accepted to and discharged rrom a Mentel Health
                     Crlsls Bed (MHCB) end to emphasize the Jmpo~e.nce of pre-discharge planning. This
I
I
                     memorandum both aupars.ed$$ speelllo prior California Department or Correcllone and
j                    Rehabllltllllon's (COCR) memouindums end should be Implemented In conJunotlon with
i                    other departmental pollolae (Allllchment A), Thia memorandum Is en aocompenlrnent to
I                    the Men1el Health Servloeij Polley 12.05.200 et al (Attachment BJ.
I
!
                     MHCB AdmlaslpQ§
                     ihe Division of correollonol Health Care Services, Health Care Placement ovarelghl
                     Progralll (HCPOP), la rasponslble for managing the uUU%atlon of designated speclaUted
                     health care beds, Including MHcas, All IP pJaoements Into a MHCB require aulhorttallon
                     from HCPOP. ·

                     Ifie 24 hoµr MHCB Jranal!lr llmeUot begins upon ~llnloal deten'lllnatton a MHCB Is required,
                     Wllliln one hour of cflnlcal determination that an IP requires praoement In e MHCB and/or
                     prior to plaGement Into elternalive. housing, the roforrlng cllnlclsn shall oontect both
                     HCPOP and the <,lasslflcallon end Parole RBpresenteUve (O&PR). or during non-business
                     days/hO~fB, the Watcll Commancter (WC) •

                    . • HCPOP can be contacted 24 houre per da'y, seven daya per wnek et (916) 204,0321, or
                        via o"mall et boproJ,mhcb@cg%Q~,qov or on glob~I es MHC8·HCPOP@CDCR.

                     • provide IP name, COCR. number, mental health Level of Care (LOC) prior to MHCB,
                       criteria for placement, raferrlng Institution, and contact name with callback number.

                     HCPOP monllore tho Strategic; Offender Management System ($OMS) for vacenLMHCBs
                     end determtnea bed avallablllty. Once a vaoant MHCB Is !dentine~ HCl'OP:

                     • NoUfles 1he referring ollnlclon of the bed assignment and If not Internally admitted to e
                       MHCS, rurnlshes receiving clinician oontaot Information,

                     • If not intern11Uy admitted lo a MliCB,. directs Iha MHCB Gllnloal Director or deslgnea
                       (rece!vlng onnlolan) to !'told lhe available MHCB and· rutnlshes IP inlormaUon end
                       rafer~ng ollnlclan contact lnronnallon to the 1eoelvln9 cllnlolon.




                                                                                                                                APPENDIX PG. - 162
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           See 0lelrlbutlon Lisi
           Paga:!



           Within IWQ hours of bed evslleblttty notlflcalloh by HCPOP antl Jr not In1arnelly admllled Iha
         • teferrfng cllnlclon, sends the complefad referral paok_el and oalls the- reoeJVlng cllnlclon,

          WUhljJ 9Jl& bgur of recelp~ the teoefvlng cllnlclen reviews the completed referral packet,
          oonduots the pre-admission icreenlng for placement, and not/flee the fl!f&rrtrig cllntclan of
          acoeptance, Missing paperwork shell not be e cause. for non-aeoeptenoe, T.he reoalvlng
          end refer~ng clinlclen wlll work together to ensure an required paperwolk hes been
          provldedlracelved.

          Wjthln one hPYC of acceptance from Iha reCJ!Mng cllnlolen, ihe rBf&rrlno cllnlolen ehpff
          complete e CDC~ Form 128,C, MedlcaVPeyohlatrtt:/Denlel Chrono, lndloating ecooptdnce
          and Che IP's bad .number and forward (tie form fo the l'G'Ol!IVlh9 cffnlolan and the C&PR or
          we et the 11~m11ng 1nulllut1Qh,
                             .                                      . .
          imml)dlut®! upon receipt of the 128·C, the Chief of Mental l'leBlth or daulgnerr at Iii$
          raceMng 1nst11utlon en11ures the C&Pf'I O\ WO al the nicelvlng lnatltutlon recelvee the 12S.C,
          _Me~ei/Puyc~lat~o/Oentel Chrono lndlcetlng Aoceptance,
          MHCB transfers shall be done under authority of the Department Operations Manus!,
          Seollon 82080.17 'l:mergenoy Med/Oaf Tmn~leto' and ah.ell be done vi~ the ClsealllOauon
          Servloee Ul\11 (CSU) teletype procees on a·'Psychiatric .and Return• bas/8. The C&P8 at
          the receMng lnetltutlon shall contacl CSU for teletype transfer apprQval, emergency
          medical tran~fer to MHCB ahsll not be delsyed pending teletype eppf<Jvel,
         !he 24 hour MHCB tram1rec t!tJlsllne begins upon ollnk:al daiermlnetlon e MHCB Is required,
         A transfer Is the day/lime Iha IP 1.ioves Iha lnMltution for transport lo/from e MHCB
         according to SOMS,

         The C&PR el the sehdlilg lnsllMlon shall nollfy Slalewfde Transportation of the requsal to
          transport, If Stalawlde Transportation Is unable to compl&te transport w~hln the requ~ed
         •tlmallnes, the ln&lltuUon transportallon team shell tnmptete Iha tran&p0rt.
         II Is the reaponelblllty of the sending ·1nat1tullon, Cllnloal st!ilf, HCPOP, CSl:I, end•
         transportation to ensure tranaport within 2~ houra of MHC8· referral. Collaboration between
         all Involved dlsOlpllnea, llivielons, ~nd unit$ Is 88Bentlal In .order lo achieve the 24 hour
         transfer requirement,

         In lh• event HCPOP la unable to secure a MHCB placement lrnmadlate!y, the lnBU!Ullon
         shell refer 1o the A!lemallve Housing Prlor1Uta11on prooedures aa outlined In' Iha Mental
         Heallll ·Sorvloes Polley 12,05,301, 'Housing of Inmate-Patients Pending Me"tal Heallh
         Crisis !led Tran&ler,' dated October 2013, pending a MHCB bed plecemdnl.
         In keeping With' current policy, the eendlng lhsUlutlon shall r~taln an IP bed/can for a
                                              .
         minimum of ten .days If the IP Is transfert~d 10 a MHCB.      .




                                                                                                      APPENDIX PG. - 163
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           Sea Distribution Llat
           Poge3



           Ra§olndlng a MHC!fReferral

          If HCPOP and fhe C&Pfl. or WC were I\OIIRed of the need for !Tant/er, Iha N•f~rrlng
          cllnlolan or deslgnee JmmedJately, end not to exceed one hour, not/nee HCP◊P and C&PR
          or WC of the Iescfsslon.            ·   ·                                  ·

          MHCe !nwl<e
          Upon transfer to the assigned MHCB, the receiving clinician wlfl atlmll the· IP to the MHCB
          and provide MHCB services tor en anticipated length of eta~ duraHun up tp 1o QIIY§, The
          MliCB lntor,Placlpl1hary Treatment Toam (IPTT) ~hall meet W!tbtn 72 hQUF] of en IP
          admission and et least weekly thereafter, The Chief Peyohlatrlat or d&slgnea must approve
          oKoeptlons to this length or stay.

          frJ•Qleph11tge Planning
          The IOTT ~hall begln discharge planning sJ !he fnlllal IPU: mMUng, An aosesement shell
          be conduoted et tha Initial IDTT relative to the III\Elllhood of the IP'e ebllltY lo return to th•
          sending (referring) lnstttullon, should the /P's MHSDB LOC change from the LOC prior to
          MHC!l plaoement

          Bulee reoardfng ratum to orlglnel lnalltut[on
          • If:'&. dl~oherged at the Correotlonel C/lnloal Caae Management or Enhanced Outpa°Uent
             Program (EOP) lOC shall not be returned to Institution• that do not provide lhe
             d/,;chsrged LOC •.

          • rPs with lnc:omplele recep«on cenler (RC) processing shall be returned to the orlglnaUng
            RC, For Ihle purpose, Clasalllcatlon Starr Repreuentnllva transfer endoreerm,nlli shall
            not be considered part of the RC pror;e,elng.

          • !Ps with completed RC processing shall not be- returned to the RC. Contact HCPOP for
            placement aaelstence,

          , IP~ referred to an Intermediate care ~oolllty (ICF) or APP may remain In the MHCB undl
            en ICF or APP bed becomes evallabta,

            !Pe requlrl~g Administrative Segregation Unit (ASU) EOP hub plaoemont Ot!nslel&nl with
            Callloml• Code of Regutatlone, TIile 15, SeOtlon 3335 •hall b• referred lo HCPOP for
            pleoement oaslstenoe.

          It is tha aKpeclntlon all cases determined during lhe lnlllel IDTT to be highly unlikely lo
          return to the orlg/natlrrg lnotlluUon be re(e-rred to the C&PR lor p,r;,d/echa(fJe plonnfng Wllh
          HOPOP to Include, when approprlata, a Case Factor Sheet 4CFS), completed by ll
          Oorre-ctlon•I Counselor, No CFS Is required far IP& hous•d In ASU, Ssourlly Housing
          Unit (SHU), or PGychletrlo Services Unit (PSU).




                                                                                                         APPENDIX PG. - 164
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           Sea DIS!rlbullon List
           Paga4


           Pte-Dlpohamg l'laootng lconUtmedl
          The IDTT ehall determine .when an IP Is pending o//nlosl dlsoherge and .recommend s LOC
          that Is appropriate. The mental heaM Primary Ollnlclan (PO) shall IIJJmedlgte!y noury
          HCPOP and the C&F'R or tho pending olln/oal dls~hsf(le and LOC lo ensure tranarer can be
          ex1:>adlled.                                                    ·

          The MHCB lnatltutJon Cit.PR shall revfew the aforamentroned rule& regarding· telUrn to
          orlglnal lnatlfullon, the -IP oaee raotora and/or prior oomplete_d CF6 an4 determine which
          lnstllutlon the IP shoul_d: be returned_ to after cnnroal dleoharge from Iha MHCB.         ·

          If !ha IP Is able to return to their orlgln~Ung referring lna1ttu1ion tho MHOB ln•.tltl,ltlon oa~r:t
          will noUfy lhe originating referring C&PR of the pendln(1 cl/nice/ d/saherpe. The raterrlng
          C&PR le to arrange for transportation ao that transfer of the IP, onoe ollnlcolly dl&(lharged,
          occura wlthl_n 72 hours. The rerorrlnQ C&PR ehnll noUfy StatewJde TransportsHon or the
          ponding olln/oa/ dlschsrgB and request for lransfer,                       ··

          If thEi IF' fa unable to return to their o~glna.tlng Institution, the case pending otlrr/08I diacherpe
          shall be referred to HCPOP for ro•dlrectlon.                  · .                         . ·

          • Wllbl□ four hDUT§ of PC notlfloatlon of fJ(!ndln9·c11n/ool discharge th& MHCB Institution
            C&PR or deulgnee wlll notify '1CPOP and provldll the relevant 01"&, If neoessary, . No
            CFS .Is 'required tor ASU/SHU/PSU IPs.

          • Within (our buelg@l)s Mum of O&PR or deslgnee no«nceUon of pendinq offnlcel
            dlaohsrge, HCIIOP will reView lhe IP eaJe ractore and make a re-direction_ placement
            recommendel19n vii! oase notes In Iha SOMS end notify the MHOB ln&tllutlon C&PR,
                               .         .
          , Aa 11090 as possible, .but no later lbPO ,;,011 bu~lneas s!PV. of HCPOP notlfleallon, the
             MHOB lnatltutlt>n c&P~ or dasrgnoe shun n1.>1tfy lhe MHCB Cllnl<l!II" Olreolor thst a
             r~oeMog COOR Institution has been delormlhed for plao&ment pending cNntos/
            {!/ll()harge,

          , The MHCB Ollnlcal Oltoctor or deslgnee ,hall el<f)edlUously notify the discharging
            clinician and tnalllutlon·to receive Iha IP once 01Iniea11y·dlaeherged.            ·

         Mf:12B DIMb@wea
         l'he · oUnloUm · discharging the IP shell oomplete the cllnlaal dl«ohlirge nn the
         CDCR Form 128-MH3, end oontaet the Chier pr Mental Heallh or oaslgnuo al the l11$tltUtlon
         to receive the dlet>harged IP.. The mental health Identifier (MHI) of Iha discharged IP shall
         lhen be entered Into SQMS prior to Phl'Sletil d!$oharg<1. ·

          The ollntolon dl~oh~rglng tl1e IP shell lmmedlatel\l nollfy HCF'OP ena Iha discharging
         lnstHutton'e C&Pl'l or- the cllnloal dleohergo 8nd &bad ptovlda a copy or thq ourtllnt
         COCR Form 128-MH3, Mental Health Placement Chrono, to Iha C&l'R or WC reealvlng tl1e
         "dlscherg_ed IP In order lo expedite lM transfer.




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            See Distribution Lisi
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           lfihe IP Is able to return to their orlglnetl~g raferrirl'Q lnetltull0h the MHCB lnsututlon C&PR
           will notify the originating referring C&PR of Iha cllnlcal dlstharge, Trenafar of the
           discharged IP shaft proceed according to pre-dlsCharge plan.

           If the IP 18 unable lo return to lhelr originating lnetltutlon, pursuant to the aforementlonsd
           pte•dlscherge plan. the MHCB lnslllullon C&PR wlll heve already rGC$/VBd re-d/rootlon
           nollflc~Uon from HCPOP and a 1-fCPOP ro-dlrectlon placement recommendation WIii be
           preeen1 Via t~e o~,e notes In 8OMS.           ·

           • ltnm§diat&IY upon notfflootlon by the cllnlclen dlBcha11:1lng the IP Ill cllnlc«I dlschoroe, the
              MHC8 lnstl!Utlon C&Plt shell present tho case to the Jnsiltullon'e llsslgned
              Claaalflcatlon Staff F¾preeentstlve (CSR) for en emetgency transfer endorsement, If a
              CSR Is nol ourrently assigned to Iha MHCB lnstltulkln at lh'e time of the re-d(reCI, the
              MHCB lh$lllUtlon C&PR shell contect the Classlffoatton Slaff Representative icheduler,

           • Y'IJlhlO (.Qur hours ol notlfloatlon by the MHCB lnslllullon C&PR. the CSR BhSII review Iha
             case for en emergency transfer endorsement. On dlfficull' to place cases, the CSF!. thall
             ooordfnate with the CSU and Population Management U~lt 10 ensure placement ln(o lhe
             le"st rastrlctl~e housing.

              o Ir rio CSR Is available, Iha MHCB Institution C&PR shalt provide oeae factors to the
                r~-dlrect Institution's C&PR, The re-direct C&PR shkll, contact CSU for teletype
                endorsement If applicable and arrange IP transportation,• ·

           • The MHCB Institution CS.PR or deslgnea nhell addlllonell'y ensure a oonfiimed conteol
             Is made wllh Ille recaMng C&PR or doslgnee,

           • lt\!Jlhjo 72 hour& Pl cllnl~al dlschera4, lransfar or the dlschargea IP shall proceed
             according 10 pre,cll~chetoa plan, It le the responslblllty or the IA&lltutlon recervlng tho
             discharged IP lo make all transfer arrangements. Statewide Tn!IMponatlon may be usad
             If they ere ftble lo meet the 72 hour time freme,

           lP• ollnlcally discharged from MHCB can.be housed In general populellon, Ir plee<1ment Is
           contl•tent with cllnlcnl neede, i:see feotors, knd epproprlllte program evalleblltty. This
           placemonl shall be coordlhaled .~nd apprbved through the lnsUtutlon'e Warden or dealgnee,
                .                   .
           For your convenience, please see the provided flawohart (Attachment C\,




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          see Distribution List
          Page 6



          If you have any .. quesllons . ot require eddlllonal lnfomieUon, pleMe contact
          James Robertson, Chief, CS\J, at (916) 322•2544 or JUdy ~ur1eson, Chief, HCPOP,
          at (816) es1-oa12.             ·                                    ·       ·


                                                -~· p.,_ . ~ \,,._,V.:9~
         ~¥-
          Dl~or
                                                ~ H , Ph.D., MSHCA, CCHP
                                                 Olrec1or (Al, Division of Heallh Cs re Se Mee
                                                 Deputy Olrector, Ststewlde Mental Health
          Dlvl~lon of Adult lnst11Ullone

         At1aohment9

          Dblllbutlon Ust:
            Deputy Olraolor(s), DMslon of Adult lnslltullons
            Associate Directors, DM,lon or Adull lnslttutlons
            Auoclate Dlredtors, Statewld& Mental Health Program ·
            ReglQMI Chief$ of Menial Health
            Hee·~hca~ Execullve Regionals
            Wardens
            Chiola of Mentel Health
            Chief Executive Officers
            Cleestncatlon.StaffRepresentatlv~e
            Claeotncatlon and Parole Represenll!tlves
            Correctional Coun11GIOts Ill, ReoepUon Centers
            Clilef, iraneportaUon Unit
            Chief, Claumoauon Services Unit
            Chief P&ychok>glst, Ctlnlcal Polley and, Progl'am Deve1opmen1, DCHCS

            cc: Judy Burleson
                Vincent s:cuilen




                                                                                                 APPENDIX PG. - 167
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    Reserving a Bed in SOMS                                                                                Page 2 of6

                                                                                                     · Attachment B


       Reserving a Bed in SOMS
       SOMS allows you to reserve a bed for an offender. This procedure Is done rarely, typfcally prior to a transfer
       and only for inmates wifh special needs.

            If you reserve a bed for an offender, the reserved bed appears on the Bed Assignment and Bad Batch
            Requast screens when a request is made for the offender.



           To reserve a bed:




   http://somstmining/SOMS_ WebHelp/Content/Movement/03_ internal/tasks/Reserving_a_B... lOn/201 S

                                                                                                              APPENDIX PG. - 168
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    Reserving a Bed in SOMS                                                                               Page 4 of6



                   1. Navigate to Support> Correctional Faclllty lnfonnstlon > Bed Search W~hln
                       Institution.
                       The B•d Searoh Within Institution screen appeara.
                       QSOMS




                       ____             ,,_

                         --
                      '...:=...'""=:::.
                       ...,i
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                                   ..... ·;;
                        :::::-::--..:;·{   '




                   2. From the Institution Name 11st, select the institution name.
                      Or
                      From the Institution ID 11st, select the lnstHutfon Identifier.

                              You can also lype an lnstltullon name or ID In the appropriate box.


                   3, Click the arrow . . to proceed to the next step.
                      Additional search boxes appear on the Bad Sea,r;h Within lnstflutfon screen.
                   4. From the Bed Status list, select Vscanl.
                   5, (Optional) Complete additional fields on this screen to narrow the search.


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   http://somstraining/SOMS_ WebHelp/Content/Movement/03 jntemsl/tasks/Reserving__a_B... I on/2015

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    Reserving a Be<! in SOMS                                                                                                                       Page 5 of6



                       6. Click Search.
                                 The Matching Boos in Institution screen appear, wilh the results of your search.




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                                            You can view details of each of the beds that matched your search by clicking
                                           ·the link In the Arna/Bed ID column. On that detail page, you can till the bed or
                                            see Hs history.


             2. Click the link In the Area/Bed ID column for the bed you want to reserve.
                SOMS displays details about· the selected bed on the Bed Descrip/J~n screen.
             3. Click Prepar.. lo Add.



                 ........ ;.,ii.,i'
                                                    -·- - ----
                The Bed Reservation scraen appears with fields for the bed reservation.
                 ---·                          .. _____ ,._
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                                                                                                                     .... -.•.mn.~·ae;




             4, In the CDC# box, type the offender's CDC number.

             5. Click the arrow                 +       lo load the offender information.

                        lfthere are conflicts between the offender characteristics and the room ➔ uch as an
                        Inappropriate seculily level or ADA status-SOMS displays the Inmate Conflicts screen
                        in a pop-up window. You can click Retry to return lo the bed reservation screen to
                        reserve the room for another offender, or you can click Override to acknowledge the
                        conflicts end proceed with the reservation.

             6. In the Reserved by Staff box, type or select the name of the staff person reserving the bed for
                the offender.
             7. In Iha Assignment Reason box, type or select the reason for the bed assignment




   http://somstraining/SOMS_ WebHelp/Content/MovemonV03 _inlemal/task9/Reserving_a._B... I0/7/l.O 15

                                                                                                                                                      APPENDIX PG. - 170
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    Reserving a Bed in SOMS                                                                              Page.6of6




             . 8. In the Expiration Dale box, enter a date the reservation expires.
              9. In the As of Date box, enter the current date.
             10. (Optional) In the Bed Assignment Comments box, type comments about the bed reservation.
            11. Click Add to •ave the bed reservation.

                      If you select a bed that.has a lower custody or security level than the inmate you want to
                      assign to the bed, SOMS generates a Mismatch error and gives you a choice to Retry
                      or Override. Retry for a bed with the appropriate cu•tody level or click Override to
                      assign the bed. An Override requires a comment.


          Concept Information
            About Individual Bed Moves and qed Exchanges
          Related Tasks
            Aaslgnlng a Bed Wllhout Using a Balch
            Exchanging Beds Belween Inmates·
            FWlng a Vacant Bed
            Viewing an Offander'S Bed Aaalgnment
            Viewing Available Beds
          Related Business Process
            About the Bed Request Process




                                                                                                                          I
            The Bed Reservation Process




   http://somstraining/SOMS_WebHelp/Content/Movement/03_internal/tasks/Reserving_a_B,.. IOn/20 l 5

                                                                                                            APPENDIX PG. - 171
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    Assigning a Bed Without Using a Batch                                                                 Page 2 of4

                                                                                                       At taclment C


      Assigning a Bed Without Using a Batch
       You can assign an offender to a bed without going through the bed request batch process.

       Before You Begin
      To assign a bed wtthout using the bed request batch process, yau muS1 first retrieve the information for the
      offender you are assigning lo a bed.



           To assign a bed without using the bed request batch process:
              1. N9\llgate lo Prison> Population Tracking (Internal)> Bad Assignments.
                 The Bed Assignment screen appears.
              2, Click Prepare to Add..
                 The seccnd page of the Bad Assignment screen appears and displays a note to choose one of
                 the bed assignment methods.


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   http://somstraining/SOMS_WebHelp/Contenl/Movement/03_internaVtasks/Assigning_an_... 1 12015             on
                                                                                                             APPENDIX PG. - 172
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    Assigning a Bed Without Using a Batch                                                                         Page 3 of 4




              3. In the New Bad Assignment area, select Iha destination bed by using one of the three choices:
                 Click Bed(sJ Reserved/Held for Inmate and select the bed that has been reserved for the
                 offender by the Population ManagemenVDeslgnee.

                         The Area/CelVBed # list will be blank if the PopuJafion ManagemenVDeslgnee has not
                         reserved a bed for Iha offender,

                Or
                Click Vacant Beds lhal match Inmate to choose a Facility/Housing Area and an
                Area/CelVBed #.
                Or
                Click the last option and in the Housing Area list select the destination housing area, and In
                the Vacant Call/Bed# list, select an available cell and bed.

                        If the bed you chose conflicts with the offender characteristics, SOMS presents a
                        warning and gives you the option to ret,y or to ovanida the warning. If you click Reily,
                        you can select an appropriate bed using lhe sama Instructions In this slep. If the new
                        bed has no conflicts, you may proceed to the next slap.
                        If you click Override, SOMS warns that you must enter comments for your decision to
                        ovenide the conflict, and you may proceed to the next step.

             ~- Click Click to Proceed.
                The second page of the Bed Assignment screen appears and displays a nole to choose one of
                the bed esslgnmenl methods .
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                     ......         .........


            5. In Jhe Assignment Date box, enter the date the offender was transferred.
            6. In the Time box, enter the time of the transfer.
            7. In the Assignment Reason list select a reason you are assigning the offender this bed.
            8. In the Approved by Staff list, select your name or the name of the person approving the bed
               assignment.
            9. In the Status box, select Moved.

                      You can Instead enter a different status, such as Requested If another staff member
                      must manually approve the bed assignment or notify Control that the offender has been
                      received in the housing area.•




   http://somstmining/SOMS_WebHelp/Content/Movement/03_internal/tasks/A.signing_an_... I0/7/2015

                                                                                                                     APPENDIX PG. - 173
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    Assigning a Bed Without Using a Batch                                                                  Page 4 of 4



               10. In the As of Date box, enter the same date es 1he bed assignment date you entered in Step 5.
               11. In the Time box, enter the time of the transfer.
               12. In the Comments box, type comments about the bad assignment.

                         If you chose to override any confficts that SOMS presented earlier, enter the reasons
                         here.

               13. Clk::k Add to save the bed assignment in SOMS.


     Concept Information
        About Individual Bed Moves and Bed Exchanges
     Related Tasl<s
        Exchanging Beds Between Inmates
       FnRng • Vacant Bed
       Reserving e Bed In SOMS
       Viewing an Offonders Bed Assignment
       Vlewtng Avaffable Beds
     Related Business Process
       About the Bed Request Process
       The Bed Reservatfon Process




    http://somstraining/SOMS_WebHelp/Content/Movement/03_internal/tasks/Assigning_an_... I0/7!ZOl 5

                                                                                                                 APPENDIX PG. - 174
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                                                                   APPENDIX PG. - 175
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             MEMORANDUM
             Date            December 12, 2012

             To              Chief Executive Officers
                             Chiefs of Mental Health
             From
                            ✓-~
                            Kathleen Allison, Deputy Director
                             Facility Support, Division of Adult Institutions

                           ~~--(l                        . .11-..,~
                              ll110thyG~'i::o);;sHCA, CCHP, Deputy Director (A)
                           Statewide Mental Health Program, Division of Health Care Services
             Subject     : USE OF OUTPATIENT HOUSING UNITS DIRECTIVE


             This memorandum supersedes the previous Nuse of Outpatient Housing Units" memorandum dated
             May 9, 2012 (attached).

             The California Department of Corrections and Rehabilitation currently has a sufficient number of Mental
             Health Crisis Beds (MHCB). Although inmate-patients may have previously been housed in Outpatient
             Housing Units (OHU) rather than be referred to MHCB due to an insufficient number of MHCBs, ~
             practice is no longer necessary and is not permitted.

             Placement in an OHU is permitted when a crisis assessment is necessary. A physician, psychi.atrlst,
             licensed psychologist, or nurse practitioner may order placement of an inmate-patient into OHU when
             an assessment is clinically warranted. If an inmate-patient is placed in OHU when a clinician is not
             available to do a face-to-face evaluation, such as after hours or on weekends, the Inmate-patient may be
             placed on suicide observation until seen by the clinician. The initial Intake evaluation shall occur and be
             documented within 24 hours and a face-to-face evaluation shall occur at the earliest practicable time
             and within no more than 48 hours of the verbal OHU placement order (MHSDS Program Gulde, 2009, p.
             12-5-30).

             Only when circumstances prevent the clinician from making a clinical decision regarding admission to a
             higher level of care or release from the OHU during the first evaluation (within 24 hours) shall the full
             48-hour evaluation period permitted by the MHSDS Program Guide (2009) be used. At any time, "when
             an Inmate-patient in the OHU is [clinically] determined to require MHCB level of care, including Suicide
             Precaution and/or Watch," he or she shall be immediately referred to a MHCB [Mental Health Services
             Delivery System (MHSDS} Program Guide, 2009, p. 12-10-12). Inmate-patients may not be kept in OHU
             for higher level of care treatment, including MHCB level of care.




             CAt.lFORNtA COARECl"JOHAL                                                                     P.0. Box 947.883
             HEALTH CARE SERVICES                                                                Sacramento, CA94283~0001



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     MEMORANDUM                                                                                        Page 2 of:2

     OHU length of stay shall not exceed 48 hours unless one of the following two conditions is met:

         1.   The Inmate-patient Is referred to the MHCB. Inmate-patients must be transferred ta the MHCB
              within 24 hours of the clinical decision to refer ta MHCB. OHU length of stay shall not exceed
              72 hours far inmate-patients referred ta MHCB. (MHSOS Program Guide, 2009, p. 12-5-30)

        2.    The inmate-patient is awaiting Enhanced Outpatient Program (EOP) level of core placement and
              on "IDTT determines that the Inmate-patient may be at risk if returned to any of the housing
              units oval/able at that Institution while awaiting transfer.• (MHSDS Program Gulde, 2009,
              p. 12-5-31)                                                                    .           .

    Additionally, OHU lengths of stay for EOP inmate-patients meeting Item # 2 of the exceptions above
    shall not exceed 30 days from endorsement. Clinical staff shall ensure the EDP level of care change Is
    Immediately completed upon evaluation and is promptly communicated to the correctional counselor to
    ensure transfer Is Initiated.

    All mental health Inmate-patients housed In OHU for an extended time beyond 72 hours shall receive
    mental health treatment according to the following guidelines:

     Inmates transferring from                                           Shall receive enhanced mental
     malnllne General Population                       .                 health treatment as determined by
     or Correctional Clinical Case                                       a treatment team.
     Management System
     Inlnates transferring from                                          Shall receive Enhanced Outpatient
     Reception Center, mainline, or                                      Treatment in accordance with
     Administrative Services Unit                                        applicable MHSDS Program
     who were at the EDP level of care                                   Guide (2009) requirements.
     upon arrival to the OHU

    If you have questions concerning this memorandum, you may contact Laura Ceballos, Ph.D., Chief,
    Quality Management, Statewide Mental Health Program, at (916) 691-0308 or via email at
    Laura.Ceballos@cdcr.ca.gov.

    Attachment

    cc: Judy Burleson, Associate Director, Program and Clinical Support
           Statewide Mental Health Program, Division of Health Care Services
        Nathan Stanley, Chief, Coleman Compliance
           Statewide Mental Health Program, Division of Health Care Services
        Rick Johnson, Chief, Health care Placement Oversight Program.
           Statewide Mental Health Program, Division of Health Care Services
        Kathleen O'Meara, Ph.D., Northern 1V1ental Health Regional Administrator (A),
           Statewide Mental Health Program, Division of Health Care Services
        Steven Bylund, Ph.D., Central Mental Health Regional Co-Administrator (A},
           Statewide Mental Health Program, Division of Health Care Services
        Elaine Force, Ph.D., Central Mental Health Regional Co-Administrator (A),
           Statewide Mental Health Program, Division of Health care Services
        Richard Kendall, Ph.D., Southern Mental Health Regional Administrator (A),
           Statewide Mental Health Program, Division of Health Care Services

    !JALIFORHfA CORRECTIONAL                                                                    P.O. Box9428B3
    HEALTH CARE SERVICES                                                              Sacramento, CA94:283-000l




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                                                                   APPENDIX PG. - 178
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  VOLUME 12:
                                                            Effective Date:        February 25, 2015
  MENTAL HEAL TH SERVICES
  CHAPTER 6:                                                Revision Date(s):
  SEGREGATED INMATES                                        Supersedes
                                                            Policy:
  12,06.100
  SECURITY HOUSING UNIT
  HOSPITALS/PSYCHIATRIC
                              -
                              DEPARTMENT OF
                        INPATIENT   PROGRAM
                                                    STATE
                                                     CASE
                                                          Attachments:             YesO No('gf
  CONFERENCE - POLICY
                                                            Director
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                                                            Approval:


                  For selected inmate-patients (IPs), a formal clinical case conference shall be
 Policy
                  conducted prior to being discharged from a Department of State Hospitals (DSH)
                  or a California Department of Corrections and Rehabilitation (CDCR) Psychiatric
                  Inpatient Program (PIP). Selected IPs are those who were both:
                      1. Serving a Security Housing Unit (SHU) term, are placed in a SHU AND
                      2. Are one of the following:
                             a) In the Correctional Clinical Case Management System (CCCMS).
                             b) Not a participant in the Mental Health Services Delivery System
                                 prior to admission to the DSH/PIP.
                             c) Placed in a Mental Health Crisis Bed prior to DSH/PIP.

                  If CDCR clinicians believe that the segregated environment has had an impact on
                  the mental health of the IP, that information, as well as tha inmate's housing
                  information, shall be included in the initial referral packet for DSH/PIP
                  placement. This information shall provide the basis for housing and treatment
                  decisions upon discharge from DSHIPIP.

                  To prevent further decompensation in IP's who were placed in inpatient programs
 Purpose
                  while serving SHU terms.

                  To identify appropriate housing that will minimize the risk of decompensation
                  upon discharge rrum DSH/PIP.

                  To be in compliance with this policy:
 Compliance
 Indicators
                    1.   The clinical case conference shall:
                          a. Address the continuity of care.
                          b, Use clinical information to determine appropriate housing.

                    2.   Under no circumstances sr.all an IP who is serving a SHU term and who
                         was admitted to DSH/PIP be discharged from inpatient care to a SHU.

                    3.   The initial referral packet for DSH/PIP placement shall include a statement
                         as to whether the CDCR clinician believes that segregated housing had an
                         impact on the mental health of the IP.

12.06. 100: SHU - OSHIPIP Referral, Discharge and Required Case Conference                                         Page 1 of 1




                                                                                                             APPENDIX PG. - 179
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  VOLUME 12: MENTAL HEALTH SERVICES                                       Effective Date: January 2014
  CHAPTER 5: INPATIENT SERVICES                                           Revision 0ate(s):
  POLICY 12.05.400;
  Intermediate and Acute Hospital Returns - Records Review                Attachments: YesO No[8J


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                                                                          Director
                                                                          Approva:
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   12.05.400          Intermediate and Acute Mental Health Hospital Returns - Records Review


   Policy             To ensure continuity of care between settings, a California Department of
                      Corrections and Rehabilitation (CDCR) mental health clinician shall:

                          1. Within 24 hours of an inmate's return from an intermediate or acute
                             inpatient stay, conduct a mental health evaluation.

                         2. As soon as possible, but not to exceed five working days, review
                            discharge records or make clinician to clinician contact with the treating
                            intermediate or acute facility clinician.

                         3. Document the evaluation. review of discharge documents, and clinician to
                            clinician contact on a CDCR MH-7230-A.


   Compliance            1. Inmates discharged and transferred from an intermediate or acute
   Indicators               inpatient facility receive an evaluation within 24 hours of arrival by a
                            CDCR mental health clinician at the receiving institution or program.
                         2. The receiving CDCR mental health clinician reviews each inmate's
                            intermediate or acute inpatient Pre-Discharge Summary/Discharge
                            Summary health record as soon as possible but not to exceed five
                            working days of the inmate's arrival to ensure continuity of care.
                         3. If additional information is required, the receiving CDCR mental health
                            clinician contacts the intermediate or acute facility treating clinician for
                            clinical information and consultation as soon as possible, but not to
                            exceed five working days of the inmate's arrival.
                         4. The mental health evaluation, clinician to clinician contact, and the review
                            of records are documented on a CDCR MH-7230-A, Interdisciplinary
                            Progress Note - General.
                         5. When contact with the intermediate or acute inpatient facility treating
                            clinician is not successful, the receiving mental health clinician contacts
                            the DSH Coordinator who then contacts the Statewide Mental Health
                            Program for assistance via email at:
                            CDCR DHCS DSH Referral Updates@CDCR


  12.05.400: Intermediate and Acute Hospital Returns- Records Review                                Page 1 of 2




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    Additional        This policy integrates the current practice for completion of the inter-agency
    information       document: Topic Guidelines for Telephonic Contact for Inmate-Patient Transition
                      from DMH to California Department of Corrections and Rehabilitation (also
                      referred to as ·'DMH transition form'J,

                      The "OMH transition form" shall continue to be used as a guideline during the
                      clinician to clinician conversation.

                      The "DMH transition form" does not need to be forwarded to the Statewide
                      Mental Health Program.

   Action             The following action is required for your institution to be in compliance with the
   required           new policy.

                       If your institution .. ,              then ...
                       has a local operating procedure (LOP) amend the current LOP to meet the
                       that is reviewed annually             new policy via an addendum until the
                                                             next LOP revision date.
                       does not have a LOP                   ensure that a LOP is completed
                                                             within 60 days of the release of this
                                                             policy to meet the new policy
                                                             requirements. Ensure the LOP is
                                                             reviewed annually.



   References         Division of Health Care Services. Mental Health Services Delivery System
                      Program Guide (2009 Revision). p. 12-6-15



   Questions         If you have any questions or need any additional information related to this
                     Policy, you may contact the Statewide Mental Health Program via e-mail at:
                     COCR MHPolicyUnit@cdcr.ca.gov




  12.05.400: Intermediate and Acute Hospital Returns - Records Review                          Page 2 of 2




                                                                                             APPENDIX PG. - 182
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                                                                   APPENDIX PG. - 183
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                            HEALTH CARE SERVICES
         MEMORANDUM
         Date:         April 19, 2013

         To:           Chief Executive Officers
                       Chiefs of Mental Health
         From:
                          -~-::", •.1-~=~.\>c,,-c_,\~ <S?.,\.-Q).._,
                       Timothy G. Belavich, PH.D., MSHCA, CCHP, Director (A), Division of Health Care
                       Services and Deputy Director (A), Statewide Mental Health Program
         Subject:      LEVEL OF CARE CHANGES FOR INMATE-PATIENTS RETURNING FROM DEPARTMENT
                       OF STATE HOSPITAL FACILITIES

         The purpose of this memorandum is to provide a headquarters directive on Level of Care (LDC)
         changes for inmate-patients returning from Department of State Hospitals (DSH) facilities.
         Please be advised the following shall be implemented effective immediately and in conjunction
         with the already existing directives contained in the Mental Health Services Delivery System
         Program Guide, 2009 Revision, page 12-6-15, Discharge Procedures, Section 7.

         The LOC evaluation for inmate-patients returning from DSH facilities shall be conducted at the
         time of the initial evaluation, which shall occur within 24 hours of arrival. The LOC change shall
         be documented on the form CDCR 128-MH3 by the evaluating clinician and entered in to the
         Strategic Offender Management System (SOMS) by data entry staff.

         For further information, please contact Laura Ceballos, Ph.D., Chief, Coleman
         Compliance/Quality Management, Statewide Mental Health Program, Division of Health Care
         Services (DHCS), at (916) 691-0308.



   cc:         Judy Burleson, Associate Director, Policy and Clinical Support,
                  Statewide Mental Health Program, DHCS
               Laura Ceballos, Ph.D., Chief, Coleman Compliance/Quality Management,
                  Statewide Mental Health Program, DHCS
               Nathan Stanley, Chief, Field Operations, Statewide Mental Health Program, DHCS
               Jennifer Johnson, Chief, Policy Support, Statewide Mental Health Program, DHCS
               Terri Layton, RRT /RN, Ph.D., Nurse Consultant Program Review,
                  Statewide Mental Health Program, DHCS
               Mental Health Tracking System Designees




         HEALTH CARE SERVICES       I
                                                                                                   APPENDIX PG. - 184
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    VOLUME 12:                                        I
                                                      J Effective Date:       February 25, 2015
    MENTAL HEALTH SERVICES
    CHAPTER 6:                                          Revision Date(s ):
    SEGREGATED INMATES                                ' Supersedes
                                                        Policy:
    PROCEDURE 12.06.100.P1
    SECURITY HOUSING UNIT - DEPARTMENT OF STATE
    HOSPITALS/PSYCHIATRIC INPATIENT PROGRAM CASE
                                                       Attachments:          Yes    D No [8]
    CONFERENCE-REFERRAL
                                                       Director
                                                       Approval:             ~.~.,::._-.:=: ·- :.}?-~--\-:-:,\-.   '. .;, ' f
            Procedure
     1.     California Department of Corrections and Rehabilitation (CDCR) mental health staff identifies
            selected inmate-patients (IPs) upon referral to Department of State Hospitals (DSH)/CDCR
            Psychiatric Inpatient Program (PIP) based upon policy criteria.

     2.     The Interdisciplinary Treatment Team (IDTT) determines if the segregated environment has
            had an impact on the mental health condition of the IP and, if so, the nature of the impact.
            This information is documented on the referral form, Inpatient Mental Health Services (CDCR
            7482) and in a corresponding IDTT progress note.

     3.     CDCR Form 7482, with documentation regarding the impact of segregation on the IP's mental
            health condition, is included in the DSH/PIP referral packet.

    Forms:
    CDCR 7482 Referral: Inpatient Mental Health Services




    12.06. 100.P1: SHU - DSHIPIP Referral                                                                Page 1 of1




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                                                                   APPENDIX PG. - 187
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     VOLUME 12:
                                                               Effective Date:      February B, 2016
     MENTAL HEALTH SERVICES
     CHAPTER 6:                                                Revision Date(s):
     SEGREGATED INMATES                                        Supersedes
                                                                                    NIA
                                                               Policv:
     12.06.801
     SHORT-TERM RESTRICTED HOUSING MENTAL HEALTH               Attachments:         Yes D No [8]
     REQUIREMENTS
                                                               Director
                                                               Approval:            / ,c/··         _,,c7
                                                                                        ·- <~'Cc _,✓.:;,:,,,,_~--

                  Short-Term Restricted Housing (STRH) units have been developed for patients at the
 Policy
                  Correctional Clinical Case Management System (CCCMS) Level of Care (LOG) who
                  require short term restricted housing. The STRH units offer enhanced mental health
                  treatment and additional out-of-cell custody supervised activities for patients at the
                  CCCMS LOG until they can either be released back to general population or transfer to a
                  unit to serve an imposed Security Housing Unit term. The STRH units shall be
                  collaboratively administered between custody and mental health staff.

                  To provide enhanced mental health services and prevent decompensation in patients
 Purpose
                  who were placed in restricted housing programs while awaiting disposition of their rules
                  violation charges.

                  To be in compliance with this policy, the following must occur in the STRH:
 Compliance
 Indicators         1. Mental Health staff shall attend daily morning meetings with custody staff to discuss
                         high risk patients, new arrivals, and any behavior issues or ongoing concerns of
                         individual patients.
                    2.   Mental Health staff shall continue to attend and participate in Interdisciplinary
                         Treatment Teams (IDTTs) and Institutional Classification Committees in accordance
                         with Mental Health Services Delivery System Program Guide (2009 Revision)
                         Administrative Segregation Unit requirements.
                    3.   All patients shall be offered 90 minutes of confidential structured group therapeutic
                         activity weekly.
                    4.   All patients shall be offered a weekly clinical contact with their primary clinician.
                    5.   All patients shall be offered in-cell therapeutic activities, such as self-help materials
                         and/or recreational activities, as determined by the IDTT.
                    6.   Psychiatric Technicians shall provide daily rounds to all patients in the STRH.
                    7.   When indicated, patients shall be offered a psychiatric contact every 90 days.




12.06,801: Short Term Reslricted Housing Mental Health Requirements                                    Page 1 of 2




                                                                                                      APPENDIX PG. - 188
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                   The following action is required for your institution to be in compliance with lhe new
  Action
                   policy.
  Required

                     If your institution has then ...
                     STRH units and .•.
                     has a local operating amend the current LOP to meet the new policy via an
                     procedure (LOP)         addendum within 30 days of lhe effective date valid
                                             until the next LOP revision date.
                     does not have a LOP        ensure that one is completed within 30 days of the
                                                effective date that meets the new policy requirements.
                                                Ensure the LOP is reviewed annually.




 References       Coleman v. Brown (E.D. Cal. Oct. 7, 2008, No.CIV S-90•0520 LKK JFM P)
                  Coleman v. Brown (April 10, 2014, 202:90-cv-00520-LKK- DAD)
                  Coleman v. Brown (August 29,2014 2:90-cv-00520-LKK-DAD)
                  Memorandum, "Creation of Correctional Clinical Case Management System
                  Short Term and Long Term Restricted Housing," dated January 15, 2015


 Questions        If you have any questions or need any additional information related to this policy,
                  you may contact the policy unit via e-mail at: CDCR MHPolicyUnit@cdcr.ca.gov.




12.06.801: Short Term Restricted Housing Mental Health Requirements                              Page2 of 2




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                                                                    APPENDIX PG. - 190
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                       HEALTH CARE SERVICES
      MEMORANDUM
                   2/4/2016
      Ta:         Chief Executive Officers
                  Chiefs of Mental Health
     -------
     From:
                  -------------------------------- .
           ,t::~ . /4,:...,. -,:.."'
                  Katherine Tebrock
                  Deputy Director, Statewide Mental Health Program
                  California Department of Corrections and Rehabilitation
      Subject:    SHORT-TERM AND LONG-TERM RESTRICTED HOUSING POLICIES

     This memorandum announces the release of the Short-Term Restricted Housing (STRH) policy
     (12.06.801) and Long-Term Restricted Housing (LTRH) policy (12.06.B02)(attached).

     Effective immediately, patients placed in the Correctional Case Management System (CCCMS)
     Level of Care (LOC) who require short term restricted housing will housed in STRH units rather
     than Administrative Segregation Units (ASU). Patients at the CCCMS LOC and who are serving a
     Security Housing Unit (SHU) term shall be housed in LTRH units.

     Patients housed in an institution without STRH units shall be placed in an Administrative
     Segregation Unit until transferred to an institution with STRH units, per DAI memo dated January
     15, 2015, Creation of Correctional Clinical Cose Management System Short Term and Long Term
     Restricted Housing (attached).

     STRH and LTRH are being implemented on a staggered schedule and headquarters will notify the
     remaining Institutions when further deployments will occur.

     Institutions with STRH and LTRH units shall update local operating procedures to reflect these
     changes no later than March l, 2016.

    If you have questions or need additional information related to this memorandum, you may
    contact the Mental Health Policy Unit by email: CDCR MHPolicyUnit@cdcr.ca.gov.

    Attachments


    cc: Angela Ponciano
        Laura Ceballos, Ph.D
        Amy Eargle, Ph.D



     HEALTH CARE SERVICES i




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      MEMORANDUM
       Michael Golding, M.D.
       Edward Kaftarian, M.D.
       John Rekart, Ph.D.
       James Vess, Ph.D.
       Jennifer Johnson
       Regional Mental Health Administrators
       Regional Health Care Executives




     HEALTH CARE SERVICES,




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                               15-0115




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  Slate of California                                                    Department of Correction, and Rehabilitation


  Memorandum
  Date        January 15, 2015

 • To         Associate Directors, Division of Adult Institutions
              Wardens
              Chief Executive Officers
              Chiefs of Mental Health
              Classification Staff Representatives
              Classification and Parole Representatives



 Subject:     CREATION OF CORRECTIONAL CLINICAL CASE MANAGEMENT SYSTEM SHORT
              TERM AND LONG TERM RESTRICTED HOUSING

             The purpose of this memorandum is to announce the creation of the Correctional
             Clinical Case Management System-Short Term Restricted Housing (CCCMS-STRH) and
             the    Correctional Clinical Case Manage'T)ent . System-Long Term Restricted
             Housing (CCCMS~LTRH). The Division of Adult lnstttutions, in collaboration with the
             Division 9f Health Care Services, has developed a series of alternative Administrative
             Segregated Units {ASU) and Segregated Housing Units (SHUs) for CCCMS inmates
             requiring s.hort term and long term segregated housing.

             The CCCMS-STRH will offer enhanced treatment and additional out-of-cell actiYities for
             CCCMS inmates until they can be released back to the general population or transferred to.
             an appropriate CCCMS-LTRH for long term segregated housing. The CCCMS-L TRH will
             offer enhanced treatment and additional out-cl-cell aclivllies for CC CMS inmates serving an
             imposed SHU term. Due to the increased out~of-cell activities offered in the CCCMS-STRH
             and CCCMS·LTRH, it ls imperat_ive staff are· vigilant with documenting all programs,
             activities, and services afforded to segregated Inmates on the CDC 114-A, Inmate
             Segregation Record.     It. is expected institutions will audit the CDC 114-A, Inmate
             Segregation Record, on a weekly basis to ensure compliance Witti departmental mandates.

             IMPLEMENTATION OF CCCMS-STRH AND CCCMS-LTRH

             On January 19, 2015,. the CCCMS-STRH and CCCMS·L TRH units will be activated,
             beginning with California Slate Prison, Sacramento (CCCMS--STRH.) and California State
             Prison, Corcoran (CCCMS-LTRH) with the Institution's current CCCMS population. Further
             activations of CCCMS-STRH/LTRH will be on the Institution Activation Schedule (IAS).

             CCCMS-STRH OVERVIEW

             The CCCMS-STRHs will be located within the· Stand-Alone Administrative ~egregation
             Unit {ASU) at California. Slate Prison, Sac;ramento and in Stand-Alone AS Us at future
             designated institutions.




                                                                                                    APPENDIX PG. - 194
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        Chiefs of Mental Health
        Classmcation Staff Representatives
        Classification and Parole Representatives
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        The following institutions will have a CCCMS-STRH Program within their existing ASUs for
        CCCMS inmates undergoing Reception Center (RC) processing and will be activated as
        indicated on the IAS:

        •   California Institution for Men
        •   Deuel Vocational lnstttution
        •   North Kern State Prison
        •   San Quentin State Prison
        •   Wasco State Prison

       The following instilutions will have a CCCMS-STR H Program wilhin their existing AS Us for
       female CCCMS inmates and wlll be activated as indicated on the IAS:

       •    California Institution for Women
       •    Central California Women's Facility

        GCCMS-STRH units wfll offer enhanced out-of-cell activity and weekly structured group
       treatment in addition to existing Program Guide requirements, such as daily Psychiatric
       Technician rounding and weekly clinical contacts. The CCCMS-STRH will be run
       collaboratively between Custody and Mental Health staff. Custody and Mental Health staff
       will participate jointly in morning meetings to discuss high risk inmates, new arrivals, and
       any behavior issues or ongoing concerns of individual inmates. Custody and Mental Health
       staff will also work together in Interdisciplinary- Treatment Team (IDTT) meetings and
       Institutional Classification Committees (ICCs). These collaborative activities enslire strong
       communication wilhin the unit so staff can monitor the inmates' mental health, prevent.
       decompensation by utilizing higher levels of care, and offer a robust mental health program.

       TIME FRAMES FOR TRANSFER TO CCCMS-STRH

       Upon implementation and full activation of the CCCMS-STRH Units in the designated
       institution as Indicated on the IAS, institutions .wilhoul a designated CCCMS-STRH or
       CCCMS-STRH RC Program shall transfer all CCCMS inmates retained by the ICCs to a
       designated CCCMS-STRH within 30 days of ASU placement.. In the event an Inmate is
       included in the CCCMS after ASU ·placement, the time frame will begin the date of the
       Mental Health Chrono, CDCR Form 128 MH-3, indicating the inmate has been placed at the
       CC CMS level of care.

       The sen~ing Institution shall retain responsibility for bringing to completion any pending
       CDC 115, Rules Violation Report, or closure docµmentation resulting in the Inmate's need
       for CCCMS-STRH placement.




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        Classification Staff Representatives
        Classification and Parole Representatives
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        ENHANCED PROGRAMMING FOR NON-RECEPTION CENTER MALE INMATES .

        OUT-OF-CELL ACTIVITIES:

       In an effort to improve the conditions of confinemenl for female and male CCCMS inmates
       placed in segregated housing, !he CCCMS-STRH will offer 20 hours of out-of-cell activmes
       per week. Inmates placed Into a designated CCCMS-STRH will be offered 18.5 hours per
       week of exercise outside of their cell. The exercise program within lhis unit will consist of
       various recreational activities and the ability to utilize exercise equipment, such as exercise
       balls and pull-up bars. In addition., Inmates placed into the CCCMS-STRH will be offered 90
       minutes of confiden!lal structured therapeutic activity.

       IN-CELL AND THERAPEUTIC TREATMENT ACTIVITIES:

        Upon arriva_l in the CCCMS-STRH, inmates will receive their standard properly and
       orientation package. CCCMS inmates will be offered a weekly clinical contact with their
       primary clinlcla·n and dally rounds will be completed by a Psychiatric Technician.
       Additionally, CCCMS inmates will be offered in-cell therapeutic activities, such as self-help
       materials and/or recreational activities, as determined by the IDTT. CCCMS-STRH Inmates
       in Stand-Alone units will be permilted one electrical appliance, such as a radio or television.

       FEMALE INMATES AND RECEPTION CENTER PROGRAMS

       Female CCCMS inmates or CCCMS inmates undergoing RC processing who require short
       term segregated housing will be placed in the ASU al their respective female institution or
       Reception Center. Due lo physical plant limilalions al these locations, CCCMS-STRH
       Female or RC programs will offer 15 hours of out-of-cell activities per week. The exercise
       program within this unit will consist of various recreational activities and exercise equipment.
       The programs will offer 10 hours per week of exercise outside of the cell and 3.5 additional
       hours of recreational activity in a secure treatment module. Th'e additional 3.5 hours Will be
       offered on the dayroom floor of the housing unit or other designated area where the
       physical structure pennlts. In addition, CCCMS female inmates or CCCMS inmates
       undergoing RC processing will be offered 90 minutes of out-of-cell activity consisting of
       confidential structured therapeutic activity.

      Female CCCMS inmates or CCCMS inmates undergoing RC ·processing will also be offered
      daily Psychiatric Technician rounding, weekly clinl_cal contact with their primary clinician and
      in-cell therapeutic activities, such as self-help materials and/or recreational activities, as
      determined by the IDTT. Female CCCMS inmates or CCCMS inmates undergoing RC
      processing may have one electrical appliance where existing physical plant allows. Where
      existing physical plant does not allow, inmates will be offered a radio.




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        Associate Directors, Division of Adult Institutions
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        Chief Executive Officers
        Chiefs of Mental Health
        Classification Staff Representatives
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        CCCMS-lTRH OVERVIEW (MALE AND FEMALE INMATES}

        The CCCMS-LTRH will be located at the following designated institution:

        •   California State Prison, Corcoran
        •   Californra lnstitutfon for Women

        CCCMS-L TRHs will offer enhanced out-of-cell activity, weekly structured group treatment.
        daily rounding, and weekly clinical contacts. The CCCMS-L TRH will be run collaboratively
        between Custody and Mental Health staff. Custody and Mental Health staff will work
        together in IDTT meetings and ICCs. These collaborative activities ensure strong
        communication within the unit so staff can monitor the inmates' mental health, prevent -
        decompensation by utilizing higher levels of care, and offer a robust mental health program.

        ENHANCED PROGRAMMING (OUT-OF-CELL ACTIVITIES)

        In an effort to improve the conditions of confinement for CCCMS Inmates imposed a SHU
        term by an ICC, the CCCMS-LTRH will offer 15 hours_ of out-of-cell activities per week.
        Inmates placed Into a designated CCCMS-L TRH will be offered 10 hours per week of
        exercise outside of their cell and 3.5 additional hours of recreational activity In a secure
        treatment module. The exercise program within this unit will consist of various recreational
        games and exercise equipment. In addition, inmates placed into the CCCMS-LTRH will be
        offered 90 minutes of confidential structured therapeutic activity.

        ENHANCED PROGRAMMING (IN-CELL ACTIVITIES AND DAILY ROUNDS)

       To further enhance the conditions of confinement, the .CCCMS-L TRH will offer in-cell
       therapeutic activities, such as self-help materials. and recreational activities. These in-cell
       activities will be offered as determined by each inmate's IDTT. Additionally, daily rounds will
       be completed by a Psychiatric Technician within the CCCMS-L TRH, and inmates will be
       offered weekly clinical contact with their primary clinician.

       TIME FRAMES FOR TRANSFER TO CCCMS-L TRH

       Upon implementation and full activation of the CCCMS-LTRH Units in the designated
       institution as indicated on the IAS, Institutions without a designated CCCMS-LTRH program
       shall transfer all CCCMS inmates retained by the ICC to a designated CCCMS-LTRH within
       30 days. In the event an Inmate is included in the CCGMS after SHU placement, the time
       frame will begin on the date of Mental Heallh Chrono, CDCR Fonn 126 MH-3, Indicating the
       Inmate has been placed at the CCCMS level of care.




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            Wardens
            Chief Executive Officers
            Chiefs of Mental Health
            Classlncalion Staff Representatives
            Classlficallon and Parole Representatives
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         If you have any questions regarding these alternative SHUs and programs, please contact
         your respective Associate [!!rector or Reglonal Mental Health Administrator.         .
                                                                                '


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                                               ....:::z. -~.._,,:_.,,i.__(2~
                                                 TIMOTHY BElAVICH, Ph.D., MSHCA, CCHP-H
          Director (                             Director (A), Division of Health Care Service and
        . Division of Adult Institutions         Deputy Director, Statewide Me·ntal Health Program

        cc: Kathleen Allison
            Ralph Diaz
            Timothy Virga
            Thoma~ Tyler




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  State or Cafirornfa
                                                                         Departmenl or Corrections and Rehabllllation


  Memorandum
  Date        March 3, 2016

  To
              Associate Directors, Division of Adult Institutions
              Wardens
              Chief Executive Officers
              Chiefs of Mental Health
              Classification Staff Representatives
              Classification and Parole Representatives




 Subject:
             TRANSFER OF CORRECTIONAL CLINICAL CASE MANAGEMENT SYSTEM
             INMATE-PATIENTS TO MALE SHORT TERM RESTRICTED HOUSING UNITS

            The purpose of this memorandum is to provide direction regarding the process for
            transferring inmate-patients (IPs) participating in the Mental Health Services Delivery
            System (MHSDS) at the Correctional Clinical Case Management System (CCCMS)
            level of care (LOC) who meet the criteria for placement into a Short Term Restricted
            Housing (STRH) unit. The STRH unit was created as part of the California
            Department of Corrections and Rehabilitation's (CDCR's) plan to comply with the
            Coleman v. Brown, April 10, 2014, court order.

            CRITERIA FOR STRH PLACEMENT

            Pursuant to existing policy, CDCR has created STRH units designated for housing
            CCCMS IPs who are removed from the general population for disciplinary/safety
            reasons. These units provide additional out-of-cell activities and increased mental
            health treatment.

            TIME FRAMES FOR TRANSFER OF CCCMS IPs TO AN STRH

            Institutions without a designated STRH shall transfer CCCMS IPs retained in
            administrative segregation by the Institution Classification Committee (ICC) lo a
            designated STRH within 30 days of Administrative Segregation Unit (ASU)
            placement. In the event an IP is included in the MHSDS at the CCCMS LOG after
            ASU placement, the time frame will begin on the date of the Mental Health
            Placement Chrono indicating the IP has been designated at the_ CCCMS LOC.

            The Classification and Parole Representative (C&PR) or designee shall contact the
            Population Management Unit (PMU), via email, no later than the next working
            day following the ICC decision for retention. The email notification shall include
            the IP name, CDCR number, and pertinent transfer information impacting placement.




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         Associate Directors, Division of Adult Institutions
         Wardens
         Chief Executive Officers
         Chiefs of Mental Health
         Classification Staff Representatives
         Classification and Parole Representatives
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        The C&PR shall then ensure a bus seat request is submitted for STRH placement
        on the designated day. All seat requests shall include applicable transfer codes
        impacting placement. Upon transfer approval, the C&PR or designee shall document
        the STRH movement prior to transfer by utilizing the non-committee endorsement
        process in the Strategic Offender Management System (SOMS).

        The sending institution shall retain responsibility for bringing to completion any
        pending Rules Violation Report(s) or closure documentation resulting in the IP's need
        for STRH placement.

        IPs NOT TRANSFERRED TO AN STRH WITHIN ALLOTTED TIME FRAME

        In order lo avoid adversely impacting the IP's other custodial or medical needs, there
        may be situations where an IP will not be transferred to an STRH within 30 days.
        Some examples of situations include, but are not limited to, an imminent Board of
        Parole Hearing date, medical hold, scheduled transfer to a mainline placement,
        scheduled court hearing, pending release to parole within 60 days of CCCMS ASU
        placement, and scheduled mental health evaluations for Mentally Disordered
        Offender or Sexually Violent Predator screenings.

        In these instances, the Warden or designee, in coordination with the treating Mental
        Health staff, may elect to temporarily retain the IP in their existing ASU.

        The Warden or deslgnee shall ensure a collaborative approach between Custody
        and Mental Health staff is employed to ensure the wellbeing of IPs housed in
        non-STRH administrative segregation.

        Custody and Mental Health staff shall meet daily, during ASU morning meetings, to
        discuss any ongoing behavioral issues or concerns, and shall participate jointly in
        scheduled Interdisciplinary Treatment Teams and ICCs to ensure Information is
        shared. When retention of an IP that would otherwise meet criteria for placement in
        an STRH will cause transfer timeframe to exceed the 30-day mandate, instituiian
        classification staff shall specify the exceptional reason for retention (including mental
        health considerations) in the Classification Committee Chrono. A case note shall
        be placed in SOMS articulating the case-by-case reason for retention under the
        "STRH Retention Note Type."




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        Associate Directors, Division of Adult Institutions
        Wardens
        Chief Executive Officers
        Chiefs of Mental Health
        Classification Staff Representatives
        Classification and Parole Representatives
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        If you have any questions, please contact Trent Allen, Captain, Mental Health
        Compliance Team, Division of Adult Institutions, at (916) 324-7956 or
        DAI-MHCompliance@cdcr.ca.gov, or Angella DeBusk, Correctional Counselor ill,
        PMU, at (916) 445-0373, or Rosa Estrada, Correctional Counselor Ill, PMU, at (916)
        327-4818.



        ~·~--4,---~                                     ,J ~
        KATHERINE TEBROCK                              ~THLEEN ALLISON
        Deputy Director                                 Deputy Director
        Statewide Mental Health Program                 Facility Support
        Division of Health Care Services                Division of Adult Institutions

        cc:   Kelly Harrington
              Ralph M. Diaz
              Vincent S. Cullen
              Amy Eargle
              Laura Ceballos
              Mic;hael Golding
              James Robertson
              Dennis Halverson
              Robert L. Davis
              Angella DeBusk
              Rosa Estrada




                                                                                         APPENDIX PG. - 202
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  Subject:                         FW: Transfer of CCCMS Inmate-Patients to Male STRH Units
  Attachments:                     TRANSFER OF CORRECTIONAL CLINICAL CASE MANAGEMENT SYSTEM INMATE-
                                   PATIENTS TO MALE SHORT TERM RESTRICTED HOUSING UN!TS.pdf




  From: Andersson, Dyann@CDCR
 Sent: Thursday, March 03, 2016 4:38 PM
 To: CDCR Institutions DAI Associate Directors; CDCR Institutions Wardens; CDCR CQ-ICS CEOs; CDCR DL·DCHCS-Chiefs
 of Mental Health; CDCR Institutions DAI CSU CSRs & In-House CC Ills; CDCR Institutions DAI CSU C and PRs
 Cc: Allison, Kathleen@CDCR; Tebrock, Katherine@CDCR; Harrington, Kelly@CDCR; Diaz, Ralph M.®CDCR; Cullen,
 Vlncent@CDCR; Eargle, Amy@CDCR; Ceballos, Laura@CDCR; Golding, Michael@CDCR; Robertson, James@COCR;
 Halverson, Dennis@CDCR; DeBusk, Angella@CDCR; Estrada, Rosa@CDCR; Allen, Trent G@CDCR
 Subject: Transfer of CCCMS Inmate-Patients to Male STRH Units

 On behalf of:


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 If you have any questions, please refer to memorandum for contact information.

Kindest regards,

 Dyann Andersson
Executive Assistant to the
Deputy Director, Facility Support
Division of Adult Institutions
California Department of Corrections and Rehabilitation
{916) 445-7688
(916) 327-2877 Fax
dyann.andersson@cdcr.ca.gov




                                                                                                     APPENDIX PG. - 203
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                                                                   APPENDIX PG. - 204
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                        HEALTH CARE SERVICES
        MEMORANDUM
         Date:
        To:         Chief Executive Officers
                    Chiefs of Mental Health
                    Chief Nurse Executives
        From:
                    /2'--'C-c- ·/-,/4.,,,~
                    KATHERINE TEBROCK, ESQ.
                    Deputy Director
                    Statewide Mental Health Program

                     (¼ ,t,C,,/d£--
                    cHE~HuTT,RN,asN
                    Statewide Chief Nurse Executive
                    Nursing Services
                                                 ··-··········· ···-·············· . - ······----
        Subject:    RELEASE OF NEW MENTAL HEALTH POST•PlACEMENT SCREENING FORM FOR
                    ADMINISTRATIVE SEGREGATION UNITS

      This memorandum informs staff of the new post-placement Administrative Segregation Unit
      Screening Questionnaire (CDCR MH•7709) [Attached) released on May 19, 2016. This form shall
      be used in Administrative Segregation Units (ASUs) and replaces the former Mental Health
      Screening form [commonly referred to as the "31·Item") in ASU settings only. The 31-ltem form
      shall continue to be used in Reception Centers. Implementation of the CDCR MH·7709 shall occur
      no later than June 10, 2016.

      Administration requirements of the form are unchanged. Post-placement screening shall be
      administered to all non-Mental Health System Delivery Services patients within 72 hours of
      placement in ASU. Nursing staff shall administer the screen in a confidential setting. Refusals of
      the screening result in Mental Health Referrals on an Urgent basis.

      Although the form contains scoring rules, professional judgment should be used when
      performing the screen. If the individual performing the screen believes a referral is needed
      despite negative answers, a referral should be sent to Mental Health.


      If you have any questions, or require additional information related to this memorandum, you
      may contact Robert Horon, Ph.D., Senior Psychologist, Specialist, Clinical Support, Statewide
      Mental Health Program, Division of Health Care Services, via email: Robert.Horon@cdcr.ca.gov.


      ---------~------------··· ·······---·· •... -- . ··············---
      HEALTH CARE SERVICES      I                                                           P.O. 00)(588500
                                                                                        Elk Grove, CA 95758




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       MEMORANDUM                                                                  Page 2 of 2


       Attachments

       cc: Angela Ponciano
           Amy Eargle, Ph.D.
           Laura Ceballos, Ph.D.
           Robert Horon, Ph.D.
           Amber Carda, Ph.D.
           Michael Golding, M.D.
           Edward Kaftarian, M.D.
           John Rekart, Ph.D.
           James Vess, Ph.D.
           Marcie Flores
           Jennifer Johnson
           Regio!lal Mental Health Administrators
           Regional Health Care Executives
           Regional Nurse Executives




                                                                              P .o. Box 5B8500
                                                                           Elk Gro\le, CA 95758




                                                                     - -          APPENDIX PG. - 206
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   STATE OF CAI.IFORNI.'.                                               -   •                                            DEPARTMENT OF CORRECTIOHSANO RE~LITATION
   ADMINISTRATIVE SEGREGATION UNIT
   SCREENING QUESTIONNAIRE                                                                                                                         Form: P e 1 of 2
   CDCR MH-7709 (04/16)                                                                                                                          lnstructlo:1::•                 3

   The followlng six questions ask about how you have been feeling. For each question tell me ff you have felt this way                                                          of
   the time. A LITTLE of the time, l,QMJ;_ of the time, MQSI of the lime, or AU. of the time.                                                                           t:

   In the past 30 days about how often did you feel...                                          None        A Litoe         Some            Most                            II
                                                                                                                                                                        ;
   1, .... nervous?                                                                                o                           2             3
  2. .. .. hopeless?                                                                               O           1               2             3                          j4
  3. ....restless or fidgety?                                                                      0                           2             3
  4. .... so depressed that nothing could cheer you up?                                            0           1               2             3
  5. .... that everything was an effort?                                                           0           1               2             3
  6. ....worthless?                                                                                0                          2              3



  In the past 30 days :                                                                                                             Yes                  No
 7. ....have you wished you were dead or wished you could go to sleep and not wake up?
                                                                                                                                    □                    □ j
                                                                                                                                                                   l
 8. .... have you actually had any thoughts of kllllng yourself?
                                                                                                                                    □                    □
                                                                     If NO to Question 8, SKIP lo Question 12                                                      I

                                                                                                                                                               I
 9. ... have you been thinking about how you might do this?
                                                                                                                                    □                    □
 10.... have you had these thoughts and had some Intention of acting on them?
                                                                                                                                    □                    □ ,,
 11a ....have you started to work out or have you worked out the details of how to kill yourself?
                                                                                                                                    □                    □
 11b. Do you intend to carry out this plan?
                                                                                                                                    D                    D
 12....lf'YES", have you ever done anything, started to do anything, or prepared to do anything                                                                    :1
 based on your Intent to die? (For example collected pills or razor blades, made a noose, given
 things away, or written a goodbye or suicide note.)                                                                                D                    D
            If 'YES,' ask: How long ago did you do any of these things?
                  D More than a year ago?
                  D Between three months and one year ago?
                  D Within the past 3 months?
13. lf"YES,' ask: How many times have you done any orthese things?                            D Once           D Twice or more
   Comments - Include, ff the Inmate refuses this screen, that a referral was made to Mental Health on an Urgent basis.




                Cllnlcian Name/Title (Print)                                           Cllnlclan Signature                                 Datemme
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eUHR Scanning Location: Outpatient; MHChrono/Misc-Chronos/Screenlng; Other
EHRS Location: Mentel Heallh Documentation • ASU Screening Questionnaire
                                                                                                                                                              :,
                                                                                                                                                              I
                                                                                                                                          APPENDIX PG. · 207
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 STA.TE OF CALIFoRNIA.                                                                        OEPARTMENT OF CORRECTIONS ANO REjLITAT!ON
 ADMINISTRATIVE SEGREGATION UNIT
 SCREENING QUESTIONNAIRE                                                                                               Form:              e2of 2
 COCR MH-7709 (04/16)                                                                                               ln1fructlo            Page 3

                                                              Scoring Rules

- If the total score for questions 1 thru 6 Is:
       ·6 to 12 points make a ROUTINE REFERRAL
                                                                                                                                      '
       ·13 to 17 Points make an URGENT REFERRAL
       ·18 or more make an EMERGENT REFERRAL
                                                                                                                                  j
• If Item 7 Is YES make a ROUTINE REFERRAL
                                                                                                                                  I
• If Item 8 or 9 is YES make an URGENT REFERRAL                                                                                   I
• If Uem 10 or 11a Is YES make an EMERGENT REFERRAL
- If item 11a Is More than a year ago make a ROUTINE REFERRAL
- If ~em 11b is Between three months and one year ago make an URGENT REFERRAL
• If Item 12 ls Within the past 3 months make an EMERGENT REFERRAL
- If Item 13 ls Twice or more make an URGENT REFERRAL
                                                                                                                                 lfl
                                                                                                                                 ,I

If the patient refuses, note in the Comments section and refer to Mental Health on an Urgent basis.                               I
                                                                                                                                  !
                                                                                                                                 .1
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                                                                                                                                  ;




                                                                                                                                 I
                                                                                                                                 j
                                                                                                                                 j
                                                                                                                                 :I




                                                                                                                                  I

                         Administrative Segregation Unit                             CDCR#:                                      :j
                           Screening Questionnaire                                   Last Name:                        Ml:       :i
                            CDCR MH-7709 (04/16)
                                                                                     First Name:                                 Ii
                             Confidential PaUent lnformaUon                          DOB:
                                                                                                                                 !I
Distribution of Coples: Health Records
eUHR Scanning Location: Outpatient; MHChrono/Mlsc-Chronos/Screening; Other
EHRS Location: Mental Health Documentation -ASU Screening Questionnaire




                                                                                                              APPENDIX PG. - 208
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 STATE OF CAUFORN1A
 ADMINISTRATIVE SEGREGATION UNIT
 SCREENING QUESTIONNAIRE
 CDCR MH-TT09 (04/16)

                                                          Instructions
                                                                                          -·----t                              ,,
                                                                                                                               j
                                                                                                                               ''
Purpose of the CDCR MH-7709 (04/16) Administrative Segregation Unit Screening QuesUonnalre: This form Is usfd
to screen non-MHSDS inmates for elevated distress and suicidal thoughts or behavior. It is administered within the first f2
hours of placement Into Administrative Segregation. The questionnaire should be administered In a confidential setting 111 I
affords confidentiality of sight and sound from other inmates, and confidentiality of sound from staff, It can be administer. d
by a mental health clinician or nursing staff.                                                                               '

Complete the form as follows:

1. Ask ONLY non-MHSDS Inmates
2. Ask all questions Just as they are written.
3. All questions (except 12 & 13) apply to the fast 30 days.
4. Score questions 1-6 by totaling the numbers in the boxes (scoring rules provided on the second page of the form).
5. Questions 7-12 ere YES/NO questions.
6. Use the scoring rules to determine the need for and tlmeframa for referral for further evaluation.                          ,.
7. If the Inmate refuses, note In the Comments seciion and refer lo Mental Health on an Urgent basis.                          :j
6. If you believe a referral Is needed despite negative answers, send a referral to Mental Health.

Scoring Rules
• If the tote! score for questions 1 lhru 6 Is:
     • B lo 12 points make a ROUTINE REFERRAL
     • 13 to 17 points make an URGENT REFERRAL
     • 18 or more make an EMERGENT REFERRAL
• If Item 7 is YES make a ROUTINE REFERRAL
• If Item 8 or 9 Is YES make an URGENT "REFERRAL
- lfttem 10 or 11a Is YES make an EMERGENT REFERRAL
- If Item 11a is More than a year ago make a ROUTINE REFERRAL
• If Item 11 b Is Between three months and one year ago make an URGENT REFERRAL
• If Hem 12 Is Within the pest 3 months make an EMERGENT REFERRAL
- lfltem 13 ls Twice or more make an URGENT REFERRAL

Effective Communication: The Effective Communication section must be completed anytime there is a cllnlcallyre1evant-.•!
                                                                                                                               l
encounter In which meaningful information is exchanged between the licensed clinician and the inmate-patient. For further 'I
information and examples of some encounters In which effective communication Is required, see IMSP&P, Volume 2, Ch. :1
~                                                                                                                              i1

  1. Qlsabl!ll~;                          2. Accommodation:                            3. Effective Communicati2a:
  a. Check all boxes that apply a. Check all boxes that apply to the                   a. Check all boxes that apply that
  regarding      the    inmate-patient's special accommodations made to                summarize how it was verified that
 disabillty.                             facilitate effecUve communicaUon:             effective     communication   was
  Disability Codes:                      Additional time - Patient was given           reached.
 TABE score s 4.0                        additional time to respond or complete a      Patient asked guestions - The
 DPH - Permanent Hearing Impaired        task.                                         patient asked questions regarding
 DPV - Permanent Vision Impaired          Equipment - Special equipment was            the interaction.
 LD - Leaming Disability                 used         to     facilitate  effective     Pa11ent summed !nformaUon - The
 ~ - Permanent Speech Impaired           communication.        Note the type of        patient summarized information
 DNH - Permanent Hearing Impaired; equipment used In the comments                      regarding the Interaction.
 improved with hearing aids.             section.                                      b. Check one box to indicate ff
 Qfili_ - Permanent Speech Impaired; ~ - Sign Language interpreter.                    effective communication was or
 can communicate in writing.             Louder- The provider spoke louder.            was not reached. ONE of these
 DDP - Developmental Disability Slower- The provider spoke slower.                     boxes must be checked.
 Program
 !::YA - Not appficable
                                         lrui£
                                         language.
                                                   -   The provider used basic

                                         Transcribe -Communication was written
                                         down.
                                         Other -Any other tool that was used to
                                         fachitate effective communlcaUon.
 4. Comments:
 Provide anv additional information raaardlna effective communication.
                                                                                                                           I


                                                                                                              APPENDIX PG. - 209
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 Sta!o of Callfom!e                                                             Department of Correct!ono and Rehabllilafion



 Memorandum
 Dale        February 25, 2015

 To          Asso.,iate Directors, Divixlon of Adult Institutions
             Warden• - Institutions with ASU BOP Hub or PSU
             ChiefBicecutive Officers-Tn.1tltutioi1s with ASU BOP Hub or PSU
             Regional Directors, Mental Health



 subJ•ct    REVlEW OF REFUSAL TO ATTEND MENTAL HEALTH TREATMENT BY
            ADMINISTRATIVlt SEGREGATION UNIT ENHANCED OUTPATIENT PROGRAM
            IruD AND PSYCiilATlUC SERVICES UNIT INMATES               .

            Pl'Ogrem access in Enhanced Outpatient Ptogram (BOP) Administrative Segregation
            U11it (ASU) Hubs and the P~ychiatrio Servlces Unit (PSU) Is -Important to. the safety snd
            tnental health of BOP !runates. Theref<>re, if an EOP inmate :repeatedly refuses to attend
            offered scheduled mental health treatment sessions, including groups 1111d individually
            scheduled sessions, It is incumbent 1:>n staff to take steps to identify why the inmaw is not
            willing to attend such treattnent, 1111d to work toward remedying 1he problem, as described
            below.

            Within one week of 1he identiflcation of 11.ll iiunatr:, who has refused more than 50 percent of
           structured therapeutic treatment hours offered and attended an average of fess than five hours .
           per week of offuxed structured treatment hoili:B in a. two month period, lnterdiscipliruuy
           Treatment Team (IDTI), cllnical staff, or other custody staff must work togotber to determine
           the' reason far \rea.llllent refusal, For inmates on II modified treatment program, attendenae
           ot 50 percent or less of the reguired treatlnent hoUIS specified in the modified
           treatment pl1111 shall trigger the review. .The Correctional Lieutenant responsible for the
           ASU EOP Hub or PSU and the primacy clinician shall work collabo_ratively to eval11ate the
           ciroun!lltaoces underlying the iomate'II refu~al lo attend offeted sch.eduled treatment sessions.

           In ordl;II' to evaluate the cirownslltnces of ihe inmate's refusal to attend offered scheduled
           mental health l!~ent sessio:ilS, the Correctional Lieutenant and the primary clinician shall
            review the CDC Form 114-A, Inmate 81:lgregatlon Record, to determine If tho inmnte Jg
           refusing other servioes and programs including, b11t not limited to, showers, yard, medical,
            visiting, etc. Additionally, cll8tod)' and inental health staff shall jointly intetview both the
           inmate and staff assigned to the unit to better UJ)dai11tand causal factorit that ruay be impttcting
           the inmate's refusal to attend offered treattnent. Mental health lllllff sliall complete a revlow of
           the central file and health reoo(d to detem1ine whether there are relevant facts that niay infonn
           M to the cause of the inmate's rofusnl. If a speaific oause for the inmate's refusal can be
           identifiod flnd can be reasonably resolved, custody and mental hoaltil staff shall work togetbor
           with the inmare 1o attempt to re.~olve suoh issues. Indication that tho· review was compl51ed
           shall be documented on CDC Fotm 128-B, GmJeral Chrono. Details regarding findings from.
           the roview shall be documented on Form MH-7230, Mental .      . Health 1'1ugress Note.




                                                                                                             APPENDIX PG. - 211
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         Associate Dir.ootors, Division of Ach!lt Jnstituttone
       · Wardens - Jnstitutiollll wlth ASU BOP Hub or PSU
         Cb!efEx:ecutive Officel's - Inslitutiona with ASU BOP.Hub or PSU
         Regioilal Directors, Mental Health
        Pnge2



       If the Inmate identifies barriers refuted to seourity policies as a cause for his or her refusal to
        attend treatlDent, custody and m6nui.l healfl1 staff shall Jointly document !heir findings on a
       CDC Form 128-B, General Chrono, and submit the completed form to both the Chlt>fDeputy
       Warden and the Chief of Mental Health. The Chief Deputy Warden and the Chlef of MllJllal
       Health shaU confm- and consider varlous methods to encourage the inmate to attend lrelllmen~
       including viable alternatives to the identified. seourity polkies that do not jeopardize the
       security of the unit or !he safety of stafl' or inmates, Should tho Chief of Mental Health and Ute
       Chief Deputy Watden disagree. on the proper resolution of the matter, the issue shall
       be elevated to the Warden and the· Chief Executive Officer (CEO) for their review and
       resolution.

       Within 30 days of the date of this memol'ltndum, Wardens, Chieflr of Mental Health, and
       CEOs at each institution with an ASU EOP Hub or PSU shall develop a jointly signed local ·
       aperllfing procedqre consisJe.nt with !hit directive, W11rdcns and CBOs shall llhio ensur~ thoir
       maoagel'B lll!.d supervi~ors are provided on-the-job training regarding this <lireolive. Mental
       Health Program clinlclans are required to complete 811 additional training sei;slon offered by
       the Statewide·Mental Health Program.

       If yon have any questions or -00ncoms, please contact your respective Aiisoclare Dirootor or
       Mental Healtl) Regional Administrntor,




                          GTON                  TIMOTIIYBELAVICH, Ph.D., MSHCA, CC.HP-MH
       Direct r (A)                           · Director (A), Division ofHcalth Cille Service.~
       Division ofAdult Iostltuti.orui          Deputy Director, Sta!ewide M<lDtal Health Progllllll

       cc: Kathleen Allison
           Ralph Diaz
           Tim Virga
           Amy Eargle
           Laura Ceballos




                                                                                                   APPENDIX PG. - 212
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                                                                  . APPENDIX PG. - 213
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     VOLUME 12;
                                                               Effective Date:      February B, 2016
     MENTAL HEALTH SERVICES
     CHAPTER 6:                                               Revision Date(s):
     SEGREGATED INMATES                                       Supersedes
                                                                                    N/A
                                                              Policy:
     12.06.802
     LONG TERM RESTRICTED HOUSING MENTAL HEALTH               Attachments:          Yes   D No [8J
     REQUIREMENTS
                                                              Director                                 _,
                                                              Approval:             ,/-~_ c. .,.-(~/..._. .c:,.----.-<...

                  Patients at the Correctional Case Management System (CCCMS) level of care and who
 Policy
                  are serving a Security Housing Unit (SHU) term shall be housed in Long-Term Restricted
                  Housing (LTRH) units. The LTRH units shall offer enhanced mental health treatment and
                  additional out-of-cell custody supervised activities. The LTRH units shall be
                  collaboratively administered between custody and mental health staff.

                  To provide enhanced mental health services and prevent decompensation of patient's
 Purpose
                  requiring long-term restricted housing while serving SHU terms.

                  To be in compliance with this policy, the following must occur in the LTRH:
 Compliance
 Indicators         1. Mental Health staff shall continue to attend and participate in Interdisciplinary
                         Treatment Teams (IDTTs) and Institutional Classification Committees in accordance
                         with Mental Health Services Delivery System Program Guide (2009 Revision)
                         requirements.
                    2.   All patients shall be offered 90 minutes of confidential structured group therapeutic
                         activity weekly.
                    3.   All patients shall be offered a weekly clinical contact with their primary clinician.
                    4.   All patients shall be offered in-cell therapeutic activities per week, such as self-help
                         materials and/or recreational activities, as determined by the IDTT.
                    5.   Psychiatric Technicians shall provide daily rounds to all patients in the LTRH.
                    6.   When indicated, patients shall be offered a psychiatric contact every 90 days.

                  The following action is required for your institution to be in compliance with the new
 Action
                  policy.
 Required

                           tf your institution has L TRH units       then ...
                           and ...
                           has a local operating procedure           amend the current LOP to meet the
                           (LOP)                                     new policy via an addendum within
                                                                     30 days of the effective date valid
                                                                     until the next LOP revision date.
                           does not have a LOP                       ensure that one is completed within
                                                                     30 days of the effective date that
                                                                     meets the new policy requirements.
                                                                     Ensure the LOP is reviewed
                                                                     annually.



12.06.802: Long Tenn Restricted Housing Mental Health Requirements                                          Page 1 of 2




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                  Coleman v. Brown (E.D. Cal. Oct. 7, 2008, No.CIV S-90-0520 LKK JFM P)
  References      Coleman v. Brown (April 10, 2014, 202:90-cv-00520-LKK- DAD)
                  Coleman v. Brown (August 29,2014 2:90-cv-00520-LKK-DAD)
                  Memorandum, "Creation of Correctional Clinical Case Management System
                  Short Term and Long Term Restricted Housing," dated January 15, 2015


 Questions        If you have any questions or need any additional information related to this policy,
                  you may contact the policy unit via e-mail at: CDCR MHPolicyUnit@cdcr.ca.gov.




12.06.802: Long Term Restricted Housing Mental Heallh Requirements                          Page 2 of 2




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    VOLUME 12:
    MENTAL HEALTH SERVICES                                               Effective Date:         February 25, 2015
    CHAPTER 6:                                                          Revision Date(s):
    SEGREGATED lr~MATES                                                 Supersedes
                                                                        Policv:
   PROCEDURE 12.06.100.P2
   SECURITY HOUSING UNIT              -
                              DEPARTMENT OF STATE
   HOSPITALS/PSYCHIATRIC INPATIENT PROGRAM CASE Attachments:                                     YesONoO
   CONFERENCE • DISCHARGE
                                                                                                                        .·-,
                                                  Director
                                                  Approval:                                       . . --- --~:--~'-t<~~-7 ·-. --
              Procedure
   1.         Notifications
              At least 21 calendar days prior to an inmate-patient's (IP's) discharge from a Department of
              State Hospitals (DSH)ICDCR Psychiatric Inpatient Program (PIP), the following will occur:
                      The DSH Patient Management Unit (PMU) or PIP program will:
                             •   Notify the Classification and Parole Representative (C&PR) at the institution
                                 where the IP is housed.
                             •   Notify the Utilization Management (UM) unit at the Mental Health Program
                                 headquarters of the Impending discharge.
                             •   Complete a CDCR 128-MH3 Mental Health Discharge Chrono and forward to
                                 the assigned Correctional Counselor.
   2.        Institutional Classification Committee
             Prior to the Institutional Classification Committee (ICC) meeting, correctional counseling staff
             and a clinical representative of the DSH or CDCR PIP treatment team will work together to
             make a recommendation to the ICC regarding appropriate housing. The treatment team
             representative will provide information regarding the level of mental health care at discharge if
             placement in segregated housing was related to the reason for admission, and if there is a
             substantial risk of decompensation in segregated/restricted housing. The review will be
             documented on a CDCR Form 128-B. 1


             The C&PR will:
                 1. Determine the status of the IP's Security Housing Unit (SHU) term.
                 2. Ensure an ICC is scheduled within seven (7) calendar days of notification.
                 3. Address and resolve safety concerns or disciplinary issues, with special consideration of
                      reassessment and suspension of SHU terms in order to avoid segregated housing
                      placement upon discharge, if appropriate, in accordance with established procedures.
  3.         Notifications
                 1. The C&PR notifies the DSH Admission and Discharge Unit (ADU) or CDCR PIP
                    discharge coordinator of the endorsement within one business day.
                 2. If the IP is in a DSH program, the DSH ADU notifies the DSH treatment team, the DSH
                     PMU and the headquarters Mental Health Prooram UM unit of the endorsement within


        1
         Until the Long Term Restricted Housing (LTRH) is open to intake, IPs must be temporarily placed in PSU. The PSU will
        be responsible for tracking which IPs were placed due to lack of availability of the LTRH and will re-evaluate appropriate
        placement upon activation of the LTRH unit.
       12.06.100.P2: SHU - DSH/PIP Discharge and Required Case Conference                                            Page 1 of 2




                                                                                                                      APPENDIX PG. - 217
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                    one business day.
                3. If the IP is in a CDCR PIP, the PIP discharge coordinator notifies the PIP treatment
                   team and the headquarters Mental Health Program UM unit of the endorsement within
                   one business day.
                4. If the IP is to be released to an institution other than the sending institution, CDCR
                   Mental Health Program UM notifies the DSH coordinator at the new receiving institution
                   v,ithin one business day.
   4.       Scheduling the Case Conference
            Mental Health Program UM schedules a case conference between the CDCR and DSH clinical
            staff within seven (7) calendar days of notification that the IP has been endorsed. Efforts will be
            made to schedule the case conference during existing case conference times whenever
            possible. However, exceptional circumstances may require flexible scheduling.
   5.       The Clinical Case Conference
            Issues to be considered during the case conference include, but are not limited to, the following:
               1. Treatment modalities and therapeutic strategies that were successful in reducing and
                  alleviating symptoms in the inpatient setting.
               2. The IP's adjustment in the inpatient environment.
               3. Strategies CDCR may consider implementing to minimize the likelihood of
                  decompensation.
               4. Confirmation of the IP's revel of care.
               5. The Clinical Case Conference will not be used to prevent discharge from an inpatient
                  setting.

            The Clinical Case Conference will include the following participants:

           The DSH coordinator at the sending institution
           The DSH coordinator at the receiving institution (if different than the sending institution)
           CDCR Mental Health treatment team staff at the receiving and sending institutions
           DSHIPIP treatment team staff
           DSH headquarters staff (if the IP is in a DSH program)
           DSH PMU (if the IP is in a DSH program)
           CDCR Mental Health Program headquarters staff

           The DSH Coordinator at the receiving instttution documents the occurrence of the case
           conference on a CDCR MH-7230-A, Interdisciplinary Progress Note - General. If the IP's level
           of care changes as a result of the discussion in the Clinical Case Conference, the DSH/PIP
           treatment team staff notifies DSH PMU or CDCR PIP, who completes a new CDCR 128-MH3
           Mental Health Discharge Chrono and forwards to the assigned Correctional Counselor.
  6.       CDCR Placement
           Discharged IPs will be returned to the sending institution unless the institution does not provide
           the appropriate mental health level of care and/or health care or custodial case-factors prevent
           return. If the IP cannot return to the sending institution, the C&PR at the institution where the IP
           is housed shall contact HCPOP for placement assistance.




        12.06.100.P2: SHU -DSHIPIP Discharge and Required Case Conference                            Page 2 of 2




                                                                                                     APPENDIX PG. - 218
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                                                                              SRE Mentor Program Policy

VOLUME 12:
                                                                         Effective Date:
MENTAL HEALTH SERVICES
CHAPTER 04:                                                              Revision Date(s):    1/17/2013
PESONNEL ANO TAAINING
POLICY 1204.201
                                                                         Attachments:         Yes 18) No D
SUICIDE RISK EVALUATION MENTORNG PROGRAM




   Policy
                           Each institution shall institute the standardized CDCR mental health Mentor
                           Program for suicide risk evaluations.
                           The program shall include the use of the "Suicide Risk Evaluation Quality of Care"
                           standardized tool that:
                               •   Provides mentors with specific areas of focus for providing guidance; and
                               •   Allows the tracking of progress and measurement of improvement

                           Suicide Risk Evaluation (SRE} Mentoring Program: A program, established by this
  Definitions
                           policy, which includes mentoring for mental health clinicians on appropriate
                           techniques for suicide risk evaluation
                           Mental health clinician: Practitioners including psychologists, psychiatrists, and
                           clinical social workers. Clinicians may be probationary, permanent, contract
                           employees, or others designated and trained to complete suicide risk evaluations
                           on CDCR patient-Inmates.
                           CDCR 7447 Suicide Risk Evaluation: The form used to guide the focused clinical
                           evaluation performed by a mental health professional when a patient-inmate is
                           identified (by thought, speech, or behavior) to be at elevated risk of suicide or self-
                           harm.
                          Mentor: The mental health clinician designated to provide mentoring to assigned
                          mental health clinicians as part of the SRE Mentoring Program. This clinician will
                          also provide training to the mentee, as needed. The Mentor may be either line staff
                          or a supervisory-level clinician.
                          Mentee: Mental health clinician participating in the SRE Mentoring Program for
                          enhancement of clinical skills.
                          Suicide Risk Evaluation Mentoring Program Director. Designated HQ psychologist
                          with oversight for training, consultation, data collection, and interpretation for the
                          Mentor Program.



                               •   To assist clinicians in adapting to the unique, challenging circumstances of
  Purpose
                                   the correctional setting.



            12.04.201: Policy Title                                                            Page 1 of3



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                                                                          SRE Mentor Program Policy
                              •   Improve and maintain the quality of suicide risk evaluations.
                              •   Ensure that clinicians possess the knowledge and skill to adequately
                                  evaluate inmate-patients who may be at an elevated risk of suicide.
                              •   Support newly hired mental health clinicians by having experienced
                                  clinicians provide relevant training.
                              •   Preserve standards of clinical practice by providing a process to
                                  systematically evaluate CDCR mental health clinicians' knowledge and
                                  ability to complete an adequate suicide risk evaluation.
                           •      Contribute to the creation of a cooperative and collegial mental health
                                  care team.

                           This policy applies to all CDCR mental health clinicians who perform suicide risk
  Applicability
                           evaluations.

                           •      Every institution has initiated the mentor program according to statewide
  Compliance
                                  and local operating procedures within 60 days of receipt of this policy.
  Indicators
                           •      Ali persons who have completed or are participating in the SRE Mentor
                                  Program are tracked according to LOP.
                          •       The SRE Quality of Care tool (attached) is used to evaluate clinical
                                  competence.
                          •       Within six months of the implementation of this policy, and every six
                                  months thereafter, the aggregated SRE Quality of Care results, which are
                                  tracked in the HQ-based "Quality of Care Data Collection Tool," are
                                  reviewed by the SRE Mentoring Program Director.
                          •       Confidentiality - All persons participating in the mentor program adhere to
                                  provisions regarding confidentiality in accordance with applicable state law
                                  governing confidentiality of provider-level documents. Compliance is
                                  measured by the following:
                                      •   All provider-level documents related to the mentor, including but
                                          not limited to SRE Quality of Care reviews are maintained as
                                          confidential and are not available to unauthorized persons.
                                      •   Documentation of mentee progress provided solely to the mentees
                                          may be shared with the mentees' regular clinical supervisors or
                                          other management staff.

                          1. Defendants' August 25, 2010 Updated Report on Activities Taken
                                  Following the Court's April 14, 2010 Order.
  References              2. Department of Correctional Health Care Services. Mental Health Services
                             Delivery System Program Guide (2009 revision), Chapter 10: Suicide
                             Prevention and Response.



          12.04.201: Policy Title                                                          Page 2of3



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                                                                      SRE Mentor Program Policy

    This acronym key defines all acronyms utilized in the above quality standard.

                                                 Acronym Key
    Acronym    Definition
    CDCR       California Department of Corrections Rehabilitation
    HQ         Headquarters
    LOP        Local Operating Procedures
    SRE        Suicide Risk Evaluation




        12.04.201: Policy Title                                                     Page 3of3



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                                                                Procedure SRE Mentor Program


VOLUME 12:
                                                                     Effective Date:
MENTAL HEALTH SERVICES
CHAPTER 4:
                                                                     Revision Date(s):    01/17/2013
PERSONNEL AND TRAINING
PROCEDURE 12,04.201P
                                                                    Attachments:         Yes(gj NoO
SUICIDE RISK EVALUATION PROCEDURE



                          The Suicide Risk Evaluation (SRE) Mentoring Program pairs clinical mentors with
     Introduction         mental health providers in order to promote adherence to the highest standards of
                          suicide risk assessment. The program, which can be incorporated into Peer Review,
                          is intended to provide collegial feedback, training, and support for all staff members
                          who perform suicide risk evaluations.

                          The following defines the responsibilities of the mentor and mentee involved in the
     Roles and            SRE Mentoring Program.
     responsibilities
                                                                MENTOR

                            1. There is no formal requirement for the number of mentees a mentor can
                               oversee, but it is recommended that a mentor have no more than three
                               mentees under his/her guidance at any given time.
                            2. The mentor will observe the mentee conduct one or more suicide risk
                               evaluations.
                           3. Use of the statewide approved SRE Quality of Care Tool (attached) will guide
                              the mentor in assessing the mentee's skill in: 1) interviewing; 2) gathering
                              relevant information; 3) formulating risk factors; 4) developing a treatment
                              plan; and, 5) documenting findings.
                           4. When indicated, training will be provided to the mentee by the mentor. The
                              training may include, but is not limited to, the following:
                                • Effective techniques for conducting interviews and establishing rapport
                                  with inmate-patients.
                                • Brief, focused interventions for inmate-patients in crisis.
                                • Development of individualized treatment plans.
                                • Appropriate treatment focused interventions for all inmate-patients,
                                  including those suspected of malingering, threatening suicide for
                                  secondary gain, or manipulating staff.
                                • Directed readings.




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                                                         Procedure SRE Mentor Program
                   5.    Under the direction of the Chief of Mental Health, conduct routine chart
                        reviews of all mental health clinicians' SREs to assess the overall quality of
                        suicide risk assessment and crisis intervention at the institution.
                   6. The mentor may use the information gathered during routine chart reviews
                        to:
                        •Identify opportunities for improvement in overall clinical practice
                        •Design and facilitate staff development exercises to improve practice
                        •Identify best practices
                        •Identify clinical staff who may have the skills and abilities to serve as a
                         mentor to other staff
                  7. The mentor will provide written feedback to the mentee about their SRE
                     performance and crisis intervention skills, any methods for improvement, and
                     progress made in performing SREs. This can be completed via providing a copy
                     of the completed SRE Quality of Care tool or other written document created
                     as part of local operating procedures.
                  8. If administrative intervention is required related to the mentee's participation
                     in the program, the mentor reports the concerns to the mentees' supervisor.
                     Status reports to the supervisor are not required unless administrative
                     concerns are identified.


                                                        MENTEE
                   1. Mentees will include all mental health clinicians whose job duties include the
                      administration of the SRE. The following listing suggests a prioritization
                      strategy:
                     • Current mental health clinicians employed in the MHCB or Mainline EOP
                        programs.
                     • Mental health clinicians referred to the SRE Mentoring Program by their
                        supervisors, either for cause or for routine staff development purposes.
                     • Mental health clinicians referred to the SRE Mentoring Program by the
                        Professional Practice Executive Committee or the Mental Health Peer
                        Review Subcommittee.
                     • Newly hired, or unlicensed mental health clinicians, including
                        psychologists, psychiatrists, and clinical social workers.
                     • Self-referred employees.
                     • All mental health clinicians employed in other (non EOP and MHCB)
                        programs.
                  2. A score of at least 80% on the SRE Quality of Care tool must be achieved
                     before the mentoring program is completed.


   Process       The SRE Mentoring Program is designed to allow flexibility for mentors to address
                 the mentee's specific needs, but must include at least the following stages and

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                                                         Procedure SRE Mentor Program
                  activities.


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                        1       Institutional Chiefs of Mental Health shall designate at least one
                                mental health clinician as the primary mentor. The primary mentor
                                will have the responsibility of: maintaining up to date records of staff
                                participating in the mentoring process and ensuring that Quality of
                                Care Tool results are filed in a confidential location.


                                Staff designated to serve as mentors shall have strong clinical skills and
                                leadership abilities and may be either senior clinicians or line staff.


                                More than one clinician may serve as a mentor depending on
                                institutional staffing levels and clinical need.
                       2        The mentee may observe the mentor perform one or more SREs. This
                                Is not a requirement and may be conducted if the mentee elects to do
                                so.
                       3        The mentee may perform a self-audit of a SRE that he/she has
                                performed using the Suicide Risk Evaluation Quality of Care Review
                                Tool. This is not a requirement and may be conducted if the mentee
                                elects to do so.
                       4        The mentor will observe the mentee performing one or more SREs and
                                offer guidance, techniques, and strategies that may improve SRE
                                quality.
                       5        The mentee and mentor will work collaboratively in assessing the
                                mentee's SRE performance and any identified areas for improvement.
                       6        The timeframe for completion of these activities is contingent upon
                                the mentor's assessment that the mentee can competently and
                                independently perform a suicide risk evaluation.
                       7        If the above activities cannot be successfully completed within three
                                months, continued mentoring must be approved by the mentee's
                                supervisor.
                       8        The SRE Mentoring Program operates on a cyclical basis. Each clinician
                                will be mentored once every two years. When a clinician transfers
                                from one institution to another, the SRE mentor at the new institution
                                shall contact the Chief of Mental Health at the previous institution,
                                who will facilitate getting the clinician's last mentoring date to the
                                mentor.


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                                                                Procedure SRE Mentor Program
                              9           •   When the SRE Quality of Care tool is used for peer review, the
                                              primary mentor will ensure that completed SRE Quality of Care
                                              tools are filed in a confidential location accessible only to the
                                              primary mentor. Records shall be kept for at least two years, or
                                              until the mentee completes a second cycle of mentoring, at
                                              which point the previous completed SRE Quality of Care Tool
                                              can be destroyed.
                                         •    If the SRE Quallty of Care tool is not used as part of the formal
                                              peer review program, the completed tool may be destroyed
                                              after the mentee completes the mentoring cycle.




    Program             The LOP for the SRE Mentoring Program shall include a method to track
    evaluation,         participation in and completion of each cycle of the SRE Mentoring Program.
    tracking, and       Tracking shall include, at a minimum, the name and position of each clinician
    reports             mentored.




   Confidentiality      In accordance with applicable state law governing confidentiality of provider-level
                        documents, it is essential that all provider-level documents related to the SRE
                        Mentoring Program, including but not limited to Quality of Care Reviews and
                        mentoring feedback, be maintained as confidential and not be available to
                        unauthorized persons.




    This acronym key defines all acronyms utilized in the above quality standard.


                                                 Acronym Key
   Acronym      Definition
   SRE         Suicide Risk Evaluation
   LOP         Local Operating Procedures




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                         HEALTH CARE SER\filCES
       MEMORANDUM
      Date:

      To:          Chief Executive Officers
                   Chiefs of ental Health
      From:                                                                  ,.

      Subject:     IMPLEMENTATION OF THE SUICIDE RISK EVALUATION MENTOR PROGRAM

       The purpose of this memorandum Is to notify Institutions of the following requirement to have
     . all clinicians complete the Suldde Risk Evaluation {SREJ Mentor Program.

       The program involves menJoring o// Mental Health clinical staff in the administration of a SRE.
     · Mentoring will be provided, individually, by a trained SRE mentor. The len.gth of time required
       to complete the SRE Mentor Program varies.

      To fully implement the SRE Mentor Program, each institution must complete two things:
          • Clinicians who are regularly assigned to work in the Enhanced Outpatient Programs and
              Mental Health Crisis Bed units must complete the SRE Mentor Program by
              April 30, 2013.
          • All other mental health clinicians must complete the. SRE Mentor Program by
              June 30, 2013.

      Each institution currently has SRE mentors who have been traln~d by Statewide Mental Health
      Program headquarters staff. If your institution requires additional trained SRE mentors to
      complete this program, please send an email to the Suicide Prevention Unit mailbox at
      CDCR MHProgramSuicidePreventlonandResponse@CDCR. Headquarters will then schedule
      additional SRE mentor training, as needed .. Please note that clinicians must be mentored by a
      trained SRE mentor. The SRE Mentor Program Policy and Procedures are attached.

     If you have any questions or ·require additional information, please 1 cogtact the Suicide
     Prevention and' Response Unit at CDCR MHProgramSuicidePreventionandResponse@CDCR. or
     Amy Eargle, Ph.D., Chief, Clinical Support, Statewide Mental-Health Program, Division of Health
     Care Services (DHCS), at (916] 691-0279 or via email at amy.eargle@cdcr.ca.gov.
                     •                                                 ! .


     Attachments                                  i


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     HEALTH CARE SERVICES                                                         5.JWJtnU-nto, CA 95812,4018




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      MEMORANDUM                                                                                   Pag,:,2of2


      cc: Diana L. Toche, D.D.S., Director (A), Division of Health Care Services
          Judy Burleson, Associate Director, Program and Clinical Support,
              Statewide Mental Health Program, DHCS
          Kathleen O'Meara, Ph.D., Northern Mental Health Regional Administrator (A),
              Statewide Mental Health Program, DHCS
          Steven Bylund, Ph.D., Central Mental Health Regional Co-Administrator (A),
              Statewide Mental Health Program, DHCS
          Elaine Force, Ph.D., Central Mental Health Regional Co-Admlnistrat.or (A),
              Statewide Mental Health Program, DHCS
          Margaret McAloon, Ph.D., Southern Mental Health Regional Administrator (A),
              Statewide Mental Health Program, DHCS
          Amy Eargle, Ph.D., Chief, Clinical Support, Statewide Mental Health Program, DHCS




      C/1.i..i!'<,:'l::::,;,~;. con?.t:.-::-T10NA.L                                             P.O. Box40_38
                                                                                   Sacramento, CA 95812-1038.
      HEALTH CARE SERVICES



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                           HEALTH CARE SERVICES
     MEMORANDUM
      Date:
                     AUG 13 2013
      To:           Chief Executive Officers
                    Wardens
                    Chiefs of Mental Health
    ------'---"--"'---"-'
      From:
                   _/~
                   7)athleen Allison, Deputy Director
                    Special Project Liaison, Division of Adult Institutions


                 =:c::"~~~~=-:--r
                   Timothy G. Belavich, PH.D., MSHCA, CCHP
                    Director (A), Division of Health Care Services and
                    Deputy Director (A), Statewide Mental Health Program
     Subject:       SUICIDE PREVENTION AND RESPONSE FOCUSED IMPROVEMENT TEAM
                    COORDINATOR ATTENDANCE AT INMATE ADVISORY COUNCILS AND INMATE
                    FAMILY COUNCILS

    No later than September 9, 2013, all institutions shall update their local suicide prevention procedures
    to include Mental Health Program consultation with, and periodic attendance at, meetings of their
    institution's Inmate Advisory Council (IAC) and Inmate Family Council (IFC). This contact is designed to
    provide information regarding suicide prevention resources, highlight the importance of inmate peers
    and families to suicide prevention efforts and to answer questions about suicide prevention in the
    California Department of Corrections and Rehabilitation (CDCR).


    At least every six months 1 if held, or upon request, each institution's Suicide Prevention and Response
    Focused Improvement Team (SPR FIT) Coordinator, or designee, shall attend meetings and provide the
    IAC and IFC with information regarding suicide prevention and available mental health services.
    Materials may include, but are not limited to, the following:


       •      Approved suicide prevention pamphlets
       •      Information on suicide prevention and Mental Health Program services in COCR
       •      Information on how to make a mental health referral {inmate self-referral and referral from a
              family member)

   Local procedures shall be updated to reflect these changes no later than September 9, 2013. Copies of
   the amended procedures should be forwarded to Byron Russell, HPSI, Policy Support, Statewide Mental
   Health Program, Division of Health Care Services (DHCS), at fu>r:ll.!1-.~\'!lr.1l_@c\l_~_f,f_;1_._1IQ'!·

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     MEMORANDUM
     cc: Judy Burleson, Associate Director, Policy and Clinical Support,
            Statewide Mental Health Program, DHCS
        Amy Eargle, Ph.D., Chief, Clinical Support, Statewide Mental Health Program, DHCS
        Laura Ceballos, Ph.D .• Chief, Colemon Compliance/Quality Management Unit,
           Statewide Mental Health Program, DHCS
        Nathan Stanley, Chief, Field Operations Unit, Statewide Mental Health Program, DHCS
        Mental Health Regional Administrators
        Byron Russell, HPSI, Policy Support, Statewide Mental Health Program, DHCS




                                 I

     HEALTH CARE SERVICES I
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                                16-0315




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                          HEALTH CARE SERVICES
        MEMORANDUM
        Date:         3/15/2016
        To:          Chief Executive Officers
                     Chiefs of Menta·1 Health
        From:
                      j::.,,..;z.; /~-e-<.
                     Katherine Tebrock, Esq.
                     Deputy Director
                     Statewide Mental Health Program
        Subject:     REVISION TO THE SUICIDE RISK EVALUATION MENTORING PROGRAM

        In order to continue to enhance the quality of the Suicide Risk Evaluations (SREs) performed by
        California Department of Corrections and Rehabilitation clinicians, several changes to the SRE
        Mentoring Program are being implemented.

              I.    Frequency of Mentoring

                    Mental Health Crisis Bed

                    Because of the acuity of the patient population served in the Mental Health Crisis
                    Bed (MHCB) units, clinicians who are regularly assigned to work in a MHCB shall
                    complete the mentoring program on an annual basis.

              II.   SRE Audit Corrective Action Plans

                    SRE quality is monitored by two audits; the Chart Audit Tool (CAT) conducted by
                    institution program supervisors and the SRE Audit conducted by headquarters staff.
                    When an SRE audited by headquarters staff is determined to not meet standards,
                    the institution Mental Health Program shall be notified.
                    When an SRE is determined, by either audit process, to not meet standards (defined
                    as "no" on two or more items), the following shall occur:
                        • The supervisor audits an additional SRE by the clinician.
                        • If the second SRE audited also does not meet standards, then the clinician is
                           referred to repeat the mentoring program.
                        • If the second SRE audited meets standards, a third SRE is audited.
                        • If the third SRE does not meet standards, the clinician is referred to repeat
                           the mentoring program.
                        • If the third SRE meets standards, no further action is taken.
                    At least one SRE from each clinician shall be audited every six months.

                                                                                              P.O. Bok588500
                                                                                          Elk Grove, CA 95758




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            Ill.   SRE Mentors

                   SRE Mentors shall be clinicians who have demonstrated clinical acumen, expertise in
                   addressing crisis issues, and superior clinical performance.

                   All SRE mentors shall receive annual "booster" training. Training may be delivered
                   directly by webinar, or may consist of Training for Trainer (T4T) sessions held
                   regionally. T4T will be conducted by headquarters Suicide Prevention and Response
                   Focused Improvement Team or Mental Health Training Unit staff.

        If you have questions or need additional information or assistance, you may contact Robert
        Horan, Ph.D., Senior Psychologist, Specialist, Clinical Support, Statewide Mental Health
        Program, Division of Health Care Services at (916) 691-6858 or via email at
        Robert.Horon@CDCR.ca.gov.

        cc: Angela Ponciano
            Laura Ceballos, Ph.D.
            Amy Eargle, Ph.D.
            Michael Golding, M.D.
            Edward Kaftarian, M.D.
            James Vess, Ph.D.
            John Rekart, Ph.D.
            Jennifer Johnson
            Mental Health Regional Administrators
            Regional Health Care Executives




        HEALTH CARE SERVICES     I                                                        P.O. Box 5B8500
                                                                                      Elk Grove, CA 95156




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                            HEALTH CARE SERVICES
      MEMORANDUM
      Date:        3/24/16
      To:         Chief Executive Officers
                  Chiefs of Mental Health
      From:
                     ,;;.                      _.,-·.r
                  /-C~      ., '-"   c.:.:   .><·   :C' ~· . c.·   .(__
                  Katherine Tebrock, Esq.
                  Deputy Director
                  Statewide Mental Health Program
      Sub!ect:    CLARIFICATION OF SUICIDE RISK EVALUATION TRAINING REQUIREMENTS

      Per the memorandum dated February 15, 2013, "Suicide Risk Evaluation Training," all clinical
      staff hired at Institutions must complete a seven-hour Suicide Risk Evaluation training
      (consisting of two, 3.5-hour training sessions) within 180 days of hire. This requirement
      includes clinicians hired through a registry and clinicians who provide telepsychiatry mental
      health services.

      All clinicians must re-take the seven-hour Suicide Risk Evaluation training once every two years.
      The training is updated on a regular basis to integrate new information and clinical processes.
      The training may only be provided by clinicians who have completed the Suicide Risk Evaluation
      Training for Trainers, which is offered by the Statewide Mental Health Program (SMHP) on an
      annual basis.


      If you have questions, or require additional information related to this memorandum, you may
      contact Robert Horon, Ph.D., Senior Psychologist, Specialist, Clinical Support, SMHP, DHCS, via
      email: Robert.Horon@cdcr.ca.gov.

      cc: Angela Ponciano
          Amy Eargle, Ph.D.
          Laura Ceballos, Ph.D.
          Michael Golding, M.D.
          Edward Kaftarian, M.D.
          James Vess, Ph.D.
          John Rekart, Ph.D.
          Jennifer Johnson
          Regional Mental Health Administrators
          Regional Health Care Executives




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                            HEALTH CARE SERVICES
        MEMORANDUM
        Date:         03 15 16
        To:           Chief Executive Officers
                      Chiefs of Mental Health
                      Chief Nurse Executives
                        /,           -<''   ,
        From:
                      (~~1(~
                     Cheryl&chutt, RN, BSN
                     Statewide Chief Nurse Executive
                     Deputy Director, Nursing Services

                     ~-~,-,::;.__
                     Katherine Tebrock, Esq.
                     Deputy Director
                     Statewide Mental Health Program
       Subject:      LEVEL QF OBSERVATION AND PROPERTY FOR PATIENTS IN MENTAL HEALTH
                     CRISIS BEDS

       This memorandum provides· direction regarding observation orders for patients requiring
       Suicide Watch or Suicide Precaution and those who do not meet the criteria for Suicide Watch
       or Suicide Precaution, but still require observation.


       OBSERVATION REQUIREMENTS


       Patient, Requiring Suicide Watch and/or Suicide Precaution

       Per the Mental Health Services Delivery System Program Guide (2009 Revision) there are only
       two levels of observation that can be ordered for patients at elevated risk of suicide and/or self.
       harm: Suicide Watch and Suicide Precaution.


       Patients Requiring Observation Other Than Suicide Watch or Suicide Precaution

       Less frequent observation may be ordered if, in the clinical judgment of the ordering
       psychiatrist or psychologist, the patient:

           •    Does not meet criteria for either Suicide Watch or Suicide Precaution.
           •    Has been under Suicide Watch or Suicide Precaution, and is considered no longer
                suicidal.

       In these cases, orders shall:




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         MEMORANDUM                                                                                    P,1Bc2of3


            •   Be written specifying the frequency and timeframe for observation and include the
                items the patient may or may not have.
            •   Not be written for a frequency of more than twice an hour (30 minutes).
            •   Not be written with vague observation schedules such as Psychiatric Observation or
                Behavioral Observation. Use of these terms is not permitted under any circumstances.


        Determination and Documentation of level of Observation

        The rationale for the decision to place a patient at a particular level or frequency of observation
        shall be documented on a progress note at least every 24 hours. The level of observation shall
        be discussed at every Interdisciplinary Treatment Team (IDTT) meeting. The psychiatrist or
        psychologist shall ensure that any change in level of observation resulting from the IDTT
        discussion is documented on an updated order during or immediately after the IDTT.

        In addition to general observations of current safety, any specific observed behaviors that
        signify risk shall be specified in the order for observation. Those behaviors include but are not
        limited to: crying, rocking, mutism, illogical verbal responses, deviations from the patient's
        typical presentation, deterioration in activities of daily living or personal hygiene, etc. If any of
        these behaviors are observed by mental health or nursing staff, a referral for a mental health
        evaluation shall be made.


        State Issued Clothing, Bedding and Allowable Items

        All orders shall detail what specific items may be issued to a patient. Staff shall ensure all
        patients are provided with the clothing, bedding and allowable items permitted at the patient's
        level of observation. These items are outlined in the memorandum, State-Issued Clothing and
        Bedding for Mental Health Inmate-Patients in the Mental Health Crisis Bed and Outpatient
        Housing Unit, dated October 29, 2013 (Attached).
        If fewer items are granted than specified In this memorandum, a rationale shall be provided
        detailing the patient's unique risk factors and clinical need, and updated at least every 24 hours
        while allowable items are limited. General statements of risk and/or providing minlmal items
        without justification are not acceptable. As the level of observation or Individual risk decreases,
        clothing, bedding, and other allowable items must be restored and provided as soon as possible
        after the determination has been made that the level of risk has decreased.



        MHCB Units Observation - Exception
        Some Mental Health Crisis Bed (MHCB) units that do not have call buttons have an approved
        program flex specifying frequency of rounding. If an MHCB unit has an existing approved

                                                                                                   P.O. Box ~038
        ~EALTH CARE SERVICES       I                                                  Sacramento, CA 9~!U2-'1038




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        program flex, an order specifying frequency of observation may not be written for observation
        periods that exceed those as specified by the accrediting or licensing body.


        If you have questions or need additional information related to this policy, you may contact
        Robert Horon, Ph.D., Senior Psychologist Specialist, Clinical Support, SMHP, by phone at (916)
        691-6858 or email at: Robert.Horon@cdcr.ca.gov.


        Attachment

        cc: Angela Ponciano
            Amy Eargle, Ph.D.
            Laura Ceballos, Ph.D.
            Michael Golding, M.D.
            Edward Kaftarian, M.D.
            John Rekart, Ph.D.
            James Vess, Ph.D.
            Jennifer Johnson
            Regional Mental Health Administrators
            Regional Health Care Executives




                                                                                                P.0, Bo,: 4038
        HEALTH CARE SERVICES I                                                     Sacramento, CA 95812~4038




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                               HEALTH CARE SERVICES
         MEMORANDUM
                    ··-----
         Date:  October 29, 2013
         To:
                ----·-··----
                Chief Executive Officers
                          Wardens
                          Chiefs of Mental Health

                          M: £siami}~,;,10,-(;,1
         From:


                          Division of Ad_lJ_rt JnsiiJutiom                __
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                          -~ervices and Deputy Director (A), Statewide Mental Health_ P--',o'-'g,._rc.•mc.;..._ _ _ _ __
         Subject:         STATE-ISSUED CLOTHING AND BEDDING FOR MENTAL HEALTH INMATE-PATIENTS
                          IN THE MENTAL HEALTH CRISIS BED AND OUTPATIENT HOUSING UNIT


         The purpose of this memorandum is to:

                 1. Provide staff guidelines regarding issuance of state-owned clothing and bedding for all
                   inmates housed in the Mental Health Crisis Bed (MHCB) or Outpatient Housing Unit
                   (OHU) for mental health crisis.
            2. Restate documentation requirements when inmate-patients receive less than full
                   complement as listed below.

            Effective immediately:

            I.        Inmate-patients not on suicide precautions or watch,
                      Complement of state-owned clothing, bedding, and hygiene Items Is as follows:
                      Inmate-patients placed In the MHCB or OHU for a mental health crisis shall be
                      issued, at a minimum. the following items unless a clinical determination ls made
                      and documented by a licensed psychologist or psychiatrist, or other admitting
                      physician 1 that there is a clinical reason these items should not be issued:
                      •     Socks (one pair - to be exchanged as needed)
                      •     Clothing (to be exchanged as needed)
                                o   Male Inmates: one pair blue denim jeans and one blue chambray shirt, or
                                    one jumpsuit, or one reception center shirt and pants.
                                o   Female Inmates: one blouse or T-shlrt, one pair slacks, or one dress,
                                    muumuu, robe, or duster, one nightgown.



         HEALTH CARE SERVICES




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          MEMORANDUM
                    •   Underclothes (to be exchanged as needed)
                        o Male Inmates: 1 pair white undershons, 1 undershirt
                        o Female Inmates: 1 brassiere, 1 pair panties
                        o Transgendered Inmates, upon request: 1 brassiere or 1 pair white boxer
                           shons.
                   •    Reading material (l book or psvchoeducational ar1icles)
                   •    Hygiene Items (1 toothbrush, tooth powder, soap)
                   •    One blanket
                   •    A bed (cement bed with mattress on top acceptable)
                        o For OHUs a cement bed wfth mattress on top Is acceptable.
                        o For MHCBs, a cement bed with mattress on top Is ·acceptable; however there
                           are additional Title 22 requirements. According to Title 22, section 79829, all
                           licensed beds shall indude the following:

                           "(a) A clean, comfortable bed with a mattress, plllow, blankets, bed
                           linen-All furnlshlnss will be In good repair and suitable for special Inmate•
                           patient needs.

                           (bl Adjustable beds, side rails and overbed tables shall be provided as
                           required by the Inmate-patient's condition.•
                   •    Prescribed Health Care Appflance

            II.    Inmate-patients on suicide precaution.
                   Complement of state-owned clolhlng, beddlng, and hygiene Items Is as follows:
                   According to the mental health Program Guide (p. 12·1~16, 2009), •run Issue" for
                   Inmate-patients in the MHCB or OHU on suicide precaution Is lhe provision of
                   shons, t•shlrt, socks, a safety no tear mattress or furniture, reading and writing
                   materials, and toiletries. Staff Is reminded that these lie.ms are considered "full
                   Issue• only for Inmate-patients on suicide precaution, and shall not be considered
                   the standard for inmate-patients who are not on suicide precaution.

            Ill.   Inmate-patients on suicide watch.
                   Complement of stete-owned dothlng, bedding, and hygiene Items Is as follows:
                   As a reminder, according to the mental health Program Gulde (p. 12-1~17, 2009),
                   Inmate-patients on suicide watch shall only be provided with a safety smock/gown, a
                   safety mattress, .and a safety blanket.




         HEALTH CARE SERVICES




                                                                                                     APPENDIX PG. - 244
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           MEMORANDUM
              IV,    Docurnentat!on Requlrernents.
                     Whenever an inmate~patient receives less than all jtems as detailed above In part I
                     of this memorandum (this Includes Inmate-patients on suicide watch and
                     precaution, as they receive less than what is ouWned In part I), a psychiatrist or
                     licensed psychologist shall:
                    1. Ensure issuance of property is individualized based upon the inmate-patient's
                       clinical needs. Do not default to providing minimal items.
                    2. Clearly state on the physician's order which items the inmate-patient may have
                       or which specific items the inmate-patient may not have.
                           o Avoid using general terms such as "suicide precaution" on the order.
                           o Clearly document how supplies are given and returned if applicable. For
                                exampfe, if an inmate~patient may have a pen filler and paper for
                               five minutes, and then the Items shall be collected by staff, the order
                               shall specify this requirement.
                    3. Re-evaluate the inmate-patient and status of issued items every 24 hours.
                       Limitations may continue as long as clinically indicated.
                           o Note any changes In the items the inmate-patient may have every
                               24 hours, for the duration of limited Issue.
                    4. Document the clinical rationale for issuance of le55 than the full complement of
                        state~owned property as detailed in part I of the memorandum on a mental
                       health progress note (CDCR 7230A) every 24 hours, for the duration of limited
                       issuance. It is not acceptable for rationale to onfy indude general st~tements
                       such as "'suicide precaution."
                    5, Establish a communication log and update local operating procedures to ensure
                       all staff, Including custody, is aware of the orders that detail allowable
                       state Issue,

          For any questions contact Laura Ceballos, Ph.D., Chief of Quality Management, Statewide
          Mental Health Program, Division of Health Care Services (DHCS) via email at
          laura..Cebatfos@cdcr.ca.gov.

          cc: Judy Burleson, Associate Director, Policy and Clinical Support, Statewide Mental Health
                Program, DHCS
              Nathan Stanley, Chief, Field Operations, Statewide Mental Health Program, DHCS
              Laura Ceballos, Ph.D., Chief, Quality Management Unit, Statewide Mental Health Program,
                DHCS
              Amy Eargle, Ph.D., Chief, Clinical Support, Statewide Mental Health Program, DHCS




          HEALTH CARE SERVICES




                                                                                                  APPENDIX PG. - 245
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   Gaines, Thomas@CDCR

   From:                                   Morrison, Michael@CDCR
   Sent:                                   Thursday, October 31, 201J 10:02 AM
   Cc:                                     Belavich, Tim@CDCR; Stainer, Michael@CDCR; Ceballos, Laura@CDCR; Burleson,
                                           Judy@CDCR; Eargle, Amy@CDCR; Stanley, Nalllan@CDCR
   Subject:                                HO Memorandum_State-lssued Clothing and Bedding for Menial Health lnmate-Palients in
                                           the MHCB and OHU
   Attachmente:                            HQ Memorandum_Stale Issued Clothing and Bedding for Mental Heallll Inmates in MHCB
                                           and OHU_ 10-29-13.pdr

   Importance:                             High


   Please see the attached memorandum and disseminate as appropriate.

   (Sent to C£0s, Warden's and Chiefs of Mental Health)

   Michael Morrison
   Speclal Assistant to T. Belavich, Ph.D., MSHCA, CCHP
   Director (A), Division of Health Care Services and
   Deputy Director (A}, Statewide Mental Health Program
   Callfomia OepartmE"nt of Corrections and Rehabilitation
   Offl<e: 916-691,0293
   Mobile: 916-764·4996
   Email: mkhael.morrison@cdcr.ca.gov

   CONFID[NTIALITT NOTICE": This (O/lllllUllicilt10n with iu con1ents m•v conoh confidential and/orlego\U\f :irivileged info,ma11on. Jl is solely for lhe 11~eof1he
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                        HEALTH CARE SERVICES
      MEMORANDUM
      Date:      March 3, 2014
      To:        Chief EKecutive Officers

      From:
                 Chiefs of Mental Health


                 ~t.                          MSHCA, CCHP,
                 Director (A), Division of Health Care Services
                                                                      vz=~
                                                                     Stephen Ritter, D.O,
                                                                     Deputy Director, Medical
                 and Deputy Director, Statewide Mental               Services, California Correctional
                 Health Program                                      Health Care Services


                 ~~'                M.S.N., F.N.P.,
                 Statewide Chief Nurse Executive
                                                                     Mort
                                                                     Deputy Director,
                 California Correctional Health                      Statewide Dental Program
                 Care Services                                       Division of Health Care Services
      Subject:   ANNUAL SUICIDE PREVENTION TRAINING

      Suicide prevention is a top priority for the California Correctional Health Care Services (CCHCS)
      and the Division of Health Care Services (DHCS) Statewide Mental Health Program. Improved
      screening, diagnosis, and treatment of suicidal individuals will contribute to lowering the number
      of suicide attempts and suicides In the department.

      The Mental Health Services Delivery System Program Guide (2009 Revision) requires
      standardized training of all health care staff on an annual basis (Chapter 10, page 6). Annual
      training shall provide information about warning signs of suicide, the mental health referral
      process, how to respond to suicidal statements, and basic information about treatment for
     suicidal individuals. Lesson plans titled "Suicide Prevention" are available from the institution In-
     Service Training office for annual staff training.

     The annual suicide prevention training must be completed on a calendar year basis and be
     delivered by an institution mental health clinician in a live training format. For 2014, all health
     care staff (including mental health staff) shall receive training no later than December 31, 2014.

     Questions concerning suicide prevention training can be directed to Robert Canning, Ph.D.,
     Suicide Prevention Coordinator, Clinical Support, Statewide Mental Health Program, Division of
     Health Care Services (DHCS) at (916) 691-0276 or by email at robert.canning@cdcr.ca.gov.


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     HEALTH CARE SERVICES                                                           :,a..:.-;mumw, C:A 9:0812-'1038




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      MEMORANDUM                                                                                        Page 2 of 2

      cc:    Angela Ponciano, Associate Director, Program and Clinical Support, Statewide Mental
                     Health Program, DHCS
             Amy Eargle, Ph.D., Chief, Clinical Support, Statewide Mental Health Program, DHCS
             Laura Ceballos, Ph.D., Chief, Quality Management, Statewide Mental Health Program,
                    DHCS
             Nathan Stanley, Chief, Field Operations, Statewide Mental Health Program, DHCS
             Robert D. Canning, Ph.D., Senior Psychologist, Specialist, Statewide Mental Health
                     Program, OHCS
             Eureka Daye, Chief Executive Officer (CEO}, Region I, California Correctional Health Care ·
             Services (CCHCS)
             Charles Young, CEO, Region II, CCHCS
             Chris Podratl, CEO, Region Ill, CCHCS
             Robert Herrick, CEO, Region IV, CCHCS
             Regional Mental Health Administrators
             Regional Chief Nurse Executives
             Regional Deputy Medical Executives
             Regional Dental Directors




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     HEALTH CARE SERVICES                                                          s.~,. ,;i;;,.:-uto, CA 95-8 l :!•4tBS




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                                                                   APPENDIX PG. - 250
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                      HEALTH CARE SERVICES
      MEMORANDUM
      Date:       10/23/2015
     To:          Chief Executive Officers
                  Chiefs of Mental Health
     From:
                           1~-       Q_ ,.;._<A..()lA-.G)-
                -rfm¥hy    ir~Ph'ii.,       MSHCA, CCHP-MH
                 Director (A), Division of Health Care Services and
                 Deputy Director, Statewide Mental Health Program
     Subject:    COMPLETED CONTACTS ASSOCIATED WITH SUICIDE RISK EVALUATIONS

     Effective immediately, when a Suicide Risk Evaluation (SRE) Assessment (CDCR MH-7447) is
     completed by a clinician, the appointment scheduler shall simultaneously enter the SRE and a
     completed contact into the patient record in the Mental Health Tracking System (MHTS).
     Please refer to the Suicide Risk Evaluation Completed Contact Entry Process (attached) for
     instructions.

     Additionally, clinicians shall enter their scheduled and un-scheduled SRE appointments on their
     daily log. The un-scheduled SRE appointments (i.e., MHCB assessment/placement) shall be
     entered retroactively and include start and stop times.


     If you have questions or need additional information related to this memorandum, you may
     contact the Mental Health Policy Unit by email: CDCR MHPolicyUnit@cdcr.ca.gov.

     Attachment

     cc: Angela Ponciano
        Amy Eargle, Ph.D.
        Laura Ceballos, Ph.D.
        Michael Golding, M.D.
        Edward Kaftarian, M.D.
        Jennifer Johnson
        Mental Health Regional Administrators
        Regional Health Care Executives




                                                                                           APPENDIX PG. - 251
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                                                   Suicide Risk Evaluation Completed Contact Entry Process

      When an SRE is completed by a clinician, the appointment scheduler shall simultaneously enter
      the SRE and a completed contact into the patient record in MHTS.

               1. Receive completed SRE form from clinician.
               2. Enter Information from the SRE into MHTS.
                     a. Complete the 7447-MH: Suicide Risk Assessment portion at the bottom of the
                         screen from the information provided on the SRE, including unscheduled SR E's.
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               3. Create a contact to correspond with SRE.
                     a. Complete the left sections of the screen to correspond with the information
                         provided on the SRE. Include the following:
                               i. Appointment date
                             ii. Start and stop time
                            iii. Clinician name and classification who conducted SRE
                            iv. Reason for visit (choose from the drop down menu)
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               4. Close the created contact corresponding with the SRE.




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                       HEALTH CARE SERVICES
      MEMORANDUM
       Date:        12/14/2016
       To:         Chief Executive Officers
                   Chiefs of Mental Health
      -------=
       From:
                      p·,.,.-c; ...,/2/4..-
                    /f, ,
                                     /2'
                                            .,,,_,,:__
                   KA THERINE TEBROCK, ESQ.
                   Deputy Director
                   Statewide Mental Health Program
       Subject:    NO REQUIREMENT FOR AN INTERDISCIPLINARY PROGRESS NOTE TO
                   ACCOMPANY A SUICIDE RISK EVALUATION OR SUICIDE RISK ASSESSMENT AND
                   SELF-HARM EVALUATION

      Effective immediately, there is no longer a requirement for an Interdisciplinary Progress Note to
      accompany a Suicide Risk Evaluation as had been specified within the Mental Health Tracking
      System.

      Similarly, no progress note is required when a Suicide Risk Assessment and Self-Harm Evaluation
      (SRASHE) is conducted within _the Electronic Health Record System (EHRS).


      Any questions regarding the new process may be directed to Robert Horon, Ph.D., Senior
      Psychologist, Specialist, Clinical Support, Statewide Mental Health Program, Department of
      Health Care Services, via email: Robert.Horon@cdcr.ca.gov.

      cc: Angela Ponciano
          Amy Eargle, Ph.D.
          Laura Ceballos, Ph.D.
          Michael Golding, M.O.
          Edward Kaftarian, M.D,
          John Rekart, Ph.D.
          James Vess, Ph.D.
          Jennifer Johnson
          Regional Mental Health Administrators
          Regional Health Care Executives




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      HEALTH CARE SERVICES        I                                                    C!"; \-im·"!. i·/\ 1".'i'75J1•




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State of California                                                         Department of Corrections and Rehabilitation


Memorandum
Date           May 17, 2011


To            Associate Directors-Division of Adult Institutions
              Wardens

Subject;      HOUSING OF ENHANCED OUTPATIENT PROGRAM INMATES IN RECEPTION
              CENTER INSTITUTIONS

             Following the most recent round of monitoring tours by the Special Master's
             team in Coleman v. Wilson, the Department was requested to ensure that Reception
             Center (RC) staff are aware of the specialized housing needs of Enhanced Outpatient
             Program (EOP) inmates in the RCs.

             The concerns of the Special Master's team were generated by observation of the
             Coleman Monitors and/or anecdotal reports that EOP inmates are being housed in the
             same cells as Correctional Clinical Case Management System (CCCMS) or non-Mental
             Health Services Delivery System (non-MHSDS) Inmates in RC prisons. In addition,
             there have been reports of EOP inmates housed throughout RC prisons, with no
             consideration of "clustering" the inmates in a specific building or facility, to Improve
             clinical access to the inmate-patients.

             In response to these concerns, upon identification of an inmate as requiring the EOP
             level of care within an RC, the following guidelines should be followed when determining
             housing:

             1. EOP inmates may only be housed in the same call as another inmate at the EOP
                level of care, when otherwise approved for double-celled housing.
             2. EOP inmates must be assigned housing that meets all of the requirements of their
                classification case factors, unless exempted through regular classification processes.
             3. EOP inmates in the RCs should be "clustered" in specific housing units with other
                EOP inmates requiring the same lype of housing. This requirement is lo ensure the
                greatest utilization of existing clinical resources. Non-EOP inmates may be housed
                in the same housing unit(s), but staff shall be watchful for any signs lhat EOP
                inmates may be victimized by other EOP Inmates or non-EOP inmates.

             If you have any questions, please contact Stephen Peck, Correctional Administrator,
             Reception Center Housing, Division of Adult Institutions, al (916) 324-6808.



           --;,I~
             ;if~or
             Division of Adult Institutions

             cc: Terri McDonald, Chief Deputy Secretary, Adult Operations
                 Sharon Aungst, Chief Deputy Secretary. Division of Correctional Health Care
                   Services
                 R. J. Subia, Deputy Director, Division of Adult Institutions (DAI)
                 Stephen Peck, Correctional Administrator, Reception Center Housing, DAI




                                                                                                      APPENDIX PG. - 257
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                                                                   APPENDIX PG. - 258
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 State or California                                                         Department of Corrections end Rehabllilalion


 Memorandum
Date          May 9, 2014

To            Associate Directors, Division of Adult Institutions
              Wardens



Sub/ect       IMPLEMENTATION OF THE SECURITY/WELFARE CHECK PROCEDURE
              UTILIZING THE GUARD ONE SYSTEM

             The purpose of this memorandwn is to provide direction regarding the implementation of the
             Security/Welfare Check Procedure utilizing the Guard One electronic monitoring system. The
             Guard One System is currently being expanded to all Psychiatric Services Units (PSU),
             Security Housing Units (SHU), and Condemned Housing Units throughout the State. Due to
             the ongoing installation of the Guard One System at various institutions, the Security/Welfare
             Check Procedure will be implemented 'in three phases. Institutions will not begin utilizing the
             modified Security/Welfare Check Procedure until the initiation of their designated phase.

              Upon receipt of this memorandum, all institutions with an Admfnistrative Segregation
             Unit (ASU), PSU, SHU or Condemned Housing Unit will begin to provide training to ell
             correctional officers assigned to the abovementioned areas on the Security/Welfare Check
             Procedure utilizing the Guard One electronic monitoring system. The· Division of Adult
             Institutions has developed an on-the-job training aide to assist institutions with providing
             training to staff. This training should be conducted in areas where the Guard One System is
             installed so that staff can familiarize themselves with the equipment and the Security/Welfare
             Check Procedure. Institutions shall ensure correctional officers assigned to each phase's
             identified areas have been trained prior to that phase's activation date.

             PHASEl

            Phase I will begin on May 19, 2014, with all ASU's that have the Guard One System currently
            installed.                                       ·

            PHASE2

            Phase 2 will begin on June i6, 2014, consisting of Kern Valley State Prison's ASU overflow,
            all PSU, SHU (excluding Pelican Bay State Prison's Facilities C and D), and Condemned
            Housing Units.

            PHASE3·

            Phase 3 will consist of Pelican Bay State Prison's Facilities C and D along with the California
            Health Care Facility-Stockton. Phase 3's activation date has ye! to be deterrained and will be
            announced in a subsequent directive.




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            Associate Director, Division of Adult Institutions
            Wardens
            Page2


            If you have any questions regarding the implementation of the Security/Welfare Check
            Procedure and/or the Guard One System, please contact Thomru, Tyler, Captain, Audits and
            Litigation Unit, Division of Adult Institutions, at (916) 324-7956.




            Director
            Division of Adult Institutions

            Attachment

                cc: Kathleen Allison
                    Kelly Harrington
... _____ ·····-· _TimVirga _____________________ --------------------·- ____ ·····--
                    Thomas Tyler




                                                                                            APPENDIX PG. - 260
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 State of Calrfomia                                                            Department of Corrections end RehabilHalion


 Memorandum
 Date         May 9, 2014

 To           Associate Directors, Division of Adult Institutions
              Wardens



 Subjed      SECURITY/WELFARE CHECK PROCEDURE UTILIZING THE GUARD ONE
             SYSTEM TO SUPERSEDE ADMINISTRATIVE SEGREGATION UNIT WELFARE
             CHF.CK AND SECURITY/CUSTODY ROUNDS IN SPECIALIZED HOUSING
             PROCEDURES
             The purpose of this memorandum is to modify current Security/Welfare Check procedures
             for all inmates housed in Administrative Segregation Units (ASU), Psychiatric Services
             Units (PSU), Security Housing Units (SHU), and Condemned Housing Units, wlrich utilize or
             will be utilizing the Guard One electronfo monitoring system. 1n furtherance of the California
             Department of Corrections and Rehabilitation's continued efforts to reduce inmate suicides, the
             Department has determined both the ASU Welfare Check and Security/Custody Rounds will
             be combined into one Security/Welfare Check Procedure.

             The Security/Welfare Check procedures presented herein will supersede ASU Welfare
             Check and Security/Custody Rounds in Specialized Housing Procedures .as directed in
             memorandums dated: May 28, 2013, titled, "Revised Administrative Segregation Unit Welfare
             Check Procedure and Implementation of Security Inspections in Specialized Housing" and
             July 3, 2013, titled, "Implementation of the Administrative Segregation Unit Welfare Check
             Procedures Utilizing the Guard One System."

             A "Security/Welfare Check" shall be defined as a personal observation by a correctional
             officer of the welfare of the inmate and the security of the cell in which an inmate is housed in
             an ASU,.PSU, SHU, and Condemned Housing Unit. The Security/Welfare Check shall include
             a visual/physical observation oi' a living, breathing inmate, free from obvious injury ensuring
             there is a clear and unobstructed view into the cell looking for damage to the cell and/or signs
             of any misconduct or self-injurious behavior. The Security/Welfare Check shall be conducted
             on all inmates housed in ASU, PSU, SHU, and Condemned Housing Units.

             The following are custody staff responsibilities for conducting Secw:ity/Welfare Checks
             utilizing the Guard One System:

                  l. Correctional officers shall use the Guard One PIPE to record all Security/Weffiu'e
                     Checks conducted on all inmates housed in ASU, PSU, SHU, and Condemned
                     Housing. This will be accomplished by touching the PIPE to each cell front button.
                     This will capture the time and location that the Security/Welfare Check was conducted.
                     Note: Staff sh.all no longer capture Ilic inmates' In-cell activity via the wallet and
                     activity buttons under this modified procedure.




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         Associate Directors, Division of Adult Institutions
         Wardens
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             2. Correctional officers shall conduct Security/Welfare Checks on all inmates in the
                aforementioned housing units at staggered intervals twice an hour, not lo· exceed
                35 minutes between checks, Staggered means checks are to be conducted at
                unannounced and irregular intervals so that they are unpredictable to the inmate
                population. Disruptions of Security/Welfare Checks shall be documented in the ASU,
                PSU, SHU, a.nd Condemned Housing Unit Isolation log book.

            3. During First Watch hours, correctional officers shall conduct all Security/Welfare
               Checks using a pre-programmed silenced First Watch PIPE. The First Watch PIPE
               does not omit an audible beep during use only flashing a red Light Omitting
               Diode (LED). The. First Watch PIPE shall be marked identifying it as equipment for
               First Watch use only.                                                  ·

            4. During times when inmates housed in ASU, PSU, SHU, and Condemned Housing
               Units are out of their assigned cell for (yard, classification committee, appointments,
               visiting, etc.), correctional officers are required to conduct a Security/Welfare Check
               looking for damage and potential security concerns to that inrnate(s) cell. Under this
               procedure correctional officers are not expected to conduct Security/Welfare Checks
               on. ASU, PSU, SHU, and Condemned cells that have no inmates assigned to them.

            5. At the completion of each shift the correctional officer(s) tasked with completing the
               Security/Welfare Check shall insert the PIPE into the Internet Protocol (IP)
               Downloader. · Once the IP download has been completed, the unit supervisor shall
               review all the Security/Welfare Checks made during their shift using the Guard One
               Rounds Tracker Software installed on their designated work station. This review shall
               ensure all Security/Welfare Checks have been completed at least two times an hour at
               staggered intervals not to exceed 35 minutes between checks.

            6. As part of the review, the unit supervisor will print the Guard One Rounds Tracker
               Report and provide their signature .and date of review. Should there be any
               discrepancies during this review the housing unit .supervisor shall provide appropriate
               corrective action with staff prior to the end of the shift.

            7. Institutions shall retain the original, signed, Guard One Rounds Tracker Report for a
               minimum of three years at the institution, and an additional four years in departmental
               records retention.

            8. In the event the Guard One electronic monitoring system is inoperable, staff shall use
               the Security/Welfare Check Manual Tracking Sheet (Attachment A) to docwnent the
               required checks. Once the Guard One System is fully operational struf shall resume
               the methods as described above for the Guard One System. The records retention
               schedule for the Security/Welfare Check Form will be the same as for the Guard One•
               Rounds Tracker Reports.




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             9. Based on their unique design and progmms, California State Prison, San Quentin's
                North Segregation and Central California Women's Facility Condemned Housing
                Units shall only conduct Security/Welfare Checks during First Watch.

        All custody staff tasked with conducting and reviewing Security/Welfare Checks shall receive
        documented on-the-job training regarding the implementation of the Security/Welfare Check
        procedure utilizing the Guard One System. An In-Service Training Code will be provided in a
        subsequent email. An updated swuple Operating Procedure (OP) is attached for your
        convenience to assist with incorporating the revised Security/Welfare Check Procedure
        utilizing the Guard One System into your local OP. This revision(s) may be a supplement to
        be included in the next scheduled revision of the impacted document. Please provide
        verification of completion of training and the update to your institution OP via memorandum to
        your respective Mission Associate Director and a copy to Thomas Tyler, Captain, Audits and
        Litigation Unit, Division of Adult Institutions within 30 calendar days from the date of
        issuance of1his memorandum.

        If you have any questions regarding this procedure, please contact Captain Thomas Tyler at
        (916) 324-7956.




       ~Director      ER. (       .
        Division of Adult Institutions

        Attachments ·

        cc: Kathleen Allison
            Kelly Harrington
            Tim Virga
            Thomas Tyler




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                            SECURl1YIWELFARE CHECK PROCEDURE GUIDELINE

           Operating Procedure

           I.     PLAN TITLE AND NUMBER:

                  A.     Secur1tyN'lelfare Check Procedure

           JI.    PURPOSE AND OBJECTIVE:

                 The purpose of this procedure is to establish specific security and operatlonal
                 guidelines for SecurityNVelfare Checks, to ensure operational compliance with
                 the Department Operations Manual (DOM), the California Code of Regulations,
                 Tttle 15 and Coleman court mandates.

                 The objective of this procedure is to set the guidelines for the
                 Securtty/Welfare Checks of all inmates placed in Administrative Segregation
                 Housing Units (ASU), Security Housing Units (SHU), Psychiatric Services
                 Housing Units (PSU) and Condemned Housing Units,

                 A SecurltyNVelfare Check Is defined as a personal observation by a correctional
                 officer of the welfare of lhe inmate and the security or the cell in which an inmate is
                 housed in an ASU, PSU, SHU. or Condemned Housing Unit to Include a
                 v~ual/physical observation of a living, breathing inmate, free from obvious injury
                 ensuring there is a clear and unobstructed view Into the cell looking for damage to
                 the cell and/or signs of any misconduct or self-Injurious behavior.

                 The overall focus of this procedure is to outline the requirement of the
                 SecurttyN'lelfare Checks System utilizing the Guard One Rounds Tracker "PIPE"
                 System.

          Ill.   REFERENCES:

                 A.     DOM Section 52080.24 -Administrative Segregation

                 B.     May 9, 2014, Memorandum, "SecurityN'lelfare Check Procedure Utilizing the
                        Guard One System to Supersede Admlnistratl~e Segregation Unil Welfare
                        Check and Security/Custody Rounds in Specialized Housing· Procedures•,
                        signed by Michael Stainer, Director, Division of Adult Institutions.

          IV.    APPROVAL AND REVIEW:

                 This procedure will be reviewed annually and will be submitted to the Warden for
                 final approval.

                 Date of last revision:

                 RESPONSISILITY:




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       Security/Welfare Check Procedure Guideline
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             A.    The Warden has the overall managerial responsibility for the operation of !his
                   procedure.

             B.    The Chief Deputy Warden has the overall functional responsibility for the
                   operation of this procedure.

             C.    The Associate Warden of Housing is responsible for the application of this
                   procedure in the ASU, PSU, SHU and Condemned Housing Unit.

             D.    The Caplain(s) In charge of any ASU, PSU, SHU and Condemned Housing
                   Uni! Units are responsible for ensuring procedural adherence.

             E.    The Litigation Coordinator Is responsible for monitoring this procedure for
                   compliance with Coleman Court Mandates.

       V.   METHODS:

                   Use of the Guard One Rounds Tracker

                  Officers will use !he Guard One Rounds Tracker "PIPE" to record all
                  Security/Welfare Checks. The assigned officer shall conduct a
                  Security/Welfare Check on each cell, twice an hour not to exceed 35 minutes
                  between checks. The 'PIPE' captures two levels of lnfonnation, the lime the
                  Security/Welfare Check was made and the location where !he
                  SecurityNVelfare Check was conducted. The officer will touch the 'PIPE" lo
                  each button which is affixed lo each cell In their unit. This will electronically
                  validate the officer was al a specific cell, at a specific time.

                  Disruptions to the Security/Welfare Checks shall be documented in !he
                  housing unit Isolation log book.

                   Firs! Walch PIPE

                  During Firs! Watch hours, officers shall conduct all Security/Welfare Checks
                  using a pre-programmed silenced "First Walch PIPE",                        The
                  'First Watch PIPE" does not omit an audible beep during use and only fiashes
                  a red Light Omitting Diode (LED). Officers conducting Secur1ty/Welfare
                  Checks using the 'First Walch PIPE" must ensure !hey observe !he flashing
                  red LED when conducting their Security/Welfare Checks. The 'First Watch
                  PIPE' shall be marked identifying It as equipment for First Watch use only.

                  Inmate Removal from Cell

                  During times when an Inmate is out of his/her assigned cell for (yard,
                  classificatlon committee, appointments, visiting, elc.), the assigned
                  correctional officer will continue lo conduct Security/Welfare Checks looking
                  for damage and potential security concerns to !hat inmate(s) cell.




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       Security/Welfare Check Procedure Guideline
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                   Vacant Cells

                   Under this procedure officers are not required to conduct Security/Welfare
                   Checks on cells where there are ·no inmate(s) assigned.

                   Internet Protocol Download and Unit Supervisor Review:

                   At the comple1ion of each shift the officer conducting the Security/Welfare
                   Check will insert the 'PIPE" into the Internet Protocol (IP) Downloader located
                   In the UnH/Program Offlce for the unit supervisor's review. Once the IP
                   download has been completed, the unit supervisor shall review all
                   Security/Welfare Checks made during their shift using the Guard One Rounds
                   Tracker Software Installed on their designated work station. This review wffl
                   ensure all Security/Welfare Checks have been completed al least twice an
                   hour at staggered intervals not to exceed 35 minutes between checks.

                   After the review, the unit supervisor shall print the Guard One Rounds
                   Tracker Report and provide their signature and date of review. Should there
                   be any discrepancies during this review the custody supervisor shall
                   appropriately address any deficl(lncles with staff prior to the end of shift.

                   Training

                   The unit supervisor shall ensure all officers tasked with conducting
                   Security/Welfare Checks are provided training regarding this procedure and
                  ·the Guard One System equipment.

                  Equipment Malfunction:

                  In the event the Guard One Rounds Tracker software or equipment is not
                  functioning properly staff will immediately notify the custody supervisor for
                  follow up. For any technical assistance regarding the Guard One Rounds
                  Tracker System staff will contact Enterprise lnfonnation Services staff. If staff
                  cannot return the Guard One Rounds Tracker software or equipment to
                  service In a timely manner, staff win utilize the manual methods detailed on
                  the Security/Welfare Check Manual Tracking Sheet (Attachment-A).




                  Warden                                               Date




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                                                         ATTACHMENT A

                             SECURllY/WELFARE CHECK MANUAL TRACKING SHEET
        INSTITUTION:                                    FAOLITY:

        HOUSING UNIT:                                   DATE:                         WATCH:       1ST       2ND       3RO


        lOWERBED:                                        UPPER BED;

        INilRUCTIONS: COMPLETE TWO ~E~UR[!:XLWllF/IR~ g,m;KS PEB !!OUR AT llAGGERED INTERVA~ !lDI
        TO ~J;UD l!I! MINUT~ 11 J;l!~CK
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       inmate and the security of the cell lr1 which an lnm'5te Is housed In an ASU, PSU, SHU or C.ondemhed tiouslhg Unit. Thi
       Security/Welfare Check shaU include a vlsuaVphys!cal observation of a living, breatllfhg ihmate, free from oblllous Injury
       ensuring there is a dear and unobstructed view into the cell looking for damage to the cell and/or .slsns of an,
       misconduct or .self-Injurious behavior, The Security/Welfare Check shall be conducted on all Inmates housed In ASU,
       PSU, SHU and Condemned Housfng Units,

                          ASSIGNED STAFF                      ASSIGNED STAFF
           TIME                                                                                        COMMENTS
                           PRINT NAME                           SIGNATJ./RE




       Supervisor Neme (print)                                (signature)                         (date)




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         Memorandum
         Date
                  August 14, 2014

        To       Associate Directors. Division of Adult Institutions
                 Wardens
                 Classification Staff Representatives
                 Classification and Parole Representatives



        Subj~:   NON-DISCIPLINARY SEGREGATION PROCESSING PROCEDURE FOR MENTAL
                 HEALTH SERVICES DELIVERY SYSTEM INMATES

                 The purpose of this memorandum is to provide direction regarding the placement of
                 Mental Health Services Delivery System (MHSbS) participants into Administrativs
                 Segregation Units (ASU) for possible non-disciplinary reasons. Due to the significant
                 risks to the health and safety of Mf-lSDS inmates who are placed in ASUs for
                 non-disciplinary reasons, it is crttical to expedite the processing and transfer of these
                 inmates. The April 10, 2014, Coleman v. Brown. court order requires inmates in the
                 MHSDS who are placed into ASU for non-disciplinary reasons to be removed within
                 72 hours of Non-Disciplinary Segregation (NOS) designation by the Institution
                 Classification Committee (ICC). To ensure compliance with the April 10, 2014, court
                 order and lo address the increased risk of suicide among MHSDS inmates in
                 segregation, the following procedure shall be adhered to effective immediately:

                 Non-Disciplinarv Segregation Definition

                 Non-Disciplinary Segregation (NDS) is defined as any inmate who is placed in
                 administrative segregation ior: safety concerns not resulting from misconduct
                 warranting a Rules Violation Report. investigations not related to misconduct or
                 criminal activity, or being a relative or an associate of a prison staff member who
                 works at tl1e institution where the inmate is currently housed.

                 The following are examples of what would not be considered appropriate criteria for
                 placement on Non-Disciplinary Segregation statL1s:

                 • Out to court and return for criminal proceedings.
                 • Safety concerns as a result of drug debts. gambling debts or bartering with other
                   inmates as documented on a Rules Violation Report.
                 • Failure to cooperate with an investigation into the Inmates alleged safety concerns
                   by not providing pertinent infonmation to staff about the nature of the saiety
                   concerns.
                 • Cases requiring a Departmental Review Board action.




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          Wardens
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          The following are examples of what would be considered appropriate criteria for
          placement on NDS status for privileges and property but not be considered for the
          accelerated transfer process.

          • Inmates placed into segregation units upon transfer to their endorsed instittrtion
             due to lack of an appropriate bed will retain NOS privileges and property but not be
             considered for the accelerated transfer process.
          • Out lo court and return for non-criminal proceedings that cannot be released to the
            General Population due to case factors will retain NOS status for privileges and
            property but not be considered for the accelerated transfer process.
          • Post MERDS will retain NDS status for privileges and property but nol be
            considered for the accelerated transfer process.
          • Inmates who are being processed at the Reception Centers will retain NDS status
            for privileges and property but not be considered for the accelerated transfer
            process. Such class members remain subject to the transfer timellnes set forth in
            the Program Guide.

          Processing NDS with MHSDS Level of Care

         When a Correctional Lieutenant is determining if an inmate in the MHSDS requires
         ASU placement and is likely to be designated as NDS by ICC, the staff member
         authorizing placement shall consider all less restrictive housing altematives prior to
         ordering ASU placement. If it is determined ASU placement is the only available
         option, he/she shall ensure all documentation required to bring closure to .the issues
         is completed prior to the inmates initial" ICC review.

         The Captain shall conduct an administrative review of the Inmate's case the next
         business day following ASU placement. During the review, the Captain shall
         consider all reasonable alternative housing options prior to determining whether
         retention in ASU is necessary. If the determination is made to re!ain the inmate in
         ASU pending review by the ICC and it is likely there are no issues which will result in
         disciplinary sanctions, the Captain shall clear the inmate for privileges and property
         at this review. NDS inmates shall be granted priVileges (e.g., yard, canteen) and
         access to personal property for the duration of their placement in NDS. The Captain
         may only authorize "Walk Alone Yard for Small Management Yards (SMY)I Individual
         Exerr;ise Yards (/EM)" for these potential NDS inmates. While these inmates will be
         permitted privileges and property as potential NDS, if at any point in the future tt is
         detennined the inmate no longer meets the criteria to be designated as NDS, he/she
         will no longer be granted NDS property/privileges

         The Captain shall ensure all closure documentation is completed prior to the inmate's
         initial appearance before the ICC. The Captain will case conference with lhe
         Correctional Lieutenant who authorized ASU placement along with the assigned
         caseworker.     The case conference shall consist of a review of all closure




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              Wardens
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              aocumentation, case factors and transfer recommendations that will be presented to
              the ICC.

              The initial ICC committee will be held as soon as possible upon compleiion oi all the
              appropriate casework but no later than 10 calendar days irom IJ-e initial placement
              into Administrative Segregation. MHSDS inmates who are likely to be classified as
              NOS will be granted first priority with respect to the scheduling of ICC commitlee.

             Dllring the iniiial ICC review. the ICC shall review the circumstances of !he inmate's
             placement inclusive of the closure documentation submitted by the sending facility,
             relevant case. factors and consider an less restrictive housing options (release to
             original facility, placement In alt~rnative facility within institution, etc.). If the ICC
             concludes the inmate requires continued ASU placement and an NDS designation
             has been determined, the Inmate will be recommended for transfer lo an alternate
             institution commensurate with the inmate's existing case factors.

             The Classification and Parole Representative (C&PR) on behalf of the Warden or
             designee shall ensure the CDC Form 128-G, Classification Chrono is completed,
             signed and scanned into the Electronic Records Managament System file by tha
             close oi business on the day the initial JGC was held.

             The next business day the C&PR shall make contact with the Classification Services
             Unit (CSU) to schedule a Classification Staff Representative (CSR) review of the
             transfer recommendation in collaboration with the Popula1ion Management
             Unit (PMU). The C&PR shall attend the review via teleconference with the CSR and
             note the CSR review results. Should any deficiencies be noted by the CSR during
             this review, the C&PR shall take whatever course of action is necessary to remedy
             the deficiencies and reconvene the review with the CSR to obtain an endorsement to
             transfer. Upon completion of the CDCR Form 128-G endorsement chrono, !he CSR
             shall provide electronic notification of the endorsement to PMU.

             Upon transfer endorsement by the CSR, the PMU shall coordinate with the Statewide
             Transportation Unit (STU) and the sending and receiving institutions to determine
             availability of transportation to the designated institution for the next business day. If
             transportation cannot be made available through the STU, the C&PR shall arrange
             for the inmate to be transferred utilizing existing institutional resources the next
             business day, This will ensure the Inmate has been transferred within the 72 hour
             time frames.

             In the rare case where ii is not possible to resolve the issues preven1ing the inmate
             from transferring out of ASU by U1e initial ICC, the Warden shall notify their
             respective Mission, Associate Director. The Associate Director and the Warden shall
             case conference the remaining issues and collaborate with any existing stakeholders
             (e.g., Health Care Oversight Placement Program) with consideration for placemen! at


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                          the alternative to ASU housing at California State Prison, Sacramento (SAC) io
                          ensure transfer of the inmate within mandated lime frames.

                          NDS Tracklno

                          lnfomnatlon regarding the use of NDS status for all Inmates Including MHSDS
                          participants shall be tracked In the COMPSTAT ASU Tracldng system. To that end
                          the COMPSTAT ASU Tracking system will be modified to include the following
                          additional ASU Placement Codes far use by September 1, 2014:

                           • NDS:200 - NDS status for accelerated transfer process.
                           • NDS:201 - NDS status far accelerated transier process to alternative ASU
                             housing at SAC.
                           • NDS:102 - NDS status for prtvileges and property but not considered far
                           accelerated transfer process.

                          If you have any question. regarding these expectations, please contact your
                          respective Mission, Associate Director.



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                          Director
                          Division of Adult I stltutions


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                          TIMOTHY BELAVICH, Ph.D., MSHCA, CCHP,MH
                          Director (A), Division of Health Care Services and
                          Deputy Director, Statewide Mental Health Program
                          California Department of Corrections and Rehabilil!!llon

                          cc:   Kathleen Alllson
                                Kelly Harring1on
                                Tim Virga
                                Dennis Halverson
                                Kevin Ormand
                                Thomas Tyler




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     Memorandum
     Date-          September 2, 2014 .
    To               Associate Directors. Division of Adult Institutions
                     Wardens
                     Chief Executive Officers
                     Chiefs of Mental Health
                     Classification staff Representatives
                     Classification and Parole Represenu.tives


    Si.Jbje.::! :
                     IMPLEMENTATION OF NON-DISCIPLINARY SEGREGATION FOR MENTAL HEALTH
                     SERVICES DELIVERY SYSTEM INMATES PROCESSING, PROCEDURES, AND
                     REQUIRED TRAINING

                    The purpose of this memorandum is to provide procedures as it applies to !hose
                    cases _designated as Non-Disciplinary Segregation (NOS) by the Institution Classification
                    Committee (ICC) prior to implementation of memorandum dated August 14, 2014, tttlect
                    Non Disciplinary Segregation for Mental Health SeNices Delivery System Inmates, and lo
                    outline associated training requirements.

                    As noted in the memorandum and in order to comply with ·lhe Apri; 10, 2014,
                    Coleman v. Brown, court order, inmates in the Mental Healtn Services Delivery
                    System (MHSDS) who are placed into an Administrative Segregation Unit (ASU) for
                    non-disciplinary reasons are io be removed within 72 hours of NOS designation
                    by the ICC.

                    Training Completed by September 15. 2014

                    The insiituUons are herain required to complete on-the-job training to staff affecled to
                    include but not be lim~ed to: ASU line staff, all managers; all custody supervisors; and all
                    counseling series, by September 15, 2014. It is essential U1at ~ey counseling series staff
                    receive iraini11g immediately to comply with Implementation requirements. Confirmation
                    of completion of requisite training will be submitted to your respective Mission l',ssociate
                    Director. The On-the-Job·tralnlng code assigned for tracking this training Is:

                       8428 Non-Discipline Seg MHSDS 1/M 1.0 Hour

                    Pre-Screening MHSDS NOS Cases by September 15, 2014

                    Upon completion of training, but no later than September 15, 2014, counselor series staH
                    will conduct a pre-screening of each currnnt MHSDS NOS case for appropriate criteJia for
                    NOS placement and accelerated transfer process. These cases are identified in
                    COMPSTAT ASU tracking under the previous "Reason for Placement" codes NOS: 100
                    and NOS: 101.




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                  Associate Oirectms, Division oi Adult Institutions
                  Wardens
                  Chief. E~ecutive Officers
                  Chiefs oi Mental Health
                  Classification Staff Representatives
                  Classification and Parole Representatives
                  Page 2



                  •    For those MHSDS NOS cases thal are pre-screened approprla te tor
                       accelerated transfer which do not have a current or pending Classification Staff
                       Representative (CSR) transfer endorsement. the Gorreciional Counselor (CC) shall
                       schedule the inmate for the next · available ICC.    Those cases pre-screened.
                       appropriate shall have prlortty scheduling for ICC. Utilizing the NOS processing-
                       procedure for MHSDS inmates, these Inmates shall be transierred within 72 hours
                       oi ICC.

              •        For those MHSDS NOS cases that are pre-screened with the recommendation
                       of appropriate for accelerated transfer that do hav& a current CSR transfer
                       endorsement· the CC shall refer the case to the ClassifJCation end Parole
                       Representative (C&PR)/Reception Genter (RC) CC Ill Utilizing the NOS processing
                       procedure for MHSDS Inmates, these inmates shall be transferred within 72 hours.          ;
                                                                                                                 l
                                                                                                                 ~
              •        For those MHSDS NDS cases· that are pre-screened with the recommendaUon                   i
                       of appropriate far a.ccelerated transfer which are oendina CSR review for transfer,       1
                       the CC shall refer !he case lo the C&PR/RC CG Ill. Utilizing the NDS procP..ssing         ;
                       procedure for MHSDS inmates, these inmates shall be transferred within 72 hours,

                      For those MHSDS NOS cases that are pre-screened with the recommendation of
                                                                                                                 !
                      does not meet NOS criteria, not appropriate for accelerated transfer. the CC snail
                      refer the case to the next available ICC.                              '                  I.!
              •       For thosa MHSOS NDS cases that are pre-scraened with the recommendation of
                      moots NDS criteria, not appropriate. for accelerated transfer, the CC shall :::hange
                      the ASU Placement Gode to "NDS:102" (NDS status for privileges and property bu,            l
                      not considered for accelerated transfer process) and the case will be reviewed duling
                      the next scheduled subsequent ICC.                                                         I
                                                                                                                 I
          Pre-Screening Tracking

          All pre-screening of MHSDS NOS cases will be entered into COMP STAT ASU Tracking
          Log In the "Case Comments" section [previously titled 'Other'] under the 'Placement" tab.
          The entry shall be at the very beginning of the section and shall have _the date of lhe
          review, the recommendation of appropriate criteria for NOS placement and accelerated
          transfer process, ~nd the inlt!als of the screener.

          E~amples (may use case note shorthand):

          ,           "August i5, 2014 M.HSOS NDS pre-screening, recommend appropriato, ior
                      accelerated transfer, no current or pendina transfer endorsement, refer ICC (CP). •·




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              Chief Executive Officers
              Chiefs of Mental Health
              Classification Staff Representatives
              Classification and Parole Representatives
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              •   'August 15, 2014 MHSDS NOS prs•screening, recommend appropriate for
                  accelerated transfer, bus seat requested August 11, 2014 (GP)."
              •   August 15, 2014 MHSDS NOS pre-screening, recommend appropriate for
                  accelerated transfer, pendino CSR transfer endorsement (CP).'
              •   "August 15, 2014 MHSDS NDS pre-screening, recommend NDS:102 not appropriate
                  for accelerated transfer (CP). •
          •       "August 15, 2014 MHSDS NDS pre-screening recommend does not meet NDS
                  criteria, refer ICC.'            ·

          COMPSTAT ASU NOS Tracking Modifications

          Information regarding the use of NOS status ior all inmates incluoing MHSD.S participanis
          shall be tracked in the COMPSTAT ASU Tracking system. To that end the COMPSTAT
          ASU Tracking system will have the foll.owing modifications;

          •       New NDS ASU Placement Codes for use following ICC effective August 14. 2014.

                  o NOS: 200 - NDS status for accelerated transfer process.
                  o NOS: 201 - NOS status for accelerated transfer process to afiernalive ASU h'ousing
                      at SAC.

          •       New NDS ASU Placement Codes for use during pre-screening by Ct effective
                  August 141 2014.

                  a   NOS: 102 - NOS status for privileges and property but not considered         for
                      accelerated transfer process.

          •       Reason for Placement codes NOS: 100 and NOS: 101 should no longer be used afler
                  September 1, 2014.

          ,       A new field for "Date of ICC NDS Placement' has been added between Date oi lniiial
                  ASU ICC and Date of Last ASU ICC.

                  o IF any NOS placement code is entered than the new Date of ICC NOS Placemen!
                     must be entered.
                  •j If the new Date or ICC NDS Placement is entered than a NOS ASU Placement
                     Code must be entered.




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           Training on the COMPSYAT ASU NOS Tracking modifications was provided b\'
           Population Management Uni! via email attached Power Point presentation on
           August 20, 2014. This training is also available on the COMPSTAT ASU Tracking Center
           Homepage under Reference Library (User Manual).             For questions relative to
           COMPSTAT ASU tracking, please contact CCIII Angella DeBusk, al (916) 445-0373 or
           CCII (Specialist) Christina Phlllips at (916) 322-2283,

          For other questions regarding these expectations, please contact your respective Mission
          Associate Director.



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          Director
                                           ~ 'Y) ~~~LQ..1~
                                            TIMOTHY BELAVICH, Ph.D., MSliCA, CCHP-MH
                                            Director (A), Division of Health Care Services and
          Division of Adult Institutions    Deputy Director, Statewide Mental Health Program

          cc:   Kathleen Allison
                Kevin Orm~nd
                Kelly lia rrington
                Thomas Tyler
                Tim Virga
                Christina Phillips
                Dennis Halverson
                Angella DeBusk




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    Stale of Calffomia                                                      Deperfmonl of CorrooUons and Rehabllitallon

    Memorandum
    Date
                Sepcembar 15, 2014
    To          Associate Directors, Division of Adult lnslltutlons
                Wardens
                Chief Executive Officers
                Chiefs of Mental Health
                Classification Slaff Representatives
                Classification and Parole Representalives


   Subject :
                PRIORITY CASE-BY..CASE REVIEW OF MENTAL HEALTH DELIVERY SYSTEM
                LONG-TERM SEGREGATED INMATES

                The purpose of this memorandum Is to se! forth a process by which lhe retenUon of
                Inmates Identified as participants In lhe Mental Health Services Delivery
                Syetem (MHSDS) in Administrative Segregation Units (ASU), Psychtat~c Services
                Units (PSU), and Security Housing UnHs (SHU) will be revlewco and assessed.

               Thi! placement of Inmates Into ASU Is intended as temporary housing, for use when an
               inmate•~ presence In an Institution's general popul1dlon presents en immediate threat Jo
               the safety of the Inmate or others, endangers lnslftulion security or jeopardizes ths
               inlegrtty of an investigation of an alleged serious misconduct or criminal activlly, Inmates
               delermined to no longer present such a threat to lhemselves or others, endanger the
               security of the Institution, or Jeopardize the Integrity ofan Investigation if released to the
               general population should not be housed In segregation.

               To most efflclently implement identified changes to the ho116ing of MHSDS participants
               housed In ASU, SHU, and PSU as tllrected In meniorande:

                • Nori-Disciplinary SegregaHon Processing Procedure for Mental Health Services
                  Delivery System Inmates dated August 14, 2014.
                • Implementation of Non-Disciplinary Sagregaflon for Mental liealth Services Delivery
                  System Inmates Processing, Procedures, and Required Training dated
                  September 2, 2014,

                Priority case-by-case reviews shall be conducted of all MHSDS Inmates housed In ASU
                over 150 days and specific Delerminate and Indeterminate SHU/PSU MHSDS Inmates,
                beginning with those inmates With the greatest lengths of stay, Prior to the priority
                case-by-case review, training regarding the Identified changes and expectatlons will need
                lo be provided to all committee members to facilitate consistent desired oulcomes,
                Those lralnlng requirements are arliculated In the listed memoranda. Training wlll afso
                be augmented with the use of mandatory teleconferences.




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           The specific MHSDS Determinate and Indeterminate SHU/PSU cases that shall have a
           priority oase-,by-case review are:

          • Any lnmale with a determinate SHU term wllh segregated housing for 30 or more
            continuous months and a controlling Minimum EHglble Release Date (MERO) beycnd
            12 months.
          • Any Inmate with an lndel8rm[nate SHU term due to disciplinary behavtor with
            SHU/PSU housing for two or more continuous years.

          The following MHSDS SHU/PSV cases wlll not receive a priority case-by-case review by
          the Institution or through Case Conference, but rather will be reviewed by the
          Departmental Review Board (DRB) or Securt\y Threat Group (STG) process,
          respectiV<:ily:

          • Any inmate With an indeterminate SHU term due to DRB wUI be re\lfewed In
            accordance with currant policy, i.a., DRB determined time frames specific to
            deliberated case factors.
          • Any inmate with an Indeterminate SHU tenm due to Validated STG Affiliate will be
            reviewed In 11ccordance with current standards, I.e., STG ldentlflcaUon, Prevenfion, ·
            and Management Pilot Project.                                        ·

          Institution Review of MHSDS ASUISHU/PSU

          Once training is complete, the Institution WIii be given:

          • 90 days lo complete a review of all MHSDS· ASV Inmates hous<ad in segregation for
            over 150' days on September 22, 2014.
          • 180 days to complete a review of above specffied MHSDS SHUIPSU inmates housed
            in segregation on Septamber 22, 2014.
          • Wardens of instltuUons housing Inmates ·designated as Department of State Hospitals
            outpaUent le'vel of care shall be responsible for ldenUfying and reviewing any Inmate
            within their program masting !he timefremes for tllvlew.

         lnslltutions will begin their review with those lnma.tes wlth the greatest lengths of stay.
         The lnsiltutlonal ClassfflcaUon Commtttee (ICC) shall conducl e pnority case-by-case
         review of all available case factors, dlsclpllnary history, and Mental Health Treatment
         Plan. All relevant documentation shall be re\lfewed including but not llmlted lo:
         COOR Fonm 115-MH, Rules Violation Report Mental Health Assessment Request,
         CDCR Form 83 7, Crime/Incident Report, CDCR Form 721 fJ, Medical Report of Injury or
         Unusual Occurrence, and recent lnterdisclpllnary Treatment Team (IDTT) progress notes,
         to the extent available.




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          In addition, the stability of Iha inmate's mental status and efficacy of the treatment plan
          are reviewed. Further, whether the Inmate had the ability to understand and comply wHh
          irn;tructions and the role the Inmate's mental health symptoms played In any
          CDC Fonn 115, Rules Violation Repor1, If issued, Is reviewed. The mental health team
          shall pr.ovide Input regarding If the currant treatment plan Is succesi;ful In controlling or
          decreasing simKar behaviors, or whether the lreatment plan requires modiflcetlons and
          ultimately to detennlne If the Inmate demonstrates an ongoing seourlty risk that
          potenUally threatens Institution safety and security, thereby warranting conUnued
          segregated housing placement.

          For any inmate in segregated housing who, at Iha most recenl ICC, the clinician Foun:J
          that continued segregation placement 1$ Ukely to cause his or her mental heaHh condition
          to decompensate as documented on the CDC Fonm 12s-G, Chrono Clesslflcation. the
          Inmate shall be considered for transfer to an aHernali•e placement approprlate lo
          address such risk to lhe Inmate's mental health.

          The ICC shall determine if U1e inmate demonstrates arr ongolflll security risk that
          threatens lnsutullon safely and security, thereby warranting continued segregated
          housing placement, If the Inmate does nol demonstrate an ongoing security risk, he or
          she shall be considered for release to eppropr1ate housing.

          For any MHSDS inmate not recommended for release from segregated housing duri11g
          the lnsHlutlon ·Review process, the ICC shall discuss with the Inmate, and document,
          specific behavioral goals for the Inmate to be released From segregated housing.

          This lnstltuUon Prlorlly CasirBy-Cese Review process will allow all Institutions lo
          simultaneously begin the review process thus affording the greatest number of caee
          reviews to be conducted in the shor1ast amount of time. If add!Uonal lime is required to
          complete the case work due lo volume, the Warden shall submit a wr1tten request to lhelr
          Associale Director.

          Over1ime Is to be authorized for Correctional Counselor (CC) I end CC II (Spec:iaUsts) 1o
          prepare cases for ICC as determined by the Warden. Allocation of overtime is to be
          reviewed by the Progretn Support Unit based qn identified Institutional caseload. Please
          use the Business lnfomia11on System telestaff paycode 'COLCW-CC Coleman
          Casework' to track this overtime.

          Long-Term Segregated Case Conference

          All MHSDS c,leas retained in segregated housing following the Institution Priority
          CasirBy°Case Review shall be referred for a Long-Term Segregated Case Conference
          within 30 days of compleijng the institutional case reviews,




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           Thereafter, all MHSDS ASU Inmates retained in ASU over 150 days- and !hose spac_ified
            MHSDS SHU/PSU cases also retained in se_gregated housing shall be referred for a
            Long Term Segregated Case Conference. Long-Term Segregated Case Conlerences
           shall be scheduled giving priority equitably to ASLI and SHU/PSU cases based on length
           of stay. In segregated housing. In no case shall a MHSDS participant's Case Conference
           lake place more than 30 days after an lnsll!utlon's decision to retair, beyond the
           delineated lengths of stay.

           The Long-Term Segregated Case Conference will conduct a case-by-case review oi all
           available case factera, disciplinary history, and Mental Health Trealment Plan. All
           relevant documentation shall be reviewed Including but not llmtted to:
           CDCR Form 115-MH, CDC Form 837, CDCR Form 7218, and recent IDTT progress
           notes, to the extent allBilable, In add!Uon, the stability of the Inmate's mental status and
           efficacy of lhe treatment plan shall be reviewed. During the review, lhe current treatment
           plan shall be assessed to determine whether ~-is successful in controlled or decreasing
           problemeUc behavtars or whether the treatment plan should be modlfled. Further, the
           role the Inmate's mental health symptoms played In any CDC form 115, Rules Violation
           Report, If issued, ls reviewed.

           The Long-Term Segregated Case Conference team shall determine If the inmate
           demonstrates an ongoing_ seculity risk that threatens Institution safety and security,
           !hereby warranting cantlnued segregated housing placement. If the inmate does no!
           demonstrate an ongoing security risk, he or she shall be considered for release to the
           General Population.                           ·

           Lang-Term Segregated Case Conference members will consist of.

           •      Mission Associate Director
                  Warden
           •      Senior Psychologist, Supervisor or Supervising Social Worker of the mental health
                  program
          •       Treating Psychiatrist
          •       Captain, Adulf lnstttutlons
          ,       CC Ill, CC II
          •       other staff as required

          Any MHSDS participant who Is not released to General Population by the Long-Term
          Segregated Case Conference will be pe~odlcally re-reviewed for release through the
          Lang-Term Segregated Case Conference p,:oqess. The Associate Director shall
          deterinine the time frames for the next review; however, such reviews will lake place al




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           intervals not to exceed 180 days for class members in the SHU/PSU, and not to exceed
           ·so days for class members In the ASU.
           The Long-Term Segregated Case Conference with recommendations regarding If
           continued segregated housing placement Is warranted or not warranted shall be entered
           Into the Strategic Offender Management System. Cases with a recommendation for
           placement in non-segregated housing shall by referred to the next scheduled ICC, In
           accordance with all due process requirements or, If appropriate, referred to· Menial Health
           uW/zlng the existing Mental Health referral process.

           If ycu have any q ues~ons please contact Melanie Scott, CC Ill. Class111cetlon Services
           Unit (CSU), et (El16) 322-4730 or Kurt Luther, Captain, CSU, at (916) 324-3598 .




                                                .:::·::::z:.~,,_,._.A..G~
                                                  TIMOTHY BELAVICH, Ph.D .. MSHCA, CCHP
           Director                               Director (A), DMalon of Health Care Servics
           Division of Adult lnslllut/ons         Deputy Director, Statewide Mental Health

          cc:    l<athleen An/son                 Thomas Tyler
                 Kelly Harrington                 Melanie Scott
                 Tim Virga                        Gena Jones
                 Dennis Halverson                 Christina Ph/lllps
                 Kevtn Onmand




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 Slate of California                                                           Department of Corrections and Rehabilitation



 Memorandum
 Date         12/23/2014

 To           See Distribution List




Subject:      TRANSFER OF INMATES TO AND FROM MENTAL HEALTH CRISIS BEDS

             The purpose of this memorandum is to provide darifrcalion of the interdisciplinary
             coordinated actions necessary, especially as it relates to custody staff, for transfer of
             inmate-patients (IP) who are clinically accepted to and discharged from a Mental Health
             Crisis Bed (MHCB) and to emphasize the importance of pre-discharge planning. This
             memorandum both supersedes specific prior California Department of Corrections and
             Rehabilitation's (CDCR) memorandums and should be implemented in conjunction with
             other departmental policies (Attachment A). This memorandum is an accompaniment to
             the Mental Health Services Policy 12.05.200 et al (Attachment B).

             MHCB Admissions

             The Division of Correctional Health Care Services, Health Care Placement Oversight
             Program (HCPOP), is responsible for managing the utilization of designated specialized
             health care beds, including MHCBs. All IP placements into a MHCB require authorization
             from HCPOP.

             The 24 hour MHCB transfer timeline begins upon clinical determination a MHCB is required.

            Within one hour of clinical determination that an IP requires placement in a MHCB and/or
            prior to placement into alternative housing, the referring clinician shall contact both
            HCPOP and the Classification and Parole Representative (C&PR), or during non-business
            days/hours, the Watch Commander (WC).

            • HCPOP can be contacted 24 hours per day, seven days per week at (916) 204-0321, or
              via e-mail at hcpop.mhcb@cdcr.ca.gov or on global as MHCB-HCPOP@CDCR.

            • Provide IP name, CDCR number, mental health Level of Care (LOG) prior to MHCB,
              criteria for placement, referring institution, and contact name with callback number.

            HCPOP monitors the Strategic Offender Management System (SOM$) for vacant MHCBs
            and determines bed availability. Once a vacant MHCB is identified HCPOP:

            • Notifies the referring clinician of the bed assignment and if not internally admitted to a
              MHCB, furnishes receiving clinician contact information.

            • If not internally admitted to a MHCB, directs the MHCB Clinical Director or designee
              (receiving clinician) to hold the available MHCB and furnishes IP information and
              referring clinician contact information to the receiving clinician.




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       Within two hours of bed availability notification by HCPOP and if not internally admitted lhe
       referring clinician. sends lhe completed referral packet and calls the receiving clinician.

      Within one hour of receipt, the receiving clinician reviews the completed referral packet,
      conducts the pre-admission screening for placement, and notifies the referring clinician of
      acceptance. Missing paperwork shall not be a cause for non-acceptance. The receiving
      and referring clinician will work together to ensure all required paperwork has been
      provided/received.

      Within one hour of acceptance from the receiving clinician, the referring clinician shall
      complete a CDCR Form 128-C, Medical/Psychiatric/Dental Chrono, indicating acceptance
      and the !P's bed number and forward the form to the receiving clinician and the C&PR or
      WC at the sending institution.

      Immediately upon receipt of the 128-C, the Chief of Mental Health or designee at the
      receiving institution ensures the C&PR or WC at the receiving institution receives the 128-C,
      Medical/Psychiatric/Dental Chrono Indicating acceptance.

      MHCB transfers shall be done under authority of the Department Operations Manual,
      Section 62080.17 "Emergency Medical Transfers" and shall be done via the Classification
      Services Unit (CSU) teletype process on a "Psychiatric and Return" basis. The C&PR at
      the receiving institution shall contact CSU for teletype transfer approval. Emergency
      medical transfer to MHCB shall not be delayed pending teletype approval.

      The 24 hour MHCB transfer timeline begins upon clinical determination a MHCB is required.
      A transfer is the day/time the IP leaves the institution for transport to/from a MHCB
      according to SOMS.

      The C&PR at the sending institution shall notify Statewide Transportation of the request to
      transport. If Statewide Transportation is unable to complete transport within the required
      timelines, the institution transportation team shall complete the transport.

      It is the responsibility of the sending institution, Clinical staff, HCPOP, CSU, and
      transportation to ensure transport within 24 hours of MHCB referral. Collaboration between
      all involved disciplines, divisions, and units is essential in order to achieve the 24 hour
      transfer requirement.

      In the event HCPOP is unable to secure a MHCB placement immediately, the institution
      shall refer to the Alternative Housing Prioritization procedures as outlined in the Mental
      Health Services Policy 12.05.301, "Housing of Inmate-Patients Pending Mental Health
      Crisis Bed Transfer," dated October 2013, pending a MHCB bed placement.

      In keeping with current policy, the sending institution shall retain an IP bed/cell for a
      minimum of ten days if the IP is transferred to a MHCB.




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       Rescinding a MHCB Referral

       If HCPOP and the C&PR or WC were notified of the need for transfer, the referring
       clinician or designee immediately, and not to exceed one hour, notifies HCPOP and C&PR
       or WC of the rescission.

       MHCB Intake

       Upon transfer to the assigned MHCB, the receiving clinician will admit the IP to the MHCB
       and provide MHCB services for an anticipated length of stay duration up to 10 days. The
       MHCB Inter-Disciplinary Treatment Team (IDTT) shall meet within 72 hours of an IP
       admission and at least weekly thereafter. The Chief Psychiatrist or designee must approve
       exceptions to this length of stay.

       Pre-Discharge Planning

       The IDTT shall begin discharge planning at the initial IDTT meeting. An assessment shall
       be conducted at the initial IDTT relative to the likelihood of the IP's ability to return to the
       sending (referring) institution, should the !P's MHSDS LOC change from the LOC prior to
       MHCB placement.

       Rules regarding return to original institution

       • IPs discharged at the Correctional Clinical Case Management or Enhanced Outpatient
         Program (EOP) LOC shall not be returned to institutions that do not provide the
         discharged LOC.

       • IPs with incomplete reception center (RC) processing shall be returned to the originating
         RC. For this purpose, Classification Staff Representative transfer endorsements shall
         not be considered part of the RC processing.

       • IPs with completed RC processing shall not be returned to the RC. Contact HCPOP for
         placement assistance.

       • IPs referred to an Intermediate Care Facility (ICF) or APP may remain in the MHCB until
         an ICF or APP bed becomes available.

       • IPs requiring Administrative Segregation Unit (ASU) EOP hub placement consistent with
         California Code of Regulations, Title 15, Section 3335 shall be referred to HCPOP for
         placement assistance.

       It is the expectation all cases determined during the initial IDTT to be highly unlikely to
       return to the originating institution be referred to the C&PR for pre-discharge planning with
       HCPOP to include, when appropriate, a Case Factor Sheet (CFS), completed by a
       Correctional Counselor. No CFS is required for IPs housed in ASU, Security Housing
       Unit (SHU), or Psychiatric Services Unit (PSU).




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       Pre-Discharge Planning (continued)

      The IDTT shall determine when an IP is pending clinical discharge and recommend a LOC
      that is appropriate. The mental health Primary Clinician (PC) shall immediately notify
      HCPOP and the C&PR of the pending clinical discharge and LOC to ensure transfer can be
      expedited.

      The MHCB institution C&PR shall review the aforementioned rules regarding return to
      original institution, the IP case factors and/or prior completed CFS and determine which
      institution the IP should be returned to after clinical discharge from the MHCB.

      If the IP is able to return to their originating referring Institution the MHCB Institution C&PR
      will notify the originating referring C&PR of the pending clinical discharge. The referring
      C&PR is to arrange for transportation so that transfer of the IP, once clinically discharged,
      occurs within 72 hours. The referring C&PR shall notify Statewide Transportation of the
      pending clinical discharge and request for transfer.

      If the IP is unable to return to their originating institution, the case pending clinical discharge
      shall be referred to HCPOP for re-direction.

      • Within four hours of PC notification of pending clinical discharge the MHCB Institution
        C&PR or designee will notify HCPOP and provide the relevant CFS, if necessary. No
        CFS is required for ASU/SHU/PSU IPs.

      • Within four business hours of C&PR or designee notification of pending clinical
        discharge, HCPOP will review the IP case factors and make a re-direction placement
        recommendation via case notes in the SOMS and notify the MHCB institution C&PR.

      • As soon as possible. but no later than one business day, of HCPOP notification, the
        MHCB institution C&PR or designee shall notify the MHCB Clinical Director that a
        receiving CDCR Institution has been determined for placement pending clinical
        discharge.

      • The MHCB Clinical Director or designee shall expeditiously notify the discharging
        clinician and institution to receive the IP once clinically discharged.

      MHCB Discharges

      The clinician discharging the IP shall complete the clinical discharge on the
      CDCR Form 128-MH3. and contact the Chief of Mental Health or designee at the institution
      to receive the discharged IP. The mental health identifier (MHI) of the discharged IP shall
      then be entered into SOMS prior to physical discharge.

      The clinician discharging the IP shall immediately notify HCPOP and the discharging
      institution's C&PR of the clinical discharge and shall provide a copy of the current
      CDCR Form 128-MH3, Mental Health Placement Chrono, to the C&PR or WC receiving the
      discharged IP in order to expedite the transfer.




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       If the IP is able to return to their originating referring institution the MHCB institution C&PR
       will notify the originating referring C&PR of the clinical discharge. Transfer of the
       discharged IP shall proceed according to pre-discharge plan.

       If the IP is unable to return to their originating institution, pursuant to the aforementioned
       pre-discharge plan, the MHCB institution C&PR will have already received re-direction
       notification from HCPOP and a HCPOP re-direction placement recommendation will be
       present via the case notes in SOMS.

       • Immediately upon notification by the clinician discharging the IP of clinical discharge, the
         MHCB institution C&PR shall present the case to the institution's assigned
         Classification Staff Representative (CSR) for an emergency transfer endorsement. If a
         CSR is not currently assigned to the MHCB institution at the time of the re-direct, the
         MHCB institution C&PR shall contact the Classification Staff Representative scheduler.

       • Within four hours of notification by the MHCB institution C&PR, the CSR shall review the
         case for an emergency transfer endorsement. On difficult to place cases, the CSR shall
         coordinate with the CSU and Population Management Unit to ensure placement into the
         least restrictive housing.

         o   If no CSR is available, the MHCB institution C&PR shall provide case factors to the
             re-direct institution's C&PR. The re-direct C&PR shall contact CSU for teletype
             endorsement if applicable and arrange IP transportation.

      • The MHCB institution C&PR or designee shall additionally ensure a confirmed contact
        is made with the receiving C&PR or designee.

      • Within 72 hours of clinical discharge, transfer of the discharged IP shall proceed
        according to pre-discharge plan. It is the responsibility of the institution receiving the
        discharged IP to make all transfer arrangements. Statewide Transportation may be used
        if they are able to meet the 72 hour lime frame.

      IPs clinically discharged from MHCB can be housed in general population, if placement is
      consistent with clinical needs, case factors, and appropriate program availability. This
      placement shall be coordinated and approved through the institution's Warden or designee.

      For your convenience, please see the provided flowchart (Attachment C).




                                                                                             APPENDIX PG. - 289
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        See Distribution List
        Page 6



       If you have any questions or require additional information, please contact
       James Robertson, Chief, CSU, at (916) 322·2544 or Judy Burleson, Chief, HCPOP,
       at (916) 691-0312.



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                                              < ~1:fELAVICH, Ph.D., MSHCA, CCHP
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       Director                                    Director (A), Division of Health Care Service
       Division of Adult Institutions              Deputy Director, Statewide Mental Health

       Attachments

       Distribution list:

          Deputy Director(s). Division of Adult Institutions
          Associate Directors, Division of Adult Institutions
          Associate Directors, Statewide Mental Health Program
          Regional Chiefs of Mental Health
          Healthcare Executive Regionals
          Wardens
          Chiefs of Mental Health
          Chief Executive Officers
          Classification Staff Representatives
          Classification and Parole Representatives
          Correctional Counselors Ill, Reception Centers
          Chief, Transportation Unit
          Chief, Classification Services Unit
          Chief Psychologist, Clinical Policy and. Program Development, DCHCS

          cc:   Judy Burleson
                Vincent S. Cullen




                                                                                                         APPENDIX PG.   290
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                                          ATTACHMENT A


       Policies outlined herein are to be implemented in conjunction with existing departmental
       policies outlined in the following memoranda, policies, and procedures:

          1. Mental Health Policy 12.05.200; Mental Health Crisis Bed Referral, Rescission, and
             Discharge Policy.
          2. Mental Health Procedures; 12.05.200.P1 Mental Health Crisis Bed Referral
             Procedure, 12. 05. 200.P2 Mental Health Crisis Bed Rescinding a Referral,
             12.05.200P3 Mental Health Crisis Bed Discharge Procedure.
          3. Mental Health Policy 12.05.601; Documentation Required for Referral to Mental
             Health Crisis Bed.
          4. Mental Health Services Delivery System, Program Guide, 2009 revision.
          5. CDCR and DSH Acute and Intermediate Care Facility (!CF) Memorandum of
             Understanding (MOU) dated August 11, 2006, and August 18, 2010.
          6. Mental Health Crisis Bed/Department of Mental Health Transports dated
              March 30, 2012.
          7. Case-Work Expectations, Classification Tima Frames, and Psychiatric and Return
              Policy for Department of State Hospitals Acute and Intermediate Facility Inmate-
              Patients dated March 21, 2013.
          8. Implementation of Alternative /Temporary Housing dated February 4, 2010
          9. Altemetive Housing Cell Prioritization and December 12, 2012
          10. Use of Alternative Housing dated May 16, 2012


       Policies outlined herein supersede and integrate within existing departmental policies
       outlined in the following memoranda:

          1. Procedures for Transfer of Inmate-Patients after Discharge from Mental
             Health Crisis Bed Treatment, memorandum dated September 8, 2009.
          2. Procedures for Transfer of Inmate-Patients after Discharge from· Mental Health
             Cnsis Bed Treatment memorandum dated August 11, 2008.
          3. Transfer of Inmates being Discharged from Mental Health Crisis Treatment,
             memorandum dated May 23, 2002
          4. Amended November: 17. 2004, Memorandum, dated November 2, 2005.
          5. Approval of Psychiatric and Return Process for Transfers to the California
             Medical Facility/Department of Mental Health, memorandum dated
             April 10, 2000.
          6. Primary and Alternate Hub Designations for Placement of Inmates who require
             Administration Segregation Placement and Mental Health Services, memorandum
             dated June 17, 2008.
          7. Retaining Beds for Mental Health Cnsis Bed and Outpatient Housing Unit Cases,
             memorandum dated December 20, 2002.
          8. Psychiatric and Return Policy, dated November 17, 2004.
          9. Health Care Placement Unit Hours for Mental Health Crisis Bed Referrals,
             memorandum dated September 16, 2003.




                                                                                           APPENDIX PG. - 291
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                                                ATTACHMENT B



                          HEALTH CARE SERVICES
      MEIV10RANDUM
                     12/23/2014
      To:            Chief Executive Officers
                     Chiefs of Mental Health
      F;om:
                   _:::::::z. ~b---: '·'-"'?-,"'-v-
                     TIMOTHY G. BELAVICH, PH.D., MS HCA, CCHP·MH
                     Director {A}, Division of Health Care Services
                     and Deputy Director, Statewide Mental Health Program


                   (_{X2~!(
                    Director
                    Division of Adult Institutions
      5ubject:      MENTAL HEALTH CRISIS BED· REFERRAL, REFERRAL RESCISSION, AND DISCHARGE POLICV
     The purpose of this memorandum is to announce the release of the Mental Health Crisis Bed (MHCB) -
     Referral, Referral Rescission, and Discharge policy (12.05.200) and procedures (12.05.200.Pl,
     12.05.200.P2 and 12.05.200.P3) (Attached).

     Effective immediately the attached MHCB referral and discharge policy and procedures will supersede
     the following memoranda:

     1.     Procedures for Transfer of Inmate-Patients After Discharge from Mento/ Health Crisis Bed and
            Department of Mento/ Health Treatment dated September 8, 2009.
     2.     Criteria for Prioritiz;ng Mental Health Crisis Bed Admissions dated October 3, 2008.
     3.     Tracking and Transfer of /nmote-Potients Requiring Mento/ Health Crisis Bed Core dated
            March 26, 2007.
     4.     Standardization of Mento/ Health Crisis Bed Admission Procedures dated September 6, 2005.
     5.     Health Care Placement Unit Hours for Mento/ Health Crisis Bed Referrals dated
            September 16, 2003.
     6.     Retaining Beds for Mento/ Health Crisis Bed and Outpatient Housing Unit Cases dated
            December 20, 2002.

     Local operating procedures shall be updated to reflect these changes no later than January 15, 2015.
     Copies of the amended procedures should be forwarded to the following email address:
     COCR MHPolicyUnit@COCR.          If you have clinical questions or need additional Information contact
     Laura Ceballos, Ph.D., Chief, Quality Management, Statewide Mental Health Program, Division of Health
     Care Services, at (916) 691-0308 or email at Laura.Ceballos@CDCR.ca.gov, For custody, transfer, or
     other operational questions, contact James Robertson, Chief, CSU, at (916) 322-2544 or
     Judy Burleson, Correctional Administrator, HCPOP, Field Operations, Statewide Mental Health Program
     by telephone at (916) 691-0312 or email at Judy.Burleson@CDCR.ca.gov.



     HEALTH CARE SERVICES ['




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      MEMORANDUM
     Attachments


     cc:    Angela Ponciano
            Nathan Stanley
            Amy Eargle, Ph.D.
            Laura Ceballos, Ph.D.
            Edward Kaharian, M.D.
            Judy Burleson
            Kathleen Allison
            Kelly Harrington
            Jay Virbel
            Ralph Diaz
            Amy Miller
            Connie Gipson
            James Robertson
            John Herrera
            Regional Mental HeaJth Administrators
            Regional Healthcare Executives




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     HEALTH CARE SERVICES!




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                                                             Effective Date:                          December 2014



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         MENTAL HEALTH SERVICES                                                ,.   _______
         CHAPTER 05:                                                                              '
                                                           Revision Date(s):                          NA
     i
     !
         INPATIENT SERVICES


     112.05.200           -·                             '
                                                           Supersedes Memoranda·
                                                         i dated: /See Attachments}                   '"""'
                                                                                                      9/06/05; 12120/02

         MENTAL HEAL TH CRJSIS BED· REFERRAL, REFERRAL   i Attachments:                               Yesl:>s] NoO
         RESCISSION, AND DISCHARGE POLICY                I                                                                                   I
                                                         1 Director

                                                         j Approval:
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  Policy                 An inmate-patient (IP) suffering from an acute, serious mental disorder resulting in
                         serious functional disabilities or who is a danger to self or others as a consequence of a
                         serious mental disorder shall be referred to a mental health crisis bed (MHCB), All IP
                         placements into an MHCB shall require authorization from the Health Care Placement
                         Oversight Program (HCPOP) prior to placement. This includes internal placements
                         made by institutions with vacant MHCBs, All MHCB referrals are to be transferred (see
                         definition) to an MHCB within 24 hours of referral. If an MHCB is not available and a bed
                         is occupied by an IP for medical reasons, HCPOP, in consultation with Utilization
                         Management, may direct the movement of the medical placement to an outside hospital
                         or other appropriate medical placement. All IPs discharged from an MHCB must be
                         transferred within 72 hours of clinical discharge from an MHCB.

  Purpose                To ensure the effective management of statewide MHCB resources; bring equity to IPs
                         currently housed at institutions that do not have MHCBs; and ensure timely and equal
                         access to care.

  Definition             Transfer - The day/time the IP leaves the institution for transport to/from an MHCB
                         according to the Strategic Offender Management System (SOMS) departure dale/time.
  Compliance
                         MHCBs operate 24 hours a day, seven days a week. To be in compliance with this
  Indicators
                         policy, the following requirements shall be met:
                          1.   HCPOP shall be contacted within one hour of clinical determination that an IP
                               requires placement in an MHCB and/or prior to an IP's placement into alternative
                               housing (MH Policy 12.05.301 Housing of Inmate-Patients Pending Mental Health
                               Crisis Bed Transfer).
                         2,    HCPOP determines bed availability and notifies the referring clinician of the bed
                               assignment.
                         J.    HCPOP monitors the SOMS for vacant MHCBs. IP movement out of an MHCB shall
                               be entered into SOMS immediately and renect actual physical transfer date and
                               time.
                         4.    Upon receipt of the Clinical Director or designee's approval to transfer the IP to the
                               receiving institution's MHCB, the Chief of Mental Health or designee at the sending
                               institution shall complete a CDCR 128-C Chrono - Medical/Psychiatric/Dental,
                               indicating acceptance. Within one hour of acceptance, copies of the CDCR 128-C
                               Chrono shall to be forwarded to:
                       -·----------------------
 12.05.200: Mental Health Crisis Bed: Policy for Admission, Discharge, and Rescinding a                                            Page 1 of 3
            Referral




                                                                                                                              APPENDIX PG. - 294
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                                •   the MHCB Clinical Director or designee at the receiving institution
                                •   the Classification and Parole Representative (C&PR)NVatch Commander at
                                    the sending institution (MHSDS Program Guide Rev. 2009, p. 12-5-6).
                        5.   The C&PRNVatch Commander at the receiving institution are verbally notified within
                             one hour by the referring clinician's or designee's acceptance of an IP to the MHCB.
                        6.   HCPOP and respective custodial staff (i.e., C&PRNVatch Commander) are notified
                             within one hour by the referring clinician or designee when a referral is rescinded.
  Compliance                 (See Procedure 12.05.200.P2 Mental Health Crisis Bed: Rescinding a Referral)
  Indicators
  continued             7.   All MHCB IP's are transferred within 24 hours of referral to an MHCB unless the
                             MHCB referral is rescinded.
                        8.   All failures to complete an MHCB transfer within 24 hours of the MHCB referral are
                             reported by HCPOP to the Deputy Director, Statewide Mental Health Program.
                        9.   The treating clinician or designee shall immediately notify HCPOP of any MHCB
                             clinical discharges that occur throughout the day. The treating clinician or designee
                             shall immediately notify the respective C&PR or designee for placement
                             determination of an IP discharged from MHCB.
                        10. IPs who have been clinically discharged from MHCB are transferred as soon as
                             possible and within 72 hours. Pending transfer, the IP shall not be retained in the
                             MHCB. IPs discharged from MHCB treatment can be housed in general population.
                             if placement is consistent with clinical needs, case factors, and appropriate program
                             availability. If the inmate has clinical case factors relating to interim placement, then
                             the MHCB clinician shall inform HCPOP immediately.
                        11. IPs are returned to the sending institution unless the sending institution is not
                             designated to provide tor their mental health, custodial. or medical needs.
                        12. No IP's are transferred. upon clinical discharge, to an institution !hat is not
                             designated to provide for their mental health level of care.
                        13. A local operating procedure, consistent with all requirements of the statewide
                             MHCB Referral, Referral Rescission, and Discharge policy and procedure, is
                             developed.
                       Transportation
                       It is the responsibility of the sending institution to ensure transport within 24 hours of
                       MHCB referral and within 72 hours of clinical discharge. The C&PR at the sending
                       institution shall notify Statewide Transportation of the requested transport. If Statewide
                       Transportation is unable to complete the transport within the required timellnes the
                       institution transportation team shall complete the transport. The institution shall contact
                       HCPOP immediately when there are transportation delays,
                       Retaining Beds for MHCB Cases
                       Staff shall retain an IP bed/cell for a minimum of ten (10) days if the IP is
                       moved/transferred to an MHCB. This applies to intra-institutional moves as well as inter-
                       institutional transfers.

 References            California Code of Regulations (CCR) ntle 22, Section 79789. Patient Transfers.
                       licensing standards provide that a patient shall not be transferred unless and until the
                      receiving facility has consented to accept the IP. Specifically, the CCR provides, in part,
                     _ that no patient shall be transferred, or discharged for purposes of transferring, unless
12.05.200: Mental Health Crisis Bed: Policy for Admission, Discharge, and Rescinding a                    Page 2 of 3
           Referral




                                                                                                      APPENDIX PG. - 295
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                        arrangements have beenmade in advance for admission to a health facility.        ------
                        Division of Correctional Health Care Services, Mental Health Services Delivery System
                        Program Guide, Rev, 2009, Chapter 5, "Mental Health Crisis Bed."
                        Department Operations Manual. Section 62080.17. Emergency Medical Transfers
                        September 8. 2009, Procedures for Transfer of Inmate-Patients After Discharge from
                        Mental Health Crisis Bed and Department of Mental Health Treatment
                        June 17. 2008, Primary and Alternate Hub Designations for Placement of Inmates who
                        Require Administrative Segregation Placement and Mental Health Services.
                        December 20. 2002, Retaining Beds for Mental Health Crisis Bed and Outpatient
                        Housing Unit Cases,
                        October 9, 2013 MH Policy 12.05.301 Housing of/nmate-Patients Pending Mental Health
                        Crisis Bed Transfer
                        Inmate Medical Services Policies and Procedures (IMSP&P), Volume 4, Chapters 29,
                        Medical Classification System Policy, and 29.1, Medical Classification System Procedure

  Questions             If you have any questions or need any additional information related to this policy: you
                        may contact the policy unit via e-mail at: CDCR MHPolicyUnit@CDCR.




 12.05.200; Mental Health Crisis Bed: Policy for Admission, Discharge, and Rescinding a              Page 3 of 3
            Referral




                                                                                                 APPENDIX PG. - 296
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    MENTAL HEALTH SERVICES
                                                                         Effective Date:   December 2014
    CHAPTER 05:                                                          Revision
                                                                                           NIA
    INPATIENT SERVICES                                                   Date/sl:
                                                                         Supersedes:
    PROCEDURE 12.05.200.P1;
                                                                         Attachments:
    MENTAL HEALTH CRISIS Bea: REFERRAL PROCEDURE                                           Yesl:8:I NoO




     12.05.200.P1         Mental Health Crisis Bed: Referral Procedure

     Discussion           This document describes the steps required for submitting a Mental Health
                          Crisis Bed (MHCB) referral for inmate-patients (IPs) requiring MHCB level of
                          care (LOC).
                          Throughout the referral process, the referring clinician, receiving Clinical
                          Director, and referring and receiving Classification and Parole Representatives
                          (C&PR)/Watch Commanders communicate with each other to ensure all health
                          care, classification, and transportation issues are addressed.
       STEP       OCESS

        1     A referring clinician or interdisciplinary treatment team determines an IP requires
              MHCB LOC.
              - Referring cllnician: Documents the appointment on Clinician Daily Log (required
                for all contacts) and completes the Documentation Required for Admission to
                Mental Health Crisis Bed (Policy 12.05.601) also known as the referral packet (See
                Attached). For physician on duty (POD) evaluations, the referral packet is
                completed at the start of the next calendar day.
              -    Referring Data Entry Staff: Inputs Daily Contact Log entries into Mental Health
                   Tracking System (MHTS.net).

        2     The referring clinician:
                    Contacts Health Care Placement Oversight Program (HCP0P) within one hour of
                    clinical determination that an IP requires placement in an MHCB.
                    Contacts HCP0P prior to an IP's placement into alternative housing.
              -    In conjunction with custodial staff, consults policy 12.05.301, Housing of Inmate-
                   Patients Pending Mental Health Crisis Bed Transfer, when the IP requires
                   alternative housing pending transfer to an MHCB.
              HCP0P:
              -    Places the IP on the MHCB pending list upon notification of referral from referring
                   clinical staff.
              -   Locates and secures an MHCB for the IP in the order in which the need was
                  determined so that no IP is placed ahead of another with the caveat that HCP0P is
   12.05.200.P1: Mental Health Crisis Bed- Referral Submission                                 Page 1 of3




                                                                                                 APPENDIX PG. - 297
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                          expected to take time and distance into consideration. HCPOP uses discretion to
                          balance placements in order to use MHCBs as efficiently as possible based on the
                          overall needs of the Department.
                     - Directs the receiving MHCB Clinical Director or designee to hold the available
                          MHCB.
                     .    Upon chronological review of the MHCB pending list, immediately contacts the
                          referring clinician or designee with the MHCB bed location and provides the
                          receiving MHCB clinical staff contact information once a vacant MHCB is located.
             3       The following table describes the process for writing the referral order.

                     If the referring clinician ...      then immediately ...

                     Is privileged to admit to the       1. Writes the order to admit the IP.
                     receiving MHCB. (Note- all
                                                         2.     Writes a CDCR 128-MH3, Mental Health
                     placements, including those
                     at the same institution. must             Placement Chrono, indicating MHCB LOC, date,
                     be directed by HCPOP .)                   and the time of the referral.
                                                         3. Forwards the CDCR 128-MH3 to the referring
                                                               Strategic Offender Management System (S0MS)
                                                               Data Entry Staff, who enters the information into
                                                               SOMS.

                                                         1.     Documents "Refer to MHCB" on a Physician's
                                                               Orders CDCR 7221 form and forwards the order
                                                               according lo local operating procedures.
                                                       2. Completes a CDCR 128-MH3, Mental Health
                     Is NOT privileged to admit
                                                          Placement Chrono, indicating MHCB LOC, date,
                                                          and the time of the referral.
                                                       3. Forwards the CDCR 128-MH3 to referring S0MS
                                                              Data Entry Staff.


         4       C lin ician-to-clin icia n contact is        initiated between the referring     and receiving
                 institutions.
                 .       Referring Clinician: Upon no@cation by HCPOP of bed availability, the referring
                         clinician sends the completed referral packet (See attachment) and calls the
                         receiving Clinical Director or designee within two hours of bed availability
                         notification.
                 .       Receiving Clinical Director or designee: Within one hour of receipt, the receiving
                         clinician reviews the referral packet (See attachment), conducts the pre-admission
                         screening to determine if the IP is appropriate for MHCB placement, and contacts
                         the sending institution clinician on the status of the pre-admission review.


         5       The following table describes the steps required based on the pre-admission review
   12.05.200.P1: Mental Health Crisis Bed- Referral Subm,ss,on                                              Page 2 of 3




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                 by the receiving Clinical Director or designee.

                  If the inmate-patient is ...      then ...

                                                    Chief of Mental Health or Designee at the Sending
                                                    Institution:
                                                      1. Completes the CDCR 128-C, Chrono -
                                                         Medical/Psychiatric/Dental, indicating
                                                         acceptance.

                                                      2. Within one hour of acceptance. forwards
                  Accepted•
                                                         completed form with the I P's bed number to the:
                                                        .   Receiving Chief of Mental Health or
                                                            designee, who ensures the CDCR 128-C,
                                                            Chronr>-     Medical/Psychiatric/Dental was
                                                            received by the C&PR/Watch Commander.
                                                        - Sending C&PR/Watch Commander

                 Denied:       however   1the The case shall be referred to HCPOP, who
                 referring clinician believes immediately contacts the Mental Health Regional
                 the     clinical  need- for Administrator (MHRA) for resolution. If an agreement
                 transfer remains             cannot be reached, the IP shall be admitted and
                                              evaluated.

                 Denied and clinician does IP is not transferred. Referral is rescinded; HCPOP is
                 not believe the need for notified of rescinded referral (refer to Chapter 05:
                 transfer remains          Inpatient     Services,    Procedure      12.05.200-P2,
                                           Rescinding a Referral) immediately, but not to exceed
                                           one hour after the decision to rescind.

                *Note: Before the IP can be transferred, the receiving facility agrees to the transfer
                (California Code of Regulations (CCR) Title 22, Section 797B9) or provides just cause
                for the denial.

          6     The IP is transferred to an MHCB within 24 hours of referral. Please note: a transfer is
                the day/time the IP leaves the institution for transport to/from an MHCB according lo
                the Strategic Offender Management System (SOMS) departure dale/time.
                - Referring Clinical staff: Contacts HCPOP immediately if any barriers to the
                   transfer process are identified.
                - Receiving Clinical staff: Completes the required evaluations according to the
                   Mental Health Services Delivery System Program Guide.
                - Referring Clinical staff: If applicable, notifies HCPOP and MHRA as soon as
                   possible, but no later than the next business day, of the specific reason(s) which
                   delayed the transfer of an IP to the MHCB institution within 24 hours of referral.


    12.05.20D.P1: Mental Health Crisis Bed- Referral Submission                                       Page3 of3




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   MENTAL HEALTH SERVICES                                           Effective Date:         December 2014                              I
   CHAPTER 05:
   INPATIENT SERVICES                                               Revision Date(s):       NIA
   PROCEDURE 12.05.200.P2;
   MENTAL
      '   HEAL TH CRISIS BED: RESCINDING A REFERRAL                 Attachments:        I   Yes   □ NofZ!
                                                                    Directors
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                                                                    Approval:               - ··


    12.05.200.P2          Mental Health Crisis Bed: Rescinding a Referral

    Discussion            This document describes the process for rescinding a Mental Health Crisis Bed
                          (MHCBJ referral for inmate-patients (IPs) previously determined to require MHCB level
                          of care (LOC).
                          After an MHCB referral has been initiated/submitted. it may be withdrawn at any time
                          during the referral process by rescinding the referral.

       STEP      PROCESS
                      I




          1      If Health Care Placement Oversight Program (HCPOP) and custodial staff (i.e., Classification
                                                                                                    I
                 and Parole Representative [C&PRJ/Watch Commander) were notified of the need for
                 transfer, the referring clinician or designee immediately, and not to exceed one hour, notifies
                 HCPOP and respective custodial staff of the rescission.

          2      The clinician documents the rationale for rescinding the referral on a progress note (CDCR
                 MH-7230).

          3      If the
                      I clinician
                                I had already completed a placement chrono (CDCR 128-MH3).     I then he or she

                 writes a new chrono to remove the MHCB LOC documenting the IP's level of care upon
                 return to his/her cell and submits it to data entry staff. If no CDCR 128-MH3 was written, then
                 no action is' required.
                                      '

                 a. The clinician notes the rescission date, lime, and reason for rescission on the clinician
                    daily log.

                 b. The MHTS.net data entry staffI  enters the reason for rescission into the opened MHCB
                    level of care event/Mental Health Identifier (MHI) change screen (in the patient record) in
                    MHTS.net.

                c. The data entry staff enters the new mental health identifier, documented on the
                   CDCR 128-MH3 into SOMS.

                d. If a bed has already been assigned by HCPOP, then the clinician notifies the receiving
                   institution and respective custodial staff (i.e., C&PR/Watch Commander) regarding the
                   rescission and cancellation of the MHCB transfer.




   12.05.200.P2: Mental Health Crisis Bed: Rescinding a Referral                                                Page 1 of 1




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                                                                           Effective Date:       December 2014·



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         MENTAL HEALTH SERVICES
         CHAPTER 05:                                                       Revision
         INPATIENT SERVICES                                                                      NIA
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                                                                           Supersedes:
         PROCEDURE 12.05.200.P3:
         MENTAL HEAL TH CRISIS BED: DISCHARGE PROCEDURE                    Attachments:          Yes    □ Nalls)
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          12.05.200.P3           Mental Health Crisis Bed: Discharge Procedure

          Discussion             This document describes the steps required for discharging an IP from the Mental
                                 Health Crisis Bed (MHCB) level of care (LOG).
                                 Throughout the discharge process, the primary MHCB clinician or designee,
                                 receiving Clinical Director, and MHCB institution and designated receiving
                                 Classification and Parole Representatives (C&PR)/Watch Commanders will
                                 communicate with each other to ensure all health care, classification, and
                                 transportation issues are addressed.
            STEP   PROCESS
              1    Upon clinical discharge:
                   •    The primary MHCB clinician or designee immediately notifies Health Care Placement
                        Oversight Program (HCPOP) and the C&PR or designee of IP clinical discharge and
                        documents the date and time of discharge on the clinician daily log and the 128 MH-3
                        Mental Health Placement Chrono.
                    •   HCPOP will track administrative MHCB days.
                   •    The primary MHCB clinician forwards the daily log and 128 MH-3 Mental Health
                        Placement Chrono to the designated Mental Health Tracking System (MHTS.net) and
                        Strategic Offender Management System (SOMS) data entry staff.
                   •    Designated data entry staff enter the clinical discharge date and time into MHTS.net and
                        enter the new LOG, and new LOG designation date and time (from the 128 MH-3 Mental
                        Health Placement Chrono) into SOMS.
                   •    Upon review of the IP's case factors, the C&PR, or designee will determine whether the IP
                        can return to the original sending institution.
                             o   If the IP requires Administrative Segregation Unit (ASU) Enhanced Outpatient
                                 Program (EOP) hub placement, HCPOP will be contacted for placement assistance.
                             o   If the original sending institution cannot provide the necessary LOG. HCPOP will be
                                 contacted for placement assistance.
                   •    When contacted by the respective MHCB institution's C&PR for placement assistance,
                        HCPOP staff reviews the LOG bed availability and in accordance with the !P's case
                        factors, provides the MHCB institution with a placement recommendation, within four (4)
                        business hours (Monday through Friday 7:00 am to 5:00 pm}, on a CDCR Form 128-8,
                        General Chrono.

        12.05.200.PJ: Mental Health Crisis Bed: Inmate-Patient Discharge                                               Page 1 of 2




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               •   If IP is to be redirected, the C&PR at the MHCB institution presents the case to the
                   Institution's assigned Classification Staff Representative (CSR) for an emergency transfer
                   endorsement If a CSR Is not currently assigned to the MHCB institution at the time of the
                   redirect, the C&PR wilt contact the Classification Services Unit or the CSR Scheduler to
                   request a CSR be assigned to conduct a remote emergency transfer endorsement

         2     Special Housing Returns
              IPs who have been clinically discharged from MHCB are to be transferred as soon as possible
              and within 72 hours. The IP shall not be retained in the MHCB nor alternative housing pending
              transfer. If transitional placement ls needed, ii must be consistent with clinical needs, case
              !actors, and appropriate program availability with the following provisions:
               •   IPs discharged from MHCB treatment who have a Security Housing Unrt (SHU) term or
                   are on ASU status will be placed in the ASU al the origlnaUng institution's primary or
                   alternate ASU EOP Hub. If both the primary or alternate ASU EOP Hubs are unable to
                   accept the IP due to having exceeded their capacity, then HCPOP will be contacted for
                   placement assistance. Inmates on non discipffnary segregation (NDS) shall be handled
                   according to current policy.
               •   IPs discharged from MHCB treatment who have general population status are placed into
                   a general population unit, If placement is consistent with clinical needs, case factors, and
                   appropriate program availabil!ly.
               •   IP's discharged from MHCB shall not be retained in an ASU unless they are MAX custody.
              It is the responsibility of the designated receiving institution to make all transfer arrangements
              and remove the IP within 72 hours of clinical discharge. The C&PR at the receiving institution
              shall notify Statewide Transportation of the requested transport. If Statewide Transportation Is
              unable to complete the transport within the required timelines the institution transportation
              team shall complete the transport.




   12.0$,200.P3: Mental Health Crisis Bed: Inmate.Patient Discharge                                  Page 2 of 2




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   VOLUME 12:
                                                               Effective Date:       November 2014
   MENTAL HEALTH SERVICES
   CHAPTER 05:                                                 Revision Date(s):    November 2014
   INPATIENT SERVICES                                          Supersedes Policy:   August 2014
   POLICY 12.05.601
   DOCUMENTATION RE□UIREO FOR REFERRAL TO MENTAL Attachments:                       Yes ONo181
   HEALTH CRISIS BED
                                                               Director             .-:-.:.:;.:. __,.:.>.,._. 'i·.-.....\ •. 'r'-'·~·.x.•
                                                               Approval:


Policy             For all Inmate-patient (IP) referrals to a Mental Health Crisis Bed (MHCB),
                   referring/sending lnstHutions shall complete and submit a referral packet as
                   described In this poffcy.

Purpose            To standardize MHCB referral documentation; cia'rffy the expectations between the
                   sending and receiving Institutions; Improve the efficiency In generating the
                   documentation to provide timely access to care; and ensure that the receiving
                   MHCB staff has the necessary paperwork to admit the IP.

Discussion        When IPs are referred for and prior to acceptance Into an MHCB, lhe
                  referring/sending institution's mental health staff shall complete and make the
                  referral packet available to the receiving MHCB staff. While the receiving MHCB staff
                  may request addltional documentation beyond what Is required, the only
                  documentation required for the referral and acceptance Into the MHCB Is listed in
                  this policy. Each document shall be dated within the specified period of time
                  Indicated below for the purpose of the MHCB referral documentation.

Compllance        To be in compliance with this policy. the following documentation is required:
Indicators
                  1. CDCR 128C Transfer Chrono - Dated within two (2) days of the documented
                     date of referral.

                  2. CDCR 128-C3 Medical Classification Chrono - The most current per the medical
                     classlflcatlon pollcy (Inmate Medical Services Policies and Procedures
                     (IMSP&P), Volume 4, Chapters 29, Medical Classification System Policy, and
                     29.1, Medical Classificatfon System Procedure).

                  3. CDCR 7221 Physician Order Fomn (written by a psychiatrist, who has
                     competence in perfomning medical assessments, or primary care physician),
                     must state on the fomn: "Medically cleared for transfer" with a corresponding
                     progress note - SOAPE format - Dated within 48 hours of the documented date
                     of referral.
                  4. CDCR MH-7230A lnterdlscipfinary Progress Notes - General (Including but not
                     limited to PC 2602 history) - All CDCR MH-7230A's dated within seven (7) days
                     of the documented date of referral.
                  5. CDCR 7371 Confidential Medicaf/MH lnfomnatlon Transfer - Dated within seven
                        (7) days of the documented date of referral.
                  6. CDCR 7386 Mental Health Evaluation (or CDCR 7386 Mental Health Evaluation

12.05.601: DocumentaUon Required for Referral to Mental Health Crisis Bed                              Pege1of2


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                         Add-a-Page)

                              •   If a CDCR 7386 or a CDCR 7386 Add-a-Page was completed more than
                                  seven (7) days prior to referral, a CDCR 7389 (Rev.06/06) Brief Mental
                                  Health Evaluation is to be completed by the referring clinician at the time
                                  of referral.
                             •    If a CDCR 7386 or a CDCR 7386 Add-a-Page Is not available or the
                                  most recent document Is available but is not complete or accurate, a full
                                  CDCR 7386 must be completed by the referring clinician or the Primary
                                  Clinician at the time of referral.

                         7. CDCR MH-7447 Suicide Risk Evaluation - Dated within seven (7) days of
                            the documented dale of referral.

                             •    The referring clinician is to complete the CDCR MH-7447 if the IP is
                                  referred for suicidal Ideation a suicide attempt, or any type of self-harm.

                             •    The receiving team may, upon clinlcal discretion, complete the CDCR
                                  MH-7447 If the IP Is referred for any other reason.

                        8. Medication Profile (within last 30 days of the documented date of referral.) -
                           Current medication reconciliation.

                        9. CDCR 128C Acceptance Chrono.

  References        Inmate Medical Services Policies and Procedures (IMSP&P), Volume 4, Chapters
                    29, Medical Classfficatlon System Polley, and 29.1, Medical Classification System
                    Procedure
                    Division of Health Care Services (DHCS), Mental Health Services Delivery System
                    (MHSDS) Program Guide, 2009 Revision, Chapter 5, Mental Health Crisis Bed,
                     • 12-5-11.

 Questions          If you have any questions or need any additional Information related lo this policy,
                    you may contact the policy unit via e-mail at: CDCR MHPolicyUnll@CDCR




 12.05.601: Documentation Required lor Relerral to Mental Health Crisis Bed                  Page 2 012



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                                                                                                        ATTACHMENT C

.MHCB Referral Process for All Institutions



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  State of Callfomla                                                         Deparlment of Corre<Jllons and Rehabilltatlon


  Memorandum
 Date          September 11, 2015

 To           Associate Directors, Division of Adult Institutions
              Wardens
              Chief Executive Officers
              Chiefs of Mental Health



 Subject:    IMPLEMENTATION OF REVISED RULES VIOLATION REPORT PROCESSES
             INVOLVING INMATE PARTICIPANTS IN THE MENTAL HEALTH SERVICES
             DELIVERY SYSTEM AND DEVELOPMENTAL DISABILITY PRO.GRAM

             The purpose of this memorandum Is to address and Implement revised policies and
             procedures relevant to the Rules Violation Report (RVR) process for Inmate participants In
             the Mental Health Services Delivery System (MHSDS) and Developmental Disability
             Program (DDP).

             On May ~. io15, the Eastern District Court approved an order requiring the California
             Department of Corrections and Rehabilitation (CDCR) to revise the 2011 RVR policies,
             procedures, and staff training that was the subject of the Coleman v. Brown Special
            Master's report filed with the Court on January 30, 2015. As a result, the Division of Adult
            Institutions (DAI), Division of Health Care Services, and Office of Legal Affairs, in
            collaboration with the Coleman v. Brown Special Master, developed comprehensive policy,
            regulation, and staff training revisions meant to provide a meaningful RVR process at all
            institutions.

            The Department is currently revising the California Code of Regulations (CCR), Title 15,
            Section 3310, Definitions; Section 3315, Serious Rules Vlolatlons; and Section 3317,
            Mental Health Assessments for Disciplinary Proceedings, to adopt these revisions.

            To ensure CDCR's compliance with the May 4, 2015 court order, the following revised
            RVR policies and procedures shall be Implemented immediately:                     ·

            Inmate Dlsclpllnary Mental Health Assessment Training

            CDCR has mandated all Correctional Sergeants, Correctional Lieutenants, Captains,
            Correctional Administrators, and Mental Health Clinicians who currently participate In
            the RVR process attend "Inmate .Disciplinary Mental Health Assessment
            Training" (BET 11054429). Additionally, all new staff hired into these classifications shall
            receive the mandatory training prior to participating In the Inmate dlscipllnary process.

            To ensure mandated training has been provided appropriately, the Coleman v. Brown
            Special Master has been directed by the Court to conduct a review of training provided at
            each Institution and report on his findings.




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           Requirements for Becoming a Certified Senior Hearing Officer or Hearing Officer

       Prior to serving or continuing to serve as a Senior Hearing Officer or Hearing Officer, the
       Chief Disciplinary Officer shall ensure staff has received the mandatory "Inmate
       Disciplinary Mental Health Assessment Training." This is in addlUon to any in-service or
       on-the-job training required prior lo being certified to serve In this capacity, as defined in
       CCR, Tille 15, Section 3310.

       Mitigation of Disposition due to Mental Illness, Developmental Disability, Cognitive,
       or Adaptive Functioning Deficits

       In accordance with the addition of CCR, TIiie 15, Section 3315(1), ff an inmate is found
       guilty of a charge, the official shall consider the mental health assessment and any
       dispositional recommendations provided by mental health staff, as documented on
       CDCR Form 115-MH-A, Rules Violation Report: Mental Health Assessment. Additionally,
       any other relevant Information regarding the relationship between the inmate's mental
       Illness, developmental disability, cognitive or adaptive functioning deficits, and his/her
       misconduct, shall be considered when assessing penalties.

       Reasons for Completing a Mental Health Assessment and Processes for
       Documenting Self-Mutilation or Attempted Suicide

       Revisions lo CCR, Tille 15, Section 3317 slate, "Inmates who are alleged to have
       committed a rules violation shall receive a mental health assessment, via completion of the
       CDCR Form 115-MH-A, Rules Violallon Report: Mental Health Assessment, for any of the
       following reasons:

              Inmate Is a participant in the MHSDS at the Enhanced Outpafient level of care.
              Inmate Is a participant .in !he MHSDS at the Mental Health Crisis Bed level of care. ·
              Inmate Is a participant in the MHSDS at !he Psychiatric Inpatient Program, Acute
              Psychiatric Program, or Intermediate Care Facility levels of care.
       •      Inmate Is a participant in the MHSDS al the Correctional Clinical Case Management
              System level of care and has bee.n charged with a Division A, B, or C offense or any
              other rules violation which.may result In the assessment of a Segregated Housing Unit
              term as defined in CCR, TIiie 15, Section 3341.9{e), Security Housing Unit Term
              Calculation and Assessment.
              Inmate engaged in Indecent Exposure or Sexual Disorderly Conduct.
       •      Inmate displayed bizarre, unusual, or uncharacteristic behavior al the lime of the
              offense.
              Inmate is a participant In the DDP, designated as DO1, DO2, pr 003."

       Mental Health Seivlces shall be contacted immediately for any inmate who is suspected of
       committing the act of self-mutilation or attempted suicide. The emergency referral shall be
       documented via CDCR Form 128-MH5, Mental Health Referral Chrono, Identifying the




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        specific reason(s) for the referral. if Mental Health Services determines the behavior was
                                                          a
        an act of self-mutilation or attempted suicide or clear determination could not be made, a
        CDC Form 115, Rules Violation Report, shall n2! be issued. Instead, the behavior shall be
        documented on a CDC 128-B, General Chrono, for inclusion in the Inmate's Central File.

       If the Mental Health Clinician determines the inmate's actions were an attempt to
       manipulate staff, a CDC Form 115 shall be issued, pursuant to CCR, TIUe 15,
       Section 3315(a){3)(W).

       Addftlonally, a CDCR Form 128-MH5 shall be completed for any inmate who displays
       bizarre, unusual, or uncharacteristic behavior al the time of the offense.

       Reviewing and Documenting Rules Violation Reports In an Alternate Manner

       In accordance with the addition of CCR, Title 15, Section 3317.1, the assessing Mental
       Health Clinician may recommend documenting an Inmate's behavior In an alternate
       manner when the behavior was determined to be strongly influenced by mental Illness,
       developmental disability, or cognitive or adaptive functioning deficits at the time of the
       offense. The assessing Mental Health Clinician will be required to consult with their
       Program Supervisor each time documentation of behavior In an alternate manner is
       recommended. The Program Supervisor shall identify whether they agree or. disagree with
       the recommendation made by the assessing clinician, and document their rationale on
       CDCR Form 115-MH-A. In the event the assessing Mental Health Clinician and Program
       Supervisor disagree, the CDCR Form 115-MH-A shall be forwarded to the Chief of Mental
       Health, or designee, who will make the final determination.       ·

       When recommendation for documenting an inmate's behavior in an alternate manner has
       been made, the Hearing Official shall forward the CDC Form 115, along with all supporting
       documentation, to the Captain for review. The Captain must provide the Hearing Official
       with his/her determination as soon as possible, but no later than five calendar days from
       the date of receipt.

       Followfng his/her review, the Captain will direct !tie Hearing Official to proceed in any of
       the following manners:

          Proceed with hearing the RVR as serious or administrative, based on the nature of the
          specific charge(s).
          Void the RVR and document the behavior via CDC Form 128-A, Custodial Correctional
          Counseling Chrono, for minor misconduct.
          Vold the RVR and document the behavior via CDC Form 128-B.

       If the Captain agrees with Mental Heatth's recommendation and elects to void the
       CDC Form 115, the Hearing Official shall document the decision via memorandum and
       attach it to CDCR Form 1154, Disciplinary Action Log, to provide proof of practice. A copy




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           of the memorandum shall be forwarded to Case Records to facilitate removal of
           CDC Form 804, Notice of Pending CDC 115, from the Inmate's Central File within the
           Elactronic Records Managament System (ERMS). An additional copy of the memorandum
           shall be forwarded to the Chief of Mental Health, or designee.

            If the Captain disagrees with Mental Health's recommendation, he/she shall document
           his/her rationale for proceeding with. the hearing on CDC Form 128-8, A copy of the
           CDC Form 128-8 shall be attached to the RVR package and forwarded to the Hearing
           Official for adjudication. The Inmate shall be issued a copy of the CDC Form 128-8 no
           less than 24 hours prior to the hearing. An additional copy of the CDC Form 12B-8 shall
           be forwarded to the Program Supeivlsor listed on the CDCR Form 115-MH-A.

          Categories Excluded From Rules Violation Report Process

       In accordance with the addition of CCR, Title 15, Section 3317.2, Inmates shall not be
       issued an RVR under the following circumstances:

       •     If the behavior occurred In connection wtth a cell extraction for the administration of
             involuntary medication, as defined in California Penal Code, Section 2602, or
             Involuntary medical treatment, as defined In Probate Code, Section 3200, et seq.;
       •     If the behavior occurred In connection with a cell extraction for transfer of the inmate to
             a mental health lnpatlant unit or between mental health inpatient units;
       •     If the behavior occurred in connection with being placed In mental health restraints
             and/or seclusion;
      •      If the behavior is determined to be an act of self-mutilation or attempted suicide.

      When any or' these circumstances are met, the inmate's conduct shall be documented on
      CDC Form 128-8, for Inclusion In the inmate's Central FIie wtthin ERMS. Any Incident
      requiring the use of force shall be documented appropriately on CDCR Form 837,
      Crime/Incident Report.

      Howeve'r, II the inmate commits a Serious Rules Violation, pursuant to CCR, Title 15,
      Section 3315, while participating in the behavior noted above, which constitutes a Division
      A-1 offense as defined in CCR, Title 15, Section 3323(b), Disciplinary Credit Forfeiture
      Schedule, an assault or battery as defined in CCR, Title 15, Sactions 3323(d)(1),
      3323(d){2), or 3323(d)(3), or an assault on a peace officer or non-prisoner as defined in
      CCR, Title 15, Sections 3323(f)(11) and 3323(f)(12), a CDC Form 115 shall be completed
      and processed in accordance with current regulations and policy.

      For custody questions regarding these processes, please contact Eric Hobbs, Correctional
      Lieutenant, DAI, Coleman Team, at (916) 322-1725 or Erjc.Hobbs@cdcr.ca.gov.




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       For clinical questions regarding these changes, please contact Corey Scheidegger, Senior
       Psychologist Specialist, at (916) 691-0310 or Corey.Scheidegger@cdcr.ca.gov,




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                                            ~~$2;:i, Ph.D., MSHCA, CCHP-MH
       Direct r                               Director (A), Division of Health Care Services
       DiVision of Adult Institutions         Deputy Director, Statewide Mental Health

       cc: Kathleen Allison
           Ralph M. Diaz
           Laura Ceballos
           Amy Eargle
           Corey Scheidegger
           Thomas Tyler
           Eric Hobbs




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 State of California                                                       Depar1menl of Corrections and Rehabilitation



 Memorandum
Date        October 30, 2015

To          Associate Directors, Division of Adult Institutions
            Wardens



Subject     REVISED ADMINISTRATIVE SEGREGATION UNIT INTAKE CELL PROCEDURE

           The purpose of this memorandum is to provide direction regarding the inmate housing
           procedure for Administrative Segregation Unit (ASU) intake cells. This procedure was
           originally detailed in a September 29, 2010 memorandum, titled "Administrative
           Segregation Unit Intake Cell Procedure," and is being revised to further enhance this
           existing policy.

           The double-celling of inmates continues to be a critical protective factor against
           potential suicides inside the Department's ASUs. However, all ASU inmates cannot
          be double-celled upon initial placement into the unit. In order to address this issue,
          the Department previously retrofitted a number of ASU intake cells throughout the
          state. These ASU intake cells were designed to reduce the opportunity for inmates to
          commit suicide; therefore, it Is imperative institutional staff appropriately manage the
          use of these ASU intake cells. Any inmate that cannot be double-celled upon initial
          placement In ASU must be housed in an ASU intake cell for the first 72 hours of ASU
          placement; this includes both single-cell restricted inmates and double-cell approved
          Inmates for whom an appropriate cell partner is unavailable upon initial ASU
          placement. After 72 hours, inmates may be housed in alternate ASU housing
          consistent with their case factors.

           Inmates approved for double-cell housing who can be safely double-celled upon
           intake, and for whom an appropriate cell partner is available, shall be celled where the
          vacancy exists and will not require housing in a designated ASU intake cell. Under
          this revised policy, when inmates are in their initial 72 hours of ASU placement and
          their cell partner subsequently moves out of the cell, ASU staff shall immediately
          make every effort to identify another compatible cellmate. If the inmate cannot be
          double-celled with a compatible cellmate, ASU staff shall place the inmate into an
          available retrofitted intake -cell as soon as possible, but no later than eight hours after
          the cell partner has been moved from the cell.

          To assist Institutions with monitoring the use of ASU Intake cells, the Division of Adult
          Institutions (DAI) has developed a SharePoint custom list, titled "ASU Intake Cell
          Management Tracking Log." This custom list can be accessed using the following
          Intranet link:

          http://teamsltelteam/Ops/AO/DAI/SitePages/ASU%20lntake%20Cell%20Management
          %20Tracking%20Log.aspx.




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        Each institution shall designate an ASU supervisor to enter all applicable information
       into SharePoint for all Inmates initially placed into ASU. This SharePoint information
       will provide Institutions the ability to capture and track valuable data regarding the
       appropriate usage of ASU Intake cells, as well as assist the Department with
       identifying any future needs for additional ASU intake cells. Please ensure your
       institution's Local Operating Procedure (LOP) Is immediately updated to include this
       revised policy. This revision may be an addendum to be included in the next
       scheduled revision of the impacted LOP. Futhermore, institutions are directed to
       provide updated LOPs or addendums to their respective Mission Associate Director
       within 30 calendar days from the date of issuance of this memorandum. II is
       expected custody management will review with their staff this revised pottcy, along
       with the SharePoint custom list, to ensure proper management of their institution's
       ASU intake cells.

       If you have any questions regarding this directive, please contact Ronald
       Hadrava, Correctional Lieutenant, DAI Mental Health Compliance Team, at
       (916) 327-1855 or Ronald.Hadrava@cdcr.ca.gov.




      Dirac or
      Division of Adult Institutions

      Attachment

      cc: Kathleen Allison
          Ralph M. Diaz
          Robert L. Davis
          Ronald Hadrava




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    Memorandum
   Dais          September 29 , 2010

   To            Allsoolale Directors - Division of Adult lnstltuUons
                 Wardens

   Subject: ADMINISTRATIVE SEGREGATION UNIT INTAKE Cl:LL PROCEOUR&
                 'fhe purpose of this memorandum Is lo clarify the lnmaw housing. procedure for
                 Admlnli'llfRt/\18 Segregation Unit (ASUJ Intake Cells, anti tlie oetober 2, 200S, ABU
                 Suicide F«ldt.idton Plan. The ASU Suicide Reduction Plan was ctev&!c,ped In an
                 Elffort to preearve life and improve emergency resIxmse to gufc{de attempts by
                 inmatea·durlng the dlfficufl tre!l81Hon to a more restrictive housing environment.

                ·!Ii protl!mMl ractor agalfl6t suk:lde rlsK In ASU Is to doub~celt frlmates. NJ a. Rt!!ult
                 of 1he l!lablnty to double-cell some Inmates upon inltlef placement In ASU, a number
                .of 'Intake Can~• In each budgeted ASU suitewl£le have been.retrolll!ed to reduce the
                opportunity for Inmates to commit suicide. Arry Inmate 1h!rt cannot b& dOl;lbfe-oolied
                upon lnltfal placement In ASU must be housed in an Intake Cell for the firer 72· ho\11$
                of ASU placement Thfi, Includes both e!nglll'-oefl res1rie1ed inmale!J end double.ml
                approved Inmates for Whom en l!PProptiefe cell partner Is unavallable upon lnlllal
                ASV p!lfeement. After 72 hours, l11males may bs housad in aflema(e ASU holl$lng
                cons1st11nt Wllh their case fiictors.
                ·rnmaws approved Jor double-cell hou&tng Wllo can be safely doubled-oetled upon
                Intake and ror whom an appropriate cell parlner Is available shall be called wh<lre Iha
                 vacancy exists and wfll not require housing In a designated Intake Call.

               ·Please review your lnstft1.1Hon'• procaduraa and pracllces to erisure compliance
                wfth.ffils cllrecllve. Please ensure eny corrective action required to comply with this
                .dlreclfve Is Implemented lrnl\1$dlately.

                tr you have any questions regarding these expectalfons, please conl!lci:
                J. W. Mo$s, Associate Warden, General Population Levels 111/N,                         at
                (916) 323-3578,




                ·JN~o~r
                         n of Adult lnslltullons

                i:c:ferrl McD01'13Id, Chief Deputy Secretary, Adult Operations
                    J. W. Mose, Assoelate Warden, General Populatlon Levels Ill/IV




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       .ii      ~
                          HEALTH CARE SERVICES
      MEMORANDUM
      Date:
                    Apc-il 18, 2014
      To:           Chief Executive Officers
                    Wardens
                    Chiefs of Mental Health
     From:


                ~R
                fr!!TArNE
                    Division of Adult Institutions

                     ,-_;;;;:?· ~_i~., \)a-.:.e,•\___ (yJi-.,.Q)_,.
                    TIMOTHY G. BELA VICH, Ph.D., MSHCA, CCHP, Director (A), Division of Health
                    Care Services, and Deputy Director, Statewide Mental Health Program

     Subject:       REQUIREMENT FOR THE PRESENCE OF A MENTAL HEALTH
                    CLINICIAN DURING ALL CONTROLLED USE OF FORCE INCIDENTS

     As of Monday, April 21, 2014, the Department is implementing new Use of Force policies for all
     institutions (see Department Operations Manual, Section 51020, attached). Sections of the policy
     require consultation with and/or interventions by mental health clinicians at different points during
     controlled use of force incidents. Given these requirements, as of April 21, 2014, every institution
     mental health program shall ensure a mental health clinician (Psychologist, Psychiatrist, or Clinical
     Social Worker) is present during all controlled use of force incidents (cell extractions). Mental
     health progran1s shall include provisions for a clinical psychologist or clinical social worker to be
     present during these incidents outside of regular business hours.

     Each institution shall amend their local policies and procedures to implement this requirement no
     later than May 5, 2014. The amended local policies and procedures for controlled use of force
     incidents shall include voluntary call-back for psychologists and clinical social workers. These
     clinicians may be required to return to the institution to consult and provide clinical interventions
     during the controlled use of force incidents. Provisions for voluntary call-back are contained in
     Section 6.2 of the Bargaining Unit 19, Memorandum of Understanding. Between April 21, 2014
     and May 5, 2014, each institution shall have in place temporary measures to ensure the presence of
     a mental health clinician during controlled use of force incidents.

     A teleconference to discuss these requirements will be held on Monday, April 21, 2014 from
     9:30 to I0: IO a.m. Call-in information will be sent via Outlook invitation.


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      MEMORANDUM

      Questions concerning these requirements and their implementation can be referred to
      Amy Eargle, Ph.D., Chief, Clinical Support, at (916) 691-0279 or via email at
      amy.eargleialcdcr .ca.gov.


     cc; Kathleen ;\.llison, Deputy Director, Special Project Liaison , Division of Adult lnstiMions
         Dr. R. Steven Tharratt, Director of Health Care Operations, Statewide Chief Medical Execurive
         Nathan Stanley, Chief, Field Operations
         Angela Ponciano, Associate Director, Policy and Clinical Support
         Amy Elll'gle, Chief, Clinical Support
         Laura Ceballos, Chief, Quality Management
         Regional Health Care Executives
         Regional Mental Health Administrators
         Division of Adult Institutions Associate Directors




      HEALTH CARE SERVICES      I

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     Stale of Califomla                                                         Department of Corrections and Rehebifrtation



     Memorandum
    Date          June 5, 2014

    To           Associate Directors, Division of Adult Institutions
                 Wardens


    Subject:     RULES VIOLATION REPORTS ISSUED RELATIVE TO INVOLUNTARY MEDICATION
                 OF INMATES

                The purpose of this memorandum is to provide direction regarding the issuance of Rules
                Violation Reports (RVR) lo Inmate-Patients (IP) who are involuntarily medicated under
                emergency orders or under a Penal Code Section 2602 (Keyhea) court order, Involuntary
                medication Is a cfinlcal intervention and by definition "involuntary" means acting or done
                without or against one's will, Therefore, the California Department of Corrections and
                Rehabilitation (CDCR) has determined effective immediately, when Use of Force (UOF) Is
                required to effect involuntary medication of an IP, the IP will not be issued           a
                                                                                                     RVR for
                California Code of Regulations (CCR), Trtle 15, Section 3005 (b), Conduct, Obeying Orders;
                or for Section 3323 (f) (7), Willfully Resisting, Delaying, or Obstructing any Peace Officer in
                the Performance of Duty. However, if during the UOF Incident the inmate commits any
                other acts of misconduct outside of obeying orders, or willfully resisting, delaying, or
                obstructing any peace officer, he/she will be appropriately charged in accordance with CCR,
                Tille 15.

                Institution Chief Disciplinary Officers shall ensure any RVR reviewed after the date of this
                memorandum which meet the above criteria are dismissed In the interest of justice.

                There is nothing In this directive Intended to replace current policy or override CDCR's UOF
                policy as defined in the CCR, Title 15, Section 3268.

                The UOF lo effect Involuntary medication of an inmate will continue to be documented on a
                CDCR Form 837, Incident Report.

                If you have any questions or concerns in this matter, please contact Thomas Tyler, Captain
                Coleman Class Action Managemi;,nt Unit, at (916) 324-7956 or by email at
                Tbomas.Tyler@cdc:r.c:a.gov.




                  rec or
                Division of Adult Institutions

                cc:   Kelly Harrington                           Tim Virga
                      Kathleen Allison                           Thomas Tyler




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      Gaines, Thomas@CDCR
      From:                          Katavich, John@CDCR
      Sent:                          Friday, June 06, 2014 7:49 AM
     To:                             Gaines, Thomas@CDCR
     Subject:                        FW: Rules Violation Reports Issued Relative to Involuntary Medication of Inmates
     Attachments:                    Rules Violation Reports Issued Relative to Involuntary Medication of lnmates.pdf




     ell¥tWif. MlilWClf
     Warden
     Wasco State Prison - Reception Center
     (661) 758-7000

     From: Yamada, Karen@CDCR
     Sent: Thursday, June OS, 2014 5:17 PM
     To: CDCR Institutions Wardens; CDCR Institutions DAI Associate Directors
     Cc: Stainer, Michael@CDCR; Harrington, Kelly@CDCR; Allison, Kathleen@CDCR; Shlmozakl, Donna@CDCR; Shirley, Coyt
    C@CDCR; Weathersbee, dirlstopher@CDCR; Virga, Timothy V.@CDCR: Tyler, Thomas@CDCR
    Subject: Rules Vlolation Reports Issued Relative to Involuntary Medication of Inmates

                                                 SENT ON BEHALF
                                                       OF
                                          MICHAEL D. STAINER, DIRECTOR
                                         DIVISION OF ADULT INSTITUTIONS


    Thank you,

    Karen Yamada
    Executive Assistant ta the Deputy Director of Facility Operations and Deputy Director a/ Faclllly Support
    Divis/an a/ Adult Institutions
    (916} 445-6597
    (916} 322-2877 Fax
    CONFlDENTIALIJY NOTICE: This communication with its contents may contain confidential and/or legally privileged Information. It is
    solely for the use of the intended recipient(s). Unauthorized interception, review, use or disclosure is prohibited and may violate
    applicable laws including the Electronic Communications Privacy Act. I/ you ore not the Intended recipient, please contact the sender
    and destroy all copies of the communication




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   SlBle or California
                                                                                        Oapartment of Ccrrectlons and RehabilttatkJn


   Memorandum
  DBI,          October 17, 2014

  To           Associate Directors, Division of Adult lnstitutions
               Wardens
               In-Service Training Managers


  Sub;oc1:     USE OF FORCE REVISIONS


              The pWJ)ose of this memorandum is to provide direction regarding recent revisions to the
              Department's Use of Force policy which will effect all California Department of Corrections ond
              Rehabili1aLion (CDCR) scaff. (Note: the language underlined in this memorandum reflects
              revisions to the Department Operations Manual (DOM) effective November 17, 2014). The
              changes specifically relate to the use of non-deadly force in immediate and controlled use of
              force situations.

              As a reminder, the definitions for immediate use of force and controlled use of force (DOM
              Section 51020.4) are as follows:

                   Immediate use of force is the force r,sed to respond without delay to a situntion or
                   circumstance that conslilutes an imminent threat to ucurity or the safety af persons.
                   Employees may u.,e Immediate force without prior authorization.from a higher official.

                  A can/rolled use offorce is the force r,sed In an institution/facility serring, whe11 an inmate~
                  presence or conduct poses a threat ta safety or security and the inmate Is located in all area
                  that can be can/rolled QL]§a/ated. These situations do nat normally involve the immediate
                  threat lo lass af life or immediate threat to institution security. All co11tra//ed use offorce
                  situations require the alllhorization and the presence ofa First or Second level Manager, or
                  Administrative Officer of the Day (AOD) during non-business hours. Staff shall make every
                  effort lo idenlljj, disabilities, to include me/Ila/ health issues, and note any accommodations
                  that may need 10 be considered.


             It is critical that all staff understand thal immediate force sho1tld only be used to respond without
             delay to a situation or circumstance that constitutes an imminent threat to security or the safety of
             persons. In the DOM revision effective November 17, 2014, the following-definition for
             imminent thsent bas been added:

                  An imminent 11-u-ea( is any siluation qr circumstance that jeopardizes the safety ofoersons or
                 compromises /he security of the ins/jiu/ion, requiring immediate action lo stop the lhrea/.
                 Some examples include, but are 110/ limited to: an attempt to escape, on-going physical harm
                  or aclive phyJ·ical resistance.




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        Associate Directors, Division of Adult Institutions
        Wardens
        In-Service Training Managers
        Page 2 of2

        In addition to the above noted definitions, DOM Section 51020.8 has been revised and stales the
        following regarding non-deadly force:

             Non-deadly force will only he used when reasonably necessary to:
             Subdue an attacker.
             Overcame resistance.
             Effect Custody or to
             Gain compliance with u lawful order.

             Immediate force may be necessary In subdue an a/tacker, overcome. resistance, or efl'ec1
             custody. I( ii ir necessary lo use force solely lo gain comp/ia11ce with a lawful order.
             controlled force shall be used

       Although refusing a direct order may create a potcntiol threa~ it does not always present an
       imminent threat. When an inmate is refusing to comply with a lawful order, but there is no
       imminent threat and time and circumstances are such that advanced planning, staffing and
       organization can be implemented lo gain compliance without jeopardizing institutional security
       or the safety of persons, staff shall contact the custody supervisor responsible for that area and
       the controlled use of force process shall be followed. II is essential that staff understam! when an
       inmate is located in an area that can be isolated and contained (cell, small management yard,
       etc.), then the use of force will almost always be controlled unless there is an imminent threat of
       great or serious bodily injury. In addition, staff should not intentionally remove a barrier that
       exists (by opening a cell door or entering a fenced yard area) and risk confrontation with an
       inmate when, based on the totality of circumstances, a controlled use of force is appropriate.

       Custody supervisors and managers will receive this training during the Controlled Use of Force
       Training scheduled in October and November 2014. To ensure all other institutional staff are
       aware· of this revision, IJ:aining in the form of On-the-Job Training shall be accomplished by
       conducting unit meetings wherein the unit manager and supervisors will advise staff of the
       revision and ensure ail staff have a clear understanding of the change and expectations of how
       staff are to respond when faced with a possible use of force situation.

       Wardens shall ensure this training is completed for all institution staff no later than
       November 16, 2014. Training shall be recorded using the !ST Code B2670,
       liUed DOM Chapter 5, Article 2, Use of Force Revisions l 1/17/14.

       If you have any questions with regard lo the information presented in this memorandum. please
       contact your respective Associate Director.




       Director
       Division of Adult Institutions

       Attachments

       cc:    Chief Executive Officers     Regional Administrators




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             Controlled Use of Force {UOF) Cell Extractions

                       Staff Training Matrix




                                                                     M
                                                                HEALTH CARE SERVICES




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        GENERAL CHANGES:

        Throughout the lesson plan, repeated information has been removed unless repeating the
        information was considered necessary to make a point or complete a thought.

     During the first few weeks of training, in several parts of the lesson plan, nstated that the
     Incident Commander, On-Site Manager, Licensed Nursing Staff (LNS), and Licensed Mental
     Health Practitioners (LMHP) will work together collaboratively to develop the tactical plan. In
     order to ensure staff do not work oulside of their scope, the wording now reads, " ... the Incident
     Commander and On-Site Manager, with input from the Licensed Nursing Staff (LNS), and the
     Licensed Mental Health Practitioner (LMHP) ... " The LNS and LMHP will not recommend force
     options or recommend use of force. Instead, they will provide input regarding risk factors that
     would impact the type of force options are being considered.

    During the resolution process, if the LMHP, LNS and/or On-Site manager cannot agree on the
    termination of the cool down period or the use of force options, the decision is elevated to the
    Chief of Mental Health, Chief Medical Executive and Warden/CDW for resolution. In addition,
    the Chief Nursing Executive should also be contacted during the resolution process. As a
    reminder, anyone contacted shall submit an CDCR 837-C regarding their involvement. In
    addition, if agreement still cannot be reached and the issue is elevated to the Regional
    Administrators and/or Associate Director, these staff are also required to complete a CDCR
    837-C for submission with the incident package.

    : LESSON        POWER        DOM             INFORMATION
    :PLAN           POINT        SECTION
    ,PAGE           SLIDE

    i PAGE#?              2.21      51020.8 Language has been added to DOM Section 51020.8 regarding
                                            the use of force solely to gain compliance with a lawfully order,
                                            For that reason, the information has been added to the Lesson
                                            Plan and a slide has been added lo the power point.

    iPAGE#?               2.22               i
                                   51020.11 Language has been added to DOM Section 51020.11.
                                           : Specifically, the section now states if time and resources allow,
                                             immediate uses of force should be video recorded. This
    !                                        information has been added to the Lesson Plan and a slide in
                                           . the power point.

        PAGE#9     2.29          51020.11.2 : The Lesson Plan and Power Point originally had conflicting
                                              statements about how many staff are required to be present for
     PAGE          2.32                     . an Immediate Use of Force. In accordance with DOM Section
                                              51020.11.2, at least 2 officers shall be present before a cell door
     #10                                      is opened in an Immediate Use of Force situation (staff are
                   2.35                       reminded repeatedly to never go in a cell by themselves). Of
     PAGE                                     course, 2 officers may not be sufficient depending on the
     #11          , 8.4                     · situation; staff shall evaluate the totality of circumstances when
                                              determining when sufficient staff are present to enter a cell in an
    i PAGE #57                                emergency situation when an imminent threat exists.




                                                                                                           APPENDIX PG. - 345
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      PAGE#16     3.6              51020.12 Several slides were added to this section (previously they were
                  3.7                       in a later section) to help introduce/explain the Licensed Mental
                                            Health Practitione~s role during the conIrol1ed use of force.
                  3.8
                                            Specifically, the LMHP is required to determine if lhe inmale has
                  3.9
                                            lhe ability to understand orders. if the inmate's mental health
                                            condition is making it difficult to comply wilh orders, or if the use
                                            of rorce could create a serious risk of decompensation. (ADD)
                                            The LMHP then provides the informalion regarding the
                                            assessment lo the Incident Commander.

      PAGE #18    3.15             51020.12 A new scenario was added to give training participants an
                  3.16                      opportunily lo work through the collaborative process of
                 ; 3.17                     reviewing the mental health, medical, and custody concerns and ;
                                            determine what use of force options should be employed during
                                            lhe extraction of the inmate.

     PAGE #44             5.24 i 51020.15.1     The X-10 is intended to be used to move a barricade out of the
                               i                way in order to deploy chemical agents. In the original power
                              I                 point presentation, it Included sheets, mattresses and inmales
                                                as examples of things that could be blocking lhe rood/security
                                                port and thal the X-10 could be used to move. The power point
                                                slide has been corrected removing the word "inmates." The X-
                                                10 cannot be used to push an inmate's body out of the way if
                                              . he/she is using his/her body lo block the food/security port.




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                               03.26.18




                                                                    APPENDIX PG. - 349
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                        HEALTH CARE SERVICES
       MEMORANDUM
        Date:        3/26/2018
                  ---,:------cc:---···.··-····-·--··-···-· - - - - - - - -
       To:           Chief Executive Officers
                     Chiefs of Mental Health
       From:

                    KATHERINE TEBROCK, ESQ.
                    Deputy Director
                    Statewide Mental Health Program
       Subject:     MENTAL HEALTH TRACKING SYSTEM REFERENCES IN MENTAL HEALTH SERVICES
                    DELIVERY SYSTEM PROGRAM GUIDE 2009 AND ASSOCIATED MEMORANDUM
                    NOW REFERENCE THE ELECTRONIC HEALTH RECORD SYSTEM

      This memorandum clarifies that all references to the Mental Health Tracking System (MHTS) in
      the Mental Health Services Delivery System Program Guide 2009 shall now be referenced as the
      Electronic Health Record System (EHRS) due to the statewide completion of the EHRS
      implementation. Program Guide 2009 MHTS references (Attachment A) and a list of MHTS
      memorandum references to the Program Guide 2009 (Attachment B) are attached.

      If you have questions or require additional information related to this memorandum, you may
      contact the Mental Health Policy Unit by email: CDCR MHPolicyUnit@cdcr.
      Attachments

      cc: Brittany Brizendine, Psy.D.
           Angela Ponciano
          Amy Eargle, Ph.D.
          laura Ceballos, Ph.D.
          Michael Golding, M.D.
          Kelvin Kuich, M.D.
          John Rekart, Ph.D.
          James Vess, Ph.D.
          Travis Williams, Psy. D.
          Shama Chaiken, Ph.D.
          Jennifer Johnson
          Regional Health Care Executives
          Regional Mental Health Administrators




                                                                                       ?.O. Bm: 5B8500
                                                                                   Elk Gr•Jve, CA 9S 7S8




                                                                                          . APPENDIX PG. - 350
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                                                   Att achmentA
 Mental Health Services Delivery System Program Guide 2009 Mental Health Tracking System
                                        References

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                Program Guide Overview                       P. 16
                CCCMS                                         P.33
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                                             Attachment B

        Mental Health Tracking System Memorandum References to Mental Health
                         Services Delivery System Program Guide 2009

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          Implementation of Inmate Profile Local Operating Procedure       4/3/2008
          (LOP)

          Inmate Refusals of MH Screening For Out-of-State Transfer        6/17/2008
          Activation of the Substance Abuse Treatment Facility {SATF)      6/25/2010
          Co-occurring Disorders {COD) Enhanced Outpatient Program
          (EOP)
          Revised Process for MH Inmates Approved for Non-Revocable       7/10/2010
          Parole
          MH-B-001 Quality Standard: Timeframes for Interdisciplinary     7/2B/2010
          Treatment Team (IDTT) Meetings for Administrative
          Segregation Unit (ASU) and Security Housing Unit (SHU)
          Returns to Correctional Clinical Case Management System
          (CCCMS)
         MH-D-001 Quality Standard: Five Day Follow-up For Inmate-        7/28/2010
         Patient {IP) Discharges and Transfers
         Standardization of the Service Location of Each Mental Health    3/17/2011
         Services Delivery System {MHSDS) Appointment in Mental
         Health Tracking System (MHTS)

         Version 3 of the MHTS-UHR Agreement Audit                        10/12/2011
         Entry of Intermediate Care Facility (ICF) and Acute Care         10/29/2012
         Facility Levels of Care (LOC) into Strategic Offender
         Management System (SOMS)
         Alternative Housing Cell Prioritization                          12/12/2012

         Data Entry of Adm_inistrative Segregation Unit (ASU) Screening   5/21/2013
         Encounters
         Administrative Segregation Unit (ASU) Screening Encounters       5/21/2013
         Entering Mental Health Identifier (MHI) Changes for              9/9/2013
         Unassigned Inmates in the Strategic Offender Management
         System (SOMS)
         Implementation of Chart Audit Tool                               9/9/2013
         Clinician to Clinician Contact Data Entry and Compliance Rules   10/24/2013
         Correction to Memorandum-Cease Entry of all Level of Care        6/24/2014
         (LOC) Placement Requests (Effective Immediately)




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          New MH Tracking System Code Required for Large                    7/7/2014
          Recreational Therapy Groups not Requiring Effective
          Communication
          New Procedure Regarding Mental Health (MHJ Referral               7/7/2014
          Chrono Form
          Data Entry Change in MHTS.net for Date Submitted to HQ for        9/8/2014
          All Referrals to Department of State Hospitals (DSH) and
          Psychiatric Inpatient Programs (PIP)
          Data Entry of Reason for Admission to Mental Health Crisis        9/26/2014
          Bed (MHCB)                            '
          Accurate Tracking of Mental Health (MH) Treatment (Tx)            12/22/2014
          Hours
          Mental Health 31-item Screen Process                              3/24/2015
          Documenting Medication Refusals                                   5/12/2015

           Entering Mental Health Identifiers (MHI) in Strategic Offender   7/27/2015
           Management System (SOMS). for Inmate-Patients (IPs) with
           "Unidentified" MHI
           Completed Contacts Associated with Suicide Risk Evaluations      10/23/2015
           Suicide Profile for Transfers                                    3/3/2016
           No Requirement for Progress Note to Accompany a Suicide          12/14/2016
         · Risk Evaluation (SRE) or Suicide Risk Assessment and Self-
           Harm Evaluation (SRASHE)
           Required Override for Administrative Segregation Unit (ASU)      2/2/2017
           Beds Utilized as Short Term Restricted Housing (STRH)
          Tracking Completion of the Administrative Segregation Unit        7/6/2017
           (ASU) 12-ltem Screen in MHTS.net
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                                 HEALTH CARE SERVICES
       MEMORANDUM
        Date:       2/2/2018
        To:            Wardens
                       Chief Executive Officers
                       Chiefs of Mental Health
                       Chief Nurse Executives
                  ____ SlJicide Prevention and Response Foc~sed Improvement Team Coor~inat~rs ___
       From:
                   /_~ ' /-,,:._ ,....--.1:.                    II/               --
                    KA THERINE TEBROCK, ESQ,                  JE~Mt!ER-·
                    Deputy Director                           Deputy Director, Facility Operations
                    Stat~ide Mental Health Program            Division of Adult Institutions
                            /'
                        /


                   ,/·) (:.·-· .------·--·-
                    JANE ROBINSON
                    Statewide Chief Nurse Executive
      ____          California Correctional Health Care Services
                   _:

       Subject:     ENHANCEMENTS TO THE SUICIDE PREVENTION AND RESPONSE FOCUSED
                    IMPROVEMENT TEAMS

      This memorandum clarifies, modifies, and establishes requirements and responsibilities of the
      Suicide Prevention and Response Focused Improvement Team {SPRFIT). Each SPRFIT shall provide
      employees with training and guidance on suicide prevention, response, reporting, and review for
      the purpose of reducing the risk of suicide. Some existing SPRFIT requirements have been
      clarified or modified to promote optimal functioning of institution SPRFITs. Other responsiblllties
      have been newly established in response to systemic concerns noted in Suicide Case Reviews and
      reviews of the California Department of Corrections and Rehabilitation (CDCR) Suicide Prevention
      and Response Program.

      SPRFIT Membership and Meeting Attendance Requirements

      The SPRFIT shall include members or designees listed in the SPRFIT Membership (Attached),

      Frequency of Meetings

     Each SPRFIT shall meet at least monthly.



                                                                                            P.0 Box S88500
     HEALTH CARE SERVICES                                                                Elk C:irove, CA 95758




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          Attendance Requirements

          A SPRFIT meeting shall include mandatory members or designees to establish a quorum.
          Designees are only allowed if the mandatory member is absent or must attend to an emergency
          or other critical situation.

          SPRFIT Reporting

          Each SPRFIT shall submit to the Mental Health Program (MHP) Subcommittee and the Division of
          Health Care Services (DHCS) MHP Subcommittee by the 5 th of each month:

             •   A complete, standardized management report.
             •   Meeting minutes.
             •   A log of suicide prevention activities.

         Responsibilities

         To comply with all CDCR policies and procedures relating to suicide prevention each SPRFIT shall:

            1. Monitor compliance with required suicide prevention related training for custody and
               health care staff. Training shall be coordinated with the local In-Service Training unit as
               appropriate. Implement training regarding suicide prevention and response by ensuring:

                 •   All custody and health care staff receive the In-person Suicide Prevention training.
                 •   All new employees receive the in-person Suicide Prevention module during New
                     Employee Orientation.
                 ,   All mental health clinicians receive the 7-hour Suicide Risk Assessment training every
                     two years.
                 •   An adequate number of trained Suicide Risk Evaluation (SRE) mentors are available to
                     mentor other clinicians in need of SRE mentoring.
                 ,   SRE mentoring occurs for new employees within 90 days from the date of hire, and
                     every two years thereafter, except for clinicians regularly assigned to work in a Mental
                     Health Crisis Bed Unit (MHCB), who receive mentoring annually.
                 •   Annual review and training updates are provided to SRE mentors.

            2. Review Suicide Watch and Precaution procedures to ensure they are being implemented.

            3. Collaborate with the institution Emergency Medical Response Committee (EMRC) to:

                     •   Review all suicides and suicide attempts requiring cardiopulmonary resuscitation
                         and/or other medical procedures.


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         HEALTH CARE SERVICES                                                                Elk Groi.ie, CA 95758




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                  •   Review custody cell entry and cut-down procedures for all suicides and suicide
                      attempts.
                  •   Provide data on self-harm incidents with or without intent to die.

        4. Monitor and track all self-harm incidents, unknown deaths, and deaths by suicide using
           self-harm definitions and classification including a review of the appropriateness of
           treatment plans and five-day follow-ups. The SPRFIT shall:

             •     Accurately enter all self-harm incidents in the Electronic Health Record System within
                 . ten calendar days after the incident occurred.
            •      Aggregate institution data to present to the institution MHP Subcommittee.
            •      Analyze trends in institution self-harm data.
            •      Notify relevant staff of all self-harm incidents.
            •      Consult with mental health clinicians, Division of Adult Institutions (DAI) staff and
                   Nursing as indicated.
            •      Ensure all serious self-harm incidents are accurately reported on a CDCR 837
                   Crime/Incident Report.

        5. Review and track all custody wellness check procedures as stated in the memorandums
           Revision of Mental Health Crisis Bed Discharge Custody Checks Policy dated
           January 27, 2016 and Addendum -Revision of Mental Health Crisis Bed Discharge Custody
           Checks Policy, dated September 1, 2017 (Attached).

        6. Ensure all required documentation for suicide death reporting is forwarded to the DHCS
           SPRFIT in adherence with timeframes specified in the Mental Health Services Delivery
           Program Guide, 2009 Revision, pages 12-10-24 to 12-10-25.

        7. Provide oversight for the implementation of DHCS issued Quality Improvement Plans
           (QIPs) with input and assistance from the institution Mental Health Program and EMRC
           subcommittees. Responses to QIPs shall be:

            •    Reviewed and approved by the Chief Executive Officer and Warden prior to
                 submission to the DHCS SPRFIT.
            •    Completed and submitted to the DHCS SPRFIT within the specified timeframes.

        8. Conduct institution self-assessments related to compliance with suicide prevention items
           using the audit items developed by the Statewide Mental Health Program (SMHP) Quality
           Improvement Unit. The SMHP regional teams shall conduct periodic reviews of each
           institution's compliance with these items. In addition, each institution SPRFIT shall
           conduct a semi-annual self-assessment to ensure compliance with suicide prevention
           practices, review the results, and develop remedies during the SPRFIT meeting.



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      HEALTH CARE SERVICES                                                               Elk Gtov~. CA, 95 7S8




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              9. During each SPRFIT meeting, review institution suicide prevention practices, issues, and
                 changes in operations that require special attention and response to determine areas for
                 improvement. Reviews shall include, but are not limited to, responding to proposed and
                 enacted legislation, changing institution conditions (such as changes in yards or missions),
                 changes in inmate demographics, or institution challenges.

              10. Monitor and address issues that may impact suicide prevention, including physical plant
                  Issues. Some examples may include use and location of Alternative Housing, intake cells
                  in Administrative Segregation Units and MHCB cells. The SPRFIT, in conjunction with
                  Facilities Management, shall monitor the progress of any needed retrofits. The SPRFIT
                  shall collect data, monitor trends and identify areas where suicide prevention efforts need
                  strengthening.

              11. Monitor compliance and review quality of five-day follow-ups and Suicide Risk
                  Assessments and Self-Harm Evaluations (SRASHEs). The SPRFIT shall develop Performance
                  Improvement Plans to address poor compliance with the five-day follow-ups and SRASHEs.
                  Chart Audit Tool results of five-day follow-ups and SRASHEs shall be reviewed to ensure
                  they are clinically appropriate and safety plans are adequate. The SPRFIT shall develop
                  Performance Improvement Plans as needed.

             12. Conduct semi-annual aggregate Root Cause Analyses (RCA) of serious suicide attempts',
                 supplemented by a mental health clinical review. Serious suicide attempts do not include
                 those incidents in which the self-reported injury is determined to be unfounded.

                 Every six months, the institution shall select the five most serious incidents during the prior
                 six months, defined by degree of injury, to develop the semi-annual aggregate RCA. If
                 there are fewer than five, the aggregate RCA must include all incidents from that time
                 period. The RCA shall be presented at the next SPRFIT meeting for discussion and review.
                 The RCA and mental health clinical review discussion shall include:

                  •   Mental health history and course, if applicable.
                  •   A discussion of the unique factors that influenced the inmate's decision to take his or
                      her life.
                  •   Identification of risk factors.
                  •   Relevant clinical issues.
                  •   Process and systems issues to include the functioning, interaction and integration of
                      various organizational components.
                  •   Adequacy of emergency response (in conjunction with the EMRC).
                  •   Contributing findings and plan of action.


         1
          Defined as self-harm incidents in which the severity is classified as "r using the Center for Disease Control, Self·
         Directed Violence Surveillance classification system (Injury is severe, requiring intensl\1e medical/surgical
         management coupled with intent to die}.


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         HEALTH CARE SERVICES                                                                                :lk Grove, CA 95758



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           13. Provide assistance and coordination for the activities of the visiting SMHP and DAI Suicide
               Case Reviewers. The SPRFIT coordinator shall:

                   •   Share information and work closely with the SMHP and DAI Suicide Case Reviewers to
                       ensure completeness and accuracy of reviews.
                   •   Facilitate on-site reviews, including review of property, site and interview with staff
                       members.
                •      Forward a written internal review to the SMHP and DAI assigned Suicide Case
                       Reviewer no later than ten business days from the date of death.
                •      Provide support and coordinate review requests for the SMHP and DAI suicide case
                       review process (reporting, gathering data, etc.).
                •      Coordinate the response to the suicide case review.

           14. Maintain a High-Risk Management Program consistent with the Department's suicide
               prevention and risk evaluation policies and practices, It Is Intended to assist in identifying
               patients who may be at an increased risk for self-harm or death by suicide and to ensure
               mental health clinicians receive critical clinical information to adequately evaluate patients
               and provide additional interventions to address high-risk factors. The institution Suicide
               Prevention and Response LOP shall include a description of the High Risk Management
               Program that includes the following:

               •       Criteria for identifying high-risk patients.
               •       Procedures for monitoring high-risk patients. ·
               •       Procedures for distribution of the high-risk list, including to health care and custody
                       staff.
               •       Procedures for managing patients who are high utilizers of higher levels of care.
               •       Additional clinical services provided to high-risk patients.
               •       Procedures for reviews of high-risk patients.
               •       Criteria and procedure for removal from the high-risk list.

           15. Implement procedures to address potential risk for inmates who return from court after
               receiving verdicts or judgments or information concerning parole grants from the Board of
               Parole Hearings that could be distressing. The institution Suicide Prevention and Response
               LOP shall include procedures for:

               •       Identification of inmates who received "bad news."
               •       Screening and assessment of these inmates.
               •       Crisis intervention services to be provided, if needed.
               •       Clinical follow-up.

          16. Provide inmates access to mental health services to obtain bereavement counseling
              and/or peer support to process grief and stress in the aftermath of a serious suicide
              attempt, or loss of a family member/significant other/peer. Services shall be available to
                                                                                                  P.O, B011588500
        HEALTH CARE SERVICES                                                                  Elk Gro1,1e, CA 95758




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             all inmates, regardless of participation in the Mental Health Services Delivery System
             (MHSDS). Services should be time-limited and focused on providing support to inmates
             who report experiencing grief over the loss. Services may include:

              •   Support groups.
              •   Individualized counseling.
              •   Enhanced clinician monitoring for elevated risk.
              •   Conjoint sessions with a chaplain.
              •   Placement into MHSDS or a higher level of care.

         17. Ensure the SPRFIT coordinator attends the Inmate Advisory Council (IAC) and Inmate
             Family Council (IFC) meetings at least once every six months. The SPRFIT coordinator shall
             provide the IAC and the IFC with the following:

              •   Information on suicide prevention and Mental Health Program services and resources.
              •   Information regarding mental health referrals (inmate self-referral or family member
                  referral).
              •   Information regarding warning signs for suicide.
              •   Suicide prevention pamphlets and posters for distribution.

         18. Ensure suicide prevention related materials (e.g. pamphlets for inmates and families and
             posters) are disseminated on an ongoing basis.

         19. Develop institution performance Improvement plans when deficiencies or opportunities
             for improvement with regard to suicide prevention are identified. Performance
             improvement plans shall include specific action items, assigned responsible parties and
             due dates. Outcomes of performance improvement plans shall be monitored and tracked,
             and revisions made as needed.

      Local Operating Procedures

      Institutions shall revise their SPRFIT LOP to include the above requirements and responsibilities
      and ensure consistency with DHCS policies regarding suicide prevention and response by March
      1, 2018. The institution's Suicide Prevention and Response LOP shall be updated at least annually
      and sent to the DHCS through the standard Quality Management process for review and
      approval.

      If you have questions or require additional information related to this memorandum, you may
      contact the Mental Health Policy Unit by email: CDCR MHPolicyUnit@cdcr.

      Any custody related questions should be directed to the Mental Health Compliance Team,
      Division of Adult Institutions by email: DAI-MHCompliance@cdcr.ca.gov.

      Any health care questio11_s ~hg_<1lcJ _!>e dire_cted to th~ SMHP SPRFIT via email:
                                                                                               P.O. Box 588S00
     HEALTH CARE SERVICES                                                                  Elk Gto1,1e, CA 957S8




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      CDCR MHProgramSuicidePreventionandResponse@cdcr.

      Attachments

      cc: Brittany Brizendine, Psy.D.
          Angela Ponciano
          Amy Eargle, Ph.D.
          Laura Ceballos, Ph.D.
          Michael Golding, M.D.
          Edward Kaftarian, M.D.
          Kevin Kulch, M.D.
          John Rekart, Ph.D.
          James Vess, Ph.D.
          Shama Chaiken, Ph.D.
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          Jennifer Johnson
          Kathleen Allison
          Kelly Mitchell
          Dawn Lorey
          Marcie Flores
          Regional Mental Health Administrators
          Regional Health Care Executives
          Associate Directors, Division of Adult Institutions
          Regional Nurse Executives




                                                                                     P.0. 80)( 588500
      HEALTH CARE SERVICES                                                       Elk Grove, CA 95758




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                       Suicide Prevention and Response Focused Improvement Teams Membership.

             The institution SPRFT membership shall include:
                ~ SPRFIT Coordinator {Chairperson) or cfeslgnee1
                • Chief Psychiatrist or designee2
                • Chief Psychologist or designee 2
                • Supervising Registered Nurse
                •    Senior Psychiatric Technician or Psychiatric Technician (preferably from the
                    Administrative Segregation Unit, (ASUJ, Short-Term Restricted Housing Unit or the ASU
                    Enhanced Outpatient Program Hub, if the institution has one)
                • Correctional Health Services Administrator or designee3
                • Inpatient Coordinator or deslgnee
                • Associate Warden Health Care Access or deslgnee 4

         Additional SPRFIT membership may be included as appropriate and in accordance with the
         institution needs and mission. SPRFIT membership may also include, but Is not limited to, the
         following classifications:
                •   Chief of Mental Health 5
                •   Senior Psychiatrist
                •   Senior Psychologist
                •   Staff Psychiatrist (assigned to Mental Health Crisis Bed)
                •   Staff Psychologist (assigned to Mental Health Crisis Bed)
                •   Standards and Compliance Coordinator
                •   Litigation Coordinator
                •   Associate Warden
                •   Facility Captain
                •   ASU Lieutenant/Sergeant
                •   Reception Center Lieutenant/Sergeant
                •   Classification and Parole Representative
                •   Administrative/Clerical Support
                •   PC 2602 Coordinator




         1 Must be·a Senior Psychologist,.Speciallst except at Institutions without a Senior Psychologist, Specialist

         position. 0esignee's classiflcation sha.11 not be lower than a Senior Psychologist, Specialist except at
         institutions without a Senior Psychologist, Specialist position.
         'Senior Psychiatrist/Senior Psychologist attendance shall meet quorum requirement in institutions
         without Chief Psychiatrist/Chief Psychologist positions. Designees shall not be at a level below a Senior
         Psychiatrist, SfK!cialist or a Senior Psychologist, Specialist .except at institutions without those positions.
         Attendance by the Chief of Mental Health shall satisfy the requirement for the Chief Psychologist or Chief
         Psychiatrist attendance, depending on classiflcation of the CMH at the institution.
         3
             As applicable.
         • Designee must be a classification no lower than a Captain.
         5
          If the Chief Psychologist or Chief Psychiatrist In attendance Is not the Chief of Mental Health, the Chief
         of Mental Health Is an optional member.



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          Memorandum
          o.,o       September 1, 2017

          Tn         Associate Directors, Division or Adult lnstllulions
                     Wardens
                     Regional Health Care Executives
                     Chief Executive Officere
                     Chiefs of Mental Health

      ·   Subjccc     ADDENDUM • REVISION OF MENTAL HEALTH CRISIS BED DISCHARGE CUSTODY
                    · CHECKS POLICY

                     The memorandum lilied, 'Revision of Mentel Health Crisis Bed Discharge Custody
                     Checks Polley." datelf January 27, 2016, _revised the Mental Heallh Services Delivery
                     System (MHSDS) Program Gulde, 2009 revision, and required 30-mlnute custody checks
                     be conducted on inmate-patients discharged from a Mental Health Crisis Bed (MHCB)
                     who were admitted for suicidal ldealion, threats, or attempts.
                     Effective immediately, 30-minute custody checks shall be completed on ell
                     Inmate-patients discharged from Alternative Housing when clinically Indicated. This
                     Is consistent with the MHSDS Program Guide, 2009 revision, which authorizes custody
                     checks on Inmate-patients returned from Outpatient Housing Units (now ldentlned
                     as Aile ma live Housing).
                     II you have any custody-related questions, please contact Ertc Hobbs, Captain,
                     Mental Health Compliance Teem, at (916) 324-7956 or Erjc,Hobbs@cdcr.ca.gov. If
                     you have any questions regarding mental health pollcles, please contact Robert Horan,
                     Senior Psychologist, Specialist, Clinical Support, Division or Health Care Services, al
                     (916) 691-6658 or Robert Horon@cdcr.ca.go)I.               ·
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                    KATHLEEN ALLISON                                       KATHERINE TEBROCK, Esq.
                    Director .                                             Deputy Director
                    D ~ r Adult lnstllullons                               Statewide Mental Health ProE!fem



                    JANE ROBINSON
                    Deputy Director (A)
                    Stalewide Chief Nurne Executive (Al
                    Nursing Services Branch

                    Attachments

                    cc:       Jeff Macomber     Eric Hobbs             Michael Golding
                              Connie Gipson     Laura Ceballos         Robert Horon
                              Kelly Mitchell    Amy Eargle             Marcie Flores
                              Dawn Lorey       ·Angele Ponciano        Mental Health Regional Administretorn




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         Stale or Cellromle                                                        Ooparlmont of CorreoUona ,no Rohab!IUoUon


         Memorandum
         Date
                     January 2 7, 2016

         To          Associate Directors, Division of Adult Institutions
                     Wardens
                     Regional Health Care Executives
                     Chief Executive Offlcera
                     Chiefs of Mental Health


        Sub)oct:    REVISION OF MENTAL HEALTH CRISIS                        BED DISCHARGE CUSTODY
                    CHECKS POLICY ·


                    In an effort to Improve toe continuity· of cllnlcal care for Inmate-patients (IPs)
                    discharged from a 'Mental Health Crisis Bed (MHCB), several revisions to the
                    MHCB discharge process as outlined In the Mental Health Servloes Dellvery
                    System (MHSDS) Program Gulde (2009 ReV1s1on) are being Implemented. The
                    followlng are sti;iff rasponslbllltlee regarding IPs who have bean discharged from a
                    MHCB to a general population housing or segregated housing unit; .

                    IP MHCB DISCHARGE TO GENERAL POPULATION HOUSING UNITS
                     Upon the discharge of an IP admltt.ed tc the MHCB tor eulcldallty, the MHC,B
                     discharging ollnlclan shall Initiate Ilia newly creafed California Department of
                     Corrections an~ Rehabllltfitlori (CDCR) MH-7487, Mehtat Heallh Crisis Bed (MHCB)
                     D/sohsrge Custody. Cheo/c Sfleflt prior to pllysloal dlsoharge, The discharging
                    ·clinician ahalf ensure the form Is provided lo t,{lnsportlng/escortlng staff who will
                     deliver the foFm to the receiving Institution's Central Control sti;iff. Central Control
                    etaff at the receiving Institution shall document the IP'a new housing lnformaUon on
                    the form and ensure Iha fotn1 Is sent with the IP to the ·housing unit.

                      Once the IP has physically arrived at .the receiving housing unit, staff shell conduct.
                      a personal observation within the housing unit on the IP every 30 minutes during
                      the lnlUal 24 hours of placement. Housing unit .staff shall document all custody
                     checks on the MHCB Dl~charge Custody Check Sheet using the observations.
                     legend listed on the CDCR MH-.7487, When IPs are released rrorn !he housing unit
                     to participate In programs outside of Iha housing unit, staff shall note the IP Is 'Out
                     to Program" on the MHCB Dlacharge·eus.tody Check Sheet until his/her return to
                     the. housing unit. Housing unit staff Is not req\llred to have Hie IP retum to the
                     housing unit to conduct the MHCB· discharge custody checks. When an IP returns
                   · to the housing unit from program a·ctlvltlee, housing unit staff shall note !he EITl\/81
                     time on the MHCB Discharge O'ustody Check Sheet, and continua the MHCB
                     discharge custody checks .as dlreeted above •




..__ _ _ _ _ _ _ _ _...;....._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ APPENDIX PG. - 364
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           Associate Directors, Division of Adult Institutions
           Wardens
           Reglonal Health Care Executives
           Chief Executive Officers
           Chiefs of Mental Health
           Page 2


           Upon completion of the Initial 24 hours after arriving to the urilt, a mental ·heaHh
           clinician shall report to the IP's housing unit, discuss the !P's observed behavior
           wllh custody staff, and conduct a confldentral cllnlcal evaluatlon with the IP. The
           evaluation will_ determine whether to continue or dlscontlnue the MHCB discharge
           custody checks or refer the IP for admission back to an MHCB based upon suicide
           risk. The mental health cllnlcfan shall document this decision on the MHCB
           Discharge Custady Checf< Sheet. Should the checks be continued, a mental health
           c1Fnlc1an Is required to reevaluate the IP every 24 hours until checks· are
           disoontlnuecf. The .custody checks shall not be extended beyond 72 hours after
           discharge from a MHCB. If an IP requires cf1ecks beyond 72 hours, the IP shall be
           readmitted to the MHCB. Institutions shall retain all original MHCB 'Discharge
           Custody Check Sheets for a minimum of three years at the Institution, and
           additional four years In departmental records retention.

           Weekends and HoUcla\1$
                                                             a
           When MHCB dl~charge custody checks end on weel1end or holiday, a designated
           mental health . cllnlclan shall conduct the evaluation when available. If a mental
           health clinician Is unavailable, the evaluation may be otmducted by a psycMatrlc
           technician. The peyohlatrtc technician will see the paUent and contact the on call
           use of force mental health clinician for a decision regarding continuation of checks.
           The on oall provider shall determine If the MHCB discharge custody checks may be
           dlsoontlnued and I& responsible for (jocumentlng the basis of this decision oh a
           progress note, The psychiatric technlctan shall document the continuation or
           discontinuation of checks on the MHCB Dlscherg!9 Custody Check Sheet, noting
           the date, time, and name of on call provider consulted.

           IP MHCB DISCHARGE TO SEGREGATED-HOUSING UNITS

           On May 9, 2014, the .California Department Corrections· a,nd Rehabllllatlon
           Implemented the Security/Welfare Cheak Procadure In all Administrative
           Segregation, Condemned, Psychlatrtc Services, and Security Housing Units. Thia
           procedura directs staff to conduct a security/welfare chec;k at staggered lnteivals on
           all Inmates assigned to segregated housing units twice an hour (not Jo exceed
           35 mlnates between checks) during their entlr!=) length of stay, The Implementation
           of the Security/Welfare Check Prooedure has rendered the MHCB discharge
           custody checks redundant when the IP rs discharged to a segregated .housing unit.

           With this revision to the MHCB discharge policy, segregated housing unite that
           have Implemented the Security/Welfare Check. Prc;,cedure shall no longer conduct
           MHCB discharge custody chec\(s of IPs solely due to discharge from an MHCB.




- - - - - - - - - - - - - - - - - - - - - - - - - A P P E N D I X PG. - 365
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          Associate Dlreotcrs, Dlvlalon of Adult lns11tutlons
          Wardens          ·
          Regtonal He1dth Oare Executives
          Chief Executive Officers
          Chiefs of Mental Health
          Page 3

          The Saourlty/Welfare Check by deflnlllon ensures custody staff Is aocountfng ror
          1Pa al established Intervals. However, thta revision does not apply to Segregated
          Housing Units that do m;,t conduct Security/Welfare Checks on all three watches.
          Housing unite meeting these criteria shall be required to log the MHCB lllsoharge
          custody checks as fndloatad above during times when the eecurlly/welrare checks
          are not required per exletlng polloy.

           P/aase·~ris~re  au             Post
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           Jmme·dlatti19 llpclelett·to rtlftect1!he11e•cln1nges~Tt\El'revlslon(e) ma'y be'lnolucled,as Ii
           supplement to be Included In•         the .    nal!f .si:lieduled revision of the ~l~acl8'ij,
           document. Addltlonally, each fnstltuUon eh~ll~pro~lde.,-'lartf)g~l.!!f~~'of 'oorhpletlon to
          ·your lnalltutlcn'e · LOP via memorandum to your reopectfvir Mission ftlisootate
          0Jrector. 1md a copy. to Erltr'fti:i66'iii -Cor'iectlonal Lleutwri~rit; .Dlvl,ilo'ii ·o'f'1(Bolt'
         .lnstftullons, Mental Health Compliance Team • wltt\r11··3Q_;;<.o1ilimdllr·davar:Arem
         .leeu111'1cc,·or lfils 'niemiifiin'aum:· ·                     .                       .
          If vou have any custody related questtona rogardlng this dlreotlve, please contact
          Lieutenant Hobbs at (916) 322-1726.


                                                            ~~.~ /4~4_
                   ARRINGTON.                               KATHERINE TEBROCK
         Director                                           Deputy Director
         Division of Adult Institutions                     Statewide Mental Heallh Program


           /1,1,,, ,,A"~#
         o~H0;,,            RN, BSN
         Slatswlde Chier Nurse Executive
         Nursing Ss,vlces
         Cnllfornla Correctlonal Health Oare ~ervloes
         Altaohmanta
         cc: Kathleen Allison               Laura Ceballos
             Ralph M. Diaz                  Amy Eargle
             ErloHobbe                      Marola f'lores




       _ _ _ _ __:.___ _ _ _ _ _ _ _ _ _ _ _ _ _ ,APPENDIX PG. - 366
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       '
      . STATI. Dr CAl.lf-OMl/\                                                                                                                       oePAA?MCHT Of COMEOTK:lff8 ANO Rl!'HMIUJATIOH
           Mental Heallh Crisis Bod (MHCB)
           Dlocharge Custody Check Sheet                                                                                                                                                 Form: Pago 1 or2
           CDCR MH•7497 (01/19)                                                                                                                                              lnatrucllon,: Pago 3 and 4
           I.' DlsbHa·,gIng Information                                 '·•·     ·..--::::, ./' ,• ;:,.~. '. ' . .~::-~ -~r: ,·::                 ,:; .-:··. _,,. · ·'.1::·1t.•· -~1:··/               •,j•,
                                                           ·,··                                                                                                       . •"..l·,.                         . •':
           lnmele Name:                                                                    CDCR#:                                  Dale of Discharge from MHCB:
           Discharging LOC:                               MHCB Discharging !nstllutlon:
           MHCB Discharging Cllniclan:
                                                                   ..                                                             .,. ,                                             . ,;;: ... .,, ·.'t·'.i"
           l[if!!'Qelvlng lnsUluilon lnforl\\~l_lon ·· ..., "...                      ·,         :\;_ ...·.. . ,:• •:: ·... •.·;•
                                                                                                   f;.                                                   •'••
                                                                                                                                                                : >     ~::;:,.,•

           Receiving Institution:                                              Assigned Housing Unit:
           Datamme of Arr1Val to Housing Unit:
           lltt::rfoloiil Evaluation
                                                                                      ..
                                                                                :.:•- ....
                                                                                             .   . .. :,:··
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                                                                                ......                  '•

       'When MHCB dlacherge custody checks end on e weekend or holiday, a· designated me~tal health cllnlclan shall conduct lhe
       evaluatlon when available. Ir a mental heallh cllnlclan Is unavailable, the eveluaUon may be conducted by a psychlalrlc technician.
       The paychlatric technician wlll see the patient end contact the on caU use of force mental health clinician for a decision iegardlng
       conUnuallon of check,. The on call provider shell determine If the MHCB discharge custody checks mey be d.~conllnued end Is
       reeponelble lordocumentlng the baels ol thl• decision on a progren note.
       Day 1 (lnlllal 2◄ Houra ofter Discharge from MHCB)
        Mental Heallh Clinician:                                                             Date/Time of Evaluation:
       Weekena/Hottday:
           Psychlabic Technlclen:                                                                                                         Date/Time or Evaluatlon:
           Conoultlng MH Clinician:                                                                                                       Date/Time of Consult:
           D Discontinue Custody Checke
           0 Continue Cuetody Chock,
           0 Reier to MHCB           ·Date and Time of Referral:

       Day2
           Mentel Health Cllnlclen:                                                                                                       Date/Time of Evaluation:
       Weekend/Holiday:
           Ptiychlatric Technician:                                                                                                       Datefrlme of Eveluallon:
           Consuntng MH Clinician:                                                                                                        Datefrlme of Coneull:
       0 Discontinue Custody Checks
       0 Continue Custody Checks
       0 Refer lo MHCB                            Date end Time or Referral:
       Oay3
       Mentel Health Cllnlclan:                                                                                                           DetefTlme of Eveluellon:
       Weekend/Holiday:
       Peychtatrtc Technician:                                                                                                            DatefTlme of Eveluetlon:
       Consulting MH Cllnlclen:                                                                                                           Datefrlme of Consult:
       D Discontinue Custody Checks
       0 Refer to MHCB            Dale end Time of Referral:
       DISTRIBUTION • Coples: Heallh Records, Health Care Access Unit Ca plain
       &CANNING LOCATION. Outpatient; MHNt/TxPln • ProgroH Noto




L - - - - - - - - - - - - - - - - - - - - - - - - - - A P P E N D I X PG                                                                                                                                         - 367
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                                                                                                                                       DEPMTl,IENT Of COAAEC?IOH8 NIDflEHAB!LITATIOH
     ITATli. OF C.-.U,ORMf,          ,
     Mental Health Crisis Bed (MHCB)
     Discharge Custody Check Sheet                                                                                                                                       Form: Pegs 2 of 2
     CDCR MH-7497 (01116)
                                                                                                                                                       lnetrucUonel Pa9e 3· and 4
                                                                         . ,.                         ""... •_,·J·...             ·':~:: :--:   ;       ·~-- '.~:··· :·.~ ,· .. ,;~,:~.~.-·•: .
     IV. Custody ·checks.                      ..    •,
                                                      .''.-       ,.,.__. ··,·. /:~_:,:.{_;:-·
                                                                                                 ';                     (."

                                                                                                                        •.
                                                                                                                                                                        ."
     Inmate Name:                                                 CDCR#:                                                      Assigned Housing Unit:
     Observation Legend:
       1 • Anlval ,o Unit                     5. In Cell • Talking to Cell Mele                             8 • Out lo Program
       2 •, In Cell-Sloeplnglleylng Down      6 - In Cen-EeUng                                             1O• Return from Program
       3 • In Cell Mlec.                      7 -Day Room-Acllvltlss                                        11 • Supervfeor Review of MHCB Custody OIBchBige Check11
       4 - In Cell•Welchlng TV/Reeding        B • Showering                                                 12 - Emergency

            Date              Time         Observation                       Print Name                                                             Comments


                                                                                                                                                                               .




                                                                                                  .




                                                              .




                                                          .




             I UTION . Coples. Health Records, Health Care Accesn Unit Captain
       DIS TRB
     . SCANNING LOCATtON - Outpatlenti MHNl/Tx?lh - Progreea Nol.ts ·




L.._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ APPENDIX PG. - 368
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  ··u1,,TtOfCM.1FORtM                                                                           DEP/\RTMEHT Of criAAECTIONI AHO REHABIUTATION
   MENTAL HEALTH CRISIS BED (MHCBI
   DIBCHAROE CUSTODY CHECK SHEET
   CDCR MH-7487 (01/18)


                                                               Instructions

     Purpose ot Form: The COCR MH-7497 (8/16), Mental Hsallh Crisis Bed (MHCBJ Discharge Custody Chock Is used for
     patients who were admitted to a MHCB for sulcldailty and have subsequently been discharged. It Is used to document the
     following:

           1. All cuslody checks ere being conducted at least every 30 mlnutea, ensuring the patient Is not engaging In any
              self-tnju~ous behavior.                       .
           2. Cfinlcal evaluetlons should determine II lhe pal/ent requires continued 30 minute checks or If custody Checks can
              be discontinued, II It Is determined the patient cannot be safely removed from custody checks 72 hours after
              being discharged, he/she will be reterred back to MHCB.                             ·
     I,     Discharging Information
          · Thie aectlon la lo bo completed by a mental health clinician,

           1.    Enter the petlenl's name ·
           2.    Enter. the patient's CDCR nµmber.
           3,    Enter the date of discharge from MHCB.
           4.    Entsr lhe patients discharging level or care using the dropdown box.
           5.   •Enter Iha Institution from which the patient Is being discharged.
           6,   Enter ths name or the discharging clinician.
     II. Receiving Institution Information

           1. Recslvlng Institution Section: The discharging cllnlclan shall enter the lnslltullon locallon !o whleh Iha patient Is
                being discharged •
              . e) · Once the recslving lnslltuUon ~ecllon Is complete and the name or the receiving lnsutuUon la entered, MHCB
                     slaff shall print the CDCR MH-74117 Mental Heallh Crisis Bed (MHCB) Discharge Custody Chock Sheet end
                     provide lo transporllng/escorUng cuetody stall. The CDCR MH-7497 Mental Health Crisis Bed (MHCB)
                     Discharge Custody Check Sheet ehall acoompany the patient to the receiving lnstllullon end housing unll
                b) Transporting/escorting staff shall provide lh• form lo Central Control et the receiving lnsUIUllon \'AJsreln lhs
                     assigned housing portion shell be completed by Central Control staff.
                c) Assigned Housing Unit Cenlral Control staff at th'e receiving lnslllullon shall Write the paUent's ·housing unll
                     and cell number.
                d) Upon lhe pallenl's arrival Into the unit, housing unit s1arr will write In the date and lime.
     Ill, Cllnlcal Evaluation
          This soctlon Is to be completed by Manta! Heallh Clinician or Psychlslrlc Technician,

             1. On each day, check the r_elevanl box lhat establishes Ir checke shall be discontinued, continued, or~ lhe patient
                 shall be referred to the MHCB .
          . ·2. Dais, time, and sign In the aecllon for each day.
             3. Document clinical Information regarding ihs pellent encounter on the CDCR MH-7230-B, lnlerdlsclpllnary
                 Progress No_te - Five Day Follow-Up term. Supplemental lnformeUon may be documented on a menial -health
                 progress note.                                                               .
             4.' On day 3, II lhe clinician believes ongoing custody checks are required, the "refer to MHCe• box shall be checked
                 and Iha paUenl referred 10 MHC8.                                                                     ·
     IV. Custody Checks
         To be completed by custody ataff conducting checka. Ons entry psr chock le raqulre<I,

           1.   Enter Iha patient's name
           2,   Enter Iha patient's CDCR #
           3.   Enter lhe pallent's assigned housing unit
           4.   Date: Write dale of each check conducted
           5.   Time: Write the time the check was conducted and do not write times In advance.  ·         .            ·
           6.   Observation: Write !he number(s) rrom the legend bes! describing the behavior or ecllvily that was obaecved
                during Iha check.




_ _ _ _ _ _ _ __:___ _ _ _ _ _ _ _ _ _ _ _ _ _ _ APPENDIX PG. - 369
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   'JTATEtlF'cMJFoRNJA                                                                                   OEPMTMENTOF COAAfOTIONB,'ROREHASll.JTATTON
   MENTAL HEALTH CRISIS BED (MHCB}
   DISCHARGE CUSTODY CHECK SHEET
   CDCR MH•7497 (01/16)      '


          7, Prlnl"N,ani<(: Qnce uie Information is wrltt,i'ri"in; lh"lf slafi;ri,iinib'ef.coriductlng· tfie cuitody check shall pr,lrlt his/her
             name legibly.,

          8. Comments: Complete thl~ secllon to provide any addlllonal fnformallon that needs to be communicated to the
             mental health clinician or psychiatric technician. If based on what staff observes during the custody check, ha/aha
             believes the pallant Is a danger to self or olhers or Is exhibiting unusual and/or bizarre behavior, custody staff
             shalt Immediately contact Menial Health Services end submit e CDCR 126-MH5 Mentel Health Referral Chrono.
             This section shall be utlllzed to docume~t the date and time the patient was referred to Mental Health Services. In
             !he event an emergency occurs within or outside of the housing unit requiring custody staff to respond that
             prevente them ·from conducting the custody check, !he date, lime end nature of the emergency ehatl be
             documented In the comment section at the bottom of page two. In the event this occurs, custody etaff shall
             resume the cuetody check• as soon es possible.
     V, Additional Information

          1. When cuslody supervisors ere conducting reviews of !he form during tours of the unit, the custody supervisor
             shell fill In the date and time, end note the appropriate observation coda, Once Iha Information Is nlled In, Iha
             custody supervisor revleWlng the form shall print and sign his/her name legibly.
          2. If at any time custody staff discovers the patten! has not been evaluated by Mental Health Services Within
             established tlmeframes, staff shall notify their custody supervisor, who will contact Mental Health Serlfooe.
          3. If the patients housing assignment changes, prtnt !he new housing unit lnformaUon.on page two of Ilia form.
          4, When ell the custody check Information on page two has been ~lied In, lnlllete an add!Uonal page two of the form,
             print the patient's current Information and continue documenttn·g the custody checks. All additions! pages printed
             to document the custody checks shall be kept together with page one of the form.




       - - - - - - - - - - - - - - - - - - - - - - A P P E N D I X PG. - 370
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                                                                                             Nombor:
                                      DEPARTMENT OF CORRECTIONS AND                                    16sl2
                                             REHABILITATION
                                                                                             D.ite fntiecf
                                         INFORMATIONAL BULLETIN

                            SUBJECT: ANNOUNCING THE RELEASE OF CAUFCiRNIA
                                     bEPA!tTMf!:NT OF COFiRECTIONS ,l\Nb                             1/26/1[
                                     REHABILITATION FORM; CDCR MH-7497
                                     (01/16), MENTAL WEALTH CRISIS BEb (MHCEi)
                                     Dl$CHARGE CUSTODY Cl::l.loCK SHEET,



      The purpose of this lnformaUonal B�letin (IB) is lo announce the release of a California Department or
      Corrections and Rehabilitation (CDCR) form CDCR MH-7497 (01/16), Mental Heallh Crisis Bed (MHCB)
      Discharge Custody Check Sheet. by the Division of Health Care Services (DHCS) Mental Heallh Program.
      The form shall be used as directed, by DI-ICS staff to document the various requirements of the program.

     Effective immediately, the form is available electronically in "fill and print" version accessible via lhe
     CDCR Intranet at: htlp:/lintraneUPro/dhcs/mentalhealth/Pages/New-QMforms.asllll... If Intranet access is
     not available, the form can be ordered in print from California Prison Industry Authority (CALPIA), on
     Form COCR 1853 (Rev. 07/07) Reproduction Order.

     New Form

       •    COCR MH-7497 (01/16), Mental Health Crisis Bed (MHCB) Discharge Custody Check SheeL A
            four pages, single-sided form, on 8½"X11" white bond paper, with Instructions al the back of the fonn,
            in sets of 167.

     Please inform all persons concerned as to the contenls of this 18 and direct any inquiries to
     Christina Gritsch, Staff Services Analyst, Policy Support, Statewide Mental Health Program, Division of
     Health Care Services, at 916-691-0311 or via e-mail al Christina.Gritsch@cdcrca.gov.



     Origin.al $igncd by.




     TIMOTHY M. LOCKWOOD, Chief
     Regulation and Policy Management Branch
     Division of Administrative Services




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                                                                                                       APPENDIX PG. - 310
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                     CALIFORNIA CORRE TIONAL
                     HEALTH CARE SERVICES
   MEMORANDUM
    Date:         9/20/2019
    To:           Chief Executive Officers
                  Chiefs of Mental Health
                  Chief Psychia rists
                  Se                       rvisors
    From:

                                              H, MA, CCHP
                  Deputy Director (A)
                  Statewide Mental Health Program
    Subject:      CLARIFICATION OF PSYCHIATRY CONTACTS FOR ENHANCED OUTPATIENT
                  PROGRAM PATIENTS

   Per the Mental Health Services Delivery System Program Guide, "A psychiatrist shall evaluate
   each Enhanced Outpatient Program (EOP) inmate-patient at least monthly to address psychiatric
   medication issues."

   Effective immediately, psychiatrists shall evaluate all EOP patients, at least every 30 days,
   regardless of the need for medication management, including EOP patients that are not currently
   prescribed medication. The Electronic Health Records System workflow Quality Management
   reporting rules are currently being updated to reflect this change.

   If you have questions or require additional information related to this memorandum, you may
   contact the Mental Health Policy Unit by email: CDCR MHPolicyUnit@cdcr.


   cc: Brittany Brizendine, Psy.D., MBA
       Angela Ponciano
       Laura Ceballos, Ph.D.
       Michael Golding, M.D.
       Shama Chaiken, Ph.D.
       Travis Williams, Psy.D.
       Jennifer Johnson
       Regional Mental Health Administrators
       Regional Health Care Executives




   CALI f ORNIA   O t{RECT ON                                                          P.O. Box 588500
   HEALTH CARE SERVICES                                                            Elk Grove, CA 95758


                                                                                  APPENDIX PG. - 373
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State of californla                                                           Department of Corrections and Rehabilitation


Memorandum
Date:      November 15 , 2019

To:         Associate Directors, Division of Adult Institutions
            Wardens
            Chief Executive Officers
            Chiefs of Mental Health
            Classification and Parole Representatives



SUbject:    DESERT INSTITUTIONS EXPEDITED TRANSFER FOR MENTAL HEALTH SERVICES DELIVERY
            svmM INMATES

            The California Department of Corrections and Rehabilitation (CDCR) remains committed to
            ensure timely mental health access for all inmates who are included in the Mental Health
            Services Delivery System (MHSDS).

            It Is CDCR poflcy to not transfer inmates In the MHSDS to the following desert .institutions:
            Calipatria State Prison, California Qty Correctional Facility, California Correctional Center,
            Centinela State. Prison, Chuckawalla Valley State Prison, and Ironwood State Prison. The
            purpose of this memorandum Is to announce the new transfer policy timellnes for those
            inmates housed in desert institutions who have a level of care change and are then Identified
            as requiring lndusion in the MHSDS. Effective December 16, 2019, Inmates housed at desert
            institutions whose mental health level of care (LOC) changes to Correctional Clinical Case
            Management System (CCCMS), or Enhanced Outpatient Program (EOP) shall be transferred to
            a MHSDS designated institution consistent with their case factors within 14 calendar days of
            the LOC change being reflected in the Electronic Health Record System (EHRS). This
            memorandum makes no changes to existing Mental Health Crisis Bed transfer timelines.

            14-Day Transfer Process for Desert MHSQS Inmates

            1) The mental health clinician determines the inmate is appropriate for CCCMS or EOP LOC,
               and updates the LOC in the EHRS. On the same day, the clinician notifies the
               Classification and Parole Representative (C&PR) or designee of the LOC change.

            2) Within one business day of notification, the C&PR shall coordinate with the Population
               Manasement Unit (PMU) for appropriate transfer placement.

            3) PMU, In coordination with the institution, will review the case no later than the next
               working day. All efforts will be made to facilitate transfer to an institution likely to meet
               the Inmate's case factors which would be appropriate for permanent endorsement.
               Upon determination of approved placement location, institutional staff shall notify the
               inmate and facilitate the classification committee.


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   Associate Directors, Division of Adult Institutions
   Wardens
   Chief Executive Officers
   Chiefs of Mental Health
   Classlflcatlon and Parole Representatives
   Pagel




   4)    PMU will review the Desert MHSDS LOC Change Report dally to Identify Inmates with a
         mental health LOC chan1e pendint the transfer process in order to ensure all Inmates
         requiring transfer are identified In Step #2.

    s, Followtna committee, the C&PR wlll notify PMU the cue ls ready for review by a
       Classlflcatlon staff Representative (CSR). If there Is casework that needs to be completed
         the CSR Is to endorse the case, and the receiving Institution will be responsible to complete
         the casework.

    6)   Upon determination of an appropriate placement, PMU wlll notify the Statewide
         Transportation Unit (STU), and add the inmates to an existing bus schedule. It is the
         expectation that Inmates involved In this process shaft normally move vta the statewide bus
         schedule. If the Inmate cannot be added to an existing bus schedule, STU will notify the
         sending institution of the need to facilitate a special traMport and ensure transfer within
         the l�ay transfer tlmeframe requirement.

   7}    Onaolng coordination will occur between the c&PR and PMU to ensure the timely transfers.

   8)    Medical holds will be addressed In accordance with callfomia Correctional Health
         Care Services, Hea.lth Care Department Operations Manual, Chapter 1, Artlcle 2, section 14,
         Appendix 1: The Medical Classtflcatlon Factors, subsection (b)(1). A Temporary Medical
         Hold Is usad when a patient requires medically necessary health care services, and It Is
         medically prudent to provide these services at the institutions where the patient Is currently
         housed.

         If a patient Is out to hospital or on a medical hold, the transfer tlmeframe shall be
         suspended. As soon as possible, but not to exceed 24 hours after a patient on medical hold
         or who has Identified medical Issues that raises concern reprdJn1 safety for transport Is
         placed In the mental health proaram, a joint team of medk:al and mental health cllnlcians
         shall discuss which clinical needs, mental health treatment, or medical care. take
         precedence. If the medical condition Is deemed more urgent than the mental health
         treatment need, a medical hold shall be ordered In accordance with current policy If one is
         not already In place. Mental health staff shall document the discussion In the electronic
         healthcare record, Including the names and positions of those who participated in the
         discussion, the date and time the discussion occurred, the determination reached, and the
         specific rationale for the determination. The Nllattve uraency of the medical and mental
         health needs, as dictated by the patient's condition, shall be continually monitored by the
         joint team, and mental health staff shall document In the electronic heafthc■re record the




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    Associate Directors, Division of Adult Institutions
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    Chief Executive Officers
    Chiefs of Mental Health
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         reasons that the medical need continues to outwei&h the mental health need. If resolution
         of the medical Issue delays COCR's ability to transfer the patient to the mental health
         pro1ram within the transfer ttmelines, the patient shaH be transfemtd as expeditiously as
         possible, and no later than 14 calendar days after the medical hold is lifted. If • medical
         hold Is removed, the provider removing the hold shall contact the referring mental health
         cllnlctan and document the communication of removal of the medical hold in I pro1ress
         note.

         The responsible provider for llftlng the medlclt hold will notify the C&PR to ensure
         expedited transfer.

    9) The goal is to have the patient b• expeditiously housed at an Institution that can meet both
       the medical needs as well as the mental health needs of the patient. The primary care
       provider (PCP) shall work towards addressin1 the reason for medical hold to allow for the
       patient to be transferred to a more appropriate institution that can address both the
       patient's medieal needs and mental health level of care. The Reatonal Deputy Medical
       Executive (DME) and Restonal Mental Health Administrator may need to work with their
       counterparts In another relfon In an effort to help transfer the care to the Institution that
       can meet both the medical and mental health needs of the patients.

        If there Is dlsa9N!ement between the PCP and the mental health dlnldan regarding the
        patient's most urgent treatment needs, the parties shall immediately etevate their concerns
        and recommendations to the Chief Medical Executive (CME), and the Chief of Mental
        Health (CMH), or their deslpees. The CME and CMH shall review the totality of the case
        and make • determination on the priority treatment needs with the final decision being
        transmitted to the PCP, and mental health cllniclan no later than 24 hours after escalation
        of concerns. The primary MH Clnldan shalt ensure this decision Is docum■nted In the EHRS
        and communicated to necessary stakeholders.

        Should the CME and CMH be unable to come to resolution on the primary treatment needs
        of the patient, they shall elevate the recommendations for flnal decision to the appropriate
        Reatonal Deputy Medlcaf Executive (s) (DME), and Relfonal Mental Health Admlnlstrator(s),
        or their designees. The Restonal DME and R91ion1I Mental Health Administrator, or
        deslanee, shafl make a determination within 24 hours and ensure the decision is
        documented In the EHRS and that the CME and CMH are notlftec:I. The CME and CMH wlll
        make all necessary notifications to ensure the appropriate treatment needs of the patient
        are being met.
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   10) Transfers will be consistent with California Code of Regulations, Title 15, Section 3379(d)(1).
       The sending Institution shaft, prior to any medical or psychiatric transfer, determine
       whether the inmate has enemies or mlsht be In danger at the recelvlna flclllty, and shall:
       (A} Inform staff of the receiving facility by telephone prior to the transfer n:prctlng any
       precautions needed to prot� the Inmate. (B) Make an alternate lnstltutlonal transfer
       arrangement which wtll not Jeopardize the Inmate. This requirement shall not delay a
       transfer past the tlmeframes In this memorandum.

   11) Any Inmate-patient Inadvertently transferred to a desert Institution shall be transferred
       out to an appropriate placement within 72 hours.

    ln•5ervlce Tralnln1 Managers shall ensure all Licensed Clinical Social Workers, Psychologists,
    Correctional Counselors, c&PR's, Assistant c&PR's, captains, and Associate Wardens receive
    On-the-Job Tralnlna on this expectation, usins BET Code 11059945 (Desert Institutions
    Expedited Transfer for MHSDS Inmates, OJT), within 30 days from the date of this
    memorandum. Wardens shall ensure staff training ls completed and submit a proof of practice
    memorandum, along with a copy of their updated local operatlfll procedure, to their respective
    mission's Associate Director.

   If you have any questions, please contact Dawn Lorey, Associate Warden, Mental Health
   Compliance Team, at (916) 323-2450, or Dennis Halverson, Chief, Population Management Unit,
   at(916)324-7812...._



   CONNIE GIPSON                                         R. STEVEN THARRATT, MD, MPVM, FACP
   Director                                              Director, Health care Operations
   Division of Adult Institutions                        Statewide Chief Medical Executive

   cc:   Kim Seibel             Brittany Brizendine
         Jennifer Barretto      Laura Ceballos
         Kelly Mitchell         Angela Pondano
         Eureka Daye            Michael Golding
         Dawn Lorey             Reatonal Deputy Medical Executives
         Dennis Halverson       Regional Health care Executives
         John Herrera           Chief Physicians and Surgeons
         Brian Moak




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                    CALIFORNIA CORRE                                          ONAL
                   HEALTH CARE SERVICES
MEMORANDUM
    Date:      2/7/2020
    To:        Chief Executive Officers
               Chiefs of Mental Health
               Chief Psychiatrist

    From:



               Deputy Director (A)
               Statewide Mental Health Program
    Subject:   CLINICAL CONTACTS AND DOCUMENTATION

This memorandum provides direction to mental health clinicians (psychiatrists, psychologists,
social workers, psychiatric nurse practitioners) regarding clinical contacts and documentation.

Clinical Contact

Each patient shall be offered individual treatment in a confidential setting. To be considered a
clinical contact that meets Mental Health Services Delivery System (MHSDS) Program Guide
requirements, the patient must be seen :

      1. In a confidential setting1, OR
      2. In a non-confidential setting in response to:
             a. The patient' s refusal, as defined below, OR
             b. Temporary Medical Isolation that requires confinement to quarters or isolation in
                a medical setting per the Health Care Department Operations Manual 1.2.14,
                 Medical Classification System (Attached).

A non-confidential contact for reasons other than in response to a refusal or medical isolation
due to medical illness shall not be considered a Program Guide required clinical contact.

Non-confidential contacts for telepsychiatry shall not be considered a Program Guide required
clinical contact under any circumstances.




1
  A confidential setting affords confidentiality of sight and sound from other inmates and confidentiality of sound
from staff members per the confidentiality guidelines in the M ental Health Services Delivery System Program Guide

                                                                                                    P.O. Box 588500
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No Shows
No show is failure of a patient to report to a scheduled appointment unless there is a valid refusal
as defined below, or the patient is unable to attend the appointment due to documented medical
isolation.

Refusal of a Clinical Contact
An appointment is considered refused if:

   1. The mental health clinician speaks with the patient face to face and the patient refuses,
      OR
   2. The mental health clinician is provided with written documentation signed by the patient
      on a CDCR Form 7225 Refusal of Examination and/or Treatment that the patient refused
      to attend a confidential encounter.

Patient Follow-Up for Refusals or No Shows:
           •   Refusals: If a patient refuses the confidential clinical contact, the mental health
               clinician shall follow-up in accordance with MHSDS Program Guide requirements
               for mandatory contact intervals, "M ental Health Appointment Refusals"
               memorandum dated July 5, 2017 (Attached) or as clinically indicated, whichever
               results in an earlier appointment.
           •   No Shows: A clinical wellness check may be completed, based on clinical
               judgement, by one or more members of the clinical treatment team, when a
               patient no shows.

Documenting in the Healthcare Record

   1. Clinical Contact Confidentiality- The mental health clinician shall:
           a. Follow Electronic Healthcare Records System (EHRS) workflows to ensure the
              appointment is scheduled.
               •   In accordance with approved EHRS psychiatry training, if a psychiatry contact
                   is allowed to be checked in and out after the appointment completion by
                   trained staff other than the psychiatrist, the psychiatrist shall include the
                   necessary information including contact confidentiality (confidential or non­
                   confidential) in the scheduling instructions. Necessary information may
                   include:
                   o   Contact Date
                   o   Contact Start and Stop Time
                   o   Contact Mode
                   o   Contact Location
                   o   Contact Location Reason
                   o   Contact Confidentiality

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                  o Contact Outcome
                  o MA Present, Yes or No

          b. Check the patient in and out, indicating the actual times the appointment started
             and ended. Select the contact details of the appointment to include if the contact
             was confidential or non-confidential.
          c. If the contact was not confidential, the reason shall be selected in the "Contact
             Location Reason" drop down within the EHRS "Check Out" screen.
          d. Document on a progress note or other appropriate document.

   2. No Show - If the patient does not show for a scheduled appointment, staff shall:
          a. Click "Cancel" in the Ambulatory Organizer or Schedule Viewer and then select
             "MH- IP No Showed" as the reason.
          b. Document in a clinical note the details of the "no-show", including the mental
             health clinician's plan for follow-up and engagement efforts with the patient.
          c. Place a new scheduling order for an appointment as soon as possible and within
             compliance timelines if possible.
          d. Staff shall not check patients in and out when a patient is not seen face to face by
             the mental health clinician.

   3. Refusal- If the patient refuses a scheduled appointment, the mental health clinician shall:
          a. Click "Cancel" in the Ambulatory Organizer or Schedule Viewer and then select
             "MH- IP Refused" as the reason.
          b. Document the method of refusal on a progress note.
          c. Place a new scheduling order for an appointment as soon as possible and within
             compliance timelines when feasible.

   4. Early Appointment Termination - If a mental health clinician has already checked a
      patient in for a scheduled appointment and then needs to end the session without getting
      significant clinical information (for example, in the event of an emergency or other safety
      or security reasons), the mental health clinician shall:
          a. Click "Cancel" in the Ambulatory Organizer or Schedule Viewer and then select the
             appropriate reason.
          b. Document that appointment was terminated early and why on a progress note.
          c. Place a new scheduling order for an appointment as soon as possible and within
             compliance timelines when feasible.

      The clarification of significant clinical contacts may, at times, result in missed timelines
      being reflected on the Mental Health Performance Report. However, when the Quality
      Improvement teams review data, the reason for the missed timelines will be clearly
      reflected in the mental health clinician's documentation.



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If you have questions or require additional information related to this memorandum, you may
contact the Mental Health Policy Unit by email: CDCR MHPolicyUnit@cdcr.


Attachments

cc: Angela Ponciano
    Laura Ceballos, Ph.D.
    Michael Golding, M.D.
    Amar Mehta, M.D.
    Shama Chaiken, Ph.D.
    Travis Williams, Psy.D.
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MEMORANDUM
 Date:         3/16/2020
 To:           Chief Executive Officers
               Chiefs of Mental Health
               Chief Psychiatrists

 From:


                               I           I   MA, CCHP
               Deputy Director (A)
              Statewide Mental Health Program
 Subject:     REQUIREMENT FOR INITIAL CONTACTS TO BE COMPLETED PRIOR TO THE
              INTERDISCIPLINARY TREATMENT TEAM

As a reminder, per the Mental Health Services Delivery System Program Guide, an initial
Interdisciplinary Treatment Team (IDTT) shall be completed for patients at the Correctional
Clinical Case Management System (CCCMS) and Enhanced Outpatient Program (EOP) levels of
care (LOC):

    •    No later than 14 working days of the arrival to a CCCMS program.

   •     No later than 14 calendar days of the arrival date to an EOP program.

IDTT members, specifically primary clinicians (PC) and psychiatrists (PSY), shall complete their
initial PC and PSY contacts consistent with the Mental Health Services Delivery Program Guide
timelines and prior to the initial IDTT for all new intakes and all patient transfers.

If you have questions or require additional information related to this memorandum, you may
contact the Mental Health Policy Unit by email: CDCR MHPolicyUnit@cdcr.



cc: Angela Ponciano                                       Amber Carda, Psy.D.
    Laura Ceballos, Ph.D.                                 Wendy Worrell, Psy.D.
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    Shama Chaiken, Ph.D.                                  Regional Mental Health Administrators
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     Addendum to 12.05.200 MHCB Referral, Referral Rescission, and Discharge Policy


     Transfer Timelines

     Patients requiring Mental Health Crisis Bed (MHCB) care shall be admitted to the MHCB
     within 24 hours of referral.
     Definition of Transfer: Transfers start at the day and time the patient’s level of care is changed
     to MHCB within the healthcare record and ends upon arrival, according to the Strategic
     Offender Management System arrival date/time.
     Exceptions to Transfer Timeline:
     There are circumstances under which the timeline cannot be met as outlined below.
     The circumstances identified below shall temporarily suspend the transfer timelines only for the
     period of time in which the governing exception applies, as detailed below. Once the
     exception ends, inmates must be transferred to an MHCB as expeditiously as possible. The
     expectation is that most transfers after resolution of the exception will be completed in twelve
     hours, but in no event will the transfer to the MHCB exceed twenty-four hours. More than one
     exception may apply.
     Transfer Refusal
     If a patient refuses to transfer, the transfer timeline shall be suspended. Every effort shall be
     made by the treating clinician to encourage the patient to vacate the cell voluntarily for
     transfer. The clinician responding to the patient’s cell to discuss the refusal shall enter the
     MHCB Refusal to Transfer order in the electronic healthcare record and document the patient’s
     present location on a progress note at the time of refusal. When the patient vacates the cell for
     transport, the order shall be discontinued. The agreement to transfer date and time is the
     date and time the order was discontinued. If the patient continues to refuse to vacate the
     cell, the clinician or other healthcare provider shall make every effort to ensure the patient
     exits the cell and shall document all actions that occurred in an effort to convince the patient to
     vacate until controlled Use of Force is initiated. The provider shall document each effort made
     to encourage the patient to vacate the cell, including the intervention made and the patient’s
     response. This documentation shall ultimately provide a chronological summary of clinical
     interventions and shall be completed prior to the provider completing his or her work day.
     The controlled use of force policy per the Department Operations Manual, Section
     51020.12, Controlled Use of Force General Requirements, shall be initiated within 48
     hours, if the patient continues to refuse to vacate the cell and still requires inpatient care.
     Medical Conditions
     If a patient is out to hospital, on a pre-existing medical hold, or a new medical hold is placed at
     the time of the MHCB referral due to a medical condition that cannot be treated at an MHCB
     and that is deemed more urgent than the mental health treatment need at or after the time of
     the referral, the transfer timeframe shall be suspended.
     As soon as possible, but not to exceed four hours, after the MHCB referral is made, a joint team
     of medical and mental health clinicians shall discuss which clinical needs, mental health
     treatment or medical care, take precedence. If the medical condition is deemed more urgent
     than the mental health treatment need, a medical hold shall be ordered in accordance with
     current policy. Mental health staff shall document the discussion in the electronic healthcare
     record, including the names and positions of those who participated in the discussion, the
     date and time the discussion occurred, the determination reached, and the specific rationale
[]

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continually monitored by the joint team, and at each discussion of the continuing appropriateness
of the medical hold, the joint team shall determine when the next discussion should take place.
Mental health staff shall document in the electronic healthcare record the reasons that the medical
need continues to outweigh the mental health need as changes in the patient’s status are
identified and discussed by the joint team. If a medical hold is removed, the provider removing
the hold shall contact the referring mental health clinician and document the communication of
the removal of the medical hold in a progress note.
Out to Court
During the referral process, if a patient is physically unavailable for transfer to an MHCB due to
an order to appear in state or federal court, necessitating transfer out of the institution or to an
institution nearest the court, the receiving institution shall track the patient and, upon return from
out to court status, reassess the patient’s need for an MHCB referral on an emergent basis. If the
patient still requires an MHCB placement, the institution shall notify the Health Care Placement
Oversight Program which will expedite the MHCB placement.
Unforeseeable Delays or Obstacles that Arise During Transportation
Transfer timelines may be suspended in unusual circumstances outside the control of the
California Department of Corrections and Rehabilitation. Such circumstances shall be reported
to the Statewide Director of the Mental Health Program, and documented by the Inpatient Referral
Unit in a report to the statewide Quality Management committee to monitor frequency and any
possible corrective action.
Documentation
Staff shall document the date and time the patient became unavailable to transfer, the reason for
the delay, and the date and time of the resolution of the delay in the healthcare record for all
approved exception reasons. When transfer is delayed due to transfer to court or outside medical,
this follow up documentation shall occur expeditiously upon the patient’s return, but no longer
than one business day after the patient returns.




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                             Appendix D
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This memorandum clarifies several changes to Chapter 6 of the Program Guide (2009 Revision),
concerning inpatient care. References to the Department of Mental Health or DMH shall now mean the
Department of State Hospitals (DSH) or CDCR's Psychiatric Inpatient Programs (PIP).

Additionally, patients must be treated, when clinically appropriate, in their least restrictive housing within
the inpatient system. For patients outside of their least restrictive housing designation, as determined by
Healthcare Placement Oversight Program, treatment plans should also be focused on helping the patient
reach that less restrictive environment.

Chapter 6 of the Program Guide is also updated to reflect the following changes to the cited pages:

    •   Acute care is provided at the following institutions: For males, California Medical Facility (CMF-
        PIP) and California Healthcare Facility (CHCF-PIP); for females, California Institution for
        Women (CIW-PIP) and DSH-Patton. (Program Guide at 12-6-1.)
    •   Intermediate care is provided at the following institutions or state hospitals: For males, CMF-PIP,
        CHCF-PIP, Salinas Valley State Prison, San Quentin State Prison (for condemned males), DSH-
        Atascadero, and DSH-Coalinga. Intermediate care for females is provided at CIW-PIP and DSH-
        Patton. (Program Guide at 12-6-1.)
    •   The Day Treatment Program is no longer active. (Program Guide at 12-6-1 and 12-6-15 through
        12-6-17.)
    •   While it remains the expectation that clinicians consider patients who have multiple crisis bed
        admissions for inpatient care (see Program Guide at 12-6-1), the Acute and Intermediate
        admission criteria is modified to permit admission for patients who have a documented pattern of
        repeated admissions to the Mental Health Crisis Bed for suicidal ideation or, for admissions to
        intermediate care, for self-injurious behavior. (Program Guide at 12-6-1, 12-6-2, and 12-6-7.)
    •   Treating clinicians generally are responsible for the initial evaluation as to whether a patient may
        be appropriate for referral to inpatient care. (Program Guide at 12-6-3, 12-6- 7.)
    •   Documentation for referrals to and discharges from inpatient programs is now governed by the
        Electronic Health Record System (EHRS) referral documentation workflows. These workflows
        supersede the lists of documents for referrals and discharges at 12-6-4, 12-6-6, 12-6-10, and 12-6-
        14. In addition, references to the "SRAC", "128C" or "128-MH6" due process documentation, and
        RVR documentation are also governed by their EHRS counterparts.
    •   Under acute admission procedure, on 12-6-5, the sentence "Inter-institutional endorsements for
        transfer of inmate-patients accepted into the APP are processed by the Classification and Parole
        Representatives (C&PR) at California Medical Facility (CMF)" is struck. Additionally, the
        reference to the "CMF Chief Deputy, Clinical Services, or designee" is also struck.
    •   The sentence on 12-6-6, "[t]here will not be direct admissions from CDCR to CSH at this time,"
        is struck.
    •   Language at 12-6-6 and 12-6-8 limiting placement of "high custody" patients to only Salinas
        Valley's intermediate program are struck.
    •   Patients committed for competency restoration pursuant to Penal Code section 1370 remains
        an admission criteria for inpatient care. (12-6-7 through 12-6-8.) Male patients referred for
        restoration treatment shall be referred to either SVSP PIP or DSH-ASH in accordance with
        their custodial or clinical factors. Female patients shall be referred to CIW PIP. Male 1370
        patients in need of acute or ICF care may also be referred to other PIPs for those services in
        the event that SVSP PIP or DSH-ASH lack bed availability at the time of the referral.
    •   The last paragraph of page 12-6-9, concerning California Men's Colony and CIW retaining theunit
        health record for patients transferred to DSH-Atascadero or DSH-Patton is struck.
    •   Intermediate admission criteria number five on page 12-6-9 is modified to clarify that for patients
        treated at a DSH program and approaching their institutional release date, prerelease planning
        shall be provided by both CDCR and DSH. Additionally, the section is modified to clarify that
        patients can be institutionally released directly from a DSH program or a PIP. When a patient is
        unsuitable for public transit or is considered high control, pursuant to Penal Code 3060.7, the
        patient may be transferred to a CDCR institution closer to the county of release one calendar day
        prior to release date. In addition to parole, patients may discharge directly to a community
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       hospital for 5150 holds or to an appropriate facility for those paroling as mentally disordered
       offenders.
      References to the "Parole and Community Services Division" or "P&CSD" now mean Division of
       Adult Parole Operations or DAPO. (Program Guide at 12-6-13, 12-6-14, 12-6-17.)
      Intermediate discharge criteria are modified to strike the third criterion at 12-6-13 for inmates
       who withdraw informed consent. Discharge decisions are made by the patient's Interdisciplinary
       Treatment Team. Patients may be discharged only if they can be satisfactorily treated at a lower
       level of care.
      In addition to duties outlined at 12-6-18, Coordinated Clinical Assessment Teams may hold case
       conference to discuss complex patients referred to or about to discharge from a PIP.
